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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

BOY SCOUTS OF AMERICA AND                                          Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                                   (Jointly Administered)
                            Debtors.


    DISCLOSURE STATEMENT FOR THE AMENDED CHAPTER 11 PLAN OF
 REORGANIZATION FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC


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Attorneys for the Debtors and Debtors in Possession

Dated: March 1, 2021
       Wilmington, Delaware




1   The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number,
    are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
    Walnut Hill Lane, Irving, Texas 75038.
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THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE
BANKRUPTCY COURT. ACCEPTANCES OR REJECTIONS OF THE PLAN MAY
NOT BE SOLICITED UNTIL THE BANKRUPTCY COURT APPROVES THIS
DISCLOSURE STATEMENT. ACCORDINGLY, THIS IS NOT A SOLICITATION OF
A VOTE TO ACCEPT OR REJECT THE PLAN. THIS DISCLOSURE STATEMENT
MAY BE REVISED TO REFLECT DEVELOPMENTS THAT OCCUR AFTER THE
DATE HEREOF BUT PRIOR TO THE BANKRUPTCY COURT’S APPROVAL OF
THIS DISCLOSURE STATEMENT.



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EXHIBIT C   Financial Projections Analysis
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                                ARTICLE I. IMPORTANT DATES2

                         Event3                                                            Date

Abuse Survivor Plan Solicitation Directive March 31, 2021
Deadline

Disclosure Statement Objection Deadline                         April 2, 2021 at 4:00 p.m. (Eastern Time)

Disclosure Statement Hearing                                    April 15, 2021 at 10:00 a.m. (Eastern Time)

Voting Record Date                                              April 15, 2021

Deadline to Mail Solicitation Packages and April 29, 2021
Related Notices

Rule 3018(a) Motion Deadline                                    May 14, 2021

Deadline to File Plan Supplement                                June 14, 2021

Voting Resolution Event Deadline                                June 21, 2021

Voting Deadline                                                 June 28, 2021 at 4:00 p.m. (Eastern Time)

Plan Objection Deadline                                         June 28, 2021 at 4:00 p.m. (Eastern Time)

Deadline to File Voting Report                                  July 12, 2021

Confirmation Brief/Reply Deadline                               July 12, 2021

Confirmation Hearing                                            July 26, 2021 at 10:00 a.m. (Eastern Time)




2   Certain of these proposed dates are subject to the Bankruptcy Court’s availability.
3   Capitalized terms used in this summary of “Important Dates” and not otherwise defined herein or in the Plan shall have the
    meaning ascribed to them in the Solicitation Procedures Motion (as defined below).


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                              DISCLAIMER

     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING VOTES TO ACCEPT, AND
OBTAINING CONFIRMATION OF, THE PLAN AND MAY NOT BE RELIED UPON FOR
ANY OTHER PURPOSE.

     ALL CREDITORS ARE ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT AND ITS ATTACHED EXHIBITS, INCLUDING THE PLAN, IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN SUMMARIES
AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THE PLAN, THE EXHIBITS AND SCHEDULES
ATTACHED TO THE PLAN, AND DOCUMENTS INCLUDED IN THE PLAN
SUPPLEMENT, WHICH CONTROL OVER THE DISCLOSURE STATEMENT IN THE
EVENT OF ANY INCONSISTENCY OR INCOMPLETENESS. THE STATEMENTS
CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
OF THIS DISCLOSURE STATEMENT, AND THERE CAN BE NO ASSURANCE THAT
THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER
THIS DATE. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY UPDATE THE
INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO
AFFIRMATIVE DUTY TO DO SO, EXCEPT AS OTHERWISE PROVIDED IN THE PLAN,
BY ORDER OF THE BANKRUPTCY COURT OR IN ACCORDANCE WITH APPLICABLE
LAW.

     ANY STATEMENTS IN THIS DISCLOSURE STATEMENT CONCERNING THE
PROVISIONS OF ANY DOCUMENT ARE NOT NECESSARILY COMPLETE, AND IN
EACH INSTANCE REFERENCE IS MADE TO SUCH DOCUMENT FOR THE FULL TEXT
THEREOF.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016 OF THE
BANKRUPTCY RULES AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAW.

     PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING,
OR TRANSFERRING CLAIMS AGAINST THE DEBTORS SHOULD EVALUATE THIS
DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE PURPOSE FOR WHICH
THEY WERE PREPARED.

     THIS DISCLOSURE STATEMENT AND ANY DOCUMENTS APPROVED AS A
PART OF THE SOLICITATION PACKAGE ARE THE ONLY DOCUMENTS TO BE USED
IN CONNECTION WITH THE SOLICITATION OF VOTES ON THE PLAN. NO
SOLICITATION OF VOTES MAY BE MADE UNTIL THE BANKRUPTCY COURT HAS
APPROVED THIS DISCLOSURE STATEMENT AND THE DEBTORS HAVE
DISTRIBUTED THIS DISCLOSURE STATEMENT IN ACCORDANCE WITH THE
SOLICITATION PROCEDURES.     NO PERSON HAS BEEN AUTHORIZED TO


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DISTRIBUTE ANY INFORMATION CONCERNING THE PLAN OTHER THAN THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AND ANY
ACCOMPANYING DOCUMENTS.

     THE DEBTORS’ MANAGEMENT, WITH THE ASSISTANCE OF THE DEBTORS’
FINANCIAL ADVISORS, PREPARED THE FINANCIAL PROJECTIONS APPENDED TO
THIS DISCLOSURE STATEMENT. ALTHOUGH THE DEBTORS HAVE PRESENTED
THESE PROJECTIONS WITH NUMERICAL SPECIFICITY, THEY HAVE NECESSARILY
BASED THE PROJECTIONS ON A VARIETY OF ESTIMATES AND ASSUMPTIONS
THAT, ALTHOUGH CONSIDERED REASONABLE BY SENIOR LEADERSHIP OF THE
DEBTORS AT THE TIME OF PREPARATION, MAY NOT BE REALIZED, AND ARE
INHERENTLY SUBJECT TO SIGNIFICANT OPERATIONAL, ECONOMIC, AND
FINANCIAL UNCERTAINTIES AND CONTINGENCIES, MANY OF WHICH WILL BE
BEYOND THE DEBTORS’ OR REORGANIZED BSA’S CONTROL. THE DEBTORS
CAUTION THAT THEY CANNOT MAKE ANY REPRESENTATIONS AS TO THE
ACCURACY OF THESE PROJECTIONS OR TO THE DEBTORS’ OR REORGANIZED
BSA’S ABILITY TO ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS
INEVITABLY WILL NOT MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES
OCCURRING SUBSEQUENT TO THE DATE ON WHICH THESE PROJECTIONS WERE
PREPARED MAY DIFFER FROM ANY ASSUMED FACTS AND CIRCUMSTANCES.
ALTERNATIVELY, ANY EVENTS AND CIRCUMSTANCES THAT COME TO PASS MAY
WELL HAVE BEEN UNANTICIPATED, AND THUS MAY AFFECT FINANCIAL
RESULTS IN A MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER.
THE PROJECTIONS, THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTY OR
OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

     CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES,
ASSUMPTIONS, AND PROJECTIONS THAT MAY BE MATERIALLY DIFFERENT FROM
ACTUAL FUTURE RESULTS. THE WORDS “BELIEVE,” “MAY,” “WILL,” “ESTIMATE,”
“CONTINUE,” “ANTICIPATE,” “INTEND,” “EXPECT,” AND SIMILAR EXPRESSIONS
IDENTIFY THESE FORWARD-LOOKING STATEMENTS. THESE FORWARD-LOOKING
STATEMENTS ARE SUBJECT TO A NUMBER OF RISKS, UNCERTAINTIES, AND
ASSUMPTIONS, INCLUDING THOSE DESCRIBED IN ARTICLE IX, “RISK FACTORS.”
IN LIGHT OF THESE RISKS AND UNCERTAINTIES, THE FORWARD-LOOKING
EVENTS AND CIRCUMSTANCES DISCUSSED IN THIS DISCLOSURE STATEMENT
MAY NOT OCCUR, AND ACTUAL RESULTS COULD DIFFER MATERIALLY FROM
THOSE ANTICIPATED IN THE FORWARD-LOOKING STATEMENTS. THE DEBTORS
AND THE REORGANIZED BSA DO NOT UNDERTAKE ANY OBLIGATION TO
PUBLICLY UPDATE OR REVISE ANY FORWARD- LOOKING STATEMENTS,
WHETHER AS A RESULT OF NEW INFORMATION, FUTURE EVENTS, OR
OTHERWISE.

     EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN AUDITED BY A
CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED IN
ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES. THE


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HISTORICAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
BEEN OBTAINED FROM SUCH REPORTS AND OTHER SOURCES OF INFORMATION
AS ARE AVAILABLE TO THE DEBTORS.

     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER
ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN
FURTHERANCE OF A SETTLEMENT OF SUCH CONTESTED MATTERS, ADVERSARY
PROCEEDINGS, AND OTHER ACTIONS OR THREATENED ACTIONS.          THIS
DISCLOSURE STATEMENT WILL NOT BE ADMISSIBLE IN ANY NON-BANKRUPTCY
PROCEEDING, NOR SHALL THIS DISCLOSURE STATEMENT BE CONSTRUED TO BE
CONCLUSIVE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN AS
TO HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN, THE DEBTORS OR
REORGANIZED BSA. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT THE
INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY
MATERIAL INACCURACY OR OMISSION.




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                                   ARTICLE II. INTRODUCTION

A.        Background

       This Disclosure Statement4 is being furnished by the Debtors in connection with the
Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA,
LLC (as such may be amended, altered, modified or supplemented from time to time, the
“Plan”), dated March 1, 2021, pursuant to section 1125 of the Bankruptcy Code, and in
connection with the solicitation of votes to accept or reject the Plan.5 A copy of the Plan is
attached hereto as Exhibit A. The rules of interpretation set forth in Article I.B of the Plan shall
govern the interpretation of this Disclosure Statement. Please note that to the extent any
inconsistencies exist between this Disclosure Statement and the Plan, the Plan governs in all
respects.

        The BSA’s charitable mission is to prepare young people for life by instilling in them the
values of the Scout Oath and Law and encouraging them to be trustworthy, kind, friendly and
helpful. The BSA also trains young men and women in responsible citizenship, character
development, and self-reliance through participation in a wide range of outdoor activities,
educational programs, and, at older ages, career-oriented programs in partnership with
community organizations.

        Since its inception more than 110 years ago, more than 130 million young men and
women have participated in the BSA’s youth programs. More than 35 million adult volunteers
have helped carry out the BSA’s mission.6 The BSA’s alumni are legion among our nation’s
business, political, and cultural leaders. Their legacy is the creation and support of Scouting
units in virtually every corner of America and at U.S. military bases worldwide. Today, the BSA
remains one of the largest youth organizations in the United States and one of the largest
Scouting organizations in the world, with approximately 1.1 million registered youth participants
and approximately 400,000 adult volunteers.

       The BSA welcomes all young men and women, regardless of gender, race, ethnic
background, sexual orientation, disability, or gender identification, who are willing to accept
Scouting’s values and meet the other requirements of membership. A Scout subscribes to the
following oath: “On my honor I will do my best to do my duty to God and my country and to

4    Unless otherwise indicated herein, capitalized terms used but not otherwise defined in this Disclosure Statement have the
     meanings ascribed to such terms in Article I.A of the Plan. To the extent that a term is defined in this Disclosure Statement
     and is defined in the Plan, the definition contained in the Plan controls.
5    As described in the First Mediators’ Report filed on March 1, 2021 at Docket No. 2292 (the “Mediators’ Report”), the
     Debtors, JPM, and the Creditors’ Committee have reached an agreement in principle on the terms of a settlement that the
     Debtors have incorporated into the Plan. The terms of the settlement are described in the term sheet attached to the
     Mediators’ Report as Exhibit A (the “Settlement Term Sheet”). The Settlement Term Sheet addresses, among other things,
     the treatment of non-abuse general unsecured claims and JPM’s secured claims and the resolution of estate challenges to
     JPM’s prepetition security interests, including any such challenges that the Creditors’ Committee could seek standing to
     pursue. Although the settlement memorialized in the Settlement Term Sheet has been finalized, the Settlement Term Sheet
     remains subject to definitive documentation in all respects. JPM and the Creditors’ Committee are continuing to review the
     Plan and the Disclosure Statement, and each of their respective rights are reserved with respect to the Plan and the
     Disclosure Statement, including to ensure that the Plan and the Disclosure Statement appropriately implement the terms and
     conditions of the Settlement Term Sheet.
6    See BSA, About the BSA, https://www.scouting.org/about/.


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obey the Scout Law; to help other people at all times; to keep myself physically strong, mentally
awake, and morally straight.”7 Scouts are expected to conduct themselves in accordance with the
Scout Law: to be “trustworthy, loyal, helpful, friendly, courteous, kind, obedient, cheerful,
thrifty, brave, clean, and reverent.”8

        To continue the BSA’s long tradition of Scouting, the Debtors’ seek approval of a plan of
reorganization under chapter 11 of the Bankruptcy Code, which, if confirmed and consummated,
will allow the Debtors, as Reorganized BSA, to emerge from bankruptcy, having fulfilled their
dual restructuring goals of (a) providing an equitable, streamlined, and certain process by which
Abuse Survivors may obtain compensation for Abuse and (b) ensuring that Reorganized BSA
has the ability to continue its vital charitable mission.

         The BSA’s charitable mission of Scouting is supported by certain Entities that are not
Debtors in these Chapter 11 Cases, including the Local Councils and the Chartered
Organizations. As described in this Disclosure Statement, the Local Councils serve geographic
areas of varying size across the United States and facilitate the delivery of the Scouting program
at the local level. Chartered Organizations are typically local organizations—such as faith-based
institutions, clubs, civic associations, educational institutions, businesses, and groups of
citizens—that sponsor local Scouting units. To continue the mission of Scouting through these
non-Debtors, the proposed Plan provides for the settlement of Abuse Claims against BSA, the
Local Councils, and the Contributing Chartered Organizations by “channeling” all such Claims
to the Settlement Trust, which shall have the exclusive responsibility for processing, liquidating
and paying Abuse Claims. To obtain the benefits of the Channeling Injunction, the Local
Councils and Contributing Chartered Organizations will make substantial financial and/or
insurance contributions to the Settlement Trust.

        As noted above, the proposed Plan provides, among other things, for the formation of the
Settlement Trust, to which the BSA, the Local Councils and the Contributing Chartered
Organizations will contribute substantial assets and/or insurance rights. Those assets will be
used to fund recoveries for holders of Abuse Claims in accordance with the terms of the Trust
Distribution Procedures. The Trust Distribution Procedures will establish the methodology for
resolution of Abuse Claims, establish the process by which Abuse Claims will be reviewed by
the Settlement Trust, and will specify liquidated values for compensable Claims based on the
nature of the underlying Abuse.

        This Disclosure Statement is being transmitted in order to provide adequate information
to enable holders of Claims in Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF
Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience
Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8
(Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), which Claims in such Classes are
Impaired and entitled to vote on the Plan, to make an informed judgment in exercising their right
to vote to accept or reject the Plan.



7   Id.
8   Id.


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       As set forth above, on the Effective Date, liability for all Abuse Claims, including
Indirect Abuse Claims, shall be channeled to and assumed by the Settlement Trust. As set
forth in greater detail in Article VI of this Disclosure Statement, the purposes of the
Settlement Trust shall be to: (i) assume exclusive responsibility for all Abuse Claims; (ii)
preserve, hold, manage, and maximize the assets of the Settlement Trust; and (iii) direct
the processing, liquidating, and payment of all compensable Abuse Claims in accordance
with the Settlement Trust Documents. The Debtors will demonstrate at the Confirmation
Hearing that the Settlement Trust will resolve Abuse Claims in accordance with the
Settlement Trust Documents in such a way that holders of Abuse Claims are treated fairly,
equitably, and reasonably in light of the finite assets available to satisfy such Claims, and
otherwise comply in all respects with the requirements of the Bankruptcy Code.

       By order dated [●], 2021, the Bankruptcy Court approved this Disclosure Statement in
accordance with section 1125 of the Bankruptcy Code, and found that it contained “adequate
information” sufficient to enable a hypothetical investor of the relevant Class to make an
informed judgment about the Plan, and authorized its use in connection with the solicitation of
votes with respect to the Plan. Approval of this Disclosure Statement does not, however,
constitute a determination by the Bankruptcy Court as to the accuracy or completeness of
the information contained herein nor an endorsement by the Bankruptcy Court as to the
fairness or merits of the Plan. No solicitation of votes may be made except pursuant to this
Disclosure Statement and section 1125 of the Bankruptcy Code.

B.     Voting and Confirmation

       Article VII of this Disclosure Statement specifies the deadlines, procedures, and
instructions for voting to accept or reject the Plan, as well as the applicable standards for
tabulating ballots and master ballots, used in voting on the Plan (each, generally referred to
herein as a “Ballot”). The following is an overview of certain information related to voting
that is contained in Article VII of this Disclosure Statement and elsewhere in this
Disclosure Statement.

        Each holder of a Claim in Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9 is entitled to vote to
accept or reject the Plan. Each Class of Claims entitled to vote shall have accepted the Plan
pursuant to the requirements of section 1126(c) of the Bankruptcy Code if at least two-thirds
(2/3) in amount and more than one-half (1/2) in number of those voting in each such Class voted
to accept the Plan. Assuming the requisite acceptances are obtained, the Debtors intend to seek
Confirmation of the Plan at the Confirmation Hearing scheduled for July 26, 2021, at 10:00 a.m.
(prevailing Eastern Time) before the Bankruptcy Court. The Confirmation Hearing may be
continued from time to time without further notice other than an adjournment announced in open
court or a notice of adjournment filed with the Bankruptcy Court and served on those parties who
have requested notice under Bankruptcy Rule 2002 and the Entities who have filed an objection
to the Plan, if any, without further notice to parties in interest. The Bankruptcy Court, in its
discretion and prior to the Confirmation Hearing, may put in place additional procedures
governing the Confirmation Hearing. Subject to section 1127 of the Bankruptcy Code, the Plan
may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing,
without further notice to parties in interest.



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        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection or response to Confirmation of the Plan must: (i) be
in writing; (ii) state the name and address of the objecting party and the nature and amount of the
Claim of such party; (iii) state with particularity the legal and factual basis and nature of any
objection to the Plan and include any evidentiary support therefor; and (iv) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together
with proof of service on or before June 28, 2021 at 4:00 p.m. (Eastern Time) (the “Plan
Objection Deadline”), and served on the Debtors and certain other parties in interest in
accordance with the Solicitation Procedures Order (defined below) so that they are received on
or before the Plan Objection Deadline.

       The Debtors have engaged Omni Agent Solutions (the “Solicitation Agent” or “Notice
and Claims Agent”) to assist in the voting process.

         The Solicitation Agent will provide additional copies of all materials and will process and
tabulate the Ballots, as defined in the Debtors’ Motion for Entry of an Order (I) Approving the
Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and
Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope
of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval of the
Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief (the
“Solicitation Procedures Motion”), filed contemporaneously herewith, for Classes 3A, 3B, 4A,
4B, 5, 6, 7, 8, and 9, as applicable. You may obtain these documents from the Solicitation Agent
free of charge by: (a) calling the Debtors’ toll-free restructuring hotline at (866) 907-2721,
(b) visiting the Debtors’ restructuring website at https://omniagentsolutions.com/bsa, (c) writing
to Boy Scouts of America, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100,
Woodland Hills, CA 91367, or (d) emailing BSAballots@omniagnt.com. You may also access
from these materials for a fee via PACER at http://www.deb.uscourts.gov/.

       As further described in the Solicitation Procedures (as defined in the Solicitation
Procedures Motion), to be counted, your Ballot indicating acceptance or rejection of the
Plan must be received by the Solicitation Agent no later than 4:00 p.m. (prevailing Eastern
Time) on June 28, 2021 (the “Voting Deadline”), unless the Debtors, in their sole discretion,
extend the period during which votes will be accepted on the Plan, in which case the term
“Voting Deadline” shall mean the last date on, and time by which, such period is extended. Any
executed Ballot that does not indicate either an acceptance or rejection of the Plan or indicates
both an acceptance and rejection of the Plan will not be counted as an acceptance or rejection
and will not count toward the tabulations required pursuant to either section 1129 of the
Bankruptcy Code.

        Prior to deciding whether and how to vote on the Plan, each holder of a Claim entitled to
vote should consider carefully all of the information in this Disclosure Statement, including
Article IX entitled “Risk Factors.” Each holder of a Claim entitled to vote on the Plan should
review this Disclosure Statement and the Plan and all Exhibits hereto and thereto before
casting a Ballot. This Disclosure Statement contains a summary of certain provisions of the
Plan and certain other documents and financial information. The Debtors believe that
these summaries are fair and accurate as of the date hereof and provide adequate
information with respect to the documents summarized; however, such summaries are


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qualified to the extent that they do not set forth the entire text of those documents and as
otherwise provided herein.

      The Plan contains the proposed Abuse Claims Settlement, which would provide for
substantial contributions to the Settlement Trust by the Debtors, Local Councils,
Contributing Chartered Organizations, and Settling Insurance Companies, if any, in
exchange for the treatment of the foregoing Entities as Protected Parties under the
Channeling Injunction. The Abuse Claims Settlement is intended to provide for the fair
and equitable resolution of Abuse Claims.

       The Plan also incorporates the JPM / Creditors’ Committee Settlement, which,
subject to its terms and the effectiveness of the Plan, resolves all issues and objections that
could be asserted by the Creditors’ Committee with respect to confirmation of the Plan and
prospective lien challenges, claims or causes of action that might be brought by the
Creditors’ Committee by or on behalf of the Debtors’ Estates. As described more fully
below and set forth in the Plan, the JPM / Creditors’ Committee Settlement contemplates
distributions to holders of Allowed Convenience Claims, Allowed General Unsecured
Claims, and Allowed Non-Abuse Litigation Claims. The JPM / Creditors’ Committee
Settlement also contemplates the Allowance of JPM’s Claims by amending and restating
the Prepetition Debt and Security Documents in the manner described in the Plan.

     THE DEBTORS SUPPORT CONFIRMATION OF THE PLAN AND URGE ALL
HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN TO VOTE TO ACCEPT
THE PLAN. THE DEBTORS BELIEVE THAT THE PLAN PROVIDES THE HIGHEST
AND BEST RECOVERY FOR ALL CREDITORS AND IS IN THE BEST INTERESTS
OF THE DEBTORS’ ESTATES.

C.       Overview of the Plan9

        The Debtors commenced these Chapter 11 Cases in order to address the significant
potential liabilities arising from Claims related to historical acts of Abuse in the BSA’s
programs. As discussed above, the stated purpose of the Chapter 11 Cases is to confirm a plan of
reorganization that (a) timely and equitably compensates survivors of Abuse in Scouting and
(b) ensures that the BSA emerges from bankruptcy with the ability to continue its vital charitable
mission. The Debtors believe that the Plan accomplishes these goals.

        Importantly, the Plan provides a mechanism to channel the Abuse Claims asserted against
the Debtors and the other Protected Parties, including the Local Councils and Contributing
Chartered Organizations, to the Settlement Trust established under section 105(a) of the
Bankruptcy Code in accordance with Article X.F of the Plan. In exchange for the Channeling
Injunction, the Settlement Trust Assets will be contributed to the Settlement Trust. The
Settlement Trust Assets will be administered by the Settlement Trustee and used to resolve
Abuse Claims in accordance with the Settlement Trust Documents, including the Trust


9    This overview is qualified in its entirety by reference to the Plan. The treatment of Claims and Interests under the Plan is
     not intended to, and will not, waive, compromise, or limit any rights, Claims, or Causes of Action if the Plan is not
     confirmed. You should read the Plan in its entirety before voting to accept or reject the Plan.


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Agreement and the Trust Distribution Procedures. The Trust Distribution Procedures will
specify the methodology for processing, liquidating, and paying Abuse Claims.

        As further discussed in this Disclosure Statement, the BSA has been engaged in good-
faith, arm’s-length negotiations with its key stakeholders to submit the global settlement
proposal embodied in the Plan. These negotiations were conducted in the context of a formal
mediation with the assistance of three highly qualified mediators appointed by the Bankruptcy
Court. Although the Debtors have not reached agreements with the Mediation Parties (other than
JPM and the Creditors’ Committee), the Debtors will continue to work with the Mediation
Parties and the mediators in an effort to reach a resolution of these Chapter 11 Cases. Generally,
the features of settlements contemplated in the Plan are as follows:

      A proposed settlement by and among the BSA, JPM (the BSA’s senior Secured lender),
       and the Creditors’ Committee, under which JPM has agreed that, in full and final
       satisfaction of its Allowed Claims and in exchange for the Creditors’ Committee’s
       agreement not to pursue certain alleged estate causes of action, it shall enter into the
       Restated Debt and Security Documents as of the Effective Date. The Restated Debt and
       Security Documents will contain terms that are substantially similar to the Prepetition
       Debt and Security Documents except that, among certain other modifications, the
       maturity dates under the Restated Debt and Security Documents shall be the date that is
       ten (10) years after the Effective Date and principal under the Restated Debt and Security
       Documents shall be payable in installments beginning on the date that is two (2) years
       after the Effective Date;

      The proposed settlement referenced above provides for the BSA’s assumption of its
       prepetition Pension Plan and satisfaction of Allowed Convenience Claims, Allowed
       General Unsecured Claims and Allowed Non-Abuse Litigation Claims, which are held by
       creditors who are core to the Debtors’ charitable mission or whose Allowed Claims were
       incurred in furtherance of the Debtors’ charitable mission;

      The BSA will contribute to the Settlement Trust, among other things, (a) Net Unrestricted
       Cash and Investments; (b) the BSA’s right, title and interest in and to (i) Scouting
       University, (ii) the Artwork, (iii) the Oil and Gas Interests, (iv) the Warehouse and
       Distribution Center (subject to the Leaseback Requirement); (c) certain of the Debtors’
       rights under applicable insurance; (d) the Settlement Trust Causes of Action; and (e) the
       assignment of any and all Perpetrator Indemnification Claims held by the BSA;

      Local Councils will make a substantial contribution, which the Debtors are committed to
       ensuring is not less than $300,000,000, exclusive of insurance rights, to the Settlement
       Trust to resolve the Abuse Claims that may be asserted against them in exchange for
       being included as a Protected Party under the Plan and receiving the benefits of the
       Channeling Injunction;

      The assignment and transfer to the Settlement Trust of certain insurance rights of the
       BSA, Local Councils and Contributing Chartered Organizations under insurance policies
       of the Debtors, Local Councils and Contributing Chartered Organizations;



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      A mechanism by which Chartered Organizations can make substantial contributions to
       the Settlement Trust to resolve Abuse Claims that may be asserted against them in
       connection with Abuse that arose in connection with their sponsorship of one or more
       Scouting units in exchange for being included as a Protected Party under the Plan and
       receiving the benefits of the Channeling Injunction;

      A mechanism by which Insurance Companies may enter into Insurance Settlement
       Agreements and provide sum-certain contributions to the Settlement Trust in exchange
       for being included as a Protected Party under the Plan and receiving the benefits of the
       Channeling Injunction; and

      A term loan from the National Boy Scouts of America Foundation (as defined in the Plan,
       the “Foundation”), in the principal amount of $42.8 million, which will be used by
       Reorganized BSA for working capital and general corporate purposes. This Foundation
       Loan will permit the Debtors to contribute to the Settlement Trust a substantial amount of
       consideration in Cash on the Effective Date.

        Moreover, the Debtors are affirmatively seeking to reach further mediated
settlements of disputed issues related to the structure of the Plan, the nature, timing and
amount of contributions from the Debtors, Local Councils, Contributing Chartered
Organizations and Settling Insurance Companies, and other matters, which may result in
the amendment or modification of the Plan to propose additional settlements pursuant to
section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019. The Debtors
believe that resolution of these controversies in advance of the Confirmation Hearing will
facilitate the favorable resolution of these Chapter 11 Cases and maximize distributions to
holders of Allowed Claims and Abuse Claims that will be satisfied by the Settlement Trust
in accordance with the Trust Distribution Procedures.

        The following section of the Disclosure Statement provides a general overview of various
important sections of the Plan and the proposed treatment of all holders of Claims against, and
Interests in, the Debtors. For a more detailed description of the terms and provisions of the Plan,
please refer to Article VI of this Disclosure Statement titled “Overview of the Plan.” All
information and statements contained in this Disclosure Statement, including this overview of
the Plan, are qualified in their entirety by the Plan, the information, the financial statements, and
all other documents accompanying the Plan.

       1.      The Settlement Trust

        On the Effective Date of the Plan, a Settlement Trust will be established by the Debtors
for the benefit of holders of Abuse Claims. From and after the Effective Date, all Abuse Claims
shall be channeled to the Settlement Trust, which will be funded by the Settlement Trust Assets.
As further described in this Disclosure Statement, the Settlement Trust will administer the
Settlement Trust Assets and, process, liquidate and pay Abuse Claims in accordance with the
Trust Distribution Procedures.




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       2.      The Channeling Injunction

        Specifically, the Channeling Injunction to be issued as a part of the Plan will permanently
and forever stay, bar, and enjoin holders of Abuse Claims from taking any action for the purpose
of directly or indirectly or derivatively collecting, recovering, or receiving payment of, on, or
with respect to any Abuse Claim other than from the Settlement Trust pursuant to the Settlement
Trust Agreement and the Trust Distribution Procedures, or as otherwise set forth in the Trust
Distribution Procedures. Each holder of an Abuse Claim will have no right whatsoever at any
time to assert its Abuse Claim against any Protected Party or any property or interest in property
of any Protected Party. The Protected Parties include: (a) the Debtors; (b) Reorganized BSA;
(c) the Related Non-Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered
Organizations; (f) the Settling Insurance Companies; and (g) with respect to each of the Persons
in the foregoing clauses (a) through (f), such Persons’ Representatives; provided, however, that
no Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, the Contributing
Chartered Organizations shall be Protected Parties only with respect to Abuse Claims that exist
solely by virtue of the Contributing Chartered Organizations’ affiliation with the Debtors.

       The effect of “channeling” Abuse Claims to the Settlement Trust is that Abuse Claims
may only be pursued against, and resolved by, the Settlement Trust and in connection with the
Trust Distribution Procedures, or as otherwise set forth in the Trust Distribution Procedures.
Following the Effective Date, Abuse Claims may not be asserted against the Debtors, the
Reorganized BSA or any other Protected Party. For the avoidance of doubt, Abuse Claims
include Indirect Abuse Claims.

       3.      Treatment of General Unsecured Claims, Convenience Claims, and Non-Abuse
               Litigation Claims

        As discussed in greater detail below, holders of Allowed General Unsecured Claims (to
the extent such Claims are not Insured Non-Abuse Claims) shall receive, subject to the holder’s
ability to elect Convenience Class treatment on account of the Allowed General Unsecured
Claim, its Pro Rata Share of the Core Value Cash Pool up to the full amount of such Allowed
General Unsecured Claim. If a holder of a General Unsecured Claim makes the Convenience
Class election, such holder shall receive, as provided in the Plan, Cash in an amount equal to
100% of such holder’s Allowed Convenience Class Claim. The treatment of Allowed General
Unsecured Claims under the Plan recognizes that the Holders of such Claims delivered value that
is core to the Debtors’ charitable mission or whose Allowed Claims were incurred in furtherance
of the Debtors’ charitable mission and, accordingly, are entitled to a recovery from the value of
the Debtors’ core assets. Holders of Non-Abuse Litigation Claims shall retain the right to
recover from available Insurance Coverage, available proceeds of any Insurance Settlement
Agreements, and co-liable non-Debtors (if any) or their insurance coverage on account of such
Claims. To the extent that the holder of an Allowed Non-Abuse Litigation Claim fails to recover
in full from the foregoing sources on account of such Allowed Claim after exhausting its
remedies in respect thereof, such holder may elect to have its Allowed Claim treated as an
Allowed Convenience Claim subject to and in accordance with the Plan.




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       4.     Treatment of the Claims Under the Debtors’ Secured Facilities

       The 2010 Credit Facility Claims, 2019 RCF Claims, 2010 Bond Claims, and 2012 Bond
Claims will be Allowed and deemed fully Secured. On the Effective Date of the Plan, all such
Claims will be restructured under the Restated Debt and Security Documents.

       5.     General Settlement of Claims and Interests

        As described more fully in Articles VI.S and V of the Plan, pursuant to section 1123 of
the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan shall constitute a good faith compromise and settlement of Claims,
Interests, and controversies relating to the contractual, legal, and subordination rights that
holders of Claims or Interests might have with respect to any Claim or Interest under the Plan.
Distributions made to holders of Claims in any Class are intended to be final.

       6.     Modification and Amendments

        Mediation and settlement negotiations with various parties are on-going and will
continue after the date of this Disclosure Statement. Subject to the limitations contained in
the Plan, the Debtors reserve the right to modify the Plan as to material terms and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes
on such modified Plan. Subject to certain restrictions and requirements set forth in section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on
modifications set forth in the Plan, the Debtors expressly reserve their rights to alter,
amend, or modify materially the Plan with respect to the Debtors one or more times
including after Confirmation, and, to the extent necessary, may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or
omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan.

        For the avoidance of doubt, such modification(s) may include a settlement pursuant
to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
to those described in this Disclosure Statement. Any such modification or supplement shall
be considered a modification of the Plan and shall be made in accordance with Article XII
of the Plan.

       7.     Effect of Confirmation on Modifications

       If the Bankruptcy Court finds, after a hearing on notice to the parties in interest in
the Chapter 11 Cases, that the proposed modification does not materially and adversely
change the treatment of the Claim or Interest of any Holder thereof who has not accepted
in writing the proposed modification, the Bankruptcy Court may deem the Plan to be
accepted by all holders of Claims or Interests who have previously accepted the Plan.
Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of the


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Bankruptcy Code and do not require additional disclosure or resolicitation under
Bankruptcy Rule 3019.

      For the avoidance of doubt, any and all rights of holders of Claims against the
Debtors or Interests in the Debtors are expressly reserved under Bankruptcy Rule 3019
and any other applicable provisions under the Bankruptcy Rules, Local Rules of the
Bankruptcy Court, or Bankruptcy Code.

             8.        Summary and Description of Classes and Treatment

        Except for Administrative Expense Claims and Priority Tax Claims, which are not
required to be classified, all Claims and Interests are divided into Classes under the Plan. The
following chart summarizes the projected distributions to holders of Allowed Claims against and
Interests in each of the Debtors under the Plan and Abuse Claims that will be resolved by the
Settlement Trust in accordance with the Trust Distribution Procedures. This chart is only a
summary of such classification and treatment and reference should be made to the entire
Disclosure Statement and the Plan for a complete description of the classification and treatment
of Claims and Interests. The ability to receive distributions under the Plan depends upon the
ability of the Debtors to obtain Confirmation of the Plan and meet the conditions to Confirmation
and effectiveness of the Plan, as discussed in this Disclosure Statement.

        Moreover, although every reasonable effort was made to be accurate, the projections of
estimated recoveries are only an estimate. Any estimates of Claims or Interests in this
Disclosure Statement may vary from the final amounts allowed by the Bankruptcy Court. As a
result of the foregoing and other uncertainties which are inherent in the estimates, the estimated
recoveries in this Disclosure Statement may vary from the actual recoveries received. The
projected recoveries set forth below may change based upon changes in the amount of Allowed
Claims and Abuse Claims resolved by the Settlement Trust in accordance with the Trust
Distribution Procedures, as well as other factors related to the Debtors’ operations and general
economic conditions. The Debtors reserve the right to modify the Plan consistent with section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019.

       The summary of classification and treatment of Claims against and Interests in the
Debtors is as follows:

 Class Designation10                   Treatment under the                Impairment and Estimated Amount11
                                              Plan                       Entitlement to Vote and Approximate
                                                                                            Percentage Recovery
     1            Other Priority Each holder of an                        Unimpaired         Estimated Allowed
                  Claims         Allowed Other Priority                                      Amount: Less than

10       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
         Class.
11       Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best estimates
         of such Claims as of the date of this Disclosure Statement. These estimates are based on various assumptions. The actual
         amounts of Allowed Claims may differ significantly from these estimates should one or more underlying assumptions prove
         to be incorrect. Such differences may adversely affect the percentage of recovery to holders of Allowed Claims under the
         Plan. Moreover, the estimated recoveries set forth herein are necessarily based on certain assumptions, the realization of
         which are beyond the Debtors’ control.


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Class Designation10   Treatment under the           Impairment and Estimated Amount11
                             Plan                 Entitlement to Vote and Approximate
                                                                     Percentage Recovery
                      Claim shall receive:         Not Entitled to    $0.1 million
                      (i) payment in Cash in       Vote (Presumed to
                      an amount equal to such Accept)                 Estimated Percentage
                      Allowed Other Priority                          Recovery: 100%
                      Claim; or (ii) satisfaction
                      of such Allowed Other
                      Priority Claim in any
                      other manner that
                      renders the Allowed
                      Other Priority Claim
                      Unimpaired, including
                      Reinstatement.
2      Other          Each holder of an            Unimpaired         Estimated Amount:
       Secured        Allowed Other Secured                           $0
       Claims         Claim shall receive:         Not Entitled to
                      (i) payment in Cash in       Vote (Presumed to Estimated Percentage
                      an amount equal to the       Accept)            Recovery: 100%
                      Allowed amount of such
                      Claim; (ii) satisfaction of
                      such Other Secured
                      Claim in any other
                      manner that renders the
                      Allowed Other Secured
                      Claim Unimpaired,
                      including Reinstatement;
                      or (iii) return of the
                      applicable collateral in
                      satisfaction of the
                      Allowed amount of such
                      Other Secured Claim.
3A     2010 Credit    Each holder of an            Impaired           Estimated Amount:
       Facility       Allowed 2010 Credit                             $36,462,317
       Claims         Facility Claim shall         Entitled to Vote
                      receive a Claim under                           Estimated Percentage
                      the Restated Credit                             Recovery: 100%
                      Facility Documents in an
                      amount equal to the
                      amount of such holder’s
                      Allowed 2010 Credit
                      Facility Claim.
3B     2019 RCF       Each holder of an            Impaired           Estimated Amount:
       Claims         Allowed 2019 RCF                                $10,000,000
                      Claim shall receive a        Entitled to Vote

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Class Designation10   Treatment under the        Impairment and Estimated Amount11
                             Plan              Entitlement to Vote and Approximate
                                                                  Percentage Recovery
                      Claim under the                              Estimated Percentage
                      Restated Credit Facility                     Recovery: 100%
                      Documents in an amount
                      equal to the amount of
                      such holder’s Allowed
                      2019 RCF Claim.
4A     2010 Bond      Each holder of an         Impaired           Estimated Amount:
       Claims         Allowed 2010 Bond                            $40,137,274
                      Claim shall receive a     Entitled to Vote
                      Claim under the                              Estimated Percentage
                      Restated 2010 Bond                           Recovery: 100%
                      Documents in an amount
                      equal to the amount of
                      such holder’s Allowed
                      2010 Bond Claim.
4B     2012 Bond      Each holder of an         Impaired           Estimated Amount:
       Claims         Allowed 2012 Bond                            $145,662,101
                      Claim shall receive a     Entitled to Vote
                      Claim under the                              Estimated Percentage
                      Restated 2012 Bond                           Recovery: 100%
                      Documents in an amount
                      equal to the amount of
                      such holder’s Allowed
                      2012 Bond Claim.
5      Convenience    Each holder of an         Impaired           Estimated Amount:
       Claims         Allowed Convenience                          $2.4 million – $3
                      Claim shall receive Cash Entitled to Vote    million
                      in an amount equal to
                      100% of such holder’s                        Estimated Percentage
                      Allowed Convenience                          Recovery: 100%
                      Class Claim.
6      General        Each holder of an         Impaired           Estimated Amount:
       Unsecured      Allowed General                              $26.5 million – $33.5
       Claims         Unsecured Claim (to the Entitled to Vote     million
                      extent such Claim is not
                      an Insured Non-Abuse                         Estimated Percentage
                      Claim) shall receive,                        Recovery: 75 – 95%
                      subject to the holder’s
                      ability to elect
                      Convenience Class
                      treatment on account of
                      the Allowed General


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Class Designation10   Treatment under the       Impairment and Estimated Amount11
                             Plan              Entitlement to Vote and Approximate
                                                                  Percentage Recovery
                      Unsecured Claim, its Pro
                      Rata Share of the Core
                      Value Cash Pool up to
                      the full amount of such
                      Allowed General
                      Unsecured Claim in the
                      manner described in
                      Article VII of the Plan.
7      Non-Abuse      Each holder of an          Impaired           Estimated Amount:
       Litigation     Allowed Non-Abuse                             Undetermined
       Claims         Litigation Claim shall,    Entitled to Vote
                      subject to the holder’s                       Estimated Percentage
                      ability to elect                              Recovery: 100%
                      Convenience Class
                      treatment as provided in
                      the following sentence,
                      retain the right to
                      recover up to the amount
                      of such holder’s
                      Allowed Non-Abuse
                      Litigation Claim from (i)
                      available Insurance
                      Coverage or the
                      proceeds of any
                      insurance policy of the
                      Debtors, (ii) applicable
                      proceeds of any
                      Insurance Settlement
                      Agreements, and (iii) co-
                      liable non-debtors (if
                      any) or their insurance
                      coverage. Solely to the
                      extent that the holder of
                      an Allowed Non-Abuse
                      Litigation Claim fails to
                      recover in full from the
                      foregoing sources on
                      account of such Allowed
                      Claim after exhausting
                      its remedies in respect
                      thereof, such holder may
                      elect to have the
                      unsatisfied portion of its


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 Class Designation10                  Treatment under the               Impairment and Estimated Amount11
                                             Plan                      Entitlement to Vote and Approximate
                                                                                          Percentage Recovery
                                     Allowed Claim treated
                                     as an Allowed
                                     Convenience Claim and
                                     receive cash in an
                                     amount equal to the
                                     lesser of (a) the amount
                                     of the unsatisfied portion
                                     of the Allowed Non-
                                     Abuse Litigation Claim
                                     and (b) $50,000.
     8           Direct Abuse        Pursuant to the                    Impaired                     Estimated        Amount:
                 Claims12            Channeling Injunction                                           N/A
                                     set forth in Article X.F           Entitled to Vote
                                     of the Plan, each holder                                        Estimated Percentage
                                     of a Direct Abuse Claim                                         Recovery: N/A
                                     shall have such holder’s
                                     Direct Abuse Claim
                                     permanently channeled
                                     to the Settlement Trust,
                                     and such Direct Abuse
                                     Claim shall thereafter be
                                     asserted exclusively
                                     against the Settlement
                                     Trust and processed,
                                     liquidated, and paid in
                                     accordance with the
                                     terms, provisions, and
                                     procedures of the
                                     Settlement Trust
                                     Documents.
     9           Indirect            Pursuant to the                    Impaired                     Estimated        Amount:
                 Abuse               Channeling Injunction                                           N/A
                 Claims13            set forth in Article X.F           Entitled to Vote
                                     of the Plan, each holder                                        Estimated Percentage
                                     of an Indirect Abuse                                            Recovery: N/A
                                     Claim shall have such

12       Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.
13       Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
         reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable non-
         bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in the
         nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any
         indemnification, reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement,
         insurance policy, program agreement or contract.


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Class Designation10        Treatment under the          Impairment and Estimated Amount11
                                  Plan                 Entitlement to Vote and Approximate
                                                                          Percentage Recovery
                           holder’s Indirect Abuse
                           Claim permanently
                           channeled to the
                           Settlement Trust, and
                           such Indirect Abuse
                           Claim shall thereafter be
                           asserted exclusively
                           against the Settlement
                           Trust and processed,
                           liquidated, and paid in
                           accordance with the
                           terms, provisions, and
                           procedures of the
                           Settlement Trust
                           Documents.
 10         Interests in   Interests in Delaware       Impaired             Estimated   Amount:
            Delaware       BSA shall be deemed                              N/A
            BSA            cancelled without further   Not Entitled to
                           action by or order of the   Vote                 Estimated Percentage
                           Bankruptcy Court and        (Deemed to Reject)   Recovery: 0%
                           shall be of no further
                           force or effect, whether
                           surrendered for
                           cancellation or
                           otherwise.


 ARTICLE III. ORGANIZATION OVERVIEW AND CORPORATE HISTORY

A.     Organization Overview

       1.        The Boy Scouts of America

        The BSA was incorporated in the District of Columbia on February 8, 1910, and
subsequently chartered by Congress as a non-profit corporation under Title 36 of the United
States Code on June 15, 1916. 36 U.S.C. §§ 30901-08. The Congressional Report in Support of
the Act to Incorporate the Boy Scouts of America provides that the Scouting program “is
intended to supplement and enlarge established modern educational facilities in activities in the
great and healthful out of doors where may be the better developed physical strength and
endurance, self-reliance, and the powers of initiative and resourcefulness, all for the purpose of
establishing through the boys of today the very highest type of American citizenship.” H.R. Rep.
No. 64-130 at 245 (1916). Consistent with this charitable intention, the BSA’s congressional
charter states that the purpose of the organization is to “promote, through organization, and
cooperation with other agencies, the ability of boys to do things for themselves and others, to


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train them in Scoutcraft, and to teach them patriotism, courage, self-reliance, and kindred virtues,
using the methods which are now in common use by Boy Scouts.” BSA Charter, § 3; see also
BSA Bylaws, § 2 (“In achieving this purpose, emphasis shall be placed upon its educational
program and the oaths, promises, and codes of the Scouting program for character development,
citizenship training, leadership, and mental and physical fitness.”). These mandates have been
the guiding light for the BSA’s work for over a century.

        As a non-profit corporation, the BSA is required to adopt and carry out a charitable,
religious, educational, or other philanthropic mission. It is the BSA’s mission “to prepare young
people to make ethical and moral choices over their lifetimes by instilling in them the values of
the Scout Oath and Law.”14 Unlike a profit-seeking corporation, the BSA’s senior leadership
owes fiduciary duties to the Scouting mission, not the generation of profits. The successful
delivery of this mission to youth in America is the BSA’s fiduciary obligation. To that end, all
Scouting policies, practices, and programming are specifically designed to train Scouts in
responsible citizenship, character development, and self-reliance, in a manner consistent with the
BSA’s mission. Thus, to be eligible for Scouting, individuals must subscribe to, and conduct
themselves in accordance with, the Scout Oath and the Scout Law:

        Scout Oath. “On my honor I will do my best to do my duty to God and my country and
         to obey the Scout Law; to help other people at all times; to keep myself physically strong,
         mentally awake, and morally straight.”15

        Scout Law. “A Scout is trustworthy, loyal, helpful, friendly, courteous, kind, obedient,
         cheerful, thrifty, brave, clean, and reverent.”16

At all levels of Scouting, these fundamental tenets of the BSA’s mission are taught to Scouts so
they can successfully develop into our nation’s next generation of great leaders.
        In support of its mission, the BSA has long facilitated the spread of Scouting in the
United States through units chartered by local partners and has also designed and implemented
an array of its own outdoor activities, educational and skill-building programs, and career
training. Since its inception, more than 130 million Scouts have participated in the BSA’s
programming, and more than 35 million adult leaders have helped carry out the BSA’s mission.
The BSA has grown to be one of the largest youth organizations in the country, as well as one of
the largest Scouting organizations in the world. In 2019, nearly three million Scouts and adult
leaders were involved in Scouting and helped deliver more than 13 million Scouting service
hours to communities across the country.

        Throughout its 110-year history, the BSA has continually looked for ways to offer
Scouting to more young men and women. In 1912, the BSA formed the Camp Fire Girls as a
sister organization. In the 1930s, the BSA introduced Cub Scouts as a program for younger
participants. Other past and current BSA programs include Air Scouts, Sea Scouts, Exploring,
Venturing, and STEM Scouts. In 2018, the BSA welcomed girls into Cub Scouts, and in 2019,
the BSA began chartering girl units to join Scouts BSA, the program previously known as Boy
14   BSA, Mission & Vision, https://www.scouting.org/legal/mission/.
15   BSA, What are the Scout Oath and Law?, https://www.scouting.org/discover/faq/question10/.
16   BSA, About the BSA, https://www.scouting.org/about/.


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Scouts. Since 2017, over 200,000 girls have participated in Scouting, including approximately
130,000 in Cub Scouts, 30,000 in Scouts BSA, and 65,000 in Venturing, Sea Scouts, and
Exploring. The BSA has also organized affiliated organizations and affinity groups—such as
Learning for Life, Order of the Arrow, and National Eagle Scout Association—to provide
additional educational, civic, and developmental programs for Scouts, as well as engagement
opportunities for Scouting alumni and supporters.

         The BSA also provides other services critical to continued Scouting opportunities for
America’s young men and women, including core program content, such as events and other
activities at high adventure facilities; the procurement and sale of uniforms and equipment;
information technology and digital resources; training of professional Scouters to serve in Local
Councils; communications and publications including magazines and online content for Scouts
and adult leaders; training development and delivery; national events; registration systems; and
other quality control services. In addition, every four years, the BSA hosts a National Jamboree,
where tens of thousands of Scouts from around the country gather to celebrate Scouting, learn
about teamwork and leadership, and develop lifelong friendships.

        The Headquarters of the BSA is in Irving, Texas. The BSA has approximately 1,155
employees, all of whom are located in the United States and its territories. The BSA’s
employees are located at its Headquarters; at the BSA’s national Warehouse and Distribution
Center in Charlotte, North Carolina; at approximately 158 official BSA Scout Shops located
throughout the country; and at the BSA’s four high adventure facilities located in Florida and the
U.S. Virgin Islands, New Mexico, West Virginia, and Minnesota and parts of Canada. The
BSA’s sources of funding include membership fees, high adventure facility fees, supply sales at
Scout Shops, on its website, and directly to Local Councils, donor contributions, legacies,
bequests, corporate sponsorships, and grants from foundations. In 2020, the BSA’s total gross
revenues were approximately $187 million. Of this total, approximately 28% was attributable to
supply sales, approximately 47% to membership fees, approximately 8% to high adventure
facility operations, approximately 2% to investments, approximately 4% to contributions,
approximately 1% to event fees, and approximately 10% to other.

        The BSA is governed by an executive board and an executive committee, which are
responsible for managing the organization’s affairs and electing officers. The executive board is
comprised of 72 total members and is led by the National Chair. The board is made up of 64
regular members and the executive committee, which is a twelve-member delegation of the
executive board that is also led by the National Chair. The executive committee includes, among
others, the National “Key 3,” who are responsible for guiding the BSA organization as a whole:
the National Chair (Daniel G. Ownby), National Commissioner (W. Scott Sorrells), and Chief
Executive Officer and President (Roger C. Mosby). The National Chair and National
Commissioner are volunteer positions. The executive committee has formed a bankruptcy task
force to direct the Debtors’ restructuring strategy in connection with these Chapter 11 Cases.

       2.      The Scouting Experience

       Delivery of the Scouting mission is the fiduciary obligation of the BSA. Local Councils
and Chartered Organizations, and the Scouting units that they sponsor, operationalize this
mission. Through these organizations, Scouts learn the values embodied in the Scout Oath and


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Scout Law. From the beginner-level Cub Scouts to the most advanced offerings at high
adventure facilities, all Scouting programming is intended to instill in the next generation of
leaders the fundamental tenets of the BSA’s mission.

               a.      Cub Scouts

        The gateway to the Scouting program is Cub Scouts, where younger participants
(kindergarten through fifth grade) first build character, learn citizenship, and develop personal
skills and physical fitness. The den—a small group of six to eight children who are the same
grade and gender—is the cornerstone of Cub Scouting. In the den, Cub Scouts make friends,
develop new skills and interests, and learn respectfulness, sportsmanship, and citizenship.
Several dens in the same community form a pack. At pack meetings, Cub Scouts engage in a
wide range of fun and interactive activities, including games, arts and crafts, skits, and songs.
Packs also hold special events and activities, such as advancement banquets, field trips,
community service projects, and, most famously, the Pinewood Derby. Cub Scouts attend camp
outings and participate in other local outdoor activities, such as hiking, biking, swimming,
sledding, and a variety of team sports, all of which help instill in them a life-long respect for the
environment, a core principle of the Scouting mission. Many of these outdoor adventures are
held at Local Council-owned properties specifically developed and maintained for the purpose of
delivering the Scouting program. Cub Scout programming is family-oriented, and adult
volunteers, many of whom are parents of participating Cub Scouts, play an active role in den and
pack leadership.

               b.      Scouts BSA

         After Cub Scouts, youth participants progress to Scouts BSA. The Scouts BSA program
focuses on service to others, community engagement, leadership development, respect for the
environment, and personal and professional growth. In Scouts BSA, adult volunteers take a back
seat, and Scouts themselves assume important leadership roles at their own meetings and
activities. Scouts BSA units, known as “troops,” are single-gender and composed of several
smaller groups called “patrols.” At patrol and troop meetings, Scouts engage in knowledge- and
skill-based challenges, team building exercises, and community service projects, such as
cleaning parks and other public spaces, enhancing nature preserves, building trails in wildlands,
constructing playgrounds, creating libraries, collecting meals for food banks, visiting with the
sick or elderly, or responding to national emergencies.

         In Scouts BSA, every Scout is able to take on a leadership role in his or her patrol, which
provides one of the unique experiences in Scouting that inspires young people from all
backgrounds, experiences, and capabilities to see themselves as a leader and hone skills that will
last a lifetime. In addition, Scouts are encouraged to participate in a wider suite of outdoor
activities, including weekend camping trips, summer camps, and themed-camporees where they
are exposed to more advanced Scouting programming and skill-building in diverse areas, such as
first aid, rock climbing, forestry, conservation, and environmental awareness. At these events,
Scouts from different troops work together and form life-long bonds. Local Council camps and
other facilities are the hub for many of these outdoor adventures.




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        Central tenets of Scouts BSA programming are rank advancement and merit badges.
Young men and women begin their journey in Scouts BSA at the rank of Scout. As they master
skills and learn important life lessons, they progress to the ranks of Tenderfoot, Second Class,
First Class, Star, and then Life. Along the way, Scouts earn merit badges that recognize hard
work and achievement in sports, arts, sciences, trades, personal finance, and future careers. In
2019, young men and women earned more than 1.7 million merit badges that represent skills that
will help them succeed throughout their lives.

       Scouts who successfully complete this rigorous program, serve as a leader in their troop
for a designated period of time, and design and lead a significant service project, are awarded
Scouts BSA’s highest rank of Eagle. Less than 8% of Scouts achieve the Eagle Scout rank, and
past Scouts achieving this honor permeate our nation’s government, economy, and culture,
including President Gerald Ford, astronaut Neil Armstrong, civil rights leader Percy Sutton, and
entrepreneurs Sam Walton and Ross Perot, to name a few.

              c.      Advanced Scouting

        In addition to Scouting’s core Cub Scouts and Scouts BSA offerings, older Scouts
participate in other advanced programs. In Venturing, co-ed groups form their own Scout-led
“crews” that design and carry out specialized programming and activities. The opportunities
available through Venturing are endless: A Scout interested in the outdoors can join a Venturing
crew that backpacks in state or national parks and kayaks in local or remote rivers; a Scout
interested in the sciences can join one that builds robots or volunteers at planetariums and
museums; and a Scout interested in community service can join one that volunteers at soup
kitchens or rebuilds homes in the wake of natural disasters. Venturing crews instill in their
members the importance of adventure, leadership, personal growth, and service, all of which are
fundamental to the Scouting mission.

        Other advanced programs for older Scouts include Sea Scouts, where Scouts learn
boating skills and water safety, and also study maritime heritage. Sea Scouts participate in
boating and other water-based excursions, such as scuba diving off the Florida Keys and
kayaking in the Everglades. Another program, Exploring, is the BSA’s preeminent workforce
development program. Through Exploring, Scouts join career-specific clubs sponsored by local
businesses, government agencies, and community organizations. Scouts develop important
personal and professional skills through immersive, on-the-job training. And STEM Scouts
offers the Scouting experience with less emphasis on the outdoors. Participating young men and
women learn about and nurture a lifelong interest in science, technology, engineering, and math
through creative, hands-on activities, educational field trips, and interaction with STEM
professionals.

              d.      High Adventure Facilities

         The apex of the Scouting program is found at the four iconic high adventure facilities
operated by the BSA. At these facilities, Scouts experience the truest embodiment of what
Congress envisioned when it chartered the organization more than a century ago—unparalleled
facilities hosting outdoor activities, educational programs, and leadership training. As Scouts
progress through Scouting, these high adventure facilities provide them with opportunities to


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implement the knowledge and training that they gained through Cub Scouts and Scouts BSA at
locations and in programs that are not available anywhere else in the country. Not surprisingly,
there is strong demand for these high adventure facilities—more than 50,000 Scouts and
Scouters participate in the programs and events held there every year, and more than two million
have done so since their openings. As their storied histories portend, these facilities and the
programming they allow play a critical role in the BSA’s delivery of the Scouting program to
young Americans.

                            (i)       Northern Tier

        The BSA opened the Northern Tier high adventure facility (“Northern Tier”)—located on
the boundary waters between Minnesota and Canada—as its first high adventure facility in 1923.
For nearly a century, the BSA has maintained several wilderness canoe bases at Northern Tier
from which generations of Scouts have explored millions of acres of lakes, rivers, forests, and
wetlands of northern Minnesota, northwestern Ontario, and southeastern Manitoba. Scouts at
Northern Tier embark on canoe treks covering up to 150 miles and lasting as long as two weeks.
Along the way, Scouts camp at remote, unstaffed campgrounds, where they must learn and
implement Scouting’s philosophy of self-sufficiency. In the winter, Northern Tier transforms
into a cold-weather camping outpost, where Scouts can engage in winter activities such as cross-
country skiing, dog sledding, snow shoeing, and ice fishing. Over the years, the BSA has hosted
almost 250,000 Scouts and Scouters at Northern Tier.17

                            (ii)      Philmont Scout Ranch

        The BSA’s largest high adventure facility, Philmont Scout Ranch (“Philmont”), was
opened in 1938 on nearly 150,000 acres of rugged mountain wilderness in the Sangre de Cristo
range of the Rocky Mountains in northeastern New Mexico. At Philmont, Scouts have access to
a labyrinth of backpacking trails, as well as 35 staffed camps and 55 trail camps, spread across
mountainous terrain ranging in elevation from 6,500 to 12,500 feet. In addition, the BSA’s
programming at Philmont features the best of the Old West—horseback riding, burro packing,
gold panning, chuckwagon dinners, and interpretive history—along with physical challenges
such as rock climbing, mountain biking, and sport shooting. These experiences teach Scouts
about our nation’s frontier history and instill in them a lifelong sense of adventure and
confidence in challenging situations. In addition, Philmont hosts a series of leadership training
programs for adult leaders. Well over a million Scouts and Scouters have experienced the
unique and diverse offerings of Philmont.18

                            (iii)     Florida Sea Base

         Florida Sea Base (“Sea Base”) was commissioned by the BSA as its third high adventure
facility in 1980. At several facilities in south Florida and the U.S. Virgin Islands, Scouts swim,
snorkel, scuba dive, and fish. Scouts also participate in boating and sailing adventures
throughout the Caribbean, as well as primitive camping on several island-based settlements.
Through Sea Base’s programming, Scouts learn to trust one another and work as a team, and also

17   See generally BSA, About Northern Tier, https://www.ntier.org/about/.
18   See generally BSA, About Philmont, https://www.philmontscoutranch.org/about/.


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learn the importance of conservation and the preservation of our environment. Since opening its
doors, the BSA has provided aquatic adventures to nearly 300,000 Scouts and Scouters at Sea
Base.19

                             (iv)      Summit Bechtel Reserve

        Most recently, in 2013, the BSA opened the Summit Bechtel Reserve (“Summit”) in the
wilds of West Virginia. It is the preeminent summer camp, high adventure facility, and
leadership training center for the millions of Scouts and adult leaders involved in Scouting now
and for generations to come. At the Summit, Scouts explore the New River Gorge region
through white-water rafting, kayaking, canyoneering, and advanced orienteering. Scouts also
participate in more modern adventures, such as skateboarding, ATV riding, freestyle BMXing,
and zip-lining. This programming pushes Scouts past their comfort zones, where they can better
develop and master the leadership, character, citizenship, and fitness that are core to the BSA’s
mission. In addition to its regular programming, the BSA hosts a National Jamboree at the
Summit every four years. In 2019, the BSA hosted the largest World Jamboree ever, with over
45,000 attendees Scouts in attendance from 167 countries. It was the first such event held in the
United States in over 50 years. All told, approximately 200,000 Scouts and Scouters have
experienced the wonders of the Summit since it opened less than a decade ago.20

         3.        Delivery of the Scouting Programs

        Local Councils and Chartered Organizations work closely together to carry out the
mission of Scouting. Each of these entities plays a vital role in training Scouts in responsible
citizenship, character development, and self-reliance. Despite their common purpose, the BSA,
Local Councils, and Chartered Organizations are legally independent entities. Each Local
Council is a non-profit corporation under the laws of its respective state and exempt from federal
income tax under section 501(c)(3) of the Internal Revenue Code. Each Local Council also
maintains its own senior management and independent volunteer board of directors. The BSA
does not hold any equity interest in any Local Council, Chartered Organization, or Scouting unit,
and only the BSA and its wholly owned subsidiary, Delaware BSA, LLC, are Debtors in these
Chapter 11 Cases.21

                   a.        Local Councils

      In furtherance of its mission, the BSA charters independently incorporated Local
Councils to facilitate the delivery of the Scouting program. Local Councils are not agents of the
BSA, and they have no authority to bind the organization.

       There are currently 252 Local Councils covering geographic areas of varying size,
population, and demographics. Although they are legally independent of the BSA, Local
Councils are required to organize, operate, and promote Scouting in a manner that is consistent

19   See generally BSA, About Sea Base, https://www.bsaseabase.org/about/.
20   See generally BSA, The Summit Story, https://www.summitbsa.org/about-us/summit-story/.
21   In addition to Local Councils and Chartered Organizations, the BSA is also affiliated with several non-stock Entities, each
     of which is related to, but legally independent of, the BSA. Several of these affiliated, non-stock Entities are directly
     involved in delivering the Scouting program, while others, such as the Foundation, serve the BSA’s mission in other ways.


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with the BSA’s mission and with the BSA’s Charter, bylaws, rules and regulations, policies, and
guidelines. Local Councils generally do not receive financial support from the BSA; instead,
they rely upon their own fundraising through donations, product sales, special events, and
corporate gifts. The BSA does, however, provide certain corporate and administrative support to
the Local Councils in exchange for shared services and other fees and reimbursements, as well as
for the assistance of Local Councils in delivering the Scouting mission. This support includes
human resources, access to training facilities, marketing services, and general liability Insurance
Coverage.

       The BSA is responsible for developing and disseminating the structure and content of the
Scouting program, owns and licenses intellectual property, and provides training and support
services, including corporate services such as human resources, marketing and legal functions,
and information technology. The BSA, in addition to holding the power to grant charters to
Local Councils, may also revoke a Local Council’s charter for failing to meet national standards.
Local Councils, for their part, play a key role in delivering the Scouting program. Local
Councils also serve the vital function of collecting member fees and remitting such funds to the
BSA. Each of these Local Councils is crucial to the BSA’s ability to carry out its mission.

         The most important functions served by Local Councils are their recruiting of Chartered
Organizations and their oversight of the operation of the Scouting units that those Chartered
Organizations create. Local Councils also provide other services essential to Scouting,
including: funding of local Scouting programs and initiatives; recruiting of Scouts and volunteer
leaders; providing Scout and volunteer training; offering opportunities for rank advancement;
locally enforcing the BSA’s policies, rules, and regulations; and registering members and
leaders. In addition, many Local Councils own and operate service centers, camps, and other
facilities that provide the local resources necessary for a successful Scouting program.

        Local Councils own and operate hundreds of unique camps and other properties that host
outdoor activities, educational programs, and leadership training for youth involved in BSA’s
Scouting programs. Certain Local Councils also own office buildings used for their program
staff and approximately 150 Scout Shops, which the BSA leases from these Local Councils to
sell retail merchandise and other products. Certain Local Councils also own various other
properties including vacant land and/or properties that are not in use.

        A corps of qualified and trained professional and volunteer Scouters is essential for Local
Councils to provide these services. To that end, each of the Local Councils hires a professional
Scout executive and other key staff from a pool of professionals—pre-commissioned by the
BSA—who have demonstrated the moral, educational, and emotional qualities necessary for
leadership. Those commissioned professionals and other staff members support the Local
Councils in connection with day-to-day operations, recruitment of new Chartered Organizations,
management of fundraising, maintenance of program facilities, and numerous other services.
Thousands of volunteers also donate their time and resources to support the Local Councils,
including through assistance with programming, such as unit leadership, unit activities, merit
badge colleges, youth and adult leader training and advancement opportunities, and fundraising
events.




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               b.     Chartered Organizations

        There are currently more than 41,000 Chartered Organizations in the United States. They
are typically local organizations—such as faith-based institutions, clubs, civic associations,
educational institutions, businesses, and groups of citizens—that sponsor the more than 50,000
local Scouting units throughout the country. Some Chartered Organizations are actively
involved with the units that they sponsor and encourage Scouting as a means to further in their
own mission or serve their broader communities. In addition, Chartered Organizations support
the selection of adult leaders and other volunteers, and provide meeting space to the packs and
troops that they sponsor along with storage space, use of equipment, and other monetary and in-
kind support.

        Unfortunately, relationships with some of these Chartered Organizations have
deteriorated or been terminated. For example, as of December 31, 2019, the Church of Jesus
Christ of Latter-day Saints concluded its 105-year relationship as a chartered organization with
all Scouting programs around the world, including the BSA—which is estimated to have resulted
in approximately 525,000 fewer participants in the BSA’s Scouting programs.

B.     Corporate Structure

       1.      Delaware BSA, LLC

        Debtor Delaware BSA, LLC (“Delaware BSA”), of which the BSA is the sole member, is
a non-profit limited liability company that was incorporated under the laws of Delaware on July
11, 2019. Delaware BSA is exempt from federal income tax under section 501(c)(3) of the
Internal Revenue Code. Delaware BSA has pledged substantially all of its assets to secure the
obligations of the BSA and Arrow under the 2019 RCF Agreement, the Prepetition Security
Agreement (2020), the 2010 Bond Agreement, and the 2012 Bond Agreement. Delaware BSA’s
principal asset is a depository account located in Delaware.

       2.      BSA Asset Management, LLC and BSA Commingled Endowment Fund, LP

        The BSA receives services from certain specialized non-Debtor Affiliates, which are
wholly-owned by, or subject to the control of, the BSA (each, a “Related Non-Debtor Entity”).
While the Local Councils facilitate the Debtors’ mission and are vital in reaching participants at
a local level, the Related Non-Debtor Entities provide specialized services under shared services
arrangements that are necessary to facilitate the BSA’s national reach, including, among other
things, investment and foundation management, management of national programs, lease
transactions, and conference and training support functions. BSA Asset Management, LLC
(“BSAAM”) is a Delaware limited liability company of which the BSA is the sole member. The
BSA receives investment management and advisory services from BSAAM, which oversees
management of the funds making up the various benefits programs and trusts of the BSA, along
with providing management and investment services for the BSA’s unrestricted endowment and
donations to the BSA. BSAAM manages the BSA’s and certain Local Councils’ investments
through the BSA Commingled Endowment Fund, LP (the “Endowment Fund”), which is a
Delaware limited partnership and investment vehicle open only to the BSA, the Local Councils,
and their affiliates for investing long-term funds. BSAAM is the general partner of the


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Endowment Fund. The BSA and certain Local Councils are limited partners of the Endowment
Fund. Each limited partner receives units of partnership interest in proportion to, and in
exchange for, its financial contributions to the Endowment Fund. In addition to its role as
general partner of the Endowment Fund, BSAAM is the settlor of the BSA Endowment Master
Trust.

       3.      BSA Endowment Master Trust

        Related Non-Debtor Entity, the Foundation, is a non-profit 501(c)(3) Delaware trust
established under the laws of Delaware exclusively for the purpose of investing funds
contributed to the Endowment Fund by the BSA and participating Local Councils. The Master
Trust is a multiple pooled account trust arrangement established to provide economies of scale
and efficiency of administration to eligible Entities that elect to invest their funds in the Master
Trust. Global Trust Co. is the trustee of the Master Trust as of the Petition Date. In addition, the
Master Trust is also a limited partner of the Endowment Fund.

       4.      National Boy Scouts of America Foundation

        Related Non-Debtor Entity National Boy Scouts of America Foundation (the “BSA
Foundation”) is a non-stock, non-profit corporation organized under the laws of the District of
Columbia and exempt from federal income taxes under section 501(c)(3) of the Internal Revenue
Code. The BSA Foundation exists to help secure the future of Scouting, and partners with the
Local Councils and donors by providing support for major-gift fundraising efforts across the
BSA organization. The balance of major gifts net of associated liabilities at the end of 2020
totaled approximately $66 million. The BSA Foundation also manages the distribution of donor-
advised funds such as scholarships, funds for rebuilding camps and high adventure facilities
including after the occurrence of natural disasters, and funding for major Scouting events such as
the National Jamboree.

       5.      Learning for Life

        Related Non-Debtor Entity Learning for Life is a non-stock, non-profit corporation
organized under the laws of the District of Columbia that is exempt from federal income taxes
under section 501(c)(3) of the Internal Revenue Code. The mission of Learning for Life is to
empower students to build exceptional character and leadership skills by guiding them through
an innovative, research-based curriculum that enhances the learning experience and teaches the
skills necessary to succeed both academically and throughout their lives. Learning for Life also
administers the Exploring club career education program for young men and women. The
Exploring program teaches important life and career skills to young people from all backgrounds
through immersive career experiences and mentorship provided by thousands of local, regional
and national businesses and organizations, which offer career-specific posts or clubs that help
youth pursue their special interests, grow, and develop.

       6.      Arrow WV, Inc.

        Arrow WV, Inc. (“Arrow”) is a non-stock, non-profit corporation organized under the
laws of West Virginia that is exempt from federal income tax under section 501(c)(3) of the
Internal Revenue Code. Arrow was formed in 2009 to facilitate the acquisition and development

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of the Summit. Arrow owns the real property and improvements that comprise the Summit and
leases the Summit to BSA for nominal consideration. Construction of the Summit was
accomplished with the proceeds from the 2010 Bond and the 2012 Bond to the BSA from
Fayette County, West Virginia. The bonds were purchased by JPM. The BSA provided funding
for the construction of the facility, utilizing donations and pledges to the BSA and other BSA
financial support, and the BSA provides the necessary services required to operate Summit.

       7.     Atikaki Youth Ventures Inc. and Atikokan Youth Ventures Inc.

       Related Non-Debtor Entities Atikaki Youth Ventures Inc. (“Atikaki”) and Atikokan
Youth Ventures Inc. (“Atikokan”) are non-share capital corporations formed under the laws of
Canada, with registered addresses in Winnipeg, Manitoba. Atikaki and Atikokan provide certain
services to the BSA related to the operation of Northern Tier. Atikaki maintains the Bissett,
Manitoba base for the Northern Tier high adventure facility, which offers canoe trips into the
Atikaki Provincial Park and Woodland Caribou Provincial Park. Atikokan maintains the Don
Rogert Canoe Base for the Northern Tier high adventure facility in Atikokan, Ontario, Canada,
which offers canoe trips into the Quetico and Crown Lands.

       8.     Dissolution of Inactive Entities

       As of the Petition Date, two of the Debtors’ subsidiaries—NewWorld19, LLC (“New
World”) and Texas BSA, LLC (“Texas BSA”)—had no operations or material assets and
remained inactive after the filing. Because the BSA no longer had a need to maintain NewWorld
or Texas BSA as subsidiaries, on July 16, 2020, the Debtors filed the Debtors’ Motion for Entry
of an Order, Pursuant to Section 363(b) of the Bankruptcy Code, Authorizing Boy Scouts of
America to Dissolve Inactive Non-Debtor Subsidiaries, NewWorld19, LLC and Texas BSA, LLC
[D.I. 1022]. On August 3, 2020, the Court entered an order authorizing the dissolution of
NewWorld and Texas BSA [D.I. 1063].

C.     Revenue Sources and Assets

       1.     Revenues

        As a non-profit organization, the focus of the BSA’s operations is to carry out its
charitable mission. The BSA has historically funded the work to carry out the mission, in part,
through the generation of revenue from sources such as member fees and donations.
Specifically, the BSA relies on revenue generated from membership registration fees, high
adventure facility fees, supply sales at Scout shops, on its website, and directly to Local
Councils, donor contributions, legacies and bequests, corporate sponsorships, and grants from
foundations.

       In 2019, the BSA’s total gross revenues were approximately $394 million. Of this total,
approximately 30% was attributable to supply sales, approximately 16% to membership fees,
approximately 15% to high adventure facility operations, approximately 13% to investments,
approximately 8% to contributions, approximately 8% to event fees, and approximately 10% to
other. The BSA’s estimated total 2020 gross revenues were approximately $187 million.



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       2.      Identified Property

         The Debtors believe that certain property listed on the BSA’s balance sheet (the
“Identified Property”) is legally protected under applicable laws governing charities and other
non-profit organizations and, therefore, not available to satisfy certain creditors’ Claims. The
Debtors assert that the Identified Property is not available to satisfy certain Claims against the
Debtors for one or more of the following reasons: (i) it is subject to donors’ restrictions on use
and purpose; (ii) it is core to the BSA’s charitable mission and Scouting program; (iii) it is held
in an implied charitable trust; (iv) it is part of a charitable trust that can only be used in
fulfillment and furtherance of the BSA’s charitable mission; (v) selling or liquidating the
Identified Property would violate the D.C. Nonprofit Corporation Act; (vi) selling or liquidating
the Identified Property contradicts the Bankruptcy Code’s treatment of charitable organizations;
or (vii) it is otherwise not property of the estate under applicable law.

        Specifically, it is the Debtors’ position that certain of the Identified Property was donated
with a restriction as to use or purpose rather than for general charitable purposes and is therefore,
pursuant to section 541 of the Bankruptcy Code, not property of a debtor’s estate. Moreover, to
the extent that a donor made a restricted donation, the Debtors are contractually obligated to
effectuate the donor’s intent, and selling or liquidating the Identified Property to satisfy Abuse
Claims would likely violate such intent. Even if certain Identified Property was found to be
unrestricted, both unrestricted and restricted donations made to a charity are impressed with a
charitable trust that cannot be diverted and used in contravention of the nonprofit’s charitable
mission. The same is true under the D.C. Nonprofit Corporation Act, which states that if any of
the Identified Property was donated for the nonprofit’s charitable mission, it cannot be diverted
away from its original purpose by sales, leases, repayment of debt, or other transfers of the
property.

        Additionally, certain of the Identified Property is core and indispensable to carrying out
the BSA’s mission. The Identified Property not only enables the BSA to administer
programming that trains today’s youth in the values of the Scout Oath and Law, but some of the
Identified Property, such as the BSA’s high adventure facilities, animates the purpose for which
Congress originally chartered the organization. Given that the Identified Property is core and
absolutely essential to the BSA’s functioning as the premier Scouting organization, it is the
Debtors’ position that it cannot be available to satisfy Abuse Claims.

        Most of the Identified Property also generates revenues necessary for the BSA to carry
out its mission and is essential to the Debtors’ ability to meet its business plan. And moreover,
the sale or liquidation of the Identified Property runs contrary to the Bankruptcy Code’s
treatment of non-profits and contrary to case law holding that a charity may retain assets
notwithstanding the lack of full payment of its creditors since the absolute priority rule does not
apply in a restructuring of a charitable organization. Finally, JPM holds valid and properly
perfected liens on certain of the Identified Property.

        The Torts Claimants’ Committee has argued that the Identified Property may be used to
satisfy Abuse Claims against the Debtors and, as described in more detail below, has filed an
adversary complaint seeking a determination that the Identified Property is not subject to legal



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restrictions and should be used to satisfy Abuse Claims. The Debtors dispute the Tort
Claimants’ Committee’s causes of action relating to the Identified Property.

D.       Prepetition Capital Structure

        The following is an overview of the BSA’s capital structure and approximate outstanding
obligations (collectively, the “Prepetition Obligations”) under the Prepetition Debt and Security
Documents,22 as of the Petition Date:

            Description                               Amount23               Interest Rate             Maturity
2019 RCF Agreement
    - 2019 RCF Revolver                                           $0             L + 125              Mar. 2021
    - 2019 RCF Letters of Credit                         $61,542,720
2010 Credit Agreement
    - 2010 Revolver                                    $25,212,317               L + 125              Mar. 2020
    - 2010 Term Loan                                   $11,250,000               L + 100              Mar. 2022
    - 2010 Letters of Credit                           $44,299,743
2012 Bond Agreement                                   $145,662,101                2.94%               Mar. 2022
2010 Bond Agreement                                    $40,137,274                3.22%               Nov. 2020
Total Secured Debt                                   $328,104,15524

         Collectively, the Prepetition Obligations totaled approximately $328,104,155 as of the
Petition Date. Each Prepetition Secured Agreement is Secured by the same collateral (the
“Prepetition Collateral”), which consists of: (i) a first-priority Lien on the accounts and certain
property arising out of or otherwise relating to accounts, deposit accounts, securities accounts
and investment property (each as defined in Article 9 of the Uniform Commercial Code) and
proceeds and products of any or all of the foregoing of the Debtors and Related Non-Debtor
Entity Arrow, but excluding certain amounts payable that are donor-restricted funds; and (ii) a
first-priority Lien on the organization’s (a) Headquarters in Texas and (b) high adventure
facilities in Florida, New Mexico, and Minnesota. Under each Prepetition Secured Agreement,
the BSA is the borrower and JPM is the sole Secured lender thereto.

        In accordance with the Cash Collateral Order, the Debtors have been authorized to pay
prepetition and postpetition interest with respect to the Prepetition Obligations.




22   The 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the 2012 Bond Documents, the
     Prepetition Security Documents (2019), and the Prepetition Security Agreement (2020).
23   Estimated amounts as of February 18, 2020. Since the Petition Date, $10,000,000 was drawn on the 2019 RCF Letters of
     Credit, resulting in corresponding increases and decreases in the 2019 RCF Revolver and 2019 RCF Letters of Credit,
     respectively.
24   These amounts include contingent, undrawn letters of credit under the 2019 RCF Agreement and the 2010 Credit Agreement
     totaling $105,842,463.


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       1.      2010 Credit Agreement

        On August 11, 2010, the BSA entered into the $100 million 2010 Credit Agreement with
JPM. Arrow is a guarantor under the facility. The 2010 Credit Agreement has been amended
seven times, most recently in conjunction with the entry into the 2019 RCF Agreement on March
21, 2019.

       The 2010 Credit Agreement has two components, a $75.0 million revolving credit
component (the “2010 Revolver”) and a $25.0 million term loan component (the “2010 Term
Loan”). The 2010 Revolver, which allows the organization to issue letters of credit, had a
scheduled maturity of March 2, 2020, while the 2010 Term Loan is scheduled to mature on
March 2, 2022.

        Pursuant to the terms of the 2010 Credit Agreement, the BSA’s outstanding obligations
under the 2010 Credit Agreement are Secured by the “Collateral,” which was defined under that
certain Security Agreement dated August 11, 2010 (as amended on November 5, 2010 and March
9, 2012, the “Original Security Agreement”) and the 2010 Credit Agreement as (a) a Lien on all
“accounts,” “payment intangibles,” (each as such defined in Article 9 of the Uniform
Commercial Code) and the proceeds thereof and (b) all property in which Liens were granted to
the Prepetition Agent.

       In connection with the BSA’s entry into the 2019 RCF Agreement on March 21, 2019,
the Original Security Agreement was amended and restated pursuant to the Prepetition Security
Agreement (2019). Pursuant to the Prepetition Security Agreement (2019) and certain
mortgages (collectively, the “Mortgages”), BSA and Arrow granted to JPM contemporaneously
with the BSA’s entry into the 2019 RCF Agreement a security interest in the organization’s
(a) Headquarters in Texas and (b) high-adventure facilities in Florida, West Virginia, New
Mexico, and Minnesota. The Original Security Agreement is Secured by the Prepetition
Collateral pari passu with the other Prepetition Secured Agreements.

       As of the Petition Date, the Debtors were truly, justly, and lawfully indebted and liable to
JPM for $25,212,317 in respect of revolving loans made, $11,250,000 in respect of term loans
made, and $44,299,743 in respect of undrawn letters of credit issued by JPM under the 2010
Credit Agreement.

       2.      2010 Bond Agreement

        On November 5, 2010, BSA and Arrow entered into the 2010 Bond Agreement, pursuant
to which the Issuer issued the Series 2010A Bonds in an aggregate principal amount of
$50,000,000 and Series 2010B Bonds in an aggregate principal amount of $50,000,000
(collectively, the “2010 Bonds”), the proceeds of which were loaned to BSA. On November 5,
2015, the BSA repaid the Series 2010A Bonds in full. The loans from the Issuer to BSA were
evidenced by that certain Promissory Note - 2010A executed by BSA and payable to the order of
the Issuer in the original principal amount of $50,000,000 which notes were pledged by the
Issuer to secure the repayment of the Series 2010A Bonds, and the 2010 Note. As of the date of
issuance of the 2010 Bonds and all dates thereafter, the 2010 Bonds were Secured pari passu in
the same collateral as the loans under the 2010 Credit Agreement.


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      As of the Petition Date, the Debtors were truly, justly, and lawfully indebted and liable to
JPM for $40,137,274 for the remaining outstanding 2010 Bonds under the 2010 Bond
Agreement.

       3.      2012 Bond Agreement

        On March 9, 2012, the BSA and Arrow entered into the 2012 Bond Agreement with the
Issuer and JPM, pursuant to which the Issuer issued the Series 2012 Bonds (“2012 Bonds”) in an
aggregate principal amount not to exceed $175 million. As of the date of issuance of the 2012
Bonds and all dates thereafter, the 2012 Bonds were Secured pari passu in the same collateral as
the loans under the 2010 Credit Agreement and the 2010 Bonds. The loans from the Issuer to
BSA are evidenced by 2012 Note.

      As of the Petition Date, the Debtors were truly, justly, and lawfully indebted and liable to
JPM for $145,662,101 under the 2012 Bond Agreement.

       4.      2019 RCF Agreement

        On March 21, 2019, the BSA entered into the $71.5 million 2019 RCF Agreement with
JPM, with Arrow as a guarantor. The 2019 RCF Agreement, which matures on March 21, 2021,
is a Secured facility with a revolving component and a component under which the BSA can
issue letters of credit.

        In connection with the execution of the 2019 RCF Agreement, the Debtors granted JPM
security interests in the Prepetition Collateral. At the time of the execution, the Debtors
contemporaneously entered into the Prepetition Security Agreement (2019) and granted JPM the
Mortgages in the Mortgaged Property. The 2019 RCF Agreement is Secured pari passu with the
other Prepetition Secured Agreements.

       As of the Petition Date, the Debtors were truly, justly, and lawfully indebted and liable to
JPM for $0 in respect of loans made and $61,542,720 in respect of undrawn letters of credit
issued by JPM under the 2019 RCF Agreement.

       5.      2020 Prepetition Security Agreement

        On February 3, 2020, in connection with a capital contribution by the BSA to Delaware
BSA, the BSA, Delaware BSA, and JPM entered into the Prepetition Security Agreement (2020).
Pursuant to the Prepetition Security Agreement (2020), Delaware BSA pledged its accounts and
other property, except to the extent excluded by the Prepetition Security Agreement (2020), as
security for the Prepetition Obligations.

       6.      Trade Payables, Retirement Benefits, and Other Liabilities

        The BSA incurs debt with numerous vendors in connection with its ordinary course
organizational operations. In addition, the BSA is obligated to pay employment related benefits
to current and former employees, including, but not limited to, retirement benefits in connection
with (a) the Restoration Plan, a non-qualified defined benefit retirement plan under section
457(f) of the Internal Revenue Code, which provides supplemental retirement benefits to certain


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current and former employees of the Debtors or Local Councils and (b) the Pension Plan, a
single-employer, qualified, defined benefit Pension Plan that is subject to the Employee
Retirement Income Security Act of 1974, as amended, and the Internal Revenue Code, of which
BSA is the sponsor.

E.     Local Councils and Chartered Organizations

        As discussed above, several organizations work together to deliver the Scouting program,
including Local Councils that are independently incorporated and chartered by the BSA and
Chartered Organizations which partner with the Local Councils to form the packs, troops, and
other units at which the program is delivered. Historically, Claims against the BSA, Local
Councils, and Chartered Organizations, including approximately 275 civil actions asserting
personal injury Claims against the BSA and certain Local Councils and Chartered Organizations
as of the Petition Date (collectively, the “Pending Abuse Actions”), generally were litigated and
administered solely by the BSA. The unique relationship between the BSA and these Entities, as
discussed above, had led the BSA to take a leading role in administering such litigation. In
practice, the BSA coordinated with Local Councils and Chartered Organizations to efficiently
respond to and manage such cases, while minimizing the risk of inconsistent treatment of actions
and survivors of Abuse.

        Although applicable Local Councils are named defendants in the Pending Abuse Actions
as well, the consistent resolution of the Pending Abuse Actions required the BSA to pay careful
attention to a wide variety of litigation matters, including, for example, responses to broad
discovery requests, the overwhelming majority of which were directed at the BSA as opposed to
Local Council or Chartered Organization defendants. Through this approach, the BSA had,
among other things, facilitated the retention of joint defense counsel, responded to the vast
majority of discovery requests, coordinated with insurance carriers, and authorized and funded
the payment of any settlement amounts related to the Pending Abuse Actions or similar,
previously resolved, Claims. Given the complexity of the issues involving the Pending Abuse
Actions, and the BSA’s central role in litigating them, prior to filing these Chapter 11 Cases, the
organization had retained national coordinating counsel to oversee the handling of Claims
against it and the Local Councils and Chartered Organizations.

F.     Insurance Coverage for Abuse Claims

         The BSA has historically procured commercial, general-liability insurance (“CGL”)
policies from multiple insurers to protect itself from a myriad of risks, including Claims of
Abuse or sexual misconduct. These Insurance Policies date back to the 1930s and over time
came to include both primary and excess Insurance Coverage that provide substantial limits of
liability in many years. While the amount of coverage remains substantial in many years, the
insolvency of certain Insurance Companies and the resolution of Abuse and other Claims have
either eroded, or exhausted the liability limits for certain Insurance Policies. In some instances,
the availability of certain Insurance Policies remains contingent upon the resolution of active
pending litigation between the BSA and some of the Insurance Companies. Nonetheless, with
respect to most (if not all) policy years, at least some level of coverage under the CGL policies is
available for bodily injury Claims, including Claims arising out of Abuse.



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         1.        Overview of the BSA’s Insurance Program

         The type of coverage provided for by the BSA’s insurance program has varied over the
last six decades. Between at least 1935 and 1982, the BSA acquired Insurance Policies where
each Claim of bodily injury allowed the BSA to access the per-person or per-occurrence limit of
liability under the applicable Insurance Policies.25 These are more commonly referred to as “per-
occurrence” policies. The per-occurrence policies generally only had aggregate limits that
pertained to products-completed operations. The Insurance Policies between 1962 and 1982 had
a per-occurrence limit of $500,000. Beginning in 1969, the BSA also began to procure excess
Insurance Policies that provided $2 million in coverage on top of the $500,000 per-occurrence
primary policies.

        Insurance Company of North America, now known as Century Indemnity Company
(“Century”),26 issued the primary and umbrella policies to the BSA from approximately 1935 to
1971. The Hartford Accident and Indemnity Company (“Hartford”) issued primary and some
umbrella policies to the BSA from 1971 to 1978. Beginning in 1978, Century issued primary
policies to the BSA until 1983.

        Beginning in 1983, the BSA shifted its insurance program to Insurance Policies that
contained overall aggregate limits of liability. Unlike the per-occurrence policies, each payment
towards the settlement of a Claim erodes the Insurance Policy’s aggregate limit until it is
exhausted and no longer responds to Claims. The BSA purchased these types of Insurance
Policies from 1983 to the end of 1985. As a counterbalance to the imposition of aggregate limits,
the BSA’s towers of insurance in 1983 through 1985 included significant limits of liability and
excess layers of coverage. For example, in 1983, the BSA procured excess Insurance Policies
with $50 million in aggregate limits. The excess and umbrella policies were issued by various
insurers.

        The BSA again altered its insurance program beginning in 1986 and through 2018,
procuring a primary Insurance Policy and a first-layer excess Insurance Policy where the
deductible matches the Insurance Policy’s limit of liability. The extent of the BSA’s obligation
to pay these deductibles versus the Insurance Company’s obligation to pay these deductibles is
subject to the terms of these Insurance Policies. More specifically, between 1986 and 2002, the
BSA has primary Insurance Policies with $1 million in limits of liability per year and umbrella
Insurance Policies with $1 million in limits of liability per year. Between 2002 and 2008, the
BSA has primary Insurance Policies with $1 million in limits of liability per year, but with
increased umbrella obligations. Between 2008 and 2018, the BSA maintained primary Insurance
Policies with $1 million in limits of liability per year, and umbrella Insurance Policies with $9
million in limits of liability per year.

       In 2019, the BSA again changed its insurance program to avoid the deductibles noted
above, which it has kept current and expects to continue in 2021. Throughout the years of

25   For purposes of simplicity, this analysis is limited to the BSA’s primary Insurance Policies.
26   Century is acting in these Chapter 11 Cases as successor to CCI Insurance Company, Insurance Company of North America.
     Indemnity Insurance Company of North America, Ace Insurance Group Westchester Fire Insurance Company, Westchester
     Fire Insurance Company, and Westchester Surplus Lines Insurance Company. All of these Entities are generally referred to
     as “Century” herein.


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Scouting operations, the BSA has eroded certain of the Insurance Policies referenced above. The
BSA has also entered into settlement agreements pertaining to certain policies that may limit the
extent of coverage available.

       2.      The BSA’s Insurance Coverage for the Local Councils and Chartered
               Organizations

       As noted, the BSA operates Scouting through the Local Councils and the Chartered
Organizations. Prior to 1971, each Local Council was required to procure Insurance Policies that
would provide coverage, for among other things, the types of Abuse Claims alleged herein.

        Over the course of the Chapter 11 Cases, the Debtors and the Local Councils have gone
through extensive insurance archeology efforts and discovery to obtain evidence of policies
issued to the Local Councils prior to 1978. To date, the BSA and Local Councils have been able
to obtain a significant number of these Insurance Policies and discovery is ongoing in that
regard.

        From these insurance archeology efforts, the BSA and Local Councils have also learned
that several Insurance Companies issued specific Insurance Policies to the Local Councils. For
example, from 1965 to 1971, Century created an insurance program for the Local Councils.
Likewise, from 1975 to 1976, the New Hampshire Insurance Company (“AIG”) also created an
insurance program through a broker, R.F. Lyons, that issued a significant number of AIG
Insurance Policies to Local Councils. AIG also issued a substantial amount of Insurance Policies
to Local Council as early as the 1940s.

       Starting in 1971, the BSA began adding certain Local Councils as additional insureds
under its CGL policies. Then, in 1978, the BSA formalized this practice through the
implementation of a General Liability Insurance Program (“GLIP”), whereby the BSA agreed to
procure general liability insurance for all Local Councils by including them in the definition of
“Named Insured” in all of the BSA CGL Insurance Policies. Similarly, starting in 1978, the
BSA began to provide Insurance Coverage under its CGL policies to certain Chartered
Organizations.

       3. The First Encounter Agreement and Subsequent Endorsement in the BSA Policies

        As noted above, Century provided the BSA with primary Insurance Coverage for several
decades. In 1996, the BSA and Century engaged in an effort to minimize disputes regarding
Insurance Coverage. As a result of those discussions, on or about May 24, 1996, the BSA and
certain Century Entities executed the “Settlement Agreement Regarding Sexual Molestation
Claims.” This settlement is often referred to as the “First Encounter Agreement” (“FEA”).

        Pursuant to the FEA, the BSA and Century agreed that “the date of ‘occurrence’
pertaining to any Sexual Molestation Claim shall be the date when the first act of Sexual
Molestation took place, even if additional acts of Sexual Molestation or additional Personal
Injuries arising therefrom also occurred in subsequent policy periods; and all damages arising out
of such additional acts of Sexual Molestation or additional Personal Injuries shall be deemed to
have incurred during the policy year when the first act of Sexual Molestation took place.” The


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BSA and Century were the only parties to the FEA; however, several of the BSA’s other
Insurance Companies ascribe to this agreement and provide coverage according to the first
alleged year the Abuse occurred.

        In about 2008, the BSA’s primary and excess Insurance Policies include the “Date of
Exposure for Molestation Claims” endorsement. Similar to the FEA, the endorsement provides
that any alleged sexual molestation occurrence involving the same claimant would be treated as a
single occurrence with the date of the first alleged act of Abuse being designated the “date of
loss.”

G.       Prepetition Insurance Coverage Actions

        Prior to the Petition Date, the BSA and certain of its Insurance Companies were involved
in Insurance Coverage Actions regarding certain Insurance Policies issued to the BSA, including
(a) Boy Scouts of America, et al. v. Insurance Company of North America et al., Case No. DC-
18-11896, pending in the 192nd Judicial District Court of Dallas County, Texas; (b) Boy Scouts
of America, et al. v. Hartford Accident and Indemnity Co., et al., Case No. DC-18-07313,
pending in the 95th Judicial District Court of Dallas County, Texas; (c) National Surety Corp. v.
Boy Scouts of America, et al., Case No. 2017-CH-14975, pending in the Circuit Court of Cook
County, Illinois, Chancery Division. Hartford also initiated an adversary proceeding in these
Chapter 11 Cases styled Hartford Accident and Indemnity Co. and First State Ins. Co. v. Boy
Scouts of America, et al., Adv. Pro. No. 20-50601 (LSS). The majority of the Insurance
Coverage Actions are currently stayed by operation of the automatic stay; however, the parties to
the Hartford actions have agreed to stay the entirety of the adversary proceeding and the
corollary state court action.

        The Insurance Coverage Actions involved several of the BSA’s Insurance Companies,
including Century, Hartford, National Surety Corporation (“National Surety”) and Allianz
Insurance (“Allianz”). The Insurance Companies in the Insurance Coverage Actions asserted
that the BSA and Local Councils were not entitled to coverage for specific sexual abuse claims
based on various coverage defenses, including, but not limited to, the number of “occurrences”
that were triggered by the Insurance Policies, the expected and intended language in the
Insurance Policies precluded Insurance Coverage, and that the BSA had failed to cooperate with
its Insurance Companies.

        The Debtors believe that such defenses or limitations to the scope of Insurance Coverage
are without merit. In the spirit of reaching consensus with the Insurance Companies, the BSA is
currently participating in mediation with its Insurance Companies to resolve certain disputes
regarding the Debtors’ rights to Insurance Coverage under the Insurance Policies.27




27   Pursuant to the Bankruptcy Court’s Order (I) Appointing Mediators, (II) Referring Certain Matters to Mediation, and
     (III) Granting Related Relief [D.I. 812] entered on June 9, 2020, the mediations are currently before the Bankruptcy Court-
     appointed mediators, the Honorable Kevin Carey (Ret.), Paul Finn, and Timothy Gallagher for the purpose of mediating the
     comprehensive resolution of issues and Claims in the Chapter 11 Cases through a chapter 11 plan.


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          ARTICLE IV. EVENTS LEADING TO THE CHAPTER 11 CASES

        The safety of children in its programs is the most important priority of the BSA. The
BSA today enforces a robust set of multilayered policies and procedures to protect the young
men and women involved in Scouting. These measures are informed by respected experts in the
fields of child safety, law enforcement, and child psychology. The BSA is committed to the
protection of its Scouts, and that commitment is integral to the BSA’s identity and mission as it
seeks to continue instilling values of leadership, service, and patriotism in millions of children
who participate in Scouting programs across the country.

A.        The BSA’s Prepetition Global Resolution Efforts and Prepetition Claims Against the
          BSA

        As widely reported, as of the Petition Date, the BSA was a defendant in numerous
lawsuits related to historical Abuse in its programs. Indeed, many Abuse victims had taken legal
action against the BSA and Local Councils in the civil tort system. As explained further below,
recent changes in state statutes of limitations led to a sharp increase in the number of Claims
asserted against the BSA and placed tremendous financial pressure on the organization. In
addition to Pending Abuse Actions that were pending in state and federal courts across the
United States, attorneys for Abuse victims had provided information regarding approximately
1,400 additional Claims not yet filed, for a total of approximately 1,700 known asserted Abuse
Claims.

        In light of the increasing number of Claims asserted against the BSA, the BSA made the
decision that it could not continue to address Abuse litigation in the tort system on a case-by-case
basis. The BSA spent more than $150 million on settlements and legal and related professional
costs from 2017 through 2019 alone. In addition to the unsustainable financial cost of continuing
to engage in piecemeal litigation across the country, continuing this process would have resulted
in the risk of inconsistent judicial outcomes and inequitable treatment of victims. For these
reasons, beginning in late 2018, the BSA, with assistance of legal and financial advisors, began
to explore strategic options for achieving an equitable global resolution of Abuse Claims.

        In connection with these strategic efforts, the BSA recognized that it would ultimately
need to structure a settlement around a plan of reorganization that provides for channeling
injunctions with respect to both current and potential future Abuse Claims.28 Accordingly, the
BSA determined, in consultation with its advisors, that it was necessary and appropriate to
engage an independent third-party Representative for holders of Future Abuse Claims. After
considering possible candidates for the role, the BSA selected James L. Patton, Jr. in early 2019
to serve as future claimants’ representative (the “Future Claimants’ Representative”).29 In
addition, the BSA engaged in discussions with several groups, including an ad hoc group of


28   Unlike a future Claim in other mass tort contexts, there is no latency period for Abuse. In the Abuse context, a future Claim
     is properly understood as a Claim related to Abuse that has already occurred but which is held by an individual who (a) has
     not attained 18 years of age, (b) was not aware of such Abuse Claim as a result of “repressed memory,” such that he or she is
     not aware that he or she holds an Abuse Claim, to the extent the concept of repressed memory is recognized by the highest
     appellate court of the State or territory where the Claim arose.
29   As noted in Article V herein, the Bankruptcy Court appointed Mr. Patton as the Future Claimants’ Representative on April,
     24, 2020, nunc pro tunc to the Petition Date.


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attorneys representing numerous holders of Abuse Claims advised by James Stang of Pachulski
Stang Ziehl & Jones LLP, and certain of its insurers.

         One of the strategic options that the BSA explored throughout 2019 included efforts to
reach a settlement with a substantial number of Abuse victims that could be implemented
through a prearranged chapter 11 proceeding. Those efforts involved several meetings with
attorneys representing many Abuse victims, including a two-day mediation in early November
2019. The mediation was attended by a Future Claims Representative and some of the BSA’s
Insurance Companies. Unfortunately, the mediation was unsuccessful. It became apparent that
attorneys for Abuse victims believed that certain Local Councils with significant Abuse
liabilities had significant assets that could be used to compensate victims. Further, it became
clear that attorneys for Abuse victims would only accept information about the nature and extent
of the BSA’s available assets if provided through a court-supervised process. Accordingly, the
BSA recognized in late 2019 that there were no meaningful prospects for a prearranged global
resolution. Under those conditions, the Debtors commenced these Chapter 11 Cases to achieve
dual objectives: (a) timely and equitably compensate victims of Abuse in Scouting and (b)
ensuring that the BSA emerges from bankruptcy with the ability to continue its vital charitable
mission.

B.       The Impact of Statutes-of-Limitation Changes on Claims against the BSA and Non-
         Debtor Stakeholders

        The number of Claims against the BSA has increased dramatically over the past twenty
years due to changes to state statutes of limitations governing Causes of Action alleging child
Abuse. Since 2002, 17 states have enacted legislation allowing individuals to bring Claims that
would otherwise have been barred by the applicable limitations period. Most of these
jurisdictions (including California, Delaware, Georgia, Hawaii, Minnesota, New Jersey, and
North Carolina) have implemented revival windows that temporarily eliminate the civil statutes
of limitations for survivors of Abuse whose Claims have already expired. These revival
windows have allowed older survivors of child Abuse to bring lawsuits decades after the Abuse
occurred, including against private organizations, such as the BSA and Local Councils. Other
jurisdictions (including Vermont) have fully eliminated limitations periods going forward and
revived expired Claims. Additionally, more states are considering opening statute of limitation
windows, extending statutes of limitations, or even removing statutes of limitations for victims
of child sexual Abuse.

        The trend of retroactive revisions to limitations periods for Abuse Claims accelerated in
2019, when more than a dozen states (including Arizona, California, District of Columbia,
Montana, New Jersey, New York, and North Carolina) revised their limitations periods to allow
survivors of Abuse to bring Claims that would otherwise have been time-barred. Shortly before
the Petition Date, a group of plaintiffs filed suit in the U.S. District Court in the District of
Columbia alleging that the District’s recent revival-window legislation permits plaintiffs to bring
previously time-barred Claims, regardless of where the Abuse occurred or where the plaintiff
resides.30 In addition, prior to the Petition Date, plaintiffs began pursuing a theory that the
recently opened New Jersey statute of limitations allowed the filing of any Claim that arose prior

30   See Does 1-8 v. Boy Scouts of America, Case No. 20–00017 (D.D.C.).


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to 1979, regardless of where the Abuse occurred, since the BSA was headquartered in New
Jersey prior to that date, before its Headquarters moved to Irving, Texas.

        These changes in statutes of limitations have dramatically altered the legal landscape for
Abuse Claims. Specifically, the number of suits alleging Claims from earlier years that would
otherwise have been barred by the applicable limitations period has surged, which is reflected in
the filing of tens of thousands of Abuse claims in these Chapter 11 Cases. These suits have
forced the BSA to look backward—past the decades of progress and leadership in youth
protection—to the mid- to late-twentieth century, when the vast majority of the Abuse in
Scouting occurred. Claims alleging Abuse within the last thirty years make up a small fraction
of total known Abuse claims.31 The vast majority of the Claims the BSA is now facing allege
Abuse from the 1960s to the 1980s. Fairly compensating survivors that were abused during this
period placed tremendous financial pressure on the BSA and its local partners.

                           ARTICLE V. THE CHAPTER 11 CASES

A.       Commencement of the Cases and First Day Relief

        On the Petition Date, the Debtors commenced the Chapter 11 Cases by filing voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. As of the date hereof, the Debtors
have continued, and will continue until the Effective Date, to operate their organization as
Debtors-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

        Also on the Petition Date, the Debtors filed a number of motions seeking typical “first
day” relief in chapter 11 cases authorizing the Debtors to maintain their operations in the
ordinary course (collectively, the “First Day Motions”). This relief was designed to ensure a
seamless transition into the chapter 11 process and allow the Debtors to maintain their operations
in the ordinary course so as to function smoothly while their cases progressed. The Bankruptcy
Court granted substantially all of the relief requested in the First Day Motions and entered
various orders authorizing the Debtors to, among other things:

        Continue paying employee wages and benefits [D.I. 295];

        Continue the use of the Debtors’ cash management system, bank accounts, and business
         forms [D.I. 381];

        Continue the use of certain cash collateral and the granting of adequate protection with
         respect to the use of such cash collateral [D.I. 433];

        Continue customer, scout and donor programs, and honor related prepetition obligations
         [D.I. 279];

        Pay certain prepetition taxes and assessments [D.I. 366];


31   Of the approximately 95,200 pending or asserted Abuse Claims against the BSA, approximately 65,000 claims have
     ascertainable dates. Of the approximately 65,000 dated Claims, approximately 80% involve Claims alleging Abuse that
     occurred before 1988.


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        Pay certain prepetition obligations for essential vendors, foreign vendors, shippers,
         warehousemen, and other Lien claimants [D.I. 275];

        Pay certain prepetition obligations under shared services arrangements with the Local
         Councils and Related Non-Debtor Entities and authorize the Debtors to continue
         performing or paying under shared services arrangements with the Local Councils and
         Related Non-Debtor Entities [D.I. 369]; and

        Establish procedures for utility providers to request adequate assurance of payment and to
         prohibit utility companies from altering or discontinuing service [D.I. 273].

B.       Procedural Motions

       The Debtors filed various motions on the Petition Date regarding procedural issues
common to chapter 11 cases of similar size and complexity. The Bankruptcy Court granted
substantially all of the relief requested in such motions and entered various orders authorizing the
Debtors to, among other things:

        Establish procedures for interim compensation and reimbursement of expenses of chapter
         11 professionals [D.I. 341]; and

        Retain and compensate certain professionals utilized by the Debtors in the ordinary
         course of their non-profit operations [D.I. 354].

C.       Critical Vendors and Shared Services

        As described above, the Debtors filed various First Day Motions, two of which were
motions to pay prepetition Claims of critical vendors (the “Critical Vendor Motion”) [D.I. 7] and
prepetition obligations under shared services arrangements (the “Shared Services Motion”) [D.I.
15]. Pursuant to the Critical Vendor Motion, the Debtors obtained authorization to pay, in the
ordinary course of the Debtors’ non-profit operations, prepetition Claims of essential vendors,
foreign vendors, 503(b)(9) vendors, and other Lien claimants. Pursuant to the Shared Services
Motion, the Debtors requested authorization to pay prepetition obligations under shared
organizational services agreements related to the Local Councils and Related Non-Debtor
Entities and to continue performing under such arrangements. As explained in detail in the
Shared Services Motion, the BSA provides benefits programs, liability insurance, and
administrative services to Local Councils, such as accounting, human resources, information
technology, member recruitment, fundraising, marketing, leadership training, and other related
support (the “Shared Services Arrangements”). Without these Shared Services Arrangements,
the Debtors would be incapable of providing Scouting programs nationwide and Local Councils
would be unable to operate their organizations.

D.       Retention of Chapter 11 Professionals

       On March 17, 2020, the Debtors filed applications to retain (i) Sidley Austin LLP
(“Sidley Austin”), as the Debtors’ bankruptcy counsel; (ii) Morris, Nichols, Arsht & Tunnell
LLP, as the Debtors’ bankruptcy co-counsel; (iii) Alvarez & Marsal North America, LLC, as


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financial advisor; (iv) Bates White, LLC, as Abuse Claims consultant; (v) KCIC, LLC, as
insurance and valuation consultant; (vi) Omni Agent Solutions, as administrative agent;
(vii) Haynes and Boone, LLP, as special insurance counsel; and (viii) Ogletree, Deakins, Nash,
Smoak & Stewart, P.C., as special litigation counsel [D.I. 204, 205, 206, 207, 208, 209, 210, and
220]. In April 2020, the Bankruptcy Court entered orders authorizing the retention of all the
Debtors’ listed Estate Professionals, except for Sidley Austin [D.I. 339, 340, 353, 355, 364, 372,
and 463]. On May 29, 2020, the Bankruptcy Court issued a bench ruling overruling the
objection to the Debtors’ application to retain Sidley Austin as bankruptcy counsel filed by
Century [D.I. 755]. On June 2, 2020, the Bankruptcy Court entered an order granting Sidley
Austin’s retention [D.I. 758].32

        Thereafter, the Debtors filed additional applications to retain (i) PricewaterhouseCoopers
LLP, as independent auditor and tax compliance services provider to the Debtors; (ii) Appraisers
of the Keys, Inc.; JFW Ranch Consulting, LLC; Hotel & Leisure Advisors; F.I. Salter, Inc.;
Dawn M. Powell Appraisals Inc.; and BW Ferguson & Associates Ltd., as appraisers with
respect to the Debtors’ four high adventure facilities, discussed in greater detail herein;
(iii) Quinn Emanuel Urquhart & Sullivan, LLP as special litigation counsel; and (iv) JLL
Valuation & Advisory Services, LLC (“JLL”) as appraiser with respect to certain Local Council
real properties [D.I. 796, 868, 1125, and 1762]. The Bankruptcy Court entered orders approving
the Debtors’ retention applications on June 24, 2020, July 8, 2020, September 18, 2020, and
December 14, 2020, respectively [D.I. 889, 984, 1343, and 1841].

         On October 22, 2020, the Debtors filed an application requesting authorization to retain
White & Case LLP (“White & Case”) as bankruptcy counsel because core members of their
restructuring team had transitioned their practices to White & Case from Sidley Austin [D.I.
1571]. The Debtors’ restructuring team who transitioned have led the Debtors’ restructuring
efforts for the past two years and are familiar with the numerous stakeholders that are actively
participating in these Chapter 11 Cases. The Bankruptcy Court entered an order authorizing the
retention of White & Case on November 8 2020 [D.I. 1698], over the objection of Century [D.I.
1637].33

E.       Appointment of Fee Examiner

       Given the size and complexity of the Chapter 11 Cases, on September 18, 2020, the Court
entered an order appointing Justin H. Rucki of Rucki Fee Review, LLC as Fee Examiner [D.I.
1342].




32   On June 11, 2020, Century filed a Notice of Appeal [D.I. 837] of the Bankruptcy Court’s order authorizing the Debtors’
     retention of Sidley Austin. The appeal is pending before the U.S. District Court for the District of Delaware (Civil Action
     No. 20-cv-798, BAP No. 20-14).
33   On December 2, 2020, Century filed a Notice of Appeal [D.I. 1771] of the Bankruptcy Court’s order authorizing the
     Debtors’ retention of White & Case. The appeal was before the U.S. District Court for the District of Delaware (Civil
     Action No. 20-cv-1643, BAP No. 20-58) (the “W&C Retention Appeal”). On February 26, 2021, Century filed its
     Stipulation of Dismissal of Bankruptcy Appeal stipulating to the dismissal of the W&C Retention Appeal.


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F.       Appointment of Statutory Committees, Ad Hoc Committee, and Future Claimants’
         Representative

         1.       Ad Hoc Committee of Local Councils

        Prior to the Petition Date, the BSA assisted in the formation of an ad hoc committee of
Local Councils comprised of eight Local Councils34 of various sizes from regions across the
country (the “Ad Hoc Committee”). The primary purpose of the Ad Hoc Committee is to allow
Local Councils to participate in negotiations regarding a global resolution of Abuse Claims and
other issues important to them, including the treatment of their shared insurance with the BSA.
The Ad Hoc Committee has also been instrumental in coordinating the BSA’s ongoing efforts to
collect and organize Local Council asset information. The individual members of the Ad Hoc
Committee are all volunteers. The volunteer chair is Richard G. Mason of the Wachtell, Lipton,
Rosen & Katz law firm. Mr. Mason is the volunteer president of the Greater New York Council.

         2.       Unsecured Creditors Committee

       On March 5, 2020, the United States Trustee appointed the Committee of Unsecured
Trade Creditors (the “Creditors’ Committee”), which consists of five members [D.I. 141]. The
Creditors’ Committee represents the interests of all non-Abuse-related unsecured creditors,
including former employees, litigation claimants, and other non-Abuse unsecured creditors. The
members of the Creditors’ Committee are (1) Pension Benefit Guaranty Corporation, represented
by Tom Taylor; (2) Girl Scouts of the United States of America, represented by Jennifer Rochon;
(3) Roger A. Ohmstede; (4) Pearson Education, Inc., represented by John Garry; and (5) Lion
Brothers Inc., represented by Susan Ganz.

         3.       Torts Claimants’ Committee

       On March 5, 2020, the United States Trustee also appointed the Tort Claimants’
Committee (together with the Creditors’ Committee, the “Committees”), which consists of nine
individual members who hold Abuse Claims against the Debtors [D.I. 142].

        To date, the Debtors have cooperated with the Committees, creditors, and other
stakeholders on complex diligence and informal discovery issues, including participation in
meet-and-confer calls, question-and-answer sessions, and the review and production of a
significant volume of responsive documents and other information.

         4.       Future Claimants’ Representative

        On March 18, 2020, the Debtors filed the Debtors’ Motion for Entry of an Order
Appointing James L. Patton, Jr., as Legal Representative for Future Claimants, Nunc Pro Tunc
to the Petition Date [D.I. 223]. On April, 24, 2020, the Bankruptcy Court appointed Mr. Patton
as the legal representative of Future Claimants [D.I. 486] (the “Future Claimants’
Representative”), nunc pro tunc to the Petition Date.

34   The members are: (1) Andrew Jackson Council; (2) Atlanta Area Council; (3) Crossroads of America Council; (4) Denver
     Area Council; (5) Grand Canyon Council; (6) Greater New York Councils; (7) Mid-America Council; and (8) Minsi Trails
     Council.


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         5.        Coalition of Abused Scouts for Justice

        On July 24, 2020, the Coalition of Abused Scouts for Justice (the “Coalition”), an ad hoc
group representing the interests of Abuse survivors, filed its Notice of Appearance and Request
for Service of Notices and Documents [D.I. 1040]. The Coalition was formed in connection with
several law firms (“State Court Counsel”)35 representing holders of Abuse Claims. The
Coalition is made up of approximately 11,875 Abuse survivors having signed an “Affirmative
Consent” which consents to becoming a member of the Coalition and authorizes their respective
State Court Counsel to instruct the Coalition’s professionals in connection with these Chapter 11
Cases. Additionally, the Coalition has asserted that the State Court Counsels represent
approximately 65,000 Abuse survivors collectively and many of such additional Persons are
expected to sign “Affirmative Consents.”

        On January 29, 2021, the filed its Third Amended Verified Statement of Coalition of
Abused Scouts of Justice Pursuant to Bankruptcy Rule 2019 [D.I. 1996 and 1997], and provides
information regarding its members (with certain personal information redacted). The Coalition
is represented by Monzack Mersky and Browder, P.A., and Brown Rudnick LLP.

         6.        United Methodist Ad Hoc Committee

        In late 2020, 49 United Methodist Annual Conferences supported the formation of an ad
hoc group (the “United Methodist Ad Hoc Committee”) to advance the interests generally of
United Methodist local churches and other United Methodist organizations that serve or have
served as Chartered Organizations to the BSA. The United Methodist Ad Hoc Committee,
comprising of twelve members, has retained Bradley and Potter Anderson & Corroon LLP to
represent them in these Chapter 11 Cases. The United Methodist Ad Hoc Committee also
participates in the mediation regarding issues in connection with a global resolution of Abuse
Claims. On January 6, 2021, the United Methodist Ad Hoc Committee filed a verified statement
pursuant to Bankruptcy Rule 2019, detailing certain information relating to the its members.
[D.I. 1901].

G.       Filing of Schedules of Assets and Liabilities and Statements of Financial Affairs

       On February 19, 2020, the Bankruptcy Court entered an order extending the deadline by
which the Debtors must file their Schedules and Statements of Financial Affairs with the
Bankruptcy Court [D.I. 67]. In accordance with that order and pursuant to Bankruptcy Rule
1007 and Local Rule 1007-19(b), the Debtors filed their Schedules and Statements on April 8,
2020 [D.I. 375, 376, 377, and 378]. The Schedules provide summaries of the assets held by each
of the Debtors as of the Petition Date, as well as a listing of the Debtors’ liabilities, including


35   These firms are: (i) Slater Slater Schulman LLP, (ii) ASK LLP, (iii) Andrews & Thornton, (iv) Levin Papantonio Thomas
     Mitchell Rafferty & Procter P.A., (v) Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C., (vi) Junell & Associates
     PLLC, (vii) Reich & Binstock LLP, (viii) Marc J. Bern & Partners LLP, (ix) Krause & Kinsman Law Firm, (x) Bailey
     Cowan Heckaman PLLC, (xi) Babin Law, LLC, (xii) Jason J. Joy & Associates, PLLC, (xiii) Motley Rice LLC, (xiv)
     Weller Green Toups & Terrell LLP, (xv) Colter Legal PLLC, (xvi) Christina Pendleton & Associates PLLC, (xvii) Forman
     Law Offices, P.A., (xviii) Danziger & De Llano LLP, (xix) Swenson & Shelley PLLC, (xx) Brooke F. Cohen Law, (xxi)
     Damon J. Baldone PLC, (xxii) Cutter Law PC, (xxiii) The Robert Pahlke Law Group, (xxiv) Napoli Shkolnik PLLC, (xxv)
     the Hirsch Law Firm, and (xxvi) Porter & Malouf, P.A [D.I. 1997].


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Secured, unsecured priority, and unsecured non-priority Claims pending against each of the
Debtors during the period prior to the Petition Date.

H. Exclusivity

       1.      First Extension of Exclusivity Period

        On June 16, 2020, the Debtors filed the Debtors’ Motion for Entry of an Order Extending
the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof [D.I.
858] extending the Debtors’ exclusive period to (a) file a chapter 11 plan (the “Exclusive Filing
Period”) by 120 days, to and including October 15, 2020 and (b) solicit votes thereon (the
“Exclusive Solicitation Period” and, together with the Exclusive Filing Period, the “Exclusive
Periods”) by 120 days, to and including December 15, 2020, without prejudice to the Debtors’
rights to seek further extensions of the Exclusive Period.

       On June 30, 2020, the Tort Claimants’ Committee filed The Official Committee of Tort
Claimants’ Response to Debtors’ Motion for Entry of an Order Extending the Debtors’ Exclusive
Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof [D.I. 915].

        On July 2, 2020, the Creditors’ Committee filed a Statement of the Creditor’s Committee
with Respect to the Debtors’ Motion for Entry of an Order Extending the Exclusive Periods to
File a Chapter 11 Plan and Solicit Acceptances Thereof [D.I. 947].

        On July 9, 2020, the Bankruptcy Court entered the Order Extending the Debtors’
Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof [D.I. 996], which
extended the exclusive period for the Debtors to file a chapter 11 plan by approximately 120
days, to and including October 15, 2020. The period during which the Debtors had the exclusive
right to solicit acceptances thereof was extended by approximately 120 days, to and including
December 15, 2020.

       2.      Second Extension of Exclusivity Period

        On October 14, 2020, Debtors filed the Debtors’ Second Motion for Entry of an Order
Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances
Thereof [D.I. 1519] extending the Debtors’ exclusive periods to (a) file a chapter 11 plan by 180
days, to and including April 13, 2021, and (b) solicit votes thereon by 180 days, to and including
June 14, 2021, without prejudice to the Debtors’ rights to seek further extensions of the
Exclusive Periods.
        On October 30, 2020, the Bankruptcy Court entered the Order Extending the Debtors’
Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof [D.I. 1606], which
extended the exclusive period for the Debtors to file a chapter 11 plan by approximately 155
days, to and including March 19, 2021. The period during which the Debtors have the exclusive
right to solicit acceptances thereof was extended by approximately 154 days, to and including
May 18, 2021.




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I.     Removal

       Concurrently with the commencement of the Chapter 11 Cases, the Debtors began taking
measures to consolidate and stay all pending Abuse litigation against the BSA, Local Councils,
and Chartered Organizations. In particular, the BSA removed to federal district court (or
bankruptcy court, depending upon the applicable local rules) all Abuse Claims pending in state
courts throughout the country against the BSA and/or the Local Councils and Chartered
Organizations.

        Since there are a number of actions that name the BSA as a defendant and that allege
Claims substantially similar to those asserted in the Pending Abuse Actions (collectively, the
“Further Abuse Actions”) and dozens of additional non-Abuse actions that remain pending
against the BSA in various state courts, on May 15, 2020, the Debtors filed the Debtors’ Motion
for Entry of an Order Under 28 U.S.C. § 1452 and Fed. R. Bankr. P. 9006(b) and 9027,
Extending the Period Within which the Debtors May Remove Civil Actions and Granting Related
Relief [D.I. 653] requesting that the deadline to remove such actions be extended to the later of:
(a) September 15, 2020; and (b) the date that is forty-five (45) days after the occurrence of the
Termination Date (as defined below). The Court granted the motion on June 3, 2020 [D.I. 769].
On September 14, 2020, the Debtors filed the Debtors’ Second Motion for Entry of an Order,
Under 28 U.S.C. § 1452 and Fed. R. Bankr. P. 9006(b) and 9027, Extending the Period Within
Which the Debtors May Remove Civil Actions and Granting Related Relief [D.I. 1316]
requesting that the Bankruptcy Court extend the period within which the Debtors may file
notices of removal of Claims or Causes of Action under Bankruptcy Rule 9027 by an additional
120 days to January 13, 2021. On October 1, 2020, the Bankruptcy Court granted the motion.
[D.I. 1393]. On December 29, 2020, the Debtors filed the Debtors’ Third Motion for Entry of an
Order, Under 28 U.S.C. § 1452 and Fed. R. Bankr. P. 9006(b) and 9027, Extending the Period
Within Which the Debtors May Remove Civil Actions and Granting Related Relief [D.I. 1876]
requesting that the Bankruptcy Court further extend the period within which the Debtors may file
notices of removal of Claims or Causes of Action by an additional 120 days to May 13, 2021.
On January 14, 2021, the Bankruptcy Court entered an order granting the relief requested in the
motion without objection. [D.I. 1941].

J.     Preliminary Injunction

        On the Petition Date, the Debtors initiated an adversary proceeding by filing the Verified
Complaint for Injunctive Relief, Adv. Pro. No. 20-50527 (LSS) [A.D.I. 1 (sealed); A.D.I. 5
(redacted)] (the “Complaint”). In connection with the Complaint, the Debtors filed The BSA’s
Motion for a Preliminary Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy
Code [A.D.I. 6] (the “Preliminary Injunction Motion”).

        In the Preliminary Injunction Motion and related pleadings, the Debtors sought to extend
the automatic stay to enjoin the prosecution of the Pending Abuse Actions. The Pending Abuse
Actions comprise Claims filed in state and federal courts against the BSA, Non-Debtor Related
Entity Learning for Life, Local Councils that are separate non-profit Entities independently
incorporated under the applicable laws of their respective states, and non-Debtor Chartered
Organizations, consisting of community and religious organizations, businesses and groups of



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individuals that organize Scouting units. Each of the Pending Abuse Actions alleges Abuse
arising out of the victim’s involvement or connection with the BSA.

        As the result of an agreement reached between and among the Debtors and the
Committees, on March 30, 2020, the Bankruptcy Court entered the Consent Order Pursuant To
11 U.S.C. §§ 105(a) and 362 Granting the BSA’s Motion for a Preliminary Injunction [A.D.I.
54] (the “Consent Order”).

        The Consent Order, among other things, stayed certain Pending Abuse Actions and
Further Abuse Actions with respect to the Debtors and other BSA Related Parties (as defined in
the Consent Order) up to and including May 19, 2020 (the “Termination Date”). The time period
from the Petition Date to and including the Termination Date, as extended from time to time, is
referred to as the “Standstill Period.” As part of the agreement with the Committees, the Debtors
agreed to provide financial and other information that the Committees had identified as being
relevant. To that end, the Debtors provided the Committees’ advisors with access to a secure
data room containing organizational documents, financial statements, shared services
agreements, documents reflecting asset and liability information, Insurance Policies, and other
relevant documents.

       In accordance with the Consent Order, the Debtors have filed amended version of
Schedule 1 to the Consent Order that include additional Further Abuse Actions subject to the
Consent Order (each, an “Amended Schedule”). The Debtors have filed Amended Schedules on
each of April 30, 2020, July 2, 2020, August 7, 2020, September 11, 2020, October 13, 2020,
November 23, 2020, and December 23, 2020, February 8, 2021.

        Likewise, the Debtors filed amended versions of Schedule 2 to the Consent Order
identifying the then-current BSA Related Parties on August 7, 2020, September 25, 2020, and
December 31, 2020, February 8, 2021.

        On May 18, 2020, the Bankruptcy Court entered the Stipulation and Agreed Order By
and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and the
Official Committee of Unsecured Creditors Extending the Termination Date of the Standstill
Period Under the Consent Order Granting the BSA’s Motion for a Preliminary Injunction
Pursuant to U.S.C. §§ 105(a) and 362 [A.D.I. 72], which extended the Termination Date and
Standstill Period up to and including June 8, 2020.

        On June 9, 2020, the Bankruptcy Court entered the Second Stipulation and Agreed Order
By and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and the
Official Committee of Unsecured Creditors Modifying the Consent Order Granting the BSA’s
Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(A) and 362 and Further
Extending the Termination Date of the Standstill Period [A.D.I. 77], which, among other things,
further extended the Termination Date through and including November 16, 2020.

       On November 18, 2020, the Termination Date and Standstill Period were once again
extended with entry of the Order Approving Third Stipulation by and Among the Boy Scouts of
America, the Official Committee of Survivors of Abuse, and the Official Committee of Unsecured
Creditors Modifying the Consent Order Granting the BSA’s Motion for a Preliminary Injunction


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Pursuant to 11 U.S.C. §§ 105(a) and 362 and Further Extending the Termination Date of the
Standstill Period [A.D.I. 116] (the “Order Approving Third Stipulation”). As a result, the
Termination Date has now been extended through and including March 19, 2021.

        On November 4, 2020, three plaintiffs (“Movants”) in certain state court actions
regarding Abuse Claims filed their Motion for Order Modifying Preliminary Injunction to Allow
Movants to Proceed with State Court Actions as to Non-Debtor Defendants [A.D.I. 109] (the
“Motion to Modify”). Pursuant to the Motion to Modify, the Movants requested that the
Bankruptcy Court modify the Consent Order to allow the Movants’ actions to proceed against
certain non-Debtor defendants. Despite not objecting initially to the entry of the Consent Order,
which stayed the Movants’ respective state court actions, the Movants argued that their Claims
as against select non-Debtor defendants could be litigated separately without affecting the BSA.

       On January 11, 2021, the Movants filed a Notice of Withdrawal of Motion for Order
Modifying Preliminary Injunction to Allow Movants to Proceed with State Court Actions as to
Non-Debtor Defendants [A.D.I. 138], withdrawing the Motion to Modify without prejudice.

        On February 22, 2021, the Debtors filed their Motion to Extend Preliminary Injunction
Pursuant to 11 U.S.C. §§ 105(a) and 362 (the “Injunction Extension Motion”) [A.D.I. 144] and,
the following day, filed their Opening Brief in support of the Injunction Extension Motion
[A.D.I. 145]. In their Injunction Extension Motion and Opening Brief, the Debtors request that
the Court extend the Termination Date of the preliminary injunction from March 19, 2021 to July
19, 2021.

K.     Mediation

        On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of an Order
(I) Appointing a Judicial Mediator, (II) Referring Certain Matters to Mandatory Mediation, and
(III) Granting Related Relief [D.I. 17] (the “Mediation Motion”) requesting that the Bankruptcy
Court enter an order appointing a sitting bankruptcy judge (if the relevant parties were unable to
agree on a mediator before hearing the Mediation Motion) to mediate any and all issues related
to the comprehensive resolution of Claims relating to historical acts of Abuse in the BSA’s
Scouting programs through a chapter 11 plan of reorganization, and referring such matters to
mandatory mediation. In response to a number of limited objections to the Mediation Motion
filed by various parties [D.I. Nos. 161, 164, 166, 316, 388, 617, 646, 647, 648, 650, 652, 658,
664, 710, 711, 712, 713, 756, 757, 759, 761, 762, 771, 772 and 773], the Debtors filed the
Debtors’ Reply in Support of Their Motion for Entry of an Order (I) Appointing Mediators,
(II) Referring Certain Matters to Mediation, and (III) Granting Related Relief [D.I. 782].

       On June 9, 2020, the Court entered an order appointing Judge Kevin Carey (Ret.), Mr.
Paul Finn, and Mr. Timothy Gallagher as mediators, and referring certain matters to mediation
[D.I. 812] (the “Mediation Order”). The Debtors subsequently successfully defended the
Mediation Order against a motion for reconsideration filed by Century, which the Court denied
on July 14, 2020—thereby enabling the mediators to move forward with the substantial task of
mediating these large and complex cases. The original mediation parties consisted of (a) the
Debtors; (b) the Ad Hoc Committee; (c) the Future Claimants’ Representative; (d) the Tort
Claimants’ Committee, including its members, Professionals, and the individual members’


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professionals; (e) the Creditors’ Committee, including each parties’ members, professionals, and
the individual members’ professionals; and (f) the following insurers: The Chubb Group of
Insurance Companies, The Hartford Companies, Allianz Global Risks US Insurance Company,
National Surety Corporation, Liberty Mutual Insurance Company, and American International
Group, Inc. Entities.

        On August 26, 2020, the Coalition moved to participate in the mediation [D.I. 1161],
arguing that the Coalition was a necessary and beneficial party to the Mediation Order and
should be permitted to participate in, and will add value to, efforts to reach a global resolution.
On September 2, 2020, various parties filed objections to the Coalition’s motion, including
Hartford and certain other insurers [D.I. 1222], Allianz Global Risks U.S. Insurance Company
and National Surety Corporation [D.I. 1224], the Tort Claimants’ Committee [D.I. 1229], and
Century [D.I. 1230]. Century argued that “the Coalition’s participation in the mediation and
access to highly confidential information obtained through participation, raises . . . serious
concerns,” and that the Coalition should be required to file a Rule 2019 disclosure to identify
conflicts that may be created by the Coalition’s representation by Blank Rome LLP. The Tort
Claimants’ Committee argued, among other things, that the Coalition’s motion should not be
granted because “it is nothing more than a marketing term that was concocted by six law firms
who were unhappy they could not control the Tort Claimants’ Committee to implement their
agenda in the case.” [D.I. 1231 at 1]. On October 23, 2020, the Bankruptcy Court overruled
these objections and entered an order allowing the Coalition to participate in the mediation and
designating the Coalition as a mediation party [D.I. 1573].

        The Debtors have subsequently engaged in extensive discussions and negotiations with
the mediation parties regarding complex legal and factual issues that must be addressed in
connection with a global resolution of Abuse Claims. Numerous additional parties have joined
the mediation subsequent to the Coalition’s designation as a mediation party. Such parties
include JPM Chase Bank, N.A.; the Corporation of the President of the Church of Jesus Christ of
Latter-day Saints; the United Methodist Ad Hoc Committee; Agricultural Insurance Company;
Aspen Insurance Holdings, Limited; AXA XL Insurance; CNA Insurance Companies; General
Star Indemnity Company; Markel Insurance Company; Arrowood Indemnity Company; Old
Republic Insurance Company; Travelers Indemnity Company; Colony Insurance Company;
Argonaut Insurance Company; and Clarendon America Insurance Company. As of the filing of
this Disclosure Statement, intensive formal mediation is continuing in an effort to resolve
outstanding controversies, including issues relating to the terms of the Plan.

L.     Evaluation of Estate Assets

        On June 18, 2020, the Debtors filed the Debtors’ Omnibus Application for Entry of an
Order Authorizing the Retention and Employment of Appraisers for the Debtors and Debtors in
Possession, Nunc Pro Tunc to June 18, 2020 [D.I. 868], seeking to retain five different
appraisers—Appraisers of the Keys, Inc.; Hotel & Leisure Advisors; F.I. Salter, Inc.; Dawn M.
Powell Appraisals Inc.; and BW Ferguson & Associates Ltd. (collectively, the “Appraisers”)—to
provide appraisal services for the high adventure facilities located in Florida, Minnesota, and
parts of Canada, New Mexico, and West Virginia. Due to the differences in geographic location,
property type, acreage, and land use of each high adventure facility, the Debtors retained
Appraisers for each of the following: Sea Base; Philmont and Summit; the portion of Northern


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Tier located in Minnesota; the portion of Northern Tier located in Ontario, Canada; and the
remainder of Northern Tier located in Manitoba, Canada (collectively, the “Subject Properties”).
The Court entered an order authorizing the retention and employment of the Appraisers on July
8, 2020 [D.I. 984].

         Pursuant to their engagement letters, the Appraisers provided the following during their
appraisal process: (a) a highest and best use analysis, consideration, and determination of which
is a standard and requisite component of property valuation; (b) physical viewing, inspection,
and measurement of structures on the Subject Properties, observation of the condition of
improvements, characterization of land use, and consideration of other conditions of the
properties that may impact market values; (c) consideration of the number, type, sizes, uses, and
conditions of structures on the Subject Properties; (d) research and consideration of rights
restrictions and zoning restrictions on the Subject Properties; and (e) consideration of other
requirements and restrictions specific to certain of the Subject Properties, including growth
ordinance requirements, marinas draft depth and access channels, property composition,
comparable sales data, water rights, property damage, and mineral rights.

        As noted above, on November 30, 2020, in connection with the Debtors’ ongoing efforts
to evaluate Estate and non-Estate assets to fund the Settlement Trust and the Plan, the Debtors
filed an application to retain JLL [D.I. 1762], which the Bankruptcy Court approved on
December 14, 2020 [D.I. 1841]. The Debtors have retained JLL to provide broker opinions of
market value, in consultation with certain of their stakeholders, of certain Local Council
properties, which are ongoing as of the date hereof. Because many Local Councils lack
significant unrestricted liquid assets, any contribution from Local Councils in the aggregate may
need to include real property and improvements as a component, and any Local Councils that
desire to participate in any potential negotiated resolution may wish to value potential real
property that they seek to contribute. The Debtors are continuing to work with JLL to appraise
approximately 300 of the approximately 1,000 Local Council real properties.

       Concurrently with the filing of the Debtors’ application to retain JLL, the Tort Claimants’
Committee filed an application to retain CBRE, Inc. to provide desktop appraisals of additional
of the Local Council real properties described above [D.I. 1785]. The Bankruptcy Court
approved the application on December 15, 2020 [D.I. 1846]. The Debtors and the Tort
Claimants’ Committee have agreed to coordinate with respect to the appraisal of the Local
Council properties to avoid unnecessary duplication of services.

M.     Bar Dates and Body of Claims

       On the Petition Date, the Debtors filed the Debtors’ Motion, Pursuant to 11 U.S.C.
§ 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and
3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the
Form and Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Victims, and (IV) Approve Confidentiality Procedures
for Abuse Victims [D.I. 18]. On May 4, 2020, the Debtors filed the declaration of Shannon R.
Wheatman, Ph.D, in support of the Bar Date Order [D.I. 556] and the Supplement to Debtors’
Bar Date Motion [D.I. 557], which described the Supplemental Notice Plan, to provide extensive
supplemental noticing to known and unknown survivors of Abuse.


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        After extensive negotiations regarding the Bar Date Order and the noticing program with
parties in interest, on May 26, 2020, the Court entered an order approving the Bar Date Motion
over the remaining objections of certain parties in interest [D.I. 695] (the “Bar Date Order”).
The Supplemental Notice Plan approved by the Bankruptcy Court was a carefully tailored and
highly negotiated multi-million dollar Bar Date noticing program, comprised of an advertising
campaign that utilized television, radio, magazines, newspapers, and online media. As described
in detail in the declarations of Dr. Wheatman, the Debtors’ primary target audience for the
Supplemental Notice Plan was men 50 years of age or older. As described in the declaration
from Dr. Wheatman regarding the implementation of the Supplemental Notice Plan [D.I. 1758],
the Debtors delivered notice of the Bar Dates to the Debtors’ primary target audience of men 50
years of age or older with a reach (the estimated percentage of a target audience reached through
a combination of media vehicles) of 95.8%, and a frequency (the estimated average number of
opportunities an audience member has to see a notice).36

         1.       Establishment of Bar Dates

        Through the Bar Date Order, the Debtors established (a) November 16, 2020 as the last
date by which claimants could assert any prepetition Claims against the Debtors (the “General
Bar Date”), except for Abuse Claims, (b) November 16, 2020 as the last date by which any
holder of an Abuse Claim could assert any Claim arising from Abuse occurring prior to the
Petition Date, and (c) August 17, 2020 as the deadline for Governmental Units to assert any
prepetition Claims against the Debtors.

         2.       Non-Abuse Liabilities of the Debtors

       The Non-Abuse Claims and Non-Abuse Litigation Claims filed against the Debtors
include, but are not limited to, various employee and benefits related Claims; indemnification
Claims from, without limitation, Chartered Organizations, directors and officers, and Local
Councils; non-Abuse personal injury and litigation Claims; and contract claims. In addition,
numerous Non-Abuse Claims and Non-Abuse Litigation Claims were included in the Debtors’
Schedules. The scheduled Claims fall into categories including, but not limited to, employment,
personal injury, environmental Claims, service and utility claims, trade payments, unclaimed
property, surety bonds, deferred compensation, Restoration Plan, and workers’ compensation.

        Further, the Debtors believe that they were generally current on their known prepetition
trade payables as of the Petition Date.

       Particular parties may attempt to file additional Claims notwithstanding the passage of
the Bar Dates and seek allowance of such Claims by the Court. Additionally, claimants may
amend certain existing Claims to seek increased amounts.

         3.       Non-Abuse Claims Reconciliation

      At the time of the Bar Date, approximately 15,000 Claims (other than Direct Abuse
Claims) were timely filed on the general Claims Register.

36   As discussed further below, Century filed a Notice of Appeal [D.I. 803] of the Bar Date Order on June 9, 2020, which
     remains pending as of the date hereof.


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        The Debtors continue to review and analyze the proofs of Claim filed to date, and
reconcile these Proofs of Claim with the Debtors’ scheduled Claims. On February 3, 2021, the
Debtors filed their First Omnibus (Non-Substantive) Objection to Certain (I) Exact Duplicate
Claims, (II) Amended and Superseded Claims, and (III) Incorrect Debtor Claims (Non-Abuse
Claims) [D.I. 2019]; Second Omnibus (Substantive) Objection to Certain (I) Cross-Debtor
Duplicate Claims, (II) Substantive Duplicate Claims, (III) No Liability Claims, (IV) Misclassified
Claims, and (V) Reduce and Allow Claims (Non-Abuse Claims) [D.I. 2020]; and First Notice of
Satisfaction of Claims and/or Scheduled Amounts (Non-Abuse Claims) [D.I. 2021]. The Debtors
will continue to file objections and may seek stipulations with respect to certain of these Claims.

       4.      Supplemental Bar Date Order

        On August 25, 2020, the Debtors filed the Debtors’ Motion Pursuant to Section 105(a) of
the Bankruptcy Code and ¶ 27 of the Bar Date Order for Entry of an Order (I) Supplementing
the Bar Date Order and (II) Granting Related Relief [D.I. 1145] (the “Supplemental Bar Date
Motion”), requesting that the Court supplement the Bar Date Order to prevent potential Abuse
survivors from being misled or confused regarding the Bar Date and Claims process. In the
Supplemental Bar Date Motion and in supplemental briefing [D.I. 1260], the Debtors alleged that
certain law firms had engaged in their own false and misleading advertising to solicit Claims
from Abuse survivors, and that certain advertising contained false and misleading statements and
was inconsistent with the content approved by the Bankruptcy Court in the Bar Date Order.

         The Coalition objected to the Supplemental Bar Date Motion [D.I. 1190, 1264], arguing
that the Debtors’ proposed supplement sought an overly-broad, content-based prior restraint of
speech. After negotiations between the Debtors and the Coalition following a hearing on the
Supplemental Bar Date Motion, on September 16, 2020, the Bankruptcy Court entered an order:
(i) ruling that certain specific statements in plaintiffs’ law firm advertising regarding the
Debtors’ Chapter 11 Cases was false and misleading; (ii) directing that the false and misleading
statements be removed; (iii) directing that certain clarifying information be added to such law
firms’ advertising to prevent confusion and prejudice of sexual abuse survivors; and
(iv) approving procedures for the Debtors to seek expedited relief with respect to additional false
and misleading law firm advertising [D.I. 1331].

N.     Assumption and Rejection of Unexpired Leases and Executory Contracts

        Since the commencement of these Chapter 11 Cases, the Debtors have strategically
reviewed their contractual obligations and sought to weed out contractual agreements that do not
provide a significant value to the Debtors’ Estates going forward. Consistent with this goal, on
March 31, 2020, the Debtors filed a motion seeking entry of an order authorizing the Debtors to
reject that certain Personal Services Agreement by and between Pearson Education, Inc.
(“Pearson”) and the BSA whereby Pearson agreed to provide various services to the BSA,
including providing publishing and communications channels, marking communications,
program materials, and saleable literature [D.I. 318]. That same day, the Debtors filed an
omnibus motion seeking authority to reject three additional Executory Contracts, including a
sublease for office space in New York, New York and a letter agreement for hotel
accommodations in connection with a regional conference the BSA had planned but was



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ultimately canceled [D.I. 319]. The Bankruptcy Court entered orders approving both motions on
April 15 and 17, 2020, respectively [D.I. 440, 449].

       On June 16, 2020, the Debtors filed a motion seeking an order extending the 120-day
period for the Debtors to assume or reject Unexpired Leases of nonresidential real property by
ninety (90) days, to September 15, 2020 [D.I. 857]. On July 6, 2020, the Bankruptcy Court
entered an order granting the motion [D.I. 954].

        In June of 2020, the Debtors motions seeking entry of orders (a) rejecting the lease of
nonresidential real property with Dheera Limited Company, LLC effective as of June 30, 2020
[D.I. 865], and (b) rejecting an Executory Contract with Oracle America, Inc. effective as of June
30, 2020 [D.I. 906]. The Bankruptcy Court entered orders approving both of these motions [D.I.
981, 982].

        On August 26, 2020, the Debtors filed their first omnibus motion seeking entry of an
order approving assumption of various Unexpired Leases of nonresidential real property and
fixing the cure amount with respect thereto [D.I. 1168]. Several days later, the Debtors entered
into stipulations with lease counterparties extending the deadline to assume or reject until June
30, 2021 and filed those stipulations with the Court [D.I. 1298]. On September 11, 2020, the
Bankruptcy Court entered two orders approving the Debtors’ omnibus motion to assume
Unexpired Leases and extending the deadline to assume or reject to June 30, 2021 [D.I. 1310,
1311].

O. Stay Relief Matters

       1.      Old Republic

       On May 21, 2020, Old Republic Insurance Company filed Old Republic Insurance
Company’s Motion Pursuant to Sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy
Rule 4001 for an Order Modifying the Automatic Stay to Permit Payments of Claims Against
Non-Debtor Insureds and Related Defense Costs Under Insurance Policies [D.I. 678] requesting
entry of an order modifying the automatic stay, to the extent it applies, to allow Old Republic
and ESIS to pay losses and expenses which are incurred in conjunction with the investigation,
defense, adjustment or settlement of certain non-stayed Claims or suits on behalf Non-Debtor
Insureds under certain Old Republic Insurance Policies.

       On July 7, 2020, the Bankruptcy Court entered the Order Granting Old Republic
Insurance Company’s Motion Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy
Rule 4001 for an Order Modifying the Automatic Stay to Permit Payments of Claims Against
Non-Debtor Insured Parties and Related Defense Costs Under Insurance Policies [D.I. 985],
which modified the automatic stay, to the extent it applies, to allow Old Republic Insurance
Company and its Affiliates (collectively “Old Republic”) and ESIS, Inc. (“ESIS”) to administer,
handle, provide for the payment of defense costs and to pay any judgments or settlements in
connection with Claims or Causes of Action, not subject to the automatic stay against non-
Debtor Entities that are covered by an Old Republic Primary Policy and by an Old Republic
Excess Policy. With respect to settlements or judgments against non-Debtor Entities covered by
an Old Republic Excess Policy, the automatic stay was modified to allow Old Republic and ESIS


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to pay any judgments or settlements on behalf of the insured non-Debtor Entities in connection
with any Claims and Causes of Action against non-Debtor Entities pursuant to a notice protocol
set forth therein.
       2.     Evanston

       On May 22, 2020, Evanston Insurance Company filed the Evanston Insurance
Company’s Motion for Entry of an Order Pursuant to Section 362 of the Bankruptcy Code and
Bankruptcy Rule 4001, Modifying the Automatic Stay to Permit Payments of Claims Against
Non-Debtor Insured Parties and Related Defense Costs Under Insurance Policies [D.I. 686]
requesting entry of an order modifying the automatic stay, to the extent it applies, to allow
Evanston to pay losses and expenses which are incurred in conjunction with the investigation,
defense, adjustment, or settlement of certain non-stayed Claims or suits on behalf Non-Debtor
Insureds under certain Evanston Insurance Policies.

        On July 8, 2020, the Bankruptcy Court entered the Order Granting Evanston Insurance
Company’s Motion Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy Rule 4001
for an Order Modifying the Automatic Stay to Permit Payments of Claims Against Non-Debtor
Insured Parties and Related Defense Costs under Insurance Policies [D.I. 987], which modified
the automatic stay to allow Evanston to pay any judgments or settlements in connection with any
Non-Stayed Claims against Non-Debtor Insureds pursuant to a notice protocol set forth therein.
P.     Other Litigation

       1.     Trademark Action

        On November 6, 2018, Girl Scouts of the United States of America (“GSUSA”) filed a
complaint in the United States District Court for the Southern District of New York, Case No.
18-cv-10287, against the BSA, alleging trademark infringement, dilution and tortious
interference in connection with the BSA welcoming female members in into its youth programs
(the “Trademark Action”). In December 2018, BSA retained Quinn Emanuel Urquhart &
Sullivan, LLP (“Quinn Emanuel”) as legal counsel in the Trademark Action. On February 18,
2020, the Debtors filed these Chapter 11 Cases, thereby staying the Trademark Action. On
March 10, 2020, GSUSA filed a motion for relief from stay to resume prosecution of the
Trademark Action [D.I. 155], and on April 24, 2020, the Bankruptcy Court entered an order
granting limited relief from the stay [D.I. 485]. Pursuant to the order, the stay relief period
ended on July 22, 2020 with respect to the Trademark Action. The BSA and GSUSA were
unable to reach a resolution, and on July 23, 2020, the automatic stay was lifted to permit the
Trademark Action to proceed. On September 18, 2020 the Bankruptcy Court entered an order
authorizing the retention and employment of Quinn Emanuel as special litigation counsel to the
Debtors pursuant to section 327(e) of the Bankruptcy Code, nunc pro tunc to August 1, 2020, to
represent the Debtors in the Trademark Action [D.I. 1343]. The Trademark Action remains
ongoing.

       2.     Adversary Proceedings and Appeals

     On May 15, 2020, Hartford Accident and Indemnity Company and First State Insurance
Company (“Hartford and State”) filed an adversary complaint against the Debtors, certain Local


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Councils, and other insurers seeking declaratory judgment and contribution relating to Claims for
Insurance Coverage for all underlying Abuse Claims against BSA and certain of its Local
Councils (Adv. Pro. No. 20-50601). On August 14, 2020, the Debtors and the named Local
Councils filed a motion to dismiss Hartford and State’s adversary proceeding [D.I. 22]. The
Debtors subsequently successfully negotiated a stay of the entirety of the Hartford and State
adversary proceeding.

       On June 9, 2020, Century filed an appeal (Civil Action No. 20-cv-00774) (the “Century
Bar Date Appeal”) of the Bar Date Order, alleging that the Proof of Claim form for Abuse
claimants approved in the Bar Date Order was not properly before the Bankruptcy Court and was
not designed to elicit sufficient information to establish the prima facie validity of Claims. On
June 22, 2020, the Debtors filed a motion to dismiss the Century Bar Date Appeal [Century Bar
Date Appeal, D.I. 4], and additionally prepared and filed extensive briefing in support of the
motion to dismiss. The appeal remains pending as of the date hereof.

        On January 8, 2021, the Tort Claimants’ Committee filed an adversary complaint seeking
a determination that approximately $667 million of the Debtor’s total approximately $1 billion in
assets are not restricted and, as such, that they should be available to satisfy creditors’ Claims
[D.I. 1913]. The Tort Claimants’ Committee alleged that the Debtors failed to show that there
are any specific donation-related restrictions or others on the assets that would make the assets
unavailable to satisfy creditor Claims. Further, the Tort Claimants’ Committee’s complaint
asserted that the Debtors failed to trace the restricted assets that were commingled with
unrestricted assets and to demonstrate that those assets were not used, spent, or transferred.

       3.      2004 Exam Motions

       On September 29, 2020, the Tort Claimants’ Committee filed the Motion of the Official
Tort Claimants’ Committee Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an
Order Authorizing the Issuance of Subpoenas for Discovery from Debtors and Certain Local
Councils [D.I. 1379] (the “2004 Motion”), requesting entry of an order authorizing the Tort
Claimants’ Committee to issue subpoenas to and directing discovery from the Debtors, Ad Hoc
Committee Members, and the locals listed on Exhibit B thereto. The Debtors, the Ad Hoc
Committee, and various Local Councils objected to the 2004 Motion, and the Tort Claimants’
Committee ultimately withdrew the 2004 Motion on November 25, 2020 [D.I. 1735].

        On January 22, 2021, Hartford Accident and Indemnity Company, First State Insurance
Company and Twin City Fire Insurance Company (collectively, “Hartford et al.”), and Century
filed Hartford and Century’s Motion for an Order (I) Authorizing Certain Rule 2004 Discovery
and (II) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus
Objections [D.I. 1972], which requested entry of an Order (i) authorizing Hartford et al. and
Century to serve subpoenas, written discovery, including interrogatories and document requests,
and deposition notices pursuant to Rule 2004 on a sampling of Persons who have filed Abuse
claims in these cases and (ii) providing relief from the requirements of Local Rule 3007-1(f) to
permit (but not require) parties in interest in these Chapter 11 Cases to file omnibus Claim
objections raising common legal issues to multiple Claims and that may, most efficiently, be
subject to resolution if heard together.



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       On January 22, 2021, Hartford et al and Century also filed Hartford and Century’s
Motion for Entry of an Order Authorizing Filing Under Seal of Certain Documents Relating to
Hartford and Century’s Motion for an Order (I) Authorizing Certain Rule 2004 Discovery and
(II) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus
Objections [D.I. 1973], which requested entry of an Order (i) authorizing Hartford et al. and
Century to file under seal certain portions of their Motion for an Order (I) Authorizing Certain
Rule 2004 Discovery and (II) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of
Substantive Omnibus Objections [D.I. 1972] (the “Rule 2004 Motion”) and certain supporting
documents (the “Supporting Documents”); (ii) directing that information contained in the
redacted portions of the Rule 2004 Motion and the Supporting Documents (collectively, the
“Confidential Information”) shall remain under seal and confidential pursuant the Bar Date
Order [D.I. 695] (entered by the Court on May 26, 2020) and shall not be made available to
anyone, except to the Court, the Office of the United States Trustee for the District of Delaware,
and the Permitted Parties (as defined in the Bar Date Order); and (iii) granting related relief.

         4.        Personal Injury Settlement Motions

       The Debtors filed motions for entry of orders approving various settlements in connection
with personal injury and wrongful death actions (the “Personal Injury Settlements”)37 and lifting
the automatic stay, to the extent necessary, to permit payments of the settlement amount by
applicable insurance. The Court entered orders approving the settlement agreements, and
modifying the automatic stay of 11 U.S.C. § 362(a) for the parties to consummate the settlement
agreements.

         The aim of the Personal Injury Settlements is to avoid the uncertainty and expense of
litigating the lawsuits and uncertainty with respect to the amount and timing if a judgment were
to be awarded. In addition, the BSA is released under the settlement agreements, eliminating any
liability under a plan of reorganization. Accordingly, the settlement agreements are in the best
interests of the Debtors’ Estates and their creditors.

         The Court has only authorized such Claims to be negotiated pre-litigation or liquidated in
the tort system, without authorizing the payment of any settlements or judgments reached. As a
result, the only economic impact on the Estate will be the incurrence of defense costs, which will
be paid by the applicable insurer. These defense costs are unavoidable and will ultimately be
incurred by either the Estate or the insurer, either now or later. It is just a matter of timing.

       Moreover, the Court cannot adjudicate personal injury claims under 28 U.S.C. §
157(b)(2)(B). Nor is it anticipated that these Claims will be allowed or treated pursuant to any
Trust Distribution Procedures (unlike the Abuse Claims).

Q.       Material Settlements and Resolutions

        As of the filing of this Disclosure Statement, the Plan (as further described in Article VI
of this Disclosure Statement and Article V.R of such Plan), effectuates a settlement among (i) the

37   These include, but are not limited to, approving Qian Settlement Agreement [D.I. 1123], Wilson Settlement Agreement [D.I.
     1596], Worley Settlement Agreement [D.I. 1598], Gordon Settlement Agreement [D.I. 1880], Henderson Settlement
     Agreement [D.I. 1881], and Neyrey Settlement Agreement [D.I. 1986].


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Debtors, (ii) the Creditors’ Committee, and (iii) JPM (the “JPM / Creditors’ Committee
Settlement”). The JPM / Creditors’ Committee Settlement represents a good-faith agreement
negotiated at arm’s length that provides significant value to the holders of Convenience Claims,
General Unsecured Claims, and Non-Abuse Litigation Claims and provides the Debtors with
more favorable terms under the amended and restated debt facilities provided by JPM on and
after the Effective Date under the Restated Debt and Security Documents.

        Specifically, the JPM / Creditors’ Committee Settlement provides, among other things,
the following terms with respect to general unsecured creditors (other than Abuse Claims):

      General Unsecured Claims (other than Abuse Claims), which are held by creditors who
       are core to the Debtors’ mission or creditors whose Claims, if Allowed, were incurred in
       furtherance of the Debtors’ mission, shall be classified into three Classes: (i) General
       Unsecured Claims; (ii) Convenience Claims; and (iii) Non-Abuse Litigation Claims;
       Cash under the Plan to satisfy Allowed General Unsecured Claims and Convenience
       Claims will be made from Cash relating to the BSA’s core assets.

      Holders of Allowed General Unsecured Claims (including holders of Claims under the
       Restoration Plan, the Deferred Compensation Plan, holders of trade Claims, and holders
       of Rejection Damages Claims) will receive, on account of such Claims, their Pro Rata
       Share of the Core Value Cash Pool, which shall be funded by reorganized BSA in four
       semi-annual installments of $6,250,000, beginning 180 days after the Effective Date and
       concluding two years after the Effective Date. Any Cash remaining in the Core Value
       Cash Pool after all Allowed General Unsecured Claims have been satisfied in full, shall
       be first used to fund any shortfall in payments from the BSA’s available insurance and
       co-liable non-Debtors on account of any Non-Abuse Litigation Claims, and then be
       transferred to and vest in Reorganized BSA.

      Holders of General Unsecured Claims or Non-Abuse Litigation Claims (after first
       seeking to recover from insurance, and have exhausted all remedies with respect to such
       applicable insurance policy) that have an Allowed Claim of $50,000 or less and shall
       become Convenience Class Claims, which are paid by Reorganized BSA in full, using
       Cash on hand, on the Effective Date of the Amended Plan or, if such Claim becomes
       allowed after the Effective Date, as soon as reasonably practicable after Allowance. Any
       holder of a General Unsecured Claim or Non-Abuse Litigation Claim that is Allowed in
       an amount greater than $50,000 may elect to have its claim treated as a Convenience
       Claim and receive payment of $50,000 in Cash in full and final satisfaction of such
       Claim.

      Holders Non-Abuse Litigation Claims will, upon the liquidation of such Non-Abuse
       Litigation Claim following the Effective Date, be satisfied solely from the BSA’s
       available insurance and from any non-Debtor party or parties that may be determined to
       be co-liable with the Debtors on account of such Non-Abuse Litigation Claim. No holder
       of an allowed Non-Abuse Litigation Claim shall be entitled to recover from the Core
       Value Cash Pool on account of such Claim, unless and until all allowed General
       Unsecured Claims have been paid in full. Solely, in the event any Non-Abuse Litigation
       Claim is not covered by applicable BSA insurance or there is a shortfall in BSA’s


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       applicable insurance for such Non-Abuse Litigation Claim, following the exhaustion of
       remedies with respect to applicable insurance and any co-liable non-Debtor, the holder of
       an Allowed Non-Abuse Litigation Claim may elect to have such Claim treated as a
       Convenience Claim and receive Cash in an amount equal to the lesser of (a) the amount
       of its Allowed Non-Abuse Litigation Claim and (b) $50,000.

      A Creditor Representative, to be selected by the UCC with the consent of the Debtors
       shall be appointed to assist with the reconciliation of General Unsecured Claims.

      The Pension Plan shall continue to be maintained, sponsored, and assumed.

       The JPM / Creditors’ Committee Settlement also provides, among other things, the
following terms with respect to JPM:

      JPM will enter into amended and Restated Debt and Security Documents on the Effective
       Date in principal amounts equal to the amounts of unpaid principal and accrued interest
       and fees as of the Effective Date and containing substantially the same terms as the
       Prepetition Debt and Security Documents, except that:

          o The maturity date on the principal under the amended and restated 2010 Bond
            Documents and the 2012 Bond Documents was extended to ten (10) years after
            the Effective Date and the Debtors were given a two (2) year payment holiday
            such that monthly principal installments for the first two (2) years are deferred
            until maturity;

          o The maturity date on the principal under the amended and restated 2010 Credit
            Facility Documents and the 2019 RCF Documents (which revolver shall be frozen
            and termed out under the amended and Restated Debt and Security Documents)
            was extended to ten (10) years after the Effective Date and the Debtors were
            given a two (2) year payment holiday such that monthly principal installments for
            the first two (2) years are deferred until maturity;

          o Pursuant to the amended and Restated Debt and Security Documents, the
            principal amounts payable will be reduced, on a pro rata basis amongst the
            facilities, by an amount equal to the Unrestricted Cash and Investments, if any,
            that have been remitted to JPM under the Excess Cash Sweep (as described
            below); and

          o Beginning on December 31 two (2) years after the Effective Date and continuing
            each successive calendar year the calendar year that is immediately prior to the
            calendar year of the Maturity Date, Reorganized BSA shall remit to JPM twenty-
            five percent (25%) of its Unrestricted Cash and Investments in excess of
            $75,000,000, if any, as of such date with the payment due within 45 days (the
            “Excess Cash Sweep”), and JPM shall apply any such amounts on a Pro Rata
            basis to the unpaid principal balances under the amended and Restated Debt and
            Security Documents. However, no payments shall be made on account of the



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              Excess Cash Sweep until the last Distribution is made on account of General
              Unsecured Claims two years after the Effective Date.

      JPM was also granted Allowed Claims in the following amounts, plus any accrued but
       unpaid interest and reasonable fees and expenses as of the Effective Date to the extent not
       paid pursuant to the Cash Collateral Order:

           o on account of the 2010 Credit Facility Claims, an aggregate amount not to exceed
             $80,762,060 (including $44,299,743 of undrawn amounts under letters of credit
             issued under the 2010 Credit Facility Documents);

           o on account of the 2019 RCF Claims, an aggregate amount not to exceed
             $61,542,720 (including $51,542,720 of undrawn amounts under letters of credit
             issued under the 2019 RCF Documents);

           o on account of the 2010 Bond Claims, an aggregate amount of $40,137,274; and

           o on account of the 2012 Bond Clams, an aggregate amount of $145,662,101.

       In exchange for the agreements in the JPM / Creditors’ Committee Settlement, the
following term are also provided:

      Certain releases, including with respect to JPM as well as Debtor releases of all
       preference and other avoidance action Claims against holders of General Unsecured
       Claims and Convenience Claims.

      The Committee’s agreement to not seek standing, or otherwise pursue any prepetition
       avoidance-related Claim that could be asserted against JPM or others, or to challenge the
       allowance of certain of the Claims of JPM.

        The Debtors are committed to ensuring that the aggregate value of the Local Council
Settlement Contribution is not less than $300,000,000. The Debtors intend to request the
voluntary commitments of Local Councils to make their respective contributions, which
contributions shall be set forth in commitment agreements executed by each Local Council. By
no later than June 1, 2021, the Debtors shall file a report with the Bankruptcy Court concerning
the status of the Debtors’ efforts to obtain contribution commitments from the Local Councils.
Such status report shall contain information concerning the form of contributions by the Local
Councils (i.e., cash, real property, securities or other currency) and the timing of such
contributions. In addition, the status report will set forth any required amendments the Debtors
may propose to the Plan to facilitate the Local Council Settlement Contribution.

       The Plan also contemplates that the Contributing Chartered Organizations will contribute
the Contributing Chartered Organization Settlement Contribution and waive and release any
Claims that have been asserted in these Chapter 11 Cases by or on behalf of any Contributing
Chartered Organization, including Indirect Abuse Claims. Additionally, the Contributing
Chartered Organizations will assign any Perpetrator Indemnification Claims held by the
Contributing Chartered Organizations.


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        In exchange for the Local Council Settlement Contribution and the Contributing
Chartered Organization Settlement Contribution, which the Debtors believe will provide
significant value to the Settlement Trust to fund Abuse Claims, the Local Councils and
Contributing Chartered Organization will be granted third-party releases and Abuse Claims
against the Local Councils and Contributing Chartered Organizations will be channeled to the
Settlement Trust, as described in Article X.F of the Plan.

       The Debtors intend to continue to engage in good-faith arm’s-length negotiations with
other key parties in interest in these Chapter 11 Cases to achieve settlements and agreements to
maximize the value of the Debtors’ Estates and for the benefit of holders of Claims.

                     ARTICLE VI. OVERVIEW OF THE PLAN

A.     General

        This Article of the Disclosure Statement summarizes certain relevant provisions of the
Plan. The confirmation of a plan of reorganization is the principal objective of a chapter 11 case.
A plan of reorganization sets forth the means for treating claims against, and equity interests in, a
debtor. Confirmation of a plan of reorganization by a bankruptcy court makes it binding on the
debtor, any person or Entity acquiring property under the plan, and any creditor of, or equity
interest holder in, the debtor, whether or not such creditor or equity interest holder has accepted
the plan or received or retains any property under the plan. Subject to certain limited exceptions
and other than as provided in a plan itself or in a confirmation order, a confirmation order
discharges the debtor from any debt that arose prior to the date of confirmation of the plan of
reorganization.

       Pursuant to Article V, of the Plan, on or after the Confirmation Date, the Debtors shall be
empowered and authorized to take or cause to be taken, prior to the Effective Date, all actions
necessary to enable them to implement the provisions of the Plan on the Effective Date,
including the creation of the Settlement Trust and the preparations for the transfer of the
Settlement Trust Assets to the Settlement Trust.

    YOU SHOULD READ THE PLAN IN ITS ENTIRETY BEFORE VOTING TO
ACCEPT OR REJECT THE PLAN.

B.     Distributions

        One of the key concepts under the Bankruptcy Code is that only Claims and interests that
are “allowed” may receive distributions under a chapter 11 plan. This term is used throughout
the Plan and the descriptions below. In general, an Allowed Claim means that the Debtors agree,
or if there is a dispute, the Bankruptcy Court determines, that the Claim (other than an Abuse
Claim), and the amount thereof, is in fact a valid obligation of the Debtors. Similarly, with
respect to Abuse Claims, such Claims will be channeled to, as well as allowed and resolved by,
the Settlement Trust in accordance with the Trust Distribution Procedures. A detailed discussion
of the treatment and anticipated means of satisfaction for each Class of Allowed Claims and the
Class of Abuse Claims that are channeled to the Settlement Trust and allowed pursuant to terms
of the Trust Distribution Procedures is set forth in Article VI.E and Article VI.F of this
Disclosure Statement.

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C.         Treatment of Unclassified Claims

           The treatment of unclassified Claims are as follows:

     Class      Designation      Treatment under the       Impairment and      Estimated Amount
                                        Plan                Entitlement to     and Approximate
                                                                 Vote              Percentage
                                                                                    Recovery
     N/A        Administrative Each holder of an           Unimpaired          Estimated Allowed
                Expense        Allowed Administrative                          Amount: $.4 million
                Claims         Expense Claim shall         Not Entitled to     – $.5 million
                               receive payment of Cash     Vote (Presumed to
                               in an amount equal to       Accept)
                               the unpaid portion of                           Estimated
                               such Allowed                                    Percentage
                               Administrative Expense                          Recovery: 100%
                               Claim.
     N/A        Professional   Each holder of an           Unimpaired        Estimated Allowed
                Fee Claims     Allowed Professional                          Amount: $30
                               Fee Claim shall receive     Not Entitled to   million – $35
                               payment in Cash from        Vote (Presumed to million
                               funds held in the           Accept)
                               Professional Fee
                               Reserve.                                        Estimated
                                                                               Percentage
                                                                               Recovery: 100%
     N/A        Priority Tax    Each holder of an          Unimpaired          Estimated Allowed
                Claims          Allowed Priority Tax                           Amount: Less than
                                Claim shall receive Cash   Not Entitled to     $0.1 million
                                in an amount equal to      Vote (Presumed to
                                such Allowed Priority      Accept)
                                Tax Claim.                                     Estimated
                                                                               Percentage
                                                                               Recovery: 100%

           1.      Administrative Expense Claims Generally

        Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
less favorable treatment with respect to such Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim (other than Professional Fee Claims, which
are governed by Article II.A.2 of the Plan) shall receive, on account of and in full and complete
settlement, release and discharge of, and in exchange for, such Claim, payment of Cash in an
amount equal to the unpaid portion of such Allowed Administrative Expense Claim, or such
amounts and on other such terms as may be agreed to by the holders of such Claims, on or as
soon as reasonably practicable after the later of: (a) the Effective Date; (b) the first Business Day
after the date that is thirty (30) calendar days after the date such Administrative Expense Claim


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becomes an Allowed Administrative Expense Claim; (c) such other date(s) as such holder and
the Debtors or Reorganized BSA shall have agreed; or (d) such other date ordered by the
Bankruptcy Court; provided, however, that Allowed Administrative Expense Claims that arise in
the ordinary course of the Debtors’ non-profit operations during the Chapter 11 Cases may be
paid by the Debtors or Reorganized BSA in the ordinary course of operations and in accordance
with the terms and conditions of the particular agreements governing such obligations, course of
dealing, course of operations, or customary practice. Notwithstanding anything to the contrary in
the Plan or in the Cash Collateral Order, no Claim on account of any diminution in the value of
the Prepetition Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral)
(as each such capitalized term is defined in the Cash Collateral Order) from and after the Petition
Date shall be Allowed unless such Claim is Allowed by a Final Order of the Bankruptcy Court.

     HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS THAT ARE REQUIRED
TO, BUT DO NOT, FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH
ADMINISTRATIVE EXPENSE CLAIMS BY THE ADMINISTRATIVE CLAIMS BAR
DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH ADMINISTRATIVE EXPENSE CLAIMS AGAINST THE
DEBTORS OR THEIR PROPERTY, AND SUCH ADMINISTRATIVE EXPENSE
CLAIMS SHALL BE DEEMED DISCHARGED AS OF THE EFFECTIVE DATE.

       2.      Professional Fee Claims

   (a) Final Fee Applications. All Professionals or other Persons requesting the final
       Allowance and payment of compensation and/or reimbursement of expenses pursuant to
       sections 328, 330, 331 and/or 503(b) for services rendered during the period from the
       Petition Date to and including the Effective Date shall file and serve final applications for
       Allowance and payment of Professional Fee Claims on counsel to the Debtors and the
       United States Trustee no later than the first Business Day that is forty-five (45) days after
       the Effective Date. Objections to any Professional Fee Claim must be filed and served on
       Reorganized BSA and the applicable Professional within twenty-one (21) calendar days
       after the filing of the final fee application that relates to the Professional Fee Claim
       (unless otherwise agreed by the Debtors or Reorganized BSA, as applicable, and the
       Professional requesting Allowance and payment of a Professional Fee Claim). The Fee
       Examiner shall continue to act in its appointed capacity unless and until all Professional
       Fee Claims have been approved by order of the Bankruptcy Court, and Reorganized BSA
       shall be responsible to pay the fees and expenses incurred by the Fee Examiner in
       rendering services after the Effective Date.

   (b) Professional Fee Reserve. On the Effective Date, the Debtors shall establish and fund the
       Professional Fee Reserve with Cash in an amount equal to the Professional Fee Reserve
       Amount. Funds held in the Professional Fee Reserve shall not be considered property of
       the Debtors’ Estates, Reorganized BSA, the Settlement Trust, or the Core Value Cash
       Pool. Professional Fees owing on account of Allowed Professional Fee Claims shall be
       paid in Cash from funds held in the Professional Fee Reserve as soon as reasonably
       practicable after such Professional Fee Claims are Allowed by a Final Order of the
       Bankruptcy Court or authorized to be paid under the Compensation Procedures Order;
       provided, however, that Reorganized BSA’s obligations with respect to Allowed


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        Professional Fee Claims shall not be limited by or deemed limited to the balance of funds
        held in the Professional Fee Reserve. To the extent the funds held in the Professional Fee
        Reserve are insufficient to satisfy the Allowed Professional Fee Claims in full, each
        holder of an Allowed Professional Fee Claim shall have an Allowed Administrative
        Expense Claim for any deficiency, which shall be satisfied in accordance with Article
        II.A.2 of the Plan. No Liens, Claims, interests, charges, or other Encumbrances or
        liabilities of any kind shall encumber the Professional Fee Reserve in any way. When all
        Allowed Professional Fee Claims have been paid in full, amounts remaining in the
        Professional Fee Reserve, if any, shall revert to Reorganized BSA.

     (c) Professional Fee Reserve Amount. To receive payment for Accrued Professional Fees
         incurred up to and including the Effective Date, Professionals shall estimate their
         Accrued Professional Fees as of the Effective Date and deliver such estimate to the
         Debtors at least five (5) Business Days prior to the anticipated Effective Date. If a
         Professional does not provide such estimate, the Debtors may estimate the unbilled fees
         and expenses of such Professional. The total amount so estimated will constitute the
         Professional Fee Reserve Amount, provided that such estimate will not be considered an
         admission or limitation with respect to the fees and expenses of such Professional.

     (d) Post-Effective Date Fees and Expenses. From and after the Effective Date, any
         requirement that Professionals comply with sections 327 through 331 or 1103 of the
         Bankruptcy Code in seeking retention or compensation for services rendered after such
         date shall terminate, and Professionals may be employed and paid in the ordinary course
         of operations without any further notice to or action, order, or approval of the Bankruptcy
         Court.

        3.      Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, at the sole option of the Debtors or Reorganized BSA, as applicable:
(1) Cash in an amount equal to such Allowed Priority Tax Claim on or as soon as reasonably
practicable after the later of (a) the Effective Date, to the extent such Claim is an Allowed
Priority Tax Claim on the Effective Date; (b) the first Business Day after the date that is thirty
(30) calendar days after the date such Priority Tax Claim becomes an Allowed Priority Tax
Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the ordinary
course as such obligation becomes due; provided, however, that the Debtors reserve the right to
prepay all or a portion of any such amounts at any time under this option without penalty or
premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date of
the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years after the Petition Date.

D.      Classification of Claims and Interests Summary

       The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for


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each Debtor. The Plan is not premised upon the substantive consolidation of the Debtors with
respect to the Classes of Claims or Interests set forth in the Plan.

       The Plan establishes a comprehensive classification of Claims and Interests. The table
below summarizes the classification, treatment, voting rights, and estimated recoveries of the
Claims and Interests, by Class, under the Plan.

 Class          Designation38 Treatment under the Plan Impairment and Estimated Amount39
                                                            Entitlement to   and Approximate
                                                                 Vote      Percentage Recovery
     1          Other Priority Each holder of an           Unimpaired       Estimated Allowed
                Claims         Allowed Other Priority                       Amount: Less than
                               Claim shall receive:        Not Entitled to  $0.1 million
                               (i) payment in Cash in an Vote (Presumed to
                               amount equal to such        Accept)          Estimated Percentage
                               Allowed Other Priority                       Recovery: 100%
                               Claim; or (ii) satisfaction
                               of such Allowed Other
                               Priority Claim in any
                               other manner that renders
                               the Allowed Other
                               Priority Claim
                               Unimpaired, including
                               Reinstatement.
     2          Other Secured Each holder of an            Unimpaired       Estimated Amount:
                Claims         Allowed Other Secured                        $0
                               Claim shall receive:        Not Entitled to
                               (i) payment in Cash in an Vote (Presumed to Estimated Percentage
                               amount equal to the         Accept)          Recovery: 100%
                               Allowed amount of such
                               Claim; (ii) satisfaction of
                               such Other Secured
                               Claim in any other
                               manner that renders the
                               Allowed Other Secured
                               Claim Unimpaired,
                               including Reinstatement;
                               or (iii) return of the
                               applicable collateral in

38       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
         Class.
39       Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best estimates
         of such Claims as of the date of this Disclosure Statement. These estimates are based on various assumptions. The actual
         amounts of Allowed Claims may differ significantly from these estimates should one or more underlying assumptions prove
         to be incorrect. Such differences may adversely affect the percentage of recovery to holders of Allowed Claims under the
         Plan. Moreover, the estimated recoveries set forth herein are necessarily based on certain assumptions, the realization of
         which are beyond the Debtors’ control.


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Class   Designation38 Treatment under the Plan Impairment and Estimated Amount39
                                                  Entitlement to    and Approximate
                                                       Vote       Percentage Recovery
                       satisfaction of the
                       Allowed amount of such
                       Other Secured Claim.
3A      2010 Credit    Each holder of an         Impaired          Estimated Amount:
        Facility       Allowed 2010 Credit                         $36,462,317
        Claims         Facility Claim shall      Entitled to Vote
                       receive a Claim under the                   Estimated Percentage
                       Restated Credit Facility                    Recovery: 100%
                       Documents in an amount
                       equal to the amount of
                       such holder’s Allowed
                       2010 Credit Facility
                       Claim.
3B      2019 RCF       Each holder of an         Impaired          Estimated Amount:
        Claims         Allowed 2019 RCF                            $10,000,000
                       Claim shall receive a     Entitled to Vote
                       Claim under the Restated                    Estimated Percentage
                       Credit Facility                             Recovery: 100%
                       Documents in an amount
                       equal to the amount of
                       such holder’s Allowed
                       2019 RCF Claim.
4A      2010 Bond      Each holder of an         Impaired          Estimated Amount:
        Claims         Allowed 2010 Bond                           $40,137,274
                       Claim shall receive a     Entitled to Vote
                       Claim under the Restated                    Estimated Percentage
                       2010 Bond Documents in                      Recovery: 100%
                       an amount equal to the
                       amount of such holder’s
                       Allowed 2010 Bond
                       Claim.
4B      2012 Bond      Each holder of an         Impaired          Estimated Amount:
        Claims         Allowed 2012 Bond                           $145,662,101
                       Claim shall receive a     Entitled to Vote
                       Claim under the Restated                    Estimated Percentage
                       2012 Bond Documents in                      Recovery: 100%
                       an amount equal to the
                       amount of such holder’s
                       Allowed 2012 Bond
                       Claim.
5       Convenience    Each holder of an         Impaired          Estimated Amount:
        Claims         Allowed Convenience                         $2.4 million – $3


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Class   Designation38 Treatment under the Plan Impairment and Estimated Amount39
                                                    Entitlement to    and Approximate
                                                         Vote       Percentage Recovery
                       Claim shall receive Cash Entitled to Vote million
                       in an amount equal to
                       100% of such holder’s                         Estimated Percentage
                       Allowed Convenience                           Recovery: 100%
                       Class Claim.
6       General        Each holder of an           Impaired          Estimated Amount:
        Unsecured      Allowed General                               $26.5 million – $33.5
        Claims         Unsecured Claim (to the Entitled to Vote million
                       extent such Claim is not
                       an Insured Non-Abuse                          Estimated Percentage
                       Claim) shall receive,                         Recovery: 75 – 95%
                       subject to the holder’s
                       ability to elect
                       Convenience Class
                       treatment on account of
                       the Allowed General
                       Unsecured Claim, its Pro
                       Rata Share of the Core
                       Value Cash Pool up to the
                       full amount of such
                       Allowed General
                       Unsecured Claim in the
                       manner described in
                       Article VII of the Plan.
7       Non-Abuse      Each holder of an           Impaired          Estimated Amount:
        Litigation     Allowed Non-Abuse                             Undetermined
        Claims         Litigation Claim shall,     Entitled to Vote
                       subject to the holder’s                       Estimated Percentage
                       ability to elect                              Recovery: 100%
                       Convenience Class
                       treatment as provided in
                       the following sentence,
                       retain the right to recover
                       up to the amount of such
                       holder’s Allowed Non-
                       Abuse Litigation Claim
                       from (i) available
                       Insurance Coverage or
                       the proceeds of any
                       insurance policy of the
                       Debtors, (ii) applicable
                       proceeds of any Insurance
                       Settlement Agreements,


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 Class          Designation38 Treatment under the Plan Impairment and Estimated Amount39
                                                            Entitlement to    and Approximate
                                                                 Vote       Percentage Recovery
                               and (iii) co-liable non-
                               debtors (if any) or their
                               insurance coverage.
                               Solely to the extent that
                               the holder of an Allowed
                               Non-Abuse Litigation
                               Claim fails to recover in
                               full from the foregoing
                               sources on account of
                               such Allowed Claim after
                               exhausting its remedies in
                               respect thereof, such
                               holder may elect to have
                               the unsatisfied portion of
                               its Allowed Claim treated
                               as an Allowed
                               Convenience Claim and
                               receive cash in an amount
                               equal to the lesser of (a)
                               the amount of the
                               unsatisfied portion of the
                               Allowed Non-Abuse
                               Litigation Claim and (b)
                               $50,000.
     8          Direct Abuse   Pursuant to the             Impaired          Estimated Amount:
                Claims40       Channeling Injunction set                     N/A
                               forth in Article X.F of the Entitled to Vote
                               Plan, each holder of a                        Estimated Percentage
                               Direct Abuse Claim shall                      Recovery: N/A
                               have such holder’s Direct
                               Abuse Claim
                               permanently channeled to
                               the Settlement Trust, and
                               such Direct Abuse Claim
                               shall thereafter be
                               asserted exclusively
                               against the Settlement
                               Trust and processed,
                               liquidated, and paid in
                               accordance with the
                               terms, provisions, and

40       Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.


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 Class           Designation38 Treatment under the Plan Impairment and Estimated Amount39
                                                             Entitlement to    and Approximate
                                                                  Vote       Percentage Recovery
                                procedures of the
                                Settlement Trust
                                Documents.
     9           Indirect Abuse Pursuant to the             Impaired          Estimated Amount:
                 Claims41       Channeling Injunction set                     N/A
                                forth in Article X.F of the Entitled to Vote
                                Plan, each holder of an                       Estimated Percentage
                                Indirect Abuse Claim                          Recovery: N/A
                                shall have such holder’s
                                Indirect Abuse Claim
                                permanently channeled to
                                the Settlement Trust, and
                                such Indirect Abuse
                                Claim shall thereafter be
                                asserted exclusively
                                against the Settlement
                                Trust and processed,
                                liquidated, and paid in
                                accordance with the
                                terms, provisions, and
                                procedures of the
                                Settlement Trust
                                Documents.
     10          Interests in   Interests in Delaware       Impaired          Estimated Amount:
                 Delaware BSA BSA shall be deemed                             N/A
                                cancelled without further Not Entitled to
                                action by or order of the Vote                Estimated Percentage
                                Bankruptcy Court and        (Deemed to        Recovery: 0%
                                shall be of no further      Reject)
                                force or effect, whether
                                surrendered for
                                cancellation or otherwise.

E.            Treatment of Claims and Interests

              Holders of Claims and Interests shall receive the treatment as set forth below:


41        Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
          reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable non-
          bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in the
          nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any
          indemnification, reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement,
          insurance policy, program agreement or contract.


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1.     Class 1—Other Priority Claims

       (i)     Classification: Class 1 consists of all Other Priority Claims.

       (ii)    Treatment: Except to the extent that a holder of an Allowed Other Priority
               Claim agrees to less favorable treatment of such Claim, in full and final
               satisfaction of such Allowed Other Priority Claim, at the sole option of
               Reorganized BSA: (i) each such holder shall receive payment in Cash in
               an amount equal to such Allowed Other Priority Claim, payable on or as
               soon as reasonably practicable after the last to occur of (x) the Effective
               Date, (y) the date on which such Other Priority Claim becomes an
               Allowed Other Priority Claim, and (z) the date on which the holder of
               such Allowed Other Priority Claim and the Debtors or Reorganized BSA,
               as applicable, shall otherwise agree in writing; or (ii) satisfaction of such
               Allowed Other Priority Claim in any other manner that renders the
               Allowed Other Priority Claim Unimpaired, including Reinstatement.

       (iii)   Voting: Class 1 is Unimpaired, and each holder of an Other Priority Claim
               is conclusively presumed to have accepted the Plan pursuant to section
               1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
               Claims are not entitled to vote to accept or reject the Plan, and the votes of
               such holders will not be solicited with respect to Other Priority Claims.

2.     Class 2—Other Secured Claims

       (i)     Classification: Class 2 consists of all Other Secured Claims. To the extent
               that Other Secured Claims are Secured by different collateral or different
               interests in the same collateral, such Claims shall be treated as separate
               subclasses of Class 2 for purposes of voting to accept or reject the Plan
               and receiving Plan Distributions under the Plan.

       (ii)    Treatment: Except to the extent that a holder of an Allowed Other Secured
               Claim agrees to less favorable treatment of such Claim, in full and final
               satisfaction of such Allowed Other Secured Claim, each holder of an
               Allowed Other Secured Claim will receive, at the sole option of
               Reorganized BSA: (i) Cash in an amount equal to the Allowed amount of
               such Claim, including the payment of any interest required to be paid
               under section 506(b) of the Bankruptcy Code, payable on or as soon as
               reasonably practicable after the last to occur of (x) the Effective Date,
               (y) the date on which such Other Secured Claim becomes an Allowed
               Other Secured Claim, and (z) the date on which the holder of such
               Allowed Other Secured Claim and the Debtors or Reorganized BSA, as
               applicable, shall otherwise agree in writing; (ii) satisfaction of such Other
               Secured Claim in any other manner that renders the Allowed Other
               Secured Claim Unimpaired, including Reinstatement; or (iii) return of the
               applicable collateral on the Effective Date or as soon as reasonably



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               practicable thereafter in satisfaction of the Allowed amount of such Other
               Secured Claim.

       (iii)   Voting: Class 2 is Unimpaired, and each holder of an Other Secured Claim
               is conclusively presumed to have accepted the Plan pursuant to
               section 1126(f) of the Bankruptcy Code. Therefore, holders of Other
               Secured Claims are not entitled to vote to accept or reject the Plan, and the
               votes of such holders will not be solicited with respect to Other Secured
               Claims.

3.     Class 3A—2010 Credit Facility Claims

       (i)     Classification: Class 3A consists of all 2010 Credit Facility Claims.

       (ii)    Allowance: On the Effective Date, all 2010 Credit Facility Claims shall be
               deemed fully Secured and Allowed pursuant to section 506(a) of the
               Bankruptcy Code, and not subject to any counterclaim, defense, offset, or
               reduction of any kind, in an aggregate amount not less than $80,762,060
               (including $44,299,743 of undrawn amounts under letters of credit issued
               under the 2010 Credit Facility Documents provided such letters of credit
               are drawn on or before the Effective Date) plus any accrued but unpaid
               interest and reasonable fees and expenses as of the Effective Date to the
               extent not paid pursuant to the Cash Collateral Order. Because all 2010
               Credit Facility Claims are deemed fully Secured, there are no unsecured
               2010 Credit Facility Claims, and the holders of such Claims do not have or
               hold any Class 6 Claims against the Debtors on account of any 2010
               Credit Facility Claims.

       (iii)   Treatment: Except to the extent that a holder of an Allowed 2010 Credit
               Facility Claim agrees to less favorable treatment of such Claim, in full and
               final satisfaction, settlement, release, and discharge of, and in exchange
               for an Allowed 2010 Credit Facility Claim, each holder of an Allowed
               2010 Credit Facility Claim shall receive a Claim under the Restated Credit
               Facility Documents in an amount equal to the amount of such holder’s
               Allowed 2010 Credit Facility Claim.

       (iv)    Voting: Class 3A is Impaired, and each holder of an Allowed 2010 Credit
               Facility Claim is entitled to vote to accept or reject the Plan.

4.     Class 3B—2019 RCF Claims

       (i)     Classification: Class 3B consists of all 2019 RCF Claims.

       (ii)    Allowance: On the Effective Date, all 2019 RCF Claims shall be deemed
               fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
               Code, and not subject to any counterclaim, defense, offset, or reduction of
               any kind, in an aggregate amount not less than $61,542,720 (including
               $51,542,720 of undrawn amounts under letters of credit issued under the

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               2019 RCF Documents provided such letters of credit are drawn on or
               before the Effective Date) plus any accrued but unpaid interest and
               reasonable fees and expenses as of the Effective Date to the extent not
               paid pursuant to the Cash Collateral Order. Because all 2019 RCF Claims
               are deemed fully Secured, there are no unsecured 2019 RCF Claims, and
               the holders of such Claims do not have or hold any Class 6 Claims against
               the Debtors on account of any 2019 RCF Claims.

       (iii)   Treatment: Except to the extent that a holder of an Allowed 2019 RCF
               Claim agrees to less favorable treatment of such Claim, in full and final
               satisfaction, settlement, release, and discharge of, and in exchange for an
               Allowed 2019 RCF Claim, each holder of an Allowed 2019 RCF Claim
               shall receive a Claim under the Restated Credit Facility Documents in an
               amount equal to the amount of such holder’s Allowed 2019 RCF Claim.

       (iv)    Voting: Class 3B is Impaired, and each holder of a 2019 RCF Claim is
               entitled to vote to accept or reject the Plan.

5.     Class 4A—2010 Bond Claims

       (i)     Classification: Class 4A consists of all 2010 Bond Claims.

       (ii)    Allowance: On the Effective Date, all 2010 Bond Claims shall be deemed
               fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
               Code, and not subject to any counterclaim, defense, offset, or reduction of
               any kind, in an aggregate amount of not less than $40,137,274 plus any
               accrued but unpaid interest and reasonable fees and expenses as of the
               Effective Date to the extent not paid pursuant to the Cash Collateral Order.
               Because all 2010 Bond Claims are deemed fully Secured, there are no
               unsecured 2010 Bond Claims, and the holders of such Claims do not have
               or hold any Class 6 Claims against the Debtors on account of any 2010
               Bond Claims.

       (iii)   Treatment: Except to the extent that a holder of an Allowed 2010 Bond
               Claim agrees to less favorable treatment of such Claim, in full and final
               satisfaction, settlement, release, and discharge of, and in exchange for an
               Allowed 2010 Bond Claim, each holder of an Allowed 2010 Bond Claim
               shall receive a Claim under the Restated 2010 Bond Documents in an
               amount equal to the amount of such holder’s Allowed 2010 Bond Claim.

       (iv)    Voting: Class 4A is Impaired, and each holder of a 2010 Bond Claim is
               entitled to vote to accept or reject the Plan.

6.     Class 4B—2012 Bond Claims

       (i)     Classification: Class 4B consists of all 2012 Bond Claims.




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       (ii)    Allowance: On the Effective Date, all 2012 Bond Claims shall be deemed
               fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
               Code, and not subject to any counterclaim, defense, offset, or reduction of
               any kind, in an aggregate amount of not less than $145,662,101 plus any
               accrued but unpaid interest and reasonable fees and expenses as of the
               Effective Date to the extent not paid pursuant to the Cash Collateral Order.
               Because all 2012 Bond Claims are deemed fully Secured, there are no
               unsecured 2012 Bond Claims, and the holders of such Claims do not have
               or hold any Class 6 Claims against the Debtors on account of any 2012
               Bond Claims.

       (iii)   Treatment: Except to the extent that a holder of an Allowed 2012 Bond
               Claim agrees to less favorable treatment of such Claim, in full and final
               satisfaction, settlement, release, and discharge of, and in exchange for an
               Allowed 2012 Bond Claim, each holder of an Allowed 2012 Bond Claim
               shall receive a Claim under the Restated 2012 Bond Documents in an
               amount equal to the amount of such holder’s Allowed 2012 Bond Claim.

       (iv)    Voting: Class 4B is Impaired, and each holder of a 2012 Bond Claim is
               entitled to vote to accept or reject the Plan.

7.     Class 5—Convenience Claims

       (i)     Classification: Class 5 consists of all Convenience Claims.

       (ii)    Treatment: In full and final satisfaction, settlement, release, and discharge
               of, and in exchange for, an Allowed Convenience Claim, each holder of an
               Allowed Convenience Claim shall receive, on the Effective Date or within
               thirty (30) days following the date that such Convenience Claim becomes
               Allowed (if such Claim becomes Allowed after the Effective Date), each
               holder of an Allowed Convenience Claim shall receive Cash in an amount
               equal to 100% of such holder’s Allowed Convenience Class Claim.

       (iii)   Voting: Class 5 is Impaired, and each holder of a Convenience Claim is
               entitled to vote to accept or reject the Plan.

8.     Class 6—General Unsecured Claims

       (i)     Classification: Class 6 consists of all General Unsecured Claims.

       (ii)    Treatment: Except to the extent that a holder of an Allowed General
               Unsecured Claim agrees to less favorable treatment of such Claim, in
               exchange for full and final satisfaction, settlement, release, and discharge
               of, and in exchange for, such Allowed General Unsecured Claim (to the
               extent such Claim is not an Insured Non-Abuse Claim), each holder of an
               Allowed General Unsecured Claim shall receive, subject to the holder’s
               ability to elect Convenience Class treatment on account of the Allowed
               General Unsecured Claim, its Pro Rata Share of the Core Value Cash Pool

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                up to the full amount of such Allowed General Unsecured Claim in the
                manner described in Article VII of the Plan.

        (iii)   Voting: Class 6 is Impaired, and each holder of a General Unsecured
                Claim is entitled to vote to accept or reject the Plan.

9.      Class 7—Non-Abuse Litigation Claims

        (i)     Classification: Class 7 consists of all Non-Abuse Litigation Claims.

        (ii)    Treatment: Except to the extent that a holder of an Allowed Non-Abuse
                Litigation Claim agrees to less favorable treatment of such Claim, in full
                and final satisfaction, settlement, release, and discharge of, and in
                exchange for, each Allowed Non-Abuse Litigation Claim, each holder
                thereof shall, subject to the holder’s ability to elect Convenience Class
                treatment as provided in the following sentence, retain the right to recover
                up to the amount of such holder’s Allowed Non-Abuse Litigation Claim
                from (i) available Insurance Coverage or the proceeds of any insurance
                policy of the Debtors, (ii) applicable proceeds of any Insurance Settlement
                Agreements, and (iii) co-liable non-debtors (if any) or their insurance
                coverage. Solely to the extent that the holder of an Allowed Non-Abuse
                Litigation Claim fails to recover in full from the foregoing sources on
                account of such Allowed Claim after exhausting its remedies in respect
                thereof, such holder may elect to have the unsatisfied portion of its
                Allowed Claim treated as an Allowed Convenience Claim and receive
                cash in an amount equal to the lesser of (a) the amount of the unsatisfied
                portion of the Allowed Non-Abuse Litigation Claim and (b) $50,000.

        (iii)   Voting: Class 7 is Impaired, and each holder of a Non-Abuse Litigation
                Claim is entitled to vote to accept or reject the Plan.

10.     Class 8—Direct Abuse Claims

        (i)     Classification: Class 8 consists of all Direct Abuse Claims.

        (ii)    Treatment: As of the Effective Date, liability for all Direct Abuse Claims
                shall be assumed in full by the Settlement Trust without further act, deed,
                or court order and shall be satisfied solely from the Settlement Trust as set
                forth in the Settlement Trust Documents. Pursuant to the Channeling
                Injunction set forth in Article X.F of the Plan, each holder of a Direct
                Abuse Claim shall have such holder’s Direct Abuse Claim permanently
                channeled to the Settlement Trust, and such Direct Abuse Claim shall
                thereafter be asserted exclusively against the Settlement Trust and
                processed, liquidated, and paid in accordance with the terms, provisions,
                and procedures of the Settlement Trust Documents. Holders of Direct
                Abuse Claims shall be enjoined from prosecuting any outstanding, or
                filing any future, litigation, Claims, or Causes of Action arising out of or
                related to such Direct Abuse Claims against any of the Protected Parties

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                    and may not proceed in any manner against any the Protected Parties in
                    any forum whatsoever, including any state, federal, or non-U.S. court or
                    any administrative or arbitral forum, and are required to pursue their
                    Direct Abuse Claims solely against the Settlement Trust as provided in the
                    Settlement Trust Documents. The Local Council Settlement Contribution
                    and the Contributing Chartered Organization Settlement Contribution are
                    subject to the Debtors’ right to amend the Plan in accordance with Article
                    III.D.2 of the Plan.

            (iii)   Voting: Class 8 is Impaired, and each holder of a Direct Abuse Claim is
                    entitled to vote to accept or reject the Plan.

    11.     Class 9—Indirect Abuse Claims

            (i)     Classification: Class 9 consists of all Indirect Abuse Claims.

            (ii)    Treatment: As of the Effective Date, liability for all Indirect Abuse Claims
                    shall be assumed in full by the Settlement Trust without further act, deed,
                    or court order and shall be satisfied solely from the Settlement Trust as set
                    forth in the Settlement Trust Documents solely to the extent that an
                    Indirect Abuse Claim has not been deemed withdrawn with prejudice,
                    irrevocably waived, released and expunged in connection with the Local
                    Council Settlement Trust Contribution or the Contributing Chartered
                    Organization Trust Contribution. Pursuant to the Channeling Injunction
                    set forth in Article X.F of the Plan, each holder of an Indirect Abuse Claim
                    shall have such holder’s Indirect Abuse Claim permanently channeled to
                    the Settlement Trust, and such Indirect Abuse Claim shall thereafter be
                    asserted exclusively against the Settlement Trust and processed,
                    liquidated, and paid in accordance with the terms, provisions, and
                    procedures of the Settlement Trust Documents. Holders of Indirect Abuse
                    Claims shall be enjoined from prosecuting any outstanding, or filing any
                    future, litigation, Claims, or Causes of Action arising out of or related to
                    such Abuse Claims against any of the Protected Parties and may not
                    proceed in any manner against any the Protected Parties in any forum
                    whatsoever, including any state, federal, or non-U.S. court or any
                    administrative or arbitral forum, and are required to pursue their Indirect
                    Abuse Claims solely against the Settlement Trust as provided in the
                    Settlement Trust Documents. The Local Council Settlement Contribution
                    and the Contributing Chartered Organization Settlement Contribution are
                    subject to the Debtors’ right to amend the Plan in accordance with Article
                    III.D.2 of the Plan.

            (iii)   Voting: Class 9 is Impaired, and each holder of an Indirect Abuse Claim is
                    entitled to vote to accept or reject the Plan.

HOLDERS OF ABUSE CLAIMS (OTHER THAN FUTURE ABUSE CLAIMS) WERE
REQUIRED TO SUBMIT A PROOF OF CLAIM ON OR BEFORE THE ABUSE


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CLAIMS BAR DATE IN ACCORDANCE WITH THE BAR DATE ORDER. HOLDERS
OF ABUSE CLAIMS MAY ALSO BE REQUIRED TO SUBMIT ADDITIONAL
DOCUMENTATION REGARDING SUCH CLAIMS IN ACCORDANCE WITH THE
TRUST DOCUMENTS.
       12.     Class 10—Interests in Delaware BSA

               (i)     Classification: Class 10 consists of all Interests in Delaware BSA.

               (ii)    Treatment: On the Effective Date, Interests in Delaware BSA shall be
                       deemed cancelled without further action by or order of the Bankruptcy
                       Court and shall be of no further force or effect, whether surrendered for
                       cancellation or otherwise.

               (iii)   Voting: Class 10 is Impaired, and each holder of an Interest in Delaware
                       BSA shall be conclusively deemed to have rejected the Plan pursuant to
                       section 1126(g) of the Bankruptcy Code. Therefore, holders of Interests in
                       Delaware BSA are not entitled to vote to accept or reject the Plan, and the
                       votes of such holders will not be solicited with respect to Interests in
                       Delaware BSA.

F.     Elimination of Vacant Classes

        Any Class of Claims against or Interests in the Debtors that, as of the commencement of
the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is
Allowed in an amount greater than zero for voting purposes shall be considered vacant, deemed
eliminated from the Plan for purposes of voting to accept or reject the Plan, and disregarded for
purposes of determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code
with respect to that Class.

G. Cramdown

        If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does not
vote to accept the Plan, the Debtors may (a) seek confirmation of the Plan under section 1129(b)
of the Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms hereof and
the Bankruptcy Code. If a controversy arises as to whether any Claims are, or any class of
Claims is, impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

H.     Means for Implementation of the Plan

       1.      Operations of the Debtors between Confirmation and the Effective Date

        The Debtors shall continue to operate as debtors and debtors in possession during the
period from the Confirmation Date to the Effective Date.




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       2.      BSA Governance Documents

        From and after the Effective Date, Reorganized BSA shall be governed pursuant to the
BSA Charter and the Amended BSA Bylaws. The Amended BSA Bylaws shall contain such
provisions as are necessary to satisfy the provisions of the Plan, subject to further amendment
thereof after the Effective Date, as permitted by applicable law. Under the BSA Charter, the
BSA has no power to issue certificates of stock, its object and purpose being solely of a
charitable character and not for pecuniary profit; accordingly, the requirement of section
1123(a)(6) does not apply to the BSA.

       3.      Continued Legal Existence of BSA

         The BSA shall continue to exist on and after the Effective Date, with all of the powers it
is entitled to exercise under applicable law and pursuant to the BSA Charter and the Amended
BSA Bylaws, subject to further amendment of the Amended BSA Bylaws after the Effective
Date, as permitted by applicable law.

       4.      Reorganized BSA’s Directors and Senior Management

        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in Reorganized BSA’s directors and officers, the Debtors will identify any
such changes in the Plan Supplement. On and after the Effective Date, the Amended BSA
Bylaws, as such may be amended thereafter from time to time, shall govern the designation and
election of directors of Reorganized BSA.

       5.      Dissolution of Delaware BSA

       On the Effective Date, Delaware BSA’s members, directors, officers and employees shall
be deemed to have resigned, and Delaware BSA shall be deemed to have dissolved for all
purposes and be of no further legal existence under any applicable state or federal law, without
the need for any further action or the filing of any plan of dissolution, notice, or application with
the Secretary of State of the State of Delaware or any other state or government authority, and
without the need to pay any franchise or similar taxes to effectuate such dissolution. Any
Allowed Claims against Delaware BSA will be treated as set forth in Article III.B of the Plan.

       6.      Due Authorization

        As of the Effective Date, all actions contemplated by the Plan that require corporate
action of the Debtors, or either of them, including actions requiring a vote of the National
Executive Board or the National Executive Committee of the BSA or the sole member of
Delaware BSA, and execution of all documentation incident to the Plan, shall be deemed to have
been authorized, approved, and, to the extent taken prior to the Effective Date, ratified in all
respects without any requirement of further action by the Bankruptcy Court, members, officers,
or directors of the Debtors, Reorganized BSA, or any other Person.




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       7.      Cancellation of Interests

       As of the Effective Date, in accordance with Article III.B.12 of the Plan, Interests in
Delaware BSA shall be deemed cancelled without further action by or order of the Bankruptcy
Court and shall be of no further force or effect.

       8.      Restatement of Indebtedness

        Except as otherwise provided in the Plan, or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, and subject to the
treatment afforded to holders of Allowed Claims in Class 3A, 3B, 4A, or 4B under Article III of
the Plan, on the Effective Date, all Prepetition Debt and Security Documents, including all
agreements, instruments, and other documents evidencing or issued pursuant to the 2010 Credit
Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the 2012 Bond
Documents, or any indebtedness or other obligations thereunder, and any rights of any holder in
respect thereof, shall be deemed amended and restated in the form of the Restated Debt and
Security Documents on the terms set forth herein.

        Any provision in any document, instrument, lease, or other agreement that causes or
effectuates, or purports to cause or effectuate, a default, termination, waiver, or other forfeiture
of, or by, the Debtors as a result of the satisfactions, Injunctions, Releases, Discharges and other
transactions provided for in the Plan shall be deemed null and void and shall be of no force or
effect. Nothing contained herein shall be deemed to cancel, terminate, release, or discharge the
obligation of the Debtors or any of their counterparties under any Executory Contract or
Unexpired Lease to the extent such Executory Contract or Unexpired Lease has been assumed by
the Debtors pursuant to a Final Order of the Bankruptcy Court, including the Confirmation
Order.

       9.      Cancellation of Liens

        Except as otherwise provided in the Plan, on the Effective Date, any Lien securing any
Allowed Secured Claim (other than a Lien securing any Allowed Secured Claim that is
Reinstated pursuant to the Plan, including, for avoidance of doubt, the liens securing the Restated
Debt and Security Documents) shall be deemed released and the holder of such Allowed Secured
Claim shall be authorized and directed to release any collateral or other property of any Debtor
(including any cash collateral) held by such holder and to take such actions as may be requested
by the Debtors (or Reorganized BSA, as the case may be) to evidence the release of such Lien,
including the execution, delivery, and filing or recording of such releases as may be requested by
the Debtors (or Reorganized BSA, as the case may be).

       10.     Effectuating Documents and Further Transactions

        The Chief Executive Officer and President, the Chief Financial Officer, and the General
Counsel of the BSA is authorized to execute, deliver, file or record such contracts, instruments,
releases, indentures, and other agreements or documents and take or direct such actions as may
be necessary or appropriate to effectuate and further evidence the terms and conditions of the
Plan.


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       11.     Sources of Consideration for Plan Distributions

       Distributions under the Plan shall be funded from the following sources:

               1.     The Debtors shall fund Distributions on account of and satisfy Allowed
                      General Unsecured Claims exclusively from the Core Value Cash Pool;

               2.     The Settlement Trust shall fund distributions on account of and satisfy
                      compensable Abuse Claims in accordance with the Trust Distribution
                      Procedures from (a) the BSA Settlement Trust Contribution, (b) the Local
                      Council Settlement Contribution, (c) the Contributing Chartered
                      Organization Settlement Contribution, and (d) any and all other funds,
                      proceeds or other consideration otherwise contributed to the Settlement
                      Trust pursuant to the Plan or the Confirmation Order or other Final Order
                      of the Bankruptcy Court;

               3.     The Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
                      2010 Bond Claims, and 2012 Bond Claims in accordance with the terms
                      of the Restated 2010 Bond Documents, the Restated 2012 Bond
                      Documents and the Restated Credit Facility Documents, as applicable; and

               4.     The Debtors shall fund Distributions on account of and satisfy all other
                      Allowed Claims with Unrestricted Cash and Investments on hand on or
                      after the Effective Date in accordance with the terms of the Plan and the
                      Confirmation Order.

       12.     Resolution of Abuse Claims

        All Abuse Claims shall be channeled to and resolved by the Settlement Trust in
accordance with the Trust Distribution Procedures, subject to the right of any Non-Settling
Insurance Company to raise any valid Insurance Coverage Defense in response to a demand by
the Settlement Trust that such insurer handle, defend, or pay any such Claim.

       13.     Funding by the Settlement Trust

        The Settlement Trust shall have no obligation to fund costs or expenses other than those
set forth in the Plan or the Settlement Trust Documents, as applicable.

       14.     Core Value Cash Pool

        Reorganized BSA shall deposit Cash into the Core Value Cash Pool by making four
semi-annual installment payments equal to $6,250,000. Reorganized BSA shall make the first
deposit six (6) months after the Effective Date; the second installment on the first anniversary
after the Effective Date; the third installment eighteen (18) months after the Effective Date; and
the fourth installment on the second anniversary of the Effective Date.




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       15.     Creditor Representative

        The Creditor Representative shall be appointed as of the Effective Date and shall be
responsible for assisting Reorganized BSA and its professionals in their efforts to efficiently
reconcile Convenience Claims, General Unsecured Claims, and Non-Abuse Litigation Claims.
The identity of the Creditor Representative shall be determined by the Creditors’ Committee,
with the consent of the Debtors (such consent not to be unreasonably withheld). The Debtors or
Reorganized BSA, as applicable, will use commercially reasonable efforts to assist the Creditor
Representative in reconciling Convenience Claims, General Unsecured Claims, and Non-Abuse
Litigation Claims on or before the applicable Claims Objection Deadline. The reasonable fees
and actual and necessary costs and expenses of the Creditor Representative shall be paid by
Reorganized BSA up to the Creditor Representative Fee Cap, and Reorganized BSA shall have
no obligation to compensate or reimburse the costs or expenses of the Creditor Representative
beyond the amount of the Creditor Representative Fee Cap.

       16.     Residual Cash in Core Value Cash Pool

       To the extent any Cash remains in the Core Value Cash Pool after all Allowed General
Unsecured Claims have been satisfied in full, such remaining Cash shall: (i) first, on account of
any Allowed Non-Abuse Litigation Claims that shall not have elected to be treated as an
Allowed Convenience Claim under Article III.B.9 of the Plan to satisfy any deficiency in
payments of such Allowed Claims from available Insurance Coverage, from applicable proceeds
of any Insurance Settlement Agreements, and from co-liable non-debtors (if any) or their
insurance coverage; (ii) second, to pay interest to holders of Allowed General Unsecured Claims
in accordance with Article VII.L of the Plan; and (iii) third irrevocably re-vest in Reorganized
BSA.

       17.     Compromise and Settlement of Claims, Interests and Controversies

        Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019
and in consideration for the distributions and other benefits provided under the Plan, upon the
Effective Date, the provisions of the Plan, including the Abuse Claims Settlement, the JPM /
Creditors’ Committee Settlement, and the Settlement of Restricted and Core Asset Disputes set
forth in Article V.R of the Plan, shall constitute a good-faith compromise and settlement of
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights
that holders of Claims or Interests may have with respect to any Claim or Interest under the Plan
or any Distribution to be made on account of an Allowed Claim. The entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the compromise and settlement of all
such Claims, Interests, and controversies, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and holders of such
Claims and Interests, and is fair, equitable and reasonable.

              1.      Abuse Claims Settlement. The treatment provided for Abuse Claims
       under the Plan incorporates and reflects a proposed compromise and settlement of all
       Abuse Claims against the Protected Parties, and the Scouting Released Claims against the
       Local Councils and Contributing Chartered Organizations (the “Abuse Claims
       Settlement”), and the Plan constitutes a request for the Bankruptcy Court to authorize and


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approve the Abuse Claims Settlement. The following constitutes the provisions and
conditions of the Abuse Claims Settlement:
             a.      Local Council Settlement Contribution. The Local Councils shall
      make, cause to be made, or be deemed to have made, as applicable, the Local
      Council Settlement Contribution, as set forth in Exhibit D of the Plan and as
      defined in the Plan, meaning:
                   (i)      the contribution to the Settlement Trust by the Local
             Councils, as set forth in Exhibit D to the Plan;

                      (ii)    to the maximum extent under applicable law, any and all of
             the Local Councils’ rights, titles privileges, interests, claims, demands or
             entitlements, as of the Effective Date, to any proceeds, interest, claims,
             demands or entitlements, as of the Effective Date, to any proceeds,
             payments, benefits, Causes of Action, choses in action, defense, or
             indemnity, now existing or hereafter arising, accrued or unaccrued,
             liquidated or unliquidated, matured or unmatured, disputed or undisputed,
             fixed or contingent, arising under or attributable to: (i) the BSA Insurance
             Policies (subject to Article IV.D.3 and Article IV.D.4 of the Plan, with
             respect to Insure Non-Abuse Claims), the Insurance Coverage, the
             Insurance Settlement Agreements, and claims thereunder and proceeds
             thereof (but not the policies themselves); (ii) the Insurance Actions; and
             (iii) the Insurance Action Recoveries;

                     (iii) to the maximum extent permitted under applicable law, any
             and all of the Local Councils’ rights, titles, privileges, interests, claims,
             demands or entitlements, as of the Effective Date, to any proceeds,
             payments, benefits, Causes of Action, choses in action, defense, or
             indemnity, now existing or hereafter arising, accrued or unaccrued,
             liquidated or unliquidated, matured or unmatured, disputed or undisputed,
             fixed or contingent, arising under or attributable to: (i) the Local Council
             Insurance Policies (subject to Article IV.D.3 and Article IV.D.4 of the
             Plan with respect to Insured Non-Abuse Claims), the Insurance Coverage,
             the Insurance Settlement Agreements, and claims thereunder and proceeds
             thereof; (ii) the Insurance Actions; and (iii) the Insurance Action
             Recoveries;

                    (iv)   the waiver, release, and expungement from the Claims
             Register of any and all Claims that have been asserted in the Chapter 11
             Cases by or on behalf of any Local Council, including any Indirect Abuse
             Claims, without any further notice to or action, order or approval of the
             Bankruptcy Court, and the agreement of each Local Council not to file or
             assert any Claim or Claims against the Debtors or Reorganized BSA
             arising from any act or omission of the Debtors on or prior to the
             Confirmation Date; and



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                                    (v)    the assignment of any and all Perpetrator Indemnification
                             Claims held by the Local Councils.

                          b.     Contributing Chartered Organization Settlement Contribution. The
                   Contributing Chartered Organizations will make, cause to be made, or be deemed
                   to have made, as applicable, the Contributing Chartered Organization Settlement
                   Contribution.

                           c.     Claims Deemed Withdrawn with Prejudice By Settling Insurance
                   Companies. On the Effective Date, any and all Claims that have been asserted in
                   the Chapter 11 Cases by or on behalf of any Settling Insurance Company shall be
                   deemed withdrawn with prejudice and irrevocably waived, released and expunged
                   from the Claims Register without any further notice to or action, order, or
                   approval of the Bankruptcy Court. Further, no Settling Insurance Company shall
                   file or assert any Claim or Claims against the Debtors or Reorganized BSA
                   arising from any act or omission of the Debtors prior to the Confirmation Date.

                           d.     Injunctions and Releases. Notwithstanding anything to the
                   contrary set forth in the Plan or any other document filed with the Bankruptcy
                   Court, the Injunctions and Releases contained in Article X of the Plan shall not be
                   effective: (i) as to the Local Councils, until the Local Council Settlement
                   Contribution shall have been made; and (ii) as to the Contributing Chartered
                   Organizations, until the Contributing Chartered Organization Settlement
                   Contribution shall have been made; and (iii) as to any Settling Insurance
                   Company, until such Settling Insurance Company shall have made its contribution
                   to the Settlement Trust pursuant to an Insurance Settlement Agreement.

                 2.      The JPM / Creditors’ Committee Settlement. The treatment provided for
         under the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF Claims,
         Allowed 2010 Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience Claims,
         Allowed General Unsecured Claims, and Allowed Non-Abuse Litigation Claims,
         together with the terms and conditions of the settlement term sheet appended as Exhibit A
         to the First Mediators’ Report filed on March 1, 2021 at Docket No. 2292, reflects a
         proposed compromise and settlement by and among the Debtors, the Creditors’
         Committee and JPM (the “JPM / Creditors’ Committee Settlement”).42 The following
         constitutes the provisions and conditions of the JPM / Creditors’ Committee Settlement:
                           a.     Allowance and Treatment of 2010 Credit Facility Claims, 2019
                   RCF Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit
                   Facility Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond
                   Claims shall be Allowed in the amounts set forth in Article III.B of the Plan and
                   receive the treatment afforded to such Claims thereunder. The Debtors
                   acknowledge and agree that the Claims held by JPM (the 2010 Credit Facility
                   Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond Claims),


42   In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and conditions of the
     settlement term sheet, on the other hand, the terms of the Plan shall control.


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               are core to the Debtors’ charitable mission and were incurred in furtherance of the
               Debtors’ charitable mission.

                       b.    Treatment of Convenience Claims, General Unsecured Claims, and
               Non- Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
               and Non-Abuse Litigation Claims shall receive the treatment afforded to such
               Claims under Article III.B of the Plan. The Debtors acknowledge and agree that
               General Unsecured Claims, Convenience Claims, and Non-Abuse Litigation
               Claims are held by creditors who are core to the Debtors’ charitable mission or
               creditors whose Claims in such Classes, if Allowed, were incurred in furtherance
               of the Debtors’ charitable mission; accordingly, payments by Reorganized BSA
               under the Plan on account of such Allowed Claims, if applicable, will be made
               from Cash relating to Reorganized BSA’s core assets.

                      c.      Challenge Period. As of the Effective Date, (i) the Challenge
               Period (as defined in the Cash Collateral Order) shall be deemed to have expired
               with respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the
               Cash Collateral Order) and other admissions, agreements and releases set forth in
               the Cash Collateral Order shall be final and binding on the Creditors’ Committee.
               The ability of any other party to bring a Challenge Proceeding (as defined in the
               Cash Collateral Order) shall be governed by the terms and conditions of the Cash
               Collateral Order.

               3.      Settlement of Restricted and Core Asset Disputes. The Debtors have
       agreed under the Plan to: (a) fund the Core Value Cash Pool, in the amount of
       $25,000,000; and (b) make the BSA Settlement Trust Contribution, including all of the
       Net Unrestricted Cash and Investments. The proceeds of the Foundation Loan, in the
       amount of $42,800,000 (which Reorganized BSA will use exclusively for working capital
       and general corporate purposes), will permit the Debtors to contribute to the Settlement
       Trust a substantial amount of core value consideration in Cash on the Effective Date.
       The foregoing components of the consideration proposed to be provided by the Debtors
       to holders of certain Claims under the Plan constitute a compromise and settlement of any
       and all disputes between and among the Tort Claimants’ Committee, the Future
       Claimants’ Representative, the Creditors’ Committee, and the Debtors concerning the
       Debtors’ restricted and/or core assets, including the Claims asserted in the complaint filed
       by the Tort Claimants’ Committee in the adversary proceeding entitled Official Tort
       Claimants’ Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts
       of America and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) (the “Settlement of
       Restricted and Core Asset Disputes”).


       18.     Good-Faith Compromise and Settlement

       The Plan (including its incorporation of the Abuse Claims Settlement, the JPM /
Creditors’ Committee Settlement, and the Settlement of Restricted and Core Asset Disputes), the
Plan Documents, and the Confirmation Order constitute a good-faith compromise and settlement
of Claims, Interests and controversies based upon the unique circumstances of these Chapter 11


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Cases, and none of the foregoing documents, the Disclosure Statement, or any other papers filed
in furtherance of Plan Confirmation, nor any drafts of such documents, may be offered into
evidence or deemed as an admission in any context whatsoever beyond the purposes of the Plan,
in any other litigation or proceeding, except as necessary, and as admissible in such context, to
enforce their terms before the Bankruptcy Court or any other court of competent jurisdiction.
The Plan, the Abuse Claims Settlement, the JPM / Creditors’ Committee Settlement, the
Settlement of Restricted and Core Asset Disputes, the Plan Documents, and the Confirmation
Order will be binding as to the matters and issues described therein, but will not be binding with
respect to similar matters or issues that might arise in any other litigation or proceeding in which
none of the Debtors, Reorganized BSA, the Protected Parties, or the Settlement Trust is a party.

       19.     Restated Debt and Security Documents

         On the Effective Date, the Prepetition Debt and Security Documents shall be amended
and restated in the form of the Restated Debt and Security Documents, and Reorganized BSA,
JPM and Arrow shall, and shall be authorized, to execute, deliver and enter into the Restated
Debt and Security Documents as of such date, in principal amounts equal to the Allowed
amounts set forth in Article III.B.3, Article III.B.4, Article III.B.5, and Article III.B.6 of the Plan
without the need for any further corporate action or any further notice to or order of the
Bankruptcy Court. The Debtors or Reorganized BSA, as applicable, JPM, and Arrow shall take
all actions necessary to continue the Debtors’ obligations under the Prepetition Debt and Security
Documents, as amended and restated by the Restated Debt and Security Documents and to give
effect to the Restated Debt and Security Documents, including surrendering any debt instruments
or securities that are no longer applicable under the Restated Debt and Security Documents to the
Debtors or Reorganized BSA.

         Except as otherwise modified by the Restated Debt and Security Documents, all Liens,
mortgages and security interests securing the obligations arising under the Restated Debt and
Security Documents that were collateral securing the Debtors’ obligations under the Prepetition
Debt and Security Documents as of the Petition Date are unaltered by the Plan, and all such
Liens, mortgages and security interests are reaffirmed and perfected with respect to the Restated
Debt and Security Documents to the same extent, in the same manner and on the same terms and
priorities as they were under the Prepetition Debt and Security Documents, except as the
foregoing may be modified pursuant to the Restated Debt and Security Documents. All Liens
and security interests granted and continuing pursuant to the Restated Debt and Security
Documents shall be (a) valid, binding, perfected, and enforceable Liens and security interests in
the personal and real property described in and subject to such documents, with the priorities
established in respect thereof under applicable non-bankruptcy law; (b) granted in good faith and
deemed not to constitute a fraudulent conveyance or fraudulent transfer; and (c) not otherwise
subject to avoidance, recharacterization, or subordination (whether equitable, contractual or
otherwise) under any applicable law. The Debtors, Reorganized BSA, Arrow, and JPM are
authorized to make, and to the extent required by the Restated Debt and Security Documents, the
Debtors, Reorganized BSA, Arrow will make, all filings and recordings, and obtain all
governmental approvals and consents necessary (but otherwise consistent with the consents and
approvals obtained in connection with the Prepetition Debt and Security Documents) to
establish, attach and perfect such Liens and security interests under any applicable law (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation


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Order and any such filings, recordings, approvals, and consents shall not be required), and will
thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties. For
purposes of all mortgages and deposit account control agreements that secured the obligations
arising under the Prepetition Debt and Security Documents, the Restated Debt and Security
Documents are deemed an amendment and restatement of the Prepetition Debt and Security
Documents, and such mortgages and control agreements shall survive the Effective Date, shall
not be cancelled, and shall continue to secure Reorganized BSA’s obligations under the Restated
Debt and Security Documents, except as expressly set forth therein.

              1.     The definitive terms of the Restated Debt and Security Documents shall be
       (x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’
       Committee, and (z) substantially the same as the Prepetition Debt and Security
       Documents, except that, as to be specified in the Restated Debt and Security Documents:
              a.      the maturity dates under the Restated 2010 Bond Documents, the Restated
                      2012 Bond Documents, and the Restated Credit Facility Documents will
                      be the Restated Maturity Date;

              b.      principal under the Restated 2010 Bond Documents and the Restated 2012
                      Bond Documents shall be payable in monthly installments, in the same
                      monthly amounts as the prepetition periodic amortization amounts,
                      beginning on the date that is two (2) years after the Effective Date and
                      ending on the Restated Maturity Date; provided, that the scheduled
                      principal amounts payable under the Restated 2010 Bond Documents and
                      the Restated 2012 Bond Documents shall be reduced, on a pro rata basis,
                      by an amount equal to the Excess Cash and Investments, if any, that are
                      remitted to JPM under the Excess Cash Sweep;

              c.      interest under the Restated 2010 Bond Documents and the Restated 2012
                      Bond Documents shall be payable in monthly installments, at the currently
                      applicable existing rates in the 2010 Bond Documents and the 2012 Bond
                      Documents, beginning on the date that is one month after the Effective
                      Date and ending on the Restated Maturity Date;
              d.      principal under the Restated Credit Facility Documents shall be payable in
                      quarterly installments, set at 1/40th of the outstanding balance on the
                      Effective Date, beginning on the date that is two (2) years after the
                      Effective Date and ending on the Restated Maturity Date; provided, that
                      the principal amounts payable under the Restated Credit Facility
                      Documents shall be reduced, on a pro rata basis, by an amount equal to the
                      Excess Cash and Investments, if any, that are remitted to JPM under the
                      Excess Cash Sweep;
              e.      interest under the Restated Credit Facility Documents shall be payable in
                      quarterly installments at the applicable existing rates in the Prepetition
                      Debt and Security Documents, beginning on the date that is three (3)
                      months after the Effective Date and ending on the Restated Maturity Date;


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               f.     all of the obligations of Reorganized BSA under the Restated Debt and
                      Security Documents shall be secured by first-priority liens on and security
                      interests in all of the assets of Reorganized BSA;
               g.     all of the obligations of Reorganized BSA under the Restated Debt and
                      Security Documents shall be guaranteed by Arrow; and
               h.     beginning on December 31 of the calendar year that is two (2) years after
                      the Effective Date and continuing on December 31 of each successive
                      calendar year until December 31 of the calendar year that is immediately
                      prior to the calendar year of the Restated Maturity Date, Reorganized BSA
                      shall remit to JPM, as soon as reasonably practicable but in no case later
                      than thirty (30) days of such date, twenty-five percent (25%) of the Excess
                      Cash and Investments in excess of $75,000,000, if any, as of such date
                      (the “Excess Cash Sweep”), and JPM shall apply any such amounts on a
                      pro rata basis to the unpaid principal balances under the Restated Debt and
                      Security Documents. For the avoidance of doubt, no payments shall be
                      made on account of the Excess Cash Sweep until the last Distribution is
                      made on account of Allowed General Unsecured Claims.
       20.     Foundation Loan

        On the Effective Date, the Foundation Loan Agreement and any applicable collateral and
other loan documents governing the Foundation Loan shall be executed and delivered, and
Reorganized BSA shall be authorized to execute, deliver and enter into, the Foundation Loan
Agreement and related documentation governing the Foundation Loan without the need for any
further corporate action or any further notice to or order of the Bankruptcy Court.

        As of the Effective Date, upon the granting of Liens in accordance with the Foundation
Loan Agreement and any applicable collateral and other loan documents governing the
Foundation Loan, all of the Liens and security interests granted thereunder (a) shall be deemed to
have been granted, (b) shall be legal, binding, automatically perfected, non-avoidable, and
enforceable Liens on, and security interests in, the applicable collateral as of the Effective Date
in accordance with the respective terms of the Foundation Loan Agreement and related
documentation, subject to the Liens and security interests set forth in the Restated Debt and
Security Documents, as permitted under the Foundation Loan Agreement and related
documentation. All Liens and security interests granted pursuant to the Foundation Loan
Agreement and related documentation shall be (i) valid, binding, perfected, and enforceable
Liens and security interests in the personal and property described in and subject to such
documents, with the priorities established in respect thereof under applicable non-bankruptcy
law; (ii) granted in good faith and deemed not to constitute a fraudulent conveyance or
fraudulent transfer; and (c) not otherwise subject to avoidance, recharacterization, or
subordination (whether equitable, contractual or otherwise) under any applicable law. The
Debtors, Reorganized BSA, Arrow WV, Inc., and the Foundation are authorized to make, and to
the extent contemplated by the Foundation Loan Agreement and related documentation, the
Debtors, Reorganized BSA, Arrow WV, Inc. will make, all filings and recordings, and obtain all
governmental approvals and consents necessary to establish, attach and perfect such Liens and
security interests under any applicable law (it being understood that perfection shall occur

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automatically by virtue of the entry of the Confirmation Order and any such filings, recordings,
approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interest to third parties.

       21.     Pension Plan

       No provision contained in the Plan, Confirmation Order, the Bankruptcy Code (including
section 1141 of the Bankruptcy Code), or any other document filed or order entered in the
Chapter 11 Cases shall be construed to exculpate, discharge, release or relieve the Debtors, the
Local Councils, or any other party, in any capacity, from any liability or responsibility to any
Person with respect to the Pension Plan under any law, governmental policy, or regulatory
provision. The Pension Plan shall not be enjoined or precluded from enforcing any such liability
or responsibility as a result of any of the provisions of the Plan (including those provisions
providing for exculpation, satisfaction, release and discharge of Claims against the Debtors), the
Confirmation Order, the Bankruptcy Code (including section 1141 of the Bankruptcy Code), or
any other document filed or order entered in the Chapter 11 Cases. The Settlement Trust shall
not have any liability to any Person on account of the Pension Plan, including liability as a
member of a “Controlled Group” as defined in 29 U.S.C. § 1301(a)(14)(A) or on any other basis
whatsoever.

       22.     Single Satisfaction of Allowed General Unsecured Claims

        In no event shall any holder of an Allowed General Unsecured Claim recover more than
the full amount of its Allowed General Unsecured Claim from the Core Value Cash Pool, and to
the extent that the holder of an Allowed General Unsecured Claim has received, or in the future
receives, payment on account of such Allowed General Unsecured Claim from a party that is not
a Debtor or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value Cash
Pool any Distribution held by or transferred to such holder to the extent the holder’s total
recovery on account of its Allowed General Unsecured Claim from the third party and from the
Core Value Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim.

       23.     Exemption from Certain Transfer Taxes and Recording Fees

        To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code,
any transfers of property pursuant to the Plan, including any transfers to the Settlement Trust by
the Debtors, the Local Councils, the Contributing Chartered Organizations, and the Settling
Insurance Companies, and payments by Reorganized BSA to or from the Core Value Cash Pool,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, stamp act, real estate transfer tax, sale or use tax, mortgage recording
tax, or other similar tax or governmental assessment, and, upon entry of the Confirmation Order,
the appropriate state or local governmental officials or agents shall forego the collection of any
such tax or governmental assessment and are allowed to accept for filing and recordation any of
the foregoing instruments or other documents pursuant to such transfers of property without the
payment of any such tax, recordation fee, or governmental assessment.




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I.     The Settlement Trust

       1.      Establishment and Purpose of the Settlement Trust

        The Settlement Trust shall be established on the Effective Date. The Settlement Trust
shall be administered and implemented by the Settlement Trustee as provided in the Trust
Documents. The purposes of the Settlement Trust shall be to assume liability for all Abuse
Claims, to hold, preserve, maximize and administer the Settlement Trust Assets, and to direct the
processing, liquidation and payment of all compensable Abuse Claims in accordance with the
Settlement Trust Documents. The Settlement Trust Assets include the (a) the BSA Trust
Contribution; (b) the Local Council Settlement Contribution; (c) the Chartered Organization
Settlement Contribution; and (d) any and all other funds, proceeds or other consideration
otherwise contributed to the Settlement Trust pursuant to the Plan or the Confirmation Order or
other Final Order of the Bankruptcy Court.

        The Settlement Trust shall resolve Abuse Claims in accordance with the Settlement Trust
Documents in such a way that the holders of Abuse Claims are treated equitably and reasonably
in light of the finite assets available to satisfy such Claims. From and after the Effective Date,
the Abuse Claims shall be channeled to the Settlement Trust pursuant to the Channeling
Injunction set forth in Article X.F of the Plan and may be asserted only and exclusively against
the Settlement Trust.

       In the event of a conflict between the terms or provisions of the Plan and the Settlement
Trust Documents, the terms of the Plan shall control.

       2.      Transfer of Claims to the Settlement Trust

         On the Effective Date, or as otherwise provided in the Plan, and without further action of
any Person, the Settlement Trust shall assume the liabilities, obligations, and responsibilities of
the Protected Parties for all Abuse Claims, financial or otherwise. These assumptions by the
Settlement Trust shall not affect (a) the application of the Discharge Injunction or the Channeling
Injunction or (b) any Non-Settling Insurance Company’s obligation under any Insurance Policy
that is not the subject of an Insurance Settlement Agreement.

        Except as otherwise expressly provided in the Plan, the Settlement Trust Agreement, or
the Trust Distribution Procedures, the Settlement Trust shall have control over the Settlement
Trust Causes of Action and the Insurance Actions, and the Settlement Trust shall thereby become
the Estate Representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the
exclusive right to enforce each of the Settlement Trust Causes of Action and the Insurance
Actions, and the proceeds of the recoveries on any of the Settlement Trust Causes of Action or
the Insurance Actions shall be deposited in and become the property of the Settlement Trust, and
the Settlement Trust shall have the right to enforce the Plan and any of the other Plan Documents
(including the Cooperation Agreement) according to their respective terms, including the right to
receive the Settlement Trust Assets as provided in the Plan; provided, however, that (a) the
Settlement Trust shall have no other rights against the Protected Parties except to enforce the
Plan and any of the other Plan Documents; (b) the Settlement Trust Causes of Action and the
Insurance Actions shall not include any Claims or Interests fully and finally released,


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compromised, or settled pursuant to the Plan; and (c) for the avoidance of doubt, the Settlement
Trust Causes of Action and the Insurance Actions do not include any rights of the Protected
Parties arising under the Channeling Injunction or any of the Injunctions, Releases, or
Discharges granted under the Plan and the Confirmation Order.

       3.      Transfer of Settlement Trust Assets to the Settlement Trust

        On the Effective Date, subject to Article IV.D.2 of the Plan, all right, title, and interest in
and to the Settlement Trust Assets and any proceeds thereof shall be automatically, and without
further act or deed, transferred to, vested in, and assumed by the Settlement Trust free and clear
of all Encumbrances or Claims or other interests of any Person, subject to the Channeling
Injunction and other provisions of the Plan.

        To the extent any of the Settlement Trust Assets are not transferred to the Settlement
Trust by operation of law on the Effective Date pursuant to the Plan, then when such assets
accrue or become transferable subsequent to the Effective Date, they shall automatically and
immediately transfer to the Settlement Trust free and clear of all Encumbrances and Claims or
other interests of any Person, subject to the Channeling Injunction and other provisions of the
Plan. To the extent that any action of a Protected Party is required to effectuate such transfer,
such Protected Party shall promptly transfer, assign, and contribute, such remaining Settlement
Trust Assets to the Settlement Trust. In the event a Protected Party breaches any obligation
contained in this section, the Settlement Trust will have no adequate remedy at law and shall be
entitled to preliminary and permanent declaratory and injunctive relief. Article IV.D.2 of the
Plan applies, without limitation, to (a) that portion of the Local Council Settlement Contribution
required to be contributed to the Settlement Trust after the Effective Date and (b) the transfer to
the Settlement Trust of the Warehouse and Distribution Center, subject to the Leaseback
Requirement.

       4.      The Settlement Trust Distribution Procedures

        On the Effective Date, the Settlement Trust shall implement the Trust Distribution
Procedures in accordance with the terms of the Settlement Trust Agreement. From and after the
Effective Date, the Settlement Trustee shall have the authority to administer, amend, supplement,
or modify the Trust Distribution Procedures solely in accordance with the terms thereof and the
Settlement Trust Agreement.

       5.      Discharge of Liabilities to Holders of Abuse Claims

        Except as provided in the Plan, the transfer to, vesting in and assumption by the
Settlement Trust of the Settlement Trust Assets as contemplated by the Plan shall, as of the
Effective Date, discharge all obligations and liabilities of and bar any recovery or action against
the Protected Parties for or in respect of all Abuse Claims, including all Indirect Abuse Claims
(and the Confirmation Order shall provide for such discharge). The Settlement Trust shall, as of
the Effective Date, assume sole and exclusive responsibility and liability for all Abuse Claims
and such Claims shall be paid by the Settlement Trust from the Settlement Trust Assets or as
otherwise directed in the Settlement Trust Documents.



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       6.      Imposition of Channeling Injunction

        From and after the Effective Date, all Abuse Claims shall be subject to the Channeling
Injunction pursuant to section 105(a) of the Bankruptcy Code and the provisions of the Plan and
the Confirmation Order. From and after the Effective Date, the Protected Parties shall not have
any obligation with respect to any liability of any nature or description arising out of, relating to,
or in connection with any Abuse Claims.

       7.      Insurance Assignment

        As of the Effective Date, the Insurance Assignment shall be completed, which includes
an assignment and transfer of (a) the Insurance Actions, (b) the Insurance Action Recoveries, (c)
the Insurance Settlement Agreements, (d) the Insurance Coverage, and (e) all other rights or
obligations under or with respect to the Insurance Policies (but not the policies themselves). The
Insurance Assignment does not include any rights or obligations under or with respect to any
Insurance Policies that are the subject of an Insurance Settlement Agreement.

        Moreover, the Insurance Assignment shall not, and shall not be deemed to, transfer,
grant, or assign to the Settlement Trust any insurance rights of any Person that pertain to any
Insured Non-Abuse Claims. The insurance rights of any Person that pertain to Insured Non-
Abuse Claims are expressly reserved for the such Persons, and the Plan Documents shall not, and
shall not be deemed to, transfer, grant, or assign such rights to the Settlement Trust.

        Notwithstanding the Insurance Assignment, with respect to any Specified Insurance
Policy, the right of the Debtors and Reorganized BSA (and any other named or additional
insureds under such Specified Insurance Policy) are expressly reserved to (a) tender any Insured
Non-Abuse Claims to the Specified Insurance Policies and (b) access the limits of liability of the
Specified Insurance Policies to settle or otherwise resolve Insured Non-Abuse Claims. Further,
the Settlement Trust cannot settle, compromise, or otherwise resolve any rights, duties, or
obligations under the Specified Insurance Policies without the express written consent and
approval of the Debtors or Reorganized BSA (and any other named or additional insureds under
such Specified Insurance Policy), as applicable, and the Creditors’ Committee, prior to its
dissolution. Nonetheless, the Settlement Trust shall have the same rights, if any, as the Protected
Parties with respect to any Specified Insurance Policy insofar as the Settlement Trust may (i)
tender Abuse Claims to the Specified Insurance Policies and (ii) access the limits of liability of
the Specified Insurance Policies to pay Abuse Claims pursuant to the Trust Distribution
Procedures.

       8.      Indemnification by Settlement Trust

        From and after the Effective Date, the Settlement Trust shall indemnify each of the
Protected Parties, to the fullest extent lawful, from and against any and all Claims, liabilities,
losses, actions, suits, proceedings, third-party subpoenas, damages, costs and expenses (including
full reimbursement of all fees and expenses of counsel), as incurred, related to, arising out of, or
in connection with any Abuse Claim.




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       9.      Excess Assets in Settlement Trust

       To the extent any Settlement Trust Assets remain at such time as the Settlement Trust is
dissolved under the terms of the Settlement Trust Documents, any remaining Settlement Trust
Assets shall be distributed to Reorganized BSA.

       10.     Investment Guidelines

        All monies held in the Settlement Trust shall be invested, subject to the investment
limitations and provisions enumerated in the Settlement Trust Agreement.

       11.     Settlement Trust Expenses

         The Settlement Trust shall pay all Settlement Trust Expenses from the Settlement Trust
Assets. The Settlement Trust shall bear sole responsibility with respect to the payment of the
Settlement Trust Expenses. Additionally, the Settlement Trust shall promptly pay all reasonable
and documented Settlement Trust Expenses incurred by any Protected Party for any and all
liabilities, costs or expenses as a result of taking action on behalf of or at the direction of the
Settlement Trust.

       12.     Settlement Trustee

        There shall be one Settlement Trustee. The initial Settlement Trustee shall be the Person
identified in the Plan Supplement. Any successor Settlement Trustee shall be appointed in
accordance with the terms of the Settlement Trust Agreement. For purposes of any Settlement
Trustee performing his or her duties and fulfilling his or her obligations under the Settlement
Trust and the Plan, the Settlement Trust and the Settlement Trustee shall be deemed to be, and
the Confirmation Order shall provide that he or she is, a “party in interest” within the meaning of
section 1109(b) of the Bankruptcy Code. The Settlement Trustee shall be the “administrator” of
the Settlement Trust as such term is used in Treas. Reg. Section 1.468B-2(k)(3).

       13.     The Settlement Trust Advisory Committee

       The Settlement Trust Advisory Committee shall be established pursuant to the Settlement
Trust Agreement. The initial Settlement Trust Advisory Committee shall have three (3)
members and shall have the functions, duties, and rights provided in the Settlement Trust
Agreement. Each member of the Settlement Trust Advisory Committee shall serve in
accordance with the terms and conditions of the Settlement Trust Agreement.

       14.     Compensation of Settlement Trustee and Retention of Professionals

        The Settlement Trustee shall be entitled to compensation as provided for in the
Settlement Trust Agreement. The Settlement Trustee may retain and reasonably compensate,
without Bankruptcy Court approval, counsel and other professionals as reasonably necessary to
assist in their duties as Settlement Trustee, subject to the terms of the Settlement Trust
Agreement. All fees and expenses incurred in connection with the foregoing shall be payable
from the Settlement Trust as provided for in the Settlement Trust Agreement.



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       15.     Consent Rights of the Debtors and the Reorganized BSA

       The Settlement Trust Documents may not be amended or modified without the consent of
the Debtors or the Reorganized BSA, as applicable, which shall not be unreasonably withheld.
The Debtors shall also have consent rights with respect to any successor Settlement Trustee and
Trust Advisory Committee members, which consent shall not be unreasonably withheld.
Notwithstanding any of the foregoing, the Indemnification Obligations of the Settlement Trust
described in Article IV.I of the Plan may not be amended or modified without the consent of the
Protected Party that is otherwise entitled to indemnification pursuant to those provisions.

       16.     Cooperation Agreement

        The Debtors, the Local Councils, the Contributing Chartered Organizations and the
Settlement Trust shall enter into the Cooperation Agreement on the Effective Date substantially
in the form contained in the Plan Supplement. The Cooperation Agreement shall provide for
certain documents, books and records of the Debtors (including all portions of the Volunteer
Screening Database relating to allegations of Abuse set forth in Proofs of Claim), the Local
Councils, and Contributing Chartered Organizations to be shared with the Settlement Trust. The
parties to the Cooperation Agreement shall be bound by the terms thereof.

       17.     Privileged Information

        The transfer or assignment of any Privileged Information to the Settlement Trustee shall
not result in the destruction or waiver of any applicable privileges pertaining thereto. Further,
with respect to any privileges: (a) they are transferred to or contributed for the sole purpose of
enabling the Settlement Trustee to perform their duties to administer the Settlement Trust and for
no other reason; (b) they are vested solely in the Settlement Trustee and not in the Settlement
Trust, the Settlement Trust Advisory Committee, or any other Person, committee or
subcomponent of the Settlement Trust, or any other Person (including counsel and other
professionals) who has been engaged by, represents or has represented any holder of an Abuse
Claim; (c) they shall be preserved and not waived; and (d) no privileged information shall be
publicly disclosed by the Settlement Trustee or the Settlement Trust or communicated to any
Person not entitled to receive such information or in a manner that would diminish the protected
status of any such information. Notwithstanding the foregoing, (i) nothing herein shall preclude
the Settlement Trustee from providing information received pursuant to this section to any
Insurance Company as necessary to preserve, secure, or obtain the benefit of any rights under
any Insurance Policy and (ii) the transfer or assignment of any Privileged Information shall not
include any Common-Interest Communications with Insurers.

       18.     No Liability

        The Protected Parties shall neither have nor incur any liability to, or be subject to any
right of action by, any Person for any act, omission, transaction, event, or other circumstance in
connection with or related to the Settlement Trust, the Settlement Trustee, or the Settlement
Trust Documents, including the administration of Abuse Claims and the distribution of
Settlement Trust Assets by the Settlement Trust, or any related agreement.



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       19.     U.S. Federal Income Tax Treatment of the Settlement Trust

       The Settlement Trust shall be a “qualified settlement fund” within the meaning of
Treasury Regulation section 1.468B-1. The Settlement Trust shall file (or cause to be filed)
statements, returns, or disclosures relating to the Settlement Trust that are required by any
Governmental Unit. The Settlement Trustee shall be responsible for the payment of any taxes
imposed on the Settlement Trust or the Settlement Trust Assets, including estimated and annual
U.S. federal income taxes in accordance with the terms of the Settlement Trust Agreement. The
Settlement Trustee may request an expedited determination of taxes on the Settlement Trust
under section 505(b) of the Bankruptcy Code for all returns filed for, or on behalf of, the
Settlement Trust for all taxable periods through the dissolution of the Settlement Trust.

       20.     Institution and Maintenance of Legal and Other Proceedings

         As of the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute,
defend, settle, maintain, administer, preserve, pursue, and resolve all legal actions and other
proceedings related to any asset, liability, or responsibility of the Settlement Trust, including the
Insurance Actions, Abuse Claims, and the Settlement Trust Causes of Action. Without limiting
the foregoing, on and after the Effective Date, the Settlement Trust shall be empowered to
initiate, prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such
actions, in the name of the Debtors or Reorganized BSA, if deemed necessary or appropriate by
the Settlement Trust. The Settlement Trust shall be responsible for the payment of all damages,
awards, judgments, settlements, expenses, costs, fees, and other charges incurred on or after the
Effective Date arising from, relating to, or associated with any legal action or other proceeding
which is the subject of Article IV.P of the Plan and shall pay Indirect Abuse Claims, in
accordance with the Trust Distribution Procedures, that may arise from deductibles, self-insured
retentions, retrospective premium adjustments, or other charges. Furthermore, without limiting
the foregoing, the Settlement Trust shall be empowered to maintain, administer, preserve, or
pursue the Insurance Coverage and the Insurance Action Recoveries.

       21.     Expungement of Abuse Claims from the Claims Register

       On the Effective Date, all Abuse Claims filed against the Debtors in the Chapter 11 Cases
shall be expunged from the Claims Register and resolved exclusively in accordance with the
Trust Distribution Procedures.

       22.     Insurance Provisions

        As provided in Article X.M of the Plan, the following shall apply to all Entities, including
all Insurance Companies:

        Except as provided in any Insurance Settlement Agreement, nothing contained in the
Plan, the Plan Documents, or the Confirmation Order, including any provision that purports to be
preemptory or supervening, shall in any way operate to, or have the effect of, impairing, altering,
supplementing, changing, expanding, decreasing, or modifying (a) the rights or obligations of
any Insurance Company or (b) any rights or obligations of the Debtors arising out of or under
any Insurance Policy. For all issues relating to insurance coverage allegedly provided by any
Settling Insurance Company, the provisions, terms, conditions, and limitations of the applicable

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Insurance Settlement Agreement shall control. For all other issues relating to insurance
coverage, the provisions, terms, conditions, and limitations of the Insurance Policies shall
control. For the avoidance of doubt, nothing contained in the Plan, the Plan Documents, or the
Confirmation Order shall operate to require any Insurance Company to indemnify or pay the
liability of any Protected Party that it would not have been required to pay in the absence of the
Plan.

        The Plan, the Plan Documents, and the Confirmation Order shall be binding on the
Debtors, Reorganized BSA, and the Settlement Trust. Except as provided in any Insurance
Settlement Agreement, the obligations, if any, of the Settlement Trust to pay holders of Abuse
Claims shall be determined pursuant to the Plan and the Plan Documents. Except as provided in
Article X.M.4 of the Plan, none of (a) the Bankruptcy Court’s or District Court’s approval of the
Plan or the Plan Documents, (b) the Confirmation Order, the Affirmation Order or any findings
or conclusions entered with respect to Confirmation, or (c) any estimation or valuation of Abuse
Claims, either individually or in the aggregate (including any agreement as to the valuation of
Abuse Claims) in the Chapter 11 Cases shall, with respect to any Insurance Company, constitute
or be deemed to constitute a trial or hearing on the merits or an adjudication or judgment, or
accelerate the obligations, if any, of any Insurance Company under its Insurance Policies.

        No provision of the Plan, other than those provisions contained in the applicable
Injunctions contained in Article X of the Plan, shall be interpreted to affect or limit the
protections afforded to any Settling Insurance Company by the Channeling Injunction or the
Insurance Entity Injunction.

       Nothing in Article X.M of the Plan is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied against
any Insurance Company with respect to any issue that is actually litigated by such Insurance
Company as part of its objections, if any, to Confirmation or as part of any contested matter or
adversary proceeding filed by such Insurance Company in conjunction with or related to
Confirmation. Plan objections that are withdrawn prior to the conclusion of the Confirmation
Hearing shall be deemed not to have been actually litigated.

J.     Vesting of Assets in the Reorganized BSA

        In accordance with Article X.A of the Plan, and except as explicitly provided in the Plan
(including with respect to the Core Value Cash Pool), on the Effective Date, pursuant to sections
1141(b) and 1141(c) of the Bankruptcy Code, all property comprising the Estates, other than the
BSA Trust Contributions, shall vest in each respective Reorganized Debtor free and clear of all
Liens, Claims, interests, charges, other Encumbrances and liabilities of any kind unless expressly
provided by the Plan or the Confirmation Order. On and after the Effective Date, each
Reorganized BSA may continue is operations and may use, acquire, or dispose of property, and
compromise or settle any Claims, Interests, or Causes of Action without supervision or approval
of the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the Bankruptcy
Rules.




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K.     Retention of Certain Causes of Action

        In accordance with section 1123(b)(3) of the Bankruptcy Code and Article XI.B of the
Plan, subject to the transfer of the Settlement Trust Causes of Action to the Settlement Trust
under Article IV.D of the Plan and the Debtors’ and their Estates’ Release of certain Estate
Causes of Action under Article X.J of the Plan, all Causes of Action that a Debtor may hold
against any Person shall vest in Reorganized BSA on the Effective Date. Thereafter, subject to
Article IV.D and Article X.J of the Plan, Reorganized BSA shall have the exclusive right,
authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action, whether
arising before or after the Petition Date, and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court. No Person may rely on the absence of a specific reference in the Plan or the
Disclosure Statement to any specific Cause of Action as any indication that the Debtors or
Reorganized BSA, as applicable, will not pursue any and all available Causes of Action. The
Debtors or Reorganized BSA, as applicable, expressly reserve all rights to prosecute any and all
Causes of Action against any Person, except as otherwise expressly provided in the Plan, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or laches, shall
apply to any Cause of Action upon, after, or as a consequence of Confirmation or the occurrence
of the Effective Date.

L.     Workers’ Compensation Programs

        As of the Effective Date, the Debtors and the Reorganized BSA shall continue to honor
their obligations under: (a) all applicable workers’ compensation laws in all applicable states;
and (b) the Workers’ Compensation Program. All Proofs of Claims on account of the Workers’
Compensation Program shall be deemed withdrawn automatically and without any further notice
to or action, order, or approval of the Bankruptcy Court; provided, however, that nothing in the
Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses,
Causes of Action, or other rights under applicable non-bankruptcy law with respect to the
Workers’ Compensation Programs; provided further, however, that nothing in the Plan shall be
deemed to impose any obligations on the Debtors or their insurers in addition to what is provided
for under the terms of the Workers’ Compensation Programs and applicable state law.

M.     Treatment of Executory Contracts and Unexpired Leases

       1.      Assumption and Rejection of Executory Contracts and Unexpired Leases

       As set forth in Article VI of the Plan, on the Effective Date, except as otherwise provided
in the Plan, all Executory Contracts and Unexpired Leases shall be deemed assumed by
Reorganized BSA without the need for any further notice to or action, order, or approval of the
Bankruptcy Court under sections 365 or 1123 of the Bankruptcy Code, except for Executory
Contracts or Unexpired Leases:

               a.     that are identified on the Rejected Contracts and Unexpired Leases
                      Schedule;


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               b.     that previously expired or terminated pursuant to their terms;

               c.     that the Debtors have previously assumed or rejected pursuant to a Final
                      Order of the Bankruptcy Court;

               d.     that are the subject of a motion to reject that remains pending as of the
                      Effective Date;

               e.     as to which the effective date of rejection will occur (or is requested by the
                      Debtors to occur) after the Effective Date; or

               f.     as to which the Debtors or Reorganized BSA, as applicable, determine, in
                      the exercise of their reasonable business judgment, that the Cure Amount,
                      as determined by a Final Order or as otherwise finally resolved, would
                      render assumption of such Executory Contract or Unexpired Lease
                      unfavorable to Debtors or Reorganized BSA;

provided that the Debtors reserve the right to seek enforcement of an assumed or assumed and
assigned Executory Contract or Unexpired Lease following the Confirmation Date, including
seeking an order of the Bankruptcy Court rejecting such Executory Contract or Unexpired Lease
for cause.
        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumption or rejection, as applicable, of Executory Contracts or Unexpired
Leases pursuant to the Plan, pursuant to sections 365 and 1123 of the Bankruptcy Code. Except
as otherwise set forth in the Plan, the assumption or rejection of an Executory Contract or
Unexpired Lease pursuant to the Plan shall be effective as of the Effective Date; provided that
the rejection of an Unexpired Lease shall be effective as of the later of: (a) the Effective Date;
and (b) the date on which the leased premises are unconditionally surrendered to the non-Debtor
counterparty to the rejected Unexpired Lease. Reorganized BSA is authorized to abandon any
De Minimis Assets at or on the premises subject to an Unexpired Lease that is rejected pursuant
to the Plan, and the non-Debtor counterparty to such Unexpired Lease may dispose of any such
De Minimis Assets remaining at or on the leased premises on the applicable lease rejection date.

        Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or a Final
Order of the Bankruptcy Court shall re-vest in and be fully enforceable by Reorganized BSA in
accordance with its terms, except as such terms may have been modified by the provisions of the
Plan, the Confirmation Order, or any Final Order of the Bankruptcy Court authorizing and
providing for its assumption. Any motions to assume Executory Contracts or Unexpired Leases
pending on the Effective Date shall be subject to approval by a Final Order on or after the
Effective Date but may be withdrawn, settled, or otherwise prosecuted by Reorganized BSA.

        Any monetary defaults under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the Cure Amount in Cash on the Effective Date or in the ordinary course of
the Debtors’ or Reorganized BSA’s non-profit operations, subject to the limitation described in
the Plan.



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        Except as otherwise provided in the Plan, the Debtors shall, on or before the date of filing
of the Plan Supplement, cause Cure and Assumption Notices to be served on affected
counterparties to Executory Contracts and Unexpired Leases to be assumed pursuant to the Plan.
Any objection by a non-Debtor counterparty to an Executory Contract or Unexpired Lease to the
assumption, assumption and assignment, the related Cure Amount, or adequate assurance, must
be filed, served, and actually received by the Debtors on or prior to the deadline for filing
objections to the Plan (or such later date as may be provided in the applicable Cure and
Assumption Notice); provided that, each counterparty to an Executory Contract or Unexpired
Lease (a) that the Debtors later determine to assume or (b) as to which the Debtors modify the
applicable Cure Amount, must object to the assumption or Cure Amount, as applicable, by the
earlier of (i) fourteen (14) days after the Debtors serve such counterparty with corresponding
Cure and Assumption Notice; and (ii) the Confirmation Hearing. Any counterparty to an
Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption of any Executory Contract or Unexpired Lease shall be forever barred,
estopped, and enjoined from contesting the Debtors’ assumption of the applicable
Executory Contract or Unexpired Lease and from requesting payment of a Cure Amount
that differs from the amounts paid or proposed to be paid by the Debtors or Reorganized
BSA, in each case without the need for any objection by the Debtors or Reorganized BSA
or any further notice to or action, order, or approval of the Bankruptcy Court.
Reorganized BSA may settle any dispute regarding a Cure Amount without any further
notice to or action, order, or approval of the Bankruptcy Court.

        To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed, or assumed and assigned, pursuant to the Plan restricts or
prevents, or purports to restrict or prevent, or is breached or would be deemed breached by, the
assumption or assumption and assignment of such Executory Contract or Unexpired Lease
(including any change of control or similar provision), then such provision shall be deemed
preempted and modified such that neither the Debtors’ assumption or assumption and assignment
of the Executory Contract or Unexpired Lease nor any of the transactions contemplated by the
Plan shall entitle the non-debtor counterparty to terminate or modify such Executory Contract or
Unexpired Lease or to exercise any other purported default-related rights thereunder.

        The Debtors’ assumption or assumption and assignment of any Executory Contract
or Unexpired Lease pursuant to the Plan or otherwise, and payment of any applicable Cure
Amount in accordance with the procedures set forth in Article VI.C of the Plan, shall result
in the full release and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any
assumed, or assumed and assigned, Executory Contract or Unexpired Lease at any time
prior to the effective date of assumption. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, shall be deemed Disallowed and expunged
as of the later of: (a) the date of entry of an order of the Bankruptcy Court (including the
Confirmation Order) approving such assumption; (b) the effective date of such
assumption; or (c) the Effective Date, in each case without the need for any objection by the
Debtors or Reorganized BSA or any further notice to or action, order, or approval of the
Bankruptcy Court.

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        In the event of a timely filed objection regarding: (1) a Cure Amount; (2) the ability of
Reorganized BSA or any assignee to provide adequate assurance of future performance within
the meaning of section 365 of the Bankruptcy Code under the Executory Contract or Unexpired
Lease to be assumed; or (3) any other matter pertaining to assumption or the requirements of
section 365(b)(1) of the Bankruptcy Code, such dispute shall be resolved by a Final Order of the
Bankruptcy Court (which may be the Confirmation Order) or as may be agreed upon by the
Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory Contract or
Unexpired Lease. The Debtors or Reorganized BSA, applicable, shall pay the applicable Cure
Amount as soon as reasonably practicable after entry of a Final Order resolving such dispute and
approving such assumption, or as may otherwise be agreed upon by the Debtors or Reorganized
BSA, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. To the
extent that a dispute regarding the applicable Cure Amount is resolved or determined
unfavorably to the Debtors, the Debtors may, in their discretion, reject the applicable Executory
Contract or Unexpired Lease after such determination, which rejection shall supersede, nullify,
and render of no force or effect any earlier assumption or assumption and assignment. Under no
circumstances shall the status of payment of a Cure Amount required by section 365(b)(1) of the
Bankruptcy Code following the entry of a Final Order resolving the dispute and approving the
assumption prevent or delay implementation of the Plan or the occurrence of the Effective Date.

       2.      Rejection Damages Claims

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
for Rejection Damages Claims, if any, shall be filed within thirty (30) days after the latest to
occur of: (1) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such rejection; (2) the effective date of the rejection of such Executory
Contract or Unexpired Lease; or (3) the Effective Date (as applicable, the “Rejection Damages
Bar Date”). Claims arising from the rejection of an Executory Contract or an Unexpired Lease
shall be classified as General Unsecured Claims and subject to the provisions of Article VII of
the Plan and the applicable provisions of the Bankruptcy Code and the Bankruptcy Rules. Any
holder of a Rejection Damages Claim that is required to file a Proof of Claim in accordance
with Article VI.B of the Plan but fails to do so on or before the Rejection Damages Bar
Date shall not be treated as a creditor with respect to such Claim for the purposes of voting
or Distributions, and such Rejection Damages Claim shall be automatically Disallowed,
forever barred from assertion, and unenforceable against the Debtors, their Estates,
Reorganized BSA, or its or their respective property, whether by setoff, recoupment, or
otherwise, without the need for any objection by the Debtors or Reorganized BSA or
further notice to, or action, order, or approval of the Bankruptcy Court, and such
Rejection Damages Claim shall be deemed fully satisfied, released, and discharged.

       3.      Contracts and Leases Entered into After the Petition Date

        Contracts and leases entered into after the Petition Date by the BSA, including any
Executory Contracts and Unexpired Leases assumed by BSA, will be performed by the BSA or
Reorganized BSA in the ordinary course of its charitable non-profit operations. Accordingly,
such contracts and leases (including any assumed Executory Contract and Unexpired Leases)
shall survive and remain unaffected by entry of the Confirmation Order.



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       4.      Directors and Officers Insurance Policies

        All of the Debtors’ unexpired D&O Liability Insurance Policies shall be treated as and
deemed to be Executory Contracts under the Plan. Notwithstanding anything in the Plan to the
contrary, on the Effective Date, Reorganized BSA shall be deemed to have assumed all
unexpired D&O Liability Insurance Policies with respect to the Debtors’ directors, managers,
officers, and employees serving on or prior to the Petition Date pursuant to sections 365 and
1123 of the Bankruptcy Code and Article VI of the Plan. Entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of the Reorganized BSA’s assumption of each of the
unexpired D&O Liability Insurance Policies. Notwithstanding anything to the contrary
contained in the Plan, entry of the Confirmation Order shall not discharge, impair, or otherwise
modify any indemnity obligations assumed as a result of the foregoing assumption of the D&O
Liability Insurance Policies and related documents, and each such indemnity obligations will be
deemed and treated as an Executory Contract that has been assumed by the Reorganized BSA
under the Plan as to which no Proof of Claim need be filed. Entry of the Confirmation Order
will constitute the Bankruptcy Court’s approval of Reorganized BSA’s foregoing assumption of
the unexpired D&O Liability Insurance Policies.

       5.      Insurance Policies

        Notwithstanding anything to the contrary herein, all BSA Insurance Policies issued or
entered into prior to the Petition Date shall not be considered Executory Contracts and shall
neither be assumed nor rejected by the Debtors; provided, however, that to the extent any BSA
Insurance Policy is determined to be an Executory Contract, then, subject to Article IV.P of the
Plan, and notwithstanding anything contained in the Plan to the contrary, the Plan will constitute
a motion to assume such BSA Insurance Policy and pay all future obligations, if any, in respect
thereof and, subject to the occurrence of the Effective Date, the entry of the Confirmation Order
will constitute approval of such assumption pursuant to section 365(a) of the Bankruptcy Code
and a finding by the Bankruptcy Court that each such assumption is in the best interest of the
Debtors, their respective Estates and all parties in interest.

        Unless otherwise determined by the Bankruptcy Court pursuant to a Final Order or
agreed by the parties thereto prior to the Effective Date, no payments are required to cure any
defaults of any Debtor existing as of the Confirmation Date with respect to any BSA Insurance
Policy; and prior payments for premiums or other charges made prior to the Petition Date under
or with respect to any BSA Insurance Policy shall be indefeasible. Moreover, as of the Effective
Date, all payments of premiums or other charges made by the Debtors on or after the Petition
Date under or with respect to any BSA Insurance Policy shall be deemed to have been
authorized, approved, and ratified in all respects without any requirement of further action by the
Bankruptcy Court. Notwithstanding anything to the contrary contained herein, Confirmation
shall not discharge, impair or otherwise modify any obligations assumed by the foregoing
assumption, and each such obligation shall be deemed and treated as an Executory Contract that
has been assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

       Other than the permissibility of the Insurance Assignment, which is to be determined by
or in connection with Confirmation, the rights and obligations of the parties under such



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Insurance Policies, including the question of whether any breach has occurred, shall be
determined under applicable law.

N.     Provisions Governing Distributions

       1.      Applicability

       None of the terms or provision of Article VII of the Plan shall apply to Abuse Claims,
which shall be exclusively processed, liquidated and paid by the Settlement Trust in accordance
with the Settlement Trust Documents.

       2.      Distributions Generally

       The Disbursing Agent shall make all Distributions to appropriate holders of Allowed
Claims in accordance with the terms of the Plan.

       3.      Distributions on Account of Certain Claims Allowed as of the Effective Date

       Except as otherwise provided in the Plan, on or as soon as practicable after the Effective
Date, the Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,
Allowed Other Secured Claims, and Allowed Convenience Claims.

       4.      Distributions on Account of Allowed General Unsecured Claims

        On each Distribution Date, the Disbursing Agent shall Distribute to each holder of an
Allowed General Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the
total balance of the Core Value Cash Pool as of such date, less (2) the balance of the Disputed
Claims Reserve.

       5.      Distributions on Account of Disputed Claims Allowed After the Effective Date

       Distributions on account of any Disputed Claim shall be made to the extent such Claim is
Allowed in accordance with the provisions of Article VIII of the Plan. Except as otherwise
provided in the Plan, the Confirmation Order, another order of the Bankruptcy Court, or as
agreed to by the relevant parties, Distributions under the Plan on account of Disputed Claims that
become Allowed after the Effective Date shall be made as soon as practicable after the Disputed
Claim becomes an Allowed Claim.

       6.      Rights and Powers of Disbursing Agent

       The Disbursing Agent shall make all Distributions to the appropriate holders of Allowed
Claims in accordance with the terms of the Plan, including Article VII of the Plan. Except as
otherwise ordered by the Bankruptcy Court, the Disbursing Agent shall not be required to give
any bond or surety or other security for the performance of its duties.

      The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)


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make all Distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing
Agent to be necessary and proper to implement the provisions hereof. The Disbursing Agent
may request an expedited determination of taxes under section 505(b) of the Bankruptcy Code
for all returns for all taxable periods through the date on which final Distributions are made.

       7.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

               (a)     Claims Record Date. As of the close of business on the Claims Record
       Date, the various transfer registers for each of the Classes of Claims as maintained by the
       Debtors or their agents shall be deemed closed for purposes of determining whether a
       holder of such a Claim is a record holder entitled to a Distribution under the Plan, and
       there shall be no further changes in the record holders or the permitted designees with
       respect to such Claims. The Debtors or Reorganized BSA, as applicable, shall have no
       obligation to recognize any transfer or designation of such Claims occurring after the
       close of business on the Claims Record Date. With respect to payment of any Cure
       Amounts or assumption disputes, neither the Debtors nor Reorganized BSA shall have
       any obligation to recognize or deal with any party other than the non-Debtor party to the
       applicable Executory Contract or Unexpired Lease as of the close of business on the
       Claims Record Date, even if such non-Debtor party has sold, assigned, or otherwise
       transferred its Claim for a Cure Amount.
              (b)     Delivery of Distributions. If a Person holds more than one Claim in any
       one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
       into one Claim and one Distribution will be made with respect to the aggregated Claim.
               (c)     Special Rules for Distributions to Holders of Disputed Claims. Except as
       otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial
       payments and no partial Distributions shall be made with respect to a Disputed Claim
       until all such disputes in connection with such Disputed Claim have been resolved by
       settlement or Final Order; and (b) any Person that holds both an Allowed Claim and a
       Disputed Claim shall not receive any Distribution on account of the Allowed Claim
       unless and until all objections to the Disputed Claim have been resolved by settlement or
       Final Order or the Disputed Claims have been Allowed or expunged. Any Distributions
       arising from property Distributed to holders of Allowed Claims in a Class and paid to
       such holders under the Plan shall also be paid, in the applicable amounts, to any holder of
       a Disputed Claim in such Class that becomes an Allowed Claim after the date or dates
       that such Distributions were earlier paid to holders of Allowed Claims in such Class.
       8.      Undeliverable and Non-Negotiated Distributions

              (a)     Undeliverable Distributions. If any Distribution to a holder of an Allowed
       Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be
       made to such holder unless and until Reorganized BSA is notified in writing of such
       holder’s then-current address or other necessary information for delivery, at which time
       such previously undeliverable Distribution shall be made to such holder within ninety
       (90) days of receipt of such holder’s then-current address or other necessary information;


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       provided, however, that any such undeliverable Distribution shall be deemed unclaimed
       property under section 347(b) of the Bankruptcy Code at the expiration of 180 days after
       the date of the initial attempted Distribution. After such date, all unclaimed property or
       interests in property shall revert to Reorganized BSA automatically and without the need
       for any notice to or further order of the Bankruptcy Court (notwithstanding any
       applicable non-bankruptcy escheatment, abandoned, or unclaimed property laws to the
       contrary), and the right, title, and interest of any holder to such property or interest in
       property shall be discharged and forever barred; provided that Distributions made from
       the Core Value Cash Pool and returned as undeliverable shall revert to the Core Value
       Cash Pool.
              (b)     Non-Negotiated Distributions. If any Plan to a holder of an Allowed
       Claim is not negotiated for a period of 180 days after the Distribution, then such
       Distribution shall be deemed unclaimed property under section 347(b) of the Bankruptcy
       Code and re-vest in Reorganized BSA or re-vest in the Core Value Cash Pool if such
       Distribution was made from the Core Value Cash Pool. After such date, all non-
       negotiated property or interests in property shall revert to Reorganized BSA
       automatically and without the need for any notice to or further order of the Bankruptcy
       Court (notwithstanding any applicable non-bankruptcy escheatment, abandoned, or
       unclaimed property laws to the contrary), and the right, title, and interest of any holder to
       such property or interest in property shall be discharged and forever barred.
       9.       Manner of Payment under the Plan

       Except as otherwise specifically provided in the Plan, at the option of Reorganized BSA,
any Cash payment to be made hereunder may be made by a check or wire transfer or as
otherwise required or provided in applicable agreements or customary practices of Reorganized
BSA.

       10.      Satisfaction of Claims

       Except as otherwise specifically provided in the Plan, any Distributions to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

       11.      Minimum Cash Distributions

        Reorganized BSA shall not be required to make any Distribution of Cash less than twenty
dollars ($20) to any holder of an Allowed Claim; provided, however, that if any Distribution is
not made pursuant to Article VIII.K of the Plan, such Distribution shall be added to any
subsequent Distribution to be made on behalf of the holder’s Allowed Claim.

       12.      Postpetition Interest

        Except as provided in the Cash Collateral Order or in the following sentence, interest
shall not accrue on Impaired Claims; no holder of an Impaired Claim shall be entitled to interest
accruing on or after the Petition Date on any such Impaired Claim, and interest shall not accrue
or be paid on any Disputed Claim in respect of the period from the Petition Date to the date a


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Distribution is made thereon if and after such Disputed Claim becomes an Allowed Claim.
Notwithstanding the foregoing, each holder of an Allowed General Unsecured Claim shall
accrue interest on the Allowed amount of such Claim at the federal judgment rate then
applicable; provided, that such interest shall be payable to each such holder only from the Core
Value Cash Pool and only to the extent that the Core Value Cash Pool shall have been sufficient:
(i) first, to satisfy the full amount of all Allowed General Unsecured Claims; and (ii) second, on
account of any Allowed Non-Abuse Litigation Claims that shall not have elected to be treated as
an Allowed Convenience Claim under Article III.B.9 of the Plan, to satisfy any deficiency in
payments of such Allowed Claims from available Insurance Coverage, from applicable proceeds
of any Insurance Settlement Agreements, and from co-liable non-debtors (if any) or their
insurance coverage. Neither the Debtors nor Reorganized BSA shall have any independent
obligation to pay interest for or on account of any Allowed General Unsecured Claims other than
from the Core Value Cash Pool in accordance with the terms of Article VII.L of the Plan.

       13.      Setoffs

        The Debtors and Reorganized BSA may, pursuant to the applicable provisions of the
Bankruptcy Code, or applicable non-bankruptcy law, set off against any applicable Allowed
Claim (before any Distribution is made on account of such Claim) any and all claims, rights,
Causes of Action, debts or liabilities of any nature that the Debtors or Reorganized BSA may
hold against the holder of such Allowed Claim; provided, however, that the failure to effect such
a setoff shall not constitute a waiver or release of any such claims, rights, Causes of Action,
debts or liabilities.

       14.      Claims Paid or Payable by Third Parties

               (a)     Claims Paid by Third Parties. A Claim shall be reduced in full, and such
       Claim shall be Disallowed without an objection to such Claim having to be filed and
       without any further notice to or action, order, or approval of the Bankruptcy Court, to the
       extent that the holder of such Claim receives payment in full on account of such Claim
       from a party that is not a Debtor or Reorganized BSA. To the extent a holder of a Claim
       receives a Distribution on account of such Claim and receives payment from a party that
       is not a Debtor or Reorganized BSA on account of such Claim, such holder shall repay,
       return, or deliver any Distribution held by or transferred to such holder to Reorganized
       BSA to the extent the holder’s total recovery on account of such Claim from the third
       party and under the Plan exceeds the amount of such Claim as of the date of any such
       Distribution under the Plan.
               (b)     Non-Abuse Claims Payable from Insurance. No Distributions under the
       Plan shall be made on account of any Allowed Non-Abuse Claim that is payable pursuant
       to an insurance policy until the holder of such Allowed Non-Abuse Claim has exhausted
       all remedies with respect to such insurance policy, including pursuing such insurance
       through litigation and obtaining entry of a final, non-appealable order. To the extent that
       one or more of the Insurance Companies satisfies in full or in part an Allowed Non-
       Abuse Claim, then immediately upon such satisfaction, the portion of the Claim so
       satisfied may be expunged from the Claims Register by the Notice and Claims Agent



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       without an objection to such Claim having to be filed and without any further notice to or
       action, order, or approval of the Bankruptcy Court.
       15.      Compliance with Tax Requirements and Allocations

        In connection with the Plan and all Distributions hereunder, the Disbursing Agent shall
comply with all tax withholding and reporting requirements imposed on them by any federal,
state or local taxing authority, and all Distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the
contrary, the Disbursing Agent shall be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including liquidating a portion of the
Distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding Distributions pending receipt of information necessary to facilitate such
Distributions including tax certification forms, or establishing any other mechanisms it believes
are reasonable and appropriate.

        For tax purposes, Distributions in full or partial satisfaction of Allowed Claims shall be
allocated first to the principal amount of Allowed Claims, with any excess allocated to unpaid
interest that accrued on such Claim.

O.     Procedures for Resolving Contingent, Unliquidated, and Disputed Claims

       1.       Applicability

        All Disputed Claims against the Debtors, other than Administrative Expense Claims,
shall be subject to the provisions of Article VIII of the Plan. All Administrative Expense Claims
shall be determined and, if Allowed, paid in accordance with Article II of the Plan. None of the
terms or provision of Article VIII of the Plan shall apply to Abuse Claims, which shall be
exclusively processed, liquidated and paid by the Settlement Trust in accordance with the
Settlement Trust Documents.

       2.       Allowance of Claims

       After the Effective Date, Reorganized BSA shall have and retain any and all rights and
defenses that the Debtors, or either of them, had with respect to any Claim immediately before
the Effective Date. Except as expressly provided in the Plan or in any order entered in the
Chapter 11 Cases before the Effective Date (including the Confirmation Order), no Claim shall
become an Allowed Claim unless and until such Claim becomes Allowed by Final Order of the
Bankruptcy Court or by agreement between the Debtors or Reorganized BSA, on the one hand,
and the holder of Claim, on the other.

       3.       Claims Administration Responsibilities

               (a)    Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (1) to file, withdraw, or litigate
       to judgment objections to Claims; (2) to settle or compromise any Disputed Claim
       without any further notice to or action, order, or approval by the Bankruptcy Court; and
       (3) to administer and adjust the Claims Register to reflect any such settlements or


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       compromises without any further notice to or action, order, or approval by the
       Bankruptcy Court.
              (b)    Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,
       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection
       Deadline.
       4.      Estimation of Claims

        The Debtors (before the Effective Date) or Reorganized BSA (on and after the Effective
Date) may at any time request that the Bankruptcy Court estimate any Disputed Claim pursuant
to section 502(c) of the Bankruptcy Code regardless of whether an objection was previously filed
with the Bankruptcy Court with respect to such Claim or whether the Bankruptcy Court has ruled
on any such objection, and the Bankruptcy Court shall retain jurisdiction to estimate any Claim
at any time during litigation concerning any objection to such Claim, including during the
pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any Disputed Claim, that estimated amount will constitute either the Allowed amount
of such Claim or a maximum limitation on such Claim against any Person. If the estimated
amount of a Claim constitutes a maximum limitation on such Claim, the Debtors (before the
Effective Date) or Reorganized BSA (on and after the Effective Date) may elect to pursue any
supplemental proceedings to object to any ultimate Distribution on such Claim. All of the
objection, estimation, settlement, and resolution procedures set forth in the Plan are cumulative
and not necessarily exclusive of one another. Claims may be estimated and subsequently
compromised, objected to, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.

       5.      No Distributions Pending Allowance

        No Distributions or other consideration shall be paid with respect to any Claim that is a
Disputed Claim unless and until all objections to such Disputed Claim are resolved and such
Disputed Claim becomes an Allowed Claim by Final Order of the Bankruptcy Court or
agreement between the Debtors or Reorganized BSA, on the one hand, and the holder of Claim,
on the other.

       6.      Distributions After Allowance

       To the extent that a Disputed Claim (or a portion thereof) becomes an Allowed Claim,
Distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan.

       7.      Disputed Claims Reserve

      The provisions of Article VIII.G of the Plan apply only to the extent that any General
Unsecured Claims remain Disputed as of any Distribution Date.




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        (a)     If any General Unsecured Claims remain Disputed as of any Distribution
Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
consistently with the foregoing for state and local income tax purposes. All parties
(including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
Unsecured Claims) shall be required to report for tax purposes in a manner consistent
with the foregoing. The Disputed Claims Reserve shall be responsible for payment, out
of the assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed
Claims Reserve or its assets.
        (b)    The Debtors or Reorganized BSA, as applicable, in consultation with the
Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
applicable, as of the initial Distribution Date, based on the least of: (a) the asserted
amount of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b)
the amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of
the Bankruptcy Code or (ii) Article VIII.D of the Plan if, after the Effective Date, a
motion is filed by Reorganized BSA to estimate such Claim; (c) the amount otherwise
agreed to by the Debtors (or Reorganized BSA, if after the Effective Date) and the
holders of such Disputed General Unsecured Claims; or (d) any amount otherwise
approved by the Bankruptcy Court. Upon each Distribution Date, Reorganized BSA
shall deposit into the Disputed Claims Reserve an amount of Cash equal to the amount
sufficient to make the Distributions to which holders of Disputed General Unsecured
Claims would be entitled under the Plan as of the applicable Distribution Date if the
Disputed General Unsecured Claims were Allowed Claims as of such date.
         (c)     If a Disputed General Unsecured Claim becomes an Allowed Claim after
the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
from the Disputed Claims Reserve, the amount of Cash that such holder would have
received in that Distribution and all prior Distributions (if any) if such holder’s General
Unsecured Claim had been Allowed as of the Effective Date, net of any allocable taxes
imposed thereon or otherwise payable by the Disputed Claims Reserve.
       (d)    If a Disputed Claim is Disallowed, in whole or in part, then on the
Distribution Date next following the date of Disallowance, Cash shall be released from
the Disputed Claims Reserve, which Cash shall then be unreserved and unrestricted, and
which shall be available for Distribution to holders of Allowed General Unsecured
Claims.
        (e)     If any assets remain in the Disputed Claims Reserve after all Disputed
General Unsecured Claims have been resolved, such assets shall be distributed Pro Rata
to all holders of Allowed General Unsecured Claims on the next Distribution Date (or, if



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       all Disputed General Unsecured Claims are resolved after the final Distribution Date, as
       soon as practicable thereafter).
       8.       Reimbursement or Contribution

        If the Bankruptcy Court Disallows a Claim for reimbursement or contribution pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as
of the Effective Date, such Claim shall be forever Disallowed notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Effective Date (1) such Claim has been adjudicated as
non-contingent or (2) the relevant holder of a Claim has filed a non-contingent Proof of Claim on
account of such Claim and a Final Order has been entered determining such Claim as no longer
contingent.

       9.       Adjustment to Claims Register without Objection

        Any duplicate Proof of Claim that has been paid or satisfied, or any Proof of Claim that is
clearly marked as amended or superseding, may be adjusted or expunged on the Claims Register
by the Notice and Claims Agent at the direction of Reorganized BSA upon stipulation between
the parties in interest without an objection having to be filed and without any further notice to or
action, order, or approval of the Bankruptcy Court.

       10.      Time to File Objections to Claims

       Any objections to Claims must be filed on or before the applicable Claims Objection
Deadline, as such deadline may be extended from time to time. The expiration of the Claims
Objection Deadline shall not limit or affect the Debtors’ or Reorganized BSA’s rights to dispute
Claims asserted in the ordinary course of the Debtors or Reorganized BSA’s non-profit
operations other than through a Proof of Claim.

       11.      Disallowance of Certain Claims

       Except as provided herein or otherwise agreed, any and all Proofs of Claim filed after the
applicable Bar Date shall be deemed Disallowed and expunged as of the Effective Date without
any further notice to or action, order, or approval of the Bankruptcy Court, and no holder of any
such Claim shall receive any Distributions on account of such Claim unless the Bankruptcy
Court shall have determined, at or before the Confirmation Hearing, that cause exists to extend
the Bar Date as to such Proof of Claim on the basis of excusable neglect.

       12.      Amendments to Proofs of Claim

        From or after the Effective Date, a Proof of Claim or Interest may not be filed or
amended without the prior authorization of the Bankruptcy Court or Reorganized BSA, and any
such new or amended Proof of Claim or Interest filed shall be deemed Disallowed in full and
expunged without any further action by the Debtors or Reorganized BSA (as applicable) or
notice to or order of the Bankruptcy Court.




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P.     Discharges, Channeling Injunction, Releases, Exculpations and Injunctions; Survival of
       Indemnification and Exculpation Obligations

       1.      Discharge

               a.      Discharge of the Debtors

         Except as expressly provided in the Plan or the Confirmation Order, the treatment of
Claims under the Plan shall be in exchange for, and in complete satisfaction, settlement,
discharge, termination and release of, all Claims and Interests of any nature whatsoever against
or in the Debtors or any of their assets or properties based upon any act, omission, transaction,
occurrence, or other activity of any nature that occurred prior to the Effective Date, and, as of the
Effective Date, each of the Debtors shall be deemed discharged and released, and each holder of
a Claim or Interest and any successor, assign, and affiliate of such holder shall be deemed to
have forever waived, discharged and released each of the Debtors, to the fullest extent permitted
by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights and
liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code, based upon
any act, omission, transaction, occurrence, or other activity of any nature that occurred prior to
the Effective Date, in each case whether or not (a) a Proof of Claim based upon such debt is filed
or deemed filed under section 501 of the Bankruptcy Code, (b) a Claim based upon such debt is
Allowed under section 502 of the Bankruptcy Code, (c) a Claim based upon such debt is or has
been Disallowed by order of the Bankruptcy Court, or (d) the holder of a Claim based upon such
debt is deemed to have accepted the Plan.

               b.      Discharge Injunction

        From and after the Effective Date, except as expressly provided in the Plan or the
Confirmation Order, all holders of Claims or Interests of any nature whatsoever against or in the
Debtors or any of their assets or properties based upon any act, omission, transaction,
occurrence, or other activity of any nature that occurred prior to the Effective Date that are
discharged pursuant to the terms of the Plan shall be precluded and permanently enjoined from
taking any of the following actions on account of, or on the basis of, such discharged Claims and
Interests: (a) commencing or continuing any action or other proceeding of any kind against the
Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;
(b) enforcing, attaching, collecting, or recovering by any manner or means of judgment, award,
decree or other against the Debtors, Reorganized BSA, the Settlement Trust, or its or their
respective property; (c) creating, perfecting or enforcing any Lien or Encumbrance of any kind
against the Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;
or (d) commencing or continuing any judicial or administrative proceeding, in any forum and in
any place in the world, that does not comply with or is inconsistent with the provisions of the
Plan or the Confirmation Order. The foregoing injunction shall extend to the successors and
assigns of the Debtors (including Reorganized BSA) and its and their respective properties and
interests in property. In accordance with the foregoing, except as expressly provided in the Plan
or the Confirmation Order, the Confirmation Order shall be a judicial determination of discharge
or termination of all Claims, Interests and other debts and liabilities against or in the Debtors
pursuant to sections 105, 524 and 1141 of the Bankruptcy Code, and such discharge shall void



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any judgment obtained against the Debtors at any time to the extent such judgment relates to a
discharged Claim or Interest.

       2.      Channeling Injunction

               a.    Terms

                      (i)     To preserve and promote the settlements contemplated by and
       provided for in the Plan, including the Abuse Claims Settlement, and to supplement,
       where necessary, the injunctive effect of the Discharge as provided in sections 1141
       and 524 of the Bankruptcy Code and as described in Article X of the Plan, pursuant
       to the exercise of the equitable jurisdiction and power of the Bankruptcy Court and
       the District Court under section 105(a) of the Bankruptcy Code, the sole recourse of
       any holder of an Abuse Claim against a Protected Party on account of such Abuse
       Claim shall be the Settlement Trust pursuant to the Settlement Trust Documents,
       and such holder shall have no right whatsoever at any time to assert such Abuse
       Claim against any Protected Party or any property or interest in property of any
       Protected Party. On and after the Effective Date, all Persons that have held or
       asserted, currently hold or assert, or that may in the future hold or assert, any
       Abuse Claim against the Protected Parties, or any of them, shall be permanently
       and forever stayed, restrained and enjoined from taking any action for the purpose
       of directly, indirectly, or derivatively collecting, recovering, or receiving payment,
       satisfaction, or recovery from any Protected Party with respect to any such Abuse
       Claim other than from the Settlement Trust pursuant to the Settlement Trust
       Documents, including:

                     (ii)   commencing, conducting, or continuing, in any manner,
       whether directly, indirectly, or derivatively, any suit, action, or other proceeding of
       any kind (including a judicial, arbitration, administrative, or other proceeding) in
       any forum in any jurisdiction around the world against or affecting any Protected
       Party or any property or interest in property of any Protected Party;

                     (iii) enforcing, levying, attaching (including any prejudgment
       attachment), collecting or otherwise recovering, by any manner or means, either
       directly or indirectly, any judgment, award, decree, or order against or affecting
       any Protected Party or any property or interest in property of any Protected Party;

                     (iv)   creating, perfecting, or otherwise enforcing in any manner,
       whether directly or indirectly, any Encumbrance of any kind against any Protected
       Party or any property or interest in property of any Protected Party;

                     (v)    asserting, implementing or effectuating any setoff, right of
       reimbursement, subrogation, indemnity, contribution, reimbursement, or
       recoupment of any kind, in any manner, directly or indirectly, against any
       obligation due to any Protected Party or any property or interest in property of any
       Protected Party; or



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                     (vi)   taking any act in any manner, and in any place whatsoever,
       that does not conform to, or comply with, the provisions of the Plan Documents or
       the Settlement Trust Documents or with regard to any matter that is within the
       scope of the matters designated by the Plan to be subject to resolution by the
       Settlement Trust, except in conformity and compliance with the Settlement Trust
       Documents with respect to any such Abuse Claim.

               b.     Reservations

      Notwithstanding anything to the contrary in Article X.F of the Plan, the Channeling
Injunction shall not enjoin:

                       (i)   the rights of holders of Abuse Claims to assert such Abuse
            Claims solely against the Settlement Trust in accordance with the Trust
            Distribution Procedures;

                    (ii)   the rights of holders of Abuse Claims to assert such Abuse
       Claims against anyone other than a Protected Party;

                        (iii) the right of any Person to assert any Claim, debt, obligation or
            liability for payment of Settlement Trust Expenses solely against the Settlement
            Trust in accordance with the Settlement Trust Documents; or

                      (iv)   the Settlement Trust from enforcing its rights under the Plan
            and the Settlement Trust Documents; or

                      (v)    the rights of the Settlement Trust and Reorganized BSA (to the
            extent permitted or required under the Plan) to prosecute any action against any
            Non-Settling Insurance Company based on or arising from Insurance Policies
            that are not the subject of an Insurance Settlement Agreement, subject to any
            Insurance Coverage Defenses.

       3.      Provisions Relating to Channeling Injunction

               c.     Modifications

       There can be no modification, dissolution, or termination of the Channeling Injunction,
which shall be a permanent injunction.

               d.     Non-Limitation.

       Nothing in the Plan or the Settlement Trust Documents shall or shall be construed in any
way to limit the scope, enforceability, or effectiveness of the Channeling Injunction or the
Settlement Trust’s assumption of all liability with respect to Abuse Claims.




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               e.     Bankruptcy Rule 3016 Compliance

        The Debtors’ compliance with the requirements of Bankruptcy Rule 3016 shall not
constitute or be deemed to constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

               f.     Enforcement

       Any Protected Party may enforce the Channeling Injunction as a defense to any Claim
brought against such Protected Party that is enjoined under the Plan as to such Protected Party
and may seek to enforce such injunction in a court of competent jurisdiction.

               g.     Contribution Claims

        If a Non-Settling Insurance Company asserts that it has rights, whether legal, equitable,
contractual, or otherwise, of contribution, indemnity, reimbursement, subrogation or other
similar claims directly or indirectly arising out of or in any way relating to such Non-Settling
Insurance Company’s payment of loss on behalf of one or more of the Debtors in connection
with any Abuse Claim against a Settling Insurance Company (collectively, “Contribution
Claims”), (a) such Contribution Claims may be asserted as a defense or counterclaim against the
Settlement Trust in any Insurance Action involving such Non-Settling Insurance Company, and
the Settlement Trust may assert the legal or equitable rights (if any) of the Settling Insurance
Company, and (b) to the extent such Contribution Claims are determined to be valid, the liability
(if any) of such Non-Settling Insurance Company to the Settlement Trust shall be reduced by the
amount of such Contribution Claims.

               h.     No Duplicative Recovery

       In no event shall any holder of an Abuse Claim be entitled to receive any duplicative
payment, reimbursement, or restitution from any Protected Party under any theory of liability for
the same loss, damage, or other Claim that is reimbursed by the Settlement Trust or is otherwise
based on the same events, facts, matters, or circumstances that gave rise to the applicable Abuse
Claim.

               i.     District Court Approval

        The Debtors shall seek entry of the Affirmation Order, which shall approve (a) the
Channeling Injunction and the Settlement Trust’s assumption of all liability with respect to
Abuse Claims and (b) the releases by holders of Abuse Claims for the benefit of the Protected
Parties, each as set forth in Article X of the Plan.

       4.      Insurance Entity Injunction

               a.     Purpose

      To facilitate the Insurance Assignment, protect the Settlement Trust, and preserve
the Settlement Trust Assets, pursuant to the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, the


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Bankruptcy Court shall issue the Insurance Entity Injunction set forth in Article X.H of
the Plan; provided, however, that the Insurance Entity Injunction is not issued for the
benefit of any Insurance Company, and no Insurance Company is a third-party beneficiary
of the Insurance Entity Injunction, except as otherwise specifically provided in any
Insurance Settlement Agreement.

              b.     Terms Regarding Claims against Insurance Companies

       Subject to the terms of Article X.E and Article X.F of the Plan, all Persons that have
held or asserted, that hold or assert, or that may in the future hold or assert any claim or
cause of action (including any Abuse Claim or any claim for or respecting any Settlement
Trust Expense) against any Insurance Company based upon, attributable to, arising out of,
or in any way connected with any Abuse Claim, whenever and wherever arising or
asserted, whether in the United States of America or anywhere else in the world, whether
sounding in tort, contract, warranty, or any other theory of law, equity, or admiralty, shall
be stayed, restrained, and enjoined from taking any action for the purpose of directly or
indirectly collecting, recovering, or receiving payments, satisfaction, or recovery with
respect to any such claim or cause of action, including:

                      (i)     commencing, conducting, or continuing, in any manner,
       directly or indirectly, any suit, action, or other proceeding of any kind (including a
       judicial, arbitration, administrative, or other proceeding) in any forum with respect
       to any such claim, demand, or cause of action against any Insurance Company, or
       against the property of any Insurance Company, with respect to any such claim,
       demand, or cause of action;

                      (ii)  enforcing, levying, attaching, collecting, or otherwise
       recovering, by any means or in any manner, whether directly or indirectly, any
       judgment, award, decree, or other order against any Insurance Company, or
       against the property of any Insurance Company, with respect to any such claim or
       cause of action;

                     (iii) creating, perfecting, or enforcing in any manner, directly or
       indirectly, any Lien or Encumbrance against any Insurance Company, or the
       property of any Insurance Company, with respect to any such claim or cause of
       action; and

                     (iv)    except as otherwise specifically provided in the Plan, asserting
       or accomplishing any setoff, right of subrogation, indemnity, contribution, or
       recoupment of any kind, directly or indirectly, against any obligation of any
       Insurance Company, or against the property of any Insurance Company, with
       respect to any such claim or cause of action;

provided, however, that (i) the injunction set forth in Article X.H of the Plan shall not
impair in any way any (a) actions brought by the Settlement Trust against any Non-
Settling Insurance Company or (b) the rights of any co-insured of the Debtors (x) under
any Insurance Policy that is not the subject of an Insurance Settlement Agreement or


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against any Non-Settling Insurance Company, in each case with respect to Insured Non-
Abuse Claims and (y) as specified under any Final Order of the Bankruptcy Court
approving an Insurance Settlement Agreement; and (ii) the Settlement Trust shall have the
sole and exclusive authority at any time to terminate, or reduce or limit the scope of, the
injunction set forth in Article X.H of the Plan with respect to any Non-Settling Insurance
Company, in accordance with the Settlement Trust Documents, upon express written
notice to such Non-Settling Insurance Company, except that the Settlement Trust shall not
have any authority to terminate, reduce or limit the scope of the injunction herein with
respect to any Settling Insurance Company so long as, but only to the extent that, such
Settling Insurance Company complies fully with its obligations under any applicable
Insurance Settlement Agreement.
               c.     Reservations

       Notwithstanding anything to the contrary in Article X.H of the Plan, the Insurance
Entity Injunction shall not enjoin:

                     (i)    the rights of any Person to the treatment accorded them under
       the Plan, as applicable, including the rights of holders of Abuse Claims to assert
       such Claims, as applicable, in accordance with the Trust Distribution Procedures;

                     (ii)   the rights of any Person to assert any claim, debt, obligation,
       cause of action or liability for payment of Settlement Trust Expenses against the
       Settlement Trust;

                      (iii) the rights of the Settlement Trust to prosecute any action based
       on or arising from Insurance Policies;

                     (iv)    the rights of the Settlement Trust to assert any claim, debt,
       obligation, cause of action or liability for payment against an Insurance Company
       based on or arising from the Insurance Policies; or

                     (v)   the rights of any Insurance Company to assert any claim, debt,
       obligation, cause of action or liability for payment against any Non-Settling
       Insurance Company.

       5.      Injunction Against Interference with Plan

       Upon entry of the Confirmation Order, all holders of Claims and Interests shall be
precluded and enjoined from taking any actions to interfere with the implementation and
consummation of the Plan.

       6.      Releases

               a.     Releases by the Debtors and the Estates

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section


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1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate and
implement the reorganization of the Debtors, as an integral component of the Plan, the
Debtors, Reorganized BSA, and the Estates shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge
each and all of the Released Parties of and from any and all Estate Causes of Action that do
not constitute Settlement Trust Causes of Action, any and all other Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the
Estates), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
contract, tort or otherwise, based on or relating to, or in any manner arising from, in whole
or in part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in connection
with or related to the Debtors, the Estates, their respective assets and properties, the
Chapter 11 Cases, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated by the Plan, the business or contractual arrangements
between one or both of the Debtors and any Released Party, the restructuring of any Claim
or Interest that is treated by the Plan before or during the Chapter 11 Cases, any of the
Plan Documents, or any related agreements, instruments, and other documents created or
entered into before or during the Chapter 11 Cases or the negotiation, formulation,
preparation or implementation thereof, the pursuit of Confirmation, the administration
and implementation of the Plan, the solicitation of votes with respect to the Plan, the
distribution of property under the Plan, or any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date related
or relating to the foregoing. Notwithstanding anything to the contrary in the foregoing, the
releases set forth in Article X.J.1 of the Plan shall not, and shall not be construed to:
(a) release any Released Party from Causes of Action arising out of, or related to, any act
or omission of a Released Party that is a criminal act or that constitutes fraud, gross
negligence or willful misconduct; or (b) release any post-Effective Date obligations of any
Person under the Plan Documents or any document, instrument, or agreement executed to
implement the Plan.

              b.     Releases by the Debtors and the Estates of Certain Avoidance Actions

       As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, including the service of Creditors’ Committee and its members in
their respective capacities as such in facilitating and implementing the reorganization of
the Debtors, as an integral component of the Plan, the Debtors, Reorganized BSA, and the
Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all holders of Allowed General
Unsecured Claims, Allowed Non-Abuse Litigation Claims, and Allowed Convenience
Claims of and from any and all Avoidance Actions.




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              c.      Releases by the Debtors and the Estates of the Local Councils and the
                      Contributing Chartered Organizations.

       In furtherance of the Abuse Claims Settlement, on the Effective Date, for good and
valuable consideration, the adequacy of which is hereby confirmed, the Debtors, on their
own behalf and as representatives of their respective Estates, and Reorganized BSA, are
deemed to irrevocably and unconditionally, fully, finally, and forever waive, release, acquit,
and discharge each and all of the Local Councils and Contributing Chartered
Organizations of and from any and all claims, causes of action, suits, costs, debts, liabilities,
obligations, dues, sums of money, accounts, reckonings, bonds, bills, covenants, contracts,
controversies, agreements, promises, damages, judgments, executions and demands
whatsoever, of whatever kind or nature (including, without limitation, those arising under
the Bankruptcy Code), whether known or unknown, suspected or unsuspected, in law or in
equity, which the Debtors, their Estates, or Reorganized BSA have, had, may have, or may
claim to have against any of the Local Councils and Contributing Chartered Organizations
with respect to any Abuse Claims (collectively, the “Scouting Released Claims”).

              d.      Releases by Holders of Abuse Claims

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Protected Parties to facilitate and
implement the reorganization of the Debtors and the settlements embodied in the Plan,
including the Abuse Claims Settlement, as an integral component of the Plan, and except as
otherwise expressly provided in the Plan or the Confirmation Order, to the maximum
extent permitted under applicable law, as such law may be extended subsequent to the
Effective Date, all holders of Abuse Claims shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever discharge and release
each and all of the Protected Parties and their respective property and successors and
assigns of and from all Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any
way to such Abuse Claims.

              e.      Releases by Holders of Claims

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, as an integral component of the Plan, and except as
otherwise expressly provided in the Plan or the Confirmation Order, to the maximum
extent permitted under applicable law, as such law may be extended subsequent to the
Effective Date, all Releasing Claim Holders shall, and shall be deemed to, expressly,


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conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge
each and all of the Released Parties of and from any and all Claims, Interests, obligations,
rights, demands, suits, judgments, damages, debts, remedies, losses and liabilities of any
nature whatsoever (including any derivative claims or Causes of Action asserted or that
may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates), whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in
part, any act, omission, transaction, event, or other circumstance taking place or existing
on or before the Effective Date (including before the Petition Date) in connection with or
related to the Debtors, the Estates, their respective assets and properties, the Chapter 11
Cases, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated by the Plan, the business or contractual arrangements between one
or both of the Debtors and any Released Party, the restructuring of any Claim or Interest
that is treated by the Plan before or during the Chapter 11 Cases, any of the Plan
Documents, or any related agreements, instruments, and other documents created or
entered into before or during the Chapter 11 Cases or the negotiation, formulation,
preparation or implementation thereof, the pursuit of Confirmation, the administration
and implementation of the Plan, the solicitation of votes with respect to the Plan, the
distribution of property under the Plan, or any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date related
or relating to the foregoing; provided, however, that the releases set forth in Article X.J.4
of the Plan shall not, and shall not be construed to: (a) release any Released Party from
Causes of Action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct; or
(b) release any post-Effective Date obligations of any Person under the Plan Documents or
any document, instrument, or agreement executed to implement the Plan. Notwithstanding
the foregoing or anything to the contrary herein, with respect to holders of Allowed
General Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan
or the release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release
any claims or Causes of Action against any Local Council, Chartered Organization, or
Insurance Company.

       7.      Exculpation

        From and after the Effective Date, none of the Exculpated Parties shall have or
incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance in connection with, relating to or
arising out of the Chapter 11 Cases, the negotiation of the Plan Documents, the Releases
and Injunctions, the pursuit of Confirmation of the Plan, the administration,
consummation and implementation of the Plan or the property to be Distributed under the
Plan, or the management or operation of the Debtors (except for any liability that results
primarily from such Exculpated Party’s gross negligence, bad faith or willful misconduct).
In all respects, each and all such Exculpated Parties shall be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under, or in connection
with, the matters referenced in the preceding sentence.



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       8.      Injunctions Related to Releases and Exculpation

               a.     Injunction Related to Releases

        As of the Effective Date, all holders of Claims that are the subject of Article X.J of
the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Released Party or its property or successors or assigns on
account of or based on the subject matter of such Claims, whether directly or indirectly,
derivatively or otherwise: (a) commencing, conducting or continuing in any manner,
directly or indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including,
without limitation, any prejudgment attachment), collecting, or in any way seeking to
recover any judgment, award, decree, or other order; (c) creating, perfecting or in any way
enforcing in any matter, directly or indirectly, any Lien or Encumbrance; and/or
(d) setting off, seeking reimbursement or contributions from, or subrogation against, or
otherwise recouping in any manner, directly or indirectly, any amount against any liability
or obligation that is discharged under Article X.E or released under Article X.J of the Plan.

               b.     Injunction Related to Exculpation

       As of the Effective Date, all holders of Claims that are the subject of Article X.K of
the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Exculpated Party on account of or based on the subject
matter of such Claims, whether directly or indirectly, derivatively or otherwise:
(a) commencing, conducting or continuing in any manner, directly or indirectly, any suit,
action or other proceeding (including any judicial, arbitral, administrative or other
proceeding) in any forum; (b) enforcing, attaching (including any prejudgment
attachment), collecting, or in any way seeking to recover any judgment, award, decree, or
other order; (c) creating, perfecting or in any way enforcing in any matter, directly or
indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under
Article X.E or released under Article X.J of the Plan.

Q.     Reservation of Rights

       Notwithstanding any other provision of the Plan to the contrary, no provision of Article X
of the Plan shall be deemed or construed to satisfy, discharge, release or enjoin claims by the
Settlement Trust, the Reorganized BSA, or any other Person, as the case may be, against (1) the
Settlement Trust for payment of Abuse Claims in accordance with the Trust Distribution
Procedures, (2) the Settlement Trust for the payment of Settlement Trust Expenses, or (3) any
Insurance Company that has not performed under an Insurance Policy or an Insurance Settlement
Agreement.




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R.     Disallowed Claims

        On and after the Effective Date, the Debtors and Reorganized BSA shall be fully and
finally discharged of any and all liability or obligation on any and all Disallowed Claims, and
any order Disallowing a Claim that is not a Final Order as of the Effective Date solely because of
a Person’s right to move for reconsideration of such order pursuant to section 502 of the
Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless become and be deemed to be a
Final Order on the Effective Date. The Confirmation Order, except as otherwise provided in the
Plan, shall constitute an order: (a) Disallowing all Claims (other than Abuse Claims) to the extent
such Claims are not allowable under any provision of Section 502 of the Bankruptcy Code,
including time-barred Claims, and Claims for unmatured interest and (b) in relation to each
Debtor, Disallowing or subordinating to all other Claims, as the case may be, any Claims (other
than Abuse Claims) for penalties, punitive damages or any other damages not constituting
compensatory damages.

S.     Indemnities

       1.      Prepetition Indemnification and Reimbursement Obligations

        The respective obligations of the Debtors to indemnify and reimburse Persons who are or
were directors, officers or employees of the Debtors on the Petition Date or at any time thereafter
up to and including the Effective Date, against and for any obligations pursuant to the bylaws,
applicable state or non-bankruptcy law, or specific agreement or any combination of the
foregoing, shall, except with respect to any Perpetrator: (a) survive Confirmation of the Plan and
remain unaffected thereby; (b) be assumed by Reorganized BSA as of the Effective Date; and (c)
not be discharged under section 1141 of the Bankruptcy Code, irrespective of whether
indemnification or reimbursement is owed in connection with any event occurring before, on or
after the Petition Date. In furtherance of, and to implement the foregoing, as of the Effective
Date, Reorganized BSA shall obtain and maintain in full force insurance for the benefit of each
and all of the above-indemnified directors, officers and employees, at levels no less favorable
than those existing as of the date of entry of the Confirmation Order, and for a period of no less
than three (3) years following the Effective Date.

       2.      Plan Indemnity

        In addition to the matters set forth above and not by way of limitation thereof,
Reorganized BSA shall indemnify and hold harmless all Persons who are or were officers or
directors of the Debtors on the Petition Date or at any time thereafter up to and including the
Effective Date on account of and with respect to any claim, cause of action, liability, judgment,
settlement, cost or expense (including attorneys’ fees) on account of claims or Causes of Action
threatened or asserted by any third party against such officers or directors that seek contribution,
indemnity, equitable indemnity, or any similar claim, based upon or as the result of the assertion
of primary claims against such third party by any representative of the Debtors’ Estates.

       3.      Limitation on Indemnification

       Notwithstanding anything to the contrary set forth in the Plan or elsewhere, neither the
Debtors, Reorganized BSA, the Local Councils, nor the Contributing Chartered Organizations,

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as applicable, shall be obligated to indemnify or hold harmless any Person for any claim, cause
of action, liability, judgment, settlement, cost or expense that results primarily from (i) such
Person’s bad faith, gross negligence or willful misconduct or (ii) an Abuse Claim.

T.     The Official Committees and the Future Claimants’ Representative

       The Official Committees and the Future Claimants’ Representative shall continue in
existence until the Effective Date. The Debtors shall pay the reasonable fees and actual and
necessary expenses incurred by the Official Committees and the Future Claimants’
Representative up to the Effective Date, in accordance with the Compensation Procedures Order,
the Fee Examiner Order, and the terms of the Plan, including Article II of the Plan. The
members of the Official Committees and the Future Claimants’ Representative shall be released
and discharged from all further authority, duties, responsibilities, liabilities, and obligations
involving the Chapter 11 Cases. Upon the closing of the Chapter 11 Cases, the Official
Committees shall be dissolved. Neither the Debtors nor Reorganized BSA have any obligation
to pay fees or expenses of any Professional retained by the Official Committees or the Future
Claimants’ Representative that are earned or incurred before the Effective Date to the extent such
fees or expenses (or any portion thereof) qualify as Settlement Trust Expenses, in which case
such fees and expenses (or the applicable portion thereof) shall be paid by the Settlement Trust in
accordance with the Settlement Trust Documents.

U.     Retention of Jurisdiction

        Until the Chapter 11 Cases are closed, the Bankruptcy Court shall retain the fullest and
most extensive jurisdiction that is permissible, including the jurisdiction necessary to ensure that
the purposes and intent of the Plan are carried out. Except as otherwise provided in the Plan or
the Settlement Trust Agreement, the Bankruptcy Court shall retain jurisdiction to hear and
determine all Claims against and Interests in the Debtors, and to adjudicate and enforce the
Insurance Actions, the Settlement Trust Causes of Action, and all other Causes of Action which
may exist on behalf of the Debtors. Nothing contained herein shall prevent Reorganized BSA or
the Settlement Trust, as applicable, from taking such action as may be necessary in the
enforcement of any Estate Cause of Action, Insurance Action, Settlement Trust Cause of Action,
or other Cause of Action which the Debtors have or may have and which may not have been
enforced or prosecuted by the Debtors, which actions or other Causes of Action shall survive
Confirmation of the Plan and shall not be affected thereby except as specifically provided herein.
Nothing contained herein concerning the retention of jurisdiction by the Bankruptcy Court shall
be deemed to be a finding or conclusion that (1) the Bankruptcy Court in fact has jurisdiction
with respect to any Insurance Action, (2) any such jurisdiction is exclusive with respect to any
Insurance Action, or (3) abstention or dismissal of any Insurance Action pending in the
Bankruptcy Court or the District Court as an adversary proceeding is or is not advisable or
warranted, so that another court can hear and determine such Insurance Action(s). Any court
other than the Bankruptcy Court that has jurisdiction over an Insurance Action shall have the
right to exercise such jurisdiction.




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       1.      General Retention

         Following Confirmation of the Plan, the administration of the Chapter 11 Cases will
continue until the Chapter 11 Cases are closed by a Final Order of the Bankruptcy Court. The
Bankruptcy Court shall also retain jurisdiction for the purpose of classification of any Claims and
the re-examination of Claims which have been Allowed for purposes of voting, and the
determination of such objections as may be filed with the Bankruptcy Court with respect to any
Claims. The failure by the Debtors or Reorganized BSA to object to, or examine, any Claim for
the purposes of voting, shall not be deemed a waiver of the rights of the Debtors, Reorganized
BSA, or the Settlement Trust, as the case may be, to object to or reexamine such Claim in whole
or part.

       2.      Specific Purposes

        In addition to the foregoing, the Bankruptcy Court shall retain jurisdiction, as enumerated
in Article XI.C of the Plan, over all matters arising out of, or relating to, the Chapter 11 Cases
and the Plan, including jurisdiction to:

               (a)    modify the Plan after Confirmation pursuant to the provisions of the
                      Bankruptcy Code and the Bankruptcy Rules;

               (b)    correct any defect, cure any omission, reconcile any inconsistency or make
                      any other necessary changes or modifications in or to the Plan, the Trust
                      Documents or the Confirmation Order as may be necessary to carry out
                      the purposes and intent of the Plan, including the adjustment of the date(s)
                      of performance in the Plan in the event the Effective Date does not occur
                      as provided herein so that the intended effect of the Plan may be
                      substantially realized thereby;

               (c)    assure performance by the Settlement Trust and the Disbursing Agent of
                      their respective obligations to make distributions under the Plan;

               (d)    enforce and interpret the terms and conditions of the Plan, the Plan
                      Documents and the Settlement Trust Documents;

               (e)    enter such orders or judgments, including injunctions (a) as are necessary
                      to enforce the title, rights and powers of Reorganized BSA, and the
                      Settlement Trust, and (b) as are necessary to enable holders of Claims to
                      pursue their rights against any Person that may be liable therefor pursuant
                      to applicable law or otherwise;

               (f)    hear and determine any and all motions, adversary proceedings, contested
                      or litigated matters, and any other matters and grant or deny any
                      applications involving the Debtors that may be pending on the Effective
                      Date (which jurisdiction shall be non-exclusive as to any such non-core
                      matters);




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   (g)   hear and determine any motions or contested matters involving taxes, tax
         refunds, tax attributes, tax benefits and similar or related matters,
         including without limitation contested matters arising on account of
         transactions contemplated by the Plan, or relating to the period of
         administration of the Chapter 11 Cases;

   (h)   hear and determine all applications for compensation of Professionals and
         reimbursement of expenses under sections 328, 330, 331, or 503(b) of the
         Bankruptcy Code;

   (i)   hear and determine any Causes of Action arising during the period from
         the Petition Date to the Effective Date, or in any way related to the Plan or
         the transactions contemplated hereby, against the Debtors, Reorganized
         BSA, the Settlement Trust, and their respective Representatives;

   (j)   determine any and all motions for the rejection, assumption or assignment
         of Executory Contracts or Unexpired Leases and the Allowance of any
         Claims resulting therefrom;

   (k)   determine such other matters and for such other purposes as may be
         provided in the Confirmation Order;

   (l)   determine the Allowance and/or Disallowance of any Claims, including
         Administrative Expense Claims, against or Interests in the Debtors or their
         Estates, including any objections to any such Claims or Interests, and the
         compromise and settlement of any Claim, including Administrative
         Expense Claims, against or Interest in the Debtors or their Estates;

   (m)   hear and resolve disputes concerning any reserves under the Plan or the
         administration thereof;

   (n)   determine all questions and disputes regarding title to the assets of the
         Debtors or their Estates, or the Settlement Trust;

   (o)   enter and implement such orders as are necessary or appropriate if the
         Confirmation Order is for any reason or in any respect modified, stayed,
         reversed, revoked or vacated, or if distributions pursuant to the Plan or
         under the Settlement Trust Documents are enjoined or stayed;

   (p)   determine all questions and disputes regarding, and to enforce, the Abuse
         Claims Settlement;

   (q)   hear and determine the Insurance Actions, any Settlement Trust Cause of
         Action and any similar claims, Causes of Action or rights of the
         Settlement Trust to construe and take any action to enforce any Insurance
         Policy, and to issue such orders as may be necessary for the execution,
         consummation and implementation of any Insurance Policy, and to
         determine all questions and issues arising thereunder; provided, that such

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                       retention of jurisdiction shall not constitute a waiver of any right of a Non-
                       Settling Insurance Company to seek to remove or withdraw the reference
                       of any Insurance Action filed after the Effective Date;

               (r)     hear and determine any other matters related hereto, including the
                       implementation and enforcement of all orders entered by the Bankruptcy
                       Court in the Chapter 11 Cases;

               (s)     resolve any disputes concerning whether a Person had sufficient notice of
                       the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted
                       in connection with the Chapter 11 Cases, the Bar Date established in the
                       Chapter 11 Cases, or any deadline for responding or objecting to a Cure
                       Amount, in each case, for the purpose of determining whether a Claim or
                       Interest is discharged hereunder or for any other purpose;

               (t)     enter in aid of implementation of the Plan such orders as are necessary,
                       including, but not limited to, the implementation and enforcement of the
                       Injunctions, Releases, and Discharges described herein;

               (u)     enter a Final Order or decree concluding or closing the Chapter 11 Cases;
                       and

               (v)     enter and implement such orders as may be necessary or appropriate if any
                       aspect of the Plan, the Settlement Trust, or the Confirmation Order is, for
                       any reason or in any respect, determined by a court to be inconsistent with,
                       to violate, or insufficient to satisfy any of the terms, conditions, or other
                       duties associated with any Insurance Policies; provided, however, that
                       (a) such orders shall not impair the Insurance Coverage Defenses or the
                       rights, claims, or defenses, if any, of any Insurance Company that are set
                       forth or provided for in the Plan, the Plan Documents, the Confirmation
                       Order, or any other Final Orders entered in the Debtors’ Chapter 11 Cases,
                       (b) this provision does not, in and of itself, grant this Court jurisdiction to
                       hear and decide disputes arising out of or relating to the Insurance
                       Policies, and (c) all interested parties, including any Insurance Company,
                       reserve the right to oppose or object to any such motion or order seeking
                       such relief.

        As of the Effective Date, notwithstanding anything in Article XI of the Plan to the
contrary, the Restated Debt and Security Documents and any documents related thereto shall be
governed by the jurisdictional provisions thereof and the Bankruptcy Court shall not retain
jurisdiction with respect thereto.

       3.      Courts of Competent Jurisdiction

       To the extent that the Bankruptcy Court is not permitted under applicable law to preside
over any of the foregoing matters, the reference to the “Bankruptcy Court” in Article XI of the
Plan shall be deemed to be replaced by the “District Court.” If the Bankruptcy Court abstains
from exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any

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matter arising out of the Plan, such abstention, refusal, or failure of jurisdiction shall have no
effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by any other court
having competent jurisdiction with respect to such matter.

V.     Miscellaneous Provisions

       1.      Closing of Chapter 11 Cases

        After each Chapter 11 Case has been fully administered, Reorganized BSA shall file with
the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order
of the Bankruptcy Court to close such Chapter 11 Case.

       2.      Amendment or Modification of the Plan

               (a)     Plan Modifications. The Debtors reserve the right, in accordance with the
       Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan prior to the
       entry of the Confirmation Order, including amendments or modifications to satisfy
       section 1129(b) of the Bankruptcy Code, and after entry of the Confirmation Order, the
       Debtors may, upon order of the Bankruptcy Court, amend, modify or supplement the Plan
       in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
       permitted by law, in each case without additional disclosure pursuant to section 1125 of
       the Bankruptcy Code unless section 1127 of the Bankruptcy Code requires additional
       disclosure. In addition, after the Confirmation Date, so long as such action does not
       materially and adversely affect the treatment of holders of Allowed Claims pursuant to
       the Plan, the Debtors may remedy any defect or omission or reconcile any inconsistencies
       in the Plan or the Confirmation Order with respect to such matters as may be necessary to
       carry out the purposes or effects of the Plan, and any holder of a Claim that has accepted
       the Plan shall be deemed to have accepted the Plan as amended, modified, or
       supplemented. All amendments to the Plan must be reasonably acceptable to the
       Creditors’ Committee.
              (b)     Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents
       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.
       3.      Revocation or Withdrawal of the Plan

        The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective Date.
If the Plan has been revoked or withdrawn prior to the Effective Date, or if Confirmation of the
Plan or the occurrence of the Effective Date does not occur, then: (1) the Plan shall be null and
void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing
or limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption of
executory contracts or unexpired leases affected by the Plan, and any document or agreement
executed pursuant to the Plan, including the Settlement Trust Documents, shall be deemed null
and void; and (3) nothing contained in the Plan shall (i) constitute a waiver or release of any
Claim against, or any Interest in, the Debtors or any other Person; (ii) prejudice in any manner



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the rights of the Debtors or any other Person; or (iii) constitute an admission of any sort by the
Debtors or any other Person.

       4.      Request for Expedited Determination of Taxes

        The Debtors and Reorganized BSA, as applicable, shall have the right to request an
expedited determination under section 505(b) of the Bankruptcy Code with respect to tax returns
filed, or to be filed, for any and all taxable periods ending after the Petition Date to and including
the Effective Date.

       5.      Non-Severability of Plan Provisions

         If, before the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors, shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms, (2) integral to
the Plan and may not be deleted or modified without the consent of the Debtors or Reorganized
BSA (as the case may be), and (3) nonseverable and mutually dependent.

       6.      Notices

        All notices, requests, and demands to or upon the Debtors or Reorganized BSA to be
effective shall be in writing (including by email transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered,
addressed as follows:

                      Boy Scouts of America
                      1325 W. Walnut Hill Lane
                      Irving, Texas 75015
                      Attn: Steven McGowan, General Counsel
                      Email: Steve.McGowan@scouting.org

                      with copies to:

                      White & Case LLP
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Attn: Jessica C. Lauria
                      Email: jessica.lauria@whitecase.com



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                     – and –

                     White & Case LLP
                     111 South Wacker Drive, Suite 5100
                     Chicago, Illinois 60606
                     Attn: Michael C. Andolina
                     Matthew E. Linder
                     Email: mandolina@whitecase.com
                            mlinder@whitecase.com

                     – and –

                     Morris, Nichols, Arsht & Tunnell LLP
                     1201 North Market Street, 16th Floor
                     P.O. Box 1347
                     Wilmington, Delaware 19899-1347
                     Attn: Derek C. Abbott
                     Email: dabbott@morrisnichols.com

       7.      Notices to Other Persons

        After the occurrence of the Effective Date, Reorganized BSA has authority to send a
notice to any Person providing that to continue to receive documents pursuant to Bankruptcy
Rule 2002, such Person must file a renewed request to receive documents pursuant to
Bankruptcy Rule 2002; provided, however, that the U.S. Trustee need not file such a renewed
request and shall continue to receive documents without any further action being necessary.
After the occurrence of the Effective Date, Reorganized BSA is authorized to limit the list of
Persons receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those
Persons that have filed such renewed requests.

       8.      Governing Law

       Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or any other Plan Document
provides otherwise, the rights, duties, and obligations arising under the Plan shall be governed
by, and construed and enforced in accordance with, the laws of the State of Delaware, without
giving effect to the principles of conflict of laws thereof; provided, however, that governance
matters relating to Reorganized BSA shall be governed by the laws of the District of Columbia.

       9.      Immediate Binding Effect

       Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan (including the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of any
Person named or referred to in the Plan and the successors and assigns of such Person.




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       10.      Timing of Distributions or Actions

       In the event that any payment, Distribution, act or deadline under the Plan is required to
be made or performed or occurs on a day that is not a Business Day, then such payment,
Distribution, act or deadline shall be deemed to occur on the next succeeding Business Day, but
if so made, performed or completed by such next succeeding Business Day, shall be deemed to
have been completed or to have occurred as of the required date.

       11.      Deemed Acts

       Whenever an act or event is expressed under the Plan to have been deemed done or to
have occurred, it shall be deemed to have been done or to have occurred by virtue of the Plan or
the Confirmation Order without any further act by any Person.

       12.      Entire Agreement

        The Plan Documents set forth the entire agreement and undertakings relating to the
subject matter thereof and supersede all prior discussions, negotiations, understandings and
documents. No Person shall be bound by any terms, conditions, definitions, warranties,
understandings, or representations with respect to the subject matter hereof, other than as
expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed to
by the affected parties in writing.

       13.      Plan Supplement

        Any and all exhibits, lists, or schedules referred to herein but not filed with the Plan shall
be contained in the Plan Supplement to be filed with the Clerk of the Bankruptcy Court prior to
the Confirmation Hearing on the Plan, and such Plan Supplement is incorporated into and is part
of the Plan as if set forth in full herein. The Plan Supplement will be available for inspection in
the office of the Clerk of the Bankruptcy Court during normal court hours, at the website
maintained by the Notice and Claims Agent (https://omniagentsolutions.com/BSA), and at the
Bankruptcy Court’s website (ecf.deb.uscourts.gov).

       14.      Withholding of Taxes

        The Disbursing Agent, the Settlement Trust or any other applicable withholding agent, as
applicable, shall withhold from any assets or property distributed under the Plan any assets or
property which must be withheld for foreign, federal, state and local taxes payable with respect
thereto or payable by the Person entitled to such assets to the extent required by applicable law.

       15.      Payment of Quarterly Fees

        All Quarterly Fees, as determined by the Bankruptcy Court at the Confirmation Hearing,
shall be paid on or before the Effective Date. The Reorganized Debtors shall pay all such fees
that arise after the Effective Date, but before the closing of the Chapter 11 Cases, and shall
comply with all applicable statutory reporting requirements.




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          16.       Duty to Cooperate

        Nothing in the Plan, the other Plan Documents or the Confirmation Order shall relieve
(by way of injunction or otherwise) any Person that is or claims to be entitled to indemnity under
an Insurance Policy from any duty to cooperate that may be required by any such Insurance
Policy or under applicable law with respect to the defense and/or settlement of any Claim for
which coverage is sought under such Insurance Policy. To the extent that any Person incurs
costs in satisfying such duty to cooperate with respect to Abuse Claims, the Settlement Trust
shall reimburse Person for all such reasonable out-of-pocket expenses.

          17.       Effective Date Actions Simultaneous

       Unless the Plan or the Confirmation Order provides otherwise, actions required to be
taken on the Effective Date shall take place and be deemed to have occurred simultaneously, and
no such action shall be deemed to have occurred prior to the taking of any other such action.

          18.       Consent to Jurisdiction

        Upon default under the Plan, Reorganized BSA, the Settlement Trust, the Settlement
Trustee, the Official Committees, the Future Claimants’ Representative, and the Protected
Parties, or any successor thereto, respectively, consent to the jurisdiction of the Bankruptcy
Court, and agree that it shall be the preferred forum for all proceedings relating to any such
default.

     ARTICLE VII. SOLICITATION PROCEDURES AND REQUIREMENTS

        Before voting to accept or reject the Plan, each holder of a Claim entitled to vote should
carefully review the Plan. All descriptions of the Plan set forth in this Disclosure Statement are
subject to the terms and provisions of the Plan.

A.        Voting Summary and Deadline43

        The Bankruptcy Court entered an order in these Chapter 11 Cases [D.I. [●]] (the
“Solicitation Procedures Order”) that, among other things, approved certain procedures
governing the solicitation of votes to accept or reject the Plan from holders of Claims against the
Debtors, including setting the deadline for voting, specifying which holders of Claims are
eligible to receive Ballots to vote on the Plan, and establishing other voting and tabulation
procedures (the “Solicitation Procedures”).

     THE SOLICITATION PROCEDURES ORDER IS HEREBY INCORPORATED
BY REFERENCE AS THOUGH FULLY SET FORTH HEREIN. YOU SHOULD READ
THE SOLICITATION PROCEDURES ORDER, THE SOLICITATION PROCEDURES
ATTACHED TO THE SOLICITATION PROCEDURES ORDER AS EXHIBIT 1 (THE
“SOLICITATION PROCEDURES”), THE CONFIRMATION HEARING NOTICE, AND
THE INSTRUCTIONS ATTACHED TO YOUR BALLOT IN CONNECTION WITH

43   Capitalized terms used in this Article VII and not otherwise defined herein or in the Plan shall have the meanings ascribed to
     such terms in the Solicitation Procedures Motion, Solicitation Procedures Order, or Solicitation Procedures, as applicable.


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THIS SECTION, AS THEY SET FORTH IN DETAIL PROCEDURES GOVERNING
VOTING DEADLINES AND OBJECTION DEADLINES.

        The Plan, though proposed jointly and consolidated for purposes of making distributions
to holders of Claims under the Plan, constitutes a separate Plan proposed by each Debtor.
Therefore, the classifications set forth in the Plan apply separately with respect to each Plan
proposed by, and the Claims against and Interests in, each Debtor. Your vote will count as votes
for or against, as applicable, each Plan proposed by each Debtor.

The Voting          The Debtors are soliciting votes to accept or reject the Plan from the holders
Classes             of Claims in Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9.
Voting Record       The Voting Record Date is April 15, 2021. Only holders in the Voting
Date:               Classes as of this date will be entitled to vote to accept or reject the Plan.
                    The Debtors reserve the right to set a later Voting Record Date if the
                    Debtors decide to extend the Voting Deadline.
Voting Deadline;    The Voting Deadline is June 28, 2021 at 4:00 p.m. (Eastern Time), unless
Extension:          the Debtors in their sole discretion extend the date by which Ballots will be
                    accepted. If the Voting Deadline is extended, the term “Voting Deadline”
                    will mean the time and date that is designated. Any extension of the Voting
                    Deadline will be followed as promptly as practicable by notice of the
                    extension.
Solicitation        If you are a holder of a Claim in the Voting Classes, you should deliver a
Procedures:         properly completed Ballot to the Solicitation Agent. Ballots must be
                    received by the Solicitation Agent on or before the Voting Deadline. To be
                    counted as a vote to accept or reject the Plan, each Ballot must be properly
                    executed, completed, and delivered by (1) the electronic Ballot submission
                    platform on the Solicitation Agent’s website (the “E-Ballot Platform”), (2)
                    mail, (3) overnight delivery, or (4) personal delivery, so that it is actually
                    received, in each case, by the Solicitation Agent no later than the Voting
                    Deadline. Specifically, each Ballot must be returned through the E-Ballot
                    Platform by June 28, 2021 at 4:00 p.m. (Eastern Time), by mail using the
                    envelope included in the Solicitation Package, as applicable, or by overnight
                    or personal delivery to the following address: Boy Scouts of America Ballot
                    Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100,
                    Woodland Hills, CA 91367.
Revocation or       After the Voting Deadline, no Ballot may be withdrawn or modified without
Withdrawal of       the prior written consent of the Debtors; provided, that prior to the Voting
Ballots:            Deadline, a voter may withdraw a valid Ballot by delivering a written notice
                    of withdrawal to the Solicitation Agent. The withdrawal must be signed by
                    the party who signed the Ballot, and the Debtors reserve the right to contest
                    any withdrawals.
Solicitation        The Debtors have retained Omni Agent Solutions as the Solicitation Agent
Agent:              in connection with the solicitation of votes on the Plan. Deliveries of
                    Ballots should be directed to Omni Agent Solutions as set forth herein or


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                     pursuant to the instructions contained in the Ballots.


        The following instructions for voting to accept or reject the Plan, together with the
instructions contained in the Ballot, constitute the voting instructions. Only holders of Claims in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9 (the “Voting Classes”) as of the Voting Record Date are
entitled to vote on the Plan. To vote, you, or in the case of certain holders of Direct Abuse
Claims, your attorney, must fill out and sign the Ballot enclosed in the Solicitation Package (as
defined below).

B.     Solicitation Procedures

       1.      Vote Required for Acceptance by a Class of Claims

        Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims
or interests is determined by calculating the amount and, if a class of claims, the number, of
claims and interests voting to accept, as a percentage of the allowed claims or interests, as
applicable, that have voted. Acceptance by a class of claims requires an affirmative vote of more
than one-half in number of total allowed claims in such class that have voted and an affirmative
vote of at least two-thirds in dollar amount of the total allowed claims in such class that have
voted.

       2.      Solicitation Package

       The package of materials (the “Solicitation Package”) sent to the Voting Classes
contains:

               (a)    a cover letter describing the contents of the Solicitation Package and
                      instructions to obtain access, free of charge, to the Plan, the Disclosure
                      Statement,     and     the     Solicitation    Procedures     Order    via
                      https://omniagentsolutions.com/bsa-SAballots                            or
                      https://omniagentsolutions.com/bsa-ballots, and urging holders of Claims
                      in the Voting Classes to vote to accept the Plan;

               (b)    the Notice of Hearing to Consider Confirmation of Amended Chapter 11
                      Plan of Reorganization for Boy Scouts of America and Delaware BSA,
                      LLC, substantially in the form annexed to the Solicitation Procedures
                      Order as Exhibit 3 (the “Confirmation Hearing Notice”);

               (c)    the Disclosure Statement with all exhibits, including the Plan and all
                      exhibits (to the extent such exhibits are filed with the Bankruptcy Court
                      before the Solicitation Date) via https://omniagentsolutions.com/bsa-
                      SAballots or https://omniagentsolutions.com/bsa-ballots;
               (d)    the Solicitation Procedures Order, including the Solicitation Procedures
                      and all exhibits, via https://omniagentsolutions.com/bsa-SAballots or
                      https://omniagentsolutions.com/bsa-ballots;


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               (e)     an appropriate form of Ballot with return instructions and a return
                       envelope, as applicable;
               (f)     if a party becomes a co-proponent of the Plan on or before the Solicitation
                       Date, solely for holders of Direct Abuse Claims, a letter from such
                       applicable proponents recommending that holders of Direct Abuse Claims
                       vote to accept the Plan, in the Debtors’ discretion; and
               (g)     any other materials ordered by the Bankruptcy Court to be included as part
                       of the Solicitation Package.
        The Debtors have distributed the Solicitation Packages to holders of Claims in the Voting
Classes as of the Solicitation Date. In addition, the Plan, this Disclosure Statement, the
Solicitation Procedures Order, and, once they are filed, all exhibits to the three documents
(including the Plan Supplement) will be made available online at no charge at the website
maintained       by     the      Solicitation     Agent,     Omni       Agent      Solutions,     at
https://omniagentsolutions.com/bsa-SAballots or https://omniagentsolutions.com/bsa-ballots, and
all other contents of the Solicitation Package, including Ballots, shall be provided in paper
format, except as specifically provided in Section IV of the Solicitation Procedures with respect
to certain holders of Direct Abuse Claims. In addition, the Debtors will provide parties in
interest (at no charge) with a flash drive or paper format of the Plan and/or Disclosure Statement,
as well as any exhibits thereto, upon request to the Noticing and Claims Agent by (1) calling the
Debtors’ toll-free restructuring hotline at (866) 907-2721; (2) visiting the Debtors’ restructuring
website at https://omniagentsolutions.com/bsa; (3) writing to Boy Scouts of America Ballot
Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA
91367; or (4) emailing BSAballots@omniagnt.com.
        If you are a holder of a Claim or represent a holder of an Abuse Claim who is entitled to
vote on the Plan and you or your attorney did not receive a Ballot, received a damaged Ballot, or
lost your Ballot, please contact the Solicitation Agent by (1) emailing
BSAballots@omniagnt.com, (2) calling the Debtors’ toll-free restructuring hotline at (866) 907-
2721, or (3) writing to Boy Scouts of America, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367. Moreover, any holder of a Direct Abuse Claim
that receives the Solicitation Package materials via email but prefers to receive such materials by
mail instead may contact the Solicitation Agent to receive a mailed copy instead at no cost to
such holder.
        The Solicitation Procedures set forth a process by which known attorneys representing
holders of Abuse Claims (collectively, the “Firms”), received copies of the Abuse Claim
Solicitation Notice, an Abuse Survivor Plan Solicitation Directive, and Client List. The Abuse
Claim Solicitation Notice notified the Firms of the two options proposed for soliciting votes on
the Plan in respect of Abuse Claims other than Indirect Abuse Claims, and each Firm is required
to return a completed Abuse Survivor Plan Solicitation Directive so that it was actually received
by the Solicitation Agent no later than the Abuse Survivor Plan Solicitation Directive Deadline
(March 31, 2021).
        Pursuant to the Abuse Survivor Plan Solicitation Directive, each Firm directed the
Solicitation Agent to solicit votes on the Plan from its clients who hold Direct Abuse Claims
(collectively, the “Abuse Survivor Clients”) according to one of the following methods:

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          a.        Master Ballot Solicitation Method. A Firm may direct the Solicitation Agent to
                    serve the Firm with one Solicitation Package and one Master Ballot on which to
                    record the votes of all of its Abuse Survivor Clients to accept or reject the Plan
                    (the “Master Ballot Solicitation Method”) if the Firm certifies, on or before the
                    Abuse Survivor Solicitation Directive Deadline, that (a) the Firm shall collect and
                    record the votes of its Abuse Survivor Clients through customary and accepted
                    practices, or that it has obtained authority to cast each of its Abuse Survivor
                    Clients’ votes to accept or reject the Plan (subject in each case to the requirements
                    that the Firm comply with the Voting Procedures and that each Abuse Survivor
                    Client shall have indicated to the Firm his or her informed decision on such vote)
                    or (b) the Firm has the authority under applicable law to vote to accept or reject
                    the Plan on behalf of its Abuse Survivor Clients (a valid power of attorney may be
                    requested by the Debtors, in their discretion). If it is the Firm’s customary and
                    accepted practice to collect and record authorizations or instructions from its
                    Abuse Survivor Clients by email, telephone, or other standard communication
                    methods, the Firm shall be authorized to follow such customary practices to
                    collect and record the votes of its Abuse Survivor Clients. Each Firm that selects
                    the Master Ballot Solicitation Method shall provide the Disclosure Statement, in
                    hard copy, flash drive, or electronic format, to its Abuse Survivor Clients. Any
                    Firm that elects the Master Ballot Solicitation Method must return the Master
                    Ballot to the Solicitation Agent so that it is received by the Voting Deadline.

b.                  Direct Solicitation Method. A Firm may direct the Solicitation Agent to solicit
                    votes on the Plan directly from each of the Firm’s Abuse Survivor Clients by
                    distributing a Solicitation Package (including a Ballot) directly to each of the
                    Firm’s Abuse Survivor Clients via email addressed to the email address specified
                    on the Firm’s Client List or, where no email address is specified for an Abuse
                    Survivor Client, via U.S. mail at the street address specified on the Firm’s Client
                    List (the “Direct Solicitation Method”).44 Under the Direct Solicitation Method,
                    each Abuse Survivor Client must return his or her completed Ballot to the
                    Solicitation Agent so that it is received by the Voting Deadline. For the
                    avoidance of doubt, the Debtors are soliciting votes to accept or reject the
                    Plan from each holder of a Direct Abuse Claim who cannot be matched to a
                    Firm or who is not included in any Client List to be solicited via the Direct
                    Solicitation Method.

        If a Firm fails to timely return an Abuse Survivor Plan Solicitation Directive to the
Solicitation Agent by the Abuse Survivor Plan Solicitation Directive Deadline, or otherwise
failed to select a solicitation method, the Firm shall be deemed to have directed the Solicitation
Agent to solicit votes to accept or reject the Plan from the Firm’s Abuse Survivor Clients
according to the Master Ballot Solicitation Method. A Firm may submit a Ballot on behalf of an
Abuse Survivor Client, but only to the extent such Firm has the requisite authority to do so under

44   For the avoidance of doubt, the Debtors shall only cause a Solicitation Package (including a Ballot) to be emailed to holders
     of Direct Abuse Claims who specifically indicated on their filed Sexual Abuse Survivor Proofs of Claim that the Debtors are
     authorized to communicate with these holders regarding their claims via email. Each holder of a Direct Abuse Claim who
     did not specifically authorize email communications on his or her Sexual Abuse Survivor Proof of Claim shall only be
     served a Solicitation Package by U.S. mail.


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applicable law and completes a certification of such authority in the manner set forth herein and
on the Ballot that corresponds to such Abuse Claim (a valid power of attorney may be requested
by the Debtors, in their discretion). Each Firm voting on behalf of more than one Abuse
Survivor Client must complete a Master Ballot, which shall set forth all of the votes cast by such
Firm on behalf of all such clients.

       3.      Solicitation Procedures, Ballots, and Voting Deadline

        If you are entitled to vote to accept or reject the Plan, one or more Ballot(s) has been
enclosed in your Solicitation Package for the purpose of voting on the Plan. Please vote and
return your Ballot(s) in accordance with the instructions accompanying your Ballot(s).

        You should carefully review (1) the Plan, (2) this Disclosure Statement, (3) the
Solicitation Procedures Order, (4) the Confirmation Hearing Notice, and (5) the detailed
instructions accompanying your Ballot prior to voting on the Plan.

        After carefully reviewing these materials, including the detailed instructions
accompanying your Ballot(s), please indicate your acceptance or rejection of the Plan by
completing the Ballot(s). All votes to accept or reject the Plan with respect to any Class of
Claims entitled to vote on the Plan must be cast by properly submitting the duly completed and
executed form of Ballot designated for such Class. Holders of Claims or their Firms (as
applicable) voting on the Plan should complete and sign the Ballot(s) in accordance with the
instructions thereon, being sure to check the appropriate box entitled “Accept (vote in favor of)
the Plan” or “Reject (vote against) the Plan.” In addition, if any holder of a Claim who does not
vote to accept the Plan elects not to grant the releases contained in Article X.J.4 of the Plan, then
it should check the appropriate box on its Ballot and follow the instructions contained in the
Ballot. In order for your vote to be counted, you must complete and return your Ballot(s) in
accordance with the instructions accompanying your Ballot(s) on or before the Voting Deadline.
Each Ballot has been coded to reflect the Class of Claims it represents. Accordingly, in voting to
accept or reject the Plan, you must use only the coded Ballot or Ballots sent to you.

        In order for the holder of a Claim in the Voting Class to have such holder’s Ballot
counted as a vote to accept or reject the Plan, such holder’s Ballot must be properly
completed, executed, and delivered by (1) the electronic Ballot submission platform on the
Solicitation Agent’s website (the “E-Ballot Platform”), (2) mail, (3) overnight delivery, or
(4) personal delivery, so that such holder’s Ballot is actually received by the Solicitation
Agent on or before the Voting Deadline, i.e. June 28, 2021 at 4:00 p.m. prevailing Eastern
Time.

        Specifically, each Ballot must be returned through the E-Ballot Platform at (a)
https://omniagentsolutions.com/bsa-SAballots for Direct and Indirect Abuse Claim Ballots
and Master Ballots or (b) https://omniagentsolutions.com/bsa-ballots for all other Ballots,
by mail using the envelope included in the Solicitation Package, as applicable, or by
overnight or personal delivery to the following address:




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                          Boy Scouts of America Ballot Processing
                                 c/o Omni Agent Solutions
                              5955 De Soto Avenue, Suite 100
                                Woodland Hills, CA 91367

     IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, IT WILL NOT
BE COUNTED UNLESS THE DEBTORS DETERMINE OTHERWISE.

     ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A
CLAIM IN THE VOTING CLASSES BUT THAT DOES NOT CLEARLY INDICATE
AN ACCEPTANCE OR REJECTION OF THE PLAN, OR ANY BALLOT THAT
INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN, WILL
NOT BE COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

     EACH HOLDER OF A CLAIM IN THE VOTING CLASSES MUST VOTE ALL
OF ITS CLAIMS WITHIN SUCH CLASS EITHER TO ACCEPT OR REJECT THE
PLAN AND MAY NOT SPLIT SUCH VOTES. BY SIGNING AND RETURNING A
BALLOT, EACH HOLDER OF A CLAIM IN THE VOTING CLASSES WILL CERTIFY
TO THE BANKRUPTCY COURT AND THE DEBTOR THAT NO OTHER BALLOTS
WITH RESPECT TO SUCH CLAIM HAVE BEEN CAST OR, IF ANY OTHER
BALLOTS HAVE BEEN CAST WITH RESPECT TO SUCH CLASS OF CLAIMS,
SUCH OTHER BALLOTS INDICATED THE SAME VOTE TO ACCEPT OR REJECT
THE PLAN. IF A HOLDER CASTS MULTIPLE BALLOTS WITH RESPECT TO THE
VOTING CLASSES AND THOSE BALLOTS ARE IN CONFLICT WITH EACH
OTHER, SUCH BALLOTS WILL NOT BE COUNTED FOR PURPOSES OF
ACCEPTING OR REJECTING THE PLAN.

     IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING
CLASSES FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH
HOLDER’S BALLOT AND THE ACCOMPANYING INSTRUCTIONS.

       4.      Confirmation Hearing and Deadline for Objections to Confirmation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, shall
hold a hearing to confirm a plan of reorganization. The Confirmation Hearing pursuant to
section 1128 of the Bankruptcy Code will be held on July 26, 2021 at 10:00 a.m. prevailing
Eastern Time, before the Honorable Laurie Selber Silverstein, United States Bankruptcy Judge,
at the Bankruptcy Court, located at 824 North Market Street, Sixth Floor, Courtroom No. 2,
Wilmington, Delaware 19801. The Confirmation Hearing may be continued from time to time
without further notice other than an adjournment announced in open court or a notice of
adjournment filed with the Bankruptcy Court and served on those parties who have requested
notice under Bankruptcy Rule 2002 and the Entities who have filed an objection to the Plan, if
any, without further notice to parties in interest. The Bankruptcy Court, in its discretion and
prior to the Confirmation Hearing, may put in place additional procedures governing the
Confirmation Hearing. Subject to section 1127 of the Bankruptcy Code, the Plan may be
modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to parties in interest.


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        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objections or responses to Confirmation of the Plan, must:
(a) be in writing; (b) state the name and address of the objecting party and the nature and amount
of the Claim of such party; (c) state with particularity the legal and factual basis and nature of
any objection to the Plan and include any evidentiary support therefor; and (d) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together
with proof of service on or before the Plan Objection Deadline (June 28, 2021 at 4:00 p.m.
(Eastern Time)), and served so as to be actually received by the notice parties set forth in the
Confirmation Hearing Notice before the Plan Objection Deadline, which service may be through
the CM/ECF system, with courtesy copies by email.

C.     Classes Entitled to Vote on the Plan

        Under the Bankruptcy Code, holders of Claims and Interests are not entitled to vote if
their contractual rights are unimpaired by the proposed plan or if they will receive no property
under the plan. Holders of Claims in Classes 1 and 2 are Unimpaired under the Plan and are,
therefore, conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Holders of Interests in Class 10 shall not receive or retain property on
account of such interests and are, therefore, deemed to reject the Plan pursuant to section 1126(g)
of the Bankruptcy Code. Accordingly, no holders of Claims or Interests in such Classes shall be
entitled to vote to accept or reject the Plan.

       Each of Classes Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF Claims),
Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience Claims),
Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8 (Direct
Abuse Claims), and Class 9 (Indirect Abuse Claims) are Impaired and the holders of Claims in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8 and 9 are entitled to vote to accept or reject the Plan.

        If your Claim or Interest is not included in the Voting Classes, you are not entitled to vote
and you will not receive a Solicitation Package, including a Ballot setting forth detailed voting
instructions. If your Claim is included in the Voting Classes, you should read your Ballot and
carefully follow the instructions included in the Ballot. Please use only the Ballot or Master
Ballot that accompanies this Disclosure Statement or the Ballot that the Debtors otherwise
provided to you.

       1.      Holders of Claims Entitled to Vote

        Under section 1124 of the Bankruptcy Code, a class of claims or equity interests is
deemed to be “impaired” under a plan unless (1) the plan leaves unaltered the legal, equitable,
and contractual rights to which such claim or equity interest entitles the holder thereof or
(2) notwithstanding any legal right to an accelerated payment of such claim or equity interest, the
plan (a) cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy or defaults of a kind that do not require cure), (b) reinstates the maturity of such
claim or equity interest as it existed before the default, (c) compensates the holder of such claim
or equity interest for any damages from such holder’s reasonable reliance on such legal right to
an accelerated payment, (d) if such claim or such interest arises from a failure to perform
nonmonetary obligations, other than a default arising from a failure to operate a nonresidential


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real property lease, compensates the holder of such claim or such interest (other than the debtor
or an insider) for any actual pecuniary loss incurred by such holder as a result of such failure and
(e) does not otherwise alter the legal, equitable, or contractual rights to which such claim or
equity interest entitles the holder of such claim or equity interest.

       The following table sets forth a simplified summary of which Classes are entitled to vote
on the Plan and which are not and the voting status for each of the separate Classes of Claims
and Interests provided for in the Plan.

     Class                   Claim or Interest                          Entitled to Vote
        1         Other Priority Claims                          No—Presumed to Accept
        2         Other Secured Claims                           No—Presumed to Accept
       3A         2010 Credit Facility Claims                    Yes
       3B         2019 RCF Claims                                Yes
       4A         2010 Bond Claims                               Yes
       4B         2012 Bond Claims                               Yes
        5         Convenience Claims                             Yes
        6         General Unsecured Claims                       Yes
        7         Non-Abuse Litigation Claims                    Yes
        8         Direct Abuse Claims                            Yes
        9         Indirect Abuse Claims                          Yes
       10         Interests in Delaware BSA                      No—Deemed to Reject


        In accordance with sections 1126 and 1129 of the Bankruptcy Code, the Voting Classes
are Impaired under the Plan and, to the extent Claims in the Voting Classes are deemed Allowed
or subject to the distributions under the Trust Distribution Procedures, the holders of such Claims
will receive distributions under the Plan. As a result, the holders of Claims in each of these
Classes are entitled to vote to accept or reject the Plan.

       Holders of Claims in Classes 1 and 2 are Unimpaired under the Plan and are, therefore,
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Accordingly, no holders of Claims or Interests in such Classes shall be entitled to vote to
accept or reject the Plan.

        Accordingly, the Debtors are only soliciting votes on the Plan from holders of Claims, in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9. If your Claim or Interest is not included in the Voting
Classes, you are not entitled to vote and you will not receive a Solicitation Package or a Ballot.
If your Claim is included in the Voting Classes, you should read your Ballot and carefully follow
the instructions included in the Ballot. Please use only the Ballot that accompanies this
Disclosure Statement or the Ballot that the Debtors otherwise provided to you.


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        If you have filed a Proof of Claim that is subject to an objection, other than a “reclassify”
or “reduce and allow” objection, that is filed with the Bankruptcy Court on or before the
Solicitation Date (a “Disputed Claim”), you are not entitled to vote on the Plan. If you seek to
challenge the disallowance or estimation of your Disputed Claim for voting purposes, you must
file with the Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule 3018(a),
temporarily allowing such Claim for purposes of voting to accept or reject the Plan (a “Rule
3018(a) Motion”). As set forth in the Confirmation Hearing Notice and the Solicitation
Procedures, any Rule 3018(a) Motion shall be filed with the Bankruptcy Court and served
on the Debtors on or before [May 14], 2021. If a holder of a Disputed Claim files a timely
Rule 3018(a) Motion, such holder’s Ballot shall not be counted unless a Resolution Event
occurs with respect to such Disputed Claim prior to [June 21], 2021.

        A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
accordance with the provisions of the Bankruptcy Code. The Solicitation Procedures also set
forth assumptions and procedures for determining the amount of Claims that each creditor is
entitled to vote in these Chapter 11 Cases and how votes will be counted under various scenarios.

        Your vote on the Plan is important. The Bankruptcy Code requires as a condition to
confirmation of a plan of reorganization that each class that is impaired and entitled to vote under
a plan votes to accept such plan, unless the plan is being confirmed under the “cramdown”
provisions of section 1129(b) of the Bankruptcy Code. Section 1129(b) permits confirmation of
a plan of reorganization, notwithstanding the nonacceptance of the plan by one or more impaired
classes of claims or equity interests, so long as at least one impaired class of claims or interests
votes to accept a proposed plan. Under that section, a plan may be confirmed by a bankruptcy
court if it does not “discriminate unfairly” and is “fair and equitable” with respect to each
nonaccepting class.

D.     Certain Factors to Be Considered Prior to Voting

       There are a variety of factors that all holders of Interests entitled to vote on the Plan
should consider prior to voting to accept or reject the Plan. These factors, which may impact
recoveries under the Plan, include the following:

       1.      unless otherwise specifically indicated, the financial information contained in this
               Disclosure Statement has not been audited and is based on an analysis of data
               available at the time of the preparation of the Plan and this Disclosure Statement;

       2.      although the Debtors believe that the Plan complies with all applicable provisions
               of the Bankruptcy Code, the Debtors can neither assure such compliance nor that
               the Bankruptcy Court will confirm the Plan;

       3.      the Debtors may request Confirmation without the acceptance of all Impaired
               Classes entitled to vote in accordance with section 1129(b) of the Bankruptcy
               Code; and




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       4.      any delays of either Confirmation or the occurrence of the Effective Date could
               result in, among other things, increased Administrative Expense Claims and
               Professional Fee Claims.

        Additionally, the Plan may be modified to include one or more settlements pursuant
to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
to those described in this Disclosure Statement. While these factors, including the
incorporation of any settlements, could affect distributions available to holders of Allowed
Claims or Abuse Claims under the Plan, the occurrence or impact of such factors will not
necessarily affect the validity of the vote of the Voting Classes or necessarily require a re-
solicitation of the votes of holders of Claims in the Voting Classes.

       For a further discussion of risk factors, please refer to Article IX of this Disclosure
Statement, entitled “Risk Factors.”

                ARTICLE VIII. CONFIRMATION PROCEDURES

A.     Hearing on Plan Confirmation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, shall
hold a hearing to confirm a plan of reorganization. The Confirmation Hearing pursuant to
section 1128 of the Bankruptcy Code will be held on July 26, 2021 at 10:00 a.m. prevailing
Eastern Time, before the Honorable Laurie Selber Silverstein, United States Bankruptcy Judge
for the District of Delaware, in the United States Bankruptcy Court for the District of Delaware,
located at 824 North Market Street, 6th Floor, Wilmington, Delaware. The Confirmation
Hearing may be continued from time to time without further notice other than an adjournment
announced in open court or a notice of adjournment filed with the Bankruptcy Court and served
on those parties who have requested notice under Bankruptcy Rule 2002 and the Entities who
have filed an objection to the Plan, if any, without further notice to parties in interest. The
Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may put in place
additional procedures governing the Confirmation Hearing. Subject to section 1127 of the
Bankruptcy Code, the Plan may be modified, if necessary, prior to, during, or as a result of the
Confirmation Hearing, without further notice to parties in interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection to Confirmation of the Plan must: (i) be made in
writing; (ii) state the name and address of the objecting party and the nature and amount of the
Claim or Interest of such party; (iii) state with particularity the legal and factual basis and nature
of any objection to the Plan and include any evidentiary support therefor; and (iv) be filed with
the Bankruptcy Court together with proof of service and served on the Debtors and certain other
parties in interest identified on the Confirmation Hearing Notice in accordance with the
applicable order of the Bankruptcy Court so that they are received on or before June 28, 2021 at
4:00 p.m. prevailing Eastern Time.

B.     Requirements for Confirmation of the Plan

      The Bankruptcy Court will confirm the Plan only if all of the requirements of section
1129 of the Bankruptcy Code are met. Among the requirements for confirmation are that the

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Plan is (A) accepted by all impaired Classes of Claims and Interests entitled to vote or, if rejected
or deemed rejected by an impaired Class, that the Plan “does not discriminate unfairly” and is
“fair and equitable” as to such Class; (B) in the “best interests” of the Holders of Claims and
Interests impaired under the Plan; and (C) feasible.

C.        Acceptance by an Impaired Class

        The Bankruptcy Code requires, as a condition to confirmation, that each class of claims
or interests that is impaired under a plan of reorganization, accept the plan. A class that is not
“impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of
acceptances with respect to such class is not required. As stated above, the Voting Classes are
Impaired Classes and are comprised of the holders of Claims in Class 3A, Class 3B, Class 4A,
Class 4B, Class 5, Class 6, Class 7, Class 8, and Class 9. Section 1126(c) of the Bankruptcy
Code defines acceptance of a plan by a class of impaired claims as an affirmative vote of more
than one-half in number of total allowed claims in such class that have voted and an affirmative
vote of at least two-thirds in dollar amount of the total allowed claims in such class that have
voted. Thus, the Voting Classes described herein will have voted to accept the Plan only if one-
half of the holders of Allowed Claims and Abuse Claims, as applicable, with at least two-thirds
of the total dollar amount of the Allowed Claims and Abuse Claims, as applicable, vote on the
Plan to accept.

     AS EXPLAINED IN ARTICLE VI.G OF THIS DISCLOSURE STATEMENT,
THE BANKRUPTCY CODE CONTAINS PROVISIONS FOR CONFIRMATION OF A
PLAN EVEN IF IT IS NOT ACCEPTED BY ALL CLASSES. THESE SO-CALLED
“CRAMDOWN” PROVISIONS ARE SET FORTH IN SECTION 1129(b) OF THE
BANKRUPTCY CODE, WHICH PROVIDES THAT A PLAN OF REORGANIZATION
CAN BE CONFIRMED EVEN IF IT HAS NOT BEEN ACCEPTED BY ALL IMPAIRED
CLASSES OF CLAIMS AND INTERESTS AS LONG AS AT LEAST ONE IMPAIRED
CLASS OF NON-INSIDER CLAIMS HAS VOTED TO ACCEPT THE PLAN.

D.        Best Interests of Creditors / Liquidation Analysis

        Section 1112(c) of the Bankruptcy Code provides that non-profit Entities such as the
Debtors, cannot have their chapter 11 cases converted into chapter 7 cases involuntarily.45 A
liquidation under chapter 7 of the Bankruptcy Code is—unlike in the context of for-profit
debtors—a path that can be chosen only by the non-profit debtor. Because the Chapter 11 Cases
could not be involuntarily converted to a chapter 7 liquidation, the Debtors submit they are not
required to satisfy the requirements of section 1129(a)(7) in connection with confirmation of the
Plan.

        Although the Debtors do not believe they are required to satisfy the “best interests of
creditors” test embodied in section 1129(a)(7), the Debtors do believe a liquidation analysis will
be helpful to Holders of Claims as they evaluate their proposed treatment under the Plan.
Accordingly, the Debtors are providing the Liquidation Analysis attached as Exhibit B hereto.

45   11 U.S.C. § 1112(c) (“The court may not convert a case under [chapter 11] to a case under chapter 7 of this title if the debtor
     is a farmer or a corporation that is not a moneyed, business, or commercial corporation, unless the debtor requests such
     conversion.”).


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The Debtors’ submission of the Liquidation Analysis shall not be construed as or deemed to
constitute a waiver or admission of any kind. The Debtors reserve all rights to oppose the
applicability of the best interests test in the Chapter 11 Cases.

        The Liquidation Analysis considers whether Holders of Impaired Claims will receive or
retain under the Plan property of a value, as of the Effective Date, that is not less than the value
such Holder would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy
Code. Nine Classes of Impaired Claims, Class 3A (2010 Credit Facility Claims), Class 3B (2019
RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5
(Convenience Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation
Claims), Class 8 (Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), are Impaired
under the Plan.

        To calculate the probable distribution to holders of each Impaired Class of Claims and
interests if the Debtors were liquidated under chapter 7, the Bankruptcy Court must first
determine the aggregate dollar amount that would be generated from the Debtors’ assets if the
Debtors were in cases under chapter 7 of the Bankruptcy Code. This “liquidation value” would
consist primarily of the proceeds from a sale of the Debtors’ assets by a chapter 7 trustee.

        The amount of liquidation value available to unsecured creditors and interest holders
would be reduced by the Claims of any Secured creditors to the extent of the value of their
collateral, by the costs and expenses of liquidation, and by other administrative expenses and
costs of both the chapter 7 cases and the Chapter 11 Cases. Costs of liquidation under chapter 7
of the Bankruptcy Code would include the compensation of a trustee, as well as of counsel and
other professionals retained by the trustee, asset disposition expenses, all unpaid expenses
incurred by the Debtors in the Chapter 11 Cases (such as compensation of attorneys, financial
advisors, and accountants) that are allowed in the chapter 7 cases, litigation costs, and any
Claims arising from the operations of the Debtors during the pendency of the Chapter 11 Cases.

        Once the Bankruptcy Court ascertains the recoveries in liquidation of Secured creditors
and priority claimants, if any, it must determine the probable distribution to general unsecured
creditors and equity security holders from the remaining available proceeds in liquidation. If
such probable distribution has a value greater than the distributions to be received by such
creditors and equity security holders under the plan, then the plan is not in the best interests of
creditors and equity security holders.

       Nine Classes of Impaired Claims, Class 3A (2010 Credit Facility Claims), Class 3B
(2019 RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5
(Convenience Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation
Claims), Class 8 (Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), are Impaired
under the Plan. If the Debtors were liquidated under chapter 7 of the Bankruptcy Code, holders
of Convenience Claims (Class 5), General Unsecured Claims (Class 6), and Abuse Claims
(Classes 8 and 9) would receive lesser distributions than under the Plan, as explained in detail in
the Liquidation Analysis. In addition, holders of Claims in all other Classes will receive at least
as much under the Plan as they would in a liquidation and, moreover, the Plan provides much
more certain, efficient, and timely recoveries to holders of these Claims.



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E.     Feasibility

        The Bankruptcy Code requires that a debtor demonstrate that confirmation of a plan of
reorganization is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Plan meets this requirement, the
Debtors have analyzed their ability to meet obligations under the Plan. The Debtors, with the
assistance of their advisors, have prepared projections for the calendar years 2021 through 2025,
including management’s assumptions related thereto, to be attached to a subsequent amendment
to this Disclosure Statement as Exhibit C (the “Financial Projections”). The Financial
Projections assume that the Plan will be implemented in accordance with its stated terms. The
Debtors are unaware of any circumstances as of the date of this Disclosure Statement that would
require the re-forecasting of the Financial Projections due to a material change in the Debtors’
prospects so long as the Effective Date occurs before September 1, 2021. As reflected in the
Financial Projections, the Debtors anticipate that they will timely meet all of their collective
obligations and will be financially viable after Confirmation of the Plan. Accordingly, the
Debtors believe that Confirmation is not likely to be followed by liquidation or the need for
further reorganization.

F.     Conditions Precedent to Confirmation of the Plan

       Confirmation of the Plan shall not occur unless the following conditions precedent have
been satisfied, or are otherwise waived, in accordance with Article IX.C of the Plan:

        1.      The Disclosure Statement Order shall be entered in form and substance acceptable
to the Debtors;

        2.     The Confirmation Order and any other order in conjunction therewith shall be
entered in form and substance acceptable to the Debtors that approves and implements the
Injunctions, Releases, and Discharges set forth in Article X of the Plan. The Confirmation Order
shall make specific findings that provide, among other things, that:

              a.      the Plan complies with all applicable provisions of the Bankruptcy
                      Code, including that the Plan was proposed in good faith and that the
                      Confirmation Order was not be procured by fraud;

              b.      the Channeling Injunction and the Insurance Entity Injunction are to
                      be implemented and shall be in full force and effect on the Effective
                      Date;

              c.      upon the Effective Date, the Settlement Trust shall assume the
                      liabilities of the Protected Parties with respect to Abuse Claims and
                      have exclusive authority as of the Effective Date to satisfy or defend
                      such Abuse Claims;

              d.      the Settlement Trust will be funded with the Settlement Trust Assets;

              e.      the Settlement Trust will use the Settlement Trust Assets to resolve
                      Abuse Claims;

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              f.     the terms of the Discharge Injunction, the Channeling Injunction, the
                     Release Injunctions, and the Insurance Entity Injunction, including
                     any provisions barring actions against third parties, are set out in
                     conspicuous language in the Plan and in the Disclosure Statement;

              g.     the Future Claimants’ Representative was appointed by the
                     Bankruptcy Court as part of the proceedings leading to the issuance
                     of the Channeling Injunction and the Insurance Entity Injunction for
                     the purpose of, among other things, protecting the rights of persons
                     who might subsequently assert Abuse Claims of the kind that are
                     addressed in the Channeling Injunction and the Insurance Entity
                     Injunction, which will be transferred to and assumed by the
                     Settlement Trust;

              h.     the Plan complies with section 105(a) of the Bankruptcy Code to the
                     extent applicable;

              i.     the Injunctions are essential to the Plan and the Debtors’
                     reorganization efforts;

              j.     the Bankruptcy Code authorizes the Insurance Assignment
                     notwithstanding any terms of the Insurance Policies, the Insurance
                     Settlement Agreements, or provisions of applicable non-bankruptcy
                     law that any Insurance Company may otherwise argue prohibit the
                     Insurance Assignment;

              k.     the Insurance Settlement Agreements are approved, and any
                     Insurance Company that has contributed funds, proceeds or other
                     consideration to or for the benefit of the Settlement Trust pursuant to
                     an Insurance Settlement Agreement is designated as a Settling
                     Insurance Company;

              l.     the Abuse Claims Settlement represents a sound exercise of the
                     Debtors’ business judgment, is in the best interest of the Debtors’
                     Estates, complies with section 1123 of the Bankruptcy Code, and is
                     approved pursuant to section 1123 of the Bankruptcy Code and
                     Bankruptcy Rule 9019; and

              m.     the JPM / Creditors’ Committee Settlement represents a sound
                     exercise of the Debtors’ business judgment, is in the best interest of
                     the Debtors’ Estates, complies with section 1123 of the Bankruptcy
                     Code, and is approved pursuant to section 1123 of the Bankruptcy
                     Code and Bankruptcy Rule 9019.

G.     Conditions Precedent to the Effective Date

       The Effective Date of the Plan shall not occur unless the following conditions precedent
have been satisfied or waived in accordance with Article IX.C of the Plan:

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1.      the Confirmation Order shall have been submitted to the District Court for
        affirmation, the District Court shall have entered the Affirmation Order in form
        and substance acceptable to the Debtors, and the Confirmation Order and the
        Affirmation Order shall have become Final Orders. The Effective Date may
        occur when the Confirmation Order or the Affirmation Order are not Final Orders
        at the sole option of the Debtors unless the effectiveness of the Confirmation
        Order or the Affirmation Order, as applicable, shall have been stayed or vacated,
        in which case the Effective Date may be the first Business Day immediately
        following the expiration or other termination of any stay of effectiveness of the
        Confirmation Order or the Affirmation Order;

2.      the Settlement Trust Assets shall, simultaneously with the occurrence of the
        Effective Date or as otherwise provided herein, be transferred to, vested in, and
        assumed by the Settlement Trust in accordance with Article IV and Article V of
        the Plan;

3.      the Settlement Trust Documents and other applicable Plan Documents necessary
        or appropriate to implement the Plan shall have been executed, delivered and if
        applicable, filed with the appropriate governmental authorities;

4.      the Restated Debt and Security Documents shall have been duly executed and
        delivered by all of the Entities that are parties thereto and all conditions precedent
        (other than any conditions related to the occurrence of the Effective Date) to the
        effectiveness thereof shall have been satisfied or duly waived in writing in
        accordance with the terms of the Restated Debt and Security Documents and the
        closing shall have occurred thereunder;

5.      the Foundation Loan Agreement and any applicable collateral and other loan
        documents governing the Foundation Loan shall have been duly executed and
        delivered by all of the Entities that are parties thereto and all conditions precedent
        (other than any conditions related to the occurrence of the Effective Date) to the
        effectiveness thereof shall have been satisfied or duly waived in writing in
        accordance with the terms of the Foundation Loan Agreement and related
        documentation, and the closing shall have occurred thereunder;

6.      the Debtors shall have adequately funded the Professional Fee Reserve so as to
        permit the Debtors to make Distributions on account of Allowed Professional Fee
        Claims in accordance with Article II of the Plan;

7.      the Debtors shall have obtained all authorizations, consents, certifications,
        approvals, rulings, opinions or other documents that are necessary to implement
        and effectuate the Plan;

8.      all payments required to be made pursuant to the terms of the Cash Collateral
        Order shall have been paid;

9.      all actions, documents, and agreements necessary to implement and effectuate the
        Plan shall have been effected or executed; and

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       10.      the Debtors shall have filed a notice of occurrence of the Effective Date.

H.     Waiver of Conditions Precedent to the Effective Date

        To the fullest extent permitted by law, each of the conditions precedent in Article IX of
the Plan may be waived or modified, in whole or in part, in the sole discretion of the Debtors;
provided, that the conditions precedent set forth in Article IX.B.4 and Article IX.B.8 of the Plan
may be waived only with the prior written consent of JPM. Any waiver or modification of a
condition precedent under Article IX of the Plan may be effectuated at any time, without notice,
without leave or order of the Bankruptcy Court or the District Court, and without any other
formal action other than proceedings to confirm or consummate the Plan. The failure to satisfy
or waive any condition precedent to the Effective Date may be asserted by the Debtors regardless
of the circumstances giving rise to the failure of such condition to be satisfied or waived.

I.     Vacatur of Confirmation Order; Non-Occurrence of Effective Date

        If the Confirmation Order is vacated or the Effective Date does not occur within 180 days
after entry of the Confirmation Order (subject to extension by the Debtors in their sole
discretion), the Plan shall be null and void in all respects and nothing contained in the Plan or
this Disclosure Statement shall (1) constitute a waiver or release of any Causes of Action by or
Claims against or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors,
any holders of a Claim or Interest or any other Person; (3) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any holders, or any other Person in any
respect; or (4) be used by the Debtors or any other Person as evidence (or in any other way) in
any litigation, including with respect to the strengths and weaknesses of positions, arguments or
claims of any of the parties to such litigation.

                            ARTICLE IX. RISK FACTORS

     HOLDERS OF CLAIMS AGAINST THE DEBTORS SHOULD READ AND
CONSIDER CAREFULLY THE FACTORS SET FORTH BELOW, AS WELL AS THE
OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND
THE DOCUMENTS DELIVERED TOGETHER HEREWITH OR INCORPORATED BY
REFERENCE, PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN. THESE
FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE
ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN AND ITS
IMPLEMENTATION.    THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE DEBTORS’ ACTUAL
PERFORMANCE OR ACHIEVEMENTS TO BE MATERIALLY DIFFERENT FROM
THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE NO
OBLIGATION TO UPDATE ANY SUCH STATEMENT.




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A.     Risks Relating to the Debtors’ Operations, Financial Condition and Certain Bankruptcy
       Law Considerations

       1.      The Plan is Premised Upon a Global Resolution of Abuse Liability and if Such
               Resolution Cannot be Obtained, There is a Risk that the Plan Will Not Be
               Confirmed

        If confirmed and consummated, the Plan will accomplish two core objectives: (a) provide
an equitable, streamlined, and certain process by which Abuse Survivors may obtain
compensation for their Abuse Claims and (b) ensure that the BSA has the ability to continue its
vital charitable mission. If the Plan cannot be Confirmed, or if the Bankruptcy Court otherwise
finds that conditions necessary for Confirmation cannot be met, the Debtors may be required to
liquidate and/or voluntarily convert these Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate the
Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy
Code. In this event, neither of the Debtors’ core objectives would be accomplished. Abuse
Survivors would not have a certain, streamlined way to recover on account of their Claims, and
there would be a material risk that the BSA’s mission could not continue to be carried out.

        The best mechanism for the Debtors to achieve these two core objectives is confirmation
of a plan of reorganization that provides for substantial contributions by Local Councils, by
Contributing Chartered Organizations, and by Settling Insurance Companies (if any) to the
Settlement Trust in exchange for the protection of the Channeling Injunction and Releases. The
commitments contemplated by the Plan will not be realized if the Plan is not Confirmed.
Without an agreement by a substantial majority of creditors to support the Plan, the Debtors will
be unable to meet the requirements necessary to Confirm the Plan as currently contemplated with
respect to the Channeling Injunction and Releases. The Channeling Injunction and Releases are
a necessary component of the Plan, without which the Local Council Contribution and the
Contributing Chartered Organization Contribution will not be made to the Settlement Trust.

       2.      The Pension Benefit Guaranty Corporation Could Assert Contingent Claims

        On October 29, 2020, the Pension Benefit Guaranty Corporation (“PBGC”) filed a
contingent Proof of Claim in the amount of $1,102,200,000 against the BSA (the “Unfunded
Benefit Liability Claim”) based on the unfunded benefit liabilities of the Pension Plan.
Contemporaneously, the PBGC also filed a contingent Proof of Claim with respect to PBGC
premiums, including an amount of $51,862,500 against the BSA that may become due upon
termination of the Pension Plan (the “Termination Premiums Claims”). Finally, the PBGC
contemporaneously asserted a claim in an unspecified amount with respect to any failure to make
minimum funding contributions (the “Minimum Funding Contribution Claims”). The Unfunded
Benefit Liability Claims and the Termination Premiums Claims are contingent on the termination
of the Pension Plan, and for purposes of such claims, it is assumed that the Pension Plan
terminated on October 1, 2020. It is asserted that all of these liabilities are joint and several
among the BSA and each Local Council that is a member of the BSA’s “controlled group” on
account of statutory liability under 29 USC §§ 1082, 1307, 1362. The PBGC, as a result, believes
that it can assert the full amount of any of its Claims against each and every member of the
controlled group upon termination. In addition, if the Unfunded Benefit Liability Claim is not


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paid to the PBGC on demand, it is asserted that a statutory lien arises in favor of the PBGC on
the assets of the plan sponsor and the members of the plan sponsor’s controlled group. The
amount of this lien would be the lesser of the Unfunded Benefit Liability Claim and 30% of the
collective net worth of the controlled group. The Plan does not contemplate termination of the
Pension Plan. However, if the Plan is not confirmed and consummated and the Debtors’ Pension
Plan is terminated, the PBGC’s contingent Unfunded Benefit Liability Claims and the
Termination Premiums Claims against the BSA and Local Councils within its “controlled group”
may become due and would significantly dilute any recoveries available to satisfy creditors from
both the BSA and the Local Councils within the controlled group.

       3.      Debtors May be Impacted by the Continuing COVID-19 Pandemic

         The COVID-19 pandemic has presented issues and caused disruptions to the entire
organization and Scouting as a whole. Beginning in late February 2020, the BSA began to face
unprecedented operational challenges associated with the spread of COVID-19 in the United
States. As the pandemic spread through North America, the BSA was forced to temporarily
close its Headquarters, distribution center, and virtually all of its scout shops, consistent with
governmental health guidelines and directives. The BSA was also ultimately forced to cancel
summer programming at Philmont, its largest high adventure base, and limit programming at its
other three high adventure bases. Local Councils also significantly curtailed activity throughout
2020 which impacted the BSA’s retail sales and fall recruiting season. Throughout 2020, as the
global pandemic gradually worsened, the BSA undertook a number of critical cost-saving
initiatives, including initially furloughing and later permanently reducing staff, eliminating all
non-essential spending, negotiating concessions with suppliers and local vendors, and canceling
a number of revenue generating events due to social gathering concerns.

       The impact of COVID-19 has been devastating to the BSA. Membership recruitment in
2020 ground to a halt with school closures and other social distancing measures resulting in an
81% decline versus 2019, which will impact 2021 membership revenue. Supply revenue
declined 57% driven the several months of retail locations being closed and poor recruiting
driving lower uniform sales. High adventure facility revenue declined 74% driven the temporary
closure of Philmont and shortened seasons and/or reduced capacity at the other facilities. The
BSA further expects to have lower retention of existing members when annual memberships
renew in early 2021 due to significant curtailment of programing throughout 2020.

         The continued spread of COVID-19 could have a significant impact on the Debtors’
activities in the future and, in turn, the functions of Scouting at every level. This includes the
ability to have pack and troop meetings in-person, restricted or limited use of BSA or Local
Council properties such as summer camps and high adventure facilities. It remains unclear the
extent and duration that restrictions will remain in place in response to the pandemic, which
could bar or limit engaging in fundamental Scouting activities such as camping, service projects,
meetings, and other group activities that help build the bonds of fellowship essential to the
BSA’s mission. Moreover, the health, social, and economic impact the pandemic will have in
the future is unknown. As such, there can be no assurance that the uncertainties caused by the
spread of COVID-19 will not negatively impact the Debtors in the future and, therefore, affect
the underlying financial projections contained in this Disclosure Statement.



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       4.      Pending and Future Litigation

        As discussed in this Disclosure Statement, the Debtors are involved various litigation,
including but not limited to, the Trademark Action with the GSUSA—which so long as it
remains unresolved represents a reputational issue, a potential challenge to welcoming female
members into Scouting, and potential Claim for monetary damages. Additionally, there is a risk
of future litigation. Such litigation could be brought in connection with the BSA’s operations,
including its high adventure facilities, or otherwise. Pending litigation or future litigation could
result in a material judgment against the Debtors or the Reorganized BSA. Such litigation, and
any judgment in connection therewith, could have a material negative effect on the Debtors or
the Reorganized BSA.

       5.      Risk of Non-Confirmation of the Plan

        Although the Debtors believe that the Plan satisfies all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for confirmation
or that such modifications would not necessitate re-solicitation of votes. Moreover, the Debtors
can make no assurances that they will receive the requisite acceptances to confirm the Plan, and
even if all Voting Classes vote in favor of the Plan or the requirements for “cramdown” are met
with respect to any Class that rejects or is deemed to reject the Plan, the Bankruptcy Court may
exercise discretion as a court of equity and choose not to confirm the Plan. If the Plan is not
confirmed, it is unclear what distributions holders of Claims or Interests would ultimately receive
with respect to their Claims or Interests in a subsequent plan of reorganization, a liquidation, or
other proceedings.

       6.      Other Parties in Interest Might Be Permitted to Propose Alternative Plans of
               Reorganization

        Under the Bankruptcy Code, a debtor in possession initially has the exclusive right to
propose and solicit acceptances of a plan of reorganization. However, such exclusivity period
can be reduced or terminated upon order of the Bankruptcy Court, or it may expire under the
applicable provisions of the Bankruptcy Code. If such an order were to be entered or such
expiration were to occur, other parties in interest would then have the opportunity to propose
alternative plans of reorganization.

        If other parties in interest were to propose an alternative plan of reorganization following
expiration or termination of the Debtors’ exclusivity period, such a plan may be less favorable to
the Debtors, their Estates, and their stakeholders. In addition, if there were competing plans of
reorganization, the Chapter 11 Cases would likely become longer, more complicated, and more
expensive, thereby reducing recoveries to holders of Claims.

       7.      Non-Consensual Confirmation

       If any Impaired Class of Claims does not accept or is deemed not to accept a plan of
reorganization, a Bankruptcy Court may nevertheless confirm such plan at the proponent’s
request if at least one Impaired Class has accepted the plan (with such acceptance being
determined without including the vote of any “insider” in such class), and as to each impaired

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class that has not accepted the plan, the Bankruptcy Court determines that the plan “does not
discriminate unfairly” and is “fair and equitable” with respect to the dissenting impaired classes.
If any Class votes to reject or is deemed to reject the Plan, then these requirements must be
satisfied with respect to such rejecting Class. The Debtors believe that the Plan satisfies these
requirements.

        8.       Parties in Interest May Object to the Debtors’ Classification of Claims and
                 Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an
interest in a particular class only if the claim or interest is substantially similar to the other claims
or interests in that class. Parties in interest may object to the classification of certain claims and
interests both on the grounds that certain claims and interests have been improperly placed in the
same Class and/or that certain claims and interests have been improperly placed in different
Classes. The Debtors believe that the classification of Claims and Interests under the Plan
complies with the requirements of the Bankruptcy Code because the Classes established under
the Plan each encompass Claims or Interests that are substantially similar to similarly classified
Claims or Interests. Nevertheless, there can be no assurance that the Bankruptcy Court will
reach the same conclusion. Parties in interest may object to the classification of certain Claims
and Interests both on grounds that certain Claims and Interests have been improperly placed in
the same Class and/or that certain Claims and Interests have been improperly placed in different
Classes.

        9.       The Debtors May Object to the Amount or Classification of a Claim

        Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied on by any holder of a Claim where such Claim is subject to an
objection. Any holder of a Claim that is subject to an objection may, therefore, not receive its
expected share of the estimated distributions described in this Disclosure Statement.

        10.      The Conditions Precedent to Plan Confirmation and the Effective Date of the
                 Plan May Not Occur

        As more fully set forth in Article IX of the Plan, Plan Confirmation and the Effective
Date are subject to a number of conditions precedent. If such conditions precedent are not
satisfied or waived, Plan Confirmation, the Effective Date, or both will not occur.

        11.      The Recovery to Holders of Allowed Claims, Abuse Claims, and Interests
                 Cannot Be Stated with Absolute Certainty

        Due to the inherent uncertainties associated with projecting financial results and litigation
outcomes, the projections contained in this Disclosure Statement should not be considered
assurances or guarantees of the amount of funds or the amount of Claims that may be allowed in
the various Classes. While the Debtors believe that the financial projections contained in this
Disclosure Statement are reasonable, there can be no assurance that they will be realized. Also,
because the Liquidation Analysis, distribution projections, and other information contained
herein and attached hereto are estimates only, the timing and amount of actual distributions to

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holders of Allowed Claims and Abuse Claims satisfied by the Settlement Trust in accordance
with the Trust Distribution Procedures, if applicable, may be affected by many factors that
cannot be predicted.

       12.      Appointment of Different Settlement Trustee and/or Different Members of the
                Settlement Trust Advisory Committee for the Settlement Trust

        Prior to the Confirmation Hearing, the Plan Supplement shall identify the initial
Settlement Trustee of the Settlement Trust and the initial members of the Settlement Trust
Advisory Committee. Parties-in-interest, however, may object to the proposed Settlement
Trustee, or one or more of the proposed members of the Settlement Advisory Committee. In that
case, an alternate Settlement Trustee and/or alternative proposed members of the Settlement
Trust Advisory Committee would have to be nominated, potentially resulting in significant
delays in the occurrence of the Confirmation Date and Effective Date. The selection of a
different Settlement Trustee or different Settlement Trust Advisory Committee Members also
could materially affect administration of the Settlement Trust.

       13.      Distributions under the Trust Distribution Procedures

        Abuse Claims will be resolved pursuant to the Settlement Trust Documents, and their
treatment will be based upon, among other things, estimates of the number, types, and amount of
Abuse Claims, the value of the assets of the Settlement Trust, the liquidity of the Settlement
Trust, the Settlement Trust’s expected future income and expenses, and other matters. There can
be no certainty as to the precise amounts that will be distributed by the Settlement Trust in any
particular time period or when Settlement Claims will be resolved by the Settlement Trust.

       14.      Participation by Local Councils and Contributing Chartered Organizations

        The Plan contemplates participation by the Local Councils and Contributing Chartered
Organizations, including through the Local Council Settlement Contribution and Contributing
Organization Settlement Contribution to the Settlement Trust. However, there can be no
assurance that the Local Councils or Contributing Chartered Organizations will agree to make
the required contributions or that the level of contributions will be acceptable to other parties in
these Chapter 11 Cases or satisfy the requirements for obtaining approval of the Channeling
Injunction by the Bankruptcy Court. Any failure to contribute by the Local Councils and/or the
Contributing Chartered Organizations and/or objections to the level of the Local Council
Settlement Contribution and the Contributing Organization Settlement Contribution could result
in material affects to the Plan, resulting in significant delays to the occurrence of the
Confirmation Date and Effective Date, amendment to the Plan, and/or significant alterations to
the current structure contemplated by the Plan.

       15.      U.S. Federal Income Tax Risks

       For a discussion of certain U.S. federal income tax consequences of the implementation
of the Plan to the Debtors and to holders of certain Claims and Interests, see Article X of this
Disclosure Statement.



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       16.      Risk of Non-Occurrence of the Effective Date

       Although the Debtors believe that the Effective Date will occur soon after the
Confirmation Date, there can be no assurance as to the timing of the Effective Date. If the
conditions precedent to the Effective Date set forth in the Plan have not occurred or have not
been waived as set forth in Article IX of the Plan, then the Confirmation Order may be vacated,
in which event no distributions would be made under the Plan, the Debtors and all holders of
Claims or Interests would be restored to the status quo as of the day immediately preceding the
Confirmation Date, and the Debtors’ obligations with respect to Claims and Interests would
remain unchanged. Any delay to the Confirmation Date may materially negatively impact the
Debtors’ business and may result in a liquidation.

       17.      Amendment of Plan Prior to Confirmation by the Debtors

        The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify
the terms and conditions of the Plan or waive any conditions thereto if and to the extent
necessary or desirable for confirmation. The potential impact of any such amendment or waiver
on holders of Claims and Interests cannot presently be foreseen but may include a change in the
economic impact of the Plan on some or all of the proposed Classes or a change in the relative
rights of such Classes.

       18.      Financial Projections

       The Debtors have prepared financial projections on a consolidated basis with respect to
the Reorganized BSA and Related Non-Debtor Entities based on certain assumptions, as set forth
in Exhibit C hereto. The projections have not been compiled, audited, or examined by
independent accountants, and neither the Debtors nor their advisors make any representations or
warranties regarding the accuracy of the projections or the ability to achieve forecasted results.

       Many of the assumptions underlying the projections are subject to significant
uncertainties that are beyond the control of the Debtors or Reorganized BSA, including the
timing, Confirmation, and consummation of the Plan, continued engagement with Scouting and
the Reorganized BSA, and the ability of the Local Councils to continue to support the Debtors’
membership.      Some assumptions may not materialize, and unanticipated events and
circumstances may affect the actual results. Projections are inherently subject to substantial and
numerous uncertainties and to a wide variety of significant economic, and operational risks, and
the assumptions underlying the projections may be inaccurate in material respects. In addition,
unanticipated events and circumstances occurring after the approval of this Disclosure Statement
by the Bankruptcy Court including any natural disasters, terrorist attacks, or health epidemics
may affect the actual financial results achieved. Such results may vary significantly from the
forecasts and such variations may be material. The Debtors’ projections reflect expectations of
continued donor support. However, the Debtors cannot state with certainty that such donation
programs will achieve their targeted results.

       19.      Potential Settlements

       As set forth in Article II.C of this Disclosure Statement, the Debtors have been in
negotiations with the Mediation Parties in hopes of resolving certain controversies related to the

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structure of the Plan, level of contributions by the Debtors, Local Councils and Contributing
Chartered Organizations and insurance-related issues, which may result in settlements pursuant
to Bankruptcy Rule 9019 and may be included in the Plan. If a Settlement Agreement is
reached, the Plan may be modified prior to the Confirmation Hearing to incorporate any number
of resolutions of the unresolved controversies. The potential impact of any such settlements or
resolutions on holders of Claims and Interests cannot presently be foreseen but may include a
change in the economic impact of the Plan on some or all of the proposed Classes or a change in
the relative rights of such Classes.

       20.      Insurance Contributions

        If the Debtors are unable to reach agreement on the terms of Insurance Settlement
Agreements with the Insurance Companies, there is a risk that the Settlement Trust may not
realize contributions from Insurance Companies, or that the Settlement Trust’s efforts to realize
recoveries on account of the Insurance Coverage will be the subject of litigation that is expensive
and time-consuming.

       21.      Failure to Obtain Approval of Releases, Injunctions and Exculpation

        As set forth in Article VI.P of this Disclosure Statement, the Plan provides for certain
Releases, Injunctions, and exculpations, including a release of Liens and third-party releases that
may otherwise be asserted against the Debtors, the Reorganized BSA, the other Released Parties
and their respective Related Parties, as applicable. The Releases, Injunctions, and exculpations
(including, for the avoidance of doubt, the Channeling Injunction and the definitions of Released
Parties and Exculpated Parties) provided in the Plan are subject to objection by parties in interest
and may not be approved. If the Releases are not approved, certain parties may not be
considered Released Parties or Exculpated Parties, and certain Released Parties or Exculpated
Parties may withdraw their support for the Plan.

       22.      The Channeling Injunction

        The Channeling Injunction, which, among other things, bars the assertion of any Abuse
Claims against the Protected Parties, is a necessary element of the Plan. Although the Plan, the
Settlement Trust Agreement, and the Trust Distribution Procedures all have been drafted with the
intention of complying with the Bankruptcy Code, there is no guarantee that the validity and
enforceability of the Channeling Injunction or the application of the Channeling Injunction to
Abuse Claims will not be challenged, either before or after confirmation of the Plan.

       While the Debtors believe that the Plan satisfies the requirements of the Bankruptcy
Code, certain objections might be lodged on grounds that the requirements of the Bankruptcy
Code cannot be met given the unique facts of the Chapter 11 Cases. At this juncture, the Debtors
believe that the Plan provides a sufficient basis for the issuance of the Channeling Injunction
under section 105(a) of the Bankruptcy Code.

       23.      Voting Requirements

       If sufficient votes are not received, the Debtors may seek to confirm an alternative
chapter 11 plan. There can be no assurance that the terms of any such alternative chapter 11 plan

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would be similar or as favorable to the holders of Allowed Claims and Abuse Claims satisfied by
the Settlement Trust in accordance with the Trust Distribution Procedures as those proposed in
the Plan.

       24.      Conversion into Chapter 7 Cases

        If no plan of reorganization can be confirmed, the Debtors may choose to convert these
Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee
would be appointed or elected to liquidate the Debtors’ assets for distribution in accordance with
the priorities established by the Bankruptcy Code. Under section 1112(c) of the Bankruptcy
Code, the Chapter 11 Cases may not be converted to cases under chapter 7 without the Debtors’
consent.

       25.      Dismissal of the Chapter 11 Cases

        If the Plan is not confirmed, the Debtors or other parties in interests may seek dismissal
of the Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code. Without limitation,
dismissal of the Chapter 11 Cases would terminate the automatic stay and might allow certain
creditors to file litigation against the Debtors or take other action to pursue their Claims against
the Debtors. Accordingly, the Debtors believe that dismissal of the Chapter 11 Cases would
significantly reduce the value of the Debtors’ remaining assets.

B.     Additional Factors

       1.       Debtors Could Withdraw the Plan

       Subject to, and without prejudice to, the rights of any party in interest, the Plan may be
revoked or withdrawn before the Confirmation Date by the Debtors.

       2.       Debtors Have No Duty to Update

        The statements contained in this Disclosure Statement are made by the Debtors as of the
date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
that date does not imply that there has been no change in the information set forth herein since
that date. Additionally, the Debtors have no duty to update this Disclosure Statement unless
otherwise ordered to do so by the Bankruptcy Court.

       3.       No Representations Outside this Disclosure Statement Are Authorized

        No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan
are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or
rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.




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       4.      No Legal or Tax Advice Is Provided by this Disclosure Statement

       The contents of this Disclosure Statement should not be construed as legal, business, or
tax advice. Each holder of a Claim or Interest should consult its own legal counsel and
accountant as to legal, tax, and other matters concerning their Claim or Interest. This Disclosure
Statement is not legal advice to you. This Disclosure Statement may not be relied upon for any
purpose other than to determine how to vote on the Plan or object to confirmation of the Plan.

       5.      This Disclosure Statement May Contain Forward Looking Statements

        This Disclosure Statement may contain “forward looking statements” within the meaning
of the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
other than a recitation of historical fact and can be identified by the use of forward looking
terminology such as “may,” “expect,” “anticipate,” “estimate” or “continue” or the negative
thereof or other variations thereon or comparable terminology. The reader is cautioned that all
forward looking statements are necessarily speculative and there are certain risks and
uncertainties that could cause actual events or results to differ materially from those referred to
in such forward looking statements. The liquidation analysis, distribution projections or other
information contained herein and attached hereto are estimates only, and the timing and amount
of actual distributions to holders of Allowed Claims and Abuse Claims satisfied by the
Settlement Trust in accordance with the Trust Distribution Procedures may be affected by many
factors that cannot be predicted. Therefore, any analyses, estimates or recovery projections may
or may not turn out to be accurate.

       6.      No Admission Made

        Nothing contained herein or in the Plan shall constitute an admission of, or shall be
deemed evidence of, the tax or other legal effects of the Plan on the Debtors or holders of Claims
or Interests.

      ARTICLE X. CERTAIN UNITED STATES FEDERAL INCOME TAX
                      CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain U.S. federal income tax consequences
of the Plan and is for general information purposes only. This summary should not be relied
upon for purposes of determining the specific tax consequences of the Plan with respect to a
particular holder of a Claim or Interest. This discussion does not purport to be a complete
analysis or listing of all potential tax considerations.

        This discussion is based on existing provisions of the Internal Revenue Code of 1986, as
amended (the “Code”), existing and proposed Treasury Regulations promulgated thereunder, and
current administrative rulings and court decisions. Legislative, judicial, or administrative
changes or interpretations enacted or promulgated after the date hereof could alter or modify the
analyses set forth below with respect to the U.S. federal income tax consequences of the Plan.
Any such changes or interpretations may be retroactive and could significantly affect the U.S.
federal income tax consequences of the Plan.



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        Due to the lack of definitive judicial and administrative authority in a number of areas,
substantial uncertainty may exist with respect to some of the tax consequences described below.
No ruling has been requested or obtained from the IRS with respect to any tax aspects of the Plan
and no opinion of counsel has been sought or obtained with respect thereto. The discussion
below is not binding upon the IRS or any court. No assurance can be given that the IRS would
not assert, or that a court would not sustain, a different position than any position discussed
herein. No representations or assurances are being made to the holders of Claims or Interests
with respect to the U.S. federal income tax consequences described herein. Except as
specifically set forth below, this discussion addresses only holders of Claims or Interests that are
“United States persons” (within the meaning of Section 7701(a)(30) of the Code).

     ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S.
FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES
ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE
BASED UPON THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER
OF A CLAIM OR INTEREST. ALL HOLDERS OF CLAIMS OR INTERESTS ARE
URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE FEDERAL, STATE,
LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE PLAN.

A.     The Settlement Trust

        On the Confirmation Date, the Settlement Trust shall be established in accordance with
the Trust Documents. The Settlement Trust is intended to qualify as a “qualified settlement
fund” (“QSF”) pursuant to Treasury Regulation section 1.468B-1. The Protected Parties are the
“transferors” within the meaning of Treasury Regulation Section 1.468B-1(d)(1). The
Settlement Trustee shall be classified as the “administrator” within the meaning of Treasury
Regulation Section 1.468B-2(k)(3). The Trust Documents, including the Settlement Trust
Agreement, are incorporated herein by reference.

        The primary tax consequences of the Settlement Trust being characterized as a QSF are
the following:

       1.      The Settlement Trust must use a calendar taxable year and the accrual method of
accounting.

        2.     If the Protected Parties fund the Settlement Trust with appreciated property, the
Protected Parties are deemed to sell the property to the Settlement Trust. Accordingly, any gain
or loss from the deemed sale must be reported by the Protected Parties.

        3.     The Settlement Trust takes a fair market value basis in property contributed to it
by the Protected Parties.

       4.      The Settlement Trust’s gross income less certain modifications is taxable at the
highest federal tax rate applicable to trusts and estates. The Protected Parties’ funding of the
Settlement Trust with Cash and other property is not reported by the Settlement Trust as taxable
income. However, earnings recognized from, for example, the short-term investment of the
Settlement Trust’s funds will be subject to tax.


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       5.      The Settlement Trust may deduct from its gross income a limited number of
administrative expenses; the Settlement Trust is not entitled to deduct distributions paid to its
beneficiaries.

       6.     The Settlement Trust will have a separate taxpayer identification number and will
be required to file annual tax returns (which are due on March 15, or later if an extension is
granted under applicable law). The Settlement Trust will also be required to comply with a
number of other administrative tax rules including filing information returns (generally IRS
Form 1099) when approved payments are made to claimants.

B.     Holders of Claims

        The federal income tax consequences to a holder of a Claim receiving, or entitled to
receive, a distribution in partial or total satisfaction of a Claim may depend on a number of
factors, including the nature of the Claim, the claimants’ method of accounting, and their own
particular tax situation. Because each claimant’s tax situation differs, claimants should consult
their own tax advisors to determine how the Plan affects them for federal, state and local tax
purposes, based on their particular tax situations.

        Among other things, the federal income tax consequences of a distribution to a claimant
may depend initially on the nature of the original transaction pursuant to which the Claim arose.
For example, a distribution in repayment of the principal amount of a loan is generally not
included in the claimant’s gross income. A distribution to a holder of an Abuse Claim may not
be taxable as it may be considered compensation for personal injuries. The federal income tax
consequences of a distribution to a claimant may also depend on whether the item to which the
distribution relates has previously been included in the claimant’s gross income or has previously
been subject to a loss or bad debt deduction. For example, if a distribution is made in
satisfaction of a receivable acquired in the ordinary course of the claimant’s trade or business,
and the claimant had previously included the amount of such receivable distribution in his or her
gross income under his or her method of accounting, and had not previously claimed a loss or
bad debt deduction for that amount, the receipt of the distribution should not result in additional
income to the claimant but may, as discussed below, result in a loss.

        Conversely, if the claimant had previously claimed a loss or bad debt deduction with
respect to the item previously included in income, the claimant generally would be required to
include the amount of the distribution in income when received.

        A claimant receiving a distribution in satisfaction of his or her Claim generally may
recognize taxable income or loss measured by the difference between (i) the amount of Cash and
the fair market value (if any) of the property received and (ii) its adjusted tax basis in the Claim.
For this purpose, the adjusted tax basis may include amounts previously included in income (less
any bad debt or loss deduction) with respect to that item. This income or loss may be ordinary
income or loss if the distribution is in satisfaction of accounts or notes receivable acquired in the
ordinary course of the claimant’s trade or business for the performance of services or for the sale
of goods or merchandise. In addition, if a claimant had claimed an ordinary bad debt deduction
for the worthlessness of his or her Claim in whole or in part in a prior taxable year, any income
realized by the claimant as a result of receiving a distribution may be taxed as ordinary income to


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the extent of the ordinary deduction previously claimed. Generally, the income or loss will be
capital gain or loss if the Claim is a capital asset in the claimant’s hands.

       Subject to the qualifications and limitations set forth above:

              1. A holder of a Class 3A, 3B, 4A, or 4B Claim may recognize gain or loss
                 pursuant to the Plan depending on whether the receipt of the Claim under the
                 Restated Credit Facility Documents or under the Restated Bond Documents,
                 as applicable, in satisfaction of its existing Claim is treated as a taxable
                 exchange for U.S. federal income tax purposes. The tax treatment of the
                 receipt of such Claim pursuant to the Plan is unclear – although it seems likely
                 under applicable law that the receipt of the Claims would be treated as a
                 taxable exchange. Holders of Class 3A, 3B, 4A, or 4B Claims are strongly
                 urged to consult their own tax advisors regarding the specific tax
                 consequences of the transactions described in the Plan.

              2. A holder of a Class 5 Claim generally will recognize gain or loss measured by
                 the difference between (i) the amount of the cash and the fair market value (if
                 any) of the property received and (ii) its adjusted tax basis in the Convenience
                 Claim.

              3. A holder of a Class 6 Claim generally will recognize gain or loss measured by
                 the difference between (i) the U.S. dollar value of such holder’s Pro Rata
                 Share of the Core Value Cash Pool received and the fair market value (if any)
                 of the property received and (ii) its adjusted tax basis in the General
                 Unsecured Claim.

              4. A holder of a Class 7 Claim generally will recognize gain or loss measured by
                 the difference between (i) the amount of cash received from (a) available
                 Insurance Coverage, (b) applicable proceeds of any Insurance Settlement
                 Agreements, and (c) co-liable non-debtors (if any) or their insurance coverage,
                 and (ii) its adjusted tax basis in the Non-Abuse Litigation Claim, unless such
                 holder elects to have its Claim treated as an Allowed Convenience Claim. A
                 holder of a Class 7 Claim that elects to have its Claim treated as an Allowed
                 Convenience Claim generally will recognize gain or loss measured by the
                 difference between (i) the amount of the cash and the fair market value (if
                 any) of the property received and (ii) its adjusted tax basis in the Non-Abuse
                 Litigation Claim.

              5. A holder of a Class 8 Claim generally will recognize gain or loss measured by
                 the difference between (i) the amount of the cash and the fair market value (if
                 any) of the property received and (ii) its adjusted tax basis in the Direct Abuse
                 Claim.

              6. A holder of a Class 9 Claim generally will recognize gain or loss measured by
                 the difference between (i) the amount of the cash and the fair market value (if



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                   any) of the property received and (ii) its adjusted tax basis in the Indirect
                   Abuse Claim.

C.     Holders that are Non-United States Persons

        Holders of Claims that are not “United States persons” (within the meaning of Section
7701(a)(30) of the Code) generally will not be subject to U.S. federal income tax with respect to
property (including Cash) received in exchange for such Claims, unless (i) such holder is
engaged in a trade or business in the United States to which income, gain or loss from the
exchange is “effectively connected” for U.S. federal income tax purposes, or (ii) if such holder is
an individual, such holder is present in the United States for 183 days or more during the taxable
year of the exchange and certain other requirements are met.

            ARTICLE XI. CONCLUSION AND RECOMMENDATION

        In the opinion of the Debtors, the Plan is preferable to all other available alternatives and
provides for a larger and more timely distribution to the Debtors’ creditors than would otherwise
result from any other scenario. Any alternative to Confirmation of the Plan, moreover, could
result in extensive delays, increased administrative expenses, reduced financial performance, and
a potential liquidation. Accordingly, the Debtors believe that the Plan provides the best available
recovery to their stakeholders and should be confirmed.




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Dated: March 1, 2021
                                Boy Scouts of America
                                BSA Delaware, LLC


                                 /s/ Roger C. Mosby
                                Roger C. Mosby
                                Chief Executive Officer and President
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                        EXHIBIT A

               PLAN OF REORGANIZATION
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                       (Jointly Administered)
                        Debtors.


              AMENDED CHAPTER 11 PLAN OF REORGANIZATION FOR
               BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

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Attorneys for the Debtors and Debtors in Possession

Dated: March 1, 2021
       Wilmington, Delaware



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    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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                                        EXHIBITS

Exhibit A       Contributing Chartered Organization Settlement Contribution
Exhibit B       Contributing Chartered Organizations
Exhibit C       Foundation Loan Facility Term Sheet
Exhibit D       Local Council Settlement Contribution
Exhibit E       Local Councils
Exhibit F       Related Non-Debtor Entities


                                       SCHEDULES

Schedule 1      Artwork
Schedule 2      BSA Insurance Policies
Schedule 3      Local Council Insurance Policies
Schedule 4      Oil and Gas Interests


                          PLAN SUPPLEMENT DOCUMENTS

Amended BSA Bylaws
Assumed Contracts and Unexpired Leases Schedule
Cooperation Agreement
Creditor Representative
Directors and Officers of Reorganized BSA
Foundation Loan Agreement
Leaseback Requirement Agreement
Rejected Contracts and Unexpired Leases Schedule;
Restated 2010 Bond Documents
Restated 2012 Bond Documents
Restated Credit Facility Documents
Restated Security Agreement
Settlement Trust Advisory Committee
Settlement Trust Agreement
Settlement Trustee
Trust Distribution Procedures




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                                              INTRODUCTION

       Boy Scouts of America and Delaware BSA, LLC, the non-profit corporations that are
debtors and debtors in possession in the above-captioned chapter 11 cases, hereby propose this
plan of reorganization pursuant to section 1121(a) of the Bankruptcy Code.2 Capitalized terms
used herein shall have the meanings ascribed to such terms in Article I.A. The Debtors are the
proponents of the Plan within the meaning of section 1129 of the Bankruptcy Code. Reference is
made to the Disclosure Statement for a discussion of the Debtors’ history, charitable mission,
operations, projections for those operations, risk factors, and certain related matters. The
Disclosure Statement also provides a summary and analysis of the Plan. YOU ARE URGED TO
READ THE DISCLOSURE STATEMENT AND THE PLAN WITH CARE IN EVALUATING
HOW THE PLAN WILL AFFECT YOUR CLAIM(S) BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.



                      DEFINITIONS AND RULES OF INTERPRETATION

      A.      Definitions. The capitalized terms used in the Plan shall have the respective
meanings set forth below.

               1.     “2010 Bond” means The County Commission of Fayette County (West
        Virginia) Commercial Development Revenue Bond (Arrow WV Project) Series 2010B in
        an aggregate principal amount of $50,000,000, issued by the Bond Issuer pursuant to the
        2010 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the
        2010 Note.

               2.     “2010 Bond Agreement” means that certain Bond Purchase and Loan
        Agreement dated as of November 5, 2010, by and among the Bond Issuer, JPM, the BSA
        and Arrow, as amended, restated, supplemented or otherwise modified from time to time.

                3.      “2010 Bond Claim” means any Claim against the Debtors arising under,
        derived from, or based upon the 2010 Bond Documents, including any Claim for
        obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2010
        Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
        related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and

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    As described in the First Mediators’ Report filed on March 1, 2021 at Docket No. 2292 (the “Mediators’
    Report”), the Debtors, JPM, and the Creditors’ Committee have reached an agreement in principle on the terms
    of a settlement that the Debtors have incorporated into the Plan. The terms of the settlement are described in
    the term sheet attached to the Mediators’ Report as Exhibit A (the “Settlement Term Sheet”). The Settlement
    Term Sheet addresses, among other things, the treatment of non-abuse general unsecured claims and JPM’s
    secured claims and the resolution of estate challenges to JPM’s prepetition security interests, including any such
    challenges that the Creditors’ Committee could seek standing to pursue. Although the settlement memorialized
    in the Settlement Term Sheet has been finalized, the Settlement Term Sheet remain subject to definitive
    documentation in all respects. JPM and the Creditors’ Committee are continuing to review the Plan and the
    Disclosure Statement, and each of their respective rights are reserved with respect to the Plan and the Disclosure
    Statement, including to ensure that the Plan and the Disclosure Statement appropriately implement the terms
    and conditions of the Settlement Term Sheet.
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several, including the obligation of the BSA to repay the 2010 Note, interest on the 2010
Note, and all fees, costs, expenses and obligations of any kind or character due or
recoverable from the Debtors under the 2010 Bond Documents.

        4.     “2010 Bond Documents” means collectively, the 2010 Bond, the 2010
Bond Agreement, the 2010 Note, the Prepetition Security Documents (2019), the
Prepetition Security Agreement (2020) (in the case of the Prepetition Security Documents
(2019) and the Prepetition Security Agreement (2020), solely as such documents and
agreements pertain to obligations under the other 2010 Bond Documents), and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

        5.      “2010 Credit Agreement” means that certain Credit Agreement dated as of
August 11, 2010, by and between the BSA, as borrower, and JPM, as lender, as amended
by that certain First Amendment to Credit Agreement dated as of November 5, 2010, that
certain Second Amendment to Credit Agreement dated as of November 11, 2011, that
certain Third Amendment to Credit Agreement dated as of March 9, 2012, that certain
Fourth Amendment to Credit Agreement dated as of April 25, 2016, that certain Fifth
Amendment to Credit Agreement dated as of March 2, 2017, that certain Sixth
Amendment to Credit Agreement dated as of February 15, 2018, and that certain Seventh
Amendment to Credit Agreement, dated as of March 21, 2019, pursuant to which JPM
agreed to make term loans to the BSA in an aggregate amount of $25,000,000 and agreed
to make revolving loans to the BSA and issue letters of credit on behalf of the BSA in an
aggregate amount not to exceed $75,000,000.

        6.      “2010 Credit Facility Claim” means any Claim against the Debtors arising
under, derived from, or based upon the 2010 Credit Facility Documents, including any
Claim for obligations, indebtedness, and liabilities of the BSA arising pursuant to any of
the 2010 Credit Facility Documents, whether now existing or hereafter arising, whether
direct, indirect, related, unrelated, fixed, contingent, liquidated, unliquidated, joint,
several, or joint and several, including the obligation of the BSA to pay principal and
interest, and all fees, costs, expenses and other obligations of any kind or character due or
recoverable under the 2010 Credit Facility Documents.

        7.     “2010 Credit Facility Documents” means, collectively, the 2010 Credit
Agreement, the Prepetition Security Documents (2019), the Prepetition Security
Agreement (2020) (in the case of the Prepetition Security Documents (2019) and the
Prepetition Security Agreement (2020), solely as such documents and agreements pertain
to obligations under the other 2010 Credit Facility Documents), and all documentation
executed and delivered in connection therewith, as amended, restated, supplemented or
otherwise modified from time to time.

        8.      “2010 Note” means that certain Promissory Note – 2010B executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $50,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2010 Bond Agreement to secure the repayment of the 2010 Bond, as amended,
restated, supplemented or otherwise modified from time to time.


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       9.      “2012 Bond” means The County Commission of Fayette County (West
Virginia) Commercial Development Revenue Bond (Arrow WV Project), Series 2012, in
an aggregate principal amount of $175,000,000, issued by the Bond Issuer pursuant to the
2012 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the
2012 Note.

       10.   “2012 Bond Agreement” means that certain Bond Purchase and Loan
Agreement dated as of March 9, 2012, between the Bond Issuer, JPM, the BSA and
Arrow, as amended, restated, supplemented or otherwise modified from time to time.

        11.     “2012 Bond Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2012 Bond Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2012
Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to repay the 2012 Note, interest on the 2012
Note, and all fees, costs, expenses and obligations of any kind or character due or
recoverable from the Debtors under the 2012 Bond Documents.

        12.    “2012 Bond Documents” means collectively, the 2012 Bond, the 2012
Bond Agreement, the 2012 Note, the Prepetition Security Documents (2019), the
Prepetition Security Agreement (2020) (in the case of the Prepetition Security Documents
(2019) and the Prepetition Security Agreement (2020), solely as such documents and
agreements pertain to obligations under the other 2012 Bond Documents), and all
documentation executed and delivered in connection therewith, as amended, restated,
supplemented or otherwise modified from time to time.

        13.     “2012 Note” means that certain Promissory Note – 2012, executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $175,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2012 Bond Agreement to secure the repayment of the 2012 Bond, as amended,
restated, supplemented or otherwise modified from time to time.

       14.     “2019 RCF Agreement” means that certain Credit Agreement, dated as of
March 21, 2019, by and between the BSA, as borrower, and JPM, as lender, pursuant to
which JPM agreed to make revolving loans to the BSA and issue letters of credit on
behalf of the BSA in an aggregate amount not to exceed $71,500,000, the maturity date
of which was extended pursuant to that certain Consent to Extension of Maturity Date
dated as of January 16, 2020.

        15.     “2019 RCF Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2019 RCF Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2019
RCF Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to pay principal and interest, and all fees,




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costs, expenses and other obligations of any kind or character due or recoverable under
the 2019 RCF Documents.

        16.    “2019 RCF Documents” means, collectively, the 2019 RCF Agreement,
the Prepetition Security Documents (2019), the Prepetition Security Agreement (2020)
(in the case of the Prepetition Security Documents (2019) and the Prepetition Security
Agreement (2020), solely as such documents and agreements pertain to obligations under
the other 2019 RCF Documents), and all documentation executed and delivered in
connection therewith, as amended, restated, supplemented or otherwise modified from
time to time.

        17.    “Abuse” means sexual conduct or misconduct, sexual abuse or
molestation, sexual exploitation, indecent assault or battery, rape, pedophilia,
ephebophilia, sexually related psychological or emotional harm, humiliation, anguish,
shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual
misconduct or injury, contacts or interactions of a sexual nature, including the use of
photography, video, or digital media, or other physical abuse or bullying or harassment
without regard to whether such physical abuse or bullying is of a sexual nature, between a
child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved
explicit force, whether such activity involved genital or other physical contact, and
whether there is or was any associated physical, psychological, or emotional harm to the
child or non-consenting adult.

        18.     “Abuse Claim” means a liquidated or unliquidated Claim against a
Protected Party that is attributable to, arises from, is based upon, relates to, or results
from, in whole or in part, directly, indirectly, or derivatively, Abuse that occurred prior to
the Petition Date, including any such Claim that seeks monetary damages or other relief,
under any theory of law or equity whatsoever, including vicarious liability, respondeat
superior, conspiracy, fraud, including fraud in the inducement, any negligence-based or
employment-based theory, including negligent hiring, selection, supervision, retention or
misrepresentation, any other theory based on misrepresentation, concealment, or unfair
practice, public or private nuisance, or any other theory, including any theory based on
public policy or any act or failure to act by a Protected Party or any other Person for
whom any Protected Party is alleged to be responsible. Notwithstanding the foregoing,
with respect to any Contributing Chartered Organization, the term “Abuse Claim” shall
be limited to any Claim that is attributable to, arises from, is based upon, relates to, or
results from, Abuse that occurred prior to the Petition Date and that arose in connection
with the Contributing Chartered Organization’s sponsorship of one or more Scouting
units. Abuse Claims include any Future Abuse Claims, any Indirect Abuse Claims, and
any Claim that is attributable to, arises from, is based upon, relates to, or results from,
Abuse regardless of whether, as of the Petition Date, such Claim is barred by any
applicable statute of limitations.

        19.   “Abuse Claims Settlement” has the meaning ascribed to such term in
Article V..R.



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       20.     “Accrued Professional Fees” means, as of any date, and regardless of
whether such amounts are billed or unbilled, all of a Professional’s accrued fees and
reimbursable expenses for services rendered in the Chapter 11 Cases up to and including
such date, whether or not such Professional has then filed an application for the
Allowance and payment of such fees and expenses: (a) to the extent that any such fees
and expenses have not been previously paid; and (b) after each Professional has applied
to such accrued fees and expenses the balance of any retainer that has been provided by
the Debtors to such Professional. No amount of a Professional’s fees or expenses denied
by a Final Order of the Bankruptcy Court shall constitute Accrued Professional Fees.

       21.    “Ad Hoc Committee” means the Ad Hoc Committee of Local Councils of
the Boy Scouts of America.

        22.    “Administrative Expense Claim” means any right to payment from the
Debtors that constitutes a cost or expense of administration incurred during the Chapter
11 Cases of the kind specified under 503(b) of the Bankruptcy Code and entitled to
priority under sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses of preserving the Estates or
continuing the operations of the Debtors incurred during the period from the Petition
Date to the Effective Date; (b) Professional Fee Claims; and (c) Quarterly Fees.

      23.    “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code.

        24.     “Affirmation Order” means an order of the District Court affirming
Confirmation of the Plan and issuing or affirming the issuance of the Channeling
Injunction in favor of the Protected Parties.

       25.    “Allowed” has the following meanings for Non-Abuse Claims:

               a.     with respect to any Claim that is asserted to constitute an
       Administrative Expense Claim: (i) a Claim that represents an actual and necessary
       cost or expense of preserving the Estates or continuing the operations of the
       Debtors incurred during the period from the Petition Date to the Effective Date
       for which a request for payment is filed, (A) to the extent such Claim is
       determined by the Debtors to constitute an Administrative Expense Claim or
       allowed by a Final Order of the Bankruptcy Court or (B) as to which no objection
       to allowance has been interposed and not withdrawn within the applicable period
       fixed by the Plan or applicable law; (ii) other than with respect to a Professional
       Fee Claim, a Claim that arises during the period from the Petition Date to the
       Effective Date for which a request for payment is filed that is Disputed by the
       Debtors, which Claim is allowed in whole or in part by a Final Order of the
       Bankruptcy Court to the extent that such allowed portion is determined by a Final
       Order to constitute a cost or expense of administration under sections 503(b) and
       507(a)(1) of the Bankruptcy Code; (iii) a Claim that arises during the period from
       the Petition Date to the Effective Date in the ordinary course of the Debtors’ non-
       profit operations that is determined by the Debtors to constitute an Administrative


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       Expense Claim; or (iv) a Professional Fee Claim, to the extent allowed by a Final
       Order of the Bankruptcy Court;

              b.     with respect to any 2010 Credit Facility Claim, 2019 RCF Claim,
       2010 Bond Claim, or 2012 Bond Claim, any such Claim that is expressly allowed
       as provided under Article III; and

                c.      with respect to any Priority Tax Claim, Other Priority Claim, Other
       Secured Claim, Convenience Claim, General Unsecured Claim, Non-Abuse
       Litigation Claim, or any portion of any of the foregoing, a Claim that is: (i) listed
       in the Schedules as not being disputed, contingent or unliquidated and with
       respect to which no contrary or superseding Proof of Claim has been filed, and
       that has not been paid pursuant to an order of this Court prior to the Effective
       Date; (ii) evidenced by a Proof of Claim filed on or before the applicable Bar
       Date, not listed in the Schedules as disputed, contingent or unliquidated, and as to
       which no objection has been filed on or before the Claims Objection Deadline;
       (iii) not the subject of an objection to Allowance, which Claim (A) was filed on or
       before the Claims Objection Deadline and (B) has not been settled, waived,
       withdrawn or Disallowed pursuant to a Final Order; or (iv) expressly Allowed
       (x) pursuant to a Final Order, (y) pursuant to an agreement between the holder of
       such Claim and the Debtors or Reorganized BSA, as applicable, or (z) pursuant to
       the terms of the Plan. For the avoidance of doubt, a Claim evidenced by a Proof
       of Claim filed after the applicable Bar Date shall not be Allowed for any purposes
       whatsoever absent entry of a Final Order expressly Allowing such late-filed
       Claim.

       “Allowance” and “Allowing” have correlative meanings.

      26.     “Amended BSA Bylaws” means the amended and restated bylaws of the
BSA, substantially in the form contained in the Plan Supplement.

       27.    “Arrow” means Arrow WV, Inc., a West Virginia non-profit corporation.

       28.    “Arrow Collateral Assignment” means that certain Collateral Assignment
of Promissory Note and Credit Line Deed of Trust, dated as of March 21, 2019, by and
between the BSA, as assignor, and JPM, as lender, pursuant to which BSA assigned the
Arrow Intercompany Note and Arrow Deed of Trust to JPM to secure the obligations
under the 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond
Documents, and the 2012 Bond Documents.

       29.    “Arrow Deed of Trust” means that certain Credit Line Deed of Trust,
dated as of June 30, 2010, made and executed by Arrow, as grantor, to Leslie Miller-
Stover, as trustee, for the benefit of the BSA, as amended by that certain First
Amendment to Credit Line Deed of Trust, dated as of March 21, 2019.

       30.    “Arrow Intercompany Note” means that certain Amended and Restated
Promissory Note dated as of March 21, 2019, issued by Arrow to the BSA in an original
principal amount of $350,000,000.


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       31.    “Artwork” means the artwork listed on Schedule 1.

        32.    “Assumed Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be assumed by the BSA under the Plan
and the Cure Amount for each such Executory Contract or Unexpired Lease, as set forth
in the Plan Supplement, as may be amended, modified, or supplemented from time to
time in accordance with the terms hereof.

        33.     “Avoidance Actions” means any and all actual or potential avoidance,
recovery, subordination or other Claims, causes of action or remedies that may be
brought by or on behalf of the Debtors or their Estates or other authorized parties in
interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action or remedies under sections 502, 510, 542, 544, 545, 547 through 553,
and 724(a) of the Bankruptcy Code, or under similar or related local, state, federal, or
foreign statutes or common law, including preference and fraudulent transfer and
conveyance laws, in each case whether or not litigation to prosecute such Claim(s),
Cause(s) of Action or remedy(ies) were commenced prior to the Effective Date.

       34.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date, together with all amendments,
modifications, and replacements of the foregoing that are made retroactive to the Petition
Date, as the same may exist on any relevant date to the extent applicable to the
Chapter 11 Cases.

        35.     “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

       36.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under 28 U.S.C. § 2075, as applicable
to the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy
Court, each as amended from time to time.

       37.    “Bar Date” means (a) November 16, 2020 for any Claim (other than an
Administrative Expense Claim or a Claim of a Governmental Unit), or (b) August 17,
2020 for any Claim of a Governmental Unit, in each case as established by the Bar Date
Order.

        38.    “Bar Date Order” means the Order, Pursuant to 11 U.S.C. §§ 502(b)(9),
Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1,
(I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and
Manner of Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Survivors, and (IV) Approving Confidentiality
Procedures for Abuse Survivors, entered by the Bankruptcy Court on May 26, 2020 at
Docket No. 695, as amended, modified or supplemented by order of the Bankruptcy
Court from time to time.




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       39.      “Bond Issuer” means The County Commission of Fayette County (West
Virginia) in its capacity as the issuer under the 2010 Bond Agreement and the 2012 Bond
Agreement.

        40.     “BSA” means Boy Scouts of America, a congressionally chartered non-
profit corporation under title 36 of the United States Code.

       41.     “BSA Charter” means the congressional charter of the BSA, enacted on
June 15, 1916, as amended.

       42.      “BSA Insurance Policy” means any and all known and unknown contracts,
binders, certificates or insurance policies currently or previously in effect at any time on
or before the Effective Date naming the Debtors, or either of them, or any predecessor,
subsidiary, or past or present Affiliate of the Debtors, as an insured (whether as the
primary or an additional insured), or otherwise alleged to afford the Debtors insurance
coverage, upon which any claim could have been, has been, or may be made with respect
to any Abuse Claim, including the policies listed on Schedule 2. For the avoidance of
doubt, BSA Insurance Policies shall not include: (a) any policy providing reinsurance to
any Settling Insurance Company; (b) any D&O Liability Insurance Policy; or (c) any
Local Council Insurance Policy.

       43.     “BSA Settlement Trust Contribution” means:

               a.     all of the Net Unrestricted Cash and Investments;

                b.    the BSA’s right, title and interest in and to (i) Scouting University,
       (ii) the Artwork, and (iii) the Oil and Gas Interests;

               c.     all of the BSA’s right, title and interest in and to the Warehouse
       and Distribution Center, subject to the Leaseback Requirement, or the proceeds of
       a third-party sale-leaseback of the Warehouse and Distribution Center for fair
       market value;

              d.      to the maximum extent permitted by applicable law, any and all of
       the Debtors’ rights, titles, privileges, interests, claims, demands or entitlements, as
       of the Effective Date, to any proceeds, payments, benefits, Causes of Action,
       choses in action, defense, or indemnity, now existing or hereafter arising, accrued
       or unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
       undisputed, fixed or contingent, arising under or attributable to: (i) the BSA
       Insurance Policies (subject to Article IV.D.3 and Article IV.D.4 with respect to
       Insured Non-Abuse Claims), the Insurance Coverage, the Insurance Settlement
       Agreements, and claims thereunder and proceeds thereof; (ii) the Insurance
       Actions; and (iii) the Insurance Action Recoveries; and

               e.     the Settlement Trust Causes of Action; and

              f.     the assignment of any and all Perpetrator Indemnification Claims
       held by the BSA.


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For the avoidance of doubt, the BSA Settlement Trust Contribution shall not include the
proceeds of the Foundation Loan Facility.

       44.     “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” as such term is defined in Bankruptcy Rule 9006(a).

       45.     “Cash” means legal tender of the United States of America.

       46.     “Cash Collateral Order” means the Final Order (I) Authorizing the
Debtors to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363; (II) Granting Adequate
Protection to the Prepetition Secured Party Pursuant to 11 U.S.C. §§ 105(a), 361, 362,
363, 503, and 507; and (III) Granting Related Relief, entered by the Bankruptcy Court on
April 15, 2020 at Docket No. 433.

        47.      “Causes of Action” means any claims, interests, damages, remedies,
causes of action, demands, rights, actions (including Avoidance Actions), suits,
obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens,
indemnities, guaranties, and franchises of any kind or character whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or
non-contingent, liquidated or unliquidated, choate or inchoate, secured or unsecured,
capable of being asserted, directly or derivatively, matured or unmatured, suspected or
unsuspected, in contract, tort, law, equity, or otherwise, whether arising before, on, or
after the Petition Date. Causes of Action also include: (a) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties
imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Interests; (c) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (d) any claim under any
local, state, federal or foreign law, including, without limitation, any fraudulent transfer
or similar claim.

       48.     “Channeling Injunction” means the permanent injunction provided for in
Article X.F with respect to Abuse Claims against the Protected Parties to be issued
pursuant to the Confirmation Order.

        49.   “Chapter 11 Cases” means the cases filed by the Debtors under chapter 11
of the Bankruptcy Code, which are jointly administered under Case No. 20-10343 (LSS).

       50.     “Chartered Organizations” means each and every civic, faith-based,
educational or business organization, governmental entity or organization, other entity or
organization, or group of individual citizens presently or formerly authorized by the BSA
to operate, sponsor or otherwise support one or more Scouting units.

      51.    “Claim” means any “claim,” as defined in section 101(5) of the
Bankruptcy Code, which, for the avoidance of doubt, shall include any Abuse Claim.

      52.    “Claims Objection Deadline” means the deadline for filing an objection to
any Administrative Expense Claim (other than a Professional Fee Claim), Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General


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Unsecured Claim, or Non-Abuse Litigation Claim, which deadline shall be: (a) 180 days
after the Effective Date with respect to all such Claims and Interests other than
Convenience Claims, General Unsecured Claims, and Non-Abuse Claims, subject to any
extensions approved by an order of the Bankruptcy Court; and (b) sixty (60) days after
the Effective Date with respect to Convenience Claims, General Unsecured Claims, and
Non-Abuse Litigation Claims, subject to any extensions approved by an order of the
Bankruptcy Court with the consent of the Creditor Representative (such consent not to be
unreasonably withheld); provided, however, that the Debtors shall not be bound by the
Claims Objection Deadline with respect to any Claim filed after the Bar Date; provided
further, however, that the Claims Objection Deadline shall not apply to Abuse Claims,
which shall be administered exclusively in accordance with the Settlement Trust
Documents.

        53.    “Claims Record Date” means the Voting Deadline, which is the date on
which the transfer register for each Class of Non-Abuse Claims against or Interests in the
Debtors, as such register is maintained by the Debtors or their agents, shall be deemed
closed.

       54.    “Claims Register” means the official register of Claims maintained by the
Notice and Claims Agent in the Chapter 11 Cases.

        55.     “Class” means each category of holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       56.      “Common-Interest Communications with Insurers” means documents,
information, or communications that are subject to the attorney-client privilege, attorney-
work product doctrine, or other privilege or protection from disclosure, and are shared
between or among the Debtors and any Insurance Company or its Representatives,
including documents that reflect defense strategy, case evaluations, discussions of
settlements or resolutions, and communications regarding underlying litigation.

        57.    “Compensation and Benefits Programs” means all employment
agreements and policies, and all employment, compensation, and benefit plans, policies,
savings plans, retirement plans (including the Pension Plan), deferred compensation
plans, supplemental executive retirement plans, healthcare plans, disability plans,
severance benefit agreements, plans or policies, incentive plans, life and accidental death
and dismemberment insurance plans, and programs of the Debtors, and all amendments
and modifications thereto, applicable to the Debtors’ employees, former employees,
retirees, and non-employee directors, and the employees, retirees and non-employee
directors of the Local Councils and the Related Non-Debtor Entities. Notwithstanding
the foregoing, the Compensation and Benefits Programs shall not include the Deferred
Compensation Plan or the Restoration Plan.

       58.    “Compensation Procedures Order” means the Order (I) Approving
Procedures for (A) Interim Compensation and Reimbursement of Expenses of Retained
Professionals and (B) Expense Reimbursement for Official Committee Members and (II)




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Granting Related Relief entered by the Bankruptcy Court on April 6, 2020 at Docket No.
341.

      59.    “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court on the docket of the Chapter 11 Cases.

        60.   “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Cases within the meaning
of Bankruptcy Rules 5003 and 9021.

       61.    “Confirmation Hearing” means the hearing(s) held by the Bankruptcy
Court under section 1128 of the Bankruptcy Code at which the Debtors seek entry of the
Confirmation Order.

       62.    “Confirmation Order” means the order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code, which must be in
form and substance reasonably acceptable to the Creditors’ Committee.

       63.    “Contributing Chartered Organization Settlement Contribution” means:

              a.     the contributions to the Settlement Trust by the Contributing
       Chartered Organizations, as set forth on Exhibit A;

               b.     to the maximum extent permitted by applicable law, any and all of
       the Contributing Chartered Organizations’ rights, titles, privileges, interests,
       claims, demands or entitlements, as of the Effective Date, to any proceeds,
       payments, benefits, Causes of Action, choses in action, defense, or indemnity,
       now existing or hereafter arising, accrued or unaccrued, liquidated or
       unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent,
       arising under or attributable to: (i) the BSA Insurance Policies (subject to Article
       IV.D.3 and Article IV.D.4 with respect to Insured Non-Abuse Claims), the
       Insurance Coverage, the Insurance Settlement Agreements, and claims thereunder
       and proceeds thereof; (ii) the Insurance Actions; and (iii) the Insurance Action
       Recoveries;

               c.      the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Contributing Chartered Organization, including
       any Indirect Abuse Claims, without any further notice to or action, order, or
       approval of the Bankruptcy Court, and the agreement of each Contributing
       Chartered Organization not to file or assert any Claim or Claims against the
       Debtors or Reorganized BSA arising from any act or omission of the Debtors on
       or prior to the Confirmation Date; and

              d.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Contributing Chartered Organizations.




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       64.     “Contributing Chartered       Organizations”     means     the    Chartered
Organizations listed on Exhibit B hereto.

        65.     “Convenience Claim” means any Claim that would otherwise be a General
Unsecured Claim that is Allowed in an amount of $50,000 or less; provided that a holder
of a General Unsecured Claim that is Allowed in an amount greater than $50,000 may
irrevocably elect, as evidenced on the Ballot (as defined in the Voting Procedures) timely
and validly submitted by such holder (or other writing acceptable to the Debtors), to have
such Claim irrevocably reduced to $50,000 and treated as a Convenience Claim (upon
Allowance) for purposes of the Plan, in full and final satisfaction of such Claim; provided
further that a General Unsecured Claim may not be subdivided into multiple Convenience
Claims. The holder of an Allowed Non-Abuse Litigation Claim may elect to have such
Allowed Claim treated as a Convenience Claim solely in accordance with the terms of
Article III.B.9. For the avoidance of doubt, the holder of an Abuse Claim (including
Direct Abuse Claims and Indirect Abuse Claims) may not elect to have such Claim
treated as a Convenience Claim.

       66.     “Cooperation Agreement” means that certain Cooperation Agreement,
substantially in the form contained in the Plan Supplement, among the Debtors, the
Settlement Trust, the Local Councils, and the Contributing Chartered Organizations.

       67.    “Core Value Cash Pool” means Cash in the aggregate amount of
$25,000,000 for purposes of making Distributions to holders of Allowed General
Unsecured Claims and, subject to the terms of Article III.B.9, holders of Allowed Non-
Abuse Litigation Claims. Reorganized BSA shall fund the Core Value Cash Pool in
accordance with Article V.O.

       68.    “Creditor Representative” means the creditor representative to be
appointed as of the Effective Date in accordance with Article V.O. The Creditor
Representative will be identified in the Plan Supplement.

       69.     “Creditor Representative Fee Cap” the maximum amount of reasonable
compensation and reimbursement of expenses that shall payable by Reorganized BSA to
the Creditor Representative on account of its services, which shall be equal to $100,000.

        70.    “Creditors’ Committee” means the official committee of unsecured
creditors appointed by the United States Trustee in the Chapter 11 Cases under section
1102(a) of the Bankruptcy Code.

        71.   “Cure Amount” means, with respect to any Executory Contract or
Unexpired Lease sought to be assumed or assumed and assigned by the Debtors, the
monetary amount, if any, required to cure the Debtors’ defaults under any such Executory
Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the non-
Debtor party to an Executory Contract or Unexpired Lease) at the time such Executory
Contract or Unexpired Lease is assumed by the Debtors pursuant to sections 365 or 1123
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        72.    “Cure and Assumption Notice” means the notice of proposed assumption
of, and proposed Cure Amount payable in connection with, an Executory Contract or
Unexpired Lease (and, to the extent the Debtors seek to assume and assign any such
Executory Contract or Unexpired Lease pursuant to the Plan, adequate assurance of
future performance within the meaning of section 365 of the Bankruptcy Code), to be
served in accordance with Article VI.C.

        73.     “D&O Liability Insurance Policies” means all insurance policies issued at
any time to any of the Debtors for directors’, managers’, and officers’ liability (including
any “tail policy” or run-off coverage) and all agreements, documents, or instruments
relating thereto.

        74.     “De Minimis Assets” means any miscellaneous assets of de minimis value
located at the premises subject to any Unexpired Leases rejected by the Debtors pursuant
to sections 365 or 1123 of the Bankruptcy Code, including furniture and equipment.

        75.     “Debtors” means the BSA and Delaware BSA, the non-profit corporations
that are debtors and debtors in possession in the Chapter 11 Cases.

        76.    “Deferred Compensation Plan” means the Boy Scouts of America 457(b)
Plan, a non-qualified deferred compensation plan under section 457(b) of the Internal
Revenue Code, which allows eligible BSA and Local Council employees to make
elections to defer the payment of a certain amount or percentage of their regular base
salary or bonus for future payment.

      77.      “Delaware BSA” means Delaware BSA, LLC, a Delaware limited liability
company.

         78.   “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse
Claim.

        79.     “Disallowed” means, as to any Administrative Expense Claim, Priority
Tax Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim or portion thereof
that: (a) has been disallowed, denied, dismissed, expunged, or overruled pursuant to the
terms of the Plan or a Final Order of the Bankruptcy Court or any other court of
competent jurisdiction or by a settlement; (b) has been listed on the Schedules at an
amount of $0.00 or as contingent, disputed, or unliquidated and as to which a Bar Date
has been established but no Proof of Claim has been timely filed or deemed timely filed
with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of
the Bankruptcy Court, including the Bar Date Order, or otherwise deemed timely filed
under applicable law; or (c) has not been listed on the Schedules and as to which a Bar
Date has been established but no Proof of Claim has been timely filed or deemed timely
filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final
Order of the Bankruptcy Court, including the Bar Date Order, or otherwise deemed
timely filed under applicable law. “Disallowance” and “Disallowing” have correlative
meanings. With respect to any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond



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Claim, 2012 Bond Claim, Direct Abuse Claim, Indirect Abuse Claim, or Interest, the
term “Disallowed” shall not apply.

       80.   “Disbursing Agent” means, with respect to all Claims other than Abuse
Claims, Reorganized BSA or a Person or Persons selected by the Debtors or Reorganized
BSA to make or facilitate Distributions contemplated under the Plan.

       81.    “Discharge Injunction” means the injunction issued in accordance with
sections 524 and 1141 of the Bankruptcy Code and contained in Article X.E.2 of the
Plan.

       82.    “Discharges” means the discharges set forth in Article X.E.

        83.    “Disclosure Statement” means the disclosure statement for the Plan,
including all exhibits and schedules thereto, as the same may be amended, supplemented
or otherwise modified from time to time, as approved by the Bankruptcy Court pursuant
to section 1125 of the Bankruptcy Code, which must be in form and substance reasonably
acceptable to the Creditors’ Committee.

        84.    “Disclosure Statement Order” means one or more orders entered by the
Bankruptcy Court, in form and substance reasonably acceptable to the Creditors’
Committee: (a) finding that the Disclosure Statement (including any amendment,
supplement, or modification thereto) contains adequate information pursuant to section
1125 of the Bankruptcy Code; (b) fixing the amounts of Claims solely for voting
purposes and not for purposes of distributions; (c) approving the Voting Procedures; and
(d) authorizing solicitation of the Plan.

        85.     “Disputed” means, as to any Administrative Expense Claim, Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim (or portion thereof)
(a) that is neither Allowed nor Disallowed, (b) that is listed on the Schedules as
“disputed,” “contingent,” or “unliquidated” or (c) for which a Proof of Claim has been
filed or a written request for payment has been made to the extent that any party in
interest has interposed a timely objection to such Claim, which objection has not been
withdrawn or adjudicated pursuant to a Final Order. The term “Disputed” does not apply
to Abuse Claims.

      86.     “Disputed Claims Reserve” means the reserve of Cash within the Core
Value Cash Pool to be Distributed to holders of Disputed General Unsecured Claims, if
and when such Disputed Claims become Allowed.

        87.     “Distribution” means the payment or delivery of Cash, property, or
interests in property, as applicable, to holders of Allowed Non-Abuse Claims under the
terms of the Plan. “Distributed” and “Distribution” have correlative meanings.

        88.     “Distribution Date” means the dates on which the Disbursing Agent
makes a Distribution, or causes a Distribution to be made, from the Core Value Cash
Pool to holders of Allowed General Unsecured Claims and, subject to the terms of Article


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III.B.9, holders of Allowed Non-Abuse Litigation Claims. Each Distribution Date shall
occur as soon as practicable after Reorganized BSA makes each semi-annual installment
payment of the Core Value Cash Pool in accordance with Article V.O.

      89.      “District Court” means the United States District Court for the District of
Delaware.

        90.    “Effective Date” means the first Business Day on which all of the
conditions precedent to the occurrence of the Effective Date set forth in Article IX.B
shall have been satisfied or waived pursuant to Article IX.C.

        91.     “Encumbrance” means, with respect to any property (whether real or
personal, tangible or intangible), any mortgage, Lien, pledge, charge, security interest,
assignment, or encumbrance of any kind or nature in respect of such property, including
any conditional sale or other title retention agreement, any security agreement, and the
filing of, or agreement to give, any financing statement under the Uniform Commercial
Code or comparable law of any jurisdiction, to secure payment of a debt or performance
of an obligation.

        92.    “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.

       93.   “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case under sections 301 and 541 of the Bankruptcy Code upon the
commencement of the applicable Debtor’s Chapter 11 Case.

        94.    “Estate Causes of Action” means any and all Causes of Action owned,
held, or capable of being asserted by or on behalf of either Debtor or its Estate, whether
known or unknown, in law, at equity or otherwise, whenever and wherever arising under
the laws of any jurisdiction, including actions that: (a) arise out of or are based on breach
of contract, fraudulent conveyances and transfers, breach of fiduciary duty, breach of
duty of loyalty or obedience, legal malpractice, recovery of attorneys’ fees, turnover of
property and avoidance or recovery actions of the Debtors or their respective Estates,
including actions that constitute property of the Estate under section 541 of the
Bankruptcy Code that are or may be pursued by a representative of the Estates, including
pursuant to section 323 of the Bankruptcy Code, and actions, including Avoidance
Actions, that may be commenced by a representative of the Estates under section 362 or
chapter 5 of the Bankruptcy Code, seeking relief in the form of damages (actual and
punitive), imposition of a constructive trust, turnover of property, restitution, and
declaratory relief with respect thereto or otherwise; or (b) seek to impose any liability
upon, or injunctive relief on, any Protected Party or to satisfy, in whole or in part, any
Abuse Claim.

        95.     “Excess Cash and Investments” means, as of any date on or after the
Effective Date, the unrestricted Cash and balance sheet investments owned by
Reorganized BSA that are not subject to legally enforceable restrictions on the use or
disposition of such assets for a particular purpose.



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       96.     “Excess Cash Sweep” has the meaning ascribed to such term in Article
V.T.

         97.    “Exculpated Parties” means, collectively, the following Persons: (a) the
Debtors; (b) Reorganized BSA; (c) the Creditors’ Committee; (d) the members of the
Creditors’ Committee in their capacities as such; (e) the Creditor Representative; and
(f) all of such Persons’ current officers and directors, former officers and directors who
served in such capacity during the pendency of the Chapter 11 Cases but are no longer
officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
financial advisors, accountants, investment bankers, consultants, representatives, and
other professionals.

       98.    “Executory Contract” means any executory contract to which BSA is a
party that is subject to assumption or rejection under sections 365 or 1123 of the
Bankruptcy Code.

       99.     “Fee Examiner” means Justin H. Rucki of Rucki Fee Review, LLC, in his
capacity as the fee examiner appointed pursuant to the Order Appointing Fee Examiner
and Establishing Related Procedures for the Review of Applications of Retained
Professionals, entered by the Bankruptcy Court on September 18, 2020 at Docket No.
1342, or any successor appointed by the Bankruptcy Court.

         100. “Final Order” means an order or judgment of the Bankruptcy Court (or
other court of competent jurisdiction) that has not been reversed, vacated, stayed,
modified or amended, and as to which (a) the time to appeal, petition for certiorari or
move for a new trial, reargument or rehearing has expired and as to which no appeal,
petition for certiorari or other proceedings for a new trial, reargument or rehearing shall
then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing
thereof has been sought, such order or judgment of the Bankruptcy Court (or other court
of competent jurisdiction) shall have been affirmed by the highest court to which such
order was appealed, or certiorari shall have been denied or a new trial, reargument or
rehearing shall have been denied with prejudice or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new
trial, reargument or rehearing shall have expired; provided, however, that the possibility
that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59
or Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed with respect to such order shall not cause such order to
not be a Final Order.

       101. “Florida Sea Base Assignment” means the Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010
Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019
RCF Agreement.

      102. “Florida Sea Base Mortgage” means the Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and


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from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement, and the 2019 RCF Agreement.

        103. “Foundation” means the National Boy Scouts of America Foundation, a
District of Columbia nonprofit corporation.

        104. “Foundation Loan” means the new second-lien term loan lending facility
pursuant to which the Foundation, as lender, shall make a term loan to Reorganized BSA,
as borrower, in the principal amount of $42,800,000, which is equal to the appraised
value of the Summit Bechtel Reserve. The material terms of the Foundation Loan are set
forth on the term sheet attached hereto as Exhibit C, which is qualified in its entirety by
reference to the Foundation Loan Agreement.

       105. “Foundation Loan Agreement” means the credit agreement governing the
Foundation Loan, dated as of the Effective Date, the form of which shall be included in
the Plan Supplement.

        106. “Future Abuse Claim” means any Direct Abuse Claim against any
Protected Party that is attributable to, arises from, is based upon, relates to, or results
from, in whole or in part, directly, indirectly, or derivatively, Abuse that occurred prior to
the Petition Date but which, as of the date immediately preceding the Petition Date, was
held by a Person who, as of such date, (a) had not attained eighteen (18) years of age, or
(b) was not aware of such Direct Abuse Claim as a result of “repressed memory,” to the
extent the concept of repressed memory is recognized by the highest appellate court of
the state or territory where the claim arose. Notwithstanding the foregoing, with respect
to any Contributing Chartered Organization, the term “Future Abuse Claim” shall be
limited to any Direct Abuse Claim that arose in connection with the Contributing
Chartered Organization’s sponsorship of one or more Scouting units.

       107. “Future Claimants’ Representative” means James L. Patton, Jr., the legal
representative appointed by the Bankruptcy Court for holders of Future Abuse Claims, or
any successor legal representative appointed by the Bankruptcy Court.

       108. “General Unsecured Claim” means any Claim against the Debtors that is
not an Administrative Expense Claim, a Priority Tax Claim, an Other Priority Claim, an
Other Secured Claim, a 2010 Credit Facility Claim, a 2019 RCF Claim, a 2010 Bond
Claim, a 2012 Bond Claim, a Convenience Claim, a Non-Abuse Litigation Claim, a
Direct Abuse Claim, or an Indirect Abuse Claim. Claims arising under the Deferred
Compensation Plan or the Restoration Plan shall be deemed to be General Unsecured
Claims.

        109. “Gift Annuity Agreements” mean the charitable gift annuity agreements
described in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and
(II) Granting Related Relief, filed by the Debtors on the Petition Date at Docket No. 8.



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       110. “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.

       111. “Headquarters” means that certain parcel of real property owned by the
BSA located at 1325 West Walnut Hill Lane, Irving, Texas 75038, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

       112. “Headquarters Assignment” means that certain Assignment of
Agreements, Licenses, Permits and Contracts, dated as of March 21, 2019, by and from
the BSA, as assignor, and JPM, as assignee, which secures the BSA’s obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and
the 2019 RCF Agreement.

       113. “Headquarters Deed of Trust” means that certain Deed of Trust, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and between the BSA and JPM.

      114. “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code.

       115.      “Indemnification Obligations” means each of the Debtors’
indemnification obligations in place as of the Effective Date, whether in the bylaws,
limited liability company agreements, or other organizational or formation documents,
board resolutions, management or indemnification agreements, employment or other
contracts, or otherwise, for the past and present directors, officers, employees, attorneys,
accountants, investment bankers, and other professionals and agents who provided
services to the Debtors before, on, or after the Petition Date.

       116. “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim
for contribution, indemnity, reimbursement, or subrogation, whether contractual or
implied by law (as those terms are defined by the applicable non-bankruptcy law of the
relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever,
whether in the nature of or sounding in contract, tort, warranty or any other theory of law
or equity whatsoever, including any indemnification, reimbursement, hold-harmless or
other payment obligation provided for under any prepetition settlement, insurance policy,
program agreement or contract.

       117. “Injunctions” means the Discharge Injunction, the Channeling Injunction,
the Insurance Entity Injunction, the Release Injunctions, and any other injunctions
entered by the Bankruptcy Court or the District Court in connection with Confirmation of
the Plan.

       118. “Insurance Action” means any claim, Cause of Action, or right of the
Debtors, the Local Councils, the Contributing Chartered Organizations, or any of them,
under the laws of any jurisdiction, against any Non-Settling Insurance Company, arising
from or related to: (a) any such Non-Settling Insurance Company’s failure to provide
coverage or otherwise pay under Insurance Coverage; (b) the refusal of any Non-Settling


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Insurance Company to compromise and settle any Abuse Claim under or pursuant to any
Insurance Policy; (c) the interpretation or enforcement of the terms of any Insurance
Policy with respect to any Abuse Claim; (d) any conduct by any Non-Settling Insurance
Company constituting “bad faith” conduct that could give rise to extra-contractual
damages, or other wrongful conduct under applicable law; or (e) any other claims under,
arising out of or relating to an Insurance Policy or Insurance Coverage, including the
Insurance Coverage Actions.

       119. “Insurance Action Recoveries” means (a) Cash derived from and paid by
an Insurance Company pursuant to an Insurance Settlement Agreement, (b) the right to
receive proceeds of Insurance Coverage (including any receivables), and (c) the right to
receive the proceeds or benefits of any Insurance Action.

        120. “Insurance Assignment” means the assignment and transfer to the
Settlement Trust of (a) the Insurance Actions, (b) the Insurance Action Recoveries,
(c) the Insurance Settlement Agreements, (d) the Insurance Coverage, and (e) all other
rights or obligations under or with respect to the Insurance Policies (but not the policies
themselves). The Insurance Assignment does not include any rights or obligations under
or with respect to any Insurance Policies that are the subject of an Insurance Settlement
Agreement.

       121. “Insurance Company” means any insurance company, insurance
syndicate, coverholder, insurance broker or syndicate insurance broker, guaranty
association, or any other Entity that has issued, or that has any actual, potential,
demonstrated, or alleged liabilities, duties, or obligations under or with respect to, any
Insurance Policy.

       122. “Insurance Coverage” means all of the rights, benefits or insurance
coverage under any Insurance Policy related to Abuse Claims, whether known or
unknown to the Debtors or the Local Councils, that is not the subject of an Insurance
Settlement Agreement, including the right to payment or reimbursement of liability,
indemnity or defense costs arising from or related to Abuse Claims or Settlement Trust
Expenses.

         123. “Insurance Coverage Actions” means any and all pending coverage
litigation between the BSA and any Insurance Company as of the Effective Date,
including: (a) Boy Scouts of America, et al. v. Insurance Company of North America et
al., Case No. DC-18-11896, pending in the 192nd Judicial District Court of Dallas
County, Texas; (b) Boy Scouts of America, et al. v. Hartford Accident and Indemnity Co.,
et al., Case No. DC-18-07313, pending in the District Court of Dallas County, 95th
Judicial District; (c) National Surety Corp. v. Boy Scouts of America, et al., Case No.
2017-CH-14975, pending in the Circuit Court of Cook County, Illinois, Chancery
Division; and (d) Hartford Accident and Indemnity Co. and First State Ins. Co. v. Boy
Scouts of America, et al., Adv. Pro. No. 20-50601 (LSS), pending before the Bankruptcy
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        124. “Insurance Coverage Defense” means all rights and defenses that any
Insurance Company may have under any Insurance Policy and applicable law with
respect to a claim seeking insurance coverage or to an Insurance Action, but Insurance
Coverage Defenses do not include any defense that the Plan or any of the other Plan
Documents do not comply with the Bankruptcy Code. Upon entry of the Confirmation
Order in the Chapter 11 Cases determining that the Bankruptcy Code authorizes the
Insurance Assignment notwithstanding any terms or provisions of the Insurance Policies
that any Insurance Company asserts or may assert otherwise prohibits the Insurance
Assignment, an Insurance Coverage Defense shall not include any defense that the
Insurance Assignment is prohibited by the Insurance Policies or applicable non-
bankruptcy law.

       125.   “Insurance Entity Injunction” means the injunction described in Article
X.H.

       126. “Insurance Policy” means, collectively, the BSA Insurance Policies and
the Local Council Insurance Policies.

        127. “Insurance Settlement Agreement” means any settlement agreement
entered into after the Petition Date and before the Confirmation Date by and among
(a) any Insurance Company, on the one hand, and (b) one or more of the Debtors and/or
any other Protected Party, on the other hand, in which an Insurance Policy and/or the
Debtors and/or other Protected Parties’ rights thereunder with respect to Abuse Claims
are released. All Insurance Settlement Agreements related to Specified Insurance
Policies must be acceptable to the Creditors’ Committee.

       128.    “Insured Non-Abuse Claim” means any Non-Abuse Claim to the extent
such Claim is or is alleged to be covered by an insurance policy (including any Insurance
Policy) issued or allegedly issued to the Debtors or one or more of the Local Councils.
Insured Non-Abuse Claims include Non-Abuse Litigation Claims.

      129. “Interest” means any “equity security” as defined in section 101(16) of the
Bankruptcy Code.

        130. “Internal Revenue Code” means title 26 of the United States Code, 26
U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all amendments,
modifications, and replacements of the foregoing as the same may exist on any relevant
date to the extent applicable to the Chapter 11 Cases.

       131.    “JPM” means JPMorgan Chase Bank, National Association and any
successors and assigns.

        132. “JPM / Creditors’ Committee Settlement” has the meaning ascribed to
such term in Article V..R.

        133. “JPM Exit Fee” means an exit fee to be paid by Reorganized BSA on the
Effective Date, in an amount equal to the aggregate principal amount due and owing as of
the Effective Date, plus the undrawn amount of any letters of credit then outstanding,


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under the Restated 2010 Bond Documents, the Restated 2012 Bond Documents and the
Restated Credit Facility Documents, multiplied by 0.50%.

        134. “Leaseback Requirement” means the requirement that Reorganized BSA
be entitled to lease the Warehouse and Distribution Center from the Settlement Trust for
fair market value so long as the Settlement Trust holds title to such premises and that any
sale or other transfer of the Warehouse and Distribution Center by the Settlement Trust
be subject to Reorganized BSA’s right to lease such premises from any Person that
acquires the Warehouse and Distribution Center from the Settlement Trust (or any
subsequent acquirer) for fair market value for a term of not less than ten years, subject to
renewal at the option of Reorganized BSA. An agreement reflecting the terms of the
Leaseback Requirement shall be filed with the Plan Supplement.

        135.   “Lien” means any “lien” as defined in section 101(37) of the Bankruptcy
Code.

        136. “Life-Income Agreement” means the agreements described in the
Supplement to Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and
(II) Granting Related Relief, filed by the Debtors on March 3, 2020 at Docket No. 134.

        137. “Local Council Insurance Policies” means any and all known and
unknown contracts, binders, certificates or insurance policies currently or previously in
effect at any time on or before the Effective Date naming the Local Councils, or any of
them, or any predecessor, subsidiary, or past or present Affiliate of any Local Council, as
an insured (whether as the primary or an additional insured), or otherwise alleged to
afford any Local Council insurance coverage, upon which any claim could have been, has
been or may be made with respect to any Abuse Claim, including the policies identified
on Schedule 3. Notwithstanding the foregoing, Local Council Insurance Policies shall
not include any policy providing reinsurance to any Settling Insurance Company. For the
avoidance of doubt, Local Council Insurance Policies do not include any BSA Insurance
Policy or any insurance policy issued at any time to any of the Local Councils for
directors’, managers’, and officers’ liability (including any “tail policy” or run-off
coverage) or any agreements, documents, or instruments relating thereto.

        138.   “Local Council Settlement Contribution” means:

                a.      the contributions to the Settlement Trust by the Local Councils, as
        set forth on Exhibit D;

                b.     to the maximum extent permitted under applicable law, any and all
        of the Local Councils’ rights, titles, privileges, interests, claims, demands or
        entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
        of Action, choses in action, defense, or indemnity, now existing or hereafter
        arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
        disputed or undisputed, fixed or contingent, arising under or attributable to: (i) the



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       BSA Insurance Policies (subject to Article IV.D.3 and Article IV.D.4 with respect
       to Insured Non-Abuse Claims), the Insurance Coverage, the Insurance Settlement
       Agreements, and claims thereunder and proceeds thereof (but not the policies
       themselves); (ii) the Insurance Actions; and (iii) the Insurance Action Recoveries;

                c.     to the maximum extent permitted under applicable law, any and all
       of the Local Councils’ rights, titles, privileges, interests, claims, demands or
       entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
       of Action, choses in action, defense, or indemnity, now existing or hereafter
       arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
       disputed or undisputed, fixed or contingent, arising under or attributable to: (i) the
       Local Council Insurance Policies (subject to Article IV.D.3 and Article IV.D.4
       with respect to Insured Non-Abuse Claims), the Insurance Coverage, the
       Insurance Settlement Agreements, and claims thereunder and proceeds thereof;
       (ii) the Insurance Actions; and (iii) the Insurance Action Recoveries;

               d.     the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Local Council, including any Indirect Abuse
       Claims, without any further notice to or action, order, or approval of the
       Bankruptcy Court, and the agreement of each Local Council not to file or assert
       any Claim or Claims against the Debtors or Reorganized BSA arising from any
       act or omission of the Debtors on or prior to the Confirmation Date; and

              e.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Local Councils.

        139. “Local Councils” means, collectively, each and every current or former
local council of the BSA, including each and every current local council of the BSA as
listed on Exhibit E hereto.

        140. “Net Unrestricted Cash and Investments” means all of the Unrestricted
Cash and Investments, after Reorganized BSA has received the proceeds of the
Foundation Loan, less (i) $75,000,000, which shall be funded first from the proceeds of
the Foundation Loan, (ii) an amount of Cash equal to the JPM Exit Fee, (iii) an amount of
Cash sufficient to fund all unpaid Allowed Administrative Expense Claims, (iv) without
duplication, an amount of Cash sufficient to fund the Professional Fee Reserve, (v) an
amount of Cash equal to the Creditor Representative Fee Cap, and (vi) the amount of
Cash estimated to be required to satisfy Allowed Priority Tax Claims, Allowed Other
Priority Claims, Allowed Secured Claims, and Allowed Convenience Claims.

      141. “Non-Abuse Claim” means any Claim against the Debtors that is not a
Abuse Claim.

         142. “Non-Abuse Litigation Claim” means any Claim that is a prepetition
unsecured non-priority Claim against the Debtors relating to pending or threatened
litigation against one or both of the Debtors that does not relate to Abuse. For the



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avoidance of doubt, Non-Abuse Litigation Claims include all personal injury or wrongful
death Claims against the Debtors that do not relate to Abuse and all Claims against the
Debtors asserted by the Girl Scouts of the United States of America and do not include
any Administrative Expense Claims that may be asserted by holders of Non-Abuse
Litigation Claims.

        143. “Non-Settling Insurance Company” means any Insurance Company to the
extent it is not a Settling Insurance Company.

       144. “Northern Tier Assignment” means that certain Assignment of
Agreements, Licenses, Permits and Contracts, dated as of March 21, 2019, by and from
the BSA, as assignor, and JPM, as assignee, which secures the BSA’s obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and
the 2019 RCF Agreement.

       145. “Northern Tier Mortgage” means that certain Mortgage, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and from the BSA, as mortgagor, and JPM, as mortgagee, which secures the
BSA’s obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the
2012 Bond Agreement, and the 2019 RCF Agreement.

        146. “Notice and Claims Agent” means Omni Agent Solutions, in its capacity
as “claims and noticing agent” for the Debtors, and any successor thereto.

       147. “Official Committees” means the Tort Claimants’ Committee and the
Creditors’ Committee.

      148. “Oil and Gas Interests” means those certain mineral or royalty interests
owned by the BSA, consisting of approximately 1,027 properties located in Alabama,
Arkansas, California, Florida, Georgia, Illinois, Louisiana, Michigan, Mississippi,
Nebraska, New Mexico, North Dakota, Oklahoma, Oregon, Texas, South Dakota and
Wyoming. The Oil and Gas Interests include those listed on Schedule 4.

        149. “Other Priority Claim” means any Claim against the Debtors that is
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code,
other than an Administrative Expense Claim or a Priority Tax Claim.

        150. “Other Secured Claim” means any Secured Claim against the Debtors
other than any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, or 2012
Bond Claim.

      151. “Pension Plan” means the Boy Scouts of America Retirement Plan for
Employees, a single-employer, qualified, defined benefit pension plan that is subject to
the Employee Retirement Income Security Act of 1974, as amended, and the Internal
Revenue Code, of which BSA is the sponsor.

       152. “Perpetrator” means any individual who personally committed or is
alleged to have personally committed an act of Abuse that forms the basis for an Abuse


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Claim. The term “Perpetrator” does not include any individual who did not personally
commit or is not alleged to have personally committed an act of Abuse that forms the
basis for an Abuse Claim, against whom an Abuse Claim is nevertheless asserted, or may
be asserted, by virtue of such individual’s position or service as an employee or volunteer
of the Debtors, a Local Council, or a Chartered Organization.

        153. “Perpetrator Indemnification Claim” means a Claim against a Perpetrator
for indemnification or contribution arising from or relating to an Abuse Claim.

         154.   “Person” has the meaning set forth in section 101(41) of the Bankruptcy
Code.”

         155.   “Petition Date” means February 18, 2020.

       156. “Philmont Assignment” means that certain Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010
Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019
RCF Agreement.

        157. “Philmont Mortgage” means that certain Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement, and the 2019 RCF Agreement.

       158. “Plan” means this Amended Plan of Reorganization for Boy Scouts of
America and Delaware BSA, LLC filed by the Debtors, as the same may be amended or
modified from time to time pursuant to section 1127 of the Bankruptcy Code.

        159. “Plan Documents” means, collectively, the Plan, the Disclosure Statement,
the Disclosure Statement Order, each of the documents comprising the Plan Supplement,
and all of the exhibits and schedules attached to any of the foregoing (including the
Settlement Trust Documents and the Cooperation Agreement). The Plan Documents
shall be in form and substance reasonably acceptable to the Creditors’ Committee.

         160. “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules, exhibits, and annexes to the Plan, which the Debtors
shall file no later than fourteen (14) days before the Voting Deadline, unless otherwise
ordered by the Bankruptcy Court, and additional documents filed with the Bankruptcy
Court before the Effective Date as amendments, modifications or supplements to the Plan
Supplement. The Plan Supplement will include the following: (a) the Amended BSA
Bylaws; (b) the Assumed Contracts and Unexpired Leases Schedule; (c) the Cooperation
Agreement; (c) the name of the Creditor Representative; (d) changes, if any, to
Reorganized BSA’s directors and officers; (e) the form of the Foundation Loan
Agreement; (f) the form of agreement reflecting the terms of the Leaseback Requirement;
(g); the Rejected Contracts and Unexpired Leases Schedule; (h) the forms of the
Restated 2010 Bond Documents; (i) the forms of the Restated 2012 Bond Documents; (j)


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the forms of the Restated Credit Facility Documents; (k) the form of the Restated
Security Agreement; (l) the names of the initial members of the Settlement Trust
Advisory Committee; (m) the form of Settlement Trust Agreement; (n) the name of the
initial Settlement Trustee; and (o) the Trust Distribution Procedures; provided that the
Plan Documents listed in clauses (b) and (g) of the foregoing sentence will be revised, in
the Debtors’ discretion, subject to Article VI, to account for any additional Executory
Contracts or Unexpired Leases to be assumed or rejected in advance of the Confirmation
Hearing. The Plan Supplement shall be served only on those parties that have requested
notice in the Chapter 11 Cases pursuant to Bankruptcy Rule 2002 and any party in
interest who requests in writing a copy from counsel to the Debtors. Once the Plan
Supplement is filed, a copy will also be available for review on the Notice and Claims
Agent’s website free of charge at https://omniagentsolutions.com/BSA. The Plan
Supplement shall be in form and substance reasonably acceptable to the Creditors’
Committee.

       161. “Prepetition Debt and Security Documents” means, collectively, the 2010
Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the
2012 Bond Documents, the Prepetition Security Documents (2019), and the Prepetition
Security Agreement (2020).

       162.    “Prepetition Security Agreement (2019)” means that certain Third
Amended and Restated Security Agreement, dated as of March 21, 2019, by and among
the BSA and Arrow, as debtors, JPM, in its capacity as collateral agent, JPM, in its
capacity as the lender under each of the 2010 Credit Agreement and the 2019 RCF
Agreement, and as holder under each of the 2010 Bond Agreement and the 2012 Bond
Agreement.

       163. “Prepetition Security Agreement (2020)” means that certain Consent and
Security Agreement dated as of February 3, 2020, by and among Delaware BSA, the
BSA, JPM, as collateral agent, and JPM, in its capacity as the lender under the 2010
Credit Agreement and the 2019 RCF Agreement, and as holder under the 2010 Bond
Agreement and the 2012 Bond Agreement.

        164. “Prepetition Security Documents (2019)” means, collectively, the
Prepetition Security Agreement (2019), the Florida Sea Base Mortgage, the Florida Sea
Base Assignment, the Headquarters Deed of Trust, the Headquarters Assignment, the
Northern Tier Mortgage, the Northern Tier Assignment, the Philmont Mortgage, the
Philmont Assignment, and the Arrow Collateral Assignment.

       165. “Priority Tax Claim” means any Claim of a Governmental Unit against the
Debtors that is entitled to priority in payment under section 507(a)(8) of the Bankruptcy
Code.

        166.    “Privileged Information” means any privileged information that relates, in
whole or in part, to any Abuse Claim, including: (a) the Debtors’ books and records
transferred to the Settlement Trust in accordance with the Cooperation Agreement;
(b) any privileged information containing a factual or legal analysis or review of any


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Abuse Claim; (c) any privileged information evaluating the reasonableness, effectiveness,
or confirmability of the Plan or any other chapter 11 plan filed or that could be filed in
the Chapter 11 Cases; (d) any privileged information exchanged by the Debtors or their
professionals, on the one hand, and any of the Related Non-Debtor Entities, Local
Councils, the Ad Hoc Committee, either Official Committee, the Future Claimants’
Representative, or their respective Representatives, on the other hand, related to the Plan,
the Plan Documents, or the Abuse Claims; and (e) information shared pursuant to that
certain Joint Defense, Common Interest, and Confidentiality Agreement among the BSA,
the Ad Hoc Committee, and each Local Council that executed a joinder to said agreement
that was acknowledged in writing by the BSA and the Ad Hoc Committee; and (f) any
privileged information containing a factual or legal analysis of the Debtors’ potential
exposure in connection with any Abuse Claim or any litigation related thereto. For the
avoidance of doubt, Privileged Information shall not include any Common-Interest
Communications with Insurers.

        167. “Pro Rata” means, at any time, with respect to any Claim, the proportion
that the amount of such Claim in a particular Class or group of Classes bears to the
aggregate amount of all Claims (including Disputed Claims) in such Class or group of
Classes, unless in each case the Plan provides otherwise.

        168. “Pro Rata Share” means the proportion that an Allowed Claim in a
particular Class bears to the aggregate amount of all Allowed Claims in that Class.

       169.     “Professional” means any Person retained by the Debtors, the Tort
Claimants’ Committee, the Creditors’ Committee, or the Future Claimants’
Representative pursuant to a Final Order of the Bankruptcy Court entered under
sections 327, 328, 363, or 1103 of the Bankruptcy Code.

        170. “Professional Fee Claim” means any Claim of a Professional or other
Person for Allowance by the Bankruptcy Court and payment by the Debtors of
compensation for services rendered and/or reimbursement of costs or expenses incurred
in the Chapter 11 Cases for the period from the Petition Date to and including the
Effective Date under sections 328, 330, 331, or 503(b) of the Bankruptcy Code.

       171. “Professional Fee Reserve” means a segregated account funded from
Unrestricted Cash and Investments on hand of the Debtors as of the Effective Date in an
amount equal to the Professional Fee Reserve Amount as of such date, solely for the
purpose of paying all Allowed Professional Fee Claims.

       172. “Professional Fee Reserve Amount” means the aggregate Accrued
Professional Fees as of the Effective Date, as estimated by the Professionals in
accordance with Article II.A.2.

       173. “Proof of Claim” means any proof of claim filed with the Bankruptcy
Court or the Notice and Claims Agent pursuant to section 501 of the Bankruptcy Code
and Bankruptcy Rules 3001 or 3002 that asserts a Claim against either of the Debtors.




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         174. “Protected Parties” means the following Persons: (a) the Debtors;
(b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Local Councils;
(e) the Contributing Chartered Organizations; (f) the Settling Insurance Companies; and
(g) all of such Persons’ Representatives; provided, however, that no Perpetrator is or shall
be a Protected Party. Notwithstanding the foregoing, a Contributing Chartered
Organization shall be a Protected Party only with respect to Abuse Claims that arose in
connection with the Contributing Chartered Organization’s sponsorship of one or more
Scouting units.

       175. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.

         176. “Reinstatement” means (a) leaving unaltered the legal, equitable and
contractual rights to which a Claim entitles the holder of such Claim or
(b) notwithstanding any contractual provision or applicable law that entitles the holder of
such Claim to demand or receive accelerated payment of such Claim after the occurrence
of a default, (i) curing any such default that occurred before or after the Petition Date,
other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code;
(ii) reinstating the maturity of such Claim as such maturity existed before such default;
(iii) compensating the holder of such Claim for any damages incurred as a result of any
reasonable reliance by such holder on such contractual provision or such applicable law;
(iv) if such Claim arises from any failure to perform a nonmonetary obligation,
compensating the holder of such Claim (other than the Debtors or an “insider” of the
Debtors within the meaning of section 101(31) of the Bankruptcy Code) for any actual
pecuniary loss incurred by such holder as the result of such failure; and (v) not otherwise
altering the legal, equitable or contractual rights to which such Claim entitles the holder
thereof. “Reinstated” has a correlative meaning.

        177. “Rejected Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be rejected by the BSA under the Plan, as
set forth in the Plan Supplement, as may be amended, modified, or supplemented from
time to time.

        178. “Rejection Damages Bar Date” has the meaning ascribed to such term in
Article VI.B.

       179.     “Rejection Damages Claim” means a Claim for damages alleged to arise
from the rejection of an Executory Contract or Unexpired Lease pursuant to section 365
or 1123 of the Bankruptcy Code.

       180. “Related Non-Debtor Entities” means the Entities listed on Exhibit F,
including non-debtor Affiliates of the Debtors that are directly or indirectly wholly
owned by, or subject to the control of, the BSA. For the avoidance of doubt, Related
Non-Debtor Entities do not include Local Councils or Chartered Organizations.

       181.    “Release Injunctions” means the injunctions described in Article X.L.




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         182. “Released Parties” means, collectively, the following Persons, in each case
in its or their respective capacities as such: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Creditors’ Committee; (e) the members of the
Creditors’ Committee in their capacities as such; (f) JPM; (g) the Settling Insurance
Companies; (h) the Foundation, in its capacity as lender under the Foundation Loan
Agreement; (i) the Ad Hoc Committee; (j) the members of the Ad Hoc Committee in
their capacities as such; (k) the Creditor Representative; and (l) all of such Persons’
Representatives; provided, however, that no Perpetrator is or shall be a Released Party;
provided further, that the definition of “Released Parties” shall in all instances be subject
to Article X.J.

       183.    “Releases” means the releases set forth in Article X.J.

        184. “Releasing Claim Holder” means, collectively, (a) all holders of Claims
that vote to accept the Plan; (b) all holders of Claims that are presumed to accept the
Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan
and do not opt out of the releases provided for in the Plan, (d) all holders of Claims
entitled to vote on the Plan and who do not vote for or against the Plan or who abstain
from voting on the Plan but, in either case, do not opt out of the releases set forth in
Article X.J.4, except for those holders of Claims whose solicitation packages were
returned to the Debtors or their agent(s) as undeliverable and those holders of Claims that
were not sent a solicitation package because a prior mailing sent to them in the Chapter
11 Cases was returned as undeliverable, in each case, unless such holders otherwise have
received notice of the Chapter 11 Cases; (e) all holders of Administrative Expense
Claims or Priority Tax Claims that do not hold Claims or Interests in any Class and do
not timely file with the Bankruptcy Court an objection to the releases set forth in Article
X.J.4 by the deadline established to file objections to the Plan; and (f) all of such Persons’
predecessors, successors and assigns, subsidiaries, affiliates, current and former officers,
directors, principals, shareholders, members, partners, employees, agents, advisory board
members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, management companies, and other professionals, and all such Persons’
respective heirs, executors, estates, servants and nominees, in their respective capacities
as such.

       185. “Reorganized BSA” means the BSA, as reorganized pursuant to and under
the Plan on or after the Effective Date.

        186. “Representatives” means, with respect to any Person, such Person’s
(a) predecessors, successors, assigns, subsidiaries, and Affiliates, (b) current and former
officers, directors, principals, equity holders, trustees, members, partners, managers,
officials, board members, advisory board members, employees, agents, volunteers,
attorneys, financial advisors, accountants, investment bankers, consultants,
representatives, and other professionals, and (c) respective heirs, executors, estates, and
nominees, in each case solely in its capacity as such.

      187. “Restated 2010 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory


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note, security agreement, and all documentation executed and delivered in connection
therewith, in each case containing substantially the same terms as the 2010 Bond
Documents except that: (a) the amortization schedule attached to the 2010 Bond shall be
amended and restated such that (i) interest is payable in monthly installments (at the same
rates in the 2010 Bond Documents) beginning on the date that is one month after the
Effective Date (as to be specified in the Restated 2010 Bond Documents) and ending on
the Restated Maturity Date, and (ii) principal is payable in monthly installments (in the
same monthly amounts as the periodic amortization amounts in the 2010 Bond
Documents) beginning on the date that is two years after the Effective Date (as to be
specified in the Restated 2010 Bond Documents) and ending on the Restated Maturity
Date; and (b) the Restated 2010 Bond Documents shall be guaranteed by Arrow. The
covenants in the Restated 2010 Bond Documents shall be in form and substance
acceptable to JPM and the BSA. The obligations under the Restated 2010 Bond
Documents shall be secured by the Restated Security Agreement. The then-current forms
of the Restated 2010 Bond Documents shall be filed with the Plan Supplement.

        188. “Restated 2012 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory
note, security agreement, and all documentation executed and delivered in connection
therewith, in each case containing substantially the same terms as the 2012 Bond
Documents except that: (a) the amortization schedule attached to the 2012 Bond shall be
amended and restated such that (i) interest is payable in monthly installments (at the same
rates in the 2012 Bond Documents) beginning on the date that is one month after the
Effective Date (as to be specified in the Restated 2012 Bond Documents) and ending on
the Restated Maturity Date, and (ii) principal is payable in monthly installments (in the
same monthly amounts as the periodic amortization amounts in the 2012 Bond
Documents) beginning on the date that is two years after the Effective Date (as to be
specified in the Restated 2012 Bond Documents) and ending on the Restated Maturity
Date; and (b) the Restated 2012 Bond Documents shall be guaranteed by Arrow. The
covenants in the Restated 2012 Bond Documents shall be in form and substance
acceptable to JPM and the BSA. The obligations under the Restated 2012 Bond
Documents shall be secured by the Restated Security Agreement. The then-current forms
of the Restated 2012 Bond Documents shall be filed with the Plan Supplement.

        189. “Restated Credit Facility Documents” means those certain restated
revolving credit facility documents, which shall contain substantially the same terms as
the 2010 Credit Facility Documents and the 2019 RCF Documents, as applicable to the
2010 Credit Facility Claims and the 2019 RCF Claims, except that: (a) the revolving
credit facility provided under the 2019 RCF Documents shall be frozen and converted to
a term loan; (b) the Revolving Maturity Date and the Term Loan Maturity Date (each as
defined in the 2010 Credit Facility Documents) and the Maturity Date (as defined in the
2019 RCF Documents) shall be extended to the Restated Maturity Date; (c) interest is
payable in quarterly installments (at the same rates in the Restated 2012 Bond
Documents) beginning on the date that is three months after the Effective Date (as to be
specified in the Restated 2012 Bond Documents) and ending on the Restated Maturity
Date; (d) principal is payable in quarterly monthly installments (at 1/40th of the
outstanding balance on the Effective Date) beginning on the date that is two years after


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the Effective Date (as to be specified in the Restated Credit Facility Documents) and
ending on the Restated Maturity Date; and (e) the Restated Credit Facility Documents
shall be guaranteed by Arrow. The covenants in the Restated Credit Facility Documents
shall be in form and substance acceptable to JPM and the BSA. The obligations under
the Restated Credit Facility Documents shall be secured by the Restated Security
Agreement. The then-current forms of the Restated Credit Facility Documents shall be
filed with the Plan Supplement.

      190. “Restated Debt and Security Documents” means, collectively, the Restated
2010 Bond Documents, the Restated 2012 Bond Documents, the Restated Credit Facility
Documents, and the Restated Security Agreement. The Restated Debt and Security
Documents must be reasonably acceptable to the Creditors’ Committee.

        191. “Restated Maturity Date” means the maturity date applicable to each of
the Restated Debt and Security Documents in accordance with the terms thereof, which
shall in each case be the date that is ten (10) years after the Effective Date.

        192. “Restated Security Agreement” means that certain restated security
agreement, pursuant to which Reorganized BSA shall grant blanket first-priority liens on
and security interests in all of Reorganized BSA’s assets, including but not limited to all
collateral secured by the Prepetition Security Documents (2019), to JPM to secure
Reorganized BSA’s and Arrow’s obligations under the Restated 2010 Bond Documents,
the Restated 2012 Bond Documents and the Restated Credit Facility Documents. The
then-current form of the Restated Security Agreement shall be filed with the Plan
Supplement.

        193.   “Restoration Plan” means the Boy Scouts of America Retirement Benefit
Restoration Plan, a non-qualified defined benefit retirement plan under section 457(f) of
the Internal Revenue Code, which provides supplemental retirement benefits to certain
current and former employees of the Debtors or Local Councils.

       194. “Schedules” means, with respect to each Debtor, the schedules of assets
and liabilities and the statement of financial affairs filed by such Debtor with the
Bankruptcy Court pursuant to sections 521 and 1106(a)(2) of the Bankruptcy Code and
Bankruptcy Rule 1007, as such schedules and statements may be amended or
supplemented from time to time prior to the Effective Date.

        195.    “Scouting Released Claims” has the meaning ascribed to such term in
Article X.J.

       196.     “Scouting University” means that certain parcel of real property owned
by the BSA located at 1301 Solana Boulevard, Westlake, Texas 76262, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

         197. “Secured” means, with respect to any Claim, the extent to which the Claim
is: (a) secured by a Lien on property of a Debtor’s Estate (i) as set forth in the Plan, (ii) as
agreed to by the holder of such Claim and the Debtors, or (iii) as determined by a Final


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Order in accordance with section 506(a) of the Bankruptcy Code; or (b) subject to any
setoff right of the holder of such Claim under section 553 of the Bankruptcy Code, but,
with respect to both of the foregoing clauses (a) and (b), only to the extent of the value of
the interest of such holder in the Estate’s interest in the property securing such Claim or
the amount subject to setoff, as applicable.

       198. “Settlement of Restricted and Core Asset Disputes” has the meaning
ascribed to such term in Article V.R.3.

        199. “Settlement Trust” means the trust organized under the laws of the state of
Delaware and established under Article IV and the Settlement Trust Agreement for the
purposes set forth therein, including assuming liability for all Abuse Claims, holding,
preserving, maximizing, and administering the Settlement Trust Assets, and directing the
processing, liquidation and payment of all compensable Abuse Claims in accordance with
the Settlement Trust Documents.

        200. “Settlement Trust Advisory Committee” means the committee appointed
and serving in accordance with Article IV and the Settlement Trust Agreement, which
shall have the powers, duties and obligations set forth in the Settlement Trust Agreement.
The initial members of the Settlement Trust Advisory Committee shall be identified in
the Plan Supplement.

         201. “Settlement Trust Agreement” means the agreement between the Debtors
and the Settlement Trustee governing the Settlement Trust, dated as of the Effective Date,
to be filed with the Plan Supplement.

        202. “Settlement Trust Assets” means the following assets and any income,
profits and proceeds realized, received or derived from such assets subsequent to the
transfer of such assets to the Settlement Trust: (a) the BSA Trust Contribution; (b) the
Local Council Settlement Contribution; (c) the Chartered Organization Settlement
Contribution; and (d) any and all other funds, proceeds or other consideration otherwise
contributed to the Settlement Trust pursuant to the Plan or the Confirmation Order or
other Final Order of the Bankruptcy Court. For the avoidance of doubt, the insurance
rights of any Person that is not a Protected Party are expressly reserved for such Person,
and the Plan Documents shall not, and shall not be deemed to, transfer, grant, or assign
such rights to the Settlement Trust.

         203. “Settlement Trust Causes of Action” means any Estate Cause of Action
not otherwise expressly released under the Plan, attributable to: (a) all defenses to any
Abuse Claim, including all defenses under section 502 of the Bankruptcy Code; (b) with
respect to Abuse Claims, all rights of setoff, recoupment, contribution, reimbursement,
subrogation or indemnity (as those terms are defined by the non-bankruptcy law of any
relevant jurisdiction) and any other indirect claim of any kind whatsoever, whenever and
wherever arising or asserted; (c) any other claims or rights with respect to Abuse Claims
that the Debtors would have had under applicable law if the Chapter 11 Cases had not
occurred and the holder of such Abuse Claim had asserted such claim by initiating civil
litigation against the Debtors; and (d) any claim, cause of action, or right of the Debtors


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or either of them, under the laws of any jurisdiction, for reimbursement, indemnity,
contribution, breach of contract, or otherwise arising from or relating to any payments
made by the Debtors on account of Abuse Claims prior to the Petition Date.

       204. “Settlement Trust Documents” means, collectively, (a) the Settlement
Trust Agreement, (b) the Trust Distribution Procedures, (c) the Cooperation Agreement,
and (d) any other agreements, instruments and documents governing the establishment,
administration and operation of the Settlement Trust, which shall be substantially in the
forms set forth as exhibits hereto or in the Plan Supplement, as the same may be amended
or modified from time to time in accordance with the terms thereof.

        205. “Settlement Trust Expenses” means any liabilities, costs, or expenses of,
or imposed upon, or in respect of, the Settlement Trust once established (except for
payments to holders of Abuse Claims on account of such Claims). Settlement Trust
Expenses shall also expressly include (a) any and all liabilities, costs, and expenses
incurred subsequent to the Effective Date in connection with the Settlement Trust Assets
(including, without limitation, the prosecution of any Settlement Trust Causes of Action
and Insurance Actions), in each case whether or not any such action results in a recovery
for the Settlement Trust and (b) the reasonable documented costs and expenses incurred
by Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the Ad Hoc
Committee, or the Contributing Chartered Organizations in taking any action on behalf of
or at the direction of the Settlement Trust, if any, including, without limitation, any costs
and expenses incurred by Reorganized BSA, the Related Non-Debtor Entities, the Local
Councils or the Contributing Chartered Organizations in being named as a defendant in
any Insurance Action.

        206. “Settlement Trustee” means the individual appointed by the Bankruptcy
Court to serve as trustee of the Settlement Trust pursuant to the terms of the Plan and the
Settlement Trust Agreement or who may subsequently be appointed pursuant to the terms
of the Settlement Trust Agreement. The initial Settlement Trustee shall be identified in
the Plan Supplement.

        207. “Settling Insurance Company” means, solely with respect to Insurance
Policies that are the subject of an Insurance Settlement Agreement, any Insurance
Company that contributes funds, proceeds or other consideration to or for the benefit of
the Settlement Trust pursuant to an Insurance Settlement Agreement that is approved by a
Final Order of the Bankruptcy Court (including the Confirmation Order) and is
designated as a Settling Insurance Company in the Confirmation Order or the Affirmation
Order.

        208.    “Specified Insurance Policy” means any Insurance Policy with an
inception date of January 1, 2013 to the present.

       209. “Summit Bechtel Reserve” means the parcels of real property that
comprise the Summit Bechtel Family National Scout Reserve, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.


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        210.    “Tort Claimants’ Committee” means the official committee of tort
claimants, consisting of survivors of childhood sexual abuse, appointed by the United
States Trustee in the Chapter 11 Cases under section 1102(a) of the Bankruptcy Code.

        211. “Trust Distribution Procedures” means the Trust Distribution Procedures
as filed with the Plan Supplement, as the same may be amended or modified from time to
time.

        212. “Unexpired Lease” means a lease to which BSA is a party, including any
and all pre- and post-petition amendments thereto, that is subject to assumption or
rejection under section 365 of the Bankruptcy Code.

        213. “Unimpaired” means any Claim that is not Impaired, including any Claim
that is Reinstated.

        214. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.

        215. “Unrestricted Cash and Investments” means all Cash and balance sheet
investments owned by the Debtors immediately prior to the Effective Date that are not
subject to legally enforceable restrictions requiring the use or disposition of such assets
for a particular purpose.

        216. “Volunteer Screening Database” is the database established and
maintained by the BSA to, among other things, track and remove from Scouting
volunteer leaders suspected of having acted in an inappropriate sexual manner with youth
participants in Scouting.

       217. “Voting Deadline” means the date by which all Persons entitled to vote on
the Plan must vote to accept or reject the Plan.

       218. “Voting Procedures” means those certain procedures and supplemental
procedures approved by the Bankruptcy Court for soliciting and tabulating the votes to
accept or reject the Plan cast by holders of Claims against the Debtors entitled to vote on
the Plan. The Voting Procedures shall be in form and substance reasonably acceptable to
the Creditors’ Committee as they pertain to Convenience Claims, General Unsecured
Claims and Non-Abuse Litigation Claims.

        219. “Warehouse and Distribution Center” means that certain parcel of real
property owned by the BSA located at 2109 Westinghouse Boulevard, Charlotte, North
Carolina 28269, together with the buildings, structures, fixtures, additions, enlargements,
extensions, modifications, repairs, replacements and other improvements now or
hereafter located thereon.

       220. “Workers’ Compensation Program” means the Debtors’ (a) written
contracts, agreements, agreements of indemnity, in each case relating to workers’
compensation, (b) self-insured workers’ compensation bonds, policies, programs, and



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       plans for workers’ compensation and (c) workers’ compensation insurance issued to or
       entered into at any time by any of the Debtors.

        B.      Interpretation; Application of Definitions and Rules of Construction. For
purposes of the Plan, unless otherwise provided herein: (1) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) unless otherwise provided in the Plan, any
reference in the Plan to a contract, instrument, release, or other agreement or document being in
a particular form or on particular terms and conditions means that such document will be
substantially in such form or substantially on such terms and conditions; (3) any reference in the
Plan to an existing document, schedule or exhibit filed or to be filed means such document,
schedule or exhibit, as it may have been or may be amended, modified, or supplemented
pursuant to the Plan; (4) any reference to a Person as a holder of a Claim or Interest includes that
Person’s successors and assigns; (5) unless otherwise stated, all references in the Plan to Articles
are references to Articles of the Plan, as the same may be amended or modified from time to time
in accordance with the terms hereof; (6) the words “herein,” “hereof,” “hereto,” “hereunder” and
other words of similar import refer to the Plan as a whole and not to any particular Article or
clause contained in the Plan; (7) the words “include” and “including,” and variations thereof,
shall not be deemed to be terms of limitation and shall be deemed to be followed by the words
“without limitation;” (8) subject to the provisions of any contract, certificate of incorporation,
by-law, instrument, release, or other agreement or document entered into in connection with the
Plan, the rights and obligations arising pursuant to the Plan shall be governed by, and construed
and enforced in accordance with the applicable federal law, including the Bankruptcy Code and
Bankruptcy Rules; (9) any term used in capitalized form herein that is not otherwise defined but
that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to
that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (10) any
immaterial effectuating provisions may be interpreted by Reorganized BSA in such a manner
that is consistent with the overall purpose and intent of the Plan all without further notice to or
action, order, or approval of the Bankruptcy Court or any other Person; (11) captions and
headings to Articles are inserted for convenience of reference only and are not intended to be a
part of or to affect the interpretation of the Plan; (12) the rules of construction set forth in
section 102 of the Bankruptcy Code shall apply; (13) any reference to a Person’s “subsidiaries”
means its direct and indirect subsidiaries; and (14) in computing any period of time prescribed or
allowed by the Plan, unless otherwise expressly provided herein, the provisions of Bankruptcy
Rule 9006(a) shall apply.

        C.     Reference to Monetary Figures. All references in the Plan to monetary figures
shall refer to the legal tender of the United States of America unless otherwise expressly
provided.

       D.       Controlling Document. In the event of any conflict between the terms and
provisions in the Plan (without reference to the Plan Supplement), on the one hand, and the terms
and provisions in the Disclosure Statement, the Plan Supplement, any other instrument or
document created or executed pursuant to the Plan, or any order (other than the Confirmation
Order) referenced in the Plan (or any exhibits, schedules, appendices, supplements, or
amendments to any of the foregoing), on the other hand, the Plan (without reference to the Plan


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Supplement) shall govern and control; provided, however, that in the event of a conflict between
Confirmation Order, on the one hand, and any of the other Plan Documents, on the other hand,
the Confirmation Order shall govern and control in all respects.



                 ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS

        A.      Administrative Expense Claims.

                 1.       Administrative Expense Claims Generally. Except to the extent that a
holder of an Allowed Administrative Expense Claim agrees to less favorable treatment with
respect to such Allowed Administrative Expense Claim, each holder of an Allowed
Administrative Expense Claim (other than Professional Fee Claims, which are governed by
Article II.A.2) shall receive, on account of and in full and complete settlement, release and
discharge of, and in exchange for, such Claim, payment of Cash in an amount equal to the unpaid
portion of such Allowed Administrative Expense Claim, or such amounts and on other such
terms as may be agreed to by the holders of such Claims, on or as soon as reasonably practicable
after the later of: (a) the Effective Date; (b) the first Business Day after the date that is thirty (30)
calendar days after the date such Administrative Expense Claim becomes an Allowed
Administrative Expense Claim; (c) such other date(s) as such holder and the Debtors or
Reorganized BSA shall have agreed; or (d) such other date ordered by the Bankruptcy Court;
provided, however, that Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ non-profit operations during the Chapter 11 Cases may be paid by the
Debtors or Reorganized BSA in the ordinary course of operations and in accordance with the
terms and conditions of the particular agreements governing such obligations, course of dealing,
course of operations, or customary practice. Notwithstanding anything to the contrary herein or
in the Cash Collateral Order, no Claim on account of any diminution in the value of the
Prepetition Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral) (as
each such capitalized term is defined in the Cash Collateral Order) from and after the Petition
Date shall be Allowed unless such Claim is Allowed by a Final Order of the Bankruptcy Court.

                2.      Professional Fee Claims.

                        a.     Final Fee Applications. All Professionals or other Persons
                requesting the final Allowance and payment of compensation and/or
                reimbursement of expenses pursuant to sections 328, 330, 331 and/or 503(b) for
                services rendered during the period from the Petition Date to and including the
                Effective Date shall file and serve final applications for Allowance and payment
                of Professional Fee Claims on counsel to the Debtors and the United States
                Trustee no later than the first Business Day that is forty-five (45) days after the
                Effective Date. Objections to any Professional Fee Claim must be filed and
                served on Reorganized BSA and the applicable Professional within twenty-one
                (21) calendar days after the filing of the final fee application that relates to the
                Professional Fee Claim (unless otherwise agreed by the Debtors or Reorganized
                BSA, as applicable, and the Professional requesting Allowance and payment of a
                Professional Fee Claim). The Fee Examiner shall continue to act in its appointed


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              capacity unless and until all Professional Fee Claims have been approved by order
              of the Bankruptcy Court, and Reorganized BSA shall be responsible to pay the
              fees and expenses incurred by the Fee Examiner in rendering services after the
              Effective Date.

                      b.      Professional Fee Reserve. On the Effective Date, the Debtors shall
              establish and fund the Professional Fee Reserve with Cash in an amount equal to
              the Professional Fee Reserve Amount. Funds held in the Professional Fee
              Reserve shall not be considered property of the Debtors’ Estates, Reorganized
              BSA, the Settlement Trust, or the Core Value Cash Pool. Professional Fees
              owing on account of Allowed Professional Fee Claims shall be paid in Cash from
              funds held in the Professional Fee Reserve as soon as reasonably practicable after
              such Professional Fee Claims are Allowed by a Final Order of the Bankruptcy
              Court or authorized to be paid under the Compensation Procedures Order;
              provided, however, that Reorganized BSA’s obligations with respect to Allowed
              Professional Fee Claims shall not be limited by or deemed limited to the balance
              of funds held in the Professional Fee Reserve. To the extent the funds held in the
              Professional Fee Reserve are insufficient to satisfy the Allowed Professional Fee
              Claims in full, each holder of an Allowed Professional Fee Claim shall have an
              Allowed Administrative Expense Claim for any deficiency, which shall be
              satisfied in accordance with Article II.A.1. No Liens, Claims, interests, charges,
              or other Encumbrances or liabilities of any kind shall encumber the Professional
              Fee Reserve in any way. When all Allowed Professional Fee Claims have been
              paid in full, amounts remaining in the Professional Fee Reserve, if any, shall
              revert to Reorganized BSA.

                      c.     Professional Fee Reserve Amount. To receive payment for
              Accrued Professional Fees incurred up to and including the Effective Date,
              Professionals shall estimate their Accrued Professional Fees as of the Effective
              Date and deliver such estimate to the Debtors at least five (5) Business Days prior
              to the anticipated Effective Date. If a Professional does not provide such
              estimate, the Debtors may estimate the unbilled fees and expenses of such
              Professional. The total amount so estimated will constitute the Professional Fee
              Reserve Amount, provided that such estimate will not be considered an admission
              or limitation with respect to the fees and expenses of such Professional.

                      d.     Post-Effective Date Fees and Expenses. From and after the
              Effective Date, any requirement that Professionals comply with sections 327
              through 331 or 1103 of the Bankruptcy Code in seeking retention or
              compensation for services rendered after such date shall terminate, and
              Professionals may be employed and paid in the ordinary course of operations
              without any further notice to or action, order, or approval of the Bankruptcy Court

       B.      Priority Tax Claims. Except to the extent that a holder of an Allowed Priority Tax
Claim agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim shall
receive on account of and in full and complete settlement, release and discharge of, and in
exchange for, such Allowed Priority Tax Claim, at the sole option of the Debtors or Reorganized


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BSA, as applicable: (1) Cash in an amount equal to such Allowed Priority Tax Claim on or as
soon as reasonably practicable after the later of (a) the Effective Date, to the extent such Claim is
an Allowed Priority Tax Claim on the Effective Date; (b) the first Business Day after the date
that is thirty (30) calendar days after the date such Priority Tax Claim becomes an Allowed
Priority Tax Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the
ordinary course as such obligation becomes due; provided, however, that the Debtors reserve the
right to prepay all or a portion of any such amounts at any time under this option without penalty
or premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date
of the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years after the Petition Date.



         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

       A.      Classification of Claims and Interests.

               1.      Grouping of Debtors for Convenience. The Plan is being proposed as a
       joint plan of reorganization of the Debtors for administrative purposes only and
       constitutes a separate chapter 11 plan of reorganization for each Debtor. The Plan is not
       premised upon the substantive consolidation of the Debtors with respect to the Classes of
       Claims or Interests set forth in the Plan.

               2.     Classification in General. For purposes of organization, voting, and all
       matters related to Confirmation, and except as otherwise provided herein, all Claims
       (other than Administrative Expense Claims and Priority Tax Claims) against and Interests
       in the Debtors are classified as set forth in this Article III. In accordance with section
       1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax
       Claims described in Article II have not been classified and are excluded from the
       following Classes. A Claim or Interest is classified in a particular Class only to the
       extent that the Claim or Interest falls within the description of such Class, and is
       classified in another Class or Classes to the extent that any remainder of the Claim or
       Interest falls within the description of such other Class or Classes. Notwithstanding
       anything to the contrary contained in the Plan, no distribution shall be made on account
       of any Claim that is not Allowed for distribution purposes (if applicable) or any Claim
       that has been satisfied, released, or otherwise settled prior to the Effective Date.

              3.      Summary of Classification. The following table designates the Classes of
       Claims against and Interests in the Debtors and specifies which of those Classes are
       (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to accept or reject the Plan in
       accordance with section 1126 of the Bankruptcy Code; or (c) presumed to accept or
       deemed to reject the Plan.




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Class                Claim               Status                        Voting Rights
  1     Other Priority Claims          Unimpaired     Presumed to Accept; Not Entitled to Vote
  2     Other Secured Claims           Unimpaired     Presumed to Accept; Not Entitled to Vote
 3A     2010 Credit Facility Claims    Impaired       Entitled to Vote
 3B     2019 RCF Claims                Impaired       Entitled to Vote
 4A     2010 Bond Claims               Impaired       Entitled to Vote
 4B     2012 Bond Claims               Impaired       Entitled to Vote
  5     Convenience Claims             Impaired       Entitled to Vote
  6     General Unsecured Claims       Impaired       Entitled to Vote
  7     Non-Abuse Litigation Claims    Impaired       Entitled to Vote
  8     Direct Abuse Claims            Impaired       Entitled to Vote
  9     Indirect Abuse Claims          Impaired       Entitled to Vote
 10     Interests in Delaware BSA      Impaired       Deemed to Reject; Not Entitled to Vote

        B.      Treatment of Claims and Interests.

                1.     Class 1 – Other Priority Claims.

                       a.      Classification: Class 1 consists of all Other Priority Claims.

                         b.      Treatment: Except to the extent that a holder of an Allowed Other
                Priority Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction of such Allowed Other Priority Claim, at the sole option of
                Reorganized BSA: (i) each such holder shall receive payment in Cash in an
                amount equal to such Allowed Other Priority Claim, payable on or as soon as
                reasonably practicable after the last to occur of (x) the Effective Date, (y) the date
                on which such Other Priority Claim becomes an Allowed Other Priority Claim,
                and (z) the date on which the holder of such Allowed Other Priority Claim and the
                Debtors or Reorganized BSA, as applicable, shall otherwise agree in writing; or
                (ii) satisfaction of such Allowed Other Priority Claim in any other manner that
                renders the Allowed Other Priority Claim Unimpaired, including Reinstatement.

                        c.     Voting: Class 1 is Unimpaired, and each holder of an Other
                Priority Claim is conclusively presumed to have accepted the Plan pursuant to
                section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
                Claims are not entitled to vote to accept or reject the Plan, and the votes of such
                holders will not be solicited with respect to Other Priority Claims.

                2.     Class 2 – Other Secured Claims.

                        a.      Classification: Class 2 consists of all Other Secured Claims. To
                the extent that Other Secured Claims are Secured by different collateral or
                different interests in the same collateral, such Claims shall be treated as separate
                subclasses of Class 2 for purposes of voting to accept or reject the Plan and
                receiving Distributions under the Plan.

                       b.    Treatment: Except to the extent that a holder of an Allowed Other
                Secured Claim agrees to less favorable treatment of such Claim, in full and final


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   satisfaction of such Allowed Other Secured Claim, each holder of an Allowed
   Other Secured Claim will receive, at the sole option of Reorganized BSA:
   (i) Cash in an amount equal to the Allowed amount of such Claim, including the
   payment of any interest required to be paid under section 506(b) of the
   Bankruptcy Code, payable on or as soon as reasonably practicable after the last to
   occur of (x) the Effective Date, (y) the date on which such Other Secured Claim
   becomes an Allowed Other Secured Claim, and (z) the date on which the holder
   of such Allowed Other Secured Claim and the Debtors or Reorganized BSA, as
   applicable, shall otherwise agree in writing; (ii) satisfaction of such Other Secured
   Claim in any other manner that renders the Allowed Other Secured Claim
   Unimpaired, including Reinstatement; or (iii) return of the applicable collateral on
   the Effective Date or as soon as reasonably practicable thereafter in satisfaction of
   the Allowed amount of such Other Secured Claim.

           c.     Voting: Class 2 is Unimpaired, and each holder of an Other
   Secured Claim is conclusively presumed to have accepted the Plan pursuant to
   section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Secured
   Claims are not entitled to vote to accept or reject the Plan, and the votes of such
   holders will not be solicited with respect to Other Secured Claims.

   3.     Class 3A – 2010 Credit Facility Claims.

          a.      Classification:   Class 3A consists of all 2010 Credit Facility
   Claims.

           b.     Allowance: On the Effective Date, all 2010 Credit Facility Claims
   shall be deemed fully Secured and Allowed pursuant to section 506(a) of the
   Bankruptcy Code, and not subject to any counterclaim, defense, offset, or
   reduction of any kind, in an aggregate amount not less than $80,762,060
   (including $44,299,743 of undrawn amounts under letters of credit issued under
   the 2010 Credit Facility Documents, provided such letters of credit are drawn on
   or before the Effective Date), plus any accrued but unpaid interest and reasonable
   fees and expenses as of the Effective Date to the extent not paid pursuant to the
   Cash Collateral Order. Because all 2010 Credit Facility Claims are deemed fully
   Secured, there are no unsecured 2010 Credit Facility Claims, and the holders of
   such Claims do not have or hold any Class 6 Claims against the Debtors on
   account of any 2010 Credit Facility Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2010
   Credit Facility Claim agrees to less favorable treatment of such Claim, in full and
   final satisfaction, settlement, release, and discharge of, and in exchange for an
   Allowed 2010 Credit Facility Claim, each holder of an Allowed 2010 Credit
   Facility Claim shall receive a Claim under the Restated Credit Facility Documents
   in an amount equal to the amount of such holder’s Allowed 2010 Credit Facility
   Claim.




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          d.       Voting: Class 3A is Impaired, and each holder of a Allowed 2010
   Credit Facility Claim is entitled to vote to accept or reject the Plan.

   4.     Class 3B – 2019 RCF Claims.

          a.      Classification: Class 3B consists of all 2019 RCF Claims.

           b.     Allowance: On the Effective Date, all 2019 RCF Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any
   kind, in an aggregate amount not less than $61,542,720 (including $51,542,720 of
   undrawn amounts under letters of credit issued under the 2019 RCF Documents,
   provided such letters of credit are drawn on or before the Effective Date), plus
   any accrued but unpaid interest and reasonable fees and expenses as of the
   Effective Date to the extent not paid pursuant to the Cash Collateral Order.
   Because all 2019 RCF Claims are deemed fully Secured, there are no unsecured
   2019 RCF Claims, and the holders of such Claims do not have or hold any Class 6
   Claims against the Debtors on account of any 2019 RCF Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2019
   RCF Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2019 RCF Claim, each holder of an Allowed 2019 RCF Claim shall receive a
   Claim under the Restated Credit Facility Documents in an amount equal to the
   amount of such holder’s Allowed 2019 RCF Claim.

          d.       Voting: Class 3B is Impaired, and each holder of a 2019 RCF
   Claim is entitled to vote to accept or reject the Plan.

   5.     Class 4A – 2010 Bond Claims.

          a.      Classification: Class 4A consists of all 2010 Bond Claims.

           b.     Allowance: On the Effective Date, all 2010 Bond Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any
   kind, in an aggregate amount of not less than $40,137,274, plus any accrued but
   unpaid interest and reasonable fees and expenses as of the Effective Date to the
   extent not paid pursuant to the Cash Collateral Order. Because all 2010 Bond
   Claims are deemed fully Secured, there are no unsecured 2010 Bond Claims, and
   the holders of such Claims do not have or hold any Class 6 Claims against the
   Debtors on account of any 2010 Bond Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2010
   Bond Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2010 Bond Claim, each holder of an Allowed 2010 Bond Claim shall receive a



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   Claim under the Restated 2010 Bond Documents in an amount equal to the
   amount of such holder’s Allowed 2010 Bond Claim.

          d.       Voting: Class 4A is Impaired, and each holder of a 2010 Bond
   Claim is entitled to vote to accept or reject the Plan.

   6.     Class 4B – 2012 Bond Claims.

          a.      Classification: Class 4B consists of all 2012 Bond Claims.

           b.     Allowance: On the Effective Date, all 2012 Bond Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any
   kind, in an aggregate amount of not less than $145,662,101, plus any accrued but
   unpaid interest and reasonable fees and expenses as of the Effective Date to the
   extent not paid pursuant to the Cash Collateral Order. Because all 2012 Bond
   Claims are deemed fully Secured, there are no unsecured 2012 Bond Claims, and
   the holders of such Claims do not have or hold any Class 6 Claims against the
   Debtors on account of any 2012 Bond Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2012
   Bond Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2012 Bond Claim, each holder of an Allowed 2012 Bond Claim shall receive a
   Claim under the Restated 2012 Bond Documents in an amount equal to the
   amount of such holder’s Allowed 2012 Bond Claim.

          d.       Voting: Class 4B is Impaired, and each holder of a 2012 Bond
   Claim is entitled to vote to accept or reject the Plan.

   7.     Class 5 – Convenience Claims.

          a.      Classification: Class 5 consists of all Convenience Claims.

           b.     Treatment: In full and final satisfaction, settlement, release, and
   discharge of, and in exchange for, an Allowed Convenience Claim, each holder of
   an Allowed Convenience Claim shall receive, on the Effective Date or within
   thirty (30) days following the date that such Convenience Claim becomes
   Allowed (if such Claim becomes Allowed after the Effective Date), Cash in an
   amount equal to 100% of such holder’s Allowed Convenience Class Claim.

          c.       Voting: Class 5 is Impaired, and each holder of a Convenience
   Claim is entitled to vote to accept or reject the Plan.

   8.     Class 6 – General Unsecured Claims.

          a.      Classification: Class 6 consists of all General Unsecured Claims.



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          b.      Treatment: Except to the extent that a holder of an Allowed
   General Unsecured Claim agrees to less favorable treatment of such Claim, in
   exchange for full and final satisfaction, settlement, release, and discharge of, and
   in exchange for, such Allowed General Unsecured Claim (to the extent such
   Claim is not an Insured Non-Abuse Claim), each holder of an Allowed General
   Unsecured Claim shall receive, subject to the holder’s ability to elect
   Convenience Class treatment on account of the Allowed General Unsecured
   Claim, its Pro Rata Share of the Core Value Cash Pool up to the full amount of
   such Allowed General Unsecured Claim in the manner described in Article VII.

         c.     Voting: Class 6 is Impaired, and each holder of a General
   Unsecured Claim is entitled to vote to accept or reject the Plan.

   9.     Class 7 – Non-Abuse Litigation Claims.

          a.      Classification:   Class 7 consists of all Non-Abuse Litigation
   Claims.

           b.      Treatment: Except to the extent that a holder of an Allowed Non-
   Abuse Litigation Claim agrees to less favorable treatment of such Claim, in full
   and final satisfaction, settlement, release, and discharge of, and in exchange for,
   each Allowed Non-Abuse Litigation Claim, each holder thereof shall, subject to
   the holder’s ability to elect Convenience Class treatment as provided in the
   following sentence, retain the right to recover up to the amount of such holder’s
   Allowed Non-Abuse Litigation Claim from (i) available Insurance Coverage or
   the proceeds of any insurance policy of the Debtors, (ii) applicable proceeds of
   any Insurance Settlement Agreements, and (iii) co-liable non-debtors (if any) or
   their insurance coverage. Solely to the extent that the holder of an Allowed Non-
   Abuse Litigation Claim fails to recover in full from the foregoing sources on
   account of such Allowed Claim after exhausting its remedies in respect thereof,
   such holder may elect to have the unsatisfied portion of its Allowed Claim treated
   as an Allowed Convenience Claim and receive cash in an amount equal to the
   lesser of (a) the amount of the unsatisfied portion of the Allowed Non-Abuse
   Litigation Claim and (b) $50,000.

           c.     Voting: Class 7 is Impaired, and each holder of a Non-Abuse
   Litigation Claim is entitled to vote to accept or reject the Plan.

   10.    Class 8 – Direct Abuse Claims.

          a.      Classification: Class 8 consists of all Direct Abuse Claims.

           b.      Treatment: As of the Effective Date, liability for all Direct Abuse
   Claims shall be assumed in full by the Settlement Trust without further act, deed,
   or court order and shall be satisfied solely from the Settlement Trust as set forth in
   the Settlement Trust Documents. Pursuant to the Channeling Injunction set forth
   in Article X.F, each holder of a Direct Abuse Claim shall have such holder’s
   Direct Abuse Claim permanently channeled to the Settlement Trust, and such


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   Direct Abuse Claim shall thereafter be asserted exclusively against the Settlement
   Trust and processed, liquidated, and paid in accordance with the terms,
   provisions, and procedures of the Settlement Trust Documents. Holders of Direct
   Abuse Claims shall be enjoined from prosecuting any outstanding, or filing any
   future, litigation, Claims, or Causes of Action arising out of or related to such
   Direct Abuse Claims against any of the Protected Parties and may not proceed in
   any manner against any the Protected Parties in any forum whatsoever, including
   any state, federal, or non-U.S. court or any administrative or arbitral forum, and
   are required to pursue their Direct Abuse Claims solely against the Settlement
   Trust as provided in the Settlement Trust Documents.

          c.       Voting: Class 8 is Impaired, and each holder of a Direct Abuse
   Claim is entitled to vote to accept or reject the Plan.

   11.    Class 9 – Indirect Abuse Claims.

          a.      Classification: Class 9 consists of all Indirect Abuse Claims.

           b.     Treatment: As of the Effective Date, liability for all Indirect
   Abuse Claims shall be assumed in full by the Settlement Trust without further act,
   deed, or court order and shall be satisfied solely from the Settlement Trust as set
   forth in the Settlement Trust Documents solely to the extent that an Indirect
   Abuse Claim has not been deemed withdrawn with prejudice, irrevocably waived,
   released and expunged in connection with the Local Council Settlement Trust
   Contribution or the Contributing Chartered Organization Trust Contribution.
   Pursuant to the Channeling Injunction set forth in Article X.F, each holder of an
   Indirect Abuse Claim shall have such holder’s Indirect Abuse Claim permanently
   channeled to the Settlement Trust, and such Indirect Abuse Claim shall thereafter
   be asserted exclusively against the Settlement Trust and processed, liquidated, and
   paid in accordance with the terms, provisions, and procedures of the Settlement
   Trust Documents. Holders of Indirect Abuse Claims shall be enjoined from
   prosecuting any outstanding, or filing any future, litigation, Claims, or Causes of
   Action arising out of or related to such Abuse Claims against any of the Protected
   Parties and may not proceed in any manner against any the Protected Parties in
   any forum whatsoever, including any state, federal, or non-U.S. court or any
   administrative or arbitral forum, and are required to pursue their Indirect Abuse
   Claims solely against the Settlement Trust as provided in the Settlement Trust
   Documents.

          c.       Voting: Class 9 is Impaired, and each holder of an Indirect Abuse
   Claim is entitled to vote to accept or reject the Plan.

   12.    Class 10 – Interests in Delaware BSA.

          a.      Classification: Class 10 consists of all Interests in Delaware BSA.

         b.     Treatment: On the Effective Date, Interests in Delaware BSA shall
   be deemed cancelled without further action by or order of the Bankruptcy Court


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               and shall be of no further force or effect, whether surrendered for cancellation or
               otherwise.

                       c.     Voting: Class 10 is Impaired, and each holder of an Interest in
               Delaware BSA shall be conclusively deemed to have rejected the Plan pursuant to
               section 1126(g) of the Bankruptcy Code. Therefore, holders of Interests in
               Delaware BSA are not entitled to vote to accept or reject the Plan, and the votes
               of such holders will not be solicited with respect to Interests in Delaware BSA.

        C.     Elimination of Vacant Classes. Any Class of Claims against or Interests in the
Debtors that, as of the commencement of the Confirmation Hearing, does not have at least one
holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from the Plan for purposes of voting to accept or
reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to that Class.

        D.     Cramdown. If any Class is deemed to reject the Plan or is entitled to vote on the
Plan and does not vote to accept the Plan, the Debtors may (a) seek confirmation of the Plan
under section 1129(b) of the Bankruptcy Code or (b) amend or modify the Plan in accordance
with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims
are, or any class of Claims is, impaired, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or before the Confirmation Date.



                                   SETTLEMENT TRUST

        A.      Establishment of the Settlement Trust. The Settlement Trust shall be established
on the Effective Date in accordance with the Plan Documents. The Settlement Trust shall be a
“qualified settlement fund” within the meaning of the Treasury Regulations issued under Section
468B of the Internal Revenue Code.

       B.      Purposes of the Settlement Trust.

               1.      The purposes of the Settlement Trust shall be to assume liability for all
       Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust Assets,
       and to direct the processing, liquidation and payment of all compensable Abuse Claims in
       accordance with the Settlement Trust Documents. The Settlement Trust shall resolve
       Abuse Claims in accordance with the Settlement Trust Documents in such a way that the
       holders of Abuse Claims are treated equitably and reasonably in light of the finite assets
       available to satisfy such claims.

               2.     In the event of a conflict between the terms or provisions of the Plan and
       the Settlement Trust Documents, the terms of the Plan shall control.




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C.      Transfer of Claims to the Settlement Trust.

       1.       On the Effective Date or as otherwise provided herein, and without further
action of any Person, the Settlement Trust shall assume the liabilities, obligations, and
responsibilities of the Protected Parties for all Abuse Claims, financial or otherwise.
These assumptions by the Settlement Trust shall not affect (a) the application of the
Discharge Injunction or the Channeling Injunction or (b) any Non-Settling Insurance
Company’s obligation under any Insurance Policy that is not the subject of an Insurance
Settlement Agreement.

        2.      Except as otherwise expressly provided in the Plan, the Settlement Trust
Agreement, or the Trust Distribution Procedures, the Settlement Trust shall have control
over the Settlement Trust Causes of Action and the Insurance Actions, and the Settlement
Trust shall thereby become the estate representative pursuant to section 1123(b)(3)(B) of
the Bankruptcy Code with the exclusive right to enforce each of the Settlement Trust
Causes of Action and the Insurance Actions, and the proceeds of the recoveries on any of
the Settlement Trust Causes of Action or the Insurance Actions shall be deposited in and
become the property of the Settlement Trust, and the Settlement Trust shall have the right
to enforce the Plan and any of the other Plan Documents (including the Cooperation
Agreement) according to their respective terms, including the right to receive the
Settlement Trust Assets as provided in the Plan; provided, however, that (a) the
Settlement Trust shall have no other rights against the Protected Parties except to enforce
the Plan and any of the other Plan Documents; (b) the Settlement Trust Causes of Action
and the Insurance Actions shall not include any Claims or Interests fully and finally
released, compromised, or settled pursuant to the Plan; and (c) for the avoidance of
doubt, the Settlement Trust Causes of Action and the Insurance Actions do not include
any rights of the Protected Parties arising under the Channeling Injunction or any of the
Injunctions, Releases, or Discharges granted under the Plan and the Confirmation Order.

D.      Transfer of Settlement Trust Assets to the Settlement Trust.

        1.      Transfers on the Effective Date. On the Effective Date, subject to Article
IV.D.2, all right, title, and interest in and to the Settlement Trust Assets and any proceeds
thereof shall be automatically, and without further act or deed, transferred to, vested in,
and assumed by the Settlement Trust free and clear of all Encumbrances or Claims or
other interests of any Person, subject to the Channeling Injunction and other provisions of
the Plan.

        2.     Transfers after the Effective Date. To the extent any of the Settlement
Trust Assets are not transferred to the Settlement Trust by operation of law on the
Effective Date pursuant to the Plan, then when such assets accrue or become transferable
subsequent to the Effective Date, they shall automatically and immediately transfer to the
Settlement Trust free and clear of all Encumbrances and Claims or other interests of any
Person, subject to the Channeling Injunction and other provisions of the Plan. To the
extent that any action of a Protected Party is required to effectuate such transfer, such
Protected Party shall promptly transfer, assign, and contribute, such remaining Settlement
Trust Assets to the Settlement Trust. In the event a Protected Party breaches any


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       obligation contained in this section, the Settlement Trust will have no adequate remedy at
       law and shall be entitled to preliminary and permanent declaratory and injunctive relief.
       This Article IV.D.2 applies, without limitation, to (a) that portion of the Local Council
       Settlement Contribution required to be contributed to the Settlement Trust after the
       Effective Date and (b) the transfer to the Settlement Trust of the Warehouse and
       Distribution Center, subject to the Leaseback Requirement.

               3.      Insured Non-Abuse Claims. The Insurance Assignment shall not, and
       shall not be deemed to, transfer, grant, or assign to the Settlement Trust any insurance
       rights of any Person that pertain to any Insured Non-Abuse Claims. The insurance rights
       of any Person that pertain to Insured Non-Abuse Claims are expressly reserved for the
       such Persons, and the Plan Documents shall not, and shall not be deemed to, transfer,
       grant, or assign such rights to the Settlement Trust.

               4.       Specified Insurance Policies. Notwithstanding the Insurance Assignment,
       with respect to any Specified Insurance Policy, the right of the Debtors and Reorganized
       BSA (and any other named or additional insureds under such Specified Insurance Policy)
       are expressly reserved to (a) tender any Insured Non-Abuse Claims to the Specified
       Insurance Policies and (b) access the limits of liability of the Specified Insurance Policies
       to settle or otherwise resolve Insured Non-Abuse Claims. Further, the Settlement Trust
       cannot settle, compromise, or otherwise resolve any rights, duties, or obligations under
       the Specified Insurance Policies without the express written consent and approval of the
       Debtors or Reorganized BSA, as applicable, and the Creditors’ Committee, prior to its
       dissolution. Nonetheless, the Settlement Trust shall have the same rights, if any, as the
       Protected Parties with respect to any Specified Insurance Policy insofar as the Settlement
       Trust may (i) tender Abuse Claims to the Specified Insurance Policies and (ii) access the
       limits of liability of the Specified Insurance Policies to pay Abuse Claims pursuant to the
       Trust Distribution Procedures.

        E.     Settlement Trustee. There shall be one Settlement Trustee. The initial Settlement
Trustee shall be the Person identified in the Plan Supplement. Any successor Settlement Trustee
shall be appointed in accordance with the terms of the Settlement Trust Agreement. For
purposes performing his or her duties and fulfilling his or her obligations under the Settlement
Trust and the Plan, the Settlement Trustee shall be deemed to be, and the Confirmation Order
shall provide that he or she is, a “party in interest” within the meaning of section 1109(b) of the
Bankruptcy Code. The Settlement Trustee shall be the “administrator” of the Settlement Trust as
such term is used in Treas. Reg. Section 1.468B-2(k)(3).

        F.     Settlement Trust Advisory Committee.         The Settlement Trust Advisory
Committee shall be established pursuant to the Settlement Trust Agreement. The initial
Settlement Trust Advisory Committee shall have three (3) members and shall have the functions,
duties, and rights provided in the Settlement Trust Agreement. Each member of the Settlement
Trust Advisory Committee shall serve in accordance with the terms and conditions of the
Settlement Trust Agreement.

      G.     Trust Distribution Procedures. On the Effective Date, the Settlement Trust shall
implement the Trust Distribution Procedures in accordance with the terms of the Settlement


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Trust Agreement. From and after the Effective Date, the Settlement Trustee shall have the
authority to administer, amend, supplement, or modify the Trust Distribution Procedures solely
in accordance with the terms thereof and the Settlement Trust Agreement.

        H.       Settlement Trust Expenses. The Settlement Trust shall pay all Settlement Trust
Expenses from the Settlement Trust Assets. The Settlement Trust shall bear sole responsibility
with respect to the payment of the Settlement Trust Expenses. Additionally, the Settlement Trust
shall promptly pay all reasonable and documented Settlement Trust Expenses incurred by any
Protected Party for any and all liabilities, costs or expenses as a result of taking action on behalf
of or at the direction of the Settlement Trust.

       I.       Indemnification by Settlement Trust. From and after the Effective Date, the
Settlement Trust shall indemnify each of the Protected Parties, to the fullest extent lawful, from
and against any and all claims, liabilities, losses, actions, suits, proceedings, third-party
subpoenas, damages, costs and expenses (including full reimbursement of all fees and expenses
of counsel), as incurred, related to, arising out of, or in connection with any Abuse Claim.

       J.     Investment Guidelines. All monies held in the Settlement Trust shall be invested,
subject to the investment limitations and provisions enumerated in the Settlement Trust
Agreement.

       K.     Excess Settlement Trust Assets. To the extent any Settlement Trust Assets
remain at such time as the Settlement Trust is dissolved under the terms of the Settlement Trust
Documents, any remaining Settlement Trust Assets shall be distributed to Reorganized BSA.

        L.     Cooperation Agreement. The Debtors, the Local Councils, the Contributing
Chartered Organizations and the Settlement Trust shall enter into the Cooperation Agreement on
the Effective Date substantially in the form contained in the Plan Supplement. The Cooperation
Agreement shall provide for certain documents, books and records of the Debtors (including all
portions of the Volunteer Screening Database relating to allegations of Abuse set forth in Proofs
of Claim), the Local Councils, and Contributing Chartered Organizations to be shared with the
Settlement Trust. The parties to the Cooperation Agreement shall be bound by the terms thereof.

        M.     Privileged Information. The transfer or assignment of any Privileged Information
to the Settlement Trustee shall not result in the destruction or waiver of any applicable privileges
pertaining thereto. Further, with respect to any privileges: (a) they are transferred to or
contributed for the sole purpose of enabling the Settlement Trustee to perform their duties to
administer the Settlement Trust and for no other reason; (b) they are vested solely in the
Settlement Trustee and not in the Settlement Trust, the Settlement Trust Advisory Committee, or
any other Person, committee or subcomponent of the Settlement Trust, or any other Person
(including counsel and other professionals) who has been engaged by, represents or has
represented any holder of an Abuse Claim; (c) they shall be preserved and not waived; and (d) no
privileged information shall be publicly disclosed by the Settlement Trustee or the Settlement
Trust or communicated to any Person not entitled to receive such information or in a manner that
would diminish the protected status of any such information. Notwithstanding the foregoing, (i)
nothing herein shall preclude the Settlement Trustee from providing information received
pursuant to this section to any Insurance Company as necessary to preserve, secure, or obtain the


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benefit of any rights under any Insurance Policy and (ii) the transfer or assignment of any
Privileged Information shall not include any Common-Interest Communications with Insurers.

        N.     No Liability. The Protected Parties shall neither have nor incur any liability to, or
be subject to any right of action by, any Person for any act, omission, transaction, event, or other
circumstance in connection with or related to the Settlement Trust, the Settlement Trustee, or the
Settlement Trust Documents, including the administration of Abuse Claims and the distribution
of Settlement Trust Assets by the Settlement Trust, or any related agreement.

        O.     U.S. Federal Income Tax Treatment of the Settlement Trust. The Settlement
Trust shall be a “qualified settlement fund” within the meaning of the Treasury Regulations
issued under Section 468B of the Internal Revenue Code. The Settlement Trust shall file (or
cause to be filed) statements, returns, or disclosures relating to the Settlement Trust that are
required by any Governmental Unit. The Settlement Trustee shall be responsible for the
payment of any taxes imposed on the Settlement Trust or the Settlement Trust Assets, including
estimated and annual U.S. federal income taxes in accordance with the terms of the Settlement
Trust Agreement. The Settlement Trustee may request an expedited determination of taxes on
the Settlement Trust under section 505(b) of the Bankruptcy Code for all returns filed for, or on
behalf of, the Settlement Trust for all taxable periods through the dissolution of the Settlement
Trust.

         P.      Institution and Maintenance of Legal and Other Proceedings. As of the Effective
Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle, maintain,
administer, preserve, pursue, and resolve all legal actions and other proceedings related to any
asset, liability, or responsibility of the Settlement Trust, including the Insurance Actions, Abuse
Claims, and the Settlement Trust Causes of Action. Without limiting the foregoing, on and after
the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle,
maintain, administer, preserve, pursue, and resolve all such actions, in the name of the Debtors or
Reorganized BSA, if deemed necessary or appropriate by the Settlement Trust. The Settlement
Trust shall be responsible for the payment of all damages, awards, judgments, settlements,
expenses, costs, fees, and other charges incurred on or after the Effective Date arising from,
relating to, or associated with any legal action or other proceeding which is the subject of this
Article IV.P and shall pay Indirect Abuse Claims, in accordance with the Trust Distribution
Procedures, that may arise from deductibles, self-insured retentions, retrospective premium
adjustments, or other charges. Furthermore, without limiting the foregoing, the Settlement Trust
shall be empowered to maintain, administer, preserve, or pursue the Insurance Coverage and the
Insurance Action Recoveries.

       Q.     Expungement of Abuse Claims from the Claims Register. On the Effective Date,
all Abuse Claims filed against the Debtors in the Chapter 11 Cases shall be expunged from the
Claims Register and resolved exclusively in accordance with the Trust Distribution Procedures.




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                     MEANS FOR IMPLEMENTATION OF THE PLAN

        A.     General. On and after the Confirmation Date, the Debtors shall be empowered
and authorized to take or cause to be taken, prior to the Effective Date, all actions necessary to
enable them to implement the provisions of the Plan on the Effective Date, including the creation
of the Settlement Trust and the preparations for the transfer of the Settlement Trust Assets to the
Settlement Trust.

       B.      Operations of the Debtors between Confirmation and the Effective Date. The
Debtors shall continue to operate as debtors and debtors in possession during the period from the
Confirmation Date to the Effective Date.

        C.     BSA Governance Documents. From and after the Effective Date, Reorganized
BSA shall be governed pursuant to the BSA Charter and the Amended BSA Bylaws. The
Amended BSA Bylaws shall contain such provisions as are necessary to satisfy the provisions of
the Plan, subject to further amendment thereof after the Effective Date as permitted by applicable
law. Under the BSA Charter, the BSA has no power to issue certificates of stock, its object and
purpose being solely of a charitable character and not for pecuniary profit; accordingly, the
requirement of section 1123(a)(6) does not apply to the BSA.

       D.      Continued Legal Existence of BSA. The BSA shall continue to exist on and after
the Effective Date, with all of the powers it is entitled to exercise under applicable law and
pursuant to the BSA Charter and the Amended BSA Bylaws, subject to further amendment of the
Amended BSA Bylaws after the Effective Date, as permitted by applicable law.

       E.    Reorganized BSA’s Directors and Senior Management. Pursuant to section
1129(a)(5) of the Bankruptcy Code, to the extent that there are anticipated changes in
Reorganized BSA’s directors and officers, the Debtors will identify any such changes in the Plan
Supplement. On and after the Effective Date, the Amended BSA Bylaws, as such may be
amended thereafter from time to time, shall govern the designation and election of directors of
Reorganized BSA.

        F.      Dissolution of Delaware BSA. On the Effective Date, Delaware BSA’s members,
directors, officers and employees shall be deemed to have resigned, and Delaware BSA shall be
deemed to have dissolved for all purposes and be of no further legal existence under any
applicable state or federal law, without the need for any further action or the filing of any plan of
dissolution, notice, or application with the Secretary of State of the State of Delaware or any
other state or government authority, and without the need to pay any franchise or similar taxes to
effectuate such dissolution. Any Allowed Claims against Delaware BSA will be treated as set
forth in Article III.B.

        G.     Due Authorization. As of the Effective Date, all actions contemplated by the Plan
that require corporate action of the Debtors, or either of them, including actions requiring a vote
of the National Executive Board or the National Executive Committee of the BSA or the sole
member of Delaware BSA, and execution of all documentation incident to the Plan, shall be



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deemed to have been authorized, approved, and, to the extent taken prior to the Effective Date,
ratified in all respects without any requirement of further action by the Bankruptcy Court,
members, officers, or directors of the Debtors, Reorganized BSA, or any other Person.

        H.      Cancellation of Interests. As of the Effective Date, in accordance with Article
III.B.12, Interests in Delaware BSA shall be deemed cancelled without further action by or order
of the Bankruptcy Court and shall be of no further force or effect.

       I.      Restatement of Indebtedness.

               1.      Except as otherwise provided in the Plan, or in any contract, instrument,
       release or other agreement or document entered into or delivered in connection with the
       Plan, and subject to the treatment afforded to holders of Allowed Claims in Class 3A, 3B,
       4A, or 4B under Article III, on the Effective Date, all Prepetition Debt and Security
       Documents, including all agreements, instruments, and other documents evidencing or
       issued pursuant to the 2010 Credit Facility Documents, the 2019 RCF Documents, the
       2010 Bond Documents, the 2012 Bond Documents, or any indebtedness or other
       obligations thereunder, and any rights of any holder in respect thereof, shall be deemed
       amended and restated in the form of the Restated Debt and Security Documents on the
       terms set forth herein.

              2.      Any provision in any document, instrument, lease, or other agreement that
       causes or effectuates, or purports to cause or effectuate, a default, termination, waiver, or
       other forfeiture of, or by, the Debtors as a result of the satisfactions, Injunctions,
       Releases, Discharges and other transactions provided for in the Plan shall be deemed null
       and void and shall be of no force or effect. Nothing contained herein shall be deemed to
       cancel, terminate, release, or discharge the obligation of the Debtors or any of their
       counterparties under any Executory Contract or Unexpired Lease to the extent such
       Executory Contract or Unexpired Lease has been assumed by the Debtors pursuant to a
       Final Order of the Bankruptcy Court, including the Confirmation Order.

        J.     Cancellation of Liens. Except as otherwise provided in the Plan, on the Effective
Date, any Lien securing any Allowed Secured Claim (other than a Lien securing any Allowed
Secured Claim that is Reinstated pursuant to the Plan, including, for avoidance of doubt, the liens
securing the Restated Debt and Security Documents) shall be deemed released and the holder of
such Allowed Secured Claim shall be authorized and directed to release any collateral or other
property of any Debtor (including any cash collateral) held by such holder and to take such
actions as may be requested by the Debtors (or Reorganized BSA, as the case may be) to
evidence the release of such Lien, including the execution, delivery, and filing or recording of
such releases as may be requested by the Debtors (or Reorganized BSA, as the case may be).

        K.     Effectuating Documents and Further Transactions. The Chief Executive Officer
and President, the Chief Financial Officer, and the General Counsel of the BSA is authorized to
execute, deliver, file or record such contracts, instruments, releases, indentures, and other
agreements or documents and take or direct such actions as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan.




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       L.     Sources of Consideration for Distributions. Distributions under the Plan shall be
funded from the following sources:

             1.     The Debtors shall fund Distributions on account of and satisfy Allowed
       General Unsecured Claims exclusively from the Core Value Cash Pool;

              2.      The Settlement Trust shall fund distributions on account of and satisfy
       compensable Abuse Claims in accordance with the Trust Distribution Procedures from
       (a) the BSA Settlement Trust Contribution, (b) the Local Council Settlement
       Contribution, (c) the Contributing Chartered Organization Settlement Contribution, and
       (d) any and all other funds, proceeds or other consideration otherwise contributed to the
       Settlement Trust pursuant to the Plan or the Confirmation Order or other Final Order of
       the Bankruptcy Court;

               3.    The Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
       2010 Bond Claims, and 2012 Bond Claims in accordance with the terms of the Restated
       2010 Bond Documents, the Restated 2012 Bond Documents and the Restated Credit
       Facility Documents, as applicable; and

               4.     The Debtors shall fund Distributions on account of and satisfy all other
       Allowed Claims with Unrestricted Cash and Investments on hand on or after the
       Effective Date in accordance with the terms of the Plan and the Confirmation Order.

        M.      Resolution of Abuse Claims. All Abuse Claims shall be channeled to and
resolved by the Settlement Trust in accordance with the Trust Distribution Procedures, subject to
the right of any Non-Settling Insurance Company to raise any valid Insurance Coverage Defense
in response to a demand by the Settlement Trust that such insurer handle, defend, or pay any
such Claim.

        N.     Funding by the Settlement Trust. The Settlement Trust shall have no obligation to
fund costs or expenses other than those set forth in the Plan or the Settlement Trust Documents,
as applicable.

        O.      Core Value Cash Pool. Reorganized BSA shall deposit Cash into the Core Value
Cash Pool by making four semi-annual installment payments equal to $6,250,000. Reorganized
BSA shall make the first deposit six (6) months after the Effective Date; the second installment
on the first anniversary after the Effective Date; the third installment eighteen (18) months after
the Effective Date; and the fourth installment on the second anniversary of the Effective Date.

        P.      Creditor Representative. The Creditor Representative shall be appointed as of the
Effective Date and shall be responsible for assisting Reorganized BSA and its professionals in
their efforts to efficiently reconcile Convenience Claims, General Unsecured Claims, and Non-
Abuse Litigation Claims. The identity of the Creditor Representative shall be determined by the
Creditors’ Committee, with the consent of the Debtors (such consent not to be unreasonably
withheld). The Debtors or Reorganized BSA, as applicable, will use commercially reasonable
efforts to assist the Creditor Representative in reconciling Convenience Claims, General
Unsecured Claims, and Non-Abuse Litigation Claims on or before the applicable Claims
Objection Deadline. The reasonable fees and actual and necessary costs and expenses of the


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Creditor Representative shall be paid by Reorganized BSA up to the Creditor Representative Fee
Cap, and Reorganized BSA shall have no obligation to compensate or reimburse the costs or
expenses of the Creditor Representative beyond the amount of the Creditor Representative Fee
Cap.

        Q.      Residual Cash in Core Value Cash Pool. To the extent any Cash remains in the
Core Value Cash Pool after all Allowed General Unsecured Claims have been satisfied in full,
such remaining Cash shall: (i) first, on account of any Allowed Non-Abuse Litigation Claims
that shall not have elected to be treated as an Allowed Convenience Claim under Article III.B.9
to satisfy any deficiency in payments of such Allowed Claims from available Insurance
Coverage, from applicable proceeds of any Insurance Settlement Agreements, and from co-liable
non-debtors (if any) or their insurance coverage; (ii) second, to pay interest to holders of
Allowed General Unsecured Claims in accordance with Article VII.L; and (iii) third irrevocably
re-vest in Reorganized BSA.

         R.      Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration
for the distributions and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan, including the Abuse Claims Settlement, the JPM / Creditors’ Committee
Settlement, and the Settlement of Restricted and Core Asset Disputes set forth in this Article
V.R, shall constitute a good-faith compromise and settlement of Claims, Interests, and
controversies relating to the contractual, legal, and subordination rights that holders of Claims or
Interests may have with respect to any Claim or Interest under the Plan or any Distribution to be
made on account of an Allowed Claim. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise and settlement of all such Claims, Interests, and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement
is in the best interests of the Debtors, their Estates, and holders of such Claims and Interests, and
is fair, equitable and reasonable.

               1.      Abuse Claims Settlement. The treatment provided for Abuse Claims
under the Plan incorporates and reflects a proposed compromise and settlement of all Abuse
Claims against the Protected Parties, and the Scouting Released Claims against the Local
Councils and Contributing Chartered Organizations (the “Abuse Claims Settlement”), and the
Plan constitutes a request for the Bankruptcy Court to authorize and approve the Abuse Claims
Settlement. The following constitutes the provisions and conditions of the Abuse Claims
Settlement:

                     a.      Local Council Settlement Contribution. The Local Councils shall
               make, cause to be made, or be deemed to have made, as applicable, the Local
               Council Settlement Contribution.




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                       b.     Contributing Chartered Organization Settlement Contribution. The
                Contributing Chartered Organizations will make, cause to be made, or be deemed
                to have made, as applicable, the Contributing Chartered Organization Settlement
                Contribution.

                        c.     Claims Deemed Withdrawn with Prejudice By Settling Insurance
                Companies. On the Effective Date, any and all Claims that have been asserted in
                the Chapter 11 Cases by or on behalf of any Settling Insurance Company shall be
                deemed withdrawn with prejudice and irrevocably waived, released and expunged
                from the Claims Register without any further notice to or action, order, or
                approval of the Bankruptcy Court. Further, no Settling Insurance Company shall
                file or assert any Claim or Claims against the Debtors or Reorganized BSA
                arising from any act or omission of the Debtors prior to the Confirmation Date.

                         d.     Injunctions and Releases. Notwithstanding anything to the
                contrary set forth in the Plan or any other document filed with the Bankruptcy
                Court, the Injunctions and Releases contained in Article X shall not be effective:
                (i) as to the Local Councils, until the Local Council Settlement Contribution shall
                have been made; (ii) as to the Contributing Chartered Organizations, until the
                Contributing Chartered Organization Settlement Contribution shall have been
                made; and (iii) as to any Settling Insurance Company, until such Settling
                Insurance Company shall have made its contribution to the Settlement Trust
                pursuant to an Insurance Settlement Agreement.

               2.      JPM / Creditors’ Committee Settlement. The treatment provided for under
the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF Claims, Allowed 2010
Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience Claims, Allowed General
Unsecured Claims, and Allowed Non-Abuse Litigation Claims, together with the terms and
conditions of the settlement term sheet appended as Exhibit A to the First Mediators’ Report
filed on March 1, 2021 at Docket No. 2292, reflects a proposed compromise and settlement by
and among the Debtors, the Creditors’ Committee and JPM (the “JPM / Creditors’ Committee
Settlement”).3 The following constitutes the provisions and conditions of the JPM / Creditors’
Committee Settlement:

                        a.     Allowance and Treatment of 2010 Credit Facility Claims, 2019
                RCF Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit
                Facility Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond
                Claims shall be Allowed in the amounts set forth in Article III.B and receive the
                treatment afforded to such Claims thereunder. The Debtors acknowledge and
                agree that the Claims held by JPM (the 2010 Credit Facility Claims, the 2019
                RCF Claims, the 2010 Bond Claims and the 2012 Bond Claims), are core to the
                Debtors’ charitable mission and were incurred in furtherance of the Debtors’
                charitable mission.


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    In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and
    conditions of the settlement term sheet, on the other hand, the terms of the Plan shall control.


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                     b.      Treatment of Convenience Claims, General Unsecured Claims, and
              Non-Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
              and Non-Abuse Litigation Claims shall receive the treatment afforded to such
              Claims under Article III.B. The Debtors acknowledge and agree that General
              Unsecured Claims, Convenience Claims, and Non-Abuse Litigation Claims are
              held by creditors who are core to the Debtors’ charitable mission or creditors
              whose Claims in such Classes, if Allowed, were incurred in furtherance of the
              Debtors’ charitable mission; accordingly, payments by Reorganized BSA under
              the Plan on account of such Allowed Claims, if applicable, will be made from
              Cash relating to Reorganized BSA’s core assets.

                     c.      Challenge Period. As of the Effective Date, (i) the Challenge
              Period (as defined in the Cash Collateral Order) shall be deemed to have expired
              with respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the
              Cash Collateral Order) and other admissions, agreements and releases set forth in
              the Cash Collateral Order shall be final and binding on the Creditors’ Committee.
              The ability of any other party to bring a Challenge Proceeding (as defined in the
              Cash Collateral Order) shall be governed by the terms and conditions of the Cash
              Collateral Order.

               3.     Settlement of Restricted and Core Asset Disputes. The Debtors have
agreed under the Plan to: (a) fund the Core Value Cash Pool, in the amount of $25,000,000; and
(b) make the BSA Settlement Trust Contribution, including all of the Net Unrestricted Cash and
Investments. The proceeds of the Foundation Loan, in the amount of $42,800,000 (which
Reorganized BSA will use exclusively for working capital and general corporate purposes), will
permit the Debtors to contribute to the Settlement Trust a substantial amount of core value
consideration in Cash on the Effective Date. The foregoing components of the consideration
proposed to be provided by the Debtors to holders of certain Claims under the Plan constitute a
compromise and settlement of any and all disputes between and among the Tort Claimants’
Committee, the Future Claimants’ Representative, the Creditors’ Committee, and the Debtors
concerning the Debtors’ restricted and/or core assets, including the claims asserted in the
complaint filed by the Tort Claimants’ Committee in the adversary proceeding entitled Official
Tort Claimants’ Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts of
America and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) (the “Settlement of Restricted
and Core Asset Disputes”).

        S.     Good-Faith Compromise and Settlement. The Plan (including its incorporation of
the Abuse Claims Settlement, the JPM / Creditors’ Committee Settlement, and the Settlement of
Restricted and Core Asset Disputes), the Plan Documents, and the Confirmation Order constitute
a good-faith compromise and settlement of Claims, Interests and controversies based upon the
unique circumstances of these Chapter 11 Cases, and none of the foregoing documents, the
Disclosure Statement, or any other papers filed in furtherance of Plan Confirmation, nor any
drafts of such documents, may be offered into evidence or deemed as an admission in any
context whatsoever beyond the purposes of the Plan, in any other litigation or proceeding, except
as necessary, and as admissible in such context, to enforce their terms before the Bankruptcy
Court or any other court of competent jurisdiction. The Plan, the Abuse Claims Settlement, the
JPM / Creditors’ Committee Settlement, the Settlement of Restricted and Core Asset Disputes,


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the Plan Documents, and the Confirmation Order will be binding as to the matters and issues
described therein, but will not be binding with respect to similar matters or issues that might
arise in any other litigation or proceeding in which none of the Debtors, Reorganized BSA, the
Protected Parties, or the Settlement Trust is a party.

       T.      Restated Debt and Security Documents.

               1.      On the Effective Date, the Prepetition Debt and Security Documents shall
       be amended and restated in the form of the Restated Debt and Security Documents, and
       Reorganized BSA, JPM and Arrow shall, and shall be authorized, to execute, deliver and
       enter into the Restated Debt and Security Documents as of such date, in principal
       amounts equal to the Allowed amounts set forth in Article III.B.3, Article III.B.4, Article
       III.B.5, and Article III.B.6 without the need for any further corporate action or any
       further notice to or order of the Bankruptcy Court. The Debtors or Reorganized BSA, as
       applicable, JPM, and Arrow shall take all actions necessary to continue the Debtors’
       obligations under the Prepetition Debt and Security Documents, as amended and restated
       by the Restated Debt and Security Documents and to give effect to the Restated Debt and
       Security Documents, including surrendering any debt instruments or securities that are no
       longer applicable under the Restated Debt and Security Documents to the Debtors or
       Reorganized BSA.

               2.      Except as otherwise modified by the Restated Debt and Security
       Documents, all Liens, mortgages and security interests securing the obligations arising
       under the Restated Debt and Security Documents that were collateral securing the
       Debtors’ obligations under the Prepetition Debt and Security Documents as of the
       Petition Date are unaltered by the Plan, and all such Liens, mortgages and security
       interests are reaffirmed and perfected with respect to the Restated Debt and Security
       Documents to the same extent, in the same manner and on the same terms and priorities
       as they were under the Prepetition Debt and Security Documents, except as the foregoing
       may be modified pursuant to the Restated Debt and Security Documents. All Liens and
       security interests granted and continuing pursuant to the Restated Debt and Security
       Documents shall be (a) valid, binding, perfected, and enforceable Liens and security
       interests in the personal and real property described in and subject to such documents,
       with the priorities established in respect thereof under applicable non-bankruptcy law; (b)
       granted in good faith and deemed not to constitute a fraudulent conveyance or fraudulent
       transfer; and (c) not otherwise subject to avoidance, recharacterization, or subordination
       (whether equitable, contractual or otherwise) under any applicable law. The Debtors,
       Reorganized BSA, Arrow, and JPM are authorized to make, and to the extent required by
       the Restated Debt and Security Documents, the Debtors, Reorganized BSA, Arrow will
       make, all filings and recordings, and obtain all governmental approvals and consents
       necessary (but otherwise consistent with the consents and approvals obtained in
       connection with the Prepetition Debt and Security Documents) to establish, attach and
       perfect such Liens and security interests under any applicable law (it being understood
       that perfection shall occur automatically by virtue of the entry of the Confirmation Order
       and any such filings, recordings, approvals, and consents shall not be required), and will
       thereafter cooperate to make all other filings and recordings that otherwise would be
       necessary under applicable law to give notice of such Liens and security interests to third


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parties. For purposes of all mortgages and deposit account control agreements that
secured the obligations arising under the Prepetition Debt and Security Documents, the
Restated Debt and Security Documents are deemed an amendment and restatement of the
Prepetition Debt and Security Documents, and such mortgages and control agreements
shall survive the Effective Date, shall not be cancelled, and shall continue to secure
Reorganized BSA’s obligations under the Restated Debt and Security Documents, except
as expressly set forth therein.

        3.     The definitive terms of the Restated Debt and Security Documents shall be
(x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’
Committee, and (z) substantially the same as the Prepetition Debt and Security
Documents, except that, as to be specified in the Restated Debt and Security Documents:

               a.     the maturity dates under the Restated 2010 Bond Documents, the
       Restated 2012 Bond Documents, and the Restated Credit Facility Documents will
       be the Restated Maturity Date;

              b.     principal under the Restated 2010 Bond Documents and the
       Restated 2012 Bond Documents shall be payable in monthly installments, in the
       same monthly amounts as the prepetition periodic amortization amounts,
       beginning on the date that is two (2) years after the Effective Date and ending on
       the Restated Maturity Date; provided, that the scheduled principal amounts
       payable under the Restated 2010 Bond Documents and the Restated 2012 Bond
       Documents shall be reduced, on a pro rata basis, by an amount equal to the Excess
       Cash and Investments, if any, that are remitted to JPM under the Excess Cash
       Sweep;

              c.     interest under the Restated 2010 Bond Documents and the Restated
       2012 Bond Documents shall be payable in monthly installments, at the currently
       applicable existing rates in the 2010 Bond Documents and the 2012 Bond
       Documents, beginning on the date that is one month after the Effective Date and
       ending on the Restated Maturity Date;

               d.      principal under the Restated Credit Facility Documents shall be
       payable in quarterly installments, set at 1/40th of the outstanding balance on the
       Effective Date, beginning on the date that is two (2) years after the Effective Date
       and ending on the Restated Maturity Date; provided, that the principal amounts
       payable under the Restated Credit Facility Documents shall be reduced, on a pro
       rata basis, by an amount equal to the Excess Cash and Investments, if any, that are
       remitted to JPM under the Excess Cash Sweep;

               e.     interest under the Restated Credit Facility Documents shall be
       payable in quarterly installments at the applicable existing rates in the Prepetition
       Debt and Security Documents, beginning on the date that is three (3) months after
       the Effective Date and ending on the Restated Maturity Date;




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                f.       all of the obligations of Reorganized BSA under the Restated Debt
        and Security Documents shall be secured by first-priority liens on and security
        interests in all of the assets of Reorganized BSA;

               g.     all of the obligations of Reorganized BSA under the Restated Debt
        and Security Documents shall be guaranteed by Arrow; and

                h.      beginning on December 31 of the calendar year that is two (2)
        years after the Effective Date and continuing on December 31 of each successive
        calendar year until December 31 of the calendar year that is immediately prior to
        the calendar year of the Restated Maturity Date, Reorganized BSA shall remit to
        JPM, as soon as reasonably practicable but in no case later than thirty (30) days of
        such date, twenty-five percent (25%) of the Excess Cash and Investments in
        excess of $75,000,000, if any, as of such date (the “Excess Cash Sweep”), and
        JPM shall apply any such amounts on a pro rata basis to the unpaid principal
        balances under the Restated Debt and Security Documents. For the avoidance of
        doubt, no payments shall be made on account of the Excess Cash Sweep until the
        last Distribution is made on account of Allowed General Unsecured Claims.

U.      Foundation Loan.

        1.      On the Effective Date, the Foundation Loan Agreement and any
applicable collateral and other loan documents governing the Foundation Loan shall be
executed and delivered, and Reorganized BSA shall be authorized to execute, deliver and
enter into, the Foundation Loan Agreement and related documentation governing the
Foundation Loan without the need for any further corporate action or any further notice
to or order of the Bankruptcy Court.

         2.     As of the Effective Date, upon the granting of Liens in accordance with
the Foundation Loan Agreement and any applicable collateral and other loan documents
governing the Foundation Loan, all of the Liens and security interests granted thereunder
(a) shall be deemed to have been granted, (b) shall be legal, binding, automatically
perfected, non-avoidable, and enforceable Liens on, and security interests in, the
applicable collateral as of the Effective Date in accordance with the respective terms of
the Foundation Loan Agreement and related documentation, subject to the Liens and
security interests set forth in the Restated Debt and Security Documents, as permitted
under the Foundation Loan Agreement and related documentation. All Liens and
security interests granted pursuant to the Foundation Loan Agreement and related
documentation shall be (i) valid, binding, perfected, and enforceable Liens and security
interests in the personal and property described in and subject to such documents, with
the priorities established in respect thereof under applicable non-bankruptcy law;
(ii) granted in good faith and deemed not to constitute a fraudulent conveyance or
fraudulent transfer; and (c) not otherwise subject to avoidance, recharacterization, or
subordination (whether equitable, contractual or otherwise) under any applicable law.
The Debtors, Reorganized BSA, Arrow, and the Foundation are authorized to make, and
to the extent contemplated by the Foundation Loan Agreement and related
documentation, the Debtors, Reorganized BSA, Arrow will make, all filings and


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       recordings, and obtain all governmental approvals and consents necessary to establish,
       attach and perfect such Liens and security interests under any applicable law (it being
       understood that perfection shall occur automatically by virtue of the entry of the
       Confirmation Order and any such filings, recordings, approvals, and consents shall not be
       required), and will thereafter cooperate to make all other filings and recordings that
       otherwise would be necessary under applicable law to give notice of such Liens and
       security interest to third parties.

        V.     Pension Plan. No provision contained in the Plan, Confirmation Order, the
Bankruptcy Code (including section 1141 of the Bankruptcy Code), or any other document filed
or order entered in the Chapter 11 Cases shall be construed to exculpate, discharge, release or
relieve the Debtors, the Local Councils, or any other party, in any capacity, from any liability or
responsibility to any Person with respect to the Pension Plan under any law, governmental
policy, or regulatory provision. The Pension Plan shall not be enjoined or precluded from
enforcing any such liability or responsibility as a result of any of the provisions of the Plan
(including those provisions providing for exculpation, satisfaction, release and discharge of
Claims against the Debtors), the Confirmation Order, the Bankruptcy Code (including section
1141 of the Bankruptcy Code), or any other document filed or order entered in the Chapter 11
Cases. The Settlement Trust shall not have any liability to any Person on account of the Pension
Plan, including liability as a member of a “Controlled Group” as defined in 29 U.S.C. §
1301(a)(14)(A) or on any other basis whatsoever.

        W.       Single Satisfaction of Allowed General Unsecured Claims. In no event shall any
holder of an Allowed General Unsecured Claim recover more than the full amount of its
Allowed General Unsecured Claim from the Core Value Cash Pool (plus interest from the Core
Value Cash Pool at the federal judgment rate to the extent applicable under the terms hereof),
and to the extent that the holder of an Allowed General Unsecured Claim has received, or in the
future receives, payment on account of such Allowed General Unsecured Claim from a party that
is not a Debtor or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value
Cash Pool any Distribution held by or transferred to such holder to the extent the holder’s total
recovery on account of its Allowed General Unsecured Claim from the third party and from the
Core Value Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim
(plus interest from the Core Value Cash Pool at the federal judgment rate to the extent applicable
under the terms hereof).

        X.     Exemption from Certain Transfer Taxes and Recording Fees. To the maximum
extent permitted pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property
pursuant to the Plan, including any transfers to the Settlement Trust by the Debtors, the Local
Councils, the Contributing Chartered Organizations, and the Settling Insurance Companies, and
payments by Reorganized BSA to or from the Core Value Cash Pool, shall not be subject to any
document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
stamp act, real estate transfer tax, sale or use tax, mortgage recording tax, or other similar tax or
governmental assessment, and, upon entry of the Confirmation Order, the appropriate state or
local governmental officials or agents shall forego the collection of any such tax or governmental
assessment and are allowed to accept for filing and recordation any of the foregoing instruments
or other documents pursuant to such transfers of property without the payment of any such tax,
recordation fee, or governmental assessment.


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         EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

        1.     On the Effective Date, except as otherwise provided herein, all Executory
Contracts and Unexpired Leases shall be deemed assumed by Reorganized BSA without
the need for any further notice to or action, order, or approval of the Bankruptcy Court
under sections 365 or 1123 of the Bankruptcy Code, except for Executory Contracts or
Unexpired Leases: (a) that are identified on the Rejected Contracts and Unexpired Leases
Schedule; (b) that previously expired or terminated pursuant to their terms; (c) that the
Debtors have previously assumed or rejected pursuant to a Final Order of the Bankruptcy
Court; (d) that are the subject of a motion to reject that remains pending as of the
Effective Date; (e) as to which the effective date of rejection will occur (or is requested
by the Debtors to occur) after the Effective Date; or (f) as to which the Debtors or
Reorganized BSA, as applicable, determine, in the exercise of their reasonable business
judgment, that the Cure Amount, as determined by a Final Order or as otherwise finally
resolved, would render assumption of such Executory Contract or Unexpired Lease
unfavorable to Debtors or Reorganized BSA; provided that the Debtors reserve the right
to seek enforcement of an assumed or assumed and assigned Executory Contract or
Unexpired Lease following the Confirmation Date, including seeking an order of the
Bankruptcy Court rejecting such Executory Contract or Unexpired Lease for cause.

        2.      Entry of the Confirmation Order shall constitute an order of the
Bankruptcy Court approving the assumption or rejection, as applicable, of Executory
Contracts or Unexpired Leases pursuant to the Plan, pursuant to sections 365 and 1123 of
the Bankruptcy Code. Except as otherwise set forth herein, the assumption or rejection of
an Executory Contract or Unexpired Lease pursuant to the Plan shall be effective as of
the Effective Date; provided that the rejection of an Unexpired Lease shall be effective as
of the later of: (a) the Effective Date; and (b) the date on which the leased premises are
unconditionally surrendered to the non-Debtor counterparty to the rejected Unexpired
Lease. Reorganized BSA is authorized to abandon any De Minimis Assets at or on the
premises subject to an Unexpired Lease that is rejected pursuant to the Plan, and the non-
Debtor counterparty to such Unexpired Lease may dispose of any such De Minimis
Assets remaining at or on the leased premises on the applicable lease rejection date.

        3.     Each Executory Contract or Unexpired Lease assumed pursuant to the
Plan or a Final Order of the Bankruptcy Court shall re-vest in and be fully enforceable by
Reorganized BSA in accordance with its terms, except as such terms may have been
modified by the provisions of the Plan, the Confirmation Order, or any Final Order of the
Bankruptcy Court authorizing and providing for its assumption. Any motions to assume
Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject
to approval by a Final Order on or after the Effective Date but may be withdrawn, settled,
or otherwise prosecuted by Reorganized BSA.




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        B.      Rejection Damages Claims. Unless otherwise provided by a Final Order of the
Bankruptcy Court, all Proofs of Claim for Rejection Damages Claims, if any, shall be filed
within thirty (30) days after the latest to occur of: (1) the date of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection; (2) the effective
date of the rejection of such Executory Contract or Unexpired Lease; or (3) the Effective Date
(as applicable, the “Rejection Damages Bar Date”). Claims arising from the rejection of an
Executory Contract or an Unexpired Lease shall be classified as General Unsecured Claims and
subject to the provisions of Article VII and the applicable provisions of the Bankruptcy Code and
the Bankruptcy Rules. Any holder of a Rejection Damages Claim that is required to file a
Proof of Claim in accordance with this Article VI.B but fails to do so on or before the
Rejection Damages Bar Date shall not be treated as a creditor with respect to such Claim
for the purposes of voting or Distributions, and such Rejection Damages Claim shall be
automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors, their Estates, Reorganized BSA, or its or their respective property, whether by
setoff, recoupment, or otherwise, without the need for any objection by the Debtors or
Reorganized BSA or further notice to, or action, order, or approval of the Bankruptcy
Court, and such Rejection Damages Claim shall be deemed fully satisfied, released, and
discharged.

       C.      Cure of Defaults under Executory Contracts and Unexpired Leases.

               1.       Any monetary defaults under each Executory Contract and Unexpired
       Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
       of the Bankruptcy Code, by payment of the Cure Amount in Cash on the Effective Date
       or in the ordinary course of the Debtors’ or Reorganized BSA’s non-profit operations,
       subject to the limitation described below.

               2.      Except as otherwise provided in the Plan, the Debtors shall, on or before
       the date of filing of the Plan Supplement, cause the Cure and Assumption Notices to be
       served on counterparties to Executory Contracts and Unexpired Leases to be assumed
       pursuant to the Plan. Any objection by a non-Debtor counterparty to an Executory
       Contract or Unexpired Lease to the assumption, assumption and assignment, the related
       Cure Amount, or adequate assurance, must be filed, served, and actually received by the
       Debtors on or prior to the deadline for filing objections to the Plan (or such later date as
       may be provided in the applicable Cure and Assumption Notice); provided that each
       counterparty to an Executory Contract or Unexpired Lease (a) that the Debtors later
       determine to assume or (b) as to which the Debtors modify the applicable Cure Amount,
       must object to the assumption or Cure Amount, as applicable, by the earlier of: (i)
       fourteen (14) days after the Debtors serve such counterparty with a corresponding Cure
       and Assumption Notice; and (ii) the Confirmation Hearing. Any counterparty to an
       Executory Contract or Unexpired Lease that fails to timely object to the proposed
       assumption of any Executory Contract or Unexpired Lease shall be forever barred,
       estopped, and enjoined from contesting the Debtors’ assumption of the applicable
       Executory Contract or Unexpired Lease and from requesting payment of a Cure
       Amount that differs from the amounts paid or proposed to be paid by the Debtors
       or Reorganized BSA, in each case without the need for any objection by the Debtors
       or Reorganized BSA or any further notice to or action, order, or approval of the


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       Bankruptcy Court. Reorganized BSA may settle any dispute regarding a Cure
       Amount without any further notice to or action, order, or approval of the
       Bankruptcy Court.

               3.      To the maximum extent permitted by law, to the extent any provision in
       any Executory Contract or Unexpired Lease assumed, or assumed and assigned, pursuant
       to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or would
       be deemed breached by, the assumption or assumption and assignment of such Executory
       Contract or Unexpired Lease (including any change of control or similar provision), then
       such provision shall be deemed preempted and modified such that neither the Debtors’
       assumption or assumption and assignment of the Executory Contract or Unexpired Lease
       nor any of the transactions contemplated by the Plan shall entitle the non-debtor
       counterparty to terminate or modify such Executory Contract or Unexpired Lease or to
       exercise any other purported default-related rights thereunder.

               4.     The Debtors’ assumption or assumption and assignment of any
       Executory Contract or Unexpired Lease pursuant to the Plan or otherwise, and
       payment of any applicable Cure Amount in accordance with the procedures set
       forth in this Article VI.C, shall result in the full release and satisfaction of any
       Claims or defaults, whether monetary or nonmonetary, including defaults of
       provisions restricting the change in control or ownership interest composition or
       other bankruptcy-related defaults, arising under any assumed, or assumed and
       assigned, Executory Contract or Unexpired Lease at any time prior to the effective
       date of assumption. Any and all Proofs of Claim based upon Executory Contracts
       or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
       pursuant to the Confirmation Order, shall be deemed Disallowed and expunged as
       of the later of: (a) the date of entry of an order of the Bankruptcy Court (including
       the Confirmation Order) approving such assumption; (b) the effective date of such
       assumption; or (c) the Effective Date, in each case without the need for any
       objection by the Debtors or Reorganized BSA or any further notice to or action,
       order, or approval of the Bankruptcy Court.

        D.      Dispute Resolution. In the event of a timely filed objection regarding: (1) a Cure
Amount; (2) the ability of Reorganized BSA or any assignee to provide adequate assurance of
future performance within the meaning of section 365 of the Bankruptcy Code under the
Executory Contract or Unexpired Lease to be assumed; or (3) any other matter pertaining to
assumption or the requirements of section 365(b)(1) of the Bankruptcy Code, such dispute shall
be resolved by a Final Order of the Bankruptcy Court (which may be the Confirmation Order) or
as may be agreed upon by the Debtors or Reorganized BSA, as applicable, and the counterparty
to the Executory Contract or Unexpired Lease. The Debtors or Reorganized BSA, applicable,
shall pay the applicable Cure Amount as soon as reasonably practicable after entry of a Final
Order resolving such dispute and approving such assumption, or as may otherwise be agreed
upon by the Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory
Contract or Unexpired Lease. To the extent that a dispute regarding the applicable Cure Amount
is resolved or determined unfavorably to the Debtors, the Debtors may, in their discretion, reject
the applicable Executory Contract or Unexpired Lease after such determination, which rejection
shall supersede, nullify, and render of no force or effect any earlier assumption or assumption


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and assignment. Under no circumstances shall the status of payment of a Cure Amount required
by section 365(b)(1) of the Bankruptcy Code following the entry of a Final Order resolving the
dispute and approving the assumption prevent or delay implementation of the Plan or the
occurrence of the Effective Date.

        E.     Contracts and Leases Entered into After the Petition Date. Contracts and leases
entered into after the Petition Date by the BSA, including any Executory Contracts and
Unexpired Leases assumed by BSA, will be performed by the BSA or Reorganized BSA in the
ordinary course of its charitable non-profit operations. Accordingly, such contracts and leases
(including any assumed Executory Contract and Unexpired Leases) shall survive and remain
unaffected by entry of the Confirmation Order.

        F.     Directors and Officers Insurance Policies. All of the Debtors’ unexpired D&O
Liability Insurance Policies shall be treated as and deemed to be Executory Contracts under the
Plan. Notwithstanding anything in the Plan to the contrary, on the Effective Date, Reorganized
BSA shall be deemed to have assumed all unexpired D&O Liability Insurance Policies with
respect to the Debtors’ directors, managers, officers, and employees serving on or prior to the
Petition Date pursuant to sections 365 and 1123 of the Bankruptcy Code and this Article VI.
Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the
Reorganized BSA’s assumption of each of the unexpired D&O Liability Insurance Policies.
Notwithstanding anything to the contrary contained in the Plan, entry of the Confirmation Order
shall not discharge, impair, or otherwise modify any indemnity obligations assumed as a result of
the foregoing assumption of the D&O Liability Insurance Policies and related documents, and
each such indemnity obligations will be deemed and treated as an Executory Contract that has
been assumed by the Reorganized Debtors under the Plan as to which no Proof of Claim need be
filed. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of
Reorganized BSA’s foregoing assumption of the unexpired D&O Liability Insurance Policies.

       G.      Insurance Policies.

               1.      Notwithstanding anything to the contrary herein, all BSA Insurance
       Policies issued or entered into prior to the Petition Date shall not be considered Executory
       Contracts and shall neither be assumed nor rejected by the Debtors; provided, however,
       that to the extent any BSA Insurance Policy is determined to be an Executory Contract,
       then, subject to Article IV.P, and notwithstanding anything contained in the Plan to the
       contrary, the Plan will constitute a motion to assume such BSA Insurance Policy and pay
       all future obligations, if any, in respect thereof and, subject to the occurrence of the
       Effective Date, the entry of the Confirmation Order will constitute approval of such
       assumption pursuant to section 365(a) of the Bankruptcy Code and a finding by the
       Bankruptcy Court that each such assumption is in the best interest of the Debtors, their
       respective Estates and all parties in interest. Unless otherwise determined by the
       Bankruptcy Court pursuant to a Final Order or agreed by the parties thereto prior to the
       Effective Date, no payments are required to cure any defaults of any Debtor existing as of
       the Confirmation Date with respect to any BSA Insurance Policy; and prior payments for
       premiums or other charges made prior to the Petition Date under or with respect to any
       BSA Insurance Policy shall be indefeasible. Moreover, as of the Effective Date, all
       payments of premiums or other charges made by the Debtors on or after the Petition Date


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       under or with respect to any BSA Insurance Policy shall be deemed to have been
       authorized, approved, and ratified in all respects without any requirement of further
       action by the Bankruptcy Court. Notwithstanding anything to the contrary contained
       herein, Confirmation shall not discharge, impair or otherwise modify any obligations
       assumed by the foregoing assumption, and each such obligation shall be deemed and
       treated as an Executory Contract that has been assumed by the Debtors under the Plan as
       to which no Proof of Claim need be filed.

               2.     Other than the permissibility of the Insurance Assignment, which is to be
       determined by or in connection with Confirmation, the rights and obligations of the
       parties under the Insurance Policies, including the question of whether any breach has
       occurred, shall be determined under applicable law.

        H.     Compensation and Benefits Programs. Other than those Compensation and
Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order, if any, all of
the Compensation and Benefits Programs entered into before the Petition Date and not since
terminated shall be deemed to be, and shall be treated as though they are, Executory Contracts
under the Plan. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of Reorganized BSA’s assumption and continued maintenance and sponsorship of each of such
Compensation and Benefits Plan under sections 365 and 1123 of the Bankruptcy Code, and the
Debtors’ and Reorganized BSA’s obligations under the Compensation and Benefits Programs
shall survive and remain unaffected by entry of the Confirmation Order and be fulfilled in the
ordinary course of the Debtors’ and Reorganized BSA’s non-profit operations. Compensation
and Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order shall
continue to be fulfilled in the ordinary course of the Debtors’ non-profit operations from and
after the date of any order of the Bankruptcy Court authorizing the assumption of such
Compensation and Benefits Program. All Claims filed on account of an amounts asserted to be
owed under Compensation and Benefits Programs shall be deemed satisfied and expunged from
the Claims Register as of the Effective Date without any further notice to or action, order, or
approval of the Bankruptcy Court.

       I.     Restoration Plan and Deferred Compensation Plan. On the Effective Date the
Restoration Plan and the Deferred Compensation Plan shall be terminated and, to the extent
applicable, shall be deemed rejected by Reorganized BSA pursuant to section 365 of the
Bankruptcy Code and this Article VI. Claims arising from the Debtors’ rejection of the
Restoration Plan and the Deferred Compensation Plan shall be treated as General Unsecured
Claims hereunder. Holders of Allowed Claims arising from such rejection shall be entitled to a
recovery from the Core Value Cash Pool in accordance with the applicable terms of the Plan.

        J.     Workers’ Compensation Program. As of the Effective Date, the Debtors and
Reorganized BSA shall continue to honor their obligations under: (a) all applicable workers’
compensation laws in all applicable states; and (b) the Workers’ Compensation Program. All
Proofs of Claims on account of workers’ compensation, including the Workers’ Compensation
Program, shall be deemed withdrawn automatically and without any further notice to or action,
order, or approval of the Bankruptcy Court; provided, however, that nothing in the Plan shall
limit, diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses, Causes of
Action, or other rights under applicable non-bankruptcy law with respect to the Workers’


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Compensation Programs; provided further, however, that nothing herein shall be deemed to
impose any obligations on the Debtors or their insurers in addition to what is provided for under
the terms of the Workers’ Compensation Programs and applicable state law.

       K.      Indemnification Obligations.

               1.     Notwithstanding anything in the Plan to the contrary, each Indemnification
       Obligation shall be assumed by Reorganized BSA effective as of the Effective Date,
       pursuant to sections 365 and 1123 of the Bankruptcy Code or otherwise, except for any
       Indemnification Obligation that is or is asserted to be owed to or for the benefit of any
       Perpetrator. Subject to the foregoing sentence, each Indemnification Obligation shall
       remain in full force and effect, shall not be modified, reduced, discharged, impaired, or
       otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective
       of when such obligation arose. For the avoidance of doubt, this Article VI.K affects only
       the obligations of the Debtors and Reorganized BSA with respect to any Indemnification
       Obligations owed to or for the benefit of past and present directors, officers, employees,
       attorneys, accountants, investment bankers, and other professionals and agents of the
       Debtors, and shall have no effect on nor in any way discharge or reduce, in whole or in
       part, any obligation of any other Person owed to or for the benefit of such directors,
       officers, employees, attorneys, accountants, investment bankers, and other professionals
       and agents of the Debtors.

               2.     All Proofs of Claim filed on account of an Indemnification Obligation to a
       current or former director, officer, or employee shall be deemed satisfied and expunged
       from the Claims Register as of the Effective Date to the extent such Indemnification
       Obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to the
       Plan, without any further notice to or action, order, or approval of the Bankruptcy Court.

        L.     Gift Annuity Agreements and Life-Income Agreements. The Gift Annuity
Agreements and Life-Income Agreements shall be deemed to be, and shall be treated as though
they are, Executory Contracts under the Plan, and entry of the Confirmation Order will constitute
the Bankruptcy Court’s approval of the Debtors’ assumption of each of such Executory Contract.

        M.       Modifications, Amendments, Supplements, Restatements, or Other Agreements.
Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and
Executory Contracts and Unexpired Leases related thereto, if any, including easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
unless the Debtors reject or repudiate any of the foregoing agreements. Modifications,
amendments, and supplements to, or restatements of, prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.

      N.     Reservation of Rights. Neither the inclusion of any Executory Contract or
Unexpired Lease on the Schedules, a Cure and Assumption Notice, or the Rejected Executory


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contracts and Unexpired Leases Schedule, nor anything contained in any Plan Document, shall
constitute an admission by the Debtors that a contract or lease is in fact an Executory Contract or
Unexpired Lease or that Reorganized BSA has any liability thereunder. If there is a dispute as of
the Confirmation Date regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors, or, after the Effective Date, Reorganized BSA, shall have
thirty (30) days following entry of a Final Order resolving such dispute to alter their treatment of
such contract or lease, including by rejecting such contract or lease nunc pro tunc to the
Confirmation Date.

        O.      Nonoccurrence of Effective Date; Bankruptcy Code Section 365(d)(4). If the
Effective Date fails to occur, the Bankruptcy Court shall retain jurisdiction with respect to any
request to further extend the deadline for assuming or rejecting Unexpired Leases under section
365(d)(4) of the Bankruptcy Code.



                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.     Applicability. None of the terms or provision of this Article VII shall apply to
Abuse Claims, which shall be exclusively processed, liquidated and paid by the Settlement Trust
in accordance with the Settlement Trust Documents.

       B.      Distributions Generally. The Disbursing Agent shall make all Distributions to
appropriate holders of Allowed Claims in accordance with the terms of the Plan.

       C.     Distributions on Account of Certain Claims Allowed as of the Effective Date.
Except as otherwise provided in the Plan, on or as soon as practicable after the Effective Date,
the Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,
Allowed Other Secured Claims, and Allowed Convenience Claims.

       D.     Distributions on Account of Allowed General Unsecured Claims. On each
Distribution Date, the Disbursing Agent shall Distribute to each holder of an Allowed General
Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the total balance of the
Core Value Cash Pool as of such date, less (2) the balance of the Disputed Claims Reserve.

        E.     Distributions on Account of Disputed Claims Allowed After the Effective Date.
Distributions on account of any Disputed Claim shall be made to the extent such Claim is
Allowed in accordance with the provisions of Article VIII. Except as otherwise provided in the
Plan, the Confirmation Order, another order of the Bankruptcy Court, or as agreed to by the
relevant parties, Distributions under the Plan on account of Disputed Claims that become
Allowed after the Effective Date shall be made as soon as practicable after the Disputed Claim
becomes an Allowed Claim.

       F.      Rights and Powers of Disbursing Agent.

              1.     The Disbursing Agent shall make all Distributions to the appropriate
       holders of Allowed Claims in accordance with the terms of the Plan, including this


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Article VII. Except as otherwise ordered by the Bankruptcy Court, the Disbursing Agent
shall not be required to give any bond or surety or other security for the performance of
its duties.

        2.      The Disbursing Agent shall be empowered to: (a) effect all actions and
execute all agreements, instruments, and other documents necessary to perform its duties
under the Plan; (b) make all Distributions contemplated hereby; (c) employ professionals
to represent it with respect to its responsibilities; and (d) exercise such other powers as
may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the
Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement the
provisions hereof. The Disbursing Agent may request an expedited determination of
taxes under section 505(b) of the Bankruptcy Code for all returns for all taxable periods
through the date on which final Distributions are made.

G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

        1.      Claims Record Date. As of the close of business on the Claims Record
Date, the various transfer registers for each of the Classes of Claims as maintained by the
Debtors or their agents shall be deemed closed for purposes of determining whether a
holder of such a Claim is a record holder entitled to a Distribution under the Plan, and
there shall be no further changes in the record holders or the permitted designees with
respect to such Claims. The Debtors or Reorganized BSA, as applicable, shall have no
obligation to recognize any transfer or designation of such Claims occurring after the
close of business on the Claims Record Date. With respect to payment of any Cure
Amounts or assumption disputes, neither the Debtors nor Reorganized BSA shall have
any obligation to recognize or deal with any party other than the non-Debtor party to the
applicable Executory Contract or Unexpired Lease as of the close of business on the
Claims Record Date, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.

       2.      Delivery of Distributions. If a Person holds more than one Claim in any
one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
into one Claim and one Distribution will be made with respect to the aggregated Claim.

        3.      Special Rules for Distributions to Holders of Disputed Claims. Except as
otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial
payments and no partial Distributions shall be made with respect to a Disputed Claim
until all such disputes in connection with such Disputed Claim have been resolved by
settlement or Final Order; and (b) any Person that holds both an Allowed Claim and a
Disputed Claim shall not receive any Distribution on account of the Allowed Claim
unless and until all objections to the Disputed Claim have been resolved by settlement or
Final Order or the Disputed Claims have been Allowed or expunged. Any Distributions
arising from property Distributed to holders of Allowed Claims in a Class and paid to
such holders under the Plan shall also be paid, in the applicable amounts, to any holder of
a Disputed Claim in such Class that becomes an Allowed Claim after the date or dates
that such Distributions were earlier paid to holders of Allowed Claims in such Class.



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       H.      Undeliverable and Non-Negotiated Distributions.

               1.      Undeliverable Distributions. If any Distribution to a holder of an Allowed
Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be made to
such holder unless and until Reorganized BSA is notified in writing of such holder’s then-current
address or other necessary information for delivery, at which time such previously undeliverable
Distribution shall be made to such holder within ninety (90) days of receipt of such holder’s
then-current address or other necessary information; provided, however, that any such
undeliverable Distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days after the date of the initial attempted Distribution.
After such date, all unclaimed property or interests in property shall revert to Reorganized BSA
automatically and without the need for any notice to or further order of the Bankruptcy Court
(notwithstanding any applicable non-bankruptcy escheatment, abandoned, or unclaimed property
laws to the contrary), and the right, title, and interest of any holder to such property or interest in
property shall be discharged and forever barred; provided that Distributions made from the Core
Value Cash Pool and returned as undeliverable shall revert to the Core Value Cash Pool.

               2.     Non-Negotiated Distributions. If any Plan to a holder of an Allowed
Claim is not negotiated for a period of 180 days after the Distribution, then such Distribution
shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code and re-vest in
Reorganized BSA or re-vest in the Core Value Cash Pool if such Distribution was made from the
Core Value Cash Pool. After such date, all non-negotiated property or interests in property shall
revert to Reorganized BSA automatically and without the need for any notice to or further order
of the Bankruptcy Court (notwithstanding any applicable non-bankruptcy escheatment,
abandoned, or unclaimed property laws to the contrary), and the right, title, and interest of any
holder to such property or interest in property shall be discharged and forever barred.

        I.     Manner of Payment under the Plan. Except as otherwise specifically provided in
the Plan, at the option of Reorganized BSA, any Cash payment to be made hereunder may be
made by a check or wire transfer or as otherwise required or provided in applicable agreements
or customary practices of Reorganized BSA.

        J.       Satisfaction of Claims. Except as otherwise specifically provided in the Plan, any
Distributions to be made on account of Allowed Claims under the Plan shall be in complete and
final satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

       K.      Minimum Cash Distributions. Reorganized BSA shall not be required to make
any Distribution of Cash less than twenty dollars ($20) to any holder of an Allowed Claim;
provided, however, that if any Distribution is not made pursuant to this Section VIII.K, such
Distribution shall be added to any subsequent Distribution to be made on behalf of the holder’s
Allowed Claim.

        L.      Postpetition Interest. Except as provided in the Cash Collateral Order or in the
following sentence, interest shall not accrue on Impaired Claims; no holder of an Impaired Claim
shall be entitled to interest accruing on or after the Petition Date on any such Impaired Claim,
and interest shall not accrue or be paid on any Disputed Claim in respect of the period from the
Petition Date to the date a Distribution is made thereon if and after such Disputed Claim


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becomes an Allowed Claim. Notwithstanding the foregoing, each holder of an Allowed General
Unsecured Claim shall accrue interest on the Allowed amount of such Claim at the federal
judgment rate then applicable; provided, that such interest shall be payable to each such holder
only from the Core Value Cash Pool and only to the extent that the Core Value Cash Pool shall
have been sufficient: (i) first, to satisfy the full amount of all Allowed General Unsecured
Claims; and (ii) second, on account of any Allowed Non-Abuse Litigation Claims that shall not
have elected to be treated as an Allowed Convenience Claim under Article III.B.9, to satisfy any
deficiency in payments of such Allowed Claims from available Insurance Coverage, from
applicable proceeds of any Insurance Settlement Agreements, and from co-liable non-debtors (if
any) or their insurance coverage. Neither the Debtors nor Reorganized BSA shall have any
independent obligation to pay interest for or on account of any Allowed General Unsecured
Claims other than from the Core Value Cash Pool in accordance with the terms of this Article
VII.L.

        M.     Setoffs. The Debtors and Reorganized BSA may, pursuant to the applicable
provisions of the Bankruptcy Code, or applicable non-bankruptcy law, set off against any
applicable Allowed Claim (before any Distribution is made on account of such Claim) any and
all claims, rights, Causes of Action, debts or liabilities of any nature that the Debtors or
Reorganized BSA may hold against the holder of such Allowed Claim; provided, however, that
the failure to effect such a setoff shall not constitute a waiver or release of any such claims,
rights, Causes of Action, debts or liabilities.

       N.      Claims Paid or Payable by Third Parties.

                1.      Claims Paid by Third Parties. A Claim shall be reduced in full, and such
Claim shall be Disallowed without an objection to such Claim having to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the
holder of such Claim receives payment in full on account of such Claim from a party that is not a
Debtor or Reorganized BSA. To the extent a holder of a Claim receives a Distribution on
account of such Claim and receives payment from a party that is not a Debtor or Reorganized
BSA on account of such Claim, such holder shall repay, return, or deliver any Distribution held
by or transferred to such holder to Reorganized BSA to the extent the holder’s total recovery on
account of such Claim from the third party and under the Plan exceeds the amount of such Claim
as of the date of any such Distribution under the Plan.

                2.      Non-Abuse Claims Payable from Insurance. No Distributions under the
Plan shall be made on account of any Allowed Non-Abuse Claim that is payable pursuant to an
insurance policy until the holder of such Allowed Non-Abuse Claim has exhausted all remedies
with respect to such insurance policy, including pursuing such insurance through litigation and
obtaining entry of a final, non-appealable order. To the extent that one or more of the Insurance
Companies satisfies in full or in part an Allowed Non-Abuse Claim, then immediately upon such
satisfaction, the portion of the Claim so satisfied may be expunged from the Claims Register by
the Notice and Claims Agent without an objection to such Claim having to be filed and without
any further notice to or action, order, or approval of the Bankruptcy Court.




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       O.      Compliance with Tax Requirements and Allocations.

                1.     In connection with the Plan and all Distributions hereunder, the
Disbursing Agent shall comply with all tax withholding and reporting requirements imposed on
them by any federal, state or local taxing authority, and all Distributions pursuant to the Plan
shall be subject to such withholding and reporting requirements. Notwithstanding any provision
in the Plan to the contrary, the Disbursing Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the Distribution to be made under the Plan to generate sufficient funds to
pay applicable withholding taxes, withholding Distributions pending receipt of information
necessary to facilitate such Distributions including tax certification forms, or establishing any
other mechanisms it believes are reasonable and appropriate.

               2.      For tax purposes, Distributions in full or partial satisfaction of Allowed
Claims shall be allocated first to the principal amount of Allowed Claims, with any excess
allocated to unpaid interest that accrued on such Claim.



         PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                        AND DISPUTED CLAIMS

       A.     Applicability. All Disputed Claims against the Debtors, other than Administrative
Expense Claims, shall be subject to the provisions of this Article VIII. All Administrative
Expense Claims shall be determined and, if Allowed, paid in accordance with Article II. None
of the terms or provision of this Article VIII shall apply to Abuse Claims, which shall be
exclusively processed, liquidated and paid by the Settlement Trust in accordance with the
Settlement Trust Documents.

        B.     Allowance of Claims. After the Effective Date, Reorganized BSA shall have and
retain any and all rights and defenses that the Debtors, or either of them, had with respect to any
Claim immediately before the Effective Date. Except as expressly provided in the Plan or in any
order entered in the Chapter 11 Cases before the Effective Date (including the Confirmation
Order), no Claim shall become an Allowed Claim unless and until such Claim becomes Allowed
by Final Order of the Bankruptcy Court or by agreement between the Debtors or Reorganized
BSA, on the one hand, and the holder of Claim, on the other.

       C.      Claims Administration Responsibilities.

               1.     Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (a) to file, withdraw, or litigate
       to judgment objections to Claims; (b) to settle or compromise any Disputed Claim
       without any further notice to or action, order, or approval by the Bankruptcy Court; and
       (c) to administer and adjust the Claims Register to reflect any such settlements or
       compromises without any further notice to or action, order, or approval by the
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              2.     Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,
       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection
       Deadline.

        D.     Estimation of Claims. The Debtors (before the Effective Date) or Reorganized
BSA (on and after the Effective Date) may at any time request that the Bankruptcy Court
estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of
whether an objection was previously filed with the Bankruptcy Court with respect to such Claim
or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court
shall retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to such Claim, including during the pendency of any appeal relating to any such
objection. In the event that the Bankruptcy Court estimates any Disputed Claim, that estimated
amount will constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim against any Person. If the estimated amount of a Claim constitutes a maximum
limitation on such Claim, the Debtors (before the Effective Date) or Reorganized BSA (on and
after the Effective Date) may elect to pursue any supplemental proceedings to object to any
ultimate Distribution on such Claim. All of the objection, estimation, settlement, and resolution
procedures set forth in the Plan are cumulative and not necessarily exclusive of one another.
Claims may be estimated and subsequently compromised, objected to, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.

        E.     No Distributions Pending Allowance. No Distributions or other consideration
shall be paid with respect to any Claim that is a Disputed Claim unless and until all objections to
such Disputed Claim are resolved and such Disputed Claim becomes an Allowed Claim by Final
Order of the Bankruptcy Court or agreement between the Debtors or Reorganized BSA, on the
one hand, and the holder of Claim, on the other.

        F.    Distributions after Allowance. To the extent that a Disputed Claim (or a portion
thereof) becomes an Allowed Claim, Distributions (if any) shall be made to the holder of such
Allowed Claim in accordance with the provisions of the Plan.

        G.     Disputed Claims Reserve. The provisions of this Article VIII.G apply only to the
extent that any General Unsecured Claims remain Disputed as of any Distribution Date.

               1.      If any General Unsecured Claims remain Disputed as of any Distribution
       Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
       account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
       to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
       treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
       Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
       consistently with the foregoing for state and local income tax purposes. All parties
       (including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
       Unsecured Claims) shall be required to report for tax purposes in a manner consistent
       with the foregoing. The Disputed Claims Reserve shall be responsible for payment, out



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       of the assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed
       Claims Reserve or its assets.

              2.      The Debtors or Reorganized BSA, as applicable, in consultation with the
       Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
       applicable, as of the initial Distribution Date, based on the least of: (a) the asserted
       amount of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b)
       the amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of
       the Bankruptcy Code or (ii) Article VIII.D if, after the Effective Date, a motion is filed
       by Reorganized BSA to estimate such Claim; (c) the amount otherwise agreed to by the
       Debtors (or Reorganized BSA, if after the Effective Date) and the holders of such
       Disputed General Unsecured Claims; or (d) any amount otherwise approved by the
       Bankruptcy Court. Upon each Distribution Date, Reorganized BSA shall deposit into the
       Disputed Claims Reserve an amount of Cash equal to the amount sufficient to make the
       Distributions to which holders of Disputed General Unsecured Claims would be entitled
       under the Plan as of the applicable Distribution Date if the Disputed General Unsecured
       Claims were Allowed Claims as of such date.

                3.      If a Disputed General Unsecured Claim becomes an Allowed Claim after
       the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
       the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
       General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
       soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
       from the Disputed Claims Reserve, the amount of Cash that such holder would have
       received in that Distribution and all prior Distributions (if any) if such holder’s General
       Unsecured Claim had been Allowed as of the Effective Date, net of any allocable taxes
       imposed thereon or otherwise payable by the Disputed Claims Reserve.

              4.     If a Disputed Claim is Disallowed, in whole or in part, then on the
       Distribution Date next following the date of Disallowance, Cash shall be released from
       the Disputed Claims Reserve, which Cash shall then be unreserved and unrestricted, and
       which shall be available for Distribution to holders of Allowed General Unsecured
       Claims.

               5.      If any assets remain in the Disputed Claims Reserve after all Disputed
       General Unsecured Claims have been resolved, such assets shall be distributed Pro Rata
       to all holders of Allowed General Unsecured Claims on the next Distribution Date (or, if
       all Disputed General Unsecured Claims are resolved after the final Distribution Date, as
       soon as practicable thereafter).

        H.     Reimbursement or Contribution. If the Bankruptcy Court Disallows a Claim for
reimbursement or contribution pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to
the extent that such Claim is contingent as of the Effective Date, such Claim shall be forever
Disallowed notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Effective
Date (1) such Claim has been adjudicated as non-contingent or (2) the relevant holder of a Claim
has filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been
entered determining such Claim as no longer contingent.


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       I.      Adjustment to Claims Register without Objection. Any duplicate Proof of Claim
that has been paid or satisfied, or any Proof of Claim that is clearly marked as amended or
superseding, may be adjusted or expunged on the Claims Register by the Notice and Claims
Agent at the direction of Reorganized BSA upon stipulation between the parties in interest
without an objection having to be filed and without any further notice to or action, order, or
approval of the Bankruptcy Court.

        J.     Time to File Objections to Claims. Any objections to Claims must be filed on or
before the applicable Claims Objection Deadline, as such deadline may be extended from time to
time. The expiration of the Claims Objection Deadline shall not limit or affect the Debtors’ or
Reorganized BSA’s rights to dispute Claims asserted in the ordinary course of the Debtors or
Reorganized BSA’s non-profit operations other than through a Proof of Claim.

        K.     Disallowance of Certain Claims. Except as provided herein or otherwise agreed,
any and all Proofs of Claim filed after the applicable Bar Date shall be deemed Disallowed and
expunged as of the Effective Date without any further notice to or action, order, or approval of
the Bankruptcy Court, and no holder of any such Claim shall receive any Distributions on
account of such Claim unless the Bankruptcy Court shall have determined, at or before the
Confirmation Hearing, that cause exists to extend the Bar Date as to such Proof of Claim on the
basis of excusable neglect.

       L.      Amendments to Proofs of Claim. From or after the Effective Date, a Proof of
Claim or Interest may not be filed or amended without the prior authorization of the Bankruptcy
Court or Reorganized BSA, and any such new or amended Proof of Claim or Interest filed shall
be deemed Disallowed in full and expunged without any further action by the Debtors or
Reorganized BSA (as applicable) or notice to or order of the Bankruptcy Court.



     CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVE DATE

       A.      Conditions Precedent to Confirmation of the Plan.

       Confirmation of the Plan shall not occur unless each of the following conditions
precedent has been satisfied or waived in accordance with Article IX.C.

              1.     The Bankruptcy Court shall have entered the Disclosure Statement Order,
       in form and substance acceptable to the Debtors.

               2.     The Bankruptcy Court shall have made such findings and determinations
       regarding the Plan as shall enable the entry of the Confirmation Order and any other
       order in conjunction therewith, in form and substance acceptable to the Debtors. These
       findings and determinations are designed, among other things, to ensure that the
       Injunctions, Releases and Discharges set forth in Article X shall be effective, binding and
       enforceable and shall, among other things, provide that:




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          a.      the Plan complies with all applicable provisions of the Bankruptcy
   Code, including that the Plan be proposed in good faith and that the Confirmation
   Order not be procured by fraud;

           b.    the Channeling Injunction and the Insurance Entity Injunction are
   to be implemented and shall be in full force and effect on the Effective Date;

            c.     upon the Effective Date, the Settlement Trust shall assume the
   liabilities of the Protected Parties with respect to Abuse Claims and have
   exclusive authority as of the Effective Date to satisfy or defend such Abuse
   Claims;

             d.   the Settlement Trust will be funded with the Settlement Trust
   Assets;

         e.      the Settlement Trust will use the Settlement Trust Assets to resolve
   Abuse Claims;

          f.      the terms of the Discharge Injunction, the Channeling Injunction
   the Release Injunctions and the Insurance Entity Injunction, including any
   provisions barring actions against third parties, are set out in conspicuous
   language in the Plan and in the Disclosure Statement;

           g.     the Future Claimants’ Representative was appointed by the
   Bankruptcy Court as part of the proceedings leading to the issuance of the
   Channeling Injunction and the Insurance Entity Injunction for the purpose of,
   among other things, protecting the rights of persons who might subsequently
   assert Abuse Claims of the kind that are addressed in the Channeling Injunction
   and the Insurance Entity Injunction, which will be transferred to and assumed by
   the Settlement Trust;

           h.     the Plan complies with section 105(a) of the Bankruptcy Code to
   the extent applicable;

          i.      the Injunctions are essential to the Plan and the Debtors’
   reorganization efforts;

          j.     the Bankruptcy Code authorizes the Insurance Assignment
   notwithstanding any terms of the Insurance Policies, the Insurance Settlement
   Agreements, or provisions of applicable non-bankruptcy law that any Insurance
   Company may otherwise argue prohibit the Insurance Assignment;

          k.     the Insurance Settlement Agreements are approved, and any
   Insurance Company that has contributed funds, proceeds or other consideration to
   or for the benefit of the Settlement Trust pursuant to an Insurance Settlement
   Agreement is designated as a Settling Insurance Company;




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                       l.     the Abuse Claims Settlement represents a sound exercise of the
               Debtors’ business judgment, is in the best interest of the Debtors’ Estates,
               complies with section 1123 of the Bankruptcy Code, and is approved pursuant to
               section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019; and

                       m.     the JPM / Creditors’ Committee Settlement represents a sound
               exercise of the Debtors’ business judgment, is in the best interest of the Debtors’
               Estates, complies with section 1123 of the Bankruptcy Code, and is approved
               pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019.

       B.      Conditions Precedent to the Effective Date.

       Notwithstanding any other provision of the Plan or the Confirmation Order, the Effective
Date shall occur on the first Business Day on which each of the following conditions precedent
has been satisfied or waived pursuant to Article IX.C:

               1.     the Confirmation Order shall have been submitted to the District Court for
       affirmation, the District Court shall have entered the Affirmation Order in form and
       substance acceptable to the Debtors, and the Confirmation Order and the Affirmation
       Order shall have become Final Orders; provided, however, that the Effective Date may
       occur when the Confirmation Order or the Affirmation Order are not Final Orders at the
       sole option of the Debtors unless the effectiveness of the Confirmation Order or the
       Affirmation Order, as applicable, shall have been stayed or vacated, in which case the
       Effective Date may be the first Business Day immediately following the expiration or
       other termination of any stay of effectiveness of the Confirmation Order or the
       Affirmation Order;

              2.     the Settlement Trust Assets shall, simultaneously with the occurrence of
       the Effective Date or as otherwise provided herein, be transferred to, vested in, and
       assumed by the Settlement Trust in accordance with Article IV and Article V;

               3.       the Settlement Trust Documents and other applicable Plan Documents
       necessary or appropriate to implement the Plan shall have been executed, delivered and,
       if applicable, filed with the appropriate governmental authorities;

               4.     the Restated Debt and Security Documents shall have been duly executed
       and delivered by all of the Entities that are parties thereto and all conditions precedent
       (other than any conditions related to the occurrence of the Effective Date) to the
       effectiveness thereof shall have been satisfied or duly waived in writing in accordance
       with the terms of the Restated Debt and Security Documents and the closing shall have
       occurred thereunder;

               5.     the Foundation Loan Agreement and any applicable collateral and other
       loan documents governing the Foundation Loan shall have been duly executed and
       delivered by all of the Entities that are parties thereto and all conditions precedent (other
       than any conditions related to the occurrence of the Effective Date) to the effectiveness
       thereof shall have been satisfied or duly waived in writing in accordance with the terms



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       of the Foundation Loan Agreement and related documentation, and the closing shall have
       occurred thereunder;

              6.      the Debtors shall have adequately funded the Professional Fee Reserve so
       as to permit the Debtors to make Distributions on account of Allowed Professional Fee
       Claims in accordance with Article II;

               7.      the Debtors shall have obtained all authorizations, consents, certifications,
       approvals, rulings, opinions or other documents that are necessary to implement and
       effectuate the Plan;

              8.      all payments required to be made pursuant to the terms of the Cash
       Collateral Order shall have been paid;

               9.      all actions, documents, and agreements necessary to implement and
       effectuate the Plan shall have been effected or executed; and

               10.    the Debtors shall have filed a notice of occurrence of the Effective Date.

        C.      Waiver of Conditions Precedent to the Effective Date. To the fullest extent
permitted by law, each of the conditions precedent in this Article IX may be waived or modified,
in whole or in part, in the sole discretion of the Debtors; provided, that the conditions precedent
set forth in Article IX.B.4 and Article IX.B.8 may be waived only with the prior written consent
of JPM. Any waiver or modification of a condition precedent under this Article IX may be
effectuated at any time, without notice, without leave or order of the Bankruptcy Court or the
District Court, and without any other formal action other than proceedings to confirm or
consummate the Plan. The failure to satisfy or waive any condition precedent to the Effective
Date may be asserted by the Debtors regardless of the circumstances giving rise to the failure of
such condition to be satisfied or waived.

      D.     Substantial Consummation of the Plan. On the Effective Date, the Plan shall be
deemed to be substantially consummated under sections 1101 and 1127(b) of the Bankruptcy
Code.

        E.       Vacatur of Confirmation Order; Non-Occurrence of Effective Date. If the
Confirmation Order is vacated or the Effective Date does not occur within 180 days after entry of
the Confirmation Order (subject to extension by the Debtors in their sole discretion), the Plan
shall be null and void in all respects, and nothing contained in the Plan or the Disclosure
Statement shall (1) constitute a waiver or release of any Causes of Action by or Claims against or
Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any holders of a
Claim or Interest or any other Person; (3) constitute an admission, acknowledgment, offer, or
undertaking by the Debtors, any holders, or any other Person in any respect; or (4) be used by the
Debtors or any other Person as evidence (or in any other way) in any litigation, including with
respect to the strengths and weaknesses of positions, arguments or claims of any of the parties to
such litigation.




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                            EFFECT OF PLAN CONFIRMATION

        A.      Vesting of Assets in Reorganized BSA. Except as otherwise expressly provided
in the Plan (including with respect to the Core Value Cash Pool), on the Effective Date, pursuant
to sections 1141(b) and 1141(c) of the Bankruptcy Code, all property comprising the Estates
shall vest in Reorganized BSA free and clear of all Liens, Claims, interests, charges, other
Encumbrances and liabilities of any kind. On and after the Effective Date, Reorganized BSA
may continue its operations and may use, acquire, or dispose of property, and compromise or
settle any Claims, Interests, or Causes of Action without supervision or approval of the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

        B.      Retention of Certain Causes of Action. In accordance with section 1123(b)(3) of
the Bankruptcy Code, subject to the transfer of the Settlement Trust Causes of Action to the
Settlement Trust under Article IV.D and the Debtors’ and their Estates’ release of certain Estate
Causes of Action under Article X.J, all Causes of Action that a Debtor may hold against any
Person shall vest in Reorganized BSA on the Effective Date. Thereafter, subject to Article IV.D
and Article X.J, Reorganized BSA shall have the exclusive right, authority, and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,
withdraw, or litigate to judgment any such Causes of Action, whether arising before or after the
Petition Date, and to decline to do any of the foregoing without the consent or approval of any
third party or further notice to or action, order, or approval of the Bankruptcy Court. No Person
may rely on the absence of a specific reference in the Plan or the Disclosure Statement to any
specific Cause of Action as any indication that the Debtors or Reorganized BSA, as applicable,
will not pursue any and all available Causes of Action. The Debtors or Reorganized BSA, as
applicable, expressly reserve all rights to prosecute any and all Causes of Action against any
Person, except as otherwise expressly provided in the Plan, and, therefore, no preclusion
doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable or otherwise) or laches, shall apply to any Cause of
Action upon, after, or as a consequence of Confirmation or the occurrence of the Effective Date.

        C.     Binding Effect. As of the Effective Date, all provisions of the Plan, including all
agreements, instruments and other documents entered into in connection with the Plan by the
Debtors or Reorganized BSA, the Settlement Trust, or the Protected Parties, shall be binding
upon the Debtors, the Estates, Reorganized BSA, all holders of Claims against and Interests in
the Debtors, each such holder’s respective successors and assigns, and all other Persons that are
affected in any manner by the Plan, regardless of whether the Claim or Interest of such holder is
Impaired under the Plan or whether such holder has accepted the Plan. Except as otherwise
expressly provided in the Plan, all agreements, instruments and other documents filed in
connection with the Plan shall be given full force and effect and shall bind all Persons referred to
therein on and after the Effective Date, whether or not such agreements are actually issued,
delivered or recorded on or after the Effective Date and whether or not such Persons have
actually executed such agreement.

       D.      Pre-Confirmation Injunctions and Stays. All injunctions and stays arising under
or entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy


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Code or otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the later of the Effective Date and the date indicated in the order providing for such
injunction or stay, if any. The injunctions and stays referenced in this Article X.D includes the
preliminary injunction imposed by the Consent Order Pursuant to 11 U.S.C. §§ 105(a) and 362
Granting the BSA’s Motion for a Preliminary Injunction entered by the Bankruptcy Court on
March 30, 2020 (Adv. Pro. No. 20-50527, Docket No. 54), as extended by the Bankruptcy Court
from time to time.

       E.      Discharge.

               1.       Discharge of the Debtors. Except as expressly provided in the Plan or the
       Confirmation Order, the treatment of Claims under the Plan shall be in exchange for, and
       in complete satisfaction, settlement, discharge, termination and release of, all Claims and
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date, and, as of the Effective Date, each of the
       Debtors shall be deemed discharged and released, and each holder of a Claim or Interest
       and any successor, assign, and affiliate of such holder shall be deemed to have forever
       waived, discharged and released each of the Debtors, to the fullest extent permitted by
       section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights
       and liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code,
       based upon any act, omission, transaction, occurrence, or other activity of any nature that
       occurred prior to the Effective Date, in each case whether or not (a) a Proof of Claim
       based upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code,
       (b) a Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code,
       (c) a Claim based upon such debt is or has been Disallowed by order of the Bankruptcy
       Court, or (d) the holder of a Claim based upon such debt is deemed to have accepted the
       Plan.

               2.     Discharge Injunction. From and after the Effective Date, except as
       expressly provided in the Plan or the Confirmation Order, all holders of Claims or
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date that are discharged pursuant to the terms
       of the Plan shall be precluded and permanently enjoined from taking any of the following
       actions on account of, or on the basis of, such discharged Claims and Interests:
       (a) commencing or continuing any action or other proceeding of any kind against the
       Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;
       (b) enforcing, attaching, collecting, or recovering by any manner or means of judgment,
       award, decree or other against the Debtors, Reorganized BSA, the Settlement Trust, or its
       or their respective property; (c) creating, perfecting or enforcing any Lien or
       Encumbrance of any kind against the Debtors, Reorganized BSA, the Settlement Trust, or
       its or their respective property; or (d) commencing or continuing any judicial or
       administrative proceeding, in any forum and in any place in the world, that does not
       comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.
       The foregoing injunction shall extend to the successors and assigns of the Debtors
       (including Reorganized BSA) and its and their respective properties and interests in


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property. In accordance with the foregoing, except as expressly provided in the Plan or
the Confirmation Order, the Confirmation Order shall be a judicial determination of
discharge or termination of all Claims, Interests and other debts and liabilities against or
in the Debtors pursuant to sections 105, 524 and 1141 of the Bankruptcy Code, and such
discharge shall void any judgment obtained against the Debtors at any time to the extent
such judgment relates to a discharged Claim or Interest.

F.      Channeling Injunction.

        1.    Terms. To preserve and promote the settlements contemplated by
and provided for in the Plan, including the Abuse Claims Settlement, and to
supplement, where necessary, the injunctive effect of the Discharge as provided in
sections 1141 and 524 of the Bankruptcy Code and as described in this Article X,
pursuant to the exercise of the equitable jurisdiction and power of the Bankruptcy
Court and the District Court under section 105(a) of the Bankruptcy Code, the sole
recourse of any holder of an Abuse Claim against a Protected Party on account of
such Abuse Claim shall be the Settlement Trust pursuant to the Settlement Trust
Documents, and such holder shall have no right whatsoever at any time to assert
such Abuse Claim against any Protected Party or any property or interest in
property of any Protected Party. On and after the Effective Date, all Persons that
have held or asserted, currently hold or assert, or that may in the future hold or
assert, any Abuse Claim against the Protected Parties, or any of them, shall be
permanently and forever stayed, restrained and enjoined from taking any action for
the purpose of directly, indirectly, or derivatively collecting, recovering, or receiving
payment, satisfaction, or recovery from any Protected Party with respect to any
such Abuse Claim other than from the Settlement Trust pursuant to the Settlement
Trust Documents, including:

               a.     commencing, conducting, or continuing, in any manner,
        whether directly, indirectly, or derivatively, any suit, action, or other
        proceeding of any kind (including a judicial, arbitration, administrative, or
        other proceeding) in any forum in any jurisdiction around the world against
        or affecting any Protected Party or any property or interest in property of
        any Protected Party;

               b.      enforcing, levying, attaching (including any prejudgment
        attachment), collecting or otherwise recovering, by any manner or means,
        either directly or indirectly, any judgment, award, decree, or order against
        or affecting any Protected Party or any property or interest in property of
        any Protected Party;

               c.    creating, perfecting, or otherwise enforcing in any manner,
        whether directly or indirectly, any Encumbrance of any kind against any
        Protected Party or any property or interest in property of any Protected
        Party;




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               d.     asserting, implementing or effectuating any setoff, right of
        reimbursement, subrogation, indemnity, contribution, reimbursement, or
        recoupment of any kind, in any manner, directly or indirectly, against any
        obligation due to any Protected Party or any property or interest in property
        of any Protected Party; or

                e.     taking any act in any manner, and in any place whatsoever,
        that does not conform to, or comply with, the provisions of the Plan
        Documents or the Settlement Trust Documents or with regard to any matter
        that is within the scope of the matters designated by the Plan to be subject to
        resolution by the Settlement Trust, except in conformity and compliance with
        the Settlement Trust Documents with respect to any such Abuse Claim.

       2.      Reservations. Notwithstanding anything to the contrary in this
Article X.F, the Channeling Injunction shall not enjoin:

               a.     the rights of holders of Abuse Claims to assert such Abuse
        Claims solely against the Settlement Trust in accordance with the Trust
        Distribution Procedures;

              b.     the rights of holders of Abuse Claims to assert such Abuse
        Claims against anyone other than a Protected Party;

                c.    the right of any Person to assert any Claim, debt, obligation or
        liability for payment of Settlement Trust Expenses solely against the
        Settlement Trust in accordance with the Settlement Trust Documents; or

               d.     the Settlement Trust from enforcing its rights under the Plan
        and the Settlement Trust Documents; or

               e.     the rights of the Settlement Trust and Reorganized BSA (to the
        extent permitted or required under the Plan) to prosecute any action against
        any Non-Settling Insurance Company based on or arising from Insurance
        Policies that are not the subject of an Insurance Settlement Agreement,
        subject to any Insurance Coverage Defenses.

G.      Provisions Relating to Channeling Injunctions.

        1.    Modifications. There can be no modification, dissolution, or termination
of the Channeling Injunction, which shall be a permanent injunction.

        2.      Non-Limitation. Nothing in the Plan or the Settlement Trust Documents
shall or shall be construed in any way to limit the scope, enforceability, or effectiveness
of the Channeling Injunction or the Settlement Trust’s assumption of all liability with
respect to Abuse Claims.

       3.     Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
requirements of Bankruptcy Rule 3016 shall not constitute or be deemed to constitute an


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admission that the Plan provides for an injunction against conduct not otherwise enjoined
under the Bankruptcy Code.

        4.     Enforcement. Any Protected Party may enforce the Channeling Injunction
as a defense to any Claim brought against such Protected Party that is enjoined under the
Plan as to such Protected Party and may seek to enforce such injunction in a court of
competent jurisdiction.

        5.      Contribution Claims. If a Non-Settling Insurance Company asserts that it
has rights, whether legal, equitable, contractual, or otherwise, of contribution, indemnity,
reimbursement, subrogation or other similar claims directly or indirectly arising out of or
in any way relating to such Non-Settling Insurance Company’s payment of loss on behalf
of one or more of the Debtors in connection with any Abuse Claim against a Settling
Insurance Company (collectively, “Contribution Claims”), (a) such Contribution Claims
may be asserted as a defense or counterclaim against the Settlement Trust in any
Insurance Action involving such Non-Settling Insurance Company, and the Settlement
Trust may assert the legal or equitable rights (if any) of the Settling Insurance Company,
and (b) to the extent such Contribution Claims are determined to be valid, the liability (if
any) of such Non-Settling Insurance Company to the Settlement Trust shall be reduced
by the amount of such Contribution Claims.

         6.     No Duplicative Recovery. In no event shall any holder of an Abuse Claim
be entitled to receive any duplicative payment, reimbursement, or restitution from any
Protected Party under any theory of liability for the same loss, damage, or other Claim
that is reimbursed by the Settlement Trust or is otherwise based on the same events, facts,
matters, or circumstances that gave rise to the applicable Abuse Claim.

       7.     District Court Approval. The Debtors shall seek entry of the Affirmation
Order, which shall approve (a) the Channeling Injunction and the Settlement Trust’s
assumption of all liability with respect to Abuse Claims and (b) the releases by holders of
Abuse Claims for the benefit of the Protected Parties, each as set forth in this Article X.

H.      Insurance Entity Injunction.

       1.     Purpose.    To facilitate the Insurance Assignment, protect the
Settlement Trust, and preserve the Settlement Trust Assets, pursuant to the
equitable jurisdiction and power of the Bankruptcy Court and the District Court
under section 105(a) of the Bankruptcy Code, the Bankruptcy Court shall issue the
Insurance Entity Injunction set forth in this Article X.H; provided, however, that
the Insurance Entity Injunction is not issued for the benefit of any Insurance
Company, and no Insurance Company is a third-party beneficiary of the Insurance
Entity Injunction, except as otherwise specifically provided in any Insurance
Settlement Agreement.

       2.     Terms Regarding Claims against Insurance Companies. Subject to
the terms of Article X.E and Article X.F, all Persons that have held or asserted, that
hold or assert, or that may in the future hold or assert any claim or cause of action


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       (including any Abuse Claim or any claim for or respecting any Settlement Trust
       Expense) against any Insurance Company based upon, attributable to, arising out
       of, or in any way connected with any Abuse Claim, whenever and wherever arising
       or asserted, whether in the United States of America or anywhere else in the world,
       whether sounding in tort, contract, warranty, or any other theory of law, equity, or
       admiralty, shall be stayed, restrained, and enjoined from taking any action for the
       purpose of directly or indirectly collecting, recovering, or receiving payments,
       satisfaction, or recovery with respect to any such claim or cause of action, including:

                     a.     commencing, conducting, or continuing, in any manner,
              directly or indirectly, any suit, action, or other proceeding of any kind
              (including a judicial, arbitration, administrative, or other proceeding) in any
              forum with respect to any such claim, demand, or cause of action against any
              Insurance Company, or against the property of any Insurance Company,
              with respect to any such claim, demand, or cause of action;

                     b.     enforcing, levying, attaching, collecting, or otherwise
              recovering, by any means or in any manner, whether directly or indirectly,
              any judgment, award, decree, or other order against any Insurance
              Company, or against the property of any Insurance Company, with respect
              to any such claim or cause of action;

                      c.     creating, perfecting, or enforcing in any manner, directly or
              indirectly, any Lien or Encumbrance against any Insurance Company, or the
              property of any Insurance Company, with respect to any such claim or cause
              of action; and

                     d.     except as otherwise specifically provided in the Plan, asserting
              or accomplishing any setoff, right of subrogation, indemnity, contribution, or
              recoupment of any kind, directly or indirectly, against any obligation of any
              Insurance Company, or against the property of any Insurance Company,
              with respect to any such claim or cause of action;

provided, however, that (i) the injunction set forth in this Article X.H shall not impair in
any way any (a) actions brought by the Settlement Trust against any Non-Settling
Insurance Company or (b) the rights of any co-insured of the Debtors (x) under any
Insurance Policy that is not the subject of an Insurance Settlement Agreement or against
any Non-Settling Insurance Company, in each case with respect to Insured Non-Abuse
Claims and (y) as specified under any Final Order of the Bankruptcy Court approving an
Insurance Settlement Agreement; and (ii) the Settlement Trust shall have the sole and
exclusive authority at any time to terminate, or reduce or limit the scope of, the injunction
set forth in this Article X.H with respect to any Non-Settling Insurance Company, in
accordance with the Settlement Trust Documents, upon express written notice to such Non-
Settling Insurance Company, except that the Settlement Trust shall not have any authority
to terminate, reduce or limit the scope of the injunction herein with respect to any Settling
Insurance Company so long as, but only to the extent that, such Settling Insurance



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Company complies fully with its obligations under any applicable Insurance Settlement
Agreement.

             3.     Reservations. Notwithstanding anything to the contrary in this
      Article X.H, the Insurance Entity Injunction shall not enjoin:

                     a.     the rights of any Person to the treatment accorded them under
              the Plan, as applicable, including the rights of holders of Abuse Claims to
              assert such Claims, as applicable, in accordance with the Trust Distribution
              Procedures;

                     b.     the rights of any Person to assert any claim, debt, obligation,
              cause of action or liability for payment of Settlement Trust Expenses against
              the Settlement Trust;

                     c.      the rights of the Settlement Trust to prosecute any action based
              on or arising from Insurance Policies;

                     d.     the rights of the Settlement Trust to assert any claim, debt,
              obligation, cause of action or liability for payment against an Insurance
              Company based on or arising from the Insurance Policies; or

                     e.     the rights of any Insurance Company to assert any claim, debt,
              obligation, cause of action or liability for payment against any Non-Settling
              Insurance Company.

       I.      Injunction against Interference with Plan. Upon entry of the Confirmation
Order, all holders of Claims and Interests shall be precluded and enjoined from taking any
actions to interfere with the implementation and consummation of the Plan.

      J.      Releases.

              1.     Releases by the Debtors and the Estates.

                       a.    As of the Effective Date, except for the rights that remain in
              effect from and after the Effective Date to enforce the Plan and the
              Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
              for good and valuable consideration, the adequacy of which is hereby
              confirmed, including the service of the Released Parties to facilitate and
              implement the reorganization of the Debtors, as an integral component of the
              Plan, the Debtors, Reorganized BSA, and the Estates shall, and shall be
              deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
              and forever release and discharge each and all of the Released Parties of and
              from any and all Estate Causes of Action that do not constitute Settlement
              Trust Causes of Action, any and all other Claims, Interests, obligations,
              rights, demands, suits, judgments, damages, debts, remedies, losses and
              liabilities of any nature whatsoever (including any derivative claims or
              Causes of Action asserted or that may be asserted on behalf of the Debtors,


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      Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed
      or contingent, matured or unmatured, known or unknown, foreseen or
      unforeseen, existing or hereinafter arising, in law, equity, contract, tort or
      otherwise, based on or relating to, or in any manner arising from, in whole or
      in part, any act, omission, transaction, event, or other circumstance taking
      place or existing on or before the Effective Date (including before the Petition
      Date) in connection with or related to the Debtors, the Estates, their
      respective assets and properties, the Chapter 11 Cases, the subject matter of,
      or the transactions or events giving rise to, any Claim or Interest that is
      treated by the Plan, the business or contractual arrangements between one or
      both of the Debtors and any Released Party, the restructuring of any Claim
      or Interest that is treated by the Plan before or during the Chapter 11 Cases,
      any of the Plan Documents, or any related agreements, instruments, and
      other documents created or entered into before or during the Chapter 11
      Cases or the negotiation, formulation, preparation or implementation
      thereof, the pursuit of Confirmation, the administration and implementation
      of the Plan, the solicitation of votes with respect to the Plan, the Distribution
      of property under the Plan, or any other act or omission, transaction,
      agreement, event, or other occurrence taking place on or before the Effective
      Date related or relating to the foregoing. Notwithstanding anything to the
      contrary in the foregoing, the releases set forth in this Article X.J.1 shall not,
      and shall not be construed to: (a) release any Released Party from Causes of
      Action arising out of, or related to, any act or omission of a Released Party
      that is a criminal act or that constitutes fraud, gross negligence or willful
      misconduct; or (b) release any post-Effective Date obligations of any Person
      under the Plan Documents or any document, instrument, or agreement
      executed to implement the Plan.

              b.     Releases by the Debtors and the Estates of Certain Avoidance
      Actions. As of the Effective Date, for good and valuable consideration, the
      adequacy of which is hereby confirmed, including the service of Creditors’
      Committee and its members in their respective capacities as such in
      facilitating and implementing the reorganization of the Debtors, as an
      integral component of the Plan, the Debtors, Reorganized BSA, and the
      Estates shall, and shall be deemed to, expressly, conclusively, absolutely,
      unconditionally, irrevocably, and forever release and discharge each and all
      holders of Allowed General Unsecured Claims, Allowed Non-Abuse
      Litigation Claims, and Allowed Convenience Claims of and from any and all
      Avoidance Actions.

       2.     Releases by the Debtors and the Estates of the Local Councils and the
Contributing Chartered Organizations. In furtherance of the Abuse Claims
Settlement, on the Effective Date, for good and valuable consideration, the adequacy
of which is hereby confirmed, the Debtors, on their own behalf and as
representatives of their respective Estates, and Reorganized BSA, are deemed to
irrevocably and unconditionally, fully, finally, and forever waive, release, acquit,
and discharge each and all of the Local Councils and Contributing Chartered


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Organizations of and from any and all claims, causes of action, suits, costs, debts,
liabilities, obligations, dues, sums of money, accounts, reckonings, bonds, bills,
covenants, contracts, controversies, agreements, promises, damages, judgments,
executions and demands whatsoever, of whatever kind or nature (including, without
limitation, those arising under the Bankruptcy Code), whether known or unknown,
suspected or unsuspected, in law or in equity, which the Debtors, their Estates, or
Reorganized BSA have, had, may have, or may claim to have against any of the
Local Councils and Contributing Chartered Organizations with respect to any
Abuse Claims (collectively, the “Scouting Released Claims”).

       3.      Releases by Holders of Abuse Claims. As of the Effective Date, except
for the rights that remain in effect from and after the Effective Date to enforce the
Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy
Code, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Protected Parties to facilitate and implement
the reorganization of the Debtors and the settlements embodied in the Plan,
including the Abuse Claims Settlement, as an integral component of the Plan, and
except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all holders of Abuse Claims shall, and shall be
deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever discharge and release each and all of the Protected Parties and their
respective property and successors and assigns of and from all Abuse Claims and
any and all Claims and Causes of Action whatsoever, whether known or unknown,
asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, whether for tort, fraud, contract,
veil piercing or alter-ego theories of liability, successor liability, contribution,
indemnification, joint liability, or otherwise, arising from or related in any way to
such Abuse Claims.

        4.     Releases by Holders of Claims. As of the Effective Date, except for
the rights that remain in effect from and after the Effective Date to enforce the Plan
and the Confirmation Order, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate
and implement the reorganization of the Debtors and the settlements embodied in
the Plan, as an integral component of the Plan, and except as otherwise expressly
provided in the Plan or the Confirmation Order, to the maximum extent permitted
under applicable law, as such law may be extended subsequent to the Effective Date,
all Releasing Claim Holders shall, and shall be deemed to, expressly, conclusively,
absolutely, unconditionally, irrevocably, and forever release and discharge each and
all of the Released Parties of and from any and all Claims, Interests, obligations,
rights, demands, suits, judgments, damages, debts, remedies, losses and liabilities of
any nature whatsoever (including any derivative claims or Causes of Action asserted
or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
equity, contract, tort or otherwise, based on or relating to, or in any manner arising


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      from, in whole or in part, any act, omission, transaction, event, or other
      circumstance taking place or existing on or before the Effective Date (including
      before the Petition Date) in connection with or related to the Debtors, the Estates,
      their respective assets and properties, the Chapter 11 Cases, the subject matter of,
      or the transactions or events giving rise to, any Claim or Interest that is treated by
      the Plan, the business or contractual arrangements between one or both of the
      Debtors and any Released Party, the restructuring of any Claim or Interest that is
      treated by the Plan before or during the Chapter 11 Cases, any of the Plan
      Documents, or any related agreements, instruments, and other documents created
      or entered into before or during the Chapter 11 Cases or the negotiation,
      formulation, preparation or implementation thereof, the pursuit of Confirmation,
      the administration and implementation of the Plan, the solicitation of votes with
      respect to the Plan, the Distribution of property under the Plan, or any other act or
      omission, transaction, agreement, event, or other occurrence taking place on or
      before the Effective Date related or relating to the foregoing; provided, however,
      that the releases set forth in this Article X.J.4 shall not, and shall not be construed
      to: (a) release any Released Party from Causes of Action arising out of, or related to,
      any act or omission of a Released Party that is a criminal act or that constitutes
      fraud, gross negligence or willful misconduct; or (b) release any post-Effective Date
      obligations of any Person under the Plan Documents or any document, instrument,
      or agreement executed to implement the Plan. Notwithstanding the foregoing or
      anything to the contrary herein, with respect to holders of Allowed General
      Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or
      the release set forth in Article X.J.4 shall, or shall be construed to, release any
      claims or Causes of Action against any Local Council, Chartered Organization, or
      Insurance Company.

        K.     Exculpation. From and after the Effective Date, none of the Exculpated
Parties shall have or incur any liability to, or be subject to any right of action by, any
Person for any act, omission, transaction, event, or other circumstance in connection with,
relating to or arising out of the Chapter 11 Cases, the negotiation of the Plan Documents,
the Releases and Injunctions, the pursuit of Confirmation of the Plan, the administration,
consummation and implementation of the Plan or the property to be Distributed under the
Plan, or the management or operation of the Debtors (except for any liability that results
primarily from such Exculpated Party’s gross negligence, bad faith or willful misconduct).
In all respects, each and all such Exculpated Parties shall be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under, or in connection
with, the matters referenced in the preceding sentence.

      L.      Injunctions Related to Releases and Exculpation.

             1.     Injunction Related to Releases. As of the Effective Date, all holders of
      Claims that are the subject of Article X.J are, and shall be, expressly, conclusively,
      absolutely, unconditionally, irrevocably, and forever stayed, restrained, prohibited,
      barred and enjoined from taking any of the following actions against any Released
      Party or its property or successors or assigns on account of or based on the subject
      matter of such Claims, whether directly or indirectly, derivatively or otherwise:


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      (a) commencing, conducting or continuing in any manner, directly or indirectly, any
      suit, action or other proceeding (including any judicial, arbitral, administrative or
      other proceeding) in any forum; (b) enforcing, attaching (including, without
      limitation, any prejudgment attachment), collecting, or in any way seeking to
      recover any judgment, award, decree, or other order; (c) creating, perfecting or in
      any way enforcing in any matter, directly or indirectly, any Lien or Encumbrance;
      and/or (d) setting off, seeking reimbursement or contributions from, or subrogation
      against, or otherwise recouping in any manner, directly or indirectly, any amount
      against any liability or obligation that is discharged under Article X.E or released
      under Article X.J.

             2.     Injunction Related to Exculpation. As of the Effective Date, all
      holders of Claims that are the subject of Article X.K are, and shall be, expressly,
      conclusively, absolutely, unconditionally, irrevocably, and forever stayed,
      restrained, prohibited, barred and enjoined from taking any of the following actions
      against any Exculpated Party on account of or based on the subject matter of such
      Claims, whether directly or indirectly, derivatively or otherwise: (a) commencing,
      conducting or continuing in any manner, directly or indirectly, any suit, action or
      other proceeding (including any judicial, arbitral, administrative or other
      proceeding) in any forum; (b) enforcing, attaching (including any prejudgment
      attachment), collecting, or in any way seeking to recover any judgment, award,
      decree, or other order; (c) creating, perfecting or in any way enforcing in any
      matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off,
      seeking reimbursement or contributions from, or subrogation against, or otherwise
      recouping in any manner, directly or indirectly, any amount against any liability or
      obligation that is discharged under Article X.E or released under Article X.J.

        M.      Insurance Provisions. The provisions of this Article X.M shall apply to all
Entities, including all Insurance Companies.

              1.      Except as provided in any Insurance Settlement Agreement, nothing
      contained in the Plan, the Plan Documents, or the Confirmation Order, including any
      provision that purports to be preemptory or supervening, shall in any way operate to, or
      have the effect of, impairing, altering, supplementing, changing, expanding, decreasing,
      or modifying (a) the rights or obligations of any Insurance Company or (b) any rights or
      obligations of the Debtors arising out of or under any Insurance Policy. For all issues
      relating to insurance coverage allegedly provided by any Settling Insurance Company,
      the provisions, terms, conditions, and limitations of the applicable Insurance Settlement
      Agreement shall control. For all other issues relating to insurance coverage, the
      provisions, terms, conditions, and limitations of the Insurance Policies shall control. For
      the avoidance of doubt, nothing contained in the Plan, the Plan Documents, or the
      Confirmation Order shall operate to require any Insurance Company to indemnify or pay
      the liability of any Protected Party that it would not have been required to pay in the
      absence of the Plan.

             2.      The Plan, the Plan Documents, and the Confirmation Order shall be
      binding on the Debtors, Reorganized BSA, and the Settlement Trust. Except as provided


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       in any Insurance Settlement Agreement, the obligations, if any, of the Settlement Trust to
       pay holders of Abuse Claims shall be determined pursuant to the Plan and the Plan
       Documents. Except as provided in Article X.M.4, none of (a) the Bankruptcy Court’s or
       District Court’s approval of the Plan or the Plan Documents, (b) the Confirmation Order,
       the Affirmation Order or any findings or conclusions entered with respect to
       Confirmation, or (c) any estimation or valuation of Abuse Claims, either individually or
       in the aggregate (including any agreement as to the valuation of Abuse Claims) in the
       Chapter 11 Cases shall, with respect to any Insurance Company, constitute or be deemed
       to constitute a trial or hearing on the merits or an adjudication or judgment, or accelerate
       the obligations, if any, of any Insurance Company under its Insurance Policies.

               3.      No provision of the Plan, other than those provisions contained in the
       applicable Injunctions contained in Article X of the Plan, shall be interpreted to affect or
       limit the protections afforded to any Settling Insurance Company by the Channeling
       Injunction or the Insurance Entity Injunction.

               4.     Nothing in this Article X.M is intended or shall be construed to preclude
       otherwise applicable principles of res judicata or collateral estoppel from being applied
       against any Insurance Company with respect to any issue that is actually litigated by such
       Insurance Company as part of its objections, if any, to Confirmation or as part of any
       contested matter or adversary proceeding filed by such Insurance Company in
       conjunction with or related to Confirmation. Plan objections that are withdrawn prior to
       the conclusion of the Confirmation Hearing shall be deemed not to have been actually
       litigated.

        N.     Reservation of Rights. Notwithstanding any other provision of the Plan to the
contrary, no provision of this Article X shall be deemed or construed to satisfy, discharge,
release or enjoin claims by the Settlement Trust, Reorganized BSA, or any other Person, as the
case may be, against (1) the Settlement Trust for payment of Abuse Claims in accordance with
the Trust Distribution Procedures, (2) the Settlement Trust for the payment of Settlement Trust
Expenses, or (3) any Insurance Company that has not performed under an Insurance Policy or an
Insurance Settlement Agreement.

       O.       Disallowed Claims. On and after the Effective Date, the Debtors and
Reorganized BSA shall be fully and finally discharged of any and all liability or obligation on
any and all Disallowed Claims, and any order Disallowing a Claim that is not a Final Order as of
the Effective Date solely because of a Person’s right to move for reconsideration of such order
pursuant to section 502 of the Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless
become and be deemed to be a Final Order on the Effective Date. The Confirmation Order,
except as otherwise provided herein, shall constitute an order: (a) Disallowing all Claims (other
than Abuse Claims) to the extent such Claims are not allowable under any provision of Section
502 of the Bankruptcy Code, including time-barred Claims, and Claims for unmatured interest
and (b) in relation to each Debtor, Disallowing or subordinating to all other Claims, as the case
may be, any Claims (other than Abuse Claims) for penalties, punitive damages or any other
damages not constituting compensatory damages.




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        P.      No Successor Liability. Except as otherwise expressly provided in the Plan,
Reorganized BSA does not, pursuant to the Plan or otherwise, assume, agree to perform, pay or
indemnify any Person, or otherwise have any responsibility for any liabilities or obligations of
the Debtors relating to or arising out of the operations of or assets of the Debtors, whether arising
prior to, on or after the Effective Date. Neither the Debtors, Reorganized BSA, nor the
Settlement Trust is, or shall be deemed to be, a successor to any of the Debtors by reason of any
theory of law or equity (except as otherwise provided in Article IV.C), and none shall have any
successor or transferee liability of any kind or character; provided, however, that Reorganized
BSA and the Settlement Trust shall assume and remain liable for their respective obligations
specified in the Plan and the Confirmation Order.

       Q.      Indemnities.

               1.      Prepetition Indemnification and Reimbursement Obligations.               The
       respective obligations of the Debtors to indemnify and reimburse Persons who are or
       were directors, officers or employees of the Debtors on the Petition Date or at any time
       thereafter up to and including the Effective Date, against and for any obligations pursuant
       to the bylaws, applicable state or non-bankruptcy law, or specific agreement or any
       combination of the foregoing, shall, except with respect to any Perpetrator: (a) survive
       Confirmation of the Plan and remain unaffected thereby; (b) be assumed by Reorganized
       BSA as of the Effective Date; and (c) not be discharged under section 1141 of the
       Bankruptcy Code, irrespective of whether indemnification or reimbursement is owed in
       connection with any event occurring before, on or after the Petition Date. In furtherance
       of, and to implement the foregoing, as of the Effective Date, Reorganized BSA shall
       obtain and maintain in full force insurance for the benefit of each and all of the above-
       indemnified directors, officers and employees, at levels no less favorable than those
       existing as of the date of entry of the Confirmation Order, and for a period of no less than
       three (3) years following the Effective Date.

               2.     Plan Indemnity. In addition to the matters set forth above and not by way
       of limitation thereof, Reorganized BSA shall indemnify and hold harmless all Persons
       who are or were officers or directors of the Debtors on the Petition Date or at any time
       thereafter up to and including the Effective Date on account of and with respect to any
       claim, cause of action, liability, judgment, settlement, cost or expense (including
       attorneys’ fees) on account of claims or Causes of Action threatened or asserted by any
       third party against such officers or directors that seek contribution, indemnity, equitable
       indemnity, or any similar claim, based upon or as the result of the assertion of primary
       claims against such third party by any representative of the Debtors’ Estates.

                3.     Limitation on Indemnification. Notwithstanding anything to the contrary
       set forth in the Plan or elsewhere, neither the Debtors, Reorganized BSA, the Local
       Councils, nor the Contributing Chartered Organizations, as applicable, shall be obligated
       to indemnify or hold harmless any Person for any claim, cause of action, liability,
       judgment, settlement, cost or expense that results primarily from (i) such Person’s bad
       faith, gross negligence or willful misconduct or (ii) an Abuse Claim.




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        R.     The Official Committees and the Future Claimants’ Representative. The Official
Committees and the Future Claimants’ Representative shall continue in existence until the
Effective Date. The Debtors shall pay the reasonable fees and actual and necessary expenses
incurred by the Official Committees and the Future Claimants’ Representative up to the
Effective Date, in accordance with the Compensation Procedures Order, the Fee Examiner
Order, and the terms of the Plan, including Article II. The members of the Official Committees
and the Future Claimants’ Representative shall be released and discharged from all further
authority, duties, responsibilities, liabilities, and obligations involving the Chapter 11 Cases.
Upon the closing of the Chapter 11 Cases, the Official Committees shall be dissolved. Neither
the Debtors nor Reorganized BSA have any obligation to pay fees or expenses of any
Professional retained by the Official Committees or the Future Claimants’ Representative that
are earned or incurred before the Effective Date to the extent such fees or expenses (or any
portion thereof) qualify as Settlement Trust Expenses, in which case such fees and expenses (or
the applicable portion thereof) shall be paid by the Settlement Trust in accordance with the
Settlement Trust Documents.



                             RETENTION OF JURISDICTION

        A.      Jurisdiction. Until the Chapter 11 Cases are closed, the Bankruptcy Court shall
retain the fullest and most extensive jurisdiction that is permissible, including the jurisdiction
necessary to ensure that the purposes and intent of the Plan are carried out. Except as otherwise
provided in the Plan or the Settlement Trust Agreement, the Bankruptcy Court shall retain
jurisdiction to hear and determine all Claims against and Interests in the Debtors, and to
adjudicate and enforce the Insurance Actions, the Settlement Trust Causes of Action, and all
other Causes of Action which may exist on behalf of the Debtors. Nothing contained herein
shall prevent Reorganized BSA or the Settlement Trust, as applicable, from taking such action as
may be necessary in the enforcement of any Estate Cause of Action, Insurance Action,
Settlement Trust Cause of Action, or other Cause of Action which the Debtors have or may have
and which may not have been enforced or prosecuted by the Debtors, which actions or other
Causes of Action shall survive Confirmation of the Plan and shall not be affected thereby except
as specifically provided herein. Nothing contained herein concerning the retention of
jurisdiction by the Bankruptcy Court shall be deemed to be a finding or conclusion that (1) the
Bankruptcy Court in fact has jurisdiction with respect to any Insurance Action, (2) any such
jurisdiction is exclusive with respect to any Insurance Action, or (3) abstention or dismissal of
any Insurance Action pending in the Bankruptcy Court or the District Court as an adversary
proceeding is or is not advisable or warranted, so that another court can hear and determine such
Insurance Action(s). Any court other than the Bankruptcy Court that has jurisdiction over an
Insurance Action shall have the right to exercise such jurisdiction.

        B.      General Retention. Following Confirmation of the Plan, the administration of the
Chapter 11 Cases will continue until the Chapter 11 Cases are closed by a Final Order of the
Bankruptcy Court. The Bankruptcy Court shall also retain jurisdiction for the purpose of
classification of any Claims and the re-examination of Claims which have been Allowed for
purposes of voting, and the determination of such objections as may be filed with the Bankruptcy
Court with respect to any Claims. The failure by the Debtors or Reorganized BSA to object to,


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or examine, any Claim for the purposes of voting, shall not be deemed a waiver of the rights of
the Debtors, Reorganized BSA, or the Settlement Trust, as the case may be, to object to or
reexamine such Claim in whole or part.

        C.     Specific Purposes. In addition to the foregoing, the Bankruptcy Court shall retain
jurisdiction over all matters arising out of, or relating to, the Chapter 11 Cases and the Plan,
including jurisdiction to:

             1.     modify the Plan after Confirmation pursuant to the provisions of the
Bankruptcy Code and the Bankruptcy Rules;

               2.     correct any defect, cure any omission, reconcile any inconsistency or make
any other necessary changes or modifications in or to the Plan, the Trust Documents or the
Confirmation Order as may be necessary to carry out the purposes and intent of the Plan,
including the adjustment of the date(s) of performance in the Plan in the event the Effective Date
does not occur as provided herein so that the intended effect of the Plan may be substantially
realized thereby;

                3.     assure performance by the Settlement Trust and the Disbursing Agent of
their respective obligations to make Distributions under the Plan;

             4.     enforce and interpret the terms and conditions of the Plan, the Plan
Documents and the Settlement Trust Documents;

                5.       enter such orders or judgments, including injunctions (a) as are necessary
to enforce the title, rights and powers of Reorganized BSA and the Settlement Trust, and (b) as
are necessary to enable holders of Claims to pursue their rights against any Person that may be
liable therefor pursuant to applicable law or otherwise;

               6.      hear and determine any and all motions, adversary proceedings, contested
or litigated matters, and any other matters and grant or deny any applications involving the
Debtors that may be pending on the Effective Date (which jurisdiction shall be non-exclusive as
to any such non-core matters);

               7.      hear and determine any motions or contested matters involving taxes, tax
refunds, tax attributes, tax benefits and similar or related matters, including without limitation
contested matters arising on account of transactions contemplated by the Plan, or relating to the
period of administration of the Chapter 11 Cases;

             8.      hear and determine all applications for compensation of Professionals and
reimbursement of expenses under sections 328, 330, 331, or 503(b) of the Bankruptcy Code;

              9.      hear and determine any Causes of Action arising during the period from
the Petition Date to the Effective Date, or in any way related to the Plan or the transactions
contemplated hereby, against the Debtors, Reorganized BSA, the Settlement Trust, and their
respective Representatives;



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                10.  hear and determine any and all motions for the rejection, assumption or
assignment of Executory Contracts or Unexpired Leases and the Allowance of any Claims
resulting therefrom;

               11.    hear and determine such other matters and for such other purposes as may
be provided in the Confirmation Order;

              12.     hear and determine the Allowance and/or Disallowance of any Claims,
including Administrative Expense Claims, against or Interests in the Debtors or their Estates,
including any objections to any such Claims or Interests, and the compromise and settlement of
any Claim, including Administrative Expense Claims, against or Interest in the Debtors or their
Estates;

               13.     hear and resolve disputes concerning any reserves under the Plan or the
administration thereof;

               14.     hear and determine all questions and disputes regarding title to the assets
of the Debtors, their Estates or the Settlement Trust;

               15.     enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if Distributions pursuant to the Plan or under the Settlement Trust Documents are
enjoined or stayed;

              16.    hear and determine all questions and disputes regarding, and to enforce,
the Abuse Claims Settlement;

               17.     hear and determine the Insurance Actions, any Settlement Trust Cause of
Action and any similar claims, Causes of Action or rights of the Settlement Trust to construe and
take any action to enforce any Insurance Policy, and to issue such orders as may be necessary for
the execution, consummation and implementation of any Insurance Policy, and to determine all
questions and issues arising thereunder; provided, that such retention of jurisdiction shall not
constitute a waiver of any right of a Non-Settling Insurance Company to seek to remove or
withdraw the reference of any Insurance Action filed after the Effective Date;

             18.     hear and determine any other matters related hereto, including the
implementation and enforcement of all orders entered by the Bankruptcy Court in the Chapter 11
Cases;

               19.      resolve any disputes concerning whether a Person had sufficient notice of
the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with
the Chapter 11 Cases, the Bar Date established in the Chapter 11 Cases, or any deadline for
responding or objecting to a Cure Amount, in each case, for the purpose of determining whether
a Claim or Interest is discharged hereunder or for any other purpose;




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               20.    enter in aid of implementation of the Plan such orders as are necessary,
including, but not limited to, the implementation and enforcement of the Injunctions, Releases,
and Discharges described herein, including the Channeling Injunction;

              21.     hear and determine any questions and disputes pertaining to, and to
enforce, the Abuse Claims Settlement, including the Contributing Chartered Organization
Settlement Contribution and the Local Council Settlement Contribution;

               22.    hear and determine any questions and disputes pertaining to, and to
enforce, the JPM / Creditors’ Committee Settlement;

               23.     enter a Final Order or decree concluding or closing the Chapter 11 Cases;
and

                24.      To enter and implement such orders as may be necessary or appropriate if
any aspect of the Plan, the Settlement Trust, or the Confirmation Order is, for any reason or in
any respect, determined by a court to be inconsistent with, to violate, or insufficient to satisfy
any of the terms, conditions, or other duties associated with any Insurance Policies; provided,
however, that (a) such orders shall not impair the Insurance Coverage Defenses or the rights,
claims, or defenses, if any, of any Insurance Company that are set forth or provided for in the
Plan, the Plan Documents, the Confirmation Order, or any other Final Orders entered in the
Debtors’ Chapter 11 Cases, (b) this provision does not, in and of itself, grant this Court
jurisdiction to hear and decide disputes arising out of or relating to the Insurance Policies, and (c)
all interested parties, including any Insurance Company, reserve the right to oppose or object to
any such motion or order seeking such relief.

        As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the
Restated Debt and Security Documents and any documents related thereto shall be governed by
the jurisdictional provisions thereof and the Bankruptcy Court shall not retain jurisdiction with
respect thereto.

        D.      Courts of Competent Jurisdiction. To the extent that the Bankruptcy Court is not
permitted under applicable law to preside over any of the foregoing matters, the reference to the
“Bankruptcy Court” in this Article XI shall be deemed to be replaced by the “District Court.” If
the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the
exercise of jurisdiction by any other court having competent jurisdiction with respect to such
matter.



                               MISCELLANEOUS PROVISIONS

       A.     Closing of Chapter 11 Cases. After each Chapter 11 Case has been fully
administered, Reorganized BSA shall file with the Bankruptcy Court all documents required by



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Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close such Chapter
11 Case.

       B.      Amendment or Modification of the Plan.

               1.      Plan Modifications. The Debtors reserve the right, in accordance with the
       Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan prior to the
       entry of the Confirmation Order, including amendments or modifications to satisfy
       section 1129(b) of the Bankruptcy Code, and after entry of the Confirmation Order, the
       Debtors may, upon order of the Bankruptcy Court, amend, modify or supplement the Plan
       in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
       permitted by law, in each case without additional disclosure pursuant to section 1125 of
       the Bankruptcy Code unless section 1127 of the Bankruptcy Code requires additional
       disclosure. In addition, after the Confirmation Date, so long as such action does not
       materially and adversely affect the treatment of holders of Allowed Claims pursuant to
       the Plan, the Debtors may remedy any defect or omission or reconcile any inconsistencies
       in the Plan or the Confirmation Order with respect to such matters as may be necessary to
       carry out the purposes or effects of the Plan, and any holder of a Claim that has accepted
       the Plan shall be deemed to have accepted the Plan as amended, modified, or
       supplemented. All amendments to the Plan must be reasonably acceptable to the
       Creditors’ Committee.

              2.      Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents
       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.

         C.      Revocation or Withdrawal of Plan. The Debtors reserve the right to revoke or
withdraw the Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to
the Effective Date, or if Confirmation of the Plan or the occurrence of the Effective Date does
not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or
compromise embodied in the Plan (including the fixing or limiting to an amount any Claim or
Interest or Class of Claims or Interests), assumption of executory contracts or unexpired leases
affected by the Plan, and any document or agreement executed pursuant to the Plan, including
the Settlement Trust Documents, shall be deemed null and void; and (3) nothing contained in the
Plan shall (i) constitute a waiver or release of any Claim against, or any Interest in, the Debtors
or any other Person; (ii) prejudice in any manner the rights of the Debtors or any other Person; or
(iii) constitute an admission of any sort by the Debtors or any other Person.

       D.      Request for Expedited Determination of Taxes. The Debtors and Reorganized
BSA, as applicable, shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Petition Date to and including the Effective Date.

       E.     Non-Severability of Plan Provisions. If, before the entry of the Confirmation
Order, any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter


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and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the
Plan, as it may have been altered or interpreted in accordance with the foregoing, is (1) valid and
enforceable pursuant to its terms, (2) integral to the Plan and may not be deleted or modified
without the consent of the Debtors or Reorganized BSA (as the case may be), and (3)
nonseverable and mutually dependent.

       F.     Notices. All notices, requests, and demands to or upon the Debtors or
Reorganized BSA to be effective shall be in writing (including by email transmission) and,
unless otherwise expressly provided herein, shall be deemed to have been duly given or made
when actually delivered, addressed as follows:

                       Boy Scouts of America
                       1325 W. Walnut Hill Lane
                       Irving, Texas 75015
                       Attn: Steven McGowan, General Counsel
                       Email: Steve.McGowan@scouting.org

                       with copies to:

                       White & Case LLP
                       1221 Avenue of the Americas
                       New York, New York 10020
                       Attn: Jessica C. Lauria
                       Email: jessica.lauria@whitecase.com

                       – and –

                       White & Case LLP
                       111 South Wacker Drive, Suite 5100
                       Chicago, Illinois 60606
                       Attn: Michael C. Andolina
                             Matthew E. Linder
                       Email: mandolina@whitecase.com
                              mlinder@whitecase.com




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                      – and –

                      Morris, Nichols, Arsht & Tunnell LLP
                      1201 North Market Street, 16th Floor
                      P.O. Box 1347
                      Wilmington, Delaware 19899-1347
                      Attn: Derek C. Abbott
                      Email: dabbott@morrisnichols.com
       G.      Notices to Other Persons. After the occurrence of the Effective Date,
Reorganized BSA has authority to send a notice to any Person providing that to continue to
receive documents pursuant to Bankruptcy Rule 2002, such Person must file a renewed request
to receive documents pursuant to Bankruptcy Rule 2002; provided, however, that the U.S.
Trustee need not file such a renewed request and shall continue to receive documents without
any further action being necessary. After the occurrence of the Effective Date, Reorganized
BSA is authorized to limit the list of Persons receiving documents pursuant to Bankruptcy Rule
2002 to the U.S. Trustee and those Persons that have filed such renewed requests:

        H.      Governing Law. Except to the extent that the Bankruptcy Code or other federal
law is applicable, or to the extent an exhibit hereto or a schedule in the Plan Supplement or any
other Plan Document provides otherwise, the rights, duties, and obligations arising under the
Plan shall be governed by, and construed and enforced in accordance with, the laws of the State
of Delaware, without giving effect to the principles of conflict of laws thereof; provided,
however, that governance matters relating to Reorganized BSA shall be governed by the laws of
the District of Columbia.

       I.      Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e), 6004(h),
7062, or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including
the Plan Supplement) shall be immediately effective and enforceable and deemed binding upon
and inure to the benefit of any Person named or referred to in the Plan and the successors and
assigns of such Person.

        J.     Timing of Distributions or Actions. In the event that any payment, Distribution,
act or deadline under the Plan is required to be made or performed or occurs on a day that is not
a Business Day, then such payment, Distribution, act or deadline shall be deemed to occur on the
next succeeding Business Day, but if so made, performed or completed by such next succeeding
Business Day, shall be deemed to have been completed or to have occurred as of the required
date.

        K.      Deemed Acts. Whenever an act or event is expressed under the Plan to have been
deemed done or to have occurred, it shall be deemed to have been done or to have occurred by
virtue of the Plan or the Confirmation Order without any further act by any Person.

       L.      Entire Agreement. The Plan Documents set forth the entire agreement and
undertakings relating to the subject matter thereof and supersede all prior discussions,
negotiations, understandings and documents. No Person shall be bound by any terms,
conditions, definitions, warranties, understandings, or representations with respect to the subject



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matter hereof, other than as expressly provided for in the Plan or the other Plan Documents or as
may hereafter be agreed to by the affected parties in writing.

         M.     Plan Supplement. Any and all exhibits, lists, or schedules referred to herein but
not filed with the Plan shall be contained in the Plan Supplement to be filed with the Clerk of the
Bankruptcy Court prior to the Confirmation Hearing on the Plan, and such Plan Supplement is
incorporated into and is part of the Plan as if set forth in full herein. The Plan Supplement will
be available for inspection in the office of the Clerk of the Bankruptcy Court during normal court
hours,     at    the   website      maintained      by     the    Notice   and    Claims     Agent
(https://cases.omniagentsolutions.com/BSA), and at the Bankruptcy Court’s website
(ecf.deb.uscourts.gov).

        N.      Withholding of Taxes. The Disbursing Agent, the Settlement Trust or any other
applicable withholding agent, as applicable, shall withhold from any assets or property
distributed under the Plan any assets or property which must be withheld for foreign, federal,
state and local taxes payable with respect thereto or payable by the Person entitled to such assets
to the extent required by applicable law.

       O.     Payment of Quarterly Fees. All Quarterly Fees, as determined by the Bankruptcy
Court at the Confirmation Hearing, shall be paid on or before the Effective Date. The
Reorganized Debtors shall pay all such fees that arise after the Effective Date, but before the
closing of the Chapter 11 Cases, and shall comply with all applicable statutory reporting
requirements.

        P.      Duty to Cooperate. Nothing in the Plan, the other Plan Documents or the
Confirmation Order shall relieve (by way of injunction or otherwise) any Person that is or claims
to be entitled to indemnity under an Insurance Policy from any duty to cooperate that may be
required by any such Insurance Policy or under applicable law with respect to the defense and/or
settlement of any Claim for which coverage is sought under such Insurance Policy. To the extent
that any Person incurs costs in satisfying such duty to cooperate with respect to Abuse Claims,
the Settlement Trust shall reimburse Person for all such reasonable out-of-pocket expenses.

        Q.      Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
provides otherwise, actions required to be taken on the Effective Date shall take place and be
deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
prior to the taking of any other such action.

        R.     Consent to Jurisdiction. Upon default under the Plan, Reorganized BSA, the
Settlement Trust, the Settlement Trustee, the Official Committees, the Future Claimants’
Representative, and the Protected Parties, or any successor thereto, respectively, consent to the
jurisdiction of the Bankruptcy Court, and agree that it shall be the preferred forum for all
proceedings relating to any such default.




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Dated: March 1, 2021                Boy Scouts of America
                                    BSA Delaware, LLC

                                    /s/ Roger C. Mosby
                                    Roger C. Mosby
                                    Chief Executive Officer and President
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                              EXHIBIT A

CONTRIBUTING CHARTERED ORGANIZATION SETTLEMENT CONTRIBUTION

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                        EXHIBIT B

      CONTRIBUTING CHARTERED ORGANIZATIONS

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                        EXHIBIT C

            FOUNDATION LOAN TERM SHEET
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            National Boy Scouts of America Foundation Loan to Boy Scouts of America
                               Summary of Terms and Conditions

Lender                  National Boy Scouts of America Foundation (the “Lender”)

Borrower                Boy Scouts of America (the “Borrower”)

Guarantor               Arrow WV, Inc. (the “Guarantor”)

Facility                $42.8 million term loan (the “Loan”), which shall be borrowed in a single
                        draw on the effective date of the Plan (the “Effective Date”).
                        As used herein, the “Plan” means the Chapter 11 Plan of Reorganization for
                        Boy Scouts of America and Delaware BSA, LLC [Dkt. No. 20], as may be
                        amended on terms acceptable to Lender.

Term                    10 years commencing on the Effective Date.

Interest Rate &         6.5%, subject to default interest of 2.0% on overdue amounts.
Interest Payments
                        Interest shall be payable on a quarterly basis, with the first payment due at
                        the end of the first fiscal quarter ended after the Effective Date. All
                        outstanding interest shall be due and payable at maturity of the Loan.

Principal Payments      Principal payments shall be based on 10% per annum amortization. Such
                        payments shall be made in equal quarterly installments for the duration of the
                        Loan with the first payment due at the end of the first fiscal quarter ended
                        after the Effective Date. All outstanding principal shall be due and payable
                        at maturity of the Loan.

Prepayments             Voluntary prepayments permitted without penalty.

Security                Second lien pledge of the Arrow Intercompany Note and proceeds received
                        in respect thereof.
                        As used herein, the “Arrow Intercompany Note” means that certain
                        Amended and Restated Promissory Note dated as of March 21, 2019 in the
                        original principal amount of $350,000,000, executed by the Guarantor and
                        payable to the Borrower.

Use of Proceeds         To fund working capital and general corporate purposes of the Borrower;
                        provided that, for the avoidance of doubt, proceeds of the Loan shall not be
                        used for Unauthorized Purposes.
                        As used herein, “Unauthorized Purposes” includes, without limitation,
                        payments to any creditors’ trust pursuant to the terms of the confirmed Plan,
                        any direct or indirect payments to tort claimants, and any payments or
                        transactions that would be considered “self-dealing” under the Internal
                        Revenue Code or could otherwise give rise to excise tax.

Representations and     Usual and customary for loans of this type.
Warranties
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Affirmative and        Usual and customary for loans of this type, including, without limitation,
Negative Covenants     (a) prohibitions on actions that could be construed as self-dealing, and
                       (b) extension of the maturity of the Arrow Intercompany Note from March
                       31, 2029 to a date that is later than the maturity date of the Loan.

Financial Covenants    Usual and customary for loans of this type with customary cushions.

Reporting              Usual and customary for loans of this type.
Requirements

Events of Default      Usual and customary for loans of this type, including cross-acceleration
                       solely to the JPMorgan Bank, N.A. credit facilities in existence on the
                       Effective Date that are senior by way of contract to the Loan, as such credit
                       facilities may be amended from time to time.

Remedies               Usual and customary for loans of this type.

Assignment             The Borrower cannot assign the Loan without the consent of the Lender.
                       The Lender can assign the Loan at any time with the Borrower’s consent,
                       provided that if the Borrower is in payment or bankruptcy default under the
                       Loan, then the Lender can assign the Loan without the consent of the
                       Borrower.

Conditions Precedent   Usual and customary for loans of this type, including, without limitation:
to the Loan
                       (a) the execution and delivery of loan documentation reasonably satisfactory
                       to the Borrower and the Lender and consistent with this Summary of Terms
                       and Conditions, containing conditions to borrowing, repayment terms,
                       representations, warranties, covenants, and events of default usual and
                       customary for this type of loan;
                       (b) the execution and delivery of an intercreditor and subordination
                       agreement reasonably satisfactory to the Lender, between the Borrower, the
                       Lender, and JPMorgan Chase Bank, N.A.;
                       (c) JPMorgan Chase Bank, N.A. shall have consented to the Borrower’s
                       pledge to Lender of a second lien security interest in the Arrow Intercompany
                       Note and proceeds received in respect thereof;
                       (d) the satisfactory completion of the Lender’s reasonable due diligence and
                       the obtaining of any approvals or consents deemed necessary or appropriate
                       upon the advice of counsel to the Lender;
                       (e) entry of a confirmation order on terms reasonably acceptable to the
                       Lender; and
                       (f) the effectiveness of the Plan containing terms acceptable to the Borrower
                       and the Lender.


Expenses and           Usual and customary for loans of this type, including, without limitation,
Indemnification        indemnification by the Borrower of the Lender of any losses suffered by the



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                      Lender in the event that it is ultimately determined that the Borrower used the
                      loan proceeds for Unauthorized Purposes.

Governing Law         Texas.

Release               The release by the Borrower of the Lender with respect to any and all claims,
                      and inclusion of the Lender within all Plan releases, including as a “Released
                      Party” and “Protected Party” under the Plan.

Payment of Fees and   The Borrower will pay the fees and expenses, including reasonable attorneys’
Expenses              fees, of the Lender associated with the preparation, execution, administration,
                      and enforcement of the Loan and any subsequent amendment or waiver with
                      respect thereto. The Lender shall not be required to file an application for
                      payment of fees and expenses with the bankruptcy court.




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                        EXHIBIT D

      LOCAL COUNCIL SETTLEMENT CONTRIBUTION
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        The Debtors are committed to ensuring that the aggregate value of the Local Council
Settlement Contribution is not less than $300,000,000, exclusive of insurance rights proposed to
be contributed to the Settlement Trust. The Debtors intend to request the voluntary
commitments of Local Councils to make their respective contributions, which contributions shall
be set forth in commitment agreements executed by each Local Council. By no later than June 1,
2021, the Debtors shall file a report with the Bankruptcy Court concerning the status of the
Debtors’ efforts to obtain contribution commitments from the Local Councils. Such status report
shall contain information concerning the form of contributions by the Local Councils (i.e., cash,
real property, or other assets) and the timing of such contributions. In addition, the status report
will set forth any required amendments the Debtors may propose to the Plan to facilitate the
Local Council Settlement Contribution.



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                        EXHIBIT E

                    LOCAL COUNCILS
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Abraham Lincoln                            Choctaw Area
Alabama-Florida                            Cimarron
Alamo Area                                 Circle Ten
Allegheny Highlands                        Coastal Carolina
Aloha                                      Coastal Georgia
Andrew Jackson                             Colonial Virginia
Anthony Wayne Area                         Columbia-Montour
Arbuckle Area                              Connecticut Rivers
Atlanta Area                               Connecticut Yankee
Baden-Powell                               Conquistador
Baltimore Area                             Cornhusker
Bay Area                                   Coronado Area
Bay-Lakes                                  Cradle of Liberty
Black Hills Area                           Crater Lake
Black Swamp Area                           Crossroads of America
Black Warrior                              Crossroads of the West
Blackhawk Area                             Dan Beard
Blue Grass                                 Daniel Boone
Blue Mountain                              Daniel Webster
Blue Ridge                                 De Soto Area
Blue Ridge Mountains                       Del-Mar-Va
Buckeye                                    Denver Area
Buckskin                                   East Carolina
Bucktail                                   East Texas Area
Buffalo Trace                              Erie Shores
Buffalo Trail                              Evangeline Area
Caddo Area                                 Far East
Calcasieu Area                             Five Rivers
California Inland Empire                   Flint River
Cape Cod and Islands                       French Creek
Cape Fear                                  Gamehaven
Capitol Area                               Garden State
Cascade Pacific                            Gateway Area
Catalina                                   Georgia-Carolina
Central Florida                            Glacier's Edge
Central Georgia                            Golden Empire
Central Minnesota                          Golden Gate Area
Central North Carolina                     Golden Spread
Chattahoochee                              Grand Canyon
Cherokee Area                              Grand Columbia
Cherokee Area                              Grand Teton
Chester County                             Great Alaska
Chickasaw                                  Great Rivers
Chief Cornplanter                          Great Salt Lake
Chief Seattle                              Great Smoky Mountain
Chippewa Valley                            Great Southwest
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Great Trail                                   Mayflower
Greater Alabama                               Mecklenburg County
Greater Hudson Valley                         Miami Valley
Greater Los Angeles Area                      Michigan Crossroads
Greater New York                              Mid-America
Greater Niagara Frontier                      Middle Tennessee
Greater St. Louis Area                        Mid-Iowa
Greater Tampa Bay Area                        Midnight Sun
Greater Wyoming                               Minsi Trails
Greater Yosemite                              Mississippi Valley
Green Mountain                                Mobile Area
Greenwich                                     Monmouth
Gulf Coast                                    Montana
Gulf Stream                                   Moraine Trails
Hawk Mountain                                 Mount Baker
Hawkeye Area                                  Mount Diablo Silverado
Heart of America                              Mountain West
Heart of New England                          Mountaineer Area
Heart of Virginia                             Muskingum Valley
Hoosier Trails                                Narragansett
Housatonic                                    National Capital Area
Illowa                                        Nevada Area
Indian Nations                                New Birth of Freedom
Indian Waters                                 North Florida
Inland Northwest                              Northeast Georgia
Iroquois Trail                                Northeast Illinois
Istrouma Area                                 Northeast Iowa
Jayhawk Area                                  Northeastern Pennsylvania
Jersey Shore                                  Northern Lights
Juniata Valley                                Northern New Jersey
Katahdin Area                                 Northern Star
Lake Erie                                     Northwest Georgia
Las Vegas Area                                Northwest Texas
LaSalle                                       Norwela
Last Frontier                                 Occoneechee
Laurel Highlands                              Ohio River Valley
Leatherstocking                               Old Hickory
Lincoln Heritage                              Old North State
Long Beach Area                               Orange County
Longhorn                                      Oregon Trail
Longhouse                                     Ore-Ida
Longs Peak                                    Overland Trails
Los Padres                                    Ozark Trails
Louisiana Purchase                            Pacific Harbors
Marin                                         Pacific Skyline
Mason-Dixon                                   Palmetto



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Pathway to Adventure                           South Plains
Patriots’ Path                                 South Texas
Pee Dee Area                                   Southeast Louisiana
Pennsylvania Dutch                             Southern Sierra
Piedmont                                       Southwest Florida
Piedmont                                       Spirit of Adventure
Pikes Peak                                     Suffolk County
Pine Burr Area                                 Susquehanna
Pine Tree                                      Suwannee River Area
Pony Express                                   Tecumseh
Potawatomi Area                                Texas Southwest
Prairielands                                   Texas Trails
Puerto Rico                                    Theodore Roosevelt
Pushmataha Area                                Three Fires
Quapaw Area                                    Three Harbors
Quivira                                        Three Rivers
Rainbow                                        Tidewater
Redwood Empire                                 Transatlantic
Rio Grande                                     Trapper Trails
Rip Van Winkle                                 Tukabatchee Area
Rocky Mountain                                 Tuscarora
Sagamore                                       Twin Rivers
Sam Houston Area                               Twin Valley
Samoset                                        Ventura County
San Diego-Imperial                             Verdugo Hills
San Francisco Bay Area                         Virginia Headwaters
Santa Fe Trail                                 Voyageurs Area
Seneca Waterways                               W.D. Boyce
Sequoia                                        Washington Crossing
Sequoyah                                       West Tennessee Area
Shenandoah Area                                Westark Area
Silicon Valley Monterey Bay                    Western Los Angeles County
Simon Kenton                                   Western Massachusetts
Sioux                                          Westmoreland-Fayette
Snake River                                    Winnebago
South Florida                                  Yocona Area
South Georgia                                  Yucca




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                        EXHIBIT F

            RELATED NON-DEBTOR ENTITIES
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Arrow WV, Inc.
Atikaki Youth Ventures Inc.
Atikokan Youth Ventures Inc.
BSA Asset Management, LLC
BSA Endowment Master Trust
Learning for Life
National Boy Scouts of America Foundation
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                       SCHEDULE 1

                        ARTWORK
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                                                             ARTWORK

OBJECT ID       TITLE                                 CREATOR                                  DATE      IMAGE            MEDIUM
                                                                                                         SIZE

2011.064.167    Where Brook and River Meet            A. Boulard after a painting by B. W.     n. d.     17 5/8" x 27     Hand colored etching
                                                      Leader                                             1/8" with
                                                                                                         margins
2011.064.306    Portrait of Abraham Lincoln           After George Henry Hall by an            n. d.     33 1/8" x 24     Oil on relined canvas
                                                      Unknown artist (Contemporary)                      1/2"
2011.064.242    Dr. James E. West                     Albert A. Rose (Contemporary)            n. d.     40" x 30"        Oil on canvas
2011.064.241    Portrait of Gale F. Johnson           Albert A. Rose (Contemporary)            n. d.     30" x 25"        Oil on canvas
2011.064.204    Native American Village               Andy Jansen (Contemporary)               n. d.     10" x 13"        Ink on paper
2011.064.315    Triumph and Tragedy                   Angelini                                 2008                       Oil on Canvas

2012.051        Big Doing's When King Richard Had a   Beard, Daniel Carter                     n.d.
                Rodeo
Johnston gift   Fight Scene                           Beard, Daniel Carter                     n.d.                       Ink on Paper
2011.064.181    Lord Baden Powell                     Benjamin Eggleston (Contemporary)        n. d.     51 1/2" x 43"
2011.064.159    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.160    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.161    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.162    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.163    Butterfly's                           Bentley and Bentley (Contemporary)       1990      30" x 24" x 3"   Butterfly triptych
                                                                                                                          collage with Plexiglas
                                                                                                                          box
2011.064.217    Old Ironside                          Betty Mahony (Contemporary)              n. d.     18" x 24"        Oil on canvas

Unknown         A Century of Values                   Bill Manilow                             n.d.                       Acrylic?
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                                                                                                                 SIZE

2011.064.164   Boyscout Membership                          C. K. Berryman (Contemporary)              1940      12 1/2" x 14    Ink on paper
                                                                                                                 1/8"
2011.064.243   The Mountaineer                              Carl Clemens Moritz Rungius (1869-         n. d.     50" x 60"       Oil on canvas
                                                            1959)
Unknown        Scout's Signaling Friendship                 Caserta                                    1945

2011.064.170   In a Welch Valley                            Charles Chauvel after a painting by B.     n. d.     18 1/2" x 28    Hand colored etching
                                                            W. Leader                                            1/2" with
                                                                                                                 margins
2011.064.171   Surrey's Pleasant Hills                      Charles Chauvel after a painting by B.     n. d.     21 1/2" x 17"   Hand colored etching
                                                            W. Leader                                            with margins
2016.019       Scouts at Campfire Singing                   Charles Towne                              1930s                     Oil on unstretched
                                                                                                                                 canvas
Unknown        New Jersey State Trooper and Scout           Dave ?                                     n.d.

2011.064.225   Greenhead Alert                              David Moss (Contemporary)                  n. d.     16 1/4" x 24    Color off-set lithograph
                                                                                                                 7/8" with
                                                                                                                 margins
2011.064.226   Pheasants in the Snow                        David Moss (Contemporary)                  n. d.     16 3/8" x 24    Color off-set lithograph
                                                                                                                 7/8" with
                                                                                                                 margins
2011.064.227   Wild Wings                                   David Moss (Contemporary)                  1985      16 1/2" x 24    Color off-set lithograph
                                                                                                                 7/8" with
                                                                                                                 margins
2011.064.176   Lincoln Memorial                             Dean Cornwell ( 1892- 1960)                n. d.     38" x 35"       Oil on canvas
2011.064.175   Uncle Sam's Air Force; "Boy Scout and        Dean Cornwell ( 1892- 1960)                1952      38 1/8" x 35    Oil on canvas
               Pilot"                                                                                            1/2"
2011.064.177   Wright Brothers                              Dean Cornwell ( 1892- 1960)                n. d.     38" x 35"       Oil on canvas
2011.064.174   Boy Scout and Father at Nathan Hale Statue   Dean Cornwell (1892- 1960)                 n. d.     40" x 36 1/4"   Oil on relined canvas
2011.064.215   America's Strength                           Don Lupo (Contemporary)                    n. d.     26" x 19 1/2"   Watercolour over off-
                                                                                                                                 set lithograph
Unknown        Your Career in Scouting                      Don Lupo (Contemporary)                    n.d.
OA             Brotherhood Barn                             E. Urner Goodman                           n.d.                      Oil on Canvas
2011.064.316   Treasure Island                              E. Urner Goodman                                                     Oil on Canvas

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2011.064.187   Liberty Bell                            Earnest Henry (Contemporary)           n. d.     25" x 26"       Oil on canvas
2011.064.231   Forward on Liberty's Team               Earnest Pascoe (1922- 1996)            1954      33" x 23"       Oil on canvas
2011.064.211   The Measure of a Man                    Edward D. Kuekes (Born 1901)           1957      20" x 16"       Ink on paper
2011.064.222   Ellsworth H. Augustus                   Eugene A. Montgomery                   n. d.     40" x 30"       Oil on canvas
                                                       (Contemporary)
2011.064.223   Portrait of Alden G. Barber             Eugene A. Montgomery                   n. d.     42" x 32"       Oil on canvas
                                                       (Contemporary)
2011.064.224   Portrait of Irving Feist                Eugene A. Montgomery                   n. d.     42" x 32"       Oil on canvas
                                                       (Contemporary)
Unknown        Eagle in Flight                         F.P. Smith                             n.d.
2011.064.182   General Omar Bradley                    Frank Eliscu (Born 1912)               1990      16 1/2" high    Cast bronze sculpture
                                                                                                        without base    with brown patina
2011.064.220   Coke, "Boy Scouts Come to a Halt"       Fredric Kimball Mizen (1888- 1965)     n. d.     32 1/2" x 37    Oil on canvas which has
                                                                                                        1/2"            been relined
2011.064.119   Scout Bugler, Swimming Call             Harold N. Anderson (Contemporary)      n.d.      28" x 21 1/2"   Oil on Canvas
2011.064.120   Sea Scout at Ship's Wheel               Harold N. Anderson (Contemporary)      n.d.      30" x 20"       Oil on Canvas
2011.064.244   They See a Vision That Once Was Yours   Harold van Schmidt (Contemporary)      1951      29" x 37"       Oil on canvas
2011.064.168   Boy's Life Cover                        Harrison Cady (1877- 1970)             1938      17 5/8" x 27    Ink and watercolour on
                                                                                                        1/8"            paper
2011.064.191   A Scout is Brave                        Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.192   A Scout is Cheerful                     Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.193   A Scout is Clean                        Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.194   A Scout is Courteous                    Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.195   A Scout is Friendly                     Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.196   A Scout is Helpful                      Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.197   A Scout is Kind                         Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)
2011.064.198   A Scout is Loyal                        Henry "Hy" Hintermeister (1902-        n. d.     15" x 10"       Gouache on paper
                                                       1972)

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2011.064.199   A Scout is Obedient                        Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.200   A Scout is Reverent                        Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.201   A Scout is Thrifty                         Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.202   A Scout is Trustworthy                     Henry "Hy" Hintermeister (1902-        n. d.   15" x 10"          Gouache on paper
                                                          1972)
2011.064.189   Achievement                                Henry "Hy" Hintermeister (1902-        n. d.   24" x 18"          Oil on canvas
                                                          1972)
2011.064.190   Adventure                                  Henry "Hy" Hintermeister (1902-        n. d.   24" x 18"          Oil on canvas
                                                          1972)
2011.064.228   Johnston Historical Museum                 Herbert Mott (Contemporary)            n. d.   10 1/2" x 22       Gouache and pencil on
                                                                                                         1/2"               paper
2011.064.230   Portrait of Baden-Powell                   Hjordis Nyberg (Contemporary)          n. d.   40" x 30"          Oil on canvas
2011.064.188   Tait McKenzie Statue                       Homer Hill (Contemporary)              n. d.   24" x 18"          Gouache on paper and
                                                                                                                            collage
2011.064.172   Boy Scout                                  Howard Chandler Christy (1873- 1952)   1936    60" x 40"          Oil on canvas
2011.064.312   Portrait of Norton Clapp                   J. Anthony Wills (Contemporary)        n. d.   43" x 34"          Oil on masonite
2011.064.165   Giant Eagle, Planes, and Scout             James Bingham (Contemporary)           n. d.   34 1/2" x 30       Oil on relined canvas
                                                                                                         1/4"
2011.064.130   "Common Puffin": "Tufted Puffin"; and      James Carter Beard (1837- 1913)        1904    6 3/4" x 5 1/16"   Ink and watercolour on
               "Rhinoceros Auklet"                                                                                          paper mounted to
                                                                                                                            cardboard
2011.064.140   "Hudson Bay Lemming"; "Field Mouse";       James Carter Beard (1837- 1913)        1904    12" x 11"          Ink and watercolour on
               "Red Backed Mouse"; and "Northwest                                                                           paper mounted to
               Vole"                                                                                                        cardboard
2011.064.150   "Sunfish"; "Calico Bass"; Yellow Perch";   James Carter Beard (1837- 1913)        1904    9 1/2" x 12 7/8"   Ink and watercolour on
               and "Small Mounted Black Bass"                                                                               paper mounted to
                                                                                                                            cardboard
2011.064.121   American Spotted Chimera                   James Carter Beard (1837- 1913)        1904    6" x 11"           Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.123   Australian Lung Fish                       James Carter Beard (1837- 1913)        1904    6 3/4" x 12 3/4"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard


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2011.064.124   Black Footed Albatross                      James Carter Beard (1837- 1913)     1904      9 1/8" x 10 1/4"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.125   Bluefish                                    James Carter Beard (1837- 1913)     1904      4 5/8" x 7"        Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.126   Bullhead Catfish                            James Carter Beard (1837- 1913)     1904      6" x 7 3/4"        Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.127   California Grey Whales Attacked by Killer   James Carter Beard (1837- 1913)     1904      10 3/8" x 15       Ink and watercolour on
               Whales                                                                                    1/2"               paper mounted to
                                                                                                                            cardboard
2011.064.128   Canadian Lynx                               James Carter Beard (1837- 1913)     1904      8 1/2" x 10 3/4"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.129   Common Dolphins                             James Carter Beard (1837- 1913)     1904      10 1/2" x 15       Ink and watercolour on
                                                                                                         5/8"               paper mounted to
                                                                                                                            cardboard
2011.064.131   Congo Snake                                 James Carter Beard (1837- 1913)     1904      13 1/4" x 18       Ink and watercolour on
                                                                                                         1/4"               paper mounted to
                                                                                                                            cardboard
2011.064.132   Devil Fish                                  James Carter Beard (1837- 1913)     1904      9 1/4" x 14 3/8"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.133   Elaine Eel                                  James Carter Beard (1837- 1913)     1904      5 7/8" x 10 7/8"   Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.134   Florida Wood Rat                            James Carter Beard (1837- 1913)     1904      9 1/8" x 11"       Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.135   Flying Fish                                 James Carter Beard (1837- 1913)     1904      5 5/8" x 9 1/2"    Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard
2011.064.136   Flying Foxes (Bats)                         James Carter Beard (1837- 1913)     1904      17" x 12 1/4"      Ink and watercolour on
                                                                                                                            paper mounted to
                                                                                                                            cardboard



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2011.064.137   Glacier Bear                         James Carter Beard (1837- 1913)     1904      9 7/8" x 11 3/8"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.138   Grey Squirrel                        James Carter Beard (1837- 1913)     1904      9 1/4" x 14 1/2"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.139   Hell Bender                          James Carter Beard (1837- 1913)     1904      12" x 16 1/2"      Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.141   Jumping Mouse                        James Carter Beard (1837- 1913)     1904      8 1/2" x 7"        Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.142   Loon and Murres                      James Carter Beard (1837- 1913)     1904      6 7/8" x 8 1/2"    Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.143   Manatee                              James Carter Beard (1837- 1913)     1904      14" x 8 7/8"       Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.144   Menobranchas                         James Carter Beard (1837- 1913)     1904      13" x 18"          Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.145   Pocket Gophers                       James Carter Beard (1837- 1913)     1904      6" x 11"           Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.146   Ribbon Seals                         James Carter Beard (1837- 1913)     1904      12 3/8" x 15       Ink and watercolour on
                                                                                                  1/2"               paper mounted to
                                                                                                                     cardboard
2011.064.148   Spider Monkeys                       James Carter Beard (1837- 1913)     1904      13 7/8" x 9 1/8"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard
2011.064.149   Squirrel                             James Carter Beard (1837- 1913)     1904      10 1/2" x 15       Ink and watercolour on
                                                                                                  1/2"               paper mounted to
                                                                                                                     cardboard
2011.064.151   Stellar's Sea Lions                  James Carter Beard (1837- 1913)     1904      9 1/4" x 13 7/8"   Ink and watercolour on
                                                                                                                     paper mounted to
                                                                                                                     cardboard



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2011.064.152     Stormy Petrel                           James Carter Beard (1837- 1913)      1904      8 1/4" x 8 1/8"    Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.153     Tarpon                                  James Carter Beard (1837- 1913)      1904      5 1/4" x 9 1/16"   Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.122     The Angler                              James Carter Beard (1837- 1913)      1904      5 7/8" x 10 3/4"   Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.147     The Spanish Mackerel                    James Carter Beard (1837- 1913)      1904      5" x 5 1/2"        Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.154     Two Spined Stickleback                  James Carter Beard (1837- 1913)      1904      3 1/2" x 11 1/2"   Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.155     Typical Pocket-Mouse and Kangaroo Rat   James Carter Beard (1837- 1913)      1904      10 3/4" x 10       Ink and watercolour on
                                                                                                        7/8"               paper mounted to
                                                                                                                           cardboard
2011.064.156     Unicorn Whales                          James Carter Beard (1837- 1913)      1904      10 1/2" x 16       Ink and watercolour on
                                                                                                        1/2"               paper mounted to
                                                                                                                           cardboard
2011.064.157     Woodchuck                               James Carter Beard (1837- 1913)      1904      8 1/8" x 10"       Ink and watercolour on
                                                                                                                           paper mounted to
                                                                                                                           cardboard
2011.064.158     Daniel Carter Beard                     James Henry Beard (1812- 1893)       1888      12" x 19 3/8"      Oil on board
2011.064.212     Saturday Evening Post Cover             James Lewicki (Born 1917)            1960      23 1/2" x 21       Ink and watercolour on
                                                                                                        1/2"               board
2011.064.309 /   Santa Claus and Scout                   Jay Vance (Contemporary)             n. d.     13 1/2" x 10       Gouache on paper
1998.111                                                                                                1/4"
None             Scout Crossing-Jamboree                 Jeff Segler                          2017

None             Scouting's Tribute to Law Enforcement   Jeff Segler                          2018
2011.064.278     Untitled Scout                          Jeff Segler (Contemporary)           n. d.     36" x 28"          Oil on canvas
2011.064.166     Mustangs                                John Gutson (La Mothe) Borglum       1904      20 3/4" x 32" x    Cast bronze multiple
                                                         (1867- 1941)                                   16"                sculpture with green-
                                                                                                                           brown patina


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OBJECT ID      TITLE                                     CREATOR                                 DATE       IMAGE              MEDIUM
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Unknown        Eagle and Eagle Scout Medal               John Steven Wilson                      n.d.

2011.064.214   "Weapons for Liberty"; March 2 Saturday   Joseph Christain Leyendecker (1874-     1918       40" x 27 1/4"      Oil on canvas
               Evening Post Cover                        1951)
2011.064.213   Saturday Evening Post Cover/ Scouts       Joseph Christain Leyendecker (1874-     1911       30 1/4" x 21       Oil on canvas
               Signaling                                 1951)                                              1/4"
None           100th Anniversary of the Order of the     Joseph Csatari                          2012
               Arrow
2003.111       Portrait of Chope Phillips                Joseph Csatari                          1971                          Oil on masonite


Unknown        "100th Anniversary of World Scouting"     Joseph Csatari                          2007       32" x 26"          Oil on Canvas
Unknown        100th Anniversary of Eagle Scouts         Joseph Csatari                          2012                          Oil on Canvas
Unknown        90th Anniversary of Boys Life             Joseph Csatari                          2001                          Oil on Canvas
Unknown        A Scout is Reverent, Study                Joseph Csatari                          n.d.
Unknown        Reading Partners                          Joseph Csatari                          2002       30" x 24"          Oil on Canvas
Unknown        Scouting Hero's                           Joseph Csatari                          2007       32" x 26"          Oil on Canvas
Unknown        Scouting Salutes Community Organizatons   Joseph Csatari                          2009       32" x 25"          Oil on Canvas
Unknown        Scouting through the Years                Joseph Csatari                          1978                          Oil on Canvas
Unknown        Scoutmaster and Scout, study              Joseph Csatari                          n.d.                          Pencil on paper

Unknown        Sketch, "To Rich"                         Joseph Csatari                          n.d.                          sketch

None           Walter Scott, Jr.                         Joseph Csatari                          2012
Unknown        Year of the Volunteer                     Joseph Csatari                          2008       32" x 25"          Oil on Canvas
2011.064.088   "Prepared To Do a Good Turn" or "9/11"    Joseph Csatari (Contemporary)           2002       40" x 31"          oil on canvas
2011.064.118   100th Anniversary Salute to Scouting      Joseph Csatari (Contemporary)           2009                          Oil on Canvas
2011.064.066   1976 Handbook Cover                       Joseph Csatari (Contemporary)           1975       27 1/2" x 38"      oil on board
2011.064.082   A Good Turn                               Joseph Csatari (Contemporary)           1992       40" x 32"          oil on canvas
2011.064.110   A Good Turn, study                        Joseph Csatari (Contemporary)           n. d.      10" x 8"           pencil on paper
2011.064.092   A Scout is Reverent                       Joseph Csatari (Contemporary)           ca. 1994   20" x 16"          oil on board

2011.064.116   A Winner, study                           Joseph Csatari (Contemporary)           n. d.      10 1/4" x 7 3/4"   pencil on paper
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2011.064.070   After Hours                                     Joseph Csatari (Contemporary)       1980       30" x 24"          oil on canvas
2011.064.107   After Hours, study                              Joseph Csatari (Contemporary)       n. d.      9 1/2" x 7 1/2"    pencil on paper
2011.064.109   Building a Fire, study                          Joseph Csatari (Contemporary)       1987       14" x 10"          pencil on paper
2011.064.083   Character Counts                                Joseph Csatari (Contemporary)       1994       36" x 30"          oil on canvas
2011.064.091   Charles L. Sommers, High Adventure Base         Joseph Csatari (Contemporary)       ca. 1999   36" x 30"          oil on canvas

2011.064.093   Come On, Join Us                                Joseph Csatari (Contemporary)       n. d.      24" x 19"          acrylic on canvas
2011.064.090   Cub Scout 75th Anniversary "Cub Scout           Joseph Csatari (Contemporary)       2004       34" x 27"          oil on canvas
               75th Anniversary" or "A Winner"
2011.064.089   Dreams Become a Reality in Venturing            Joseph Csatari (Contemporary)       2003       34" x 27"          oil on canvas
2011.064.114   Duty to God and Country, study                  Joseph Csatari (Contemporary)       n. d.      13 1/2" x 10       pencil on paper
                                                                                                              1/2"
2011.064.105   Eagle Court of Honor                            Joseph Csatari (Contemporary)       n. d.      31" x 23"          oil on canvas
2011.064.106   Eagle Court of Honor, study                     Joseph Csatari (Contemporary)       n. d.      30" x 22"          pencil on paper
2011.064.068   Eagle Service Project                           Joseph Csatari (Contemporary)       1978       38" x 29"          oil on canvas
2011.064.072   Family Camping                                  Joseph Csatari (Contemporary)       1982       32 1/2" x 25"      oil on canvas
2011.064.081   Florida Sea Base                                Joseph Csatari (Contemporary)       1991       41" x 32"          oil on canvas
2011.064.115   Florida Sea Base, study                         Joseph Csatari (Contemporary)       n. d.      20" x 15 1/2"      pencil on paper
2011.064.065   Gift of a Lifetime                              Joseph Csatari (Contemporary)       1968       20 1/4" x 16       oil on canvas
                                                                                                              1/4"
2011.064.062   Higher Vision                                   Joseph Csatari (Contemporary)       1964       22 5/16" x 18      oil on canvas
                                                                                                              5/16"
2011.064.075   It's a Boy's Life                               Joseph Csatari (Contemporary)       1985       32" x 24"          oil on canvas
2011.064.087   National Jamboree Fort A. P. Hill, Virginia     Joseph Csatari (Contemporary)       2001       30" x 24"          oil on canvas
2011.064.314   National Scouting Museum Founders               Joseph Csatari (Contemporary)       2013       35.75" x 24.50"    Oil on Canvas
                                                                                                              with margin

2011.064.111   Official Call, study                            Joseph Csatari (Contemporary)       n. d.      11 1/2" x 8 1/2"   pencil on paper
2011.064.084   Out of the Past Into the Future (Pass it On?)   Joseph Csatari (Contemporary)       1996       34" x 27"          oil on canvas
2011.064.104   Pass It On                                      Joseph Csatari (Contemporary)       n. d.      36" x 28"          oil on canvas
2011.064.098   Portrait of Arch Munson, Jr.                    Joseph Csatari (Contemporary)       n. d.      40" x 30 1/4"      oil on canvas
2011.064.095   Portrait of Ben H. Love                         Joseph Csatari (Contemporary)       n. d.      36" x 30"          oil on canvas
2011.064.099   Portrait of Charles M. Pigott                   Joseph Csatari (Contemporary)       n. d.      36" x 30"          oil on canvas

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2011.064.096   Portrait of Dr. Thomas C. MacAvoy      Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.094   Portrait of Edward Joullian III        Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.100   Portrait of Harvey L. Price            Joseph Csatari (Contemporary)            n. d.     31" x 25"          oil on canvas
2011.064.103   Portrait of J. L. Tarr                 Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.101   Portrait of Jere B. Ratcliff           Joseph Csatari (Contemporary)            n. d.     36" x 30"          oil on canvas
2011.064.102   Portrait of Robert W. Reneker          Joseph Csatari (Contemporary)            n. d.     40" x 30 3/8"      oil on canvas
2011.064.097   Portrait of Sanford N. McDonnell       Joseph Csatari (Contemporary)            n. d.     40" x 30"          oil on canvas
2011.064.080   Scouting for all Seasons               Joseph Csatari (Contemporary)            1990      40" x 34"          oil on canvas
2011.064.117   Scouting For All Seasons, study        Joseph Csatari (Contemporary)            n. d.     15 3/4" x 15"      pencil on paper
2011.064.085   Scouting Values                        Joseph Csatari (Contemporary)            1996      36" x 28"          oil on canvas
2011.064.113   Scoutmaster, study                     Joseph Csatari (Contemporary)            n. d.     13 1/2" x 10       pencil on paper
                                                                                                         1/2"
2011.064.108   Scouts Are Patriotic, study            Joseph Csatari (Contemporary)            n. d.     13" x 9 1/2"       pencil on paper
2011.064.112   Scouts Hiking, study                   Joseph Csatari (Contemporary)            n. d.     14" x 12"          pencil on paper
2011.064.074   Spirit Lives On                        Joseph Csatari (Contemporary)            1985      34" x 26"          oil on canvas
2011.064.067   The New Spirit                         Joseph Csatari (Contemporary)            1976      33" x 25"          oil on canvas
2011.064.064   The Ordeal                             Joseph Csatari (Contemporary)            1967      22" x 18"          oil on canvas
2011.064.071   The Patrol Leader                      Joseph Csatari (Contemporary)            1981      26" x 21"          oil on canvas
2011.064.069   The Reunion                            Joseph Csatari (Contemporary)            1979      32" x 24"          oil on canvas
2011.064.079   The Scoutmaster                        Joseph Csatari (Contemporary)            1989      44" x 36"          oil on canvas
2011.064.073   The Strength of Scouting Through       Joseph Csatari (Contemporary)            1983      30" x 24"          oil on canvas
               Volunteers OR Thank You, Scout
               Volunteers
2011.064.063   Thomas J. Watson, Jr.                  Joseph Csatari (Contemporary)            1965      28" x 22"          oil on canvas
2011.064.086   Urban Good Turn                        Joseph Csatari (Contemporary)            1997      30" x 25"          oil on canvas
2011.064.076   Values That Last a Lifetime            Joseph Csatari (Contemporary)            1986      36" x 28"          oil on canvas
2011.064.077   Winter Camping Scene                   Joseph Csatari (Contemporary)            1987      40" x 30"          oil on canvas
2011.064.078   You Can Do It                          Joseph Csatari (Contemporary)            1988      30" x 24"          oil on canvas
2011.064.317   Happy 90th Birthday BSA                Joseph Csatari (Contemporary) Artist     2000                         Oil on Canvas
2011.064.318   The Summit or Summit Bechtel Reserve   Joseph Csatari (Contemporary) Artist     2013                         Oil on Canvas
None           Live Scouting's Adventures             Josh Hunt                                n.d.
2011.064.206   Brown and Bigelow Calendar             Keely (Contemporary)                     1970      33" x 11"          Oil on board
2011.064.310   Man to Man                             L. D. Warren (Born 1906)                 1956      10 1/2" x 8 7/8"   Ink on paper

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OBJECT ID        TITLE                                    CREATOR                                DATE      IMAGE             MEDIUM
                                                                                                           SIZE

2011.064.186     The Spirit Lives On                      Larry Frost (Contemporary)             n. d.     44" x 36"         Oil on masonite
2011.064.311     Boy Scout Saluting                       Lawrence Wilbur (1897- 1988)           n. d.     16 1/2" x 13      Oil on unstretched
                                                                                                           1/2"              canvas
2012.056         Lady with Scarf                          Leyendecker, J.C.                      n.d.                        Oil Study
2011.064.216     Portrait of George H. Fisher             Lurtos (Contemporary)                  n. d.     26" x 19 1/2"     Oil on board
2011.064.205     Miriam Lumpkin Rand Johnston             Marion D. Johnson (1892- 1966)         n. d.     23 1/2" x 19      Pastel on paper
                                                                                                           1/2"
2011.064.282     Scouting in the World                    Martha Jane Starr (Contemporary)       n. d.     49" x 19"         25 petit points on three
                                                                                                                             panels
2011.064.283     Scouting in the World                    Martha Jane Starr (Contemporary)       n. d.     49" x 19"         25 petit points on three
                                                                                                                             panels
2011.064.281     Scouting in the World                    Martha Jane Starr (Contemporary)       n. d.     49" x 19"         25 petit points on three
                                                                                                                             panels
2011.064.284     Trail to Eagle                           Martha Jane Starr (Contemporary)       n. d.     24 3/8" x 19      8 petit points on three
                                                                                                           3/8"              panels
2011.064.221     Portrait of Elbert Fretwell in a Scout   Martin Mockford (Contemporary)         1954      20" x 16"         Oil on canvas
                 Uniform
2011.064.238 /   Eagle in Flight / "The Eagle"            Maynard Reece (Born 1920)              1980      16" x 24"         Oil on canvas
1999.050
Unknown          Portrait of Baden-Powell                 McKean                                 1967
2011.064.169     Fort A. P. Hill                          Milton Arthur Candiff ( Born 1907)     1981      14" x 10 1/4"     Ink and pencil on paper
                                                                                                                             and collage
Unknown          1939 World's Fair                        Monte Crews                            n.d.                        Oil on Canvas

2011.064.239     Onward...For God and My Country          Paul Remmey (Contemporary)             n. d.     18 1/4" x 37"     Oil on canvas
2011.064.286     Portrait of Dr. Arthur Schuck            Paul Trebilcock (1902- 1981)           n. d.     44" x 34"         Oil on canvas
2011.064.300     America's Boypower, Project SOAR         Paul Troth (Contemporary)              1971      9" x 7 1/4"       Ink on paper
2011.064.184     "Trail to Manhood"                       Peter M. Fillerup (Contemporary)       1984      84" high          Cast bronze sculpture
                                                                                                                             with brown patina
2011.064.183     Maquette for "Trail to Manhood"          Peter M. Fillerup (Contemporary)       1991      16 1/4" without   Cast bronze sculpture
                                                                                                           base              with brown patina
2011.064.279     Scouting Family                          R. Skemp (Contemporary) R.S. Kemp      n. d.     18" x 14 1/2"     Oil on board
                                                          or R. Skemp
Unknown          Citizenship: BSA                         Remington Schuyler (1884- 1955)        1925      30" x 21 1/2"     Oil on Canvas

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2011.064.245     Cub Scouts Running an Indoor Course        Remington Schuyler (1884- 1955)     n. d.     6 1/2" x 22 1/2"   Ink on paper
2011.064.246     Indian and Travois                         Remington Schuyler (1884- 1955)     1920      10" x 30"          Oil on canvas
2011.064.247 /   Indian in Canoe (triptych)                 Remington Schuyler (1884- 1955)     1922      20" x 11"; 20" x   Oil on canvas
1988.045                                                                                                  33"; and 20" x
                                                                                                          11"
2011.064.249     Scout Sign Up                              Remington Schuyler (1884- 1955)     n. d.     13 1/2" x 12       Ink on paper
                                                                                                          5/8"
2011.064.250     Scout with Binoculars                      Remington Schuyler (1884- 1955)     n. d.     4 1/2" x 6 1/2"    Ink on paper
2011.064.251     Scout with Native American                 Remington Schuyler (1884- 1955)     n. d.     7 5/8" x 7 5/8"    Ink on paper
2011.064.252     Scouts and Important Holidays              Remington Schuyler (1884- 1955)     n. d.     9 1/4" x 27"       Ink and coloured pencil
                                                                                                                             on paper
2011.064.253     Scouts Around a Campfire                   Remington Schuyler (1884- 1955)     n. d.     8 1/2" x 7 3/4"    Ink on paper
2011.064.254     Scouts at Doorway to Sky Patrol Building   Remington Schuyler (1884- 1955)     n. d.     8 3/4" x 8 1/2"    Ink on paper
2011.064.255     Scouts Building a Log Structure            Remington Schuyler (1884- 1955)     n. d.     7 3/4" x 6 1/2"    Ink on paper
2011.064.256     Scouts Cooking at Camp                     Remington Schuyler (1884- 1955)     n. d.     5 7/8" x 6 7/8"    Ink on paper
2011.064.257     Scouts Hiking Near Totem Pole              Remington Schuyler (1884- 1955)     n. d.     9" x 7 1/2"        Ink on paper
2011.064.261     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     31" x 27"          Charcoal on paper
                 series)
2011.064.262     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     36" x 26 1/2"      Charcoal on paper
                 series)
2011.064.263     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     32" x 27"          Charcoal on paper
                 series)
2011.064.264     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     31" x 27"          Charcoal on paper
                 series)
2011.064.265     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     30" x 27"          Charcoal on paper
                 series)
2011.064.258     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     27 1/2" x 27"      Charcoal on paper
                 series)
2011.064.259     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     28 1/2" x 27"      Charcoal on paper
                 series)
2011.064.260     Scouts in Winter Camp (One of ten in the   Remington Schuyler (1884- 1955)     n. d.     29 1/2" x 27"      Charcoal on paper
                 series)
2011.064.266     Scouts on a Hike                           Remington Schuyler (1884- 1955)     n. d.     16" x 14"          Ink on paper
2011.064.267     Scouts on Hike Near Seashore               Remington Schuyler (1884- 1955)     n. d.     7 3/4" x 7"        Ink on paper


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OBJECT ID            TITLE                                        CREATOR                                DATE      IMAGE              MEDIUM
                                                                                                                   SIZE

Unknown              Scouts on Lookout (with binoculars)(         Remington Schuyler (1884- 1955)        n.d.                         Oil on Canvas

2011.064.268         Scouts Resting Along a Trail                 Remington Schuyler (1884- 1955)        n. d.     22 1/2" x 19       Charcoal on paper
                                                                                                                   1/4"
2011.064.269         Scouts Setting Up Camp Near a Lake           Remington Schuyler (1884- 1955)        n. d.     6" x 6 7/8"        Ink on paper
2011.064.270         Scouts Sitting in Front of a Teepee          Remington Schuyler (1884- 1955)        n. d.     8" x 8"            Ink on paper
2011.064.271         Scouts Swimming and Diving                   Remington Schuyler (1884- 1955)        n. d.     7 1/2" x 7 1/2"    Ink on paper
2011.064.272         Scouts Washing Up at Camp                    Remington Schuyler (1884- 1955)        n. d.     9 3/8" x 8 1/4"    Ink on paper
2011.064.273         Scouts Welcoming a New Member                Remington Schuyler (1884- 1955)        n. d.     9 1/2" x 7"        Ink on paper
2011.064.248         Sitting Scouts Dressed as Native Americans   Remington Schuyler (1884- 1955)        n. d.     7 3/4" x 7 3/4"    Ink on paper
2011.064.274         The Second Class Requirements                Remington Schuyler (1884- 1955)        n. d.     11 1/2" x 6 5/8"   Ink on paper
2011.064.275         The Tenderfoot Requirements                  Remington Schuyler (1884- 1955)        n. d.     11 1/4" x 6 5/8"   Ink on paper
2011.064.276         Tippy                                        Remington Schuyler (1884- 1955)        n. d.     12" x 15 5/8"      Ink on jointed irregular
                                                                                                                                      paper
2011.064.277         Two Scouts at Picketburg Sign Post           Remington Schuyler (1884- 1955)        n. d.     15" x 14"          Ink on paper
2011.064.207         Portrait of Gale F. Johnson (Johnston?)      Robert "Bob" Kovacs (Contemporary)     1966      24" x 20"          Oil on canvas
2011.064.208         Portrait of J. F. Kennedy in Scout Uniform   Robert "Bob" Kovacs (Contemporary)     1966      34" x 29 1/2"      Acrylic on rawhide
2011.064.209         Portrait of Joseph A. Burton, Jr.            Robert "Bob" Kovacs (Contemporary)     1967      30" x 24"          Oil on canvas
2011.064.210         Portrait of Lady Baden-Powell                Robert "Bob" Kovacs (Contemporary)     1967      24" x 20"          Oil on canvas
2011.064.219         The Boy Scout                                Robert Tait McKenzie (1867- 1938)      1937      73" high           Cast bronze sculpture
                                                                                                                                      with brown patina
1992.060.001 -.004   "Four Season" portfolio                      Rockwell, Norman (1894-1978)           1976      13 1/2" x 13       Lithograph
                                                                                                                   1/4"
2011.064.001         A Daily Good Turn                            Rockwell, Norman (1894-1978)           1918      30.25 x 22.25"     Oil on canvas
2011.064.036         A Good Sign All Over the World               Rockwell, Norman (1894-1978)           1961      29" x 25"          Oil on relined canvas
2011.064.005         A Good Turn                                  Rockwell, Norman (1894-1978)           1924      32.125 x           Oil on relined canvas
                                                                                                                   27.125"
2011.064.038         A Great Moment                               Rockwell, Norman (1894-1978)           1963      43 1/4" x 35 x     Oil on canvas
                                                                                                                   1/4"
2011.064.017         A Guiding Hand                               Rockwell, Norman (1894-1978)           1944      38 x 29.125"       Oil on canvas
2011.064.013         A Scout is Friendly                          Rockwell, Norman (1894-1978)           1941      33 x 22"           Oil on relined canvas
2011.064.006         A Scout is Loyal                             Rockwell, Norman (1894-1978)           1930      44 x 34"           Oil on relined canvas
2011.064.024         A Scout is Reverent                          Rockwell, Norman (1894-1978)           1952      28 x 22"           Oil on canvas
2011.064.016         All Together                                 Rockwell, Norman (1894-1978)           1945      30 x 24"           Oil on canvas
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2011.064.011   America Builds for Tomorrow           Rockwell, Norman (1894-1978)     1936      34 x 25"         Oil on relined canvas
2011.064.045   America's Manpower Begins with        Rockwell, Norman (1894-1978)     1969      34" x 26"        Oil on canvas
               Boypower
2011.064.042   Beyond the Easel                      Rockwell, Norman (1894-1978)     1967      29 1/4" x 27"    Oil on canvas
2011.064.029   Boy and Dogs, New Puppies             Rockwell, Norman (1894-1978)     1956      27 1/4" x 25     Oil on canvas
                                                                                                1/4"
2011.064.031   Boy Scout Hiking                      Rockwell, Norman (1894-1978)     1957      35 1/4" x 21"    Oil on canvas
2011.064.051   Boy Scouts Pledging 60th Boy's Life   Rockwell, Norman (1894-1978)     c. 1968   13" x 12"        oil on canvas
2011.064.052   Boypower, Manpower                    Rockwell, Norman (1894-1978)     1970      24" x 24"        charcoal on paper
2011.064.040   Breakthrough for Freedom              Rockwell, Norman (1894-1978)     1965      23 x 18"         Oil on canvas
2011.064.035   Can't Wait                            Rockwell, Norman (1894-1978)     1970      39" x 29"        Oil on canvas
2011.064.057   Can't Wait                            Rockwell, Norman (1894-1978)     1960      23 1/2" x 18     colour lithograph
                                                                                                3/4" with
                                                                                                margins
2011.064.007   Carry On                              Rockwell, Norman (1894-1978)     1932      45 x 31 1/2"     Oil on relined canvas
2011.064.043   Come and Get It                       Rockwell, Norman (1894-1978)     1968      37 1/4" x 31     Oil on canvas
                                                                                                1/4"
2011.064.032   Ever Onward                           Rockwell, Norman (1894-1978)     1958      37" x 29 1/8"    Oil on relined canvas
2011.064.021   Forward America                       Rockwell, Norman (1894-1978)     1949      46.5 x 36.125"   Oil on canvas
2011.064.019   Friend in Need                        Rockwell, Norman (1894-1978)     1947      38 x 19.125"     Oil on canvas
2011.064.046   From Concord to Tranquility           Rockwell, Norman (1894-1978)     1971      26 1/2" x 21     Oil on canvas
                                                                                                1/4"
2011.064.039   Growth of a Leader                    Rockwell, Norman (1894-1978)     1964      30 1/4" x 23     Oil on relined canvas
                                                                                                1/4"
2011.064.027   High Adventure at Philmont            Rockwell, Norman (1894-1978)     1955      52 1/2' x 44     Oil on relined canvas
                                                                                                1/4"
2011.064.033   Homecoming                            Rockwell, Norman (1894-1978)     1959      44" x 33"        Oil on relined canvas
2011.064.015   I Will Do My Best                     Rockwell, Norman (1894-1978)     1943      39 x 28"         Oil on canvas
2011.064.044   Irving Feist                          Rockwell, Norman (1894-1978)     1969      20" x 16"        Oil on masonite
2011.064.018   Men of Tomorrow                       Rockwell, Norman (1894-1978)     1946      37 x 29"         Oil on canvas
2011.064.028   Mighty Proud                          Rockwell, Norman (1894-1978)     1956      30 1/4" x 25"    Oil on canvas
2011.064.023   On My Honor                           Rockwell, Norman (1894-1978)     1951      46 x 34"         Oil on canvas
2011.064.008   On to Washington                      Rockwell, Norman (1894-1978)     c. 1933   30.125 x         Oil on relined canvas
                                                                                                24.125"


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2011.064.020   Our Heritage                            Rockwell, Norman (1894-1978)     1948      42.125 x        Oil on canvas
                                                                                                  32.125"

2011.064.034   Pointing the Way                        Rockwell, Norman (1894-1978)     1960      37 1/2" x 28    Oil on relined canvas
                                                                                                  3/4"

2011.064.002   Red Cross Man in the Making (A Good     Rockwell, Norman (1894-1978)     1916      30 x 22"        Oil on canvas
               Scout) (A Scout is Kind)
2011.064.041   Scouting is Outing                      Rockwell, Norman (1894-1978)     1966      26 1/8" x 21"   Oil on canvas
2011.064.003   Scouting Makes Real Men Out of Boys     Rockwell, Norman (1894-1978)     1916      30.125 x        Oil on canvas
               (Some Day This May Save An Army)                                                   22.125"
2011.064.010   Scouts of Many Trails                   Rockwell, Norman (1894-1978)     1936      40.5 x 28.5"    Oil on relined canvas
2011.064.004   Straight Talks from the Scoutmaster     Rockwell, Norman (1894-1978)     1923      30.125 x        Oil on relined canvas
                                                                                                  22.125"
1993.049.001   Study for "The Scoutmaster"             Rockwell, Norman (1894-1978)     1956      12 1/4" x 10"   Oil on posterboard with
                                                                                                                  inscription on mat
2011.064.056   Study for Grandma's Recipe              Rockwell, Norman (1894-1978)     n. d.     11" x 9 1/2     oil on paper
2011.064.048   Study for Spirit of America             Rockwell, Norman (1894-1978)     c. 1928   17" x 10 7/8"   pencil on paper
2011.064.050   Study for The Spirit of 1976            Rockwell, Norman (1894-1978)     1974      14" x 10 1/2"   oil on paper
2011.064.049   Study for Washington or International   Rockwell, Norman (1894-1978)     c. 1933   13" x 10"       oil on paper
               Scouting
2011.064.053   Study for We Thank Thee, O'Lord         Rockwell, Norman (1894-1978)     1972      1 1/2" x 9"     oil on canvas mounted
                                                                                                                  to board with reverse oil
                                                                                                                  on glass
2011.064.055   Study for Weapons for Liberty           Rockwell, Norman (1894-1978)     n. d.     11" x 8"        oil on paper
2011.064.022   The Adventure Trail                     Rockwell, Norman (1894-1978)     1950      36 x 27.25"     Oil on canvas
2011.064.009   The Campfire Story                      Rockwell, Norman (1894-1978)     1934      32.125 x        Oil on canvas
                                                                                                  24.125"
2011.064.025   The Right Way                           Rockwell, Norman (1894-1978)     1953      36 x 30"        Oil on canvas
2011.064.012   The Scouting Trail                      Rockwell, Norman (1894-1978)     1937      26 x 20"        Oil on relined canvas
2011.064.026   The Scoutmaster                         Rockwell, Norman (1894-1978)     1954      45x36"          Oil on canvas
2011.064.037   To Keep Myself Physically Strong        Rockwell, Norman (1894-1978)     1962      35 1/4" x 29    Oil on relined canvas
                                                                                                  1/4"
2011.064.030   Tomorrow's Leader                       Rockwell, Norman (1894-1978)     1957      40" x 34 1/8"   Oil on relined canvas


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2011.064.047     We Thank Thee, O'Lord                          Rockwell, Norman (1894-1978)           1972      34 1/2" x 27      Oil on canvas mounted
                                                                                                                 1/2"              to board
2011.064.054     We Thank Thee, O'Lord, study                   Rockwell, Norman (1894-1978)           1972      30 3/4" x 24      charcoal on paper
                                                                                                                 3/4"
2011.064.014     We, Too, Have A Job To Do                      Rockwell, Norman (1894-1978)           1942      32 x 21"          Oil on relined canvas
2011.064.233     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     25 1/2" x 40"     Pastel on paper
                 Aid" series
2011.064.235     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     25 1/2" x 30      Pastel on paper
                 Aid" series                                                                                     1/2"
2011.064.236     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     28 1/2" x 31"     Pastel on paper
                 Aid" series
2011.064.237     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     25 1/2" x 32"     Pastel on paper
                 Aid" series
2011.064.232     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     24 1/2" x 21      Pastel on paper
                 Aid" series                                                                                     1/2"
2011.064.234     Untitled from the "Health, Safety, and First   Ruth Pisano (Contemporary)             n. d.     19 1/2" x 24      Pastel on paper
                 Aid" series                                                                                     1/2"
Unknown          Scouts                                         S. Johnson                             n.d.                        Color Pencil on Paper
2011.064.313     James West                                     S. Posie Wood (Contemporary)           n. d.     7 7/8" x 5 7/8"   Mono- toned etching
                                                                                                                 with margin
2011.064.185     Monk and Jester                                Salvatore Frangiamore (1853- 1915)     1885      28" x 18"         Watercolour on paper
2011.064.218     Public Attention                               Shaw McCutcheon (Contemporary)         1969      18" x 14 1/2"     Ink on paper
2011.064.285 /   Trail to Eagle                                 Ted Summers (Contemporary)             1950s     24" x 50"
1998.118
2011.064.294     Boy Scouts of America, Region Eight            Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.297     Boy Scouts of America, Region Eleven           Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.291     Boy Scouts of America, Region Five             Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.290     Boy Scouts of America, Region Four             Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.295     Boy Scouts of America, Region Nine             Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.287     Boy Scouts of America, Region One              Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.293     Boy Scouts of America, Region Seven            Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.292     Boy Scouts of America, Region Six              Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.296     Boy Scouts of America, Region Ten              Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas
2011.064.289     Boy Scouts of America, Region Three            Tricomi (Contemporary)                 1972      20" x 16"         Oil on canvas
2011.064.298     Boy Scouts of America, Region Twelve           Tricomi (Contemporary)                 1972      16" x 20"         Oil on canvas

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OBJECT ID      TITLE                                       CREATOR                           DATE      IMAGE              MEDIUM
                                                                                                       SIZE

2011.064.288   Boy Scouts of America, Region Two           Tricomi (Contemporary)            1972      20" x 16"          Oil on canvas
2011.064.299   National Conference, Order of the Arrow     Tricomi (Contemporary)            1971      20" x 24"          Oil on canvas
Unknown        Boy Scouts                                  Unknown                           n.d.                         Goache on Paper
Unknown        Boy Scouts, Camping and Cooking             Unknown                           n.d.                         Oil on Paper
Unknown        BSA National Museum in Kentucky             Unknown                           n.d.
Unknown        Character Counts with #50 Race Car          unknown                           n.d.
Unknown        Cub Scout                                   unknown                           n.d.                         Oil on Canvas
Unknown        Cub Scout with Rocket and Bike              Unknown                           n.d.
Unknown        Cub Scouts at a Picnic                      Unknown                           n.d.                         Oil on Paper
Unknown        Elbert Fretwell Portrait                    unknown                           n.d.
Unknown        Portrait of Glen                            Unknown                           n.d.
Unknown        Scout and Scoutmaster with People Looking   Unknown                           n.d.
               On
None           Steady at the Helm                          Unknown                           n.d.
None           Stephen D. Bechtel, Jr.                     Unknown                           2011

2011.064.304   Lord Baden Powell                           Unknown (19th- 20th century)      c. 1900   26" x 14"          Pastel on paper
2011.064.305   Perry R. Bass                               Unknown (19th- 20th century)      1984      19" high with      Cast bronze sculpture
                                                                                                       base               with brown patina
2011.064.301   Edward C. Joullian III                      Unknown (Contemporary)            1985      19 3/4" high       Cast bronze sculpture
                                                                                                       with base          with brown patina
2011.064.302   Ellsworth H. Augustus                       Unknown (Contemporary)            1985      19 1/4" high       Cast bronze sculpture
                                                                                                       with base          with brown patina
2011.064.303   George W. Pirtle                            Unknown (Contemporary)            1984      18 3/4" high       Cast bronze sculpture
                                                                                                       with base          with brown patina
2011.064.307   Public Relations                            Unknown (Contemporary)            n. d.     11 7/8" x 8 7/8"   Ink on paper
2011.064.308   Sanford N. McDonnel                         Unknown (Contemporary)            1985      21" high with      Cast bronze sculpture
                                                                                                       base               with brown patina
Unknown        Portrait of Unknown Man                     W. Scott                          n.d.

2011.064.178   Dr. Fretwell, Donald, and Mickey            Walt Disney ( 1901- 1966)         1944      26" x 26"          Pencil on paper (print?)
2011.064.179   Good Scouts                                 Walt Disney ( 1901- 1966)         n. d.     15 3/8" x 13       Ink wash on paper
                                                                                                       1/8"

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OBJECT ID        TITLE                                     CREATOR                                DATE      IMAGE          MEDIUM
                                                                                                            SIZE

2011.064.180 /   Sea Scouts                                Walt Disney ( 1901- 1966)              n. d.     15 3/8" x 13   Gouache on celluloid
1999.057                                                                                                    1/8"
2011.064.203     Boy Scouts of America, 25th Anniversary   Walter Beach Humphrey (1892- 1966)     1935      30 1/4" x 26   Oil on relined canvas
                                                                                                            1/4"
2011.064.280     National Archives                         William Arthur Smith (1918- 1989)      n. d.     38" x 35"      Oil on canvas
Unknown          Portrait of Mortimer Schiff               Wilson                                 n.d.                     Oil on Canvas

2011.064.229     Scout with English Sailor                 Z. P. Nikolaki (Contemporary)          n. d.     30" x 23"      Mixed media on
                                                                                                                           unstretched canvas




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                       SCHEDULE 2

                BSA INSURANCE POLICIES
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                                     BSA INSURANCE POLICIES

                   Carrier Name                   Policy Number          Start       End
Insurance Company of North America                Unknown                 1/1/1935   1/1/1936
Insurance Company of North America                Unknown                 1/1/1936   1/1/1937
Insurance Company of North America                Unknown                 1/1/1937   1/1/1938
Insurance Company of North America                Unknown                 1/1/1938   1/1/1939
Insurance Company of North America                Unknown                 1/1/1939   1/1/1940
Insurance Company of North America                Unknown                 1/1/1940   1/1/1941
Insurance Company of North America                Unknown                 1/1/1941   1/1/1942
Insurance Company of North America                Unknown                 1/1/1942   1/1/1943
Insurance Company of North America                Unknown                 1/1/1943   1/1/1944
Insurance Company of North America                Unknown                 1/1/1944   1/1/1945
Insurance Company of North America                Unknown                 1/1/1945   1/1/1946
Insurance Company of North America                Unknown                 1/1/1946   1/1/1947
Insurance Company of North America                Unknown                 1/1/1947   1/1/1948
Insurance Company of North America                Unknown                 1/1/1948   1/1/1949
Insurance Company of North America                Unknown                 1/1/1949   1/1/1950
Insurance Company of North America                Unknown                 1/1/1950   1/1/1951
Insurance Company of North America                CGL23729                1/1/1951   1/1/1952
Insurance Company of North America                Unknown                 1/1/1952   1/1/1953
Insurance Company of North America                Unknown                 1/1/1953   1/1/1954
Insurance Company of North America                9CGL41300               1/1/1954   1/1/1955
Insurance Company of North America                Unknown                 1/1/1955   1/1/1956
Insurance Company of North America                9CGL 41300              1/1/1956   1/1/1957
Insurance Company of North America                Unknown                 1/1/1957   1/1/1958
Insurance Company of North America                CGL97448                1/1/1958   1/1/1959
Insurance Company of North America                9CGL 114 960            1/1/1959   1/1/1960
Insurance Company of North America                CGL 122620              1/1/1960   1/1/1961
Insurance Company of North America                CGL 121944              1/1/1960   1/1/1961
Insurance Company of North America                CGL175782               1/1/1961   2/1/1961
Insurance Company of North America                CGL175782               2/1/1961   1/1/1962
Insurance Company of North America                CGL 19 18 36            1/1/1962   1/1/1963
Insurance Company of North America                CGL 20 46 80            1/1/1963   1/1/1964
Insurance Company of North America                CGL 21 29 22            1/1/1964   1/1/1965
Insurance Company of North America                CGL 23 24 70            1/1/1965   1/1/1966
Insurance Company of North America                CGL 24 88 96            1/1/1966   1/1/1967
Insurance Company of North America                GLP11200                1/1/1967   1/1/1968
Insurance Company of North America                GLP15 12 11             1/1/1968   1/1/1969
Insurance Company of North America                GLP 16 09 81            1/1/1969   1/1/1970
Insurance Company of North America                XBC43198               3/26/1969   1/1/1970
Insurance Company of North America                BLB 51323               1/1/1970   1/1/1971
Insurance Company of North America                XBC 77302               1/1/1970   1/1/1971
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                    Carrier Name                          Policy Number            Start       End
Insurance Company of North America                        BLB 51323                 1/1/1971    1/1/1972
Insurance Company of North America                        XBC85370                  1/1/1971    5/3/1971
Hartford Accident and Indemnity Company                   10 HUA 43300              5/1/1971    5/1/1972
Hartford Accident and Indemnity Company                   10CA43315                9/21/1971    1/1/1972
Hartford Accident and Indemnity Company                   10CA43304                 1/1/1972    1/1/1973
Hartford Accident and Indemnity Company                   10CA43303                 1/1/1972    1/1/1973
Hartford Accident and Indemnity Company                   10HUA43302                1/1/1972    1/1/1973
Hartford Accident and Indemnity Company                   10HUA43303                5/1/1972    5/1/1973
Argonaut Insurance Company                                UL71286000088             5/1/1972    5/1/1973
Hartford Accident and Indemnity Company                   10CA43304                 1/1/1973    1/1/1974
Hartford Accident and Indemnity Company                   10CA43303                 1/1/1973    1/1/1974
Hartford Accident and Indemnity Company                   10HUA43302                1/1/1973    1/1/1974
Hartford Accident and Indemnity Company                   10HUA43303                5/1/1973    5/1/1974
Argonaut Insurance Company                                UL 71-298-000088          5/1/1973    5/1/1974
Hartford Accident and Indemnity Company                   10CA43329                 1/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10CA43324                 1/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10HUA43331                1/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10HUA43335                5/1/1974    1/1/1975
Argonaut Insurance Company                                UL 71-298-000088          5/1/1974    1/1/1975
Hartford Accident and Indemnity Company                   10CA43342E                1/1/1975    1/1/1976
National Union Fire Insurance Company of Pittsburgh, PA   BE1140592                 1/1/1975    1/1/1976
Hartford Accident and Indemnity Company                   10CA43349E                1/1/1976    1/1/1977
National Union Fire Insurance Company of Pittsburgh, PA   BE 115 15 59              1/1/1976    1/1/1977
American Re-Insurance Company                             M-1027493                 1/1/1976    1/1/1977
London Market                                             76-10-08-02              9/17/1976   9/17/1979
Hartford Accident and Indemnity Company                   10CA43359E                1/1/1977    1/1/1978
Hartford Accident and Indemnity Company                   10JPA43360E               1/1/1977    1/1/1978
National Union Fire Insurance Company of Pittsburgh, PA   BE 121 82 55              1/1/1977    1/1/1978
American Re-Insurance Company                             M-1027493                 1/1/1977    1/1/1978
Insurance Company of North America                        GLP 70 64 52              1/1/1978    1/1/1979
National Union Fire Insurance Company of Pittsburgh, PA   CE 115 77 77              1/1/1978    1/1/1979
First State Insurance Company                             908954                    1/1/1978    1/1/1979
Insurance Company of North America                        GLP 70 64 52              1/1/1979    1/1/1980
Insurance Company of North America                        XBC 151748                1/1/1979    1/1/1980
Aetna Casualty and Surety Company                         01 XN 2046 WCA            1/1/1979    1/1/1980
First State Insurance Company                             927616                    1/1/1979    1/1/1980
Insurance Company of North America                        GLP 70 64 52              1/1/1980    1/1/1981
Allianz Insurance Company                                 UMB 599346                1/1/1980    1/1/1981
Aetna Casualty and Surety Company                         01 XN 2438 WCA            1/1/1980    1/1/1981
Insurance Company of North America                        ISL1353                   1/1/1981    1/1/1982
Transit Casualty Company                                  UMB964076                 1/1/1981    1/1/1982
First State Insurance Company                             931255                    1/1/1981    1/1/1982


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                    Carrier Name                          Policy Number             Start          End
London Market                                             931255A                    1/1/1981      1/1/1982
First State Insurance Company                             931257                     1/1/1981      1/1/1982
London Market                                             931257A                    1/1/1981      1/1/1982
Insurance Company of North America                        ISL1364                    1/1/1982      1/1/1983
Twin City Fire Insurance Company                          TXU 100325                 1/1/1982      1/1/1983
First State Insurance Company                             931255                     1/1/1982      1/1/1983
London Market                                             931255A                    1/1/1982      1/1/1983
First State Insurance Company                             931257                     1/1/1982      1/1/1983
London Market                                             931257A                    1/1/1982      1/1/1983
Insurance Company of North America                        XCP 144961               11/17/1982      1/1/1984
Insurance Company of North America                        ISL G0 28 34 57-1          1/1/1983      1/1/1984
Insurance Company of North America                        XCP144965                  1/1/1983      1/1/1984
Insurance Company of North America                        XCP 144966                 1/1/1983      1/1/1984
National Surety Corporation                               XLX-148 43 09              1/1/1983      1/1/1984
Insurance Company of North America                        ISL G0 29 31 72 2          1/1/1984      1/1/1985
Mission National Insurance Company                        MN 02 79 69                1/1/1984      1/1/1985
Insurance Company of North America                        XCP 145365                 1/1/1984      1/1/1985
National Surety Corporation                               XLX1484392                 1/1/1984      1/1/1985
Insurance Company of North America                        XCP 145366                 1/1/1984      1/1/1985
Insurance Company of North America                        ISL G0 29 31 72 2        12/31/1984   12/31/1985
Mission National Insurance Company                        MN 045730                  1/1/1985      1/1/1986
Landmark Insurance Company                                FE4002136                  1/1/1985      1/1/1986
Columbia Casualty Company                                 RDX 917 64 99              1/1/1985      3/1/1986
Insurance Company of North America                        XCP 144232                 1/1/1985      1/1/1986
Highlands Insurance Company                               SR 51238                   1/1/1985      1/1/1986
Federal Insurance Company                                 (86) 7928-83-37            1/1/1985      3/1/1986
International Insurance Company                           522 048501                 1/1/1985      3/1/1986
Royal Indemnity Company                                   ED 103126                  1/1/1985      3/1/1986
Insurance Company of North America                        ISL G0 29 31 72 2        12/31/1985      3/1/1986
Insurance Company of North America                        ISG GO 293149-7            1/1/1986      3/1/1986
Landmark Insurance Company                                FE4002136                  1/1/1986      3/1/1986
Insurance Company of North America                        XCP 144232                 1/1/1986      3/1/1986
Highlands Insurance Company                               SR 51497                   1/1/1986      3/1/1986
Unknown                                                   Unknown                    1/1/1986      3/1/1986
Insurance Company of North America                        ISL G0 293184-9            3/1/1986      3/1/1987
U.S. Fire Insurance Company                               523 425440 7               3/1/1986      3/1/1987
Utica Mutual Ins. Company                                 10272                      3/1/1986      3/1/1987
National Union Fire Insurance Company of Pittsburgh, PA   9607508                    3/1/1986      3/1/1987
Pacific Employers Ins. Company                            XCC 001154                 4/1/1986      3/1/1987
Harbor Insurance Company                                  HI 218373                 5/20/1986      3/1/1987
St. Paul Surplus Lines Insurance Company                  LCO 55 17312              5/28/1986      3/1/1987
Chubb Custom Insurance Company                            7931-00-02                 6/3/1986      3/1/1987


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                    Carrier Name                          Policy Number             Start       End
National Union Fire Insurance Company of Pittsburgh, PA   9601862                    6/3/1986   3/1/1987
Insurance Company of North America                        ISL G0 997957 8            3/1/1987   3/1/1988
Insurance Company of North America                        ISG GO 81 65 36-1          3/1/1987   3/1/1988
U.S. Fire Insurance Company                               522 065060 1               3/1/1987   3/1/1988
St. Paul Surplus Lines Insurance Company                  LCO 55 18254               3/1/1987   3/1/1988
National Union Fire Insurance Company of Pittsburgh, PA   9601888                    3/1/1987   3/1/1988
Lexington Insurance Company                               5529760                    3/1/1987   3/1/1988
Insurance Company of North America                        XCP-GO-816538-5            3/1/1987   3/1/1988
Insurance Company of North America                        HDO-G1-136741-0            3/1/1988   3/1/1989
Insurance Company of North America                        CAO G1 135164-5            3/1/1988   3/1/1989
U.S. Fire Insurance Company                               531-200-352-6              3/1/1988   3/1/1989
St. Paul Surplus Lines Insurance Company                  LCO 55 19006               3/1/1988   3/1/1989
Planet Ins. Company                                       NV 1253834                 3/1/1988   3/1/1989
Lexington Insurance Company                               556-6184                   3/1/1988   3/1/1989
Insurance Company of North America                        XCPG1-135165-7             3/1/1988   3/1/1989
First State Insurance Company                             EU 006921                  3/1/1988   3/1/1989
Federal Insurance Company                                 (89) 7907-8617             3/1/1988   3/1/1989
Insurance Company of North America                        HDO-G1-136741-0            3/1/1989   3/1/1990
Insurance Company of North America                        CAO G1 135164-5            3/1/1989   3/1/1990
U.S. Fire Insurance Company                               531-201-602-7              3/1/1989   3/1/1990
National Union Fire Insurance Company of Pittsburgh, PA   960-75-95                  3/1/1989   3/1/1990
St. Paul Surplus Lines Insurance Company                  LCO5519547                 3/1/1989   3/1/1990
Royal Indemnity Company                                   RHA000409                  3/1/1989   3/1/1990
Lexington Insurance Company                               556-7563                   3/1/1989   3/1/1990
American Zurich Insurance Company                         CEO 6371780-00             3/1/1989   3/1/1990
Planet Ins. Company                                       NUA 149419100              3/1/1989   3/1/1990
Federal Insurance Company                                 (90)7907 86 17             3/1/1989   3/1/1990
Insurance Company of North America                        HDO-G1-075409-4            3/1/1990   3/1/1991
Insurance Company of North America                        CAO G1 075410-0            3/1/1990   3/1/1991
International Insurance Company                           531-202912-2               3/1/1990   3/1/1991
General Star Indemnity Company                            NEX036306                  3/1/1990   3/1/1991
Industrial Insurance Company of Hawaii                    JE 910 7188                3/1/1990   3/1/1991
Royal Indemnity Company                                   RHA4001621                 3/1/1990   3/1/1991
Lexington Insurance Company                               556-9527                   3/1/1990   3/1/1991
Insurance Company of the State of Pennsylvania (The)      4290-2158                  3/1/1990   3/1/1991
Planet Ins. Company                                       NUA 149419101              3/1/1990   3/1/1991
Federal Insurance Company                                 (91)7907 86 17             3/1/1990   3/1/1991
Niagara Fire Insurance Company                            ERX-000 387              10/19/1990   3/1/1991
Federal Insurance Company                                 (91)7929-52-34           10/19/1990   3/1/1991
Gulf Insurance Company                                    GFE-536 22 31            10/19/1990   3/1/1991
National Surety Corporation                               XXK-211 24 33            10/19/1990   3/1/1991
Insurance Company of North America                        HDO G1 07 54 47-1          3/1/1991   3/1/1992


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                   Carrier Name                       Policy Number          Start       End
Insurance Company of North America                    CAO G1 075448-3         3/1/1991   3/1/1992
International Insurance Company                       531-204182-1            3/1/1991   3/1/1992
Industrial Indemnity                                  JE9108935               3/1/1991   3/1/1992
Lexington Insurance Company                           8653405                 3/1/1991   3/1/1992
Niagara Fire Insurance Company                        HXU 001040              3/1/1991   3/1/1992
Planet Ins. Company                                   NUA 149419102           3/1/1991   3/1/1992
Federal Insurance Company                             (92) 7907 86 17         3/1/1991   3/1/1992
Gulf Insurance Company                                GFE 536 23 96           3/1/1991   3/1/1992
National Surety Corporation                           XXK-217 83 02           3/1/1991   3/1/1992
Insurance Company of North America                    HDO G1 549654-A         3/1/1992   3/1/1993
Insurance Company of North America                    CAO-G1-549655-1         3/1/1992   3/1/1993
International Insurance Company                       531-205301-7            3/1/1992   3/1/1993
General Star Indemnity Company                        IXG-307138              3/1/1992   3/1/1993
Lexington Insurance Company                           8654653                 3/1/1992   3/1/1993
Niagara Fire Insurance Company                        HXU-001209              3/1/1992   3/1/1993
California Union Insurance Company                    ZCX 02 00 25            3/1/1992   3/1/1993
Federal Insurance Company                             (93) 7907-86-17         3/1/1992   3/1/1993
Gulf Insurance Company                                GFE-5450026             3/1/1992   3/1/1993
National Surety Corporation                           XXK-217 50 18           3/1/1992   3/1/1993
Insurance Company of North America                    HDO G1 549727-0         3/1/1993   3/1/1994
Insurance Company of North America                    CAO-G1-5497701          3/1/1993   3/1/1994
St. Paul Surplus Lines Insurance Company              LCO 55 2117             3/1/1993   3/1/1994
General Star Indemnity Company                        IXG-307138A             3/1/1993   3/1/1994
Lexington Insurance Company                           866-7104                3/1/1993   3/1/1994
Niagara Fire Insurance Company                        HXU 001262              3/1/1993   3/1/1994
Agricultural Insurance Company                        EXC-794-74-14-00        3/1/1993   3/1/1994
Federal Insurance Company                             (94) 7907-86-17         3/1/1993   3/1/1994
National Surety Corporation                           XXK-000-1462-6451       3/1/1993   3/1/1994
Insurance Company of North America                    HDO G1 549769-5         3/1/1994   3/1/1995
Insurance Company of North America                    CAO G1 549770-1         3/1/1994   3/1/1995
St. Paul Surplus Lines Insurance Company              LCO 55 21644            3/1/1994   3/1/1996
General Star Indemnity Company                        IXG-307138B             3/1/1994   3/1/1995
St. Paul Surplus Lines Insurance Company              LCO 55 21645            3/1/1994   3/1/1995
Niagara Fire Insurance Company                        HXU 001319              3/1/1994   3/1/1995
Agricultural Insurance Company                        EXC-7636343             3/1/1994   3/1/1995
Texas Pacific Indemnity Company                       (95) 7907-86-17         3/1/1994   3/1/1995
National Surety Corporation                           XXK00065650605          3/1/1994   3/1/1995
Indemnity Insurance Company of North America          HDO G1 54 98 13 4       3/1/1995   3/1/1996
Indemnity Insurance Company of North America          CAO G1 549814 6         3/1/1995   3/1/1996
General Star Indemnity Company                        IXG-307138C             3/1/1995   3/1/1996
St. Paul Surplus Lines Insurance Company              LCO 55 23054            3/1/1995   3/1/1996
Niagara Fire Insurance Company                        HXU 001363              3/1/1995   3/1/1996


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                    Carrier Name                          Policy Number          Start       End
Agricultural Insurance Company                            EXC 878-39-32-00        3/1/1995   3/1/1996
Texas Pacific Indemnity Company                           (96) 7907-86-17         3/1/1995   3/1/1996
National Surety Corporation                               XXK-000-9534-9775       3/1/1995   3/1/1996
Liberty Mutual Insurance Company                          TB1-191-409751-126      3/1/1996   3/1/1997
Liberty Mutual Insurance Company                          TH1-191-409751-116      3/1/1996   3/1/1997
St. Paul Surplus Lines Insurance Company                  LC0 55 24186            3/1/1996   3/1/1997
American Zurich Insurance Company                         AUO-3657270-00          3/1/1996   3/1/1997
National Surety Corporation                               CSR-283-95-07           3/1/1996   3/1/1997
St. Paul Surplus Lines Insurance Company                  LC0 55 24187            3/1/1996   3/1/1997
Continental Insurance Company                             157334179               3/1/1996   3/1/1997
Agricultural Insurance Company                            EXC-878-0969            3/1/1996   3/1/1997
Texas Pacific Indemnity Company                           (97) 7907-86-17 RMG     3/1/1996   3/1/1997
Texas Pacific Indemnity Company                           (97) 7907-86-17 CAS     3/1/1996   3/1/1997
National Surety Corporation                               XXK-000-9551-6738       3/1/1996   3/1/1997
American Excess Insurance Association                     HR000105096             3/1/1996   3/1/1997
Liberty Mutual Insurance Company                          TB1-191-409751-127      3/1/1997   3/1/1998
Liberty Mutual Insurance Company                          TH1-191-409751-117      3/1/1997   3/1/1998
St. Paul Surplus Lines Insurance Company                  LC0 55 24948            3/1/1997   3/1/1998
American Zurich Insurance Company                         AUO 3657270-01          3/1/1997   3/1/1998
Texas Pacific Indemnity Company                           (98) 7907-86-17 CAS     3/1/1997   3/1/1998
National Union Fire Insurance Company of Pittsburgh, PA   310 27 29               3/1/1997   3/1/1998
XL Insurance (Bermuda) Limited                            XLUMB-02391             3/1/1997   3/1/1998
Liberty Mutual Insurance Company                          TB1-191-409751-128      3/1/1998   3/1/1999
Liberty Mutual Insurance Company                          TH1-191-409751-118      3/1/1998   3/1/1999
St. Paul Surplus Lines Insurance Company                  LC0 55 25809            3/1/1998   3/1/2000
American Zurich Insurance Company                         EUO 3657270-02          3/1/1998   3/1/1999
Texas Pacific Indemnity Company                           (99) 7907-86-17         3/1/1998   3/1/1999
National Union Fire Insurance Company of Pittsburgh, PA   BE 3463902              3/1/1998   3/1/1999
Gulf Insurance Company                                    GA 6097623              3/1/1998   3/1/1999
Liberty Mutual Insurance Company                          TB1-191-409751-129      3/1/1999   3/1/2001
Liberty Mutual Insurance Company                          TH1-191-409751-119      3/1/1999   3/1/2001
American Zurich Insurance Company                         EUO 3657270-03          3/1/1999   3/1/2000
Texas Pacific Indemnity Company                           7907-86-17              3/1/1999   3/1/2000
National Union Fire Insurance Company of Pittsburgh, PA   BE 3463968              3/1/1999   3/1/2000
Gulf Insurance Company                                    GA0283547               3/1/1999   3/1/2000
Agricultural Excess & Surplus Insurance Company           ELD3211225              3/1/2000   3/1/2001
American Zurich Insurance Company                         EUO 3657270-03          3/1/2000   3/1/2001
Texas Pacific Indemnity Company                           7907-86-17              3/1/2000   3/1/2001
National Union Fire Insurance Company of Pittsburgh, PA   BE 3463968              3/1/2000   3/1/2001
Gulf Insurance Company                                    GA0483924               3/1/2000   3/1/2001
Liberty Mutual Insurance Company                          TB1-191-409751-121      3/1/2001   3/1/2002
Liberty Mutual Insurance Company                          TH1-191-409751-111      3/1/2001   3/1/2002


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                    Carrier Name                           Policy Number          Start       End
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2001   3/1/2002
American Guarantee and Liability Insurance Company         AEC 3657270-04          3/1/2001   3/1/2002
St. Paul Surplus Lines Insurance Company                   QY05501051              3/1/2001   3/1/2002
Federal Insurance Company                                  7907-86-17              3/1/2001   3/1/2002
Interstate Fire & Casualty Company                         XUO-1102139             3/1/2001   3/1/2002
Westchester Fire Insurance Company                         HXS-648016              3/1/2001   3/1/2002
Lumbermens Mutual Casualty Company                         9SR131379-00            3/1/2001   3/1/2002
American Guarantee and Liability Insurance Company         AEC 9278457 00          3/1/2001   3/1/2002
Gulf Insurance Company                                     GA0720986               3/1/2001   3/1/2002
Liberty Mutual Insurance Company                           TB1-191-409751-122      3/1/2002   3/1/2003
Liberty Mutual Insurance Company                           TH1-191-409751-112      3/1/2002   3/1/2003
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2002   3/1/2003
American Guarantee and Liability Insurance Company         AEC 3657270 05          3/1/2002   3/1/2003
Insurance Company of the State of Pennsylvania (The)       4602-2491               3/1/2002   3/1/2003
Westchester Fire Insurance Company                         MES-676215              3/1/2002   3/1/2003
Federal Insurance Company                                  7907-86-17 DAL          3/1/2002   3/1/2003
Allied World Assurance Company, Ltd                        C000112                 3/1/2002   3/1/2003
Interstate Fire & Casualty Company                         XUO1102274              3/1/2002   3/1/2003
Westchester Fire Insurance Company                         HXS-648125              3/1/2002   3/1/2003
Lumbermens Mutual Casualty Company                         9SX 131379-01           3/1/2002   3/1/2003
American Guarantee and Liability Insurance Company         AEC 9278457 01          3/1/2002   3/1/2003
Gulf Insurance Company                                     GA2857739               3/1/2002   3/1/2003
Liberty Mutual Insurance Company                           TB1-191-409751-123      3/1/2003   3/1/2004
Liberty Mutual Insurance Company                           TH1-191-409751-113      3/1/2003   3/1/2004
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2003   3/1/2004
Insurance Company of the State of Pennsylvania (The)       4603-3681               3/1/2003   3/1/2004
Lexington Insurance Company                                3583189                 3/1/2003   3/1/2004
American Guarantee and Liability Insurance Company         AEC 3657270 06          3/1/2003   3/1/2004
Clarendon America Insurance Company                        XLX 39306224            3/1/2003   3/1/2004
Insurance Company of the State of Pennsylvania (The)       4603-3682               3/1/2003   3/1/2004
Lexington Insurance Company                                3583190                 3/1/2003   3/1/2004
St. Paul Surplus Lines Insurance Company                   QY05501227              3/1/2003   3/1/2004
Westchester Fire Insurance Company                         HXS-744263              3/1/2003   3/1/2004
Interstate Fire & Casualty Company                         XSO 1014504             3/1/2003   3/1/2004
American Guarantee and Liability Insurance Company         AEC 9278457 02          3/1/2003   3/1/2004
Gulf Insurance Company                                     GA1327247               3/1/2003   3/1/2004
Liberty Mutual Insurance Company                           TB1-191-409751-124      3/1/2004   3/1/2005
Liberty Mutual Insurance Company                           TH1-191-409751-114      3/1/2004   3/1/2005
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2004   3/1/2005
Clarendon America Insurance Company                        XLX 00310351            3/1/2004   3/1/2005
Insurance Company of the State of Pennsylvania (The)       4604-4698               3/1/2004   3/1/2005
American Guarantee and Liability Insurance Company         AEC 3657270 07          3/1/2004   3/1/2005


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                    Carrier Name                           Policy Number          Start       End
Lexington Insurance Company                                3583264                 3/1/2004   3/1/2005
St. Paul Surplus Lines Insurance Company                   QY06815029              3/1/2004   3/1/2005
Westchester Fire Insurance Company                         HXW-776138              3/1/2004   3/1/2005
Lexington Insurance Company                                3583265                 3/1/2004   3/1/2005
American Guarantee and Liability Insurance Company         AEC 9278457 03          3/1/2004   3/1/2005
XL Insurance (Dublin) Ltd.                                 XLEOCC-0488-04          3/1/2004   3/1/2005
Liberty Mutual Insurance Company                           TB1-191-409751-125      3/1/2005   3/1/2006
Liberty Mutual Insurance Company                           TH1-191-409751-115      3/1/2005   3/1/2006
Agricultural Excess & Surplus Insurance Company            ELD3211225              3/1/2005   3/1/2006
Clarendon America Insurance Company                        XLX00311014             3/1/2005   3/1/2006
Insurance Company of the State of Pennsylvania (The)       4605-1591               3/1/2005   3/1/2006
American Guarantee and Liability Insurance Company         AEC 3657270 08          3/1/2005   3/1/2006
Allied World Assurance Company, Ltd                        AW2154834               3/1/2005   3/1/2006
Axis Speciality Insurance Company                          AAU720252/01/2005       3/1/2005   3/1/2006
Lexington Insurance Company                                8851123                 3/1/2005   3/1/2006
St. Paul Surplus Lines Insurance Company                   QY06825006              3/1/2005   3/1/2006
Lexington Insurance Company                                8851124                 3/1/2005   3/1/2006
XL Europe Limited                                          IE00012302LI05A         3/1/2005   3/1/2006
Liberty Mutual Insurance Company                           TB1-191-409751-126      3/1/2006   3/1/2007
Liberty Mutual Insurance Company                           TH1-191-409751-116      3/1/2006   3/1/2007
Traders and Pacific Insurance Company                      ELD 100000951           3/1/2006   3/1/2007
Insurance Company of the State of Pennsylvania (The)       4606-2795               3/1/2006   3/1/2007
Lexington Insurance Company                                6679155                 3/1/2006   3/1/2007
Steadfast Insurance Company                                AEC 3657270 09          3/1/2006   3/1/2007
Allied World Assurance Company, Ltd                        AW1907934               3/1/2006   3/1/2007
Axis Insurance Company                                     EAU720252/01/2006       3/1/2006   3/1/2007
Lexington Insurance Company                                6679156                 3/1/2006   3/1/2007
St. Paul Surplus Lines Insurance Company                   QY01225190              3/1/2006   3/1/2007
Endurance American Specialty Insurance Company             ELD 100000952           3/1/2006   3/1/2007
XL Europe Limited                                          IE00013105L106A         3/1/2006   3/1/2007
Liberty Mutual Insurance Company                           TB1-191-409751-127      3/1/2007   3/1/2008
Old Republic Insurance Company                             MWZX 26633              3/1/2007   3/1/2008
Endurance American Specialty Insurance Company             ELD10000334501          3/1/2007   3/1/2008
Insurance Company of the State of Pennsylvania (The)       4890463                 3/1/2007   3/1/2008
Lexington Insurance Company                                51134                   3/1/2007   3/1/2008
Axis Surplus Insurance Company                             EAU720252/01/2007       3/1/2007   3/1/2008
Interstate Fire & Casualty Company                         HFX 1002516             3/1/2007   3/1/2008
Allied World Assurance Company, Ltd                        C006822002              3/1/2007   3/1/2008
Everest National Insurance Company                         71G600050-071           3/1/2007   3/1/2008
Lexington Insurance Company                                501135                  3/1/2007   3/1/2008
Endurance American Specialty Insurance Company             ELD 100003346 01        3/1/2007   3/1/2008
XL Europe Limited                                          IE00013396L107A         3/1/2007   3/1/2008


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                    Carrier Name                           Policy Number          Start       End
Old Republic Insurance Company                             MWZY 57807              3/1/2008   3/1/2009
Old Republic Insurance Company                             MWZX 26642              3/1/2008   3/1/2009
Endurance American Specialty Insurance Company             ELD10000334502          3/1/2008   3/1/2009
Insurance Company of the State of Pennsylvania (The)       4890599                 3/1/2008   3/1/2009
Lexington Insurance Company                                1172858                 3/1/2008   3/1/2009
Axis Insurance Company                                     EAU720252012008         3/1/2008   3/1/2009
Interstate Fire & Casualty Company                         HFX1002550              3/1/2008   3/1/2009
Allied World Assurance Company, Ltd                        C009030003              3/1/2008   3/1/2009
Everest National Insurance Company                         71G600050081            3/1/2008   3/1/2009
Lexington Insurance Company                                1172859                 3/1/2008   3/1/2009
Endurance American Specialty Insurance Company             ELD10000334602          3/1/2008   3/1/2009
Axis Insurance Company                                     EAU737684012008         3/1/2008   3/1/2009
Lexington Insurance Company                                1172861                 3/1/2008   3/1/2009
Arch Reinsurance Ltd.                                      UXP0025030              3/1/2008   3/1/2009
Interstate Fire & Casualty Company                         HFX1002552              3/1/2008   3/1/2009
Ohio Casualty Insurance Company (The)                      EC00953709960           3/1/2008   3/1/2009
Old Republic Insurance Company                             MWZY 58122              3/1/2009   3/1/2010
Old Republic Insurance Company                             MWZX 26652              3/1/2009   3/1/2010
Endurance American Specialty Insurance Company             ELD10000334503          3/1/2009   3/1/2010
Catlin Underwriting Agencies Limited                       XSC942550310            3/1/2009   3/1/2010
Everest National Insurance Company                         71G000200091            3/1/2009   3/1/2010
Axis Insurance Company                                     EAU720252/01/2009       3/1/2009   3/1/2010
Interstate Fire & Casualty Company                         HFX00079995585          3/1/2009   3/1/2010
Allied World Assurance Company, Ltd                        C009030/004             3/1/2009   3/1/2010
Everest National Insurance Company                         71G6000200-091          3/1/2009   3/1/2010
Endurance American Specialty Insurance Company             ELD10001240600          3/1/2009   3/1/2010
Arch Reinsurance Ltd.                                      UXP0025030-01           3/1/2009   3/1/2010
Axis Insurance Company                                     EAU737684/01/2009       3/1/2009   3/1/2010
Interstate Fire & Casualty Company                         HFX00082075581          3/1/2009   3/1/2010
Ohio Casualty Insurance Company (The)                      ECO(10)53709*960        3/1/2009   3/1/2010
Old Republic Insurance Company                             MWZY 58666              3/1/2010   3/1/2011
Old Republic Insurance Company                             MWZX 26667              3/1/2010   3/1/2011
Endurance American Specialty Insurance Company             ELD10000334504          3/1/2010   3/1/2011
Catlin Underwriting Agencies Limited                       XSC942550311            3/1/2010   3/1/2011
Everest National Insurance Company                         71G6000050101           3/1/2010   3/1/2011
Allied World Assurance Company, Ltd                        0305-3351               3/1/2010   3/1/2011
Axis Insurance Company                                     EAU720252/01/2010       3/1/2010   3/1/2011
Endurance American Specialty Insurance Company             ELD1000019337           3/1/2010   3/1/2011
Arch Reinsurance Ltd.                                      UXP0025030-02           3/1/2010   3/1/2011
Ohio Casualty Insurance Company (The)                      ECO 11 53 70 9960       3/1/2010   3/1/2011
Westchester Fire Insurance Company                         G24114673001            3/1/2010   3/1/2011
Old Republic Insurance Company                             MWZY 59097              3/1/2011   3/1/2012


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                   Carrier Name                        Policy Number           Start       End
Old Republic Insurance Company                         MWZX 26702               3/1/2011   3/1/2012
Endurance American Specialty Insurance Company         ELD10000334505           3/1/2011   3/1/2012
Catlin Underwriting Agencies Limited                   XSC-94255-0312           3/1/2011   3/1/2012
Axis Insurance Company                                 EAU720252/01/2011        3/1/2011   3/1/2012
Allied World Assurance Company, Ltd                    0305-3351                3/1/2011   3/1/2012
Axis Insurance Company                                 EAU758049012011          3/1/2011   3/1/2012
Endurance American Specialty Insurance Company         ELD10003026000           3/1/2011   3/1/2012
Arch Reinsurance Ltd.                                  UXP0042842               3/1/2011   3/1/2012
Ohio Casualty Insurance Company (The)                  ECO (12) 54 67 21 20     3/1/2011   3/1/2012
Westchester Fire Insurance Company                     G24114673002             3/1/2011   3/1/2012
Liberty Insurance Underwriters, Inc.                   EXCDA1205871             3/1/2011   3/1/2012
Old Republic Insurance Company                         MWZY 59555               3/1/2012   3/1/2013
Old Republic Insurance Company                         MWZX 26709               3/1/2012   3/1/2013
Endurance American Specialty Insurance Company         ELD100003345 06          3/1/2012   3/1/2013
Catlin Underwriting Agencies Limited                   XSC-94255-0313           3/1/2012   3/1/2013
Axis Insurance Company                                 EAU720252/01/2012        3/1/2012   3/1/2013
Allied World Assurance Company, Ltd                    0305-3351                3/1/2012   3/1/2013
Axis Insurance Company                                 EAU758049/01/2012        3/1/2012   3/1/2013
Alterra Excess & Surplus Insurance Company             MAX3EC30000062           3/1/2012   3/1/2013
Endurance American Specialty Insurance Company         ELD10003553700           3/1/2012   3/1/2013
Arch Reinsurance Ltd.                                  UXP0042842-01            3/1/2012   3/1/2013
Ohio Casualty Insurance Company (The)                  ECO 13 54672120          3/1/2012   3/1/2013
Westchester Fire Insurance Company                     G24114673003             3/1/2012   3/1/2013
Navigators Insurance Company                           CH12EXC7470341C          3/1/2012   3/1/2013
Old Republic Insurance Company                         MWZY 59997               3/1/2013   3/1/2014
Old Republic Insurance Company                         MWZX 26713               3/1/2013   3/1/2014
Gemini Insurance Company                               CEX09600051-00           3/1/2013   3/1/2014
First Specialty Insurance Corporation                  IRE 2000295 00           3/1/2013   3/1/2014
Catlin Underwriting Agencies Limited                   XSC-94255-0314           3/1/2013   3/1/2014
Allied World Assurance Company, Ltd                    0305-3351                3/1/2013   3/1/2014
Gemini Insurance Company                               CEX09600052-00           3/1/2013   3/1/2014
Alterra Excess & Surplus Insurance Company             MAX3EC30000192           3/1/2013   3/1/2014
Gemini Insurance Company                               CEX09600166-00           3/1/2013   3/1/2014
Liberty Surplus Insurance Corporation                  1000038829-01            3/1/2013   3/1/2014
Ohio Casualty Insurance Company (The)                  ECO (14) 54 67 21 20     3/1/2013   3/1/2014
Westchester Fire Insurance Company                     G24114673004             3/1/2013   3/1/2014
Navigators Specialty Insurance Company                 CH13EXC747034IC          3/1/2013   3/1/2014
Old Republic Insurance Company                         MWZY 301262              3/1/2014   3/1/2015
Old Republic Insurance Company                         MWZX 300758              3/1/2014   3/1/2015
Gemini Insurance Company                               CEX0960051-01            3/1/2014   3/1/2015
First Specialty Insurance Corporation                  IRE 2000295 01           3/1/2014   3/1/2015
Catlin Underwriting Agencies Limited                   XSC-94255-0315           3/1/2014   3/1/2015


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                   Carrier Name                        Policy Number           Start       End
Gemini Insurance Company                               CEX09600052-01           3/1/2014   3/1/2015
Allied World Assurance Company, Ltd                    0305-3351                3/1/2014   3/1/2015
Lexington Insurance Company                            15375964                 3/1/2014   3/1/2015
Alterra Excess & Surplus Insurance Company             MAX3EC30000296           3/1/2014   3/1/2015
Gemini Insurance Company                               CEX09600166-01           3/1/2014   3/1/2015
Westchester Fire Insurance Company                     G24114673 005            3/1/2014   3/1/2015
Endurance American Specialty Insurance Company         EXC10004584700           3/1/2014   3/1/2015
Ohio Casualty Insurance Company (The)                  ECO (15) 55 94 28 39     3/1/2014   3/1/2015
Old Republic Insurance Company                         MWZY 303431              3/1/2015   3/1/2016
Old Republic Insurance Company                         MWZX 303430              3/1/2015   3/1/2016
Gemini Insurance Company                               CEX09600051-02           3/1/2015   3/1/2016
First Specialty Insurance Corporation                  IRE 2000295 02           3/1/2015   3/1/2016
Catlin Underwriting Agencies Limited                   XSC-94255-0316           3/1/2015   3/1/2016
Gemini Insurance Company                               CEX09600052-02           3/1/2015   3/1/2016
Allied World Assurance Company, Ltd                    0305-3351                3/1/2015   3/1/2016
Lexington Insurance Company                            15375964                 3/1/2015   3/1/2016
Alterra Excess & Surplus Insurance Company             MAX3EC30000468           3/1/2015   3/1/2016
Gemini Insurance Company                               CEX09600166-02           3/1/2015   3/1/2016
Lexington Insurance Company                            15375234                 3/1/2015   3/1/2016
Endurance American Specialty Insurance Company         EXC10004584701           3/1/2015   3/1/2016
Ohio Casualty Insurance Company (The)                  ECO (16) 55 94 28 39     3/1/2015   3/1/2016
Old Republic Insurance Company                         MWZY 306938              3/1/2016   3/1/2017
Old Republic Insurance Company                         MWZX 306937              3/1/2016   3/1/2017
Gemini Insurance Company                               CEX09600051-03           3/1/2016   3/1/2017
First Specialty Insurance Corporation                  IRE 2000295 03           3/1/2016   3/1/2017
Aspen                                                  CX0043416                3/1/2016   3/1/2017
Gemini Insurance Company                               CEX09600052-03           3/1/2016   3/1/2017
Allied World Assurance Company, Ltd                    0305-3351                3/1/2016   3/1/2017
Lexington Insurance Company                            15375964                 3/1/2016   3/1/2017
Aspen                                                  CX0044G16                3/1/2016   3/1/2017
Evanston Insurance Company                             MKLV40LE106420           3/1/2016   3/1/2017
Gemini Insurance Company                               CEX09600166-03           3/1/2016   3/1/2017
Lexington Insurance Company                            15375234                 3/1/2016   3/1/2017
Endurance American Specialty Insurance Company         EXC10004584702           3/1/2016   3/1/2017
Ohio Casualty Insurance Company (The)                  ECO (17) 55 94 28 39     3/1/2016   3/1/2017
Old Republic Insurance Company                         MWZY 309927              3/1/2017   3/1/2018
Old Republic Insurance Company                         MWZX 309926              3/1/2017   3/1/2018
Gemini Insurance Company                               CEX09600051-04           3/1/2017   3/1/2018
First Specialty Insurance Corporation                  IRE 2000295 04           3/1/2017   3/1/2018
Aspen                                                  CX0043417                3/1/2017   3/1/2018
Gemini Insurance Company                               CEX09600052-04           3/1/2017   3/1/2018
Allied World Assurance Company, Ltd                    0305-3351                3/1/2017   3/1/2018


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                   Carrier Name                        Policy Number           Start       End
Colony Insurance Company                               AR3461897                3/1/2017   3/1/2018
Aspen                                                  CX0044G17                3/1/2017   3/1/2018
Evanston Insurance Company                             MKLV4EUE10037            3/1/2017   3/1/2018
Gemini Insurance Company                               CEX09600166-04           3/1/2017   3/1/2018
Indian Harbor Insurance Company                        SCS0049368               3/1/2017   3/1/2018
Endurance American Specialty Insurance Company         EXC1004584703            3/1/2017   3/1/2018
Ohio Casualty Insurance Company (The)                  ECO (18) 55 94 28 39     3/1/2017   3/1/2018
Old Republic Insurance Company                         MWZY 312833              3/1/2018   3/1/2019
Old Republic Insurance Company                         MWZX 312832              3/1/2018   3/1/2019
Gemini Insurance Company                               CEX0960051-05            3/1/2018   3/1/2019
First Specialty Insurance Corporation                  IRE 2000295 05           3/1/2018   3/1/2019
Aspen                                                  CX0043418                3/1/2018   3/1/2019
Gemini Insurance Company                               CEX0960052-05            3/1/2018   3/1/2019
Allied World Assurance Company, Ltd                    0305-3351                3/1/2018   3/1/2019
Colony Insurance Company                               AR4460619                3/1/2018   3/1/2019
Aspen                                                  CX0044G17                3/1/2018   3/1/2019
Evanston Insurance Company                             MKLV4EUE100128           3/1/2018   3/1/2019
Gemini Insurance Company                               CEX09600166-05           3/1/2018   3/1/2019
XL Catlin                                              SXS004936801             3/1/2018   3/1/2019
Endurance American Insurance Company                   EXC10004584704           3/1/2018   3/1/2019
Ohio Casualty Insurance Company (The)                  ECO (19) 5594 2839       3/1/2018   3/1/2019
Evanston Insurance Company                             MKLV4PBC000310           3/1/2019   3/1/2020
Evanston Insurance Company                             MKLV4EUL102026           3/1/2019   3/1/2020
Gemini Insurance Company                               BXS0960355800            3/1/2019   3/1/2020
Gemini Insurance Company                               CEX096005106             3/1/2019   3/1/2020
Lexington Insurance Company                            O23627630                3/1/2019   3/1/2020
XL Catlin                                              SXS004936802             3/1/2019   3/1/2020
Gemini Insurance Company                               CEX0960005206            3/1/2019   3/1/2020
Arch Reinsurance Ltd.                                  UXP102797700             3/1/2019   3/1/2020
Westchester Surplus Lines Insurance Company            G71497094001             3/1/2019   3/1/2020
Allied World Assurance Company (U.S.), Inc.            3053351                  3/1/2019   3/1/2020
Ategrity Specialty Insurance Company                   01BXLP000012300          3/1/2019   3/1/2020
Colony Insurance Company                               AR4460619                3/1/2019   3/1/2020
Endurance American Insurance Company                   EXC10004584705           3/1/2019   3/1/2020
Evanston Insurance Company                             MKLV4EUE100212           3/1/2019   3/1/2020
Gemini Insurance Company                               CEX0960016606            3/1/2019   3/1/2020
Liberty Insurance Underwriters, Inc.                   1.00032E+11              3/1/2019   3/1/2020




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                       SCHEDULE 3

         LOCAL COUNCIL INSURANCE POLICIES
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                                                            LOCAL COUNCIL INSURANCE POLICIES
                                                                                                                                                                 Council       Council
                  Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                Start Date1   End Date
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1967    6/1/1968      6/1/1967     6/1/1968
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1968    6/1/1969      6/1/1968     6/1/1969
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1969    6/1/1970      6/1/1969     6/1/1970
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1970    6/1/1971      6/1/1970     6/1/1971
    Abraham Lincoln (144): Abraham Lincoln (144)            Insurance Company of North America                        SBL 25103          6/1/1971    6/1/1972      6/1/1971     6/1/1972
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Abraham Lincoln (144): Abraham Lincoln (144)            St. Paul Insurance Company of Illinois                    550TA8039          1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Abraham Lincoln (144): Abraham Lincoln (144)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Abraham Lincoln (144): Abraham Lincoln (144)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219972         1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Abraham Lincoln (144): Abraham Lincoln (144)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Insurance Company of North America                        SBL 48811         2/23/1970   2/23/1971    2/23/1970     2/23/1971
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Insurance Company of North America                        SBL 52409         2/23/1971   2/23/1972    2/23/1971     2/23/1972
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/28/1972      1/1/1973
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/28/1972      1/1/1973
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Alabama-Florida (003): Alabama-Florida 1963- (003)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alabama-Florida (003): Alabama-Florida 1963- (003)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alabama-Florida (003): Alabama-Florida 1963- (003)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alabama-Florida (003): Alabama-Florida 1963- (003)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219859         1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alabama-Florida (003): Alabama-Florida 1963- (003)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alamo Area (583): Alamo Area (583)                      Maryland Casualty Company                                 05-829567          1/1/1968    1/1/1969      1/1/1968     1/1/1969
    Alamo Area (583): Alamo Area (583)                      St. Paul Fire and Marine Insurance Company                542AG6620          2/1/1968    2/1/1969      2/1/1968     2/1/1969
    Alamo Area (583): Alamo Area (583)                      St. Paul Fire and Marine Insurance Company                542AG6865         7/29/1968   7/29/1969    7/29/1968     7/29/1969
    Alamo Area (583): Alamo Area (583)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
    Alamo Area (583): Alamo Area (583)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alamo Area (583): Alamo Area (583)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alamo Area (583): Alamo Area (583)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
    Alamo Area (583): Alamo Area (583)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220218         1/1/1977    1/1/1978      1/1/1977     1/1/1978
    Alamo Area (583): Alamo Area (583)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978



1       “Council Start Date” and “Council End Date” are the dates on which a Local Council was added to, or removed from, an existing Local Council Insurance Policy as a named
        insured.
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              Current Council: Predecessor Council                                    Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                 Start Date1   End Date
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Allegheny Highlands (382): Allegheny Highlands 1973- (382)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220009         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL xxx71          3/1/1965    3/1/1966      3/1/1965     3/1/1966
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL xxx71          3/1/1966    3/1/1967      3/1/1966     3/1/1967
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL xxx71          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL 46909          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL 46909          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        SBL 46909          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Insurance Company of North America                        Unknown            3/1/1971    3/1/1972      3/1/1971     3/1/1972
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Allegheny Highlands (382): Elk Lick 1947-1973 (499)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Allegheny Highlands (382): Seneca 1929-1975 (750)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 30916          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 30916          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Aloha 1957- (104)                               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Aloha 1957- (104)                               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 00        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 30916          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Aloha 1957- (104)                               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219947         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 49459          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Aloha 1957- (104)                               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 49459          1/1/1978    1/1/1979      1/1/1978     1/1/1979
Aloha (104): Aloha 1957- (104)                               First Insurance Company of Hawaii, Ltd.                   FGA 49459          1/1/1979    1/1/1980      1/1/1979     1/1/1980
Aloha (104): Chamorro 1970-1973 (649)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/16/1972      1/1/1973
Aloha (104): Chamorro 1970-1973 (649)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/16/1972      1/1/1973
Aloha (104): Chamorro 1970-1973 (649)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Kilauea 1922-1972 (103)                         Insurance Company of North America                        Unknown            3/1/1969    3/1/1970      3/1/1969     3/1/1970
Aloha (104): Kilauea 1922-1972 (103)                         Insurance Company of North America                        SBL 46929          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Aloha (104): Kilauea 1922-1972 (103)                         Insurance Company of North America                        SBL 51410          3/1/1971    3/1/1972      3/1/1971     3/1/1972
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Kilauea 1922-1972 (103)                         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 23 85       3/23/1965   3/23/1966    3/23/1965     3/23/1966
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 23 85       3/23/1966   3/23/1967    3/23/1966     3/23/1967
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 23 85       3/23/1967   3/23/1968    3/23/1967     3/23/1968
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 69 28       3/23/1968   3/23/1969    3/23/1968     3/23/1969
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 69 28       3/23/1969   3/23/1970    3/23/1969     3/23/1970
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 4 69 28       3/23/1970   3/23/1971    3/23/1970     3/23/1971
Aloha (104): Maui County 1915-2019 (102)                     Insurance Company of North America                        SBL 51515         3/23/1971   3/23/1972    3/23/1971     3/23/1972
Aloha (104): Maui County 1915-2019 (102)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/23/1972      1/1/1973




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             Current Council: Predecessor Council                             Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                         Start Date1   End Date
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/23/1972      1/1/1973
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Aloha (104): Maui County 1915-2019 (102)             First Insurance Company of Hawaii, Ltd.                   FGA 36020          3/5/1975    3/5/1976      3/5/1975     3/5/1976
Aloha (104): Maui County 1915-2019 (102)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Maui County 1915-2019 (102)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Maui County 1915-2019 (102)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Aloha (104): Maui County 1915-2019 (102)             First Insurance Company of Hawaii, Ltd.                   FGA 45292          3/5/1976    3/5/1977      3/5/1976     3/5/1977
Aloha (104): Maui County 1915-2019 (102)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219948         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Maui County 1915-2019 (102)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Aloha (104): Maui County 1915-2019 (102)             First Insurance Company of Hawaii, Ltd.                   Unknown            3/5/1977    3/5/1978      3/5/1977     3/5/1978
Andrew Jackson (303): Andrew Jackson (303)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Andrew Jackson (303): Andrew Jackson (303)           Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    3/12/1973      1/1/1974
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974    3/12/1973      1/1/1974
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Andrew Jackson (303): Andrew Jackson (303)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 08        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Andrew Jackson (303): Andrew Jackson (303)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Andrew Jackson (303): Andrew Jackson (303)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Andrew Jackson (303): Andrew Jackson (303)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Andrew Jackson (303): Andrew Jackson (303)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220158         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1965    9/9/1966      9/9/1965     9/9/1966
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1966    9/9/1967      9/9/1966     9/9/1967
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1967    9/8/1968      9/9/1967     9/8/1968
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1968    9/9/1969      9/9/1968     9/9/1969
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        SBL 41084          9/9/1969    9/9/1970      9/9/1969     9/9/1970
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        Unknown            9/9/1970    9/9/1971      9/9/1970     9/9/1971
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        Unknown            9/9/1971    9/9/1972      9/9/1971     9/9/1972
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 89871          9/9/1972    9/9/1973      9/9/1972     9/9/1973
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 89871          9/9/1973    9/9/1974      9/9/1973     9/9/1974
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 89871          9/9/1974    9/9/1975      9/9/1974     9/9/1975
Anthony Wayne Area (157): Anthony Wayne Area (157)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 116559         9/9/1975    9/9/1976      9/9/1975     9/9/1976
Anthony Wayne Area (157): Anthony Wayne Area (157)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 116559         9/9/1976    9/9/1977      9/9/1976     9/9/1977
Anthony Wayne Area (157): Anthony Wayne Area (157)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Anthony Wayne Area (157): Anthony Wayne Area (157)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219977         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Anthony Wayne Area (157): Anthony Wayne Area (157)   Insurance Company of North America                        XBC 116559         9/9/1977    1/1/1978      9/9/1977     1/1/1978
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 4 29 53        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 4 29 53        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 4 29 53        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 46911          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 46911          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 46911          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 5 14 15        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Arbuckle Area (468): Arbuckle Area (468)             Insurance Company of North America                        SBL 5 14 00       3/11/1971   3/11/1972    3/11/1971     3/11/1972
Arbuckle Area (468): Arbuckle Area (468)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973




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              Current Council: Predecessor Council                                   Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                Start Date1   End Date
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Arbuckle Area (468): Arbuckle Area (468)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Arbuckle Area (468): Arbuckle Area (468)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Arbuckle Area (468): Arbuckle Area (468)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Arbuckle Area (468): Arbuckle Area (468)                    New Hampshire Insurance Company                           SLP 27 56 11      3/25/1976   3/25/1977    3/25/1976     3/25/1977
Arbuckle Area (468): Arbuckle Area (468)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220070         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Arbuckle Area (468): Arbuckle Area (468)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Arbuckle Area (468): Arbuckle Area (468)                    New Hampshire Insurance Company                           Unknown           3/25/1977   3/25/1978    3/25/1977     3/25/1978
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Atlanta Area (092): Atlanta Area (092)                      Maryland Casualty Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Atlanta Area (092): Atlanta Area (092)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            (T6) 8785457       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 89        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Atlanta Area (092): Atlanta Area (092)                      Transamerica Insurance Company                            Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Atlanta Area (092): Atlanta Area (092)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219937         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Atlanta Area (092): Atlanta Area (092)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Baden-Powell 1975-1998 (381)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Baden-Powell 1975-1998 (381)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Baden-Powell 1975-1998 (381)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Baden-Powell 1975-1998 (381)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 70        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Baden-Powell 1975-1998 (381)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220007         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Baden-Powell 1975-1998 (381)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   General Accident Insurance Company of America             Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      5/5/1973     1/1/1974
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      5/5/1973     1/1/1974
Baden-Powell (368): Louis Agassiz Fuertes 1929-1975 (381)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        9CGL 86259        3/19/1958   3/19/1959    3/19/1958     3/19/1959
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        9-CGL-86604       3/19/1959   3/19/1960    3/19/1959     3/19/1960
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1960   3/19/1961    3/19/1960     3/19/1961
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1961   3/19/1962    3/19/1961     3/19/1962
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1962   3/19/1963    3/19/1962     3/19/1963
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1963   3/19/1964    3/19/1963     3/19/1964
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1964   3/19/1965    3/19/1964     3/19/1965
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1965   3/19/1966    3/19/1965     3/19/1966
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1966   3/19/1967    3/19/1966     3/19/1967
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        AGP 57 03         3/19/1966   3/19/1967    3/19/1966     3/19/1967
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        AGP 57 03         3/19/1967   3/19/1968    3/19/1967     3/19/1968
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1967   3/19/1968    3/19/1967     3/19/1968
Baden-Powell (368): Susquenango 1925-1998 (368)             Insurance Company of North America                        Unknown           3/19/1968   3/19/1969    3/19/1968     3/19/1969




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             Current Council: Predecessor Council                              Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                          Start Date1   End Date
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        AGP 57 03         3/19/1968   3/19/1969    3/19/1968     3/19/1969
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1969   3/19/1970    3/19/1969     3/19/1970
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1970   3/19/1971    3/19/1970     3/19/1971
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1971   3/19/1972    3/19/1971     3/19/1972
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1972   3/19/1973    3/19/1972     3/19/1973
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1973   3/19/1974    3/19/1973     3/19/1974
Baden-Powell (368): Susquenango 1925-1998 (368)       Insurance Company of North America                        Unknown           3/19/1974    1/1/1975    3/19/1974      1/1/1975
Baden-Powell (368): Susquenango 1925-1998 (368)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Susquenango 1925-1998 (368)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Susquenango 1925-1998 (368)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 52        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Susquenango 1925-1998 (368)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baden-Powell (368): Susquenango 1925-1998 (368)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220004         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Susquenango 1925-1998 (368)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Insurance Company of North America                        X OT 3 14 17       1/1/1975   5/14/1975      1/1/1975    5/14/1975
Baden-Powell (368): Tioughnioga 1940-1975 (383)       Insurance Company of North America                        GLP 37 99 52       1/1/1975   5/14/1975      1/1/1975    5/14/1975
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 104757      1/1/1970    1/1/1971      1/1/1970     1/1/1971
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      1/1/1971    1/1/1972      1/1/1971     1/1/1972
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      1/1/1972    1/1/1973      1/1/1972     1/1/1973
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      1/1/1973    5/1/1973      1/1/1973     5/1/1973
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 108939      5/1/1973    1/1/1974      5/1/1973     1/1/1974
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115631      1/1/1974    1/1/1975      1/1/1974     1/1/1975
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115631      1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baltimore Area (220): Baltimore Area (220)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115631      1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 65        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115827      1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baltimore Area (220): Baltimore Area (220)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220113         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baltimore Area (220): Baltimore Area (220)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115827      1/1/1978    1/1/1979      1/1/1978     1/1/1979
Baltimore Area (220): Baltimore Area (220)            Hartford Fire Insurance Company                           30 CBP 115827      1/1/1979    1/1/1980      1/1/1979     1/1/1980
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay Area (574): Bay Area (574)                        New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay Area (574): Bay Area (574)                        New Hampshire Insurance Company                           GLA 21 02 76       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay Area (574): Bay Area (574)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220210         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay Area (574): Bay Area (574)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay Area (574): Bay Area (574)                        New Hampshire Insurance Company                           GLA 33 23 36       1/1/1977    1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                              Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                           Start Date1   End Date
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 4 69 47       6/24/1968   6/24/1969    6/24/1968     6/24/1969
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 4 69 47       6/24/1969   6/24/1970    6/24/1969     6/24/1970
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 4 69 47       6/24/1970   6/24/1971    6/24/1970     6/24/1971
Bay-Lakes (635): Badger 1926-1973 (622)                Insurance Company of North America                        SBL 51563         6/24/1971   6/24/1972    6/24/1971     6/24/1972
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/24/1972      1/1/1973
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/24/1972      1/1/1973
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Badger 1926-1973 (622)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      7/1/1973     1/1/1974
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      7/1/1973     1/1/1974
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay-Lakes (635): Bay-Lakes (635)                       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 45        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Bay-Lakes (635)                       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Bay-Lakes (635)                       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Bay-Lakes (635)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220261         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 53 79       2/10/1966   2/10/1967    2/10/1966     2/10/1967
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL-4-15-27       2/10/1967   2/10/1968    2/10/1967     2/10/1968
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 13 34       2/10/1968   2/10/1969    2/10/1968     2/10/1969
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 15 46       2/10/1969   2/10/1970    2/10/1969     2/10/1970
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 41553         2/10/1970   2/10/1971    2/10/1970     2/10/1971
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Insurance Company of North America                        SBL 4 15 61       2/10/1971   2/10/1972    2/10/1971     2/10/1972
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 94        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220144         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Hiawathaland 1945-2012 (261)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 45395          1/1/1967    1/1/1968      1/1/1967     1/1/1968
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 45395          1/1/1968    1/1/1969      1/1/1968     1/1/1969
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 45395          1/1/1969    1/1/1970      1/1/1969     1/1/1970
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 51311          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 51311          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Insurance Company of North America                        SBL 51311          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Kettle Moraine 1935-1973 (632)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-18        7/1/1964    7/1/1965      7/1/1964     7/1/1965
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-18        7/1/1965    7/1/1966      7/1/1965     7/1/1966
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-18        7/1/1966    7/1/1967      7/1/1966     7/1/1967
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL-4-15-29        7/1/1967    7/1/1968      7/1/1967     7/1/1968
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 4 15 41        7/1/1968    7/1/1969      7/1/1968     7/1/1969
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 4 15 48        7/1/1969    7/1/1970      7/1/1969     7/1/1970




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Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 4 15 55        7/1/1970     7/1/1971      7/1/1970     7/1/1971
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Insurance Company of North America                        SBL 41567          7/1/1971     7/1/1972      7/1/1971     7/1/1972
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      7/1/1972     1/1/1973
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      7/1/1972     1/1/1973
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Nicolet Area 1934-1973 (621)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Twin Lakes 1935-1973 (630)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Valley 1925-1973 (635)                Insurance Company of North America                        SBL 4 69 05       2/15/1970    2/15/1971    2/15/1970     2/15/1971
Bay-Lakes (635): Valley 1925-1973 (635)                Insurance Company of North America                        SBL 5 13 97       2/15/1971    2/15/1972    2/15/1971     2/15/1972
Bay-Lakes (635): Valley 1925-1973 (635)                Insurance Company of North America                        SBL 5 13 97       2/15/1972    2/15/1973    2/15/1972     2/15/1973
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974    2/15/1973      1/1/1974
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Valley 1925-1973 (635)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 04 23       5/25/1968    5/25/1969    5/25/1968     5/25/1969
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 04 23       5/25/1969    5/25/1970    5/25/1969     5/25/1970
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 04 23       5/25/1970    5/25/1971    5/25/1970     5/25/1971
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Insurance Company of North America                        SBL 5 15 42       5/25/1971    5/25/1972    5/25/1971     5/25/1972
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Bay-Lakes (635): Waumegesako 1940-1973 (625)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Black Hills Area (695): Black Hills Area (695)         Indemnity Insurance Company of North America              730859            9/15/1960    9/15/1961    9/15/1960     9/15/1961
Black Hills Area (695): Black Hills Area (695)         Indemnity Insurance Company of North America              730859            9/15/1961    9/15/1962    9/15/1961     9/15/1962
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        758883            9/15/1962    9/15/1963    9/15/1962     9/15/1963
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        758883            9/15/1963    9/15/1964    9/15/1963     9/15/1964
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        758883            9/15/1964   10/15/1964    9/15/1964    10/15/1964
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        37010            10/15/1964   10/15/1965   10/15/1964    10/15/1965
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        37010            10/15/1965     4/1/1966   10/15/1965      4/1/1966
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 37016         10/1/1966    10/1/1967    10/1/1966     10/1/1967
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44622         10/1/1967    10/1/1968    10/1/1967     10/1/1968
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44640         10/1/1968    10/1/1969    10/1/1968     10/1/1969
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44656         10/1/1969    10/1/1970    10/1/1969     10/1/1970
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        SBL 44675         10/1/1970    10/1/1971    10/1/1970     10/1/1971
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        12019             10/1/1970    10/1/1971    10/1/1970     10/1/1971
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        118045            10/1/1971    10/1/1972    10/1/1971     10/1/1972
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL 136151        10/1/1972    10/1/1973    10/1/1972     10/1/1973
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1972    10/1/1973    10/1/1972     10/1/1973
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1973    10/1/1974    10/1/1973     10/1/1974
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL 21 17 76      10/1/1973    10/1/1974    10/1/1973     10/1/1974
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1974    10/1/1975    10/1/1974     10/1/1975
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL214564         10/1/1974    10/1/1975    10/1/1974     10/1/1975
Black Hills Area (695): Black Hills Area (695)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        XBC 9 75 72       10/1/1975    10/1/1976    10/1/1975     10/1/1976
Black Hills Area (695): Black Hills Area (695)         Insurance Company of North America                        GAL214564         10/1/1975    10/1/1976    10/1/1975     10/1/1976
Black Hills Area (695): Black Hills Area (695)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Black Hills Area (695): Black Hills Area (695)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 62        1/1/1976     1/1/1977      1/1/1976     1/1/1977




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Black Hills Area (695): Black Hills Area (695)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Black Hills Area (695): Black Hills Area (695)              Insurance Company of North America                        Unknown           10/1/1976   10/1/1977    10/1/1976     10/1/1977
Black Hills Area (695): Black Hills Area (695)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220284         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Black Hills Area (695): Black Hills Area (695)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Black Hills Area (695): Black Hills Area (695)              Insurance Company of North America                        Unknown           10/1/1977   10/1/1978    10/1/1977     10/1/1978
                                                                                                                      650-198J177-A-
Black Hills Area (695): Black Hills Area (695)              Travelers Insurance Company                               IND-88            2/15/1988   2/15/1989    2/15/1988    2/15/1989
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   45 CBP 130782     3/26/1975   3/26/1976    3/26/1975    3/26/1976
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 01        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   45 CBP 130782     3/26/1976   3/26/1977    3/26/1976    3/26/1977
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220054         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Swamp Area (449): Put-Han-Sen Area 1930-1992 (449)    Hartford Accident and Indemnity Company                   45 CBP 130782     3/26/1977   3/26/1978    3/26/1977    3/26/1978
Black Swamp Area (449): Shawnee 1926-1992 (452)             General Accident Insurance Company of America             375514            7/20/1961   7/20/1962    7/20/1961    7/20/1962
Black Swamp Area (449): Shawnee 1926-1992 (452)             General Accident Insurance Company of America             375514            7/20/1962   7/20/1963    7/20/1962    7/20/1963
Black Swamp Area (449): Shawnee 1926-1992 (452)             General Accident Insurance Company of America             375514            7/20/1963   7/20/1964    7/20/1963    7/20/1964
Black Swamp Area (449): Shawnee 1926-1992 (452)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Black Swamp Area (449): Shawnee 1926-1992 (452)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 02        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Shawnee 1926-1992 (452)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Shawnee 1926-1992 (452)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Swamp Area (449): Shawnee 1926-1992 (452)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Swamp Area (449): Shawnee 1926-1992 (452)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220055         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 45386          6/1/1966    6/1/1967     6/1/1966     6/1/1967
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 45386          6/1/1967    6/1/1968     6/1/1967     6/1/1968
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 45386          6/1/1968    6/1/1969     6/1/1968     6/1/1969
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 51185          6/1/1969    6/1/1970     6/1/1969     6/1/1970
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 51185          6/1/1970    6/1/1971     6/1/1970     6/1/1971
Black Warrior (006): Black Warrior (006)                    Insurance Company of North America                        SBL 51185          6/1/1971    6/1/1972     6/1/1971     6/1/1972
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973     6/1/1972     1/1/1973
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973     6/1/1972     1/1/1973
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Black Warrior (006): Black Warrior (006)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 14        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Black Warrior (006): Black Warrior (006)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219863         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Warrior (006): Black Warrior (006)                    New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Black Warrior (006): Black Warrior (006)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 25062         3/13/1967   3/13/1968    3/13/1967    3/13/1968
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 48 903        3/13/1968   3/13/1969    3/13/1968    3/13/1969
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 48907         3/13/1969   3/13/1970    3/13/1969    3/13/1970
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        SBL 48909         3/13/1970   3/13/1971    3/13/1970    3/13/1971
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        Unknown           3/13/1971    7/1/1971    3/13/1971     7/1/1971
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        Unknown            7/1/1971    7/1/1972     7/1/1971     7/1/1972
Blackhawk Area (660): Blackhawk Area 1971- (660)            Insurance Company of North America                        XBC 66384         3/13/1972   3/13/1973    3/13/1972    3/13/1973




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Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 6 63 84       3/13/1972   3/13/1973    3/13/1972     3/13/1973
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1972    7/1/1973      7/1/1972     7/1/1973
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 6 63 84       3/13/1973   3/13/1974    3/13/1973     3/13/1974
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 66384         3/13/1973   3/13/1974    3/13/1973     3/13/1974
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1973   3/13/1974      7/1/1973    3/13/1974
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 66384         3/13/1974   3/13/1975    3/13/1974     3/13/1975
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 6 63 84       3/13/1974   3/13/1975    3/13/1974     3/13/1975
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 xx xx      3/13/1974   3/13/1975    3/13/1974     3/13/1975
Blackhawk Area (660): Blackhawk Area 1971- (660)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 11 31 12      3/13/1975   3/13/1976    3/13/1975     3/13/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 10 26      3/13/1975   3/13/1976    3/13/1975     3/13/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 113112        3/13/1975   3/13/1976    3/13/1975     3/13/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1975    7/1/1976      7/1/1975     7/1/1976
Blackhawk Area (660): Blackhawk Area 1971- (660)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 24        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 10 48      3/13/1976   3/13/1977    3/13/1976     3/13/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 113112        3/13/1976   3/13/1977    3/13/1976     3/13/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1976    7/1/1977      7/1/1976     7/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1976    7/1/1977      7/1/1976     7/1/1977
Blackhawk Area (660): Blackhawk Area 1971- (660)      National Union Fire Insurance Company of Pittsburgh, PA   CE 115 53 39       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219970         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        GAL 21 09 06      3/13/1977    1/1/1978    3/13/1977      1/1/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        XBC 113112        3/13/1977   3/13/1978    3/13/1977     3/13/1978
Blackhawk Area (660): Blackhawk Area 1971- (660)      Insurance Company of North America                        Unknown            7/1/1977    7/1/1978      7/1/1977     7/1/1978
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/16/1972      1/1/1973
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/16/1972      1/1/1973
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Blue Grass (204): Blue Grass 1963- (204)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 51        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Blue Grass 1963- (204)              New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Blue Grass 1963- (204)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219999         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Blue Grass 1963- (204)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Blue Grass (204): Lonesome Pine 1934-1979 (203)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Lonesome Pine 1934-1979 (203)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 55        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Lonesome Pine 1934-1979 (203)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Blue Grass (204): Lonesome Pine 1934-1979 (203)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Blue Grass (204): Lonesome Pine 1934-1979 (203)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220103         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Blue Mountain (604): Blue Mountain (604)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Mountain (604): Blue Mountain (604)                       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Mountain (604): Blue Mountain (604)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 27        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Mountain (604): Blue Mountain (604)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Mountain (604): Blue Mountain (604)                       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Mountain (604): Blue Mountain (604)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220246         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge (551): Blue Ridge (551)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Ridge (551): Blue Ridge (551)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge (551): Blue Ridge (551)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 59        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge (551): Blue Ridge (551)                             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge (551): Blue Ridge (551)                             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge (551): Blue Ridge (551)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220281         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Globe Insurance Company                             Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Globe Insurance Company                             Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Insurance Co. of America                            Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 13        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220234         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Blue Ridge Mountains 1972- (599)   Royal Insurance Co. of America                            Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 1 72 22        4/1/1966     4/1/1967      4/1/1966     4/1/1967
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 1 72 22        4/1/1967     4/1/1968      4/1/1967     4/1/1968
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 1 72 22        4/1/1968     4/1/1969      4/1/1968     4/1/1969
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 2 21 33        4/1/1969     4/1/1970      4/1/1969     4/1/1970
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 2 21 33        4/1/1970     4/1/1971      4/1/1970     4/1/1971
Blue Ridge Mountains (599): Piedmont Area 1932-1972 (594)      Insurance Company of North America                        LAB 2 21 33        4/1/1971     4/1/1972      4/1/1971     4/1/1972
Buckeye (436): Buckeye 1958- (436)                             American States Insurance Company                         CL841-350        12/15/1973   12/15/1974   12/15/1973    12/15/1974
Buckeye (436): Buckeye 1958- (436)                             American States Insurance Company                         SU 11399         12/15/1973   12/15/1974   12/15/1973    12/15/1974
Buckeye (436): Buckeye 1958- (436)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Buckeye (436): Buckeye 1958- (436)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Buckeye 1958- (436)                             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Buckeye 1958- (436)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 95        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Buckeye 1958- (436)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220048         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckeye (436): Buckeye 1958- (436)                             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 50425         6/11/1968    6/11/1969    6/11/1968     6/11/1969
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 50425         6/11/1969    6/11/1970    6/11/1969     6/11/1970
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 50425         6/11/1970    6/11/1971    6/11/1970     6/11/1971
Buckeye (436): Columbiana 1953-1991 (455)                      Insurance Company of North America                        SBL 51560         6/11/1971    6/11/1972    6/11/1971     6/11/1972
Buckeye (436): Columbiana 1953-1991 (455)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Buckeye (436): Columbiana 1953-1991 (455)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Columbiana 1953-1991 (455)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 03        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Columbiana 1953-1991 (455)                      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Buckeye (436): Columbiana 1953-1991 (455)                      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckeye (436): Columbiana 1953-1991 (455)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220056         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1946-1956 (673)                    Insurance Company of North America                        SBL 5 04 29       7/23/1968    7/23/1969    7/23/1968     7/23/1969
Buckskin (617): Appalachian 1946-1956 (673)                    Insurance Company of North America                        SBL 5 04 29       7/23/1969    7/23/1970    7/23/1969     7/23/1970
Buckskin (617): Appalachian 1946-1956 (673)                    Insurance Company of North America                        SBL 5 04 29       7/23/1970    7/23/1971    7/23/1970     7/23/1971
Buckskin (617): Appalachian 1946-1956 (673)                    Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Buckskin (617): Appalachian 1946-1956 (673)                    Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Buckskin (617): Appalachian 1956-1986 (707)                    Insurance Company of North America                        SBL 51578         7/23/1971    12/4/1971    7/23/1971     12/4/1971




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Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Appalachian 1956-1986 (707)             New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Appalachian 1956-1986 (707)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Appalachian 1956-1986 (707)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Appalachian 1956-1986 (707)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220249         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1956-1986 (707)             New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1956-1986 (707)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Appalachian 1986-1991 (707)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 22636         4/10/1966   4/10/1967    4/10/1966     4/10/1967
Buckskin (617): Buckskin 1949- (617)                    Aetna Casualty and Surety Company                         29AL010580        4/10/1966   4/10/1967    4/10/1966     4/10/1967
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 22636         4/10/1967   4/10/1968    4/10/1967     4/10/1968
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 22636         4/10/1968   4/10/1969    4/10/1968     4/10/1969
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 2 29 75       4/10/1969   4/10/1970    4/10/1969     4/10/1970
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 2 29 75       4/10/1970   4/10/1971    4/10/1970     4/10/1971
Buckskin (617): Buckskin 1949- (617)                    Insurance Company of North America                        XBC 2 29 75       4/10/1971   4/10/1972    4/10/1971     4/10/1972
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Buckskin 1949- (617)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Buckskin 1949- (617)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 33        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Buckskin 1949- (617)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220250         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/25/1972      1/1/1973
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/25/1972      1/1/1973
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Central West Virginia 1941-1990 (616)   Insurance Company of North America                        GLP 61 92 32       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Central West Virginia 1941-1990 (616)   Insurance Company of North America                        GLP 65 21 69       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Central West Virginia 1941-1990 (616)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Central West Virginia 1941-1990 (616)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220251         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Insurance Company of North America                        SBL 4 32 79       5/29/1970   5/29/1971    5/29/1970     5/29/1971
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Insurance Company of North America                        Unknown           5/29/1971   5/29/1972    5/29/1971     5/29/1972
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/29/1972      1/1/1973
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/29/1972      1/1/1973
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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Buckskin (617): Chief Cornstalk 1954-1990 (756)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Chief Cornstalk 1954-1990 (756)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Chief Cornstalk 1954-1990 (756)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Chief Cornstalk 1954-1990 (756)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220254         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Chief Cornstalk 1954-1990 (756)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 4 29 97        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 4 29 97        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 4 29 97        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 04 05        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 04 05        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 04 05        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Buckskin (617): Kootaga Area 1933-1991 (618)            Insurance Company of North America                        SBL 5 15 75        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Kootaga Area 1933-1991 (618)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 39        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Kootaga Area 1933-1991 (618)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Kootaga Area 1933-1991 (618)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220255         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Kootaga Area 1933-1991 (618)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        SBL 4 29 77        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        SBL 4 69 50        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        Unknown            4/1/1969    4/1/1970      4/1/1969     4/1/1970
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        Unknown            4/1/1970    4/1/1971      4/1/1970     4/1/1971
Buckskin (617): Tri-State Area 1935-2014 (672)          Insurance Company of North America                        Unknown            4/1/1971    4/1/1972      4/1/1971     4/1/1972
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buckskin (617): Tri-State Area 1935-2014 (672)          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 37        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buckskin (617): Tri-State Area 1935-2014 (672)          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Tri-State Area 1935-2014 (672)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220253         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buckskin (617): Tri-State Area 1935-2014 (672)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bucktail (509): Bucktail (509)                          Insurance Company of North America                        SBL 43267         10/1/1968   10/1/1969    10/1/1968     10/1/1969
Bucktail (509): Bucktail (509)                          Insurance Company of North America                        SBL 43267         10/1/1969   10/1/1970    10/1/1969     10/1/1970
Bucktail (509): Bucktail (509)                          Insurance Company of North America                        SBL 43267         10/1/1970   10/1/1971    10/1/1970     10/1/1971
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Bucktail (509): Bucktail (509)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973




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Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Bucktail (509): Bucktail (509)                              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bucktail (509): Bucktail (509)                              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bucktail (509): Bucktail (509)                              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Bucktail (509): Bucktail (509)                              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220089         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Bucktail (509): Bucktail (509)                              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buffalo Trace (156): Buffalo Trace 1955- (156)              Aetna Casualty and Surety Company                         Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buffalo Trace (156): Buffalo Trace 1955- (156)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buffalo Trace (156): Buffalo Trace 1955- (156)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 30        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trace (156): Buffalo Trace 1955- (156)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trace (156): Buffalo Trace 1955- (156)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trace (156): Buffalo Trace 1955- (156)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trace (156): Buffalo Trace 1955- (156)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219976         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        SBL 45419         7/13/1968   7/13/1969    7/13/1968     7/13/1969
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        SBL 45422         7/13/1969   7/13/1970    7/13/1969     7/13/1970
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        Unknown           7/13/1970   7/13/1971    7/13/1970     7/13/1971
Buffalo Trail (567): Buffalo Trail (567)                    Insurance Company of North America                        Unknown           7/13/1971   7/13/1972    7/13/1971     7/13/1972
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    7/13/1972      1/1/1973
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    7/13/1972      1/1/1973
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Buffalo Trail (567): Buffalo Trail (567)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Buffalo Trail (567): Buffalo Trail (567)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220214         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trail (567): Buffalo Trail (567)                    St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Buffalo Trail (567): Buffalo Trail (567)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Caddo Area (584): Caddo Area (584)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 89        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Caddo Area (584): Caddo Area (584)                          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Caddo Area (584): Caddo Area (584)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220220         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Caddo Area (584): Caddo Area (584)                          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Calcasieu Area (209): Calcasieu Area (209)                             Insurance Company of North America                        SBL 51302        11/26/1969   11/26/1970   11/26/1969    11/26/1970
Calcasieu Area (209): Calcasieu Area (209)                             Insurance Company of North America                        SBL 51302        11/26/1970   11/26/1971   11/26/1970    11/26/1971
Calcasieu Area (209): Calcasieu Area (209)                             Insurance Company of North America                        SBL 51302        11/26/1971   11/26/1972   11/26/1971    11/26/1972
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973   11/26/1972      1/1/1973
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973   11/26/1972      1/1/1973
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Calcasieu Area (209): Calcasieu Area (209)                             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 59        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Calcasieu Area (209): Calcasieu Area (209)                             New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Calcasieu Area (209): Calcasieu Area (209)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220107         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Calcasieu Area (209): Calcasieu Area (209)                             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 2 28 54       5/17/1965    5/17/1966    5/17/1965     5/17/1966
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 2 28 54       5/17/1966    5/17/1967    5/17/1966     5/17/1967
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 2 28 54       5/17/1967    5/17/1968    5/17/1967     5/17/1968
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 4 59 02       5/17/1968    5/17/1969    5/17/1968     5/17/1969
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 4 59 02       5/17/1969    5/17/1970    5/17/1969     5/17/1970
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        SBL 4 59 02       5/17/1970    5/17/1971    5/17/1970     5/17/1971
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Insurance Company of North America                        Unknown           5/17/1971    5/17/1972    5/17/1971     5/17/1972
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/17/1972      1/1/1973
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/17/1972      1/1/1973
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): Arrowhead Area 1933-1972 (048)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      2/1/1974     1/1/1975
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
California Inland Empire (045): California Inland Empire 1972- (045)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 46        1/1/1976     1/1/1977      1/1/1976     1/1/1977
California Inland Empire (045): California Inland Empire 1972- (045)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219894         1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   New Hampshire Insurance Company                           GLA 332382         1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): California Inland Empire 1972- (045)   New Hampshire Insurance Company                           GLA 332383         1/1/1977     1/1/1978      1/1/1977     1/1/1978
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 4 53 77       1/10/1966    1/10/1967    1/10/1966     1/10/1967
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 4 53 77       1/10/1967    1/10/1968    1/10/1967     1/10/1968
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 4 53 77       1/10/1968     1/9/1969    1/10/1968      1/9/1969
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 50438         1/10/1969    1/10/1970    1/10/1969     1/10/1970
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 50438         1/10/1970    1/10/1971    1/10/1970     1/10/1971
California Inland Empire (045): Grayback 1952-1974 (024)               Insurance Company of North America                        SBL 50438         1/10/1971    1/10/1972    1/10/1971     1/10/1972
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    1/10/1972      1/1/1973
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    1/10/1972      1/1/1973
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
California Inland Empire (045): Grayback 1952-1974 (024)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974




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California Inland Empire (045): Grayback 1952-1974 (024)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
California Inland Empire (045): Grayback 1952-1974 (024)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Insurance Company of North America                        Unknown          10/21/1970   10/21/1971   10/21/1970    10/21/1971
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Insurance Company of North America                        Unknown          10/21/1971     6/3/1972   10/21/1971      6/3/1972
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      6/3/1972     1/1/1973
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      6/3/1972     1/1/1973
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 75        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Cod and Islands (224): Cape Cod 1925-1981 (224)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220125         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1966     1/1/1967      1/1/1966     1/1/1967
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1967     1/1/1968      1/1/1967     1/1/1968
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1968     1/1/1969      1/1/1968     1/1/1969
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1969     1/1/1970      1/1/1969     1/1/1970
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1970     1/1/1971      1/1/1970     1/1/1971
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 90        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cape Fear (425): Cape Fear Area 1930-1989 (425)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Fear (425): Cape Fear Area 1930-1989 (425)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220044         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cape Fear (425): Cape Fear Area 1930-1989 (425)            Insurance Company of North America                        Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Capitol Area (564): Capitol Area (564)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 72        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Capitol Area (564): Capitol Area (564)                     New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Capitol Area (564): Capitol Area (564)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Capitol Area (564): Capitol Area (564)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220203         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Cascade Area 1926-1993 (493)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cascade Pacific (492): Cascade Area 1926-1993 (493)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 30        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Cascade Area 1926-1993 (493)        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Cascade Area 1926-1993 (493)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Cascade Area 1926-1993 (493)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220084         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Cascade Area 1926-1993 (493)        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                 Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                               Start Date1   End Date
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   General Insurance Company of America                      CP 209181        11/15/1968   11/15/1969   11/15/1968    11/15/1969
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   General Insurance Company of America                      CP 209181        11/15/1969   11/15/1970   11/15/1969    11/15/1970
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   General Insurance Company of America                      CP 209181        11/15/1970   11/15/1971   11/15/1970    11/15/1971
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 36307295           7/1/1975     7/1/1976      7/1/1975     7/1/1976
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 3830-72-95         7/1/1975     7/1/1976      7/1/1975     7/1/1976
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 29        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 3830-72-95         7/1/1976     7/1/1977      7/1/1976     7/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 36307295           7/1/1976     7/1/1977      7/1/1976     7/1/1977
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220083         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 36307295           7/1/1977     1/1/1978      7/1/1977     1/1/1978
Cascade Pacific (492): Columbia-Pacific 1966-1993 (492)   Maryland Casualty Company                                 3830-72-95         7/1/1977     7/1/1978      7/1/1977     7/1/1978
Cascade Pacific (492): Portland Area 1925-1966 (492)      American Employers' Insurance Company                     CL 562971         4/16/1945    4/16/1946    4/16/1945     4/16/1946
Cascade Pacific (492): Portland Area 1925-1966 (492)      American Employers' Insurance Company                     CL 562971         4/16/1946    4/16/1947    4/16/1946     4/16/1947
Cascade Pacific (492): Portland Area 1925-1966 (492)      American Employers' Insurance Company                     CL 562971         4/16/1947   11/15/1947    4/16/1947    11/15/1947
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 38642        11/15/1947   11/15/1948   11/15/1947    11/15/1948
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 38642        11/15/1948   11/15/1949   11/15/1948    11/15/1949
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 38642        11/15/1949   11/15/1950   11/15/1949    11/15/1950
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 67048        11/15/1950   11/15/1951   11/15/1950    11/15/1951
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 67048        11/15/1951   11/15/1952   11/15/1951    11/15/1952
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 67048        11/15/1952   11/15/1953   11/15/1952    11/15/1953
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 24550        11/15/1953   11/15/1954   11/15/1953    11/15/1954
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 24550        11/15/1954   11/15/1955   11/15/1954    11/15/1955
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       BLP 24550        11/15/1955   11/15/1956   11/15/1955    11/15/1956
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Casualty Company of America                       Unknown          11/15/1956   11/15/1957   11/15/1956    11/15/1957
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown           11/1/1957    11/1/1958    11/1/1957     11/1/1958
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1958   11/15/1959   11/15/1958    11/15/1959
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1959   11/15/1960   11/15/1959    11/15/1960
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1960   11/15/1961   11/15/1960    11/15/1961
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1961   11/15/1962   11/15/1961    11/15/1962
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1962   11/15/1963   11/15/1962    11/15/1963
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1963   11/15/1964   11/15/1963    11/15/1964
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      Unknown          11/15/1964   11/15/1965   11/15/1964    11/15/1965
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      BLP 264175       11/15/1965   11/15/1966   11/15/1965    11/15/1966
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      BLP 264175       11/15/1966   11/15/1967   11/15/1966    11/15/1967
Cascade Pacific (492): Portland Area 1925-1966 (492)      General Insurance Company of America                      BLP 264175       11/15/1967   11/15/1968   11/15/1967    11/15/1968
Catalina (011): Catalina 1963- (011)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Catalina (011): Catalina 1963- (011)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 21        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           Unknown            1/1/1977     5/8/1977      1/1/1977     5/8/1977
Catalina (011): Catalina 1963- (011)                      Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Catalina (011): Catalina 1963- (011)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219870         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Catalina (011): Catalina 1963- (011)                      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           GLA 282527         5/8/1977     5/8/1978      5/8/1977     5/8/1978
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           GLA 282526         5/8/1977     5/8/1978      5/8/1977     5/8/1978
Catalina (011): Catalina 1963- (011)                      New Hampshire Insurance Company                           GLA 282523         5/8/1977     5/1/1978      5/8/1977     5/1/1978
Catalina (011): Catalina 1963- (011)                      Ambassador Insurance Company                              Unknown            5/8/1977     5/8/1978      5/8/1977     5/8/1978




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              Current Council: Predecessor Council                                    Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                 Start Date1   End Date
Central Florida (083): Central Florida (083)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central Florida (083): Central Florida (083)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Florida (083): Central Florida (083)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 80        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Florida (083): Central Florida (083)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Florida (083): Central Florida (083)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219928         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Florida (083): Central Florida (083)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central Georgia (096): Central Georgia (096)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 93        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Georgia (096): Central Georgia (096)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Georgia (096): Central Georgia (096)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Georgia (096): Central Georgia (096)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Georgia (096): Central Georgia (096)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219941         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        SBL 5 04 26        8/5/1968    8/5/1969      8/5/1968     8/5/1969
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        SBL 5 04 26        8/5/1969    8/5/1970      8/5/1969     8/5/1970
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        SBL 5 04 26        8/5/1970    8/5/1971      8/5/1970     8/5/1971
Central Minnesota (296): Central Minnesota (296)             Insurance Company of North America                        Unknown            8/5/1971    8/5/1972      8/5/1971     8/5/1972
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      8/5/1972     1/1/1973
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      8/5/1972     1/1/1973
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central Minnesota (296): Central Minnesota (296)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Minnesota (296): Central Minnesota (296)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 03        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Minnesota (296): Central Minnesota (296)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central Minnesota (296): Central Minnesota (296)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central Minnesota (296): Central Minnesota (296)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220153         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central North Carolina (416): Central North Carolina (416)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Central North Carolina (416): Central North Carolina (416)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central North Carolina (416): Central North Carolina (416)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 81        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central North Carolina (416): Central North Carolina (416)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Central North Carolina (416): Central North Carolina (416)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Central North Carolina (416): Central North Carolina (416)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220034         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chattahoochee (091): Chattahoochee 1964- (091)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): Chattahoochee 1964- (091)               New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
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Chattahoochee (091): Chattahoochee 1964- (091)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): Chattahoochee 1964- (091)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219939         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): George H. Lanier 1950-1989 (094)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chattahoochee (091): George H. Lanier 1950-1989 (094)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): George H. Lanier 1950-1989 (094)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 99        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): George H. Lanier 1950-1989 (094)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chattahoochee (091): George H. Lanier 1950-1989 (094)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chattahoochee (091): George H. Lanier 1950-1989 (094)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219946         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (469): Cherokee Area (469)                Insurance Company of North America                        SBL 51195          7/5/1969    7/5/1970      7/5/1969     7/5/1970
Cherokee Area (469): Cherokee Area (469)                Insurance Company of North America                        SBL 51195          7/5/1970    7/5/1971      7/5/1970     7/5/1971
Cherokee Area (469): Cherokee Area (469)                Insurance Company of North America                        SBL 51195          7/5/1971    7/5/1972      7/5/1971     7/5/1972
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/5/1972     1/1/1973
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/5/1972     1/1/1973
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cherokee Area (469): Cherokee Area (469)                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (469): Cherokee Area (469)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (469): Cherokee Area (469)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (469): Cherokee Area (469)                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        SBL 45397         3/17/1967   3/17/1968    3/17/1967     3/17/1968
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        SBL 45397         3/17/1968   3/17/1969    3/17/1968     3/17/1969
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        SBL 45397         3/17/1969   3/17/1970    3/17/1969     3/17/1970
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        Unknown           3/17/1970   3/17/1971    3/17/1970     3/17/1971
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        Unknown           3/17/1971   3/17/1972    3/17/1971     3/17/1972
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/18/1972      1/1/1973
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/18/1972      1/1/1973
Cherokee Area (556): Cherokee Area (556)                Insurance Company of North America                        Unknown           3/17/1972   3/18/1972    3/17/1972     3/18/1972
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cherokee Area (556): Cherokee Area (556)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 64        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (556): Cherokee Area (556)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (556): Cherokee Area (556)                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cherokee Area (556): Cherokee Area (556)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220286         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (556): Cherokee Area (556)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220072         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cherokee Area (556): Cherokee Area (556)                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Chester County (539): Chester County (539)              Insurance Company of North America                        SBL 44296         3/11/1969   3/11/1970    3/11/1969     3/11/1970
Chester County (539): Chester County (539)              Insurance Company of North America                        Unknown            1/1/1970   3/11/1970      1/1/1970    3/11/1970
Chester County (539): Chester County (539)              Insurance Company of North America                        SBL 53213         3/11/1970   3/11/1971    3/11/1970     3/11/1971
Chester County (539): Chester County (539)              Insurance Company of North America                        SBL 5 32 52       3/11/1971   3/11/1972    3/11/1971     3/11/1972
Chester County (539): Chester County (539)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/11/1972      1/1/1973




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
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Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/11/1972      1/1/1973
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chester County (539): Chester County (539)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chester County (539): Chester County (539)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)               New Hampshire Insurance Company                           GLA 332358         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220272         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chester County (539): Chester County (539)               American Universal Insurance Company                      AXTPL 5318         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chickasaw (558): Chickasaw 1916- (558)                   Maryland Casualty Company                                 96-224611          1/1/1963    1/1/1964      1/1/1963     1/1/1964
Chickasaw (558): Chickasaw 1916- (558)                   Maryland Casualty Company                                 Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Chickasaw (558): Chickasaw 1916- (558)                   Maryland Casualty Company                                 Unknown            1/1/1965    8/1/1965      1/1/1965     8/1/1965
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 4 53 64        8/1/1965    8/1/1966      8/1/1965     8/1/1966
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 4 53 64        8/1/1966    8/1/1967      8/1/1966     8/1/1967
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 4 53 64        8/1/1967    8/1/1968      8/1/1967     8/1/1968
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 5 04 15        8/1/1968    8/1/1969      8/1/1968     8/1/1969
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 5 04 15        8/1/1969    8/1/1970      8/1/1969     8/1/1970
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 5 04 15        8/1/1970    8/1/1971      8/1/1970     8/1/1971
Chickasaw (558): Chickasaw 1916- (558)                   Insurance Company of North America                        SBL 52766          8/1/1971    8/1/1972      8/1/1971     8/1/1972
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      8/1/1972     1/1/1973
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      8/1/1972     1/1/1973
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chickasaw (558): Chickasaw 1916- (558)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chickasaw (558): Chickasaw 1916- (558)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 68        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Chickasaw 1916- (558)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220290         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chickasaw (558): Delta Area 1924-1993 (300)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chickasaw (558): Delta Area 1924-1993 (300)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Delta Area 1924-1993 (300)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Delta Area 1924-1993 (300)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 05        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chickasaw (558): Delta Area 1924-1993 (300)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chickasaw (558): Delta Area 1924-1993 (300)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220155         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972      1/1/1973
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/1/1972      1/1/1973
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   New Hampshire Insurance Company                           SLP 29-02-40       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   New Hampshire Insurance Company                           SLP 29-02-40       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   New Hampshire Insurance Company                           SLP 29-02-40       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Chief Cornplanter (538): Chief Cornplanter 1952- (538)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Chief Cornplanter (538): Chief Cornplanter 1952- (538)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220271         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Chief Seattle (609): Chief Seattle 1954- (609)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown            1/1/1976   12/31/1976      1/1/1976   12/31/1976
Chief Seattle (609): Chief Seattle 1954- (609)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chief Seattle (609): Chief Seattle 1954- (609)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 24        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chief Seattle (609): Chief Seattle 1954- (609)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                584JB6378        12/31/1976   12/31/1977   12/31/1976    12/31/1977
Chief Seattle (609): Chief Seattle 1954- (609)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chief Seattle (609): Chief Seattle 1954- (609)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220243         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chief Seattle (609): Chief Seattle 1954- (609)           St. Paul Fire and Marine Insurance Company                Unknown          12/31/1977   12/31/1978   12/31/1977    12/31/1978
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      9/1/1972     1/1/1973
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chief Seattle (609): Olympic Area 1956-1974 (605)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/25/1972      1/1/1973
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/25/1972      1/1/1973
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Chippewa Valley (637): Chippewa Valley (637)             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chippewa Valley (637): Chippewa Valley (637)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 42        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chippewa Valley (637): Chippewa Valley (637)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Chippewa Valley (637): Chippewa Valley (637)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220258         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Chippewa Valley (637): Chippewa Valley (637)             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 29 67       3/15/1965    3/15/1966    3/15/1965     3/15/1966
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 29 67       3/15/1966    3/15/1967    3/15/1966     3/15/1967
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 29 67       3/15/1967    3/15/1968    3/15/1967     3/15/1968
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 69 17       3/15/1968    3/15/1969    3/15/1968     3/15/1969
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 69 17       3/15/1969    3/15/1970    3/15/1969     3/15/1970
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        SBL 4 69 17       3/15/1970    3/15/1971    3/15/1970     3/15/1971
Choctaw Area (302): Choctaw Area (302)                   Insurance Company of North America                        Unknown           3/15/1971    3/15/1972    3/15/1971     3/15/1972
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Choctaw Area (302): Choctaw Area (302)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 09        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Choctaw Area (302): Choctaw Area (302)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220159         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Choctaw Area (302): Choctaw Area (302)                   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Choctaw Area (302): Choctaw Area (302)                   Jefferson Insurance Company of New York                   JE 66157           3/1/1977     3/1/1978      3/1/1977     3/1/1978
Choctaw Area (302): Choctaw Area (302)                   New Hampshire Insurance Company                           GLA 282465         3/1/1977     3/1/1978      3/1/1977     3/1/1978




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Choctaw Area (302): Choctaw Area (302)                   Ambassador Insurance Company                              Unknown            3/1/1977    3/1/1978      3/1/1977     3/1/1978
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cimarron (474): Great Salt Plains 1927-2000 (474)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Great Salt Plains 1927-2000 (474)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Great Salt Plains 1927-2000 (474)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Great Salt Plains 1927-2000 (474)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220073         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cimarron (474): Great Salt Plains 1927-2000 (474)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973   12/16/1972      1/1/1973
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973   12/16/1972      1/1/1973
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cimarron (474): Will Rogers 1948-2000 (473)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Will Rogers 1948-2000 (473)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 24        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Will Rogers 1948-2000 (473)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cimarron (474): Will Rogers 1948-2000 (473)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220077         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cimarron (474): Will Rogers 1948-2000 (473)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 Insurance Company of North America                        Unknown            7/1/1970    7/1/1971      7/1/1970     7/1/1971
Circle Ten (571): Circle Ten 1913- (571)                 Insurance Company of North America                        SBL 4 54 34        7/1/1971    7/1/1972      7/1/1971     7/1/1972
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            7/1/1972    7/1/1973      7/1/1972     7/1/1973
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            7/1/1973    1/1/1974      7/1/1973     1/1/1974
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): Circle Ten 1913- (571)                 New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 American General Fire & Casualty Company                  Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 76        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Circle Ten 1913- (571)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220207         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 Allied Insurance Company                                  Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Circle Ten 1913- (571)                 Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/19/1972      1/1/1973
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/19/1972      1/1/1973
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): NeTseO Trails 1955-2017 (580)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): NeTseO Trails 1955-2017 (580)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): NeTseO Trails 1955-2017 (580)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 85        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): NeTseO Trails 1955-2017 (580)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220216         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): NeTseO Trails 1955-2017 (580)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Circle Ten (571): Texoma Valley 1966-1993 (566)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Texoma Valley 1966-1993 (566)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Texoma Valley 1966-1993 (566)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 88        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Circle Ten (571): Texoma Valley 1966-1993 (566)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220219         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Circle Ten (571): Texoma Valley 1966-1993 (566)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 02 31        6/7/1968    6/7/1969      6/7/1968     6/7/1969
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 10 71        6/7/1969    6/7/1970      6/7/1969     6/7/1970
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 26 62        6/7/1970    6/7/1971      6/7/1970     6/7/1971
Coastal Carolina (550): Coastal Carolina (550)           Insurance Company of North America                        SBL 5 36 40        6/7/1971    6/7/1972      6/7/1971     6/7/1972
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coastal Carolina (550): Coastal Carolina (550)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Carolina (550): Coastal Carolina (550)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Carolina (550): Coastal Carolina (550)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Carolina (550): Coastal Carolina (550)           Continental Insurance Company                             CCP 3012802        7/9/1976    7/9/1977      7/9/1976     7/9/1977
Coastal Carolina (550): Coastal Carolina (550)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Carolina (550): Coastal Carolina (550)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220278         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coastal Georgia (099): Coastal Empire -2014 (099)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 95        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Coastal Empire -2014 (099)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Coastal Empire -2014 (099)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Coastal Empire -2014 (099)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219943         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Fire Insurance Company                           20 SBM US2073      1/1/2007    1/1/2008      1/1/2007     1/1/2008
Coastal Georgia (099): Coastal Empire -2014 (099)        Hartford Fire Insurance Company                           20 SBM US2073      1/1/2007    1/1/2008      1/1/2007     1/1/2008
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/31/1972      1/1/1973
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/31/1972      1/1/1973
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Coastal Georgia 2014- (099)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Insurance Company of North America                        SBL 51393          7/1/1970    7/1/1971      7/1/1970     7/1/1971
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Insurance Company of North America                        SBL 51393          7/1/1971    7/1/1972      7/1/1971     7/1/1972
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 98        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219945         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coastal Georgia (099): Okefenokee Area 1926-2014 (758)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Insurance Company of North America                        LAB 2 21 79       1/23/1970   1/23/1971    1/23/1970     1/23/1971
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Insurance Company of North America                        LAB 2 21 79       1/23/1971   1/23/1972    1/23/1971     1/23/1972
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/23/1972      1/1/1973
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/23/1972      1/1/1973
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      Crum & Forster                                            Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Old Dominion Area 1927-1992 (601)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220236         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Colonial Virginia (595): Peninsula 1929-1992 (595)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Colonial Virginia (595): Peninsula 1929-1992 (595)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Peninsula 1929-1992 (595)              New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Colonial Virginia (595): Peninsula 1929-1992 (595)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220231         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Columbia-Montour (504): Columbia-Montour (504)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Columbia-Montour (504): Columbia-Montour (504)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Columbia-Montour (504): Columbia-Montour (504)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Columbia-Montour (504): Columbia-Montour (504)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Columbia-Montour (504): Columbia-Montour (504)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220086         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Columbia-Montour (504): Columbia-Montour (504)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 29 80       4/15/1965   4/15/1966    4/15/1965     4/15/1966
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 29 80       4/15/1966   4/15/1967    4/15/1966     4/15/1967
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 29 80       4/15/1967   4/15/1968    4/15/1967     4/15/1968
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 69 37       4/15/1968   4/15/1969    4/15/1968     4/15/1969
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 69 37       4/15/1969   4/15/1970    4/15/1969     4/15/1970
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 4 69 37       4/15/1970   4/15/1971    4/15/1970     4/15/1971
Connecticut Rivers (066): Eastern Connecticut 1929-1972 (076)   Insurance Company of North America                        SBL 5 14 99       4/15/1971   4/15/1972    4/15/1971     4/15/1972
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Insurance Company of North America                        SBL 5 14 99       10/1/1971   4/15/1972    10/1/1971     4/15/1972
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/15/1972      1/1/1973
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/15/1972      1/1/1973
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 72        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219920         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Indian Trails 1971-1992 (073)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 70        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219918         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Aetna Insurance Company                                   CG 67 34 60      12/15/1982   12/15/1983   12/15/1982    12/15/1983
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             L 1 07 95 74      1/23/1987    1/23/1988    1/23/1987     1/23/1988
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1988    1/23/1989    1/23/1988     1/23/1989
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1989    1/23/1990    1/23/1989     1/23/1990
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1990    1/23/1991    1/23/1990     1/23/1991
Connecticut Rivers (066): Long Rivers 1972-1995 (066)           Continental Insurance Company                             CLP 5045040       1/23/1991    1/23/1992    1/23/1991     1/23/1992
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 4 29 78       3/20/1965    3/20/1966    3/20/1965     3/20/1966
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 4 29 78       3/20/1966    3/20/1967    3/20/1966     3/20/1967
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 4 29 78       3/20/1967    3/20/1968    3/20/1967     3/20/1968
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 46918         3/20/1968    3/20/1969    3/20/1968     3/20/1969
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 46918         3/20/1969    3/20/1970    3/20/1969     3/20/1970
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 46918         3/20/1970    3/20/1971    3/20/1970     3/20/1971
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Insurance Company of North America                        SBL 51411         3/20/1971    3/20/1972    3/20/1971     3/20/1972
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    3/20/1972      1/1/1973
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    3/20/1972      1/1/1973
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Nathan Hale 1967-1972 (072)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 04 09        5/1/1968     5/1/1969      5/1/1968     5/1/1969
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 04 09        5/1/1969     5/1/1970      5/1/1969     5/1/1970
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 04 09        5/1/1970     5/1/1971      5/1/1970     5/1/1971
Connecticut Rivers (066): Pequot 1935-1971 (077)                Insurance Company of North America                        SBL 5 15 38        5/1/1971    10/1/1971      5/1/1971    10/1/1971
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Insurance Company of North America                        SBL 51586         6/28/1971    6/28/1972    6/28/1971     6/28/1972
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/29/1972      1/1/1973
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/29/1972      1/1/1973
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Rivers (066): Tunxis 1947-1972 (079)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 46908          3/5/1968     3/5/1969      3/5/1968     3/5/1969
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 46908          3/5/1969     3/5/1970      3/5/1969     3/5/1970
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 46908          3/5/1970     3/5/1971      3/5/1970     3/5/1971
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Insurance Company of North America                        SBL 5 13 98        3/5/1971     3/5/1972      3/5/1971     3/5/1972
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/5/1972     1/1/1973
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/5/1972     1/1/1973
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Alfred W. Dater 1939-1972 (078)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 5 04 10       5/14/1968    5/14/1969    5/14/1968     5/14/1969
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 5 04 10       5/14/1969    5/14/1970    5/14/1969     5/14/1970




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Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 5 04 10         5/14/1970   5/14/1971    5/14/1970     5/14/1971
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        SBL 51549           5/14/1971   5/14/1972    5/14/1971     5/14/1972
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10HUA43302           1/1/1972    1/1/1973    5/14/1972      1/1/1973
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43303            1/1/1972    1/1/1973    5/14/1972      1/1/1973
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43329            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10HUA43331           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43342E           1/1/1975    1/1/1976      1/1/1975     1/1/1976
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        GLP 59 87 52        2/13/1975   2/13/1976    2/13/1975     2/13/1976
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        XBC 11 73 80         7/1/1975   2/13/1976      7/1/1975    2/13/1976
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   American Re-Insurance Company                             M-1027493            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 71          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Hartford Accident and Indemnity Company                   10CA43349E           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        GLP 63 06 26        2/13/1976   2/13/1977    2/13/1976     2/13/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        XBC 11 73 80        2/13/1976   2/13/1977    2/13/1976     2/13/1977
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219919           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   American Re-Insurance Company                             M-1027493            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        GLP 66 59 57        2/13/1977   2/13/1978    2/13/1977     2/13/1978
Connecticut Yankee (072): Central Connecticut 1929-1978 (071)   Insurance Company of North America                        XBC 11 75 11        2/13/1977   2/13/1978    2/13/1977     2/13/1978
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43329            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10HUA43331           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43342E           1/1/1975    1/1/1976      1/1/1975     1/1/1976
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 73          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      Hartford Accident and Indemnity Company                   10CA43349E           1/1/1976    1/1/1977      1/1/1976     1/1/1977
                                                                                                                          08-2484-SLP-063-
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      New Hampshire Insurance Company                           47-79                1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      American Re-Insurance Company                             M-1027493            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219921           1/1/1977    1/1/1978     1/1/1977     1/1/1978
Connecticut Yankee (072): Fairfield County 1972-1998 (068)      American Re-Insurance Company                             M-1027493            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10HUA43302           1/1/1972    1/1/1973    5/20/1972     1/1/1973
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10CA43303            1/1/1972    1/1/1973    5/20/1972     1/1/1973
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Mauwehu 1952-1972 (075)               Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1970    1/7/1971     1/7/1970     1/7/1971
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        SBL 4 77 79          2/1/1970    2/1/1971     2/1/1970     2/1/1971
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1971    1/7/1972     1/7/1971     1/7/1972
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        SBL 5 29 23          2/1/1971    2/1/1972     2/1/1971     2/1/1972
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10HUA43302           1/1/1972    1/1/1973     2/1/1972     1/1/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43303            1/1/1972    1/1/1973     2/1/1972     1/1/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1972    1/7/1973     1/7/1972     1/7/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43303            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10HUA43302           1/1/1973    1/1/1974     1/1/1973     1/1/1974
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Insurance Company of North America                        AGP-1-69-76          1/7/1973    6/1/1973     1/7/1973     6/1/1973
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43329            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10HUA43331           1/1/1974    1/1/1975     1/1/1974     1/1/1975
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43342E           1/1/1975    1/1/1976     1/1/1975     1/1/1976
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            Hartford Accident and Indemnity Company                   10CA43349E           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 69          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)            American Re-Insurance Company                             M-1027493            1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Connecticut Yankee (072): Quinnipiac 1935-1998 (074)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219917         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Connecticut Yankee (072): Quinnipiac 1935-1998 (074)     New Hampshire Insurance Company                           SLP 634924         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Conquistador (413): Conquistador 1953- (413)             Fireman’s Fund Insurance Company                          MXP 1537195       1/12/1969   1/12/1970    1/12/1969     1/12/1970
Conquistador (413): Conquistador 1953- (413)             Fireman’s Fund Insurance Company                          MXP 1537195       1/12/1970   1/12/1971    1/12/1970     1/12/1971
Conquistador (413): Conquistador 1953- (413)             Fireman’s Fund Insurance Company                          MXP 1537195       1/12/1971   1/12/1972    1/12/1971     1/12/1972
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Conquistador (413): Conquistador 1953- (413)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Conquistador (413): Conquistador 1953- (413)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Conquistador (413): Conquistador 1953- (413)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 47        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Conquistador (413): Conquistador 1953- (413)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Conquistador (413): Conquistador 1953- (413)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220199         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Conquistador (413): Conquistador 1953- (413)             Insurance Company of North America                        GK-12042           1/1/1987    1/1/1988      1/1/1987     1/1/1988
Conquistador (413): Eastern New Mexico 1925-1953 (413)   Anchor Casualty Company                                   442398            6/29/1955   6/29/1956    6/29/1955     6/29/1956
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cornhusker (324): Cornhusker (324)                       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cornhusker (324): Cornhusker (324)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cornhusker (324): Cornhusker (324)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cornhusker (324): Cornhusker (324)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220170         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cornhusker (324): Cornhusker (324)                       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 CGL 235298        6/28/1961   6/28/1962    6/28/1961     6/28/1962
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 Unknown           6/28/1962   6/28/1963    6/28/1962     6/28/1963
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 Unknown           6/28/1963   6/28/1964    6/28/1963     6/28/1964
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 Unknown           6/28/1964   6/28/1965    6/28/1964     6/28/1965
Coronado Area (192): Coronado Area (192)                 United States Fidelity & Warranty Company                 6GA 324983        6/28/1965   6/28/1966    6/28/1965     6/28/1966
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 28074          3/1/1966    3/1/1967      3/1/1966     3/1/1967
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 28082          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 28088          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 11 88        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 08 57        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 08 57        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Coronado Area (192): Coronado Area (192)                 Insurance Company of North America                        SBL 5 08 57        3/1/1972    1/1/1973      3/1/1972     1/1/1973
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Coronado Area (192): Coronado Area (192)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 48        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coronado Area (192): Coronado Area (192)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coronado Area (192): Coronado Area (192)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Coronado Area (192): Coronado Area (192)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Coronado Area (192): Coronado Area (192)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219996         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 34 21        2/1/1965    2/1/1966      2/1/1965     2/1/1966
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 34 21        2/1/1966    2/1/1967      2/1/1966     2/1/1967
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 34 21        2/1/1967    2/1/1968      2/1/1967     2/1/1968
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 41 51        2/1/1968    2/1/1969      2/1/1968     2/1/1969
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        AGP-93-25         3/16/1968   3/16/1969    3/16/1968     3/16/1969
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 5 11 77        2/1/1969    2/1/1970      2/1/1969     2/1/1970
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 41 51        2/1/1969    2/1/1970      2/1/1969     2/1/1970
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 5 11 77        2/1/1970    2/1/1971      2/1/1970     2/1/1971
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 4 41 51        2/1/1970    2/1/1971      2/1/1970     2/1/1971
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Insurance Company of North America                        SBL 5 11 77        2/1/1971    2/1/1972      2/1/1971     2/1/1972
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 42        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220097         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cradle of Liberty (525): Philadelphia 1914-1996 (525)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        SBL-4-34-60       3/14/1967   3/14/1968    3/14/1967     3/14/1968
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        SBL-44-1-85       3/14/1968   3/14/1969    3/14/1968     3/14/1969
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown           3/14/1969   3/14/1970    3/14/1969     3/14/1970
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown           3/14/1970   3/14/1971    3/14/1970     3/14/1971
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Insurance Company of North America                        Unknown           3/14/1971    1/1/1972    3/14/1971      1/1/1972
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 48        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Cradle of Liberty (525): Valley Forge 1936-1996 (507)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220270         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crater Lake (491): Crater Lake 1993- (491)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crater Lake (491): Crater Lake 1993- (491)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 28        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Crater Lake 1993- (491)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220080         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crater Lake (491): Modoc Area 1936-1993 (494)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crater Lake (491): Modoc Area 1936-1993 (494)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 27        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Modoc Area 1936-1993 (494)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Modoc Area 1936-1993 (494)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crater Lake (491): Modoc Area 1936-1993 (494)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220082         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crater Lake (491): Modoc Area 1936-1993 (494)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                         Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                      Start Date1   End Date
Crossroads of America (160): Crossroads of America 1972- (160)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    Insurance Company of North America                        XCP 10769          6/1/1975    6/1/1976      6/1/1975     6/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           UL07-96-54         6/1/1975    6/1/1976      6/1/1975     6/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           GLA908991          6/1/1975    6/1/1976      6/1/1975     6/1/1976
Crossroads of America (160): Crossroads of America 1972- (160)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           GLA908991          6/1/1976    6/1/1977      6/1/1976     6/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    Insurance Company of North America                        XCP 10769          6/1/1976    6/1/1977      6/1/1976     6/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           UL07-96-54         6/1/1976    6/1/1977      6/1/1976     6/1/1977
Crossroads of America (160): Crossroads of America 1972- (160)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219978         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           UL07-96-54         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    Insurance Company of North America                        XCP 10769          6/1/1977    6/1/1978      6/1/1977     6/1/1978
Crossroads of America (160): Crossroads of America 1972- (160)    New Hampshire Insurance Company                           GLA908991          6/1/1977    6/1/1978      6/1/1977     6/1/1978
Crossroads of America (160): Delaware County 1924-1972 (679)      Insurance Company of North America                        SBL 5 15 56        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of America (160): Delaware County 1924-1972 (679)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        SBL-4-67-60        6/9/1968    6/9/1969      6/9/1968     6/9/1969
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        SBL 46771          6/9/1969    6/9/1970      6/9/1969     6/9/1970
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        SBL 46782          6/9/1970    6/9/1971      6/9/1970     6/9/1971
Crossroads of America (160): Kikthawenund Area 1935-1972 (149)    Insurance Company of North America                        Unknown            6/9/1971    6/9/1972      6/9/1971     6/9/1972
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        SBL 46772         4/11/1969   4/11/1970    4/11/1969     4/11/1970
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        SBL 46772         4/11/1970   4/11/1971    4/11/1970     4/11/1971
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        SBL 46798         4/11/1971   4/11/1972    4/11/1971     4/11/1972
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        ALB 54057         4/11/1972   4/11/1973    4/11/1972     4/11/1973
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 42 18 47      4/11/1973   4/11/1974    4/11/1973     4/11/1974
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 428340        4/11/1974   4/11/1975    4/11/1974     4/11/1975
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 59 24 34      4/11/1975   12/2/1975    4/11/1975     12/2/1975
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Insurance Company of North America                        GLP 59 24 34      12/2/1975   4/11/1976    12/2/1975     4/11/1976
Crossroads of America (160): Wabash Valley 1931-2002 (166)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 37        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of America (160): Wabash Valley 1931-2002 (166)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Wabash Valley 1931-2002 (166)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219983         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 4 10 99        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 4 67 34        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL-4-67-59        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 46781          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        SBL 46781          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Crossroads of America (160): Whitewater Valley 1935-1972 (151)    Insurance Company of North America                        Unknown            6/1/1971    6/1/1972      6/1/1971     6/1/1972
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Insurance Company of North America                        SBL 51307          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Insurance Company of North America                        SBL 51307          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Insurance Company of North America                        SBL 51307          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220225         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Cache Valley Area 1924-1993 (588)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220228         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Great Salt Lake 1951-2020 (590)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Insurance Company of North America                        SBL 5 15 47        5/1/1971    5/1/1972      5/1/1971     5/1/1972
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220267         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Jim Bridger 1946-1993 (639)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       SAFECO Ins. Co. of America                                Unknown            7/1/1970    7/1/1971      7/1/1970     7/1/1971
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-74             9/1/1974    9/1/1975     9/1/1974     9/1/1975
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-74             9/1/1975    1/1/1976     9/1/1975     1/1/1976
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 04        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220226         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-77            7/13/1977   7/13/1978    7/13/1977    7/13/1978
                                                                                                                              650-217A646-3-
Crossroads of the West (590): Lake Bonneville 1951-1993 (589)       Charter Oak Fire Insurance Company                        COF-77            7/13/1978    9/1/1978    7/13/1978     9/1/1978
Crossroads of the West (590): Salt Lake City Area 1926-1951 (590)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 06        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 04 27       7/11/1968   7/11/1969    7/11/1968    7/11/1969
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 04 27       7/11/1969   7/11/1970    7/11/1969    7/11/1970
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 04 27       7/11/1970   7/11/1971    7/11/1970    7/11/1971
Crossroads of the West (590): Utah National Parks -2020 (591)       Insurance Company of North America                        SBL 5 15 80       7/11/1971   7/11/1972    7/11/1971    7/11/1972
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    7/11/1972     1/1/1973
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    7/11/1972     1/1/1973
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Crossroads of the West (590): Utah National Parks -2020 (591)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Crossroads of the West (590): Utah National Parks -2020 (591)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 05        1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Crossroads of the West (590): Utah National Parks -2020 (591)   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Utah National Parks -2020 (591)   American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Crossroads of the West (590): Utah National Parks -2020 (591)   American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Crossroads of the West (590): Utah National Parks -2020 (591)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220227            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        SBL 4 53 74           1/1/1966     1/1/1967      1/1/1966     1/1/1967
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        SBL 4 53 74           1/1/1967     1/1/1968      1/1/1967     1/1/1968
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        SBL 4 53 74           1/1/1968     1/1/1969      1/1/1968     1/1/1969
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        Unknown               1/1/1969     1/1/1970      1/1/1969     1/1/1970
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        Unknown               1/1/1970     1/1/1971      1/1/1970     1/1/1971
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        Unknown               1/1/1971     1/1/1972      1/1/1971     1/1/1972
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43303             1/1/1972     1/1/1973      1/1/1972     1/1/1973
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1972   12/15/1973   12/15/1972    12/15/1973
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        XBC 86865           12/15/1972   12/15/1973   12/15/1972    12/15/1973
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        XBC 11 36 16        12/15/1973   12/15/1974   12/15/1973    12/15/1974
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1973   12/15/1974   12/15/1973    12/15/1974
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43329             1/1/1974     1/1/1975      1/1/1974     1/1/1975
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1974   12/15/1975   12/15/1974    12/15/1975
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        XBC 11 37 84        12/15/1974   12/15/1975   12/15/1974    12/15/1975
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP 54W935          12/15/1975   12/15/1976   12/15/1975    12/15/1976
Dan Beard (438): Dan Beard 1956- (438)                          American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 97           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP D0 00 83 93 8    12/1/1976    12/1/1977    12/1/1976     12/1/1977
Dan Beard (438): Dan Beard 1956- (438)                          American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Dan Beard 1956- (438)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220050            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Dan Beard 1956- (438)                          Insurance Company of North America                        AGP D0 00 83 93 8    12/1/1977    12/1/1978    12/1/1977     12/1/1978
Dan Beard (438): Mound Builders Area 1932-1985 (454)            Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Dan Beard (438): Mound Builders Area 1932-1985 (454)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 06           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Mound Builders Area 1932-1985 (454)            American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Mound Builders Area 1932-1985 (454)            Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Dan Beard (438): Mound Builders Area 1932-1985 (454)            American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Dan Beard (438): Mound Builders Area 1932-1985 (454)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220059            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Boone (414): Daniel Boone (414)                          Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Daniel Boone (414): Daniel Boone (414)                          Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Boone (414): Daniel Boone (414)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 82           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Boone (414): Daniel Boone (414)                          American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Boone (414): Daniel Boone (414)                          American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Boone (414): Daniel Boone (414)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220035            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Webster (330): Daniel Webster (330)                      St. Paul Fire and Marine Insurance Company                Unknown               1/1/1973     1/1/1974      1/1/1973     1/1/1974
Daniel Webster (330): Daniel Webster (330)                      St. Paul Fire and Marine Insurance Company                Unknown               1/1/1974     1/1/1975      1/1/1974     1/1/1975
Daniel Webster (330): Daniel Webster (330)                      St. Paul Fire and Marine Insurance Company                Unknown               1/1/1975     1/1/1976      1/1/1975     1/1/1976
Daniel Webster (330): Daniel Webster (330)                      Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Daniel Webster (330): Daniel Webster (330)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 24           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      Commercial Union Assurance Company                        Unknown               1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      American Re-Insurance Company                             M-1027493             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Daniel Webster (330): Daniel Webster (330)                      American Re-Insurance Company                             M-1027493             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Daniel Webster (330): Daniel Webster (330)                      Commercial Union Assurance Company                        AB D74-50-09          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Daniel Webster (330): Daniel Webster (330)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220176         1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
De Soto Area (013): De Soto Area (013)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
De Soto Area (013): De Soto Area (013)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219871         1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 Ambassador Insurance Company                              25830              1/1/1977    1/1/1978      1/1/1977     1/1/1978
De Soto Area (013): De Soto Area (013)                 New Hampshire Insurance Company                           GLA 332363         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Del-Mar-Va (081): Del-Mar-Va (081)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Del-Mar-Va (081): Del-Mar-Va (081)                     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Del-Mar-Va (081): Del-Mar-Va (081)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 74        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Del-Mar-Va (081): Del-Mar-Va (081)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Del-Mar-Va (081): Del-Mar-Va (081)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219922         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Del-Mar-Va (081): Del-Mar-Va (081)                     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Denver Area 1926- (061)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Denver Area (061): Denver Area 1926- (061)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Denver Area 1926- (061)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 63        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Denver Area 1926- (061)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Denver Area 1926- (061)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Denver Area 1926- (061)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219911         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 4 29 75        3/5/1965    3/5/1966      3/5/1965     3/5/1966
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 4 29 75        3/5/1966    3/5/1967      3/5/1966     3/5/1967
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 4 29 75        3/5/1967    3/5/1968      3/5/1967     3/5/1968
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 46921          3/5/1968    3/5/1969      3/5/1968     3/5/1969
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 46921          3/5/1969    3/5/1970      3/5/1969     3/5/1970
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 46921          3/5/1970    3/5/1971      3/5/1970     3/5/1971
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        SBL 51399          3/5/1971    3/5/1972      3/5/1971     3/5/1972
Denver Area (061): Western Colorado 1942-2019 (064)    Insurance Company of North America                        Unknown            3/5/1971    3/2/1972      3/5/1971     3/2/1972
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      3/2/1973     1/1/1974
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      3/2/1973     1/1/1974
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Denver Area (061): Western Colorado 1942-2019 (064)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Western Colorado 1942-2019 (064)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Western Colorado 1942-2019 (064)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 64        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Denver Area (061): Western Colorado 1942-2019 (064)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219912         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Denver Area (061): Western Colorado 1942-2019 (064)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Direct Service (800): Canal Zone 1933-1979 (801)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Direct Service (800): Canal Zone 1933-1979 (801)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Direct Service (800): Canal Zone 1933-1979 (801)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Direct Service (800): Canal Zone 1933-1979 (801)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Direct Service (800): Canal Zone 1933-1979 (801)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Direct Service (800): Canal Zone 1933-1979 (801)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Direct Service (800): Canal Zone 1933-1979 (801)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219909         1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Carolina (426): East Carolina (426)                 North River Insurance Company                             Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
East Carolina (426): East Carolina (426)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
East Carolina (426): East Carolina (426)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Carolina (426): East Carolina (426)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Carolina (426): East Carolina (426)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Carolina (426): East Carolina (426)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Carolina (426): East Carolina (426)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220042         1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Texas Area (585): East Texas Area (585)             U.S. Fire Insurance Company                               GA-41-44-74       5/15/1970   5/15/1971    5/15/1970     5/15/1971
East Texas Area (585): East Texas Area (585)             U.S. Fire Insurance Company                               GA-41-44-74       5/15/1971   5/15/1972    5/15/1971     5/15/1972
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
East Texas Area (585): East Texas Area (585)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Texas Area (585): East Texas Area (585)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Texas Area (585): East Texas Area (585)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 90        1/1/1976    1/1/1977      1/1/1976     1/1/1977
East Texas Area (585): East Texas Area (585)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
East Texas Area (585): East Texas Area (585)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220221         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Erie Shores (460): Toledo Area 1929-1999 (460)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Erie Shores (460): Toledo Area 1929-1999 (460)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 13        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Erie Shores (460): Toledo Area 1929-1999 (460)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Erie Shores (460): Toledo Area 1929-1999 (460)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220066         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Erie Shores (460): Toledo Area 1929-1999 (460)           Buckeye Union Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        SBL 4 53 75        2/1/1966    2/1/1967      2/1/1966     2/1/1967
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        SBL 4 53 75        2/1/1967    2/1/1968      2/1/1967     2/1/1968
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        SBL 4 53 75        2/1/1968    2/1/1969      2/1/1968     2/1/1969
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        Unknown            2/1/1969    2/1/1970      2/1/1969     2/1/1970
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        Unknown            2/1/1970    2/1/1971      2/1/1970     2/1/1971
Evangeline Area (212): Evangeline Area (212)             Insurance Company of North America                        Unknown            2/1/1971    2/1/1972      2/1/1971     2/1/1972
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Evangeline Area (212): Evangeline Area (212)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Evangeline Area (212): Evangeline Area (212)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 58        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Evangeline Area (212): Evangeline Area (212)             New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Evangeline Area (212): Evangeline Area (212)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Evangeline Area (212): Evangeline Area (212)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220106         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Evangeline Area (212): Evangeline Area (212)             New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Evangeline Area (212): Evangeline Area (212)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Far East (803): Far East (803)                           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 76        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Far East (803): Far East (803)                           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Far East (803): Far East (803)                           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219924         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Far East (803): Far East (803)                           New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974   11/20/1973      1/1/1974
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974   11/20/1973      1/1/1974
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Five Rivers (375): General Sullivan 1927-1992 (779)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 47        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): General Sullivan 1927-1992 (779)      New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): General Sullivan 1927-1992 (779)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): General Sullivan 1927-1992 (779)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220269         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Five Rivers (375): Steuben Area 1931-1991 (402)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 51        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          Insurance Company of North America                        AGP 15 39 33      4/19/1976   4/19/1977    4/19/1976     4/19/1977
Five Rivers (375): Steuben Area 1931-1991 (402)          Fireman’s Fund Insurance Company                          Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          Fireman's Insurance Company of Newark, NJ                 L6263105           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Steuben Area 1931-1991 (402)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220003         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Travelers Indemnity Company                               Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Travelers Indemnity Company                               Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Travelers Indemnity Company                               Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Five Rivers (375): Sullivan Trail 1947-1991 (375)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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Five Rivers (375): Sullivan Trail 1947-1991 (375)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Sullivan Trail 1947-1991 (375)      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Sullivan Trail 1947-1991 (375)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 55        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Five Rivers (375): Sullivan Trail 1947-1991 (375)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220008         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Sullivan Trail 1947-1991 (375)      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Five Rivers (375): Sullivan Trail 1947-1991 (375)      Hartford Fire Insurance Company                           01 UEC FN2321    10/28/1991    11/8/1992   10/28/1991     11/8/1992
Flint River (095): Flint River (095)                   Insurance Company of North America                        SBL 48843          7/6/1971     7/5/1972      7/6/1971     7/5/1972
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    7/18/1972      1/1/1973
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    7/18/1972      1/1/1973
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Flint River (095): Flint River (095)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Flint River (095): Flint River (095)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 92        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Flint River (095): Flint River (095)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Flint River (095): Flint River (095)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219940         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Flint River (095): Flint River (095)                   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): Colonel Drake 1942-1972 (537)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
French Creek (532): Colonel Drake 1942-1972 (537)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     5/1/1972
French Creek (532): Colonel Drake 1942-1972 (537)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): Custaloga 1969-1972 (531)          Insurance Company of North America                        SBL 50421        11/29/1968   11/29/1969   11/29/1968    11/29/1969
French Creek (532): Custaloga 1969-1972 (531)          Insurance Company of North America                        SBL 50421        11/29/1969   11/29/1970   11/29/1969    11/29/1970
French Creek (532): Custaloga 1969-1972 (531)          Insurance Company of North America                        SBL 50421        11/29/1970   11/29/1971   11/29/1970    11/29/1971
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     5/1/1972
French Creek (532): Custaloga 1969-1972 (531)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      5/1/1972     1/1/1973
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      5/1/1972     1/1/1973
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
French Creek (532): French Creek 1972- (532)           Erie Family Life Insurance Company                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
French Creek (532): French Creek 1972- (532)           Erie Insurance Exchange                                   Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
French Creek (532): French Creek 1972- (532)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           Erie Insurance Exchange                                   Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 35        1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
French Creek (532): French Creek 1972- (532)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): French Creek 1972- (532)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220090         1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): French Creek 1972- (532)           Erie Insurance Exchange                                   Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 4 53 73      11/29/1965   11/29/1966   11/29/1965    11/29/1966
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 4 53 73      11/29/1966   11/29/1967   11/29/1966    11/29/1967
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 4 53 73      11/29/1967   11/29/1968   11/29/1967    11/29/1968
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 50421        11/29/1968   11/29/1969   11/29/1968    11/29/1969
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 50421        11/29/1969   11/29/1970   11/29/1969    11/29/1970
French Creek (532): Mercer County 1927-1969 (531)      Insurance Company of North America                        SBL 50421        11/29/1970   11/29/1971   11/29/1970    11/29/1971




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French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        SBL-4-32-87       6/25/1969   1/15/1970    6/25/1969     1/15/1970
French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        SBL 4 32 98       1/15/1970   1/15/1971    1/15/1970     1/15/1971
French Creek (532): Washington Trail 1944-1972 (511)    Insurance Company of North America                        SBL 4 32 98       1/15/1971   1/15/1972    1/15/1971     1/15/1972
French Creek (532): Washington Trail 1944-1972 (511)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/16/1972      5/1/1972
French Creek (532): Washington Trail 1944-1972 (511)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/16/1972      1/1/1973
French Creek (532): Washington Trail 1944-1972 (511)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 3-70-22        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL-4-46-14        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL-4-46-35        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 4 46 49        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 44671          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Gamehaven (299): Gamehaven (299)                        Insurance Company of North America                        SBL 44689          6/1/1971    6/1/1972      6/1/1971     6/1/1972
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Gamehaven (299): Gamehaven (299)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Gamehaven (299): Gamehaven (299)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 02        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Gamehaven (299): Gamehaven (299)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Gamehaven (299): Gamehaven (299)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220152         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Gamehaven (299): Gamehaven (299)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Garden State (690): Burlington County 1925-2013 (690)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 45        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Burlington County 1925-2013 (690)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Burlington County 1925-2013 (690)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220197         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Burlington County 1925-2013 (690)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        EP 4004433        12/7/1970   12/7/1971    12/7/1970     12/7/1971
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        EP 4004433        12/7/1971   12/7/1972    12/7/1971     12/7/1972
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        EP 4004433        12/7/1972   12/7/1973    12/7/1972     12/7/1973
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        W18-36-37         12/7/1973   12/7/1974    12/7/1973     12/7/1974
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CP-2067-64         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CLCP-D12-86-       6/5/1974    6/5/1975      6/5/1974     6/5/1975
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        W18-36-37         12/7/1974   12/7/1975    12/7/1974     12/7/1975
Garden State (690): Camden County 1921-1998 (335)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CLCPD74-56-39      6/5/1975    6/5/1976      6/5/1975     6/5/1976
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        W18-36-37         12/7/1975   12/7/1976    12/7/1975     12/7/1976
Garden State (690): Camden County 1921-1998 (335)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Camden County 1921-1998 (335)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Camden County 1921-1998 (335)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 44        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Garden State (690): Camden County 1921-1998 (335)       Commercial Union Insurance Company                        CPD73 47 42        6/5/1976    6/5/1977      6/5/1976     6/5/1977
Garden State (690): Camden County 1921-1998 (335)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220196         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Garden State (690): Camden County 1921-1998 (335)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Camden County 1921-1998 (335)         Commercial Union Insurance Company                        CP D92 80 56       6/5/1977     6/5/1978      6/5/1977     6/5/1978
Garden State (690): Garden State 2013- (690)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Garden State (690): Garden State 2013- (690)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 29 99        4/1/1965     4/1/1966      4/1/1965     4/1/1966
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 29 99        4/1/1966     4/1/1967      4/1/1966     4/1/1967
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 29 99        4/1/1967     4/1/1968      4/1/1967     4/1/1968
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 69 40        4/1/1968     4/1/1969      4/1/1968     4/1/1969
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 69 40        4/1/1969     4/1/1970      4/1/1969     4/1/1970
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 4 69 40        4/1/1970     4/1/1971      4/1/1970     4/1/1971
Garden State (690): Southern New Jersey 1967-1990 (334)   Insurance Company of North America                        SBL 5 15 14        4/1/1971     4/1/1972      4/1/1971     4/1/1972
Garden State (690): Southern New Jersey 1967-1990 (334)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Garden State (690): Southern New Jersey 1967-1990 (334)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 41        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Garden State (690): Southern New Jersey 1967-1990 (334)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Southern New Jersey 1967-1990 (334)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220193         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Southern New Jersey 1967-1990 (334)   New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      4/1/1972     1/1/1973
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Garden State (690): Southern New Jersey 1990-2013 (334)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   715173           12/15/1962   12/15/1963   12/15/1962    12/15/1963
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   715173           12/15/1962   12/15/1963   12/15/1962    12/15/1963
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   716126           12/15/1963   12/15/1964   12/15/1963    12/15/1964
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   717220           12/15/1964   12/15/1965   12/15/1964    12/15/1965
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C718423        12/15/1965   12/15/1966   12/15/1965    12/15/1966
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C718423        12/15/1966   12/15/1967   12/15/1966    12/15/1967
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C718423        12/15/1967   12/15/1968   12/15/1967    12/15/1968
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C807701        12/15/1968   12/15/1969   12/15/1968    12/15/1969
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C807701        12/15/1969   12/15/1970   12/15/1969    12/15/1970
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   86C807701        12/15/1970   12/15/1971   12/15/1970    12/15/1971
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/1/1972     1/1/1973
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/1/1972     1/1/1973
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         SU-15069           1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 43        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gateway Area (624): Gateway Area (624)                    American States Insurance Company                         Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gateway Area (624): Gateway Area (624)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220259         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gateway Area (624): Gateway Area (624)                    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        SBL 4 88 14       5/30/1968    5/30/1969    5/30/1968     5/30/1969
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        SBL 48824         5/30/1969    5/30/1970    5/30/1969     5/30/1970
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        Unknown           5/30/1970    5/30/1971    5/30/1970     5/30/1971
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        Unknown           5/30/1971    5/30/1972    5/30/1971     5/30/1972
Georgia-Carolina (093): Georgia-Carolina (093)            Insurance Company of North America                        Unknown           5/30/1972     1/1/1973    5/30/1972      1/1/1973
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Georgia-Carolina (093): Georgia-Carolina (093)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 90        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Georgia-Carolina (093): Georgia-Carolina (093)            New Hampshire Insurance Company                           GLA 332323         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Georgia-Carolina (093): Georgia-Carolina (093)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Georgia-Carolina (093): Georgia-Carolina (093)            New Hampshire Insurance Company                           SLP 275540         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Georgia-Carolina (093): Georgia-Carolina (093)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219938         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        SBL 4 15 49       7/10/1969    7/10/1970    7/10/1969     7/10/1970
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        SBL 4 15 56       7/10/1970    7/10/1971    7/10/1970     7/10/1971
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        Unknown           7/10/1971    7/10/1972    7/10/1971     7/10/1972
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973   11/16/1972      1/1/1973
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973   11/16/1972      1/1/1973
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Insurance Company of North America                        Unknown           7/10/1972   11/16/1972    7/10/1972    11/16/1972
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Glacier's Edge (620): Four Lakes 1928-2005 (628)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Four Lakes 1928-2005 (628)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 44        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Four Lakes 1928-2005 (628)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Four Lakes 1928-2005 (628)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220260         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Four Lakes 1928-2005 (628)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Glacier's Edge 2005- (620)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Glacier's Edge 2005- (620)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 45383         4/28/1966    4/28/1967    4/28/1966     4/28/1967
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 45383         4/28/1967    4/28/1968    4/28/1967     4/28/1968
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 45383         4/28/1968    4/28/1969    4/28/1968     4/28/1969
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 50448         4/28/1969    4/28/1970    4/28/1969     4/28/1970
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 50448         4/28/1970    4/28/1971    4/28/1970     4/28/1971
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Insurance Company of North America                        SBL 50448         4/28/1971    4/28/1972    4/28/1971     4/28/1972
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    4/28/1972      1/1/1973
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    4/28/1972      1/1/1973
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 41        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Glacier's Edge (620): Sinnissippi 1966-2005 (626)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Glacier's Edge (620): Sinnissippi 1966-2005 (626)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220257         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Glacier's Edge (620): Sinnissippi 1966-2005 (626)        New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Buttes Area 1924-1992 (647)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Empire (047): Buttes Area 1924-1992 (647)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 39        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         New Hampshire Insurance Company                           GLA 332361       12/20/1976   12/20/1977   12/20/1976    12/20/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         New Hampshire Insurance Company                           SLP 290281       12/20/1976   12/20/1977   12/20/1976    12/20/1977
Golden Empire (047): Buttes Area 1924-1992 (647)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Buttes Area 1924-1992 (647)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219887         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   54 C 990478        7/1/1972     7/1/1973      7/1/1972     7/1/1973
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   54 C 990478        7/1/1973     7/1/1974      7/1/1973     7/1/1974
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   54 C 990478        7/1/1974     7/1/1975      7/1/1974     7/1/1975
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Empire (047): Golden Empire 1937- (047)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 47        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Golden Empire 1937- (047)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219895         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Golden Empire 1937- (047)           New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Golden Empire 1937- (047)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 30        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   New Hampshire Insurance Company                           Unknown            1/1/1977   10/20/1977      1/1/1977   10/20/1977
Golden Empire (047): Mount Lassen Area 1924-1992 (036)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219879         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Alameda -2020 (022)              Insurance Company of North America                        SBL 5 11 80        3/2/1969     3/2/1970      3/2/1969     3/2/1970
Golden Gate Area (023): Alameda -2020 (022)              Insurance Company of North America                        SBL 5 11 80        3/2/1970     3/2/1971      3/2/1970     3/2/1971
Golden Gate Area (023): Alameda -2020 (022)              Insurance Company of North America                        SBL 5 11 80        3/2/1971     3/1/1972      3/2/1971     3/1/1972
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/2/1972     1/1/1973
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/2/1972     1/1/1973
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Alameda -2020 (022)              New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 27        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Alameda -2020 (022)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219876         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Alameda -2020 (022)              New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Alameda -2020 (022)              American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           Unknown            6/1/1967     6/1/1968      6/1/1967     6/1/1968
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           Unknown            6/1/1968     6/1/1969      6/1/1968     6/1/1969
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           Unknown            6/1/1969     6/1/1970      6/1/1969     6/1/1970
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           SLP 29 01 82       6/1/1970     6/1/1971      6/1/1970     6/1/1971
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           SLP 29 01 82       6/1/1971     6/1/1972      6/1/1971     6/1/1972
Golden Gate Area (023): Mount Diablo 1951-1992 (023)     New Hampshire Insurance Company                           SLP 29 01 82       6/1/1972     6/1/1973      6/1/1972     6/1/1973




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Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           UL 53-41-82        1/1/1973    1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 29-02-40       6/1/1973    6/1/1974      6/1/1973     6/1/1974
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           UL 78-86-53        1/1/1974    1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 29-02-40       6/1/1974    6/1/1975      6/1/1974     6/1/1975
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           UL 05-09-92        1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 29-02-40       6/1/1975    6/1/1976      6/1/1975     6/1/1976
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 60        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           SLP 27-56-38       6/1/1976    6/1/1977      6/1/1976     6/1/1977
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219908         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Ambassador Insurance Company                              26094              6/1/1977    5/1/1978      6/1/1977     5/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Jefferson Insurance Company of New York                   GLA 303461         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             Jefferson Insurance Company of New York                   GLA 303463         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Golden Gate Area (023): Mount Diablo 1951-1992 (023)             New Hampshire Insurance Company                           GLA 282525         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Mount Diablo Silverado 1992-2020 (023)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 41        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): San Francisco Bay Area 1965-2020 (028)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219889         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 29 83       4/28/1965   4/28/1966    4/28/1965     4/28/1966
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 29 83       4/28/1966   4/28/1967    4/28/1966     4/28/1967
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 29 83       4/28/1967   4/28/1968    4/28/1967     4/28/1968
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 69 32       4/28/1968   4/28/1969    4/28/1968     4/28/1969
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 69 32       4/28/1969   4/28/1970    4/28/1969     4/28/1970
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        SBL 4 69 32       4/28/1970   4/28/1971    4/28/1970     4/28/1971
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Insurance Company of North America                        Unknown           4/28/1971   4/28/1972    4/28/1971     4/28/1972
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/28/1972      1/1/1973
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/28/1972      1/1/1973
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Gate Area (023): Silverado Area 1928-1992 (038)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Gate Area (023): Silverado Area 1928-1992 (038)           New Hampshire Insurance Company                           GLA 332356         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Silverado Area 1928-1992 (038)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219905         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Gate Area (023): Silverado Area 1928-1992 (038)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Adobe Walls Area 1934-1986 (569)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Spread (562): Adobe Walls Area 1934-1986 (569)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Golden Spread (562): Adobe Walls Area 1934-1986 (569)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 84        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Adobe Walls Area 1934-1986 (569)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Adobe Walls Area 1934-1986 (569)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220215         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Adobe Walls Area 1934-1986 (569)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Llano Estacado 1939-1986 (562)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Golden Spread (562): Llano Estacado 1939-1986 (562)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Llano Estacado 1939-1986 (562)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Llano Estacado 1939-1986 (562)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 71        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Golden Spread (562): Llano Estacado 1939-1986 (562)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Golden Spread (562): Llano Estacado 1939-1986 (562)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220202         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974    5/15/1973      1/1/1974
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    5/15/1973      1/1/1974
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Canyon (010): Copper 1962-1977 (009)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Copper 1962-1977 (009)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Copper 1962-1977 (009)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Copper 1962-1977 (009)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Copper 1962-1977 (009)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219869         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 29 93        4/1/1965    4/1/1966      4/1/1965     4/1/1966
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 29 93        4/1/1966    4/1/1967      4/1/1966     4/1/1967
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 29 93        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 69 31        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 69 31        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        SBL 4 69 31        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Insurance Company of North America                        Unknown            4/1/1971    4/1/1972      4/1/1971     4/1/1972
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Canyon (010): Grand Canyon 1944-1993 (012)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Grand Canyon 1944-1993 (012)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Grand Canyon 1944-1993 (012)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219867         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Grand Canyon 1944-1993 (012)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219868         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   Ambassador Insurance Company                              GLA 282436        2/15/1977   2/15/1978    2/15/1977     2/15/1978
Grand Canyon (010): Theodore Roosevelt 1962-1993 (010)   New Hampshire Insurance Company                           GLA 282441        2/15/1977   2/15/1978    2/15/1977     2/15/1978
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Insurance Company of North America                        SBL 5 15 52        5/7/1971    5/7/1972      5/7/1971     5/7/1972
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/7/1972     1/1/1973
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): Fort Simcoe Area 1954-1992 (614)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220248         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Columbia (614): North Central Washington 1924-1992 (613)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 30        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): North Central Washington 1924-1992 (613)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): North Central Washington 1924-1992 (613)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Columbia (614): North Central Washington 1924-1992 (613)   St. Paul Fire and Marine Insurance Company                584JB6952          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): North Central Washington 1924-1992 (613)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Columbia (614): North Central Washington 1924-1992 (613)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220247         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 29 90        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 29 90        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 29 90        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 69 48        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 69 48        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 4 69 48        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Insurance Company of North America                        SBL 51558          6/1/1971    6/1/1972      6/1/1971     6/1/1972
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Teton (107): Tendoy Area 1934-1993 (109)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Tendoy Area 1934-1993 (109)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 06        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Tendoy Area 1934-1993 (109)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Tendoy Area 1934-1993 (109)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Tendoy Area 1934-1993 (109)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219953         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 45400         12/1/1965   12/1/1966    12/1/1965     12/1/1966
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 45400         12/1/1966   12/1/1967    12/1/1966     12/1/1967
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 45400         12/1/1967   12/1/1968    12/1/1967     12/1/1968
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 50432         12/1/1968   12/1/1969    12/1/1968     12/1/1969
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 50432         12/1/1969   12/1/1970    12/1/1969     12/1/1970
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Insurance Company of North America                        SBL 50432         12/1/1970   12/1/1971    12/1/1970     12/1/1971
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Grand Teton (107): Teton Peaks 1925-1993 (107)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Grand Teton (107): Teton Peaks 1925-1993 (107)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Teton Peaks 1925-1993 (107)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 04        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Teton Peaks 1925-1993 (107)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Grand Teton (107): Teton Peaks 1925-1993 (107)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219951         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Teton Peaks 1925-1993 (107)          Western Casualty & Surety Company                         Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Grand Teton (107): Teton Peaks 1925-1993 (107)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Alaska 1934-1954 (610)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Great Alaska (610): Alaska 1934-1954 (610)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Great Alaska 2006- (610)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Great Alaska 2006- (610)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Alaska (610): Southeast Alaska 1955-2006 (608)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Southeast Alaska 1955-2006 (608)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219866         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Southeast Alaska 1955-2006 (608)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Southeast Alaska 1955-2006 (608)    New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Alaska (610): Western Alaska 1954-2005 (610)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Alaska (610): Western Alaska 1954-2005 (610)      New Hampshire Insurance Company                           GLA 282428         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Western Alaska 1954-2005 (610)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219864         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Alaska (610): Western Alaska 1954-2005 (610)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Lakes FSC (784): Great Lakes FSC (784)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Lakes FSC (784): Great Lakes FSC (784)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Lakes FSC (784): Great Lakes FSC (784)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Lakes FSC (784): Great Lakes FSC (784)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Rivers (653): Great Rivers 1951- (653)            Insurance Company of North America                        SBL 5 13 03      11/26/1969    1/1/1970   11/26/1969      1/1/1970
Great Rivers (653): Great Rivers 1951- (653)            Columbia Insurance Company                                Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Great Rivers (653): Great Rivers 1951- (653)            Columbia Insurance Company                                Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Great Rivers (653): Great Rivers 1951- (653)            Columbia Insurance Company                                Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Rivers (653): Great Rivers 1951- (653)            St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Rivers (653): Great Rivers 1951- (653)            St. Paul Fire and Marine Insurance Company                Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Rivers (653): Great Rivers 1951- (653)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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Great Rivers (653): Great Rivers 1951- (653)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 12        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  St. Paul Fire and Marine Insurance Company                Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Rivers (653): Great Rivers 1951- (653)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220162         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Rivers (653): Great Rivers 1951- (653)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Rivers (653): Great Rivers 1951- (653)                  St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Smoky Mountain (557): Great Smoky Mountain (557)        Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Great Smoky Mountain (557): Great Smoky Mountain (557)        Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Great Smoky Mountain (557): Great Smoky Mountain (557)        Insurance Company of North America                        Unknown            1/1/1972    4/1/1972      1/1/1972     4/1/1972
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Smoky Mountain (557): Great Smoky Mountain (557)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Smoky Mountain (557): Great Smoky Mountain (557)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Smoky Mountain (557): Great Smoky Mountain (557)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Smoky Mountain (557): Great Smoky Mountain (557)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220289         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Smoky Mountain (557): Great Smoky Mountain (557)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Southwest (412): Great Southwest Area 1976-1982 (412)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Great Southwest Area 1976-1982 (412)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Great Southwest Area 1976-1982 (412)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220198         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Southwest (412): Great Southwest Area 1976-1982 (412)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Southwest (412): Kit Carson 1955-1976 (412)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Southwest (412): Kit Carson 1955-1976 (412)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Kit Carson 1955-1976 (412)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Southwest (412): Kit Carson 1955-1976 (412)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 46        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 71        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 94        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Great Trail 1971- (433)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220047         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Great Trail 1971- (433)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220121         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/12/1964   3/12/1965    3/12/1964     3/12/1965
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/12/1965   3/12/1966    3/12/1965     3/12/1966
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/12/1966   3/11/1967    3/12/1966     3/11/1967
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 29 61       3/11/1967   3/11/1968    3/11/1967     3/11/1968
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 69 16       3/11/1968   3/11/1969    3/11/1968     3/11/1969
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 69 16       3/11/1969   3/11/1970    3/11/1969     3/11/1970
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        SBL 4 69 16       3/11/1970   3/11/1971    3/11/1970     3/11/1971
Great Trail (433): Mahoning Valley 1927-1993 (466)            Insurance Company of North America                        Unknown           3/11/1971   3/11/1972    3/11/1971     3/11/1972
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/11/1972      1/1/1973
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/11/1972      1/1/1973
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Great Trail (433): Mahoning Valley 1927-1993 (466)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Great Trail (433): Mahoning Valley 1927-1993 (466)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Mahoning Valley 1927-1993 (466)       Buckeye Union Insurance Company                           Unknown           4/30/1975    4/30/1976    4/30/1975     4/30/1976
Great Trail (433): Mahoning Valley 1927-1993 (466)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 15        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       Buckeye Union Insurance Company                           Unknown           4/30/1976    4/30/1977    4/30/1976     4/30/1977
Great Trail (433): Mahoning Valley 1927-1993 (466)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220068         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Mahoning Valley 1927-1993 (466)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Mahoning Valley 1927-1993 (466)       Buckeye Union Insurance Company                           Unknown           4/30/1977    4/30/1978    4/30/1977     4/30/1978
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Northeast Ohio 1929-1993 (463)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 08        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Northeast Ohio 1929-1993 (463)        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Northeast Ohio 1929-1993 (463)        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Northeast Ohio 1929-1993 (463)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220061         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   45 CBP 132079      8/1/1981     8/1/1982      8/1/1981     8/1/1982
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   45 CBP 132079      8/1/1982     8/1/1983      8/1/1982     8/1/1983
Great Trail (433): Northeast Ohio 1929-1993 (463)        Hartford Accident and Indemnity Company                   45 CBP 132079      8/1/1983     8/1/1984      8/1/1983     8/1/1984
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Great Trail (433): Western Reserve 1948-1993 (461)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 14        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Western Reserve 1948-1993 (461)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Western Reserve 1948-1993 (461)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Great Trail (433): Western Reserve 1948-1993 (461)       New Hampshire Insurance Company                           Unknown            1/1/1977   11/16/1977      1/1/1977   11/16/1977
Great Trail (433): Western Reserve 1948-1993 (461)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Great Trail (433): Western Reserve 1948-1993 (461)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220067         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/1/1966     8/1/1967      8/1/1966     8/1/1967
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        SBL 48816          8/4/1968     8/4/1969      8/4/1968     8/4/1969
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        SBL 2 42 03        8/4/1969     8/4/1970      8/4/1969     8/4/1970
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/4/1970     8/4/1971      8/4/1970     8/4/1971
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/4/1971     8/4/1972      8/4/1971     8/4/1972
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    9/16/1972      1/1/1973
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    9/16/1972      1/1/1973
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Insurance Company of North America                        Unknown            8/4/1972    9/16/1972      8/4/1972    9/16/1972
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Birmingham Area 1915-1996 (002)   New Hampshire Insurance Company                           Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Birmingham Area 1915-1996 (002)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 07        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Birmingham Area 1915-1996 (002)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219858         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Birmingham Area 1915-1996 (002)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Birmingham Area 1915-1996 (002)   Ambassador Insurance Company                              Unknown           1/14/1977    1/14/1978    1/14/1977     1/14/1978




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Greater Alabama (001): Birmingham Area 1915-1996 (002)             New Hampshire Insurance Company                           Unknown           1/14/1977    1/14/1978    1/14/1977     1/14/1978
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1966     1/1/1967      1/1/1966     1/1/1967
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1967     1/1/1968      1/1/1967     1/1/1968
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1968     1/1/1969      1/1/1968     1/1/1969
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1969     1/1/1970      1/1/1969     1/1/1970
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1970     1/1/1971      1/1/1970     1/1/1971
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Choccolocco 1921-1998 (001)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Choccolocco 1921-1998 (001)                 American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Choccolocco 1921-1998 (001)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121696           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Choccolocco 1921-1998 (001)                 American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Choccolocco 1921-1998 (001)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1219857         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 3 96 65       3/25/1966    3/25/1967    3/25/1966     3/25/1967
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 3 96 65       3/25/1967    3/25/1968    3/25/1967     3/25/1968
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 3 96 65       3/25/1968    3/25/1969    3/25/1968     3/25/1969
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 4 88 22       3/25/1969    3/25/1970    3/25/1969     3/25/1970
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 4 88 22       3/25/1970    3/25/1971    3/25/1970     3/25/1971
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Insurance Company of North America                        SBL 4 88 22       3/25/1971    3/25/1972    3/25/1971     3/25/1972
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      4/1/1972     1/1/1973
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 10        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            New Hampshire Insurance Company                           GLA 301317         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Alabama (001): Tennessee Valley 1934-1998 (659)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219860         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1964    6/11/1965    6/11/1964     6/11/1965
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1964    6/11/1965    6/11/1964     6/11/1965
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1965    6/11/1966    6/11/1965     6/11/1966
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1965    6/11/1966    6/11/1965     6/11/1966
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1966    6/11/1967    6/11/1966     6/11/1967
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Insurance Company of North America                        XBC 19014         6/11/1966    6/11/1967    6/11/1966     6/11/1967
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 E 60198          11/19/1969   11/19/1970   11/19/1969    11/19/1970
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1969   11/19/1970   11/19/1969    11/19/1970
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1970   11/19/1971   11/19/1970    11/19/1971
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1970   11/19/1971   11/19/1970    11/19/1971
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1971   11/19/1972   11/19/1971    11/19/1972
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1971   11/19/1972   11/19/1971    11/19/1972
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1972   11/19/1973   11/19/1972    11/19/1973
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1972   11/19/1973   11/19/1972    11/19/1973
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1973   11/19/1974   11/19/1973    11/19/1974
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1973   11/19/1974   11/19/1973    11/19/1974
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Employers Surplus Lines Insurance Company                 Unknown          11/19/1974     1/1/1975   11/19/1974      1/1/1975
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Pacific Indemnity Company                                 Unknown          11/19/1974     1/1/1975   11/19/1974      1/1/1975
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976




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Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     New Hampshire Insurance Company                           SLP 27 56 32       4/1/1976    4/1/1977      4/1/1976     4/1/1977
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219886         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Los Angeles Area 1945-2015 (033)     New Hampshire Insurance Company                           Unknown            4/1/1977    1/1/1978      4/1/1977     1/1/1978
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 31        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219880         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): Old Baldy 1921-2006 (043)            New Hampshire Insurance Company                           GLA 282588         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 43        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Los Angeles Area (033): San Gabriel Valley 1951-2015 (040)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219891         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater New York (640): Greater New York 1936-1967 (719)             Indemnity Insurance Company of North America              Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Greater New York (640): Greater New York 1936-1967 (719)             Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater New York (640): Greater New York 1967- (640)                 Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater New York (640): Greater New York 1967- (640)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater New York (640): Greater New York 1967- (640)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater New York (640): Greater New York 1967- (640)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 68        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater New York (640): Greater New York 1967- (640)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater New York (640): Greater New York 1967- (640)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater New York (640): Greater New York 1967- (640)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220021         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Bronx Borough (641): Greater New York, Bronx
Borough (641)                                                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Brooklyn Borough (642): Brooklyn 1911-1967
(369)                                                                Insurance Company of North America                        GLP 15 57 72      7/16/1966   7/16/1967    7/16/1966    7/16/1967



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Greater New York, Brooklyn Borough (642): Brooklyn 1911-1967
(369)                                                                  Insurance Company of North America                        GLP 15 57 72      7/16/1967   7/16/1968    7/16/1967    7/16/1968
Greater New York, Brooklyn Borough (642): Brooklyn 1911-1967
(369)                                                                  Insurance Company of North America                        GLP 15 57 72      7/16/1968   7/16/1969    7/16/1968    7/16/1969
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Brooklyn Borough (642): Greater New York,
Brooklyn Borough (642)                                                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Manhattan Borough (643): Greater New York,
Manhattan Borough (643)                                                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Queens Borough (644): Greater New York, Queens
Borough (644)                                                          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater New York, Staten Island Borough (645): Greater New York,
Staten Island Borough (645)                                            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater Niagara Frontier (380): Buffalo Area 1949-1967 (380)           Liberty Mutual Insurance Company                          Unknown            1/1/1958    1/1/1959     1/1/1958     1/1/1959
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   CNA                                                       59822227           2/7/1975    2/7/1976     2/7/1975     2/7/1976
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 53        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   CNA                                                       Unknown           2/19/1976   2/19/1977    2/19/1976    2/19/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            4/1/1976    4/1/1977     4/1/1976     4/1/1977
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220005         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            4/1/1977    4/1/1978     4/1/1977     4/1/1978
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Insurance Co. of America                            Unknown            1/1/1981    1/1/1982     1/1/1981     1/1/1982
Greater Niagara Frontier (380): Greater Niagara Frontier 1967- (380)   Royal Globe Insurance Company                             Unknown            1/1/1982    1/1/1983     1/1/1982     1/1/1983
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)            Insurance Company of North America                        SBL 45390          7/1/1966    7/1/1967     7/1/1966     7/1/1967
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)            Insurance Company of North America                        SBL 45390          7/1/1967    7/1/1968     7/1/1967     7/1/1968
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)            Insurance Company of North America                        SBL 45390          7/1/1968    4/1/1969     7/1/1968     4/1/1969




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Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Insurance Company of North America                        Unknown            4/1/1969    4/1/1970      4/1/1969     4/1/1970
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Insurance Company of North America                        Unknown            4/1/1970    4/1/1971      4/1/1970     4/1/1971
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Insurance Company of North America                        Unknown            4/1/1971    4/1/1972      4/1/1971     4/1/1972
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219963         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Cahokia Mound 1925-1991 (128)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219964         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Egyptian 1940-1994 (120)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Travelers Indemnity Company                               Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 14        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219960         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Lincoln Trails 1939-2018 (121)   Cincinnati Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 23 73        4/1/1965    4/1/1966      4/1/1965     4/1/1966
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 23 73        4/1/1966    4/1/1967      4/1/1966     4/1/1967
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 23 73        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 69 33        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 69 33        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 4 69 33        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        SBL 5 15 16        4/1/1971    4/1/1972      4/1/1971     4/1/1972
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Insurance Company of North America                        XBC 118599         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      INA Insurance Company of Illinois                         GLP 770115         1/1/1975   10/1/1975      1/1/1975    10/1/1975
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219956         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Okaw Valley 1965-2017 (116)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 28        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219974         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Piasa Bird 1930-1991 (112)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)      Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)      Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971




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Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Insurance Company of North America                        GLP 429908         4/1/1974    4/1/1975      4/1/1974     4/1/1975
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Insurance Company of North America                        GLP 43 02 89       4/1/1975    4/1/1976      4/1/1975     4/1/1976
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220166         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Saint Louis 1911-1995 (312)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Insurance Company of North America                        SBL 51306          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Insurance Company of North America                        SBL 51306          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Insurance Company of North America                        SBL 51306          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 11        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220161         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater St. Louis Area (312): Southeast Missouri 1930-1993 (305)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Insurance Company of North America                        SBL 46156         7/10/1969   7/10/1970    7/10/1969     7/10/1970
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Insurance Company of North America                        SBL 46177         7/10/1970   7/10/1971    7/10/1970     7/10/1971
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Insurance Company of North America                        Unknown           7/10/1971    7/1/1972    7/10/1971      7/1/1972
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 85        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               New Hampshire Insurance Company                           GLA 332345         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219933         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Gulf Ridge -2016 (086)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Greater Tampa Bay Area (089): Pinellas 1930-1970 (089)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219931         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Insurance Company of North America                        SBL 5 11 90        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Insurance Company of North America                        SBL 5 11 90        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Insurance Company of North America                        SBL 5 11 90        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   21 CBP 158051      1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   21 CBP 158051      1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   New Hampshire Insurance Company                           GLA 282407         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Tampa Bay Area (089): Pinellas Area 1970-1978 (089)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 29 91        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 29 91        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 29 91        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 22        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 02        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 22        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 02        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 22        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 4 69 02        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Insurance Company of North America                        SBL 5 15 17        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220266         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Central Wyoming 1918-2016 (638)        United States Fidelity and Guaranty Company               1CCA35720          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Wyoming (638): Greater Wyoming 2016- (638)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Forty-Niner 1957-1997 (052)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219904         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Insurance Company of North America                        SBL 50441         1/25/1969   1/25/1970    1/25/1969     1/25/1970
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Insurance Company of North America                        SBL 50441         1/25/1970   1/25/1971    1/25/1970     1/25/1971
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Insurance Company of North America                        SBL 50441         1/25/1971   1/25/1972    1/25/1971     1/25/1972
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/25/1972      1/1/1973
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/25/1972      1/1/1973
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Greater Yosemite (059): Yosemite Area 1922-1998 (059)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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                                                                                                                                                              Council       Council
              Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 40        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219888         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   New Hampshire Insurance Company                           GLA 301313         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   New Hampshire Insurance Company                           GLA 332339         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greater Yosemite (059): Yosemite Area 1922-1998 (059)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   American Fidelity Company                                 Unknown           6/30/1961    6/30/1962    6/30/1961     6/30/1962
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   American Fidelity & Casualty                              Unknown            1/1/1963     1/1/1964      1/1/1963     1/1/1964
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   New Hampshire Insurance Company                           BSA 600214         5/1/1963    11/1/1963      5/1/1963    11/1/1963
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   New Hampshire Insurance Company                           BSA 600215         5/1/1964    11/1/1964      5/1/1964    11/1/1964
Green Mountain (592): Calvin Coolidge 1936-1965 (747)   American Fidelity Company                                 Unknown           11/1/1964    11/1/1965    11/1/1964     11/1/1965
Green Mountain (592): Green Mountain 1929-1965 (593)    Globe Indemnity Company                                   GLH 955316       11/14/1955   11/14/1956   11/14/1955    11/14/1956
Green Mountain (592): Green Mountain 1929-1965 (593)    Allstate Insurance Company                                19 527 058         1/1/1956     1/1/1957      1/1/1956     1/1/1957
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SMC 70 89 26       5/2/1957     5/2/1958      5/2/1957     5/2/1958
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SOLT 73 72 50     5/28/1957    5/28/1958    5/28/1957     5/28/1958
Green Mountain (592): Green Mountain 1929-1965 (593)    Globe Indemnity Company                                   GLH 129332       11/14/1957   11/14/1958   11/14/1957    11/14/1958
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SMC 800871         5/2/1958     5/2/1959      5/2/1958     5/2/1959
Green Mountain (592): Green Mountain 1929-1965 (593)    New England Insurance Company                             SOLT 803705       5/28/1958    5/28/1959    5/28/1958     5/28/1959
Green Mountain (592): Green Mountain 1929-1965 (593)    Royal Indemnity Company                                   RLH308743         5/28/1959    5/28/1960    5/28/1959     5/28/1960
Green Mountain (592): Green Mountain 1929-1965 (593)    Royal Indemnity Company                                   RLH 313670        5/28/1960    5/28/1961    5/28/1960     5/28/1961
Green Mountain (592): Green Mountain 1929-1965 (593)    Royal Indemnity Company                                   RLH319122         5/28/1961    5/28/1962    5/28/1961     5/28/1962
Green Mountain (592): Green Mountain 1929-1965 (593)    American Fidelity & Casualty                              Unknown            4/1/1962     4/1/1963      4/1/1962     4/1/1963
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1974     5/1/1975      5/1/1974     5/1/1975
Green Mountain (592): Green Mountain 1972- (592)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1975     5/1/1976      5/1/1975     5/1/1976
Green Mountain (592): Green Mountain 1972- (592)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Green Mountain (592): Green Mountain 1972- (592)        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Green Mountain (592): Green Mountain 1972- (592)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 07        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1976     5/1/1977      5/1/1976     5/1/1977
Green Mountain (592): Green Mountain 1972- (592)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220229         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Green Mountain (592): Green Mountain 1972- (592)        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Green Mountain (592): Green Mountain 1972- (592)        New Hampshire Insurance Company                           Unknown            5/1/1977     1/1/1978      5/1/1977     1/1/1978
Green Mountain (592): Green Mountain 1972- (592)        General Accident                                          Unknown            1/1/1978     1/1/1979      1/1/1978     1/1/1979
Green Mountain (592): Green Mountain 1972- (592)        General Accident                                          Unknown            1/1/1979     1/1/1980      1/1/1979     1/1/1980
Green Mountain (592): Long Trail 1933-1972 (592)        Aetna Casualty and Surety Company                         09AL134423        6/25/1968    6/25/1969    6/25/1968     6/25/1969
Green Mountain (592): Long Trail 1933-1972 (592)        Aetna Casualty and Surety Company                         09AL137072        6/25/1969    6/25/1970    6/25/1969     6/25/1970
Green Mountain (592): Long Trail 1933-1972 (592)        Aetna Casualty and Surety Company                         9AL141700         6/25/1971    6/25/1972    6/25/1971     6/25/1972
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      7/1/1972     1/1/1973
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      7/1/1972     1/1/1973
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Greenwich (067): Greenwich (067)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greenwich (067): Greenwich (067)                        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greenwich (067): Greenwich (067)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 68        1/1/1976     1/1/1977      1/1/1976     1/1/1977




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             Current Council: Predecessor Council                             Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                          Start Date1   End Date
Greenwich (067): Greenwich (067)                     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Greenwich (067): Greenwich (067)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greenwich (067): Greenwich (067)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219916         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Greenwich (067): Greenwich (067)                     New Hampshire Insurance Company                           GLA210242          2/4/1977     2/4/1978      2/4/1977     2/4/1978
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gulf Coast (773): Gulf Coast (773)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 81        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Coast (773): Gulf Coast (773)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Coast (773): Gulf Coast (773)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Coast (773): Gulf Coast (773)                   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Coast (773): Gulf Coast (773)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219929         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Stream (085): Gulf Stream 1937-1995 (085)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Gulf Stream (085): Gulf Stream 1937-1995 (085)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Stream (085): Gulf Stream 1937-1995 (085)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 86        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Stream (085): Gulf Stream 1937-1995 (085)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Gulf Stream (085): Gulf Stream 1937-1995 (085)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Stream (085): Gulf Stream 1937-1995 (085)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219934         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Gulf Stream (085): Gulf Stream 1995- (085)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Fire Insurance Company                           39 CBP 109170    10/29/1970   10/29/1971   10/29/1970    10/29/1971
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Fire Insurance Company                           39 CBP 109170    10/29/1971   10/29/1972   10/29/1971    10/29/1972
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Fire Insurance Company                           39 CBP 109170    10/29/1972   10/29/1973   10/29/1972    10/29/1973
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          39 CBP 161610    10/29/1973   10/29/1974   10/29/1973    10/29/1974
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          39 CBP 161610    10/29/1974   10/29/1975   10/29/1974    10/29/1975
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          39 CBP 161610    10/29/1975   10/29/1976   10/29/1975    10/29/1976
Hawk Mountain (528): Hawk Mountain 1970- (528)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 45        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          44 CBP 448087    10/29/1976   10/29/1977   10/29/1976    10/29/1977
Hawk Mountain (528): Hawk Mountain 1970- (528)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220100         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawk Mountain (528): Hawk Mountain 1970- (528)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          44 CBP 448087    10/29/1977   10/29/1978   10/29/1977    10/29/1978
Hawk Mountain (528): Hawk Mountain 1970- (528)       Twin City Fire Insurance Company                          44 CBP 448087    10/29/1978   10/29/1979   10/29/1978    10/29/1979
Hawkeye Area (172): Hawkeye Area 1952- (172)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Hawkeye Area (172): Hawkeye Area 1952- (172)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawkeye Area (172): Hawkeye Area 1952- (172)         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawkeye Area (172): Hawkeye Area 1952- (172)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 40        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Hawkeye Area (172): Hawkeye Area 1952- (172)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219986         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawkeye Area (172): Hawkeye Area 1952- (172)         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Hawkeye Area (172): Hawkeye Area 1952- (172)         Crum & Forster                                            Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978




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              Current Council: Predecessor Council                                  Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                               Start Date1   End Date
Heart of America (307): Heart of America 1974- (307)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of America (307): Heart of America 1974- (307)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of America (307): Heart of America 1974- (307)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of America (307): Heart of America 1974- (307)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 47        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of America (307): Heart of America 1974- (307)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of America (307): Heart of America 1974- (307)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219995         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1969   5/14/1970    5/14/1969     5/14/1970
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1970   5/14/1971    5/14/1970     5/14/1971
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1971   5/14/1972    5/14/1971     5/14/1972
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/16/1972      1/1/1973
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/16/1972      1/1/1973
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        Unknown           5/14/1972   5/16/1972    5/14/1972     5/16/1972
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of America (307): Kansas City Area 1925-1974 (309)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of America (307): Kansas City Area 1925-1974 (309)   Insurance Company of North America                        GLP 42 40 26      6/18/1974   9/11/1974    6/18/1974     9/11/1974
Heart of New England (230): Mohegan 1955-2018 (254)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of New England (230): Mohegan 1955-2018 (254)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Mohegan 1955-2018 (254)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 85        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Mohegan 1955-2018 (254)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Mohegan 1955-2018 (254)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Mohegan 1955-2018 (254)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220136         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of New England (230): Monadnock 1924-1993 (232)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 73        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Monadnock 1924-1993 (232)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Monadnock 1924-1993 (232)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Monadnock 1924-1993 (232)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Monadnock 1924-1993 (232)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220123         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/30/1972      1/1/1973
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/30/1972      1/1/1973
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of New England (230): Nashua Valley -2018 (230)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Nashua Valley -2018 (230)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 76        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Nashua Valley -2018 (230)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of New England (230): Nashua Valley -2018 (230)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220126         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Nashua Valley -2018 (230)      New Hampshire Insurance Company                           SLP 448251         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of New England (230): Nashua Valley -2018 (230)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Heart of Virginia (602)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of Virginia (602): Heart of Virginia (602)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Heart of Virginia (602)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Heart of Virginia (602)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)     Insurance Company of North America                        CGL 20 87 40      5/27/1963   5/26/1964    5/27/1963     5/26/1964
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)     Insurance Company of North America                        Unknown           5/26/1964   5/26/1965    5/26/1964     5/26/1965




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Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1965   5/26/1966    5/26/1965     5/26/1966
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1966   5/26/1967    5/26/1966     5/26/1967
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1967   5/26/1968    5/26/1967     5/26/1968
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1968   5/26/1969    5/26/1968     5/26/1969
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown           5/26/1969    1/1/1970    5/26/1969      1/1/1970
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 461031        5/27/1973   5/27/1974    5/27/1973     5/27/1974
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Mutual Fire, Marine and Inland Insurance Company (The)    Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 461031        5/27/1974   5/27/1975    5/27/1974     5/27/1975
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   North River Insurance Company                             Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 461031        5/27/1975   5/26/1976    5/27/1975     5/26/1976
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 12        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   North River Insurance Company                             Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        GLP 64 71 57      5/27/1976   5/27/1977    5/27/1976     5/27/1977
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   North River Insurance Company                             Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220233         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/1998    6/9/1999      6/9/1998     6/9/1999
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/1999    6/9/2000      6/9/1999     6/9/2000
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/2000    6/9/2001      6/9/2000     6/9/2001
Heart of Virginia (602): Robert E. Lee 1953-2003 (602)   Hartford Casualty Insurance Company                       14 UUC CZ6576      6/9/2001    6/9/2002      6/9/2001     6/9/2002
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          736 CBP 109458     4/1/1973    4/1/1974      4/1/1973     4/1/1974
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          736 CBP 109458     4/1/1974    4/1/1975      4/1/1974     4/1/1975
Hoosier Trails (145): Hoosier Trails 1973- (145)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          736 CBP 109458     4/1/1975    4/1/1976      4/1/1975     4/1/1976
Hoosier Trails (145): Hoosier Trails 1973- (145)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 29        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          36 CBP 185443      4/1/1976    4/1/1977      4/1/1976     4/1/1977
Hoosier Trails (145): Hoosier Trails 1973- (145)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hoosier Trails (145): Hoosier Trails 1973- (145)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219975         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          36 CBP 185443      4/1/1977    4/1/1978      4/1/1977     4/1/1978
Hoosier Trails (145): Hoosier Trails 1973- (145)         Twin City Fire Insurance Company                          36 CBP 185443      4/1/1978    4/1/1979      4/1/1978     4/1/1979
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL-4-10-75       2/27/1966   2/27/1967    2/27/1966     2/27/1967
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL-4-67-26       2/27/1967   2/27/1968    2/27/1967     2/27/1968
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL 46763         2/27/1969   2/27/1970    2/27/1969     2/27/1970
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL 46763         2/27/1970   2/27/1971    2/27/1970     2/27/1971
Hoosier Trails (145): White River Area 1927-1973 (145)   Insurance Company of North America                        SBL 4 67 96       2/27/1971   2/27/1972    2/27/1971     2/27/1972
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 29 88        5/1/1965    5/1/1966      5/1/1965     5/1/1966
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 29 88        5/1/1966    5/1/1967      5/1/1966     5/1/1967
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 29 88        5/1/1967    5/1/1968      5/1/1967     5/1/1968
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 69 43        5/1/1968    5/1/1969      5/1/1968     5/1/1969
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 69 43        5/1/1969    5/1/1970      5/1/1969     5/1/1970
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 4 69 43        5/1/1970    5/1/1971      5/1/1970     5/1/1971
Housatonic (069): Housatonic (069)                       Insurance Company of North America                        SBL 51537          5/1/1971    5/1/1972      5/1/1971     5/1/1972
Housatonic (069): Housatonic (069)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Housatonic (069): Housatonic (069)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973




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Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Housatonic (069): Housatonic (069)                     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Housatonic (069): Housatonic (069)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Housatonic (069): Housatonic (069)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Housatonic (069): Housatonic (069)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219915         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Housatonic (069): Housatonic (069)                     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        GAL-40332         3/24/1968   3/24/1969    3/24/1968     3/24/1969
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        GAL-8-46-50       3/24/1969   3/24/1970    3/24/1969     3/24/1970
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        GAL-8-61-59       3/24/1970   3/24/1971    3/24/1970     3/24/1971
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1971   3/24/1972    3/24/1971     3/24/1972
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1972   3/24/1973    3/24/1972     3/24/1973
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1973   3/24/1974    3/24/1973     3/24/1974
Hudson Valley (374): Dutchess County 1919-1996 (374)   Insurance Company of North America                        Unknown           3/24/1974    1/1/1975    3/24/1974      1/1/1975
Hudson Valley (374): Dutchess County 1919-1996 (374)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Dutchess County 1919-1996 (374)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Dutchess County 1919-1996 (374)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Dutchess County 1919-1996 (374)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Dutchess County 1919-1996 (374)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220014         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Dutchess County 1919-1996 (374)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        XBC 83413         6/27/1973   6/27/1974    6/27/1973     6/27/1974
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        Unknown           6/27/1973   6/27/1974    6/27/1973     6/27/1974
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        Unknown           6/27/1974    1/1/1975    6/27/1974      1/1/1975
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        XBC 83413         6/27/1974   6/27/1975    6/27/1974     6/27/1975
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Insurance Company of North America                        XBC 83413         6/27/1975   6/27/1976    6/27/1975     6/27/1976
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220020         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Hudson-Delaware 1958-1996 (392)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973   12/16/1972      1/1/1973
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973   12/16/1972      1/1/1973
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Hudson Valley (374): Rockland County 1924-1996 (683)   Fireman’s Fund Insurance Company                          L6644883           1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Rockland County 1924-1996 (683)   Fireman’s Fund Insurance Company                          LX2667007          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Hudson Valley (374): Rockland County 1924-1996 (683)   Fireman’s Fund Insurance Company                          Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 75        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Hudson Valley (374): Rockland County 1924-1996 (683)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220028         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   New Hampshire Insurance Company                           GLA 282494        5/10/1977   5/10/1978    5/10/1977     5/10/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   New Hampshire Insurance Company                           SLP 275625        5/20/1977   5/20/1978    5/20/1977     5/20/1978
Hudson Valley (374): Rockland County 1924-1996 (683)   New Hampshire Insurance Company                           GLA 282494        5/10/1978   5/20/1978    5/10/1978     5/20/1978




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Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 4 78 99        6/1/1967   5/31/1968      6/1/1967    5/31/1968
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 47934          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 52104          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SBL 52123          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        SB 52145           6/1/1971    6/1/1972      6/1/1971     6/1/1972
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 12 73 95       6/1/1972   12/1/1972      6/1/1972    12/1/1972
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        XBC 10 19 73      12/1/1972    6/1/1973    12/1/1972      6/1/1973
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 12 73 95      12/1/1972    6/1/1973    12/1/1972      6/1/1973
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 21 38 79       6/1/1973    6/1/1974      6/1/1973     6/1/1974
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        XBC 10 20 50       6/1/1973    6/1/1974      6/1/1973     6/1/1974
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        XBC 10 21 77       6/1/1974    6/1/1975      6/1/1974     6/1/1975
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 21 50 78       6/1/1974    6/1/1975      6/1/1974     6/1/1975
Illowa (133): Illowa 1967- (133)                              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 32 96 17       6/1/1975    6/1/1976      6/1/1975     6/1/1976
Illowa (133): Illowa 1967- (133)                              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        GAL 34 36 68       6/1/1976    6/1/1977      6/1/1976     6/1/1977
Illowa (133): Illowa 1967- (133)                              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Illowa 1967- (133)                              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219984         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Illowa 1967- (133)                              Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 29 95       3/25/1965   3/25/1966    3/25/1965     3/25/1966
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 29 95       3/25/1966   3/25/1967    3/25/1966     3/25/1967
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 29 95       3/25/1967   3/25/1968    3/25/1967     3/25/1968
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 69 13       3/25/1968   3/25/1969    3/25/1968     3/25/1969
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 69 13       3/25/1969   3/25/1970    3/25/1969     3/25/1970
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 4 69 13       3/25/1970   3/25/1971    3/25/1970     3/25/1971
Illowa (133): Prairie 1941-1993 (125)                         Insurance Company of North America                        SBL 5 14 95       3/25/1971   3/25/1972    3/25/1971     3/25/1972
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/25/1972      1/1/1973
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/25/1972      1/1/1973
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Illowa (133): Prairie 1941-1993 (125)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 15        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Prairie 1941-1993 (125)                         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Prairie 1941-1993 (125)                         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Illowa (133): Prairie 1941-1993 (125)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219961         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Prairie 1941-1993 (125)                         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Illowa (133): Sac-Fox 1959-1967 (134)                         Insurance Company of North America                        ABL 2 49 69        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Illowa (133): Sac-Fox 1959-1967 (134)                         Insurance Company of North America                        SBL-2-50-18        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Illowa (133): Sac-Fox 1959-1967 (134)                         Insurance Company of North America                        SBL-2-50-18        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220079         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Nations (488): Eastern Oklahoma Area 1949-1983 (478)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Nations (488): Indian Nations 1957- (488)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Indian Nations (488): Indian Nations 1957- (488)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Indian Nations 1957- (488)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Indian Nations 1957- (488)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Nations (488): Indian Nations 1957- (488)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220078         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Nations (488): Indian Nations 1957- (488)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Indian Waters (553): Central South Carolina 1929-1978 (553)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Waters (553): Central South Carolina 1929-1978 (553)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Waters (553): Central South Carolina 1929-1978 (553)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Indian Waters (553): Central South Carolina 1929-1978 (553)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Indian Waters (553): Central South Carolina 1929-1978 (553)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220279         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 4 53 57       6/21/1965   6/21/1966    6/21/1965     6/21/1966
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 4 53 57       6/21/1966   6/21/1967    6/21/1966     6/21/1967
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 4 53 57       6/21/1967   6/20/1968    6/21/1967     6/20/1968
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 50408         6/21/1968   6/21/1969    6/21/1968     6/21/1969
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 50408         6/21/1969   6/21/1970    6/21/1969     6/21/1970
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 50408         6/21/1970   6/21/1971    6/21/1970     6/21/1971
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Insurance Company of North America                        SBL 51572         6/21/1971   6/21/1972    6/21/1971     6/21/1972
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/21/1972      1/1/1973
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 03        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Idaho Panhandle 1928-1992 (110)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219950         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)         Indemnity Insurance Company of North America              Unknown           6/30/1961   6/30/1962    6/30/1961     6/30/1962
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P100-747          6/10/1967   6/10/1968    6/10/1967     6/10/1968
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC-24884         3/14/1968   3/14/1969    3/14/1968     3/14/1969
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P100-747          6/10/1968   6/10/1969    6/10/1968     6/10/1969
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC-24884         3/14/1969   3/14/1970    3/14/1969     3/14/1970
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P100-747          6/10/1969   6/10/1970    6/10/1969     6/10/1970
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC-24884         3/14/1970   3/14/1971    3/14/1970     3/14/1971
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P101 760          6/10/1970   6/10/1971    6/10/1970     6/10/1971
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P101 760          6/10/1971   6/10/1972    6/10/1971     6/10/1972
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC 8 85 08       6/10/1971   6/10/1972    6/10/1971     6/10/1972
Inland Northwest (611): Inland Empire 1931-1987 (611)         Western Casualty & Surety Company                         P101 760          6/10/1972   6/10/1973    6/10/1972     6/10/1973
Inland Northwest (611): Inland Empire 1931-1987 (611)         Insurance Company of North America                        XBC 8 89 86       6/10/1972   5/29/1973    6/10/1972     5/29/1973
Inland Northwest (611): Inland Empire 1931-1987 (611)         St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Inland Northwest (611): Inland Empire 1931-1987 (611)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Inland Empire 1931-1987 (611)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            4/3/1976    4/3/1977      4/3/1976     4/3/1977
Inland Northwest (611): Inland Empire 1931-1987 (611)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220244         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            4/3/1977    4/3/1978      4/3/1977     4/3/1978
Inland Northwest (611): Inland Empire 1931-1987 (611)   St. Paul Fire and Marine Insurance Company                Unknown            4/3/1978    4/3/1979      4/3/1978     4/3/1979
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 05        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Inland Northwest (611): Lewis-Clark 1945-1992 (108)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219952         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Genesee 1925-1994 (367)           Insurance Company of North America                        XBC 81983         11/1/1973   11/1/1974    11/1/1973     11/1/1974
Iroquois Trail (376): Genesee 1925-1994 (367)           Insurance Company of North America                        XBC 81983         11/1/1974   11/1/1975    11/1/1974     11/1/1975
Iroquois Trail (376): Genesee 1925-1994 (367)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Iroquois Trail (376): Genesee 1925-1994 (367)           Insurance Company of North America                        XBC 81983         11/1/1975    1/1/1976    11/1/1975      1/1/1976
Iroquois Trail (376): Genesee 1925-1994 (367)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Genesee 1925-1994 (367)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Genesee 1925-1994 (367)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Genesee 1925-1994 (367)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Genesee 1925-1994 (367)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220002         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32 C 715130        1/1/1975    1/1/1976      1/1/1975     1/1/1976
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32 HU 360257      3/10/1975    4/8/1975    3/10/1975      4/8/1975
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32 HU 360257       4/8/1975    1/1/1976      4/8/1975     1/1/1976
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 64        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220017         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    Hartford Accident and Indemnity Company                   32C719701          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Iroquois Trail (376): Lewiston Trail 1937-1994 (385)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Istrouma Area (211): Istrouma Area (211)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Istrouma Area (211): Istrouma Area (211)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Istrouma Area (211): Istrouma Area (211)                American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Istrouma Area (211): Istrouma Area (211)                American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Istrouma Area (211): Istrouma Area (211)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220105         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL-2-80-78       11/1/1966   11/1/1967    11/1/1966     11/1/1967




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Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL-2-80-83       11/1/1967   11/1/1968    11/1/1967     11/1/1968
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL 28094         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL 50855         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        SBL 50861         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jayhawk Area (197): Jayhawk Area (197)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jayhawk Area (197): Jayhawk Area (197)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219997         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1978    1/1/1979      1/1/1978     1/1/1979
Jayhawk Area (197): Jayhawk Area (197)                  Insurance Company of North America                        Unknown            1/1/1979    1/1/1980      1/1/1979     1/1/1980
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Insurance Company of North America                        SBL 50022          5/6/1970    5/6/1971      5/6/1970     5/6/1971
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Insurance Company of North America                        SBL 50088          5/6/1971    5/6/1972      5/6/1971     5/6/1972
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/5/1972     1/1/1973
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/5/1972     1/1/1973
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jersey Shore (341): Atlantic Area 1926-1992 (331)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Ambassador Insurance Company                              GLA 332372         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Atlantic Area 1926-1992 (331)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220177         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Atlantic Area 1926-1992 (331)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Atlantic Area 1926-1992 (331)       Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Ocean County 1940-1993 (341)        Insurance Company of North America                        SBL 50087         5/11/1971   5/11/1972    5/11/1971     5/11/1972
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/11/1972      1/1/1973
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/11/1972      1/1/1973
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Jersey Shore (341): Ocean County 1940-1993 (341)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Ocean County 1940-1993 (341)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 38        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Ocean County 1940-1993 (341)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Jersey Shore (341): Ocean County 1940-1993 (341)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Jersey Shore (341): Ocean County 1940-1993 (341)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220189         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Juniata Valley (497): Juniata Valley (497)              Insurance Company of North America                        SBL 45396         2/22/1967   2/22/1968    2/22/1967     2/22/1968




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              Current Council: Predecessor Council                              Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                            Start Date1   End Date
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        SBL 45396         2/22/1968    2/22/1969    2/22/1968     2/22/1969
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        SBL 45396         2/22/1969    2/22/1970    2/22/1969     2/22/1970
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        Unknown           2/22/1970    2/22/1971    2/22/1970     2/22/1971
Juniata Valley (497): Juniata Valley (497)             Insurance Company of North America                        Unknown           2/22/1971    2/22/1972    2/22/1971     2/22/1972
Juniata Valley (497): Juniata Valley (497)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Juniata Valley (497): Juniata Valley (497)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 40        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Juniata Valley (497): Juniata Valley (497)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Juniata Valley (497): Juniata Valley (497)             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Juniata Valley (497): Juniata Valley (497)             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Juniata Valley (497): Juniata Valley (497)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220095         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Katahdin Area (216): Katahdin Area 1929-1996 (216)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Katahdin Area (216): Katahdin Area 1929-1996 (216)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Katahdin Area (216): Katahdin Area 1929-1996 (216)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 63        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Katahdin Area (216): Katahdin Area 1929-1996 (216)     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Katahdin Area (216): Katahdin Area 1929-1996 (216)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220111         1/1/1977     1/1/1978      1/1/1977     1/1/1978
La Salle (165): Northern Indiana 1973-1991 (165)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
La Salle (165): Northern Indiana 1973-1991 (165)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 36        1/1/1976     1/1/1977      1/1/1976     1/1/1977
La Salle (165): Northern Indiana 1973-1991 (165)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
La Salle (165): Northern Indiana 1973-1991 (165)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
La Salle (165): Northern Indiana 1973-1991 (165)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219982         1/1/1977     1/1/1978      1/1/1977     1/1/1978
La Salle (165): Northern Indiana 1973-1991 (165)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 4 53 65       7/15/1965    7/15/1966    7/15/1965     7/15/1966
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 4 53 65       7/15/1966    7/15/1967    7/15/1966     7/15/1967
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 4 53 65       7/15/1967    7/15/1968    7/15/1967     7/15/1968
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 5 04 14       7/15/1968    7/15/1969    7/15/1968     7/15/1969
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL-4-67-66      12/29/1968   12/29/1969   12/29/1968    12/29/1969
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 5 04 14       7/15/1969    7/15/1970    7/15/1969     7/15/1970
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        Unknown          12/29/1969   12/29/1970   12/29/1969    12/29/1970
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        SBL 5 04 14       7/15/1970    7/15/1971    7/15/1970     7/15/1971
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        Unknown          12/29/1970   12/29/1971   12/29/1970    12/29/1971
La Salle (165): Pioneer Trails 1935-1972 (155)         Insurance Company of North America                        Unknown          12/29/1971   12/29/1972   12/29/1971    12/29/1972
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL-4-67-21       2/26/1967    2/26/1968    2/26/1967     2/26/1968
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL-4-67-50       2/26/1968    2/26/1969    2/26/1968     2/26/1969
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL 50451         2/26/1969    2/26/1970    2/26/1969     2/26/1970
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL 50451         2/26/1970    2/26/1971    2/26/1970     2/26/1971
La Salle (165): Pottawattomie 1926-1972 (731)          Insurance Company of North America                        SBL 50451         2/26/1971    2/26/1972    2/26/1971     2/26/1972
La Salle (165): Pottawattomie 1926-1972 (731)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    2/26/1972     2/26/1972
La Salle (165): Pottawattomie 1926-1972 (731)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    2/26/1972     2/26/1972
Lake Erie (440): Firelands Area 1925-1994 (458)        American States Insurance Company                         CL 220-020         1/1/1970     1/1/1971      1/1/1970     1/1/1971
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      4/1/1972     1/1/1973
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Firelands Area 1925-1994 (458)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974




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                                                                                                                                                             Start Date1   End Date
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Firelands Area 1925-1994 (458)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Firelands Area 1925-1994 (458)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 10        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Firelands Area 1925-1994 (458)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Firelands Area 1925-1994 (458)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Firelands Area 1925-1994 (458)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220063         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1947    1/1/1948      1/1/1947     1/1/1948
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1948    1/1/1949      1/1/1948     1/1/1949
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1949    1/1/1950      1/1/1949     1/1/1950
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1950    1/1/1951      1/1/1950     1/1/1951
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1951    1/1/1952      1/1/1951     1/1/1952
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1952    1/1/1953      1/1/1952     1/1/1953
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1953    1/1/1954      1/1/1953     1/1/1954
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1954    1/1/1955      1/1/1954     1/1/1955
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1955    1/1/1956      1/1/1955     1/1/1956
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1956    1/1/1957      1/1/1956     1/1/1957
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Lake Erie (440): Greater Cleveland -2017 (440)           Indemnity Insurance Company of North America              Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        ALB 46445         6/28/1967   6/27/1968    6/28/1967     6/27/1968
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        ALB 46445         6/28/1968   6/28/1969    6/28/1968     6/28/1969
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        ALB 46445         6/28/1969   6/28/1970    6/28/1969     6/28/1970
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        SBL 51942         6/28/1970   6/28/1971    6/28/1970     6/28/1971
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        SBL 51942         6/28/1971   6/27/1972    6/28/1971     6/27/1972
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        SBL 51942         6/28/1972   6/28/1973    6/28/1972     6/28/1973
Lake Erie (440): Greater Cleveland -2017 (440)           Insurance Company of North America                        Unknown           6/28/1973   6/28/1974    6/28/1973     6/28/1974
Lake Erie (440): Greater Cleveland -2017 (440)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Greater Cleveland -2017 (440)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 98        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Greater Cleveland -2017 (440)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Greater Cleveland -2017 (440)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Greater Cleveland -2017 (440)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220051         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Greater Cleveland -2017 (440)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    1/31/1973      1/1/1974
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Harding Area 1926-1994 (443)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Harding Area 1926-1994 (443)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 05        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Harding Area 1926-1994 (443)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Harding Area 1926-1994 (443)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220058         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Harding Area 1926-1994 (443)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL-4-64-52        1/22/1967    1/22/1968    1/22/1967     1/22/1968
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL-4-64-74        1/22/1968    1/22/1969    1/22/1968     1/22/1969
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL-5-19-01        1/22/1969    1/22/1970    1/22/1969     1/22/1970
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL 5 19 33        1/22/1970    1/22/1971    1/22/1970     1/22/1971
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        XUA 37 25          1/22/1971    1/22/1972    1/22/1971     1/22/1972
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Insurance Company of North America                        SBL 5 19 58        1/22/1971    1/22/1972    1/22/1971     1/22/1972
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972     1/1/1973    1/22/1972      1/1/1973
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43303           1/1/1972     1/1/1973    1/22/1972      1/1/1973
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43329           1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 04         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220057          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Buckeye Union Insurance Company                           CBP C6051512-92    1/22/1992    1/22/1993    1/22/1992     1/22/1993
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Continental Insurance Company                             CBP C6051512-93    1/22/1993    1/22/1994    1/22/1993     1/22/1994
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Buckeye Union Insurance Company                           CBP C6051512-95    1/22/1994    1/22/1995    1/22/1994     1/22/1995
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Buckeye Union Insurance Company                           CBP C6051512-96    1/22/1995    1/22/1996    1/22/1995     1/22/1996
Lake Erie (440): Johnny Appleseed Area 1926-1994 (453)   Continental Insurance Company                             CBP C6051512       1/22/1996    1/22/1997    1/22/1996     1/22/1997
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Insurance Company of North America                        SBL 51318          2/17/1970    2/17/1971    2/17/1970     2/17/1971
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Insurance Company of North America                        SBL 51318          2/17/1971    2/17/1972    2/17/1971     2/17/1972
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Insurance Company of North America                        SBL 51318          2/17/1972    2/17/1973    2/17/1972     2/17/1973
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 22         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220174          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Las Vegas Area (328): Boulder Dam Area 1944-2005 (328)   New Hampshire Insurance Company                           GLA 332393          2/1/1977     2/1/1978      2/1/1977     2/1/1978
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974    5/14/1973      1/1/1974
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974    5/14/1973      1/1/1974
Last Frontier (480): Black Beaver 1930-1996 (471)        U.S. Fire Insurance Company                               DCL 72 60 41      12/31/1974   12/31/1975   12/31/1974    12/31/1975
Last Frontier (480): Black Beaver 1930-1996 (471)        Westchester Fire Insurance Company                        Unknown           12/31/1974   12/31/1975   12/31/1974    12/31/1975
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Last Frontier (480): Black Beaver 1930-1996 (471)        Westchester Fire Insurance Company                        Unknown           12/31/1975   12/30/1976   12/31/1975    12/30/1976
Last Frontier (480): Black Beaver 1930-1996 (471)        U.S. Fire Insurance Company                               DCL 72 60 41      12/31/1975   12/31/1976   12/31/1975    12/31/1976
Last Frontier (480): Black Beaver 1930-1996 (471)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 21         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        Westchester Fire Insurance Company                        Unknown           12/31/1976   12/31/1977   12/31/1976    12/31/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        U.S. Fire Insurance Company                               DCL 72 60 41      12/31/1976   12/31/1977   12/31/1976    12/31/1977
Last Frontier (480): Black Beaver 1930-1996 (471)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220075          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Last Frontier (480): Black Beaver 1930-1996 (471)        American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Last Frontier (480): Last Frontier 1939- (480)           Insurance Company of North America                        Unknown             1/1/1964     1/1/1965      1/1/1964     1/1/1965
Last Frontier (480): Last Frontier 1939- (480)           Insurance Company of North America                        Unknown             1/1/1965     1/1/1966      1/1/1965     1/1/1966
Last Frontier (480): Last Frontier 1939- (480)           Insurance Company of North America                        Unknown             1/1/1966     1/1/1967      1/1/1966     1/1/1967




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Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1967    1/1/1968      1/1/1967     1/1/1968
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1968    1/1/1969      1/1/1968     1/1/1969
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1969    1/1/1970      1/1/1969     1/1/1970
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1970    1/1/1971      1/1/1970     1/1/1971
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1971    1/1/1972      1/1/1971     1/1/1972
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1972    1/1/1973      1/1/1972     1/1/1973
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1973    1/1/1974      1/1/1973     1/1/1974
Last Frontier (480): Last Frontier 1939- (480)             Insurance Company of North America                        Unknown               1/1/1974    1/1/1975      1/1/1974     1/1/1975
Last Frontier (480): Last Frontier 1939- (480)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 23           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Last Frontier (480): Last Frontier 1939- (480)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220076            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Allegheny 1921-1967 (527)          Insurance Company of North America                        SBL 43224             7/1/1967    1/1/1968      7/1/1967     1/1/1968
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL 4 32 55           1/1/1968    1/1/1969      1/1/1968     1/1/1969
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL43276              1/1/1969    1/1/1970      1/1/1969     1/1/1970
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL 43295             1/1/1970    1/1/1971      1/1/1970     1/1/1971
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        SBL 52313             1/1/1971    1/1/1972      1/1/1971     1/1/1972
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        GAL120157             1/1/1972    1/1/1973      1/1/1972     1/1/1973
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Insurance Company of North America                        GLP 40 87 78          1/1/1973   5/31/1973      1/1/1973    5/31/1973
                                                                                                                     650-668A711-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND                   1/1/1973    1/1/1974     1/1/1973     1/1/1974
                                                                                                                     650-668A711-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND                   1/1/1974    1/1/1975     1/1/1974     1/1/1975
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               CUP-950A149-4         1/1/1974    1/1/1975     1/1/1974     1/1/1975
                                                                                                                     650    951A373-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND-75                1/1/1975    1/1/1976     1/1/1975     1/1/1976
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               CUP-950A149-5         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 43           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
                                                                                                                     650    951A373-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND-76                1/1/1976    1/1/1977     1/1/1976     1/1/1977
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978     1/1/1977     1/1/1978
                                                                                                                     650-951A373-3-
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   Travelers Indemnity Company                               IND-77                1/1/1977    1/1/1978     1/1/1977     1/1/1978
Laurel Highlands (527): Allegheny Trails 1967-1993 (527)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220098            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 29 60           3/1/1965    3/1/1966     3/1/1965     3/1/1966
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 29 60           3/1/1966    3/1/1967     3/1/1966     3/1/1967
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 29 60           3/1/1967    3/1/1968     3/1/1967     3/1/1968
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 69 20           3/1/1968    3/1/1969     3/1/1968     3/1/1969
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 69 20           3/1/1969    3/1/1970     3/1/1969     3/1/1970
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 46910             3/1/1970    3/1/1971     3/1/1970     3/1/1971
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 4 69 20           3/1/1970    3/1/1971     3/1/1970     3/1/1971
Laurel Highlands (527): Blair-Bedford 1929-1970 (496)      Insurance Company of North America                        SBL 51496             3/1/1971    3/1/1972     3/1/1971     3/1/1972
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL-4-32-15           1/1/1967    1/1/1968     1/1/1967     1/1/1968
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL 4 32 56           1/1/1968    1/1/1969     1/1/1968     1/1/1969
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL 4 32 78           1/1/1969    1/1/1970     1/1/1969     1/1/1970
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        SBL 52311             1/1/1971    1/1/1972     1/1/1971     1/1/1972
Laurel Highlands (527): East Boroughs 1921-1973 (540)      Insurance Company of North America                        GAL 12 01 58          1/1/1972    1/1/1973     1/1/1972     1/1/1973
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        GAL 11 71 47          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        GLP 408779            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                         XBC 8 63 64          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        GAL 20 60 95          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Laurel Highlands (527): East Valley Area 1973-1993 (530)   Insurance Company of North America                        XBC 110662            1/1/1974    1/1/1975     1/1/1974     1/1/1975



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Laurel Highlands (527): East Valley Area 1973-1993 (530)     Insurance Company of North America                        GAL 20 63 77       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 41        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Insurance Company of North America                        GAL 32 85 17       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): East Valley Area 1973-1993 (530)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): East Valley Area 1973-1993 (530)     Insurance Company of North America                        GAL 33 71 19       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): East Valley Area 1973-1993 (530)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220096         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        SBL-4-32-57        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Laurel Highlands (527): Monongahela Valley 1952-1971 (516)   Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Laurel Highlands (527): Mon-Yough 1971-1973 (523)            Insurance Company of North America                        GAL 12 01 59       1/1/1972    1/1/1973      1/1/1972     1/1/1973
Laurel Highlands (527): Nemacolin Trails 1964-1967 (720)     Insurance Company of North America                        SBL 45382          4/1/1966    4/1/1967      4/1/1966     4/1/1967
Laurel Highlands (527): Nemacolin Trails 1964-1967 (720)     Insurance Company of North America                        SBL 45382          4/1/1967   6/15/1967      4/1/1967    6/15/1967
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Insurance Company of North America                        SBL 5 15 22       2/16/1971   2/16/1972    2/16/1971     2/16/1972
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/16/1972      1/1/1973
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/16/1972      1/1/1973
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Penn's Woods 1970-1992 (508)         National Surety Corporation                               Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 52        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220274         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Penn's Woods 1970-2011 (508)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 109015      6/1/1972    6/1/1973      6/1/1972     6/1/1973
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 109015      6/1/1973    6/1/1974      6/1/1973     6/1/1974
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 109015      6/1/1974    6/1/1975      6/1/1974     6/1/1975
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 115715      6/1/1975    6/1/1976      6/1/1975     6/1/1976
Laurel Highlands (527): Potomac 1938-2014 (757)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 66        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 115715      6/1/1976    6/1/1977      6/1/1976     6/1/1977
Laurel Highlands (527): Potomac 1938-2014 (757)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220114         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Potomac 1938-2014 (757)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Laurel Highlands (527): Potomac 1938-2014 (757)              Hartford Accident and Indemnity Company                   30 CBP 115715      6/1/1977    6/1/1978      6/1/1977     6/1/1978
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): General Herkimer -2001 (400)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Leatherstocking (400): General Herkimer -2001 (400)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): General Herkimer -2001 (400)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): General Herkimer -2001 (400)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): General Herkimer -2001 (400)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 60        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): General Herkimer -2001 (400)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): General Herkimer -2001 (400)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220013         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Iroquois 1969-1981 (395)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): Iroquois 1969-1981 (395)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Iroquois 1969-1981 (395)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 72        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Iroquois 1969-1981 (395)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Iroquois 1969-1981 (395)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Iroquois 1969-1981 (395)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220025         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): Otschodela 1927-2016 (393)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 69        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Otschodela 1927-2016 (393)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Otschodela 1927-2016 (393)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Otschodela 1927-2016 (393)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220022         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Otschodela 1927-2016 (393)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        GA048921           1/1/1967    1/1/1968      1/1/1967     1/1/1968
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 77        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Leatherstocking (400): Upper Mohawk 1937-1981 (406)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220030         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL xxxx6          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 44476          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 5 11 78        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 5 11 78        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Lincoln Heritage (205): Audubon 1952-1994 (200)       Insurance Company of North America                        SBL 5 11 78        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): Audubon 1952-1994 (200)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Audubon 1952-1994 (200)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 53        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Lincoln Heritage (205): Audubon 1952-1994 (200)                    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Audubon 1952-1994 (200)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Audubon 1952-1994 (200)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220101         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Audubon 1952-1994 (200)                    American Home Assurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Audubon 1952-1994 (200)                    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44415          5/7/1965     5/7/1966      5/7/1965     5/7/1966
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44415          5/7/1966     5/7/1967      5/7/1966     5/7/1967
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44415          5/7/1967     5/7/1968      5/7/1967     5/7/1968
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44478          5/7/1968     5/7/1969      5/7/1968     5/7/1969
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44478          5/7/1969     5/7/1970      5/7/1969     5/7/1970
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        SBL 44478          5/7/1970     5/7/1971      5/7/1970     5/7/1971
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        Unknown            5/7/1971     5/7/1972      5/7/1971     5/7/1972
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Insurance Company of North America                        Unknown            5/7/1972     1/1/1973      5/7/1972     1/1/1973
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 54        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Four Rivers 1940-1994 (207)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1220102         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Insurance Company of North America                        SBL 5 04 28      11/19/1968   11/19/1969   11/19/1968    11/19/1969
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Insurance Company of North America                        SBL 5 04 28      11/19/1969   11/19/1970   11/19/1969    11/19/1970
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Insurance Company of North America                        SBL 5 04 28      11/19/1970   11/19/1971   11/19/1970    11/19/1971
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 35        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219981         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): George Rogers Clark Area 1927-1993 (143)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Travelers Insurance Company                               Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Travelers Insurance Company                               Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 52        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          Travelers Insurance Company                               Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Lincoln Heritage (205): Old Kentucky Home 1954-1993 (205)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220000         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1955   12/21/1956   12/22/1955    12/21/1956
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1956   12/22/1957   12/22/1956    12/22/1957
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1957   12/22/1958   12/22/1957    12/22/1958
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1958   12/22/1959   12/22/1958    12/22/1959
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1959   12/22/1960   12/22/1959    12/22/1960
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1960   12/22/1961   12/22/1960    12/22/1961
Long Beach Area (032): Long Beach Area (032)                       General Accident                                          Unknown          12/22/1961     1/1/1962   12/22/1961      1/1/1962




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Long Beach Area (032): Long Beach Area (032)          General Accident                                          Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Long Beach Area (032): Long Beach Area (032)          General Accident                                          Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 42932          4/1/1965    4/1/1966      4/1/1965     4/1/1966
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 42932          4/1/1966    4/1/1967      4/1/1966     4/1/1967
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 42932          4/1/1967    4/1/1968      4/1/1967     4/1/1968
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 46936          4/1/1968    4/1/1969      4/1/1968     4/1/1969
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 46936          4/1/1969    4/1/1970      4/1/1969     4/1/1970
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 46936          4/1/1970    4/1/1971      4/1/1970     4/1/1971
Long Beach Area (032): Long Beach Area (032)          Insurance Company of North America                        SBL 51508          4/1/1971    4/1/1972      4/1/1971     4/1/1972
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Long Beach Area (032): Long Beach Area (032)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Long Beach Area (032): Long Beach Area (032)          New Hampshire Insurance Company                           GLA 332346         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Long Beach Area (032): Long Beach Area (032)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219885         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Long Beach Area (032): Long Beach Area (032)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Heart O' Texas 1929-2001 (662)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Longhorn (662): Heart O' Texas 1929-2001 (662)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Heart O' Texas 1929-2001 (662)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Heart O' Texas 1929-2001 (662)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Heart O' Texas 1929-2001 (662)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220222         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Heart O' Texas 1929-2001 (662)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1961   7/27/1962    7/27/1961     7/27/1962
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1962   7/27/1963    7/27/1962     7/27/1963
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1963   7/27/1964    7/27/1963     7/27/1964
Longhorn (662): Longhorn -2001 (582)                  Hartford Fire Insurance Company                           Unknown           7/27/1964    1/1/1965    7/27/1964      1/1/1965
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Longhorn (662): Longhorn -2001 (582)                  Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Longhorn (662): Longhorn -2001 (582)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Longhorn (662): Longhorn -2001 (582)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 78        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Longhorn -2001 (582)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Longhorn -2001 (582)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Longhorn (662): Longhorn -2001 (582)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220209         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhorn (662): Longhorn -2001 (582)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)        Fidelity and Casualty Co. of NY                           XP 157455          6/1/1954    6/1/1955      6/1/1954     6/1/1955
Longhouse (373): Cayuga County 1924-2009 (366)        Fidelity and Casualty Co. of NY                           Unknown            6/1/1955    6/1/1956      6/1/1955     6/1/1956
Longhouse (373): Cayuga County 1924-2009 (366)        Fidelity and Casualty Co. of NY                           Unknown            6/1/1956    6/1/1957      6/1/1956     6/1/1957




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Longhouse (373): Cayuga County 1924-2009 (366)          Fidelity and Casualty Co. of NY                           Unknown               6/1/1957    1/1/1958      6/1/1957     1/1/1958
Longhouse (373): Cayuga County 1924-2009 (366)          Fidelity and Casualty Co. of NY                           XP 274 545            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Longhouse (373): Cayuga County 1924-2009 (366)          Manhattan Fire & Marine Insurance Company (The)           Unknown               1/1/1959    1/1/1960      1/1/1959     1/1/1960
                                                                                                                  A337     256-A208
Longhouse (373): Cayuga County 1924-2009 (366)          Manhattan Fire & Marine Insurance Company (The)           212                   1/1/1960    1/1/1961     1/1/1960     1/1/1961
Longhouse (373): Cayuga County 1924-2009 (366)          Travelers Insurance Company                               SL-8640074            6/1/1960    6/1/1961     6/1/1960     6/1/1961
Longhouse (373): Cayuga County 1924-2009 (366)          Travelers Indemnity Company                               Unknown               1/1/1968    1/1/1969     1/1/1968     1/1/1969
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972    1/1/1973     8/1/1972     1/1/1973
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43303             1/1/1972    1/1/1973     8/1/1972     1/1/1973
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Longhouse (373): Cayuga County 1924-2009 (366)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 48           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Cayuga County 1924-2009 (366)          Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Cayuga County 1924-2009 (366)          American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Cayuga County 1924-2009 (366)          American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220200            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)          United States Fidelity and Guaranty Company               1-3900-377194         6/1/1977    6/1/1978     6/1/1977     6/1/1978
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP-9360               3/5/1991    3/4/1992     3/5/1991     3/4/1992
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP-9360               3/5/1992    3/5/1993     3/5/1992     3/5/1993
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP-9360               3/5/1993    3/5/1994     3/5/1993     3/5/1994
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP12613               3/5/1994    3/5/1995     3/5/1994     3/5/1995
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP12613               3/5/1995    3/5/1996     3/5/1995     3/5/1996
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP12613               3/5/1996    3/5/1997     3/5/1996     3/5/1997
Longhouse (373): Cayuga County 1924-2009 (366)          Security Mutual Insurance Company                         CP 0050259            3/5/1997    4/5/1997     3/5/1997     4/5/1997
Longhouse (373): Cayuga County 1924-2009 (366)          Erie and Niagara Insurance Association                    56 04 0399            4/5/1997    4/5/1998     4/5/1997     4/5/1998
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43303             1/1/1972    1/1/1973    6/19/1972     1/1/1973
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972    1/1/1973    6/19/1972     1/1/1973
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Longhouse (373): Hiawatha -1999 (373)                   New Hampshire Insurance Company                           Unknown               1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 76           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Hiawatha -1999 (373)                   New Hampshire Insurance Company                           Unknown               1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Hiawatha -1999 (373)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220029            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Hiawatha -1999 (373)                   American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978     1/1/1977     1/1/1978
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974     1/1/1973     1/1/1974
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975     1/1/1974     1/1/1975
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976     1/1/1975     1/1/1976
Longhouse (373): Jefferson Lewis 1932-1982 (408)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 78           1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        New Hampshire Insurance Company                           Unknown               1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Longhouse (373): Jefferson Lewis 1932-1982 (408)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220032            1/1/1977    1/1/1978     1/1/1977     1/1/1978




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Longhouse (373): Jefferson Lewis 1932-1982 (408)        American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Jefferson Lewis 1932-1982 (408)        New Hampshire Insurance Company                           Unknown             1/1/1977     1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Saint Lawrence 1938-1982 (403)         Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Longhouse (373): Saint Lawrence 1938-1982 (403)         American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Longhouse (373): Saint Lawrence 1938-1982 (403)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 54         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Longhouse (373): Saint Lawrence 1938-1982 (403)         Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Longhouse (373): Saint Lawrence 1938-1982 (403)         American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Longhouse (373): Saint Lawrence 1938-1982 (403)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220006          1/1/1977     1/1/1978      1/1/1977     1/1/1978
                                                                                                                  45 BY 100497785
Longhouse (373): Seaway Valley 1982-1995 (403)          Aetna Casualty and Surety Company                         BCA                 1/1/1991     1/1/1992     1/1/1991      1/1/1992
Longs Peak (062): Longs Peak 1975- (062)                Travelers Insurance Company                               042 LB F181864      1/1/1975     1/1/1976     1/1/1975      1/1/1976
Longs Peak (062): Longs Peak 1975- (062)                Travelers Indemnity Company                               Unknown             1/1/1975     1/1/1976     1/1/1975      1/1/1976
Longs Peak (062): Longs Peak 1975- (062)                Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Longs Peak (062): Longs Peak 1975- (062)                Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Longs Peak (062): Longs Peak 1975- (062)                American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Longs Peak (062): Longs Peak 1975- (062)                National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 65         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Longs Peak (062): Longs Peak 1975- (062)                National Union Fire Insurance Company of Pittsburgh, PA   BE 1219913          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Longs Peak (062): Longs Peak 1975- (062)                American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Longs Peak (062): Longs Peak 1975- (062)                Travelers Indemnity Company                               Unknown             1/1/1981     1/1/1982     1/1/1981      1/1/1982
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Insurance Company of North America                        SBL-4-79-46       11/12/1968   11/12/1969   11/12/1968    11/12/1969
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Insurance Company of North America                        SBL 52108         11/12/1969   11/12/1970   11/12/1969    11/12/1970
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Insurance Company of North America                        SBL 52126         11/12/1970   11/12/1971   11/12/1970    11/12/1971
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10 HUA 43300        5/1/1971     5/1/1972     5/1/1971      5/1/1972
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43315          9/21/1971     1/1/1972    9/21/1971      1/1/1972
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43303           1/1/1972     1/1/1973     1/1/1972      1/1/1973
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972     1/1/1973     1/1/1972      1/1/1973
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974     1/1/1973      1/1/1974
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974     1/1/1973      1/1/1974
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43329           1/1/1974     1/1/1975     1/1/1974      1/1/1975
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974     1/1/1975     1/1/1974      1/1/1975
Longs Peak (062): Wyo-Braska 1936-1975 (325)            Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Los Padres (053): Mission 1929-1994 (053)               Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Los Padres (053): Mission 1929-1994 (053)               New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 55         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Mission 1929-1994 (053)               Jefferson Insurance Company of New York                   GLA 209761          9/9/1976     8/1/1977     9/9/1976      8/1/1977
Los Padres (053): Mission 1929-1994 (053)               New Hampshire Insurance Company                           Unknown             1/1/1977     1/1/1978     1/1/1977      1/1/1978
Los Padres (053): Mission 1929-1994 (053)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219903          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Los Padres (053): Mission 1929-1994 (053)               American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1965    1/14/1966    1/14/1965     1/14/1966
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1966    1/14/1967    1/14/1966     1/14/1967
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1967    1/14/1968    1/14/1967     1/14/1968
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1968    1/14/1969    1/14/1968     1/14/1969
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1969    1/14/1970    1/14/1969     1/14/1970
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 46901          1/14/1970    1/14/1971    1/14/1970     1/14/1971
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 5 13 94        1/14/1971    1/14/1972    1/14/1971     1/14/1972
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Insurance Company of North America                        SBL 5 13 94        1/14/1972    1/14/1973    1/14/1972     1/14/1973
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Los Padres (053): Santa Lucia Area 1939-1994 (056)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 51         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Santa Lucia Area 1939-1994 (056)      New Hampshire Insurance Company                           Unknown             1/1/1976     1/1/1977     1/1/1976      1/1/1977
Los Padres (053): Santa Lucia Area 1939-1994 (056)      Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977




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Los Padres (053): Santa Lucia Area 1939-1994 (056)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Los Padres (053): Santa Lucia Area 1939-1994 (056)          New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219899         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Los Padres (053): Santa Lucia Area 1939-1994 (056)          United States Fidelity and Guaranty Company               1CCA16993         1/15/1977   1/15/1978    1/15/1977     1/15/1978
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Louisiana Purchase (213): Attakapas 1938-2003 (208)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 56        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Attakapas 1938-2003 (208)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Attakapas 1938-2003 (208)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220104         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Attakapas 1938-2003 (208)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1966   4/27/1967    4/27/1966     4/27/1967
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1967   4/27/1968    4/27/1967     4/27/1968
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1968   4/27/1969    4/27/1968     4/27/1969
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1969   4/27/1970    4/27/1969     4/27/1970
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1970   4/27/1971    4/27/1970     4/27/1971
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Insurance Company of North America                        SBL 3 12 49       4/27/1971   4/27/1972    4/27/1971     4/27/1972
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/28/1972      1/1/1973
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/28/1972      1/1/1973
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Louisiana Purchase (213): Ouachita Valley 1925-2003 (213)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220109         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                    Insurance Company of North America                        SBL 51181         4/10/1969   4/10/1970    4/10/1969     4/10/1970
Marin (035): Marin (035)                                    Insurance Company of North America                        SBL 51181         4/10/1970   4/10/1971    4/10/1970     4/10/1971
Marin (035): Marin (035)                                    Insurance Company of North America                        SBL 51181         4/10/1971   4/10/1972    4/10/1971     4/10/1972
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/10/1972      1/1/1973
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/10/1972      1/1/1973
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Marin (035): Marin (035)                                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 53        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Marin (035): Marin (035)                                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219901         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                    New Hampshire Insurance Company                           GLA 282411         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Marin (035): Marin (035)                                 Ambassador Insurance Company                              25924              1/1/1977    1/1/1978      1/1/1977     1/1/1978
Marin (035): Marin (035)                                 Scottsdale Insurance Company                              CPS3255537         1/1/1995    1/1/1996      1/1/1995     1/1/1996
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mason-Dixon (221): Mason-Dixon 1956- (221)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mason-Dixon (221): Mason-Dixon 1956- (221)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 67        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mason-Dixon (221): Mason-Dixon 1956- (221)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220115         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mason-Dixon (221): Mason-Dixon 1956- (221)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown           7/24/1977   7/24/1978    7/24/1977     7/24/1978
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown           7/24/1978   7/24/1979    7/24/1978     7/24/1979
Mason-Dixon (221): Mason-Dixon 1956- (221)               Maryland Casualty Company                                 Unknown           7/24/1979   7/24/1980    7/24/1979     7/24/1980
Mayflower (251): Algonquin 1925-1996 (241)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mayflower (251): Algonquin 1925-1996 (241)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Algonquin 1925-1996 (241)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Algonquin 1925-1996 (241)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 72        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Algonquin 1925-1996 (241)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Algonquin 1925-1996 (241)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220122         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Knox Trail 1996-2017 (244)              Pacific Insurance Company                                 ZG 0021837        6/20/2003   6/20/2004    6/20/2003     6/20/2004
Mayflower (251): Knox Trail 1996-2017 (244)              Pacific Insurance Company                                 ZG 0021837        6/20/2004   6/20/2005    6/20/2004     6/20/2005
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2007   6/20/2008    6/20/2007     6/20/2008
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2008   6/20/2009    6/20/2008     6/20/2009
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2009   6/20/2010    6/20/2009     6/20/2010
Mayflower (251): Knox Trail 1996-2017 (244)              Hartford Accident and Indemnity Company                   34UUVIS5513       6/20/2010   6/20/2011    6/20/2010     6/20/2011
Mayflower (251): Knox Trail 1996-2017 (244)              National Casualty Company                                 BINDER547998      6/20/2011   6/20/2012    6/20/2011     6/20/2012
Mayflower (251): Norumbega 1918-1996 (246)               Employers' Fire Insurance Company                         EB-62085-97       3/26/1970   3/26/1971    3/26/1970     3/26/1971
Mayflower (251): Norumbega 1918-1996 (246)               Employers' Fire Insurance Company                         EB-62085-97       3/26/1971   3/26/1972    3/26/1971     3/26/1972
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Mayflower (251): Norumbega 1918-1996 (246)               Employers' Fire Insurance Company                         EB-62085-97       3/26/1972   3/26/1973    3/26/1972     3/26/1973
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mayflower (251): Norumbega 1918-1996 (246)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Norumbega 1918-1996 (246)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Norumbega 1918-1996 (246)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Norumbega 1918-1996 (246)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Norumbega 1918-1996 (246)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220134         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Old Colony 1969-2017 (249)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mayflower (251): Old Colony 1969-2017 (249)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 69        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Old Colony 1969-2017 (249)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Old Colony 1969-2017 (249)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mayflower (251): Old Colony 1969-2017 (249)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220117         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Old Colony 1969-2017 (249)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mayflower (251): Squanto 1936-1969 (228)                 New Hampshire Insurance Company                           SL BSA 456135      7/1/1965    7/1/1966      7/1/1965     7/1/1966
Mayflower (251): Squanto 1936-1969 (228)                 Insurance Company of North America                        Unknown            7/1/1966    7/1/1967      7/1/1966     7/1/1967
Mayflower (251): Squanto 1936-1969 (228)                 Insurance Company of North America                        Unknown            7/1/1967    7/1/1968      7/1/1967     7/1/1968
Mayflower (251): Squanto 1936-1969 (228)                 Insurance Company of North America                        Unknown            7/1/1968    7/1/1969      7/1/1968     7/1/1969




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                                                                                                                                                                Start Date1   End Date
Mayflower (251): Squanto 1936-1969 (228)                  Insurance Company of North America                        SBL 51194           7/1/1969   10/30/1969      7/1/1969   10/30/1969
Mecklenburg County (415): Mecklenburg County (415)        Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Mecklenburg County (415): Mecklenburg County (415)        Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Mecklenburg County (415): Mecklenburg County (415)        American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977      1/1/1976     1/1/1977
Mecklenburg County (415): Mecklenburg County (415)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 84         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Mecklenburg County (415): Mecklenburg County (415)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220037          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Mecklenburg County (415): Mecklenburg County (415)        American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978      1/1/1977     1/1/1978
                                                                                                                    SA       MGCPP-
Mecklenburg County (415): Mecklenburg County (415)        Amerisure Insurance Company                               0243786-0000        1/1/1989     1/1/1990     1/1/1989      1/1/1990
Miami Valley (444): Miami Valley (444)                    Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Miami Valley (444): Miami Valley (444)                    American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Miami Valley (444): Miami Valley (444)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 00         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Miami Valley (444): Miami Valley (444)                    Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Miami Valley (444): Miami Valley (444)                    American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Miami Valley (444): Miami Valley (444)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220053          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1960     6/1/1961     6/1/1960      6/1/1961
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1961     6/1/1962     6/1/1961      6/1/1962
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1962     6/1/1963     6/1/1962      6/1/1963
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1963     6/1/1964     6/1/1963      6/1/1964
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Allstate Insurance Company                                Unknown             6/1/1964     6/1/1965     6/1/1964      6/1/1965
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 4 29 80        3/29/1965    3/29/1966    3/29/1965     3/29/1966
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        Unknown             6/1/1965     6/1/1966     6/1/1965      6/1/1966
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 4 29 80        3/29/1966    3/29/1967    3/29/1966     3/29/1967
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        Unknown             6/1/1966     6/1/1967     6/1/1966      6/1/1967
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 4 29 80        3/29/1967    3/29/1968    3/29/1967     3/29/1968
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        Unknown             6/1/1967    3/29/1968     6/1/1967     3/29/1968
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 46919          3/29/1968    3/29/1969    3/29/1968     3/29/1969
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 46919          3/29/1969    3/29/1970    3/29/1969     3/29/1970
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 46919          3/29/1970    3/29/1971    3/29/1970     3/29/1971
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Insurance Company of North America                        SBL 51414          3/29/1971    3/29/1972    3/29/1971     3/29/1972
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972     1/1/1973    3/29/1972      1/1/1973
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43303           1/1/1972     1/1/1973    3/29/1972      1/1/1973
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973     1/1/1974     1/1/1973      1/1/1974
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43303           1/1/1973     1/1/1974     1/1/1973      1/1/1974
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43329           1/1/1974     1/1/1975     1/1/1974      1/1/1975
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974     1/1/1975     1/1/1974      1/1/1975
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Michigan Crossroads (780): Blue Water 1939-2012 (277)     American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Blue Water 1939-2012 (277)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 96         1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Blue Water 1939-2012 (277)     Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Blue Water 1939-2012 (277)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220146          1/1/1977     1/1/1978     1/1/1977      1/1/1978
Michigan Crossroads (780): Blue Water 1939-2012 (277)     American Re-Insurance Company                             M-1027493           1/1/1977     1/1/1978     1/1/1977      1/1/1978
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        SBL 52003           5/1/1969     5/1/1970     5/1/1969      5/1/1970
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        XPL 17689           5/1/1970     5/1/1971     5/1/1970      5/1/1971
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        SBL 52042           5/1/1970     5/1/1971     5/1/1970      5/1/1971
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        XPL 17748           5/1/1971     5/1/1972     5/1/1971      5/1/1972
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        SBL 52066           5/1/1971     5/1/1972     5/1/1971      5/1/1972
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        Unknown             5/1/1972     5/1/1973     5/1/1972      5/1/1973
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Insurance Company of North America                        XPL 17748           5/1/1972     6/1/1972     5/1/1972      6/1/1972
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975     1/1/1976     1/1/1975      1/1/1976
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   American Re-Insurance Company                             M-1027493           1/1/1976     1/1/1977     1/1/1976      1/1/1977
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 93         1/1/1976     1/1/1977     1/1/1976      1/1/1977




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Michigan Crossroads (780): Chief Okemos 1932-2012 (271)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Chief Okemos 1932-2012 (271)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220143         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        LB-3-79-18         6/1/1962    6/1/1963      6/1/1962     6/1/1963
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        LB-3-79-18         6/1/1963    6/1/1964      6/1/1963     6/1/1964
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        LB-3-79-18         6/1/1964    6/1/1965      6/1/1964     6/1/1965
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 4 24 72        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 4 24 72        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 4 24 72        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 47729          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 47729          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 47729          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Insurance Company of North America                        SBL 52072          6/1/1971    6/1/1972      6/1/1971     6/1/1972
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/22/1972      1/1/1973
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/22/1972      1/1/1973
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 95        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220145         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Clinton Valley 1937-2009 (276)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 45740         2/13/1966   2/13/1967    2/13/1966     2/13/1967
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL-4-76-71       2/13/1967   2/13/1968    2/13/1967     2/13/1968
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 4 77 22       2/13/1968   2/13/1969    2/13/1968     2/13/1969
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 4 77 56       2/13/1969   2/13/1970    2/13/1969     2/13/1970
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 4 77 56       2/13/1970   2/13/1971    2/13/1970     2/13/1971
Michigan Crossroads (780): Detroit Area -2009 (262)         Insurance Company of North America                        SBL 52065         2/13/1971   2/13/1972    2/13/1971     2/13/1972
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/13/1972      1/1/1973
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/13/1972      1/1/1973
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Detroit Area -2009 (262)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 88        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Detroit Area -2009 (262)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Detroit Area -2009 (262)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Detroit Area -2009 (262)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220139         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        SBL-4-95-05       5/20/1962   5/20/1963    5/20/1962     5/20/1963
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        SBL-4-95-05       5/20/1963   5/19/1964    5/20/1963     5/19/1964
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        Unknown            1/1/1964   5/20/1964      1/1/1964    5/20/1964
Michigan Crossroads (780): Grand Valley 1936-1975 (266)     Insurance Company of North America                        SBL-4-95-05       5/20/1964   5/20/1965    5/20/1964     5/20/1965




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Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-24-73       5/20/1965   5/20/1966    5/20/1965     5/20/1966
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-24-73       5/20/1966   5/20/1967    5/20/1966     5/20/1967
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-24-73       5/20/1967   5/20/1968    5/20/1967     5/20/1968
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        Unknown           5/20/1968   5/20/1969    5/20/1968     5/20/1969
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-4-77-27       5/20/1969   5/20/1970    5/20/1969     5/20/1970
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-5-20-37       5/20/1970   5/20/1971    5/20/1970     5/20/1971
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        SBL-5-20-37       5/20/1971   5/20/1972    5/20/1971     5/20/1972
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/21/1972      1/1/1973
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/21/1972      1/1/1973
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        GLP 43 22 35       1/1/1975    6/2/1975      1/1/1975     6/2/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        XBC 123702         1/1/1975    6/2/1975      1/1/1975     6/2/1975
Michigan Crossroads (780): Grand Valley 1936-1975 (266)      Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220138         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Lake Huron Area 1971-2012 (265)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 29 76       4/24/1965   4/24/1966    4/24/1965     4/24/1966
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 29 76       4/24/1966   4/24/1967    4/24/1966     4/24/1967
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 29 76       4/24/1967   4/24/1968    4/24/1967     4/24/1968
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 69 30       4/24/1968   4/24/1969    4/24/1968     4/24/1969
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 69 30       4/24/1969   4/24/1970    4/24/1969     4/24/1970
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 4 69 30       4/24/1970   4/24/1971    4/24/1970     4/24/1971
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Insurance Company of North America                        SBL 5 15 06       4/24/1971   4/23/1972    4/24/1971     4/23/1972
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/24/1972      1/1/1973
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/24/1972      1/1/1973
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 91        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Land O' Lakes 1937-1993 (269)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220142         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        LAB-1-69-55        6/4/1964    6/4/1965      6/4/1964     6/4/1965
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1965    6/4/1966      6/4/1965     6/4/1966
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1966    6/4/1967      6/4/1966     6/4/1967
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1967    6/4/1968      6/4/1967     6/4/1968
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-4-24-74        6/4/1968    6/4/1969      6/4/1968     6/4/1969
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL-5-20-06        6/4/1969    6/4/1970      6/4/1969     6/4/1970
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL 52038          6/4/1970    6/4/1971      6/4/1970     6/4/1971
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)     Insurance Company of North America                        SBL 52038          6/4/1971    6/3/1972      6/4/1971     6/3/1972




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Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      6/5/1972     1/1/1973
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      6/5/1972     1/1/1973
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 97        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220147         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Scenic Trails 1939-2012 (274)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 92        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Southwest Michigan 1973-2012 (270)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219856         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 68693        10/29/1969   10/29/1970   10/29/1969    10/29/1970
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 68693        10/29/1970   10/29/1971   10/29/1970    10/29/1971
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 68693        10/29/1971   10/29/1972   10/29/1971    10/29/1972
Michigan Crossroads (780): Southwestern Michigan 1941-1973 (258)   Insurance Company of North America                        OBP 12 56 44     10/29/1972     1/1/1973   10/29/1972      1/1/1973
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL-4-24-59       6/12/1967    6/12/1968    6/12/1967     6/12/1968
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL-4-77-37       6/12/1968    6/12/1969    6/12/1968     6/12/1969
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL 52007         6/12/1969    6/12/1970    6/12/1969     6/12/1970
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        SBL 52046         6/12/1970    6/12/1971    6/12/1970     6/12/1971
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Insurance Company of North America                        Unknown           6/12/1971     1/1/1972    6/12/1971      1/1/1972
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/12/1972      1/1/1973
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/12/1972      1/1/1973
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 89        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220140         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Tall Pine 1937-2012 (264)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL 4 57 66       7/27/1966    7/27/1967    7/27/1966     7/27/1967
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL-4-76-81       7/27/1967    7/27/1968    7/27/1967     7/27/1968
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL-4-76-81       7/27/1968    7/27/1969    7/27/1968     7/27/1969
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        SBL 52012         7/27/1969    7/27/1970    7/27/1969     7/27/1970
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        Unknown           7/27/1970    7/27/1971    7/27/1970     7/27/1971
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Insurance Company of North America                        Unknown           7/27/1971     1/1/1972    7/27/1971      1/1/1972
Michigan Crossroads (780): Timber Trails 1944-1975 (275)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/19/1972      1/1/1973




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Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/19/1972      1/1/1973
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Michigan Crossroads (780): Timber Trails 1944-1975 (275)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 90        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): West Michigan Shores 1975-1995 (266)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220141         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 4 29 54        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 4 29 54        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 4 29 54        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        Unknown           2/29/1968   2/28/1969    2/29/1968     2/28/1969
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        Unknown           2/28/1969   2/28/1970    2/28/1969     2/28/1970
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        Unknown           2/28/1970    3/1/1970    2/28/1970      3/1/1970
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 51315          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Insurance Company of North America                        SBL 51315          3/1/1971    3/1/1972      3/1/1971     3/1/1972
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Wolverine 1925-1973 (711)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Michigan Crossroads (780): Wolverine 1925-1973 (711)              American Employers' Insurance Company                     AWW451163          3/3/1980    3/3/1981      3/3/1980     3/3/1981
Michigan Crossroads (780): Wolverine 1973-1993 (255)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Michigan Crossroads (780): Wolverine 1973-1993 (255)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Wolverine 1973-1993 (255)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 86        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Wolverine 1973-1993 (255)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Michigan Crossroads (780): Wolverine 1973-1993 (255)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Michigan Crossroads (780): Wolverine 1973-1993 (255)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220137         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Mid-America 1965- (326)                        Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Mid-America (326): Mid-America 1965- (326)                        Travelers Insurance Company                               Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Mid-America (326): Mid-America 1965- (326)                        Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Mid-America (326): Mid-America 1965- (326)                        Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Mid-America (326): Mid-America 1965- (326)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mid-America (326): Mid-America 1965- (326)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Mid-America 1965- (326)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 21        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Mid-America 1965- (326)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Mid-America 1965- (326)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220173         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Mid-America 1965- (326)                        Travelers Insurance Company                               Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Mid-America 1965- (326)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Insurance Company of North America                        SBL 52139         3/23/1971   3/23/1972    3/23/1971     3/23/1972
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/2/1972     1/1/1973
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/2/1972     1/1/1973
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-America (326): Prairie Gold Area 1942-2000 (179)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mid-America (326): Prairie Gold Area 1942-2000 (179)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 43        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Prairie Gold Area 1942-2000 (179)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Mid-America (326): Prairie Gold Area 1942-2000 (179)     New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Prairie Gold Area 1942-2000 (179)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-America (326): Prairie Gold Area 1942-2000 (179)     National Union Fire Insurance Company of Pittsburgh, PA   BE 12199S9         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Prairie Gold Area 1942-2000 (179)     New Hampshire Insurance Company                           GAL 34 36 80       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Prairie Gold Area 1942-2000 (179)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 49 67       3/23/1966   3/23/1967    3/23/1966     3/23/1967
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        Unknown            1/1/1967   3/23/1967      1/1/1967    3/23/1967
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 78 67       3/23/1967   3/22/1968    3/23/1967     3/22/1968
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 79 20       3/23/1968   3/23/1969    3/23/1968     3/23/1969
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 4 79 54       3/23/1969   3/23/1970    3/23/1969     3/23/1970
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 52117         3/23/1970   3/23/1971    3/23/1970     3/23/1971
Mid-America (326): Sergeant Floyd Area 1939-1972 (185)   Insurance Company of North America                        SBL 52139         3/23/1971   3/23/1972    3/23/1971     3/23/1972
Mid-America (326): Sioux City 1918-1926 (185)            St. Paul Mercury Insurance Company                        Unknown           6/10/1954   6/10/1955    6/10/1954     6/10/1955
Middle Tennessee (560): Middle Tennessee (560)           Insurance Company of North America                        SBL 5 04 06        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Middle Tennessee (560): Middle Tennessee (560)           Insurance Company of North America                        SBL 5 04 06        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Middle Tennessee (560): Middle Tennessee (560)           Insurance Company of North America                        SBL 5 04 06        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Middle Tennessee (560): Middle Tennessee (560)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Middle Tennessee (560): Middle Tennessee (560)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Middle Tennessee (560): Middle Tennessee (560)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 69        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Middle Tennessee (560): Middle Tennessee (560)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Middle Tennessee (560): Middle Tennessee (560)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220292         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mid-Iowa (177): Mid-Iowa 1970- (177)                     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-Iowa (177): Mid-Iowa 1970- (177)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 41        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-Iowa (177): Mid-Iowa 1970- (177)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mid-Iowa (177): Mid-Iowa 1970- (177)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219987         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-Iowa (177): Mid-Iowa 1970- (177)                     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 4 53 76       1/24/1966   1/24/1967    1/24/1966     1/24/1967
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 4 53 76       1/24/1967   1/24/1968    1/24/1967     1/24/1968
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 4 53 76       1/24/1968   1/24/1969    1/24/1968     1/24/1969
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 5 04 33       1/24/1969   1/24/1970    1/24/1969     1/24/1970
Mid-Iowa (177): Southern Iowa Area 1929-1970 (184)       Insurance Company of North America                        SBL 5 04 33       1/24/1970    5/1/1970    1/24/1970      5/1/1970
Midnight Sun (696): Midnight Sun (696)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972      1/1/1973




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Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    12/1/1972      1/1/1973
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Midnight Sun (696): Midnight Sun (696)                     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 16        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Midnight Sun (696): Midnight Sun (696)                     New Hampshire Insurance Company                           GLA 311350         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Midnight Sun (696): Midnight Sun (696)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Midnight Sun (696): Midnight Sun (696)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219865         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Insurance Company of North America                        2075             10/16/1944   10/16/1945   10/16/1944    10/16/1945
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Phoenix of Hartford Insurance Companies                   CC 8 98 96        5/16/1966    5/16/1967    5/16/1966     5/16/1967
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Phoenix of Hartford Insurance Companies                   CC 8 98 96        5/16/1967    5/16/1968    5/16/1967     5/16/1968
Minsi Trails (502): Delaware Valley Area 1932-1969 (510)   Phoenix of Hartford Insurance Companies                   CC 8 98 96        5/16/1968    5/16/1969    5/16/1968     5/16/1969
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL Unknown       12/1/1965     5/1/1966    12/1/1965      5/1/1966
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 47 99        5/1/1966     5/1/1967      5/1/1966     5/1/1967
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 47 99        5/1/1967     5/1/1968      5/1/1967     5/1/1968
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 47 99        5/1/1968     5/1/1969      5/1/1968     5/1/1969
Minsi Trails (502): Lehigh County 1930-1969 (729)          Insurance Company of North America                        SBL 4 85 34        5/1/1969     5/9/1969      5/1/1969     5/9/1969
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL 44799          1/1/1967     1/1/1968      1/1/1967     1/1/1968
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL 44799          1/1/1968     1/1/1969      1/1/1968     1/1/1969
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL 44799          1/1/1969     1/1/1970      1/1/1969     1/1/1970
Minsi Trails (502): Minsi Trails 1968- (502)               Aetna Casualty and Surety Company                         44CA 115201       4/20/1969    4/20/1970    4/20/1969     4/20/1970
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1970     1/1/1971      1/1/1970     1/1/1971
Minsi Trails (502): Minsi Trails 1968- (502)               Aetna Casualty and Surety Company                         Unknown           4/20/1970    4/20/1971    4/20/1970     4/20/1971
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1971     1/1/1972      1/1/1971     1/1/1972
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        SBL-48567          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        XBC-96766          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP 40 72 24       1/1/1973     1/1/1974      1/1/1973     1/1/1974
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP 40 72 24       1/1/1974     1/1/1975      1/1/1974     1/1/1975
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP 40 72 24       1/1/1975     1/1/1976      1/1/1975     1/1/1976
Minsi Trails (502): Minsi Trails 1968- (502)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Minsi Trails (502): Minsi Trails 1968- (502)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 39        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Minsi Trails (502): Minsi Trails 1968- (502)               Insurance Company of North America                        GLP-621176         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Minsi Trails (502): Minsi Trails 1968- (502)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220094         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Minsi Trails (502): Minsi Trails 1968- (502)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 04 24       6/20/1968    6/20/1969    6/20/1968     6/20/1969
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 04 24       6/20/1969    6/20/1970    6/20/1969     6/20/1970
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 04 24       6/20/1970    6/20/1971    6/20/1970     6/20/1971
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Insurance Company of North America                        SBL 5 15 61       6/20/1971    6/20/1972    6/20/1971     6/20/1972
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/20/1972      1/1/1973
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/20/1972      1/1/1973
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974




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Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mississippi Valley (141): Saukee Area 1935-1993 (141)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Saukee Area 1935-1993 (141)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Saukee Area 1935-1993 (141)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Saukee Area 1935-1993 (141)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Saukee Area 1935-1993 (141)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219969         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 30 00        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 30 00        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 30 00        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 69 46        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 69 46        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 4 69 46        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Insurance Company of North America                        SBL 5 15 59        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 39        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219985         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mississippi Valley (141): Southeast Iowa 1929-1993 (171)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mobile Area (004): Mobile Area (004)                       Insurance Company of North America                        SBL 46907          2/1/1970    2/1/1971      2/1/1970     2/1/1971
Mobile Area (004): Mobile Area (004)                       Insurance Company of North America                        SBL 51408          2/1/1971    2/1/1972      2/1/1971     2/1/1972
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mobile Area (004): Mobile Area (004)                       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 11        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mobile Area (004): Mobile Area (004)                       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mobile Area (004): Mobile Area (004)                       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219861         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mobile Area (004): Mobile Area (004)                       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 42996          2/1/1965    2/1/1966      2/1/1965     2/1/1966
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 42996          2/1/1966    2/1/1967      2/1/1966     2/1/1967
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 42996          2/1/1967    2/1/1968      2/1/1967     2/1/1968
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 46903          2/1/1968    2/1/1969      2/1/1968     2/1/1969
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 46903          2/1/1969    2/1/1970      2/1/1969     2/1/1970
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 46903          2/1/1970    2/1/1971      2/1/1970     2/1/1971
Monmouth (347): Monmouth (347)                             Insurance Company of North America                        SBL 51395          2/1/1971    2/1/1972      2/1/1971     2/1/1972
Monmouth (347): Monmouth (347)                             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Monmouth (347): Monmouth (347)                             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973




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Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Monmouth (347): Monmouth (347)                          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Monmouth (347): Monmouth (347)                          National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Monmouth (347): Monmouth (347)                          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Monmouth (347): Monmouth (347)                          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Monmouth (347): Monmouth (347)                          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220184         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Montana (315): Montana 1973- (315)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Montana (315): Montana 1973- (315)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 17        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      Home Insurance Company                                    1217117            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Montana (315): Montana 1973- (315)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220168         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Montana (315): Montana 1973- (315)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Montana (315): Vigilante 1944-1973 (313)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Montana (315): Western Montana 1924-1973 (320)          Insurance Company of North America                        SBL 3 31 46        2/1/1971    2/1/1972      2/1/1971     2/1/1972
Montana (315): Western Montana 1924-1973 (320)          Insurance Company of North America                        GAL 11 86 75       2/1/1972   1/31/1973      2/1/1972    1/31/1973
Montana (315): Yellowstone Valley 1928-1973 (318)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      3/1/1973     1/1/1974
Montana (315): Yellowstone Valley 1928-1973 (318)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      3/1/1973     1/1/1974
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/1/1972     1/1/1973
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/1/1972     1/1/1973
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Lawrence County 1922-1973 (520)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Moraine Trails (500): Moraine Trails 1973- (500)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Moraine Trails (500): Moraine Trails 1973- (500)        New Hampshire Insurance Company                           SLP275531          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Moraine Trails (500): Moraine Trails 1973- (500)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Moraine Trails (500): Moraine Trails 1973- (500)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220087         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    7/15/1972      1/1/1973
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    7/15/1972      1/1/1973
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Moraine Trails (500): Pioneer Trails 1949-1973 (500)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Evergreen Area 1941-1994 (606)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Evergreen Area 1941-1994 (606)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Evergreen Area 1941-1994 (606)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Evergreen Area 1941-1994 (606)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Evergreen Area 1941-1994 (606)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220239         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Mount Baker (606): Evergreen Area 1941-1994 (606)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mount Baker (606): Evergreen Area 1941-1994 (606)     St. Paul Fire and Marine Insurance Company                684NA4503         5/17/1977   5/17/1978    5/17/1977     5/17/1978
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker 1994- (606)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker 1994- (606)            United States Fidelity and Guaranty Company               Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Mount Baker 1994- (606)            United States Fidelity and Guaranty Company               Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/1/1972      1/1/1973
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972      1/1/1973
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mount Baker (606): Mount Baker Area 1929-1994 (603)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Mount Baker Area 1929-1994 (603)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Mount Baker Area 1929-1994 (603)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mount Baker (606): Mount Baker Area 1929-1994 (603)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220238         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mount Baker (606): Mount Baker Area 1929-1994 (603)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        SBL 4 29 74       3/31/1965   3/31/1966    3/31/1965     3/31/1966
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        SBL 4 29 74       3/31/1966   3/31/1967    3/31/1966     3/31/1967
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        GK-12042           1/1/1967    1/1/1968      1/1/1967     1/1/1968
Mountain West (106): Mountainview 1951-1968 (105)     Insurance Company of North America                        SBL 4 29 74       3/31/1967   3/31/1968    3/31/1967     3/31/1968
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        SBL 50411         3/31/1968   3/31/1969    3/31/1968     3/31/1969
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        SBL 50411         3/31/1969   3/31/1970    3/31/1969     3/31/1970
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        SBL 50411         3/31/1970   3/31/1971    3/31/1970     3/31/1971
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        Unknown           3/31/1971    1/1/1972    3/31/1971      1/1/1972
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/31/1972      1/1/1973
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/31/1972      1/1/1973
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountain West (106): Ore-Ida 1933-2020 (106)          Industrial Indemnity                                      MP 698-0754       11/1/1973   11/1/1974    11/1/1973     11/1/1974
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        XBC 11 46 94      2/15/1974    2/1/1975    2/15/1974      2/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Industrial Indemnity                                      MP 698-0754       11/1/1974   11/1/1975    11/1/1974     11/1/1975
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mountain West (106): Ore-Ida 1933-2020 (106)          Insurance Company of North America                        XBC 11 48 44       2/1/1975    2/1/1976      2/1/1975     2/1/1976
Mountain West (106): Ore-Ida 1933-2020 (106)          Industrial Indemnity                                      MP 698-0754       11/1/1975   11/1/1976    11/1/1975     11/1/1976
Mountain West (106): Ore-Ida 1933-2020 (106)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 02        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          U.S. Fire Insurance Company                               1027493            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          U.S. Fire Insurance Company                               CA-D-0036          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Ore-Ida 1933-2020 (106)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1219949         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Ore-Ida 1933-2020 (106)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Mountain West (106): Snake River -2020 (111)          Aetna Casualty and Surety Company                         Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966




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             Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                           Start Date1   End Date
Mountain West (106): Snake River -2020 (111)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mountain West (106): Snake River -2020 (111)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 07        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Snake River -2020 (111)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Snake River -2020 (111)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountain West (106): Snake River -2020 (111)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1219954         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountain West (106): Snake River -2020 (111)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 45387          6/4/1966    6/4/1967      6/4/1966     6/4/1967
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 45387          6/4/1967    6/3/1968      6/4/1967     6/3/1968
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 45387          6/4/1968    6/4/1969      6/4/1968     6/4/1969
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 51184          6/4/1969    6/4/1970      6/4/1969     6/4/1970
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 51184          6/4/1970    6/4/1971      6/4/1970     6/4/1971
Mountaineer Area (615): Mountaineer Area (615)         Insurance Company of North America                        SBL 51184          6/4/1971    6/3/1972      6/4/1971     6/3/1972
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/4/1972     1/1/1973
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/4/1972     1/1/1973
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Mountaineer Area (615): Mountaineer Area (615)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountaineer Area (615): Mountaineer Area (615)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountaineer Area (615): Mountaineer Area (615)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Mountaineer Area (615): Mountaineer Area (615)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Mountaineer Area (615): Mountaineer Area (615)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220252         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 4-44-28       6/26/1965   6/26/1966    6/26/1965     6/26/1966
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 4-44-28       6/26/1966   6/26/1967    6/26/1966     6/26/1967
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 4-44-28       6/26/1967   6/26/1968    6/26/1967     6/26/1968
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL-4-44-79       6/26/1968   6/26/1969    6/26/1968     6/26/1969
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL-4-44-79       6/26/1969   6/26/1970    6/26/1969     6/26/1970
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL-4-44-79       6/26/1970   6/26/1971    6/26/1970     6/26/1971
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 25204         6/26/1971   6/25/1972    6/26/1971     6/25/1972
Muskingum Valley (467): Muskingum Valley 1956- (467)   Insurance Company of North America                        SBL 25204         6/26/1972    2/1/1973    6/26/1972      2/1/1973
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      2/1/1973     1/1/1974
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Muskingum Valley (467): Muskingum Valley 1956- (467)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 74 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Muskingum Valley (467): Muskingum Valley 1956- (467)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220069         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Muskingum Valley (467): Muskingum Valley 1956- (467)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Muskingum Valley (467): Muskingum Valley 1956- (467)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Annawon 1930-2016 (225)            Insurance Company of North America                        SBL 5 13 14        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Narragansett (546): Annawon 1930-2016 (225)            Insurance Company of North America                        SBL 5 13 14        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Narragansett (546): Annawon 1930-2016 (225)            Insurance Company of North America                        SBL 5 13 14        3/1/1972    1/1/1973      3/1/1972     1/1/1973
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Annawon 1930-2016 (225)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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              Current Council: Predecessor Council                                        Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                     Start Date1   End Date
Narragansett (546): Annawon 1930-2016 (225)                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Annawon 1930-2016 (225)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Annawon 1930-2016 (225)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 82        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Annawon 1930-2016 (225)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Annawon 1930-2016 (225)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220133         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 40247         11/1/1965   11/1/1966    11/1/1965     11/1/1966
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 40247         11/1/1966   11/1/1967    11/1/1966     11/1/1967
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 40247         11/1/1967   11/1/1968    11/1/1967     11/1/1968
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 50614         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 50614         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Narragansett (546): Cachalot 1935-1971 (245)                     Insurance Company of North America                        SBL 50614         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Narragansett (546): Moby Dick 1971-2001 (245)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Narragansett (546): Moby Dick 1971-2001 (245)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    New Hampshire Insurance Company                           SLP63-49-06       1/15/1976   1/15/1977    1/15/1976     1/15/1977
Narragansett (546): Moby Dick 1971-2001 (245)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220130         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Moby Dick 1971-2001 (245)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Narragansett (546): Moby Dick 1971-2001 (245)                    New Hampshire Insurance Company                           SLP63-49-06       1/15/1977   1/15/1978    1/15/1977     1/15/1978
Narragansett (546): Moby Dick 1971-2001 (245)                    New Hampshire Insurance Company                           SLP63-49-06       1/15/1978   1/15/1979    1/15/1978     1/15/1979
Narragansett (546): Narragansett 1930- (546)                     Phoenix Insurance Company                                 TOP58010057        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Narragansett (546): Narragansett 1930- (546)                     Phoenix Insurance Company                                 TOP58010057        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Narragansett (546): Narragansett 1930- (546)                     Phoenix Insurance Company                                 TOP58010057        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Narragansett (546): Narragansett 1930- (546)                     Travelers Indemnity Company                               ND6619859          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Narragansett (546): Narragansett 1930- (546)                     Travelers Indemnity Company                               ND6619859          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Narragansett (546): Narragansett 1930- (546)                     Travelers Indemnity Company                               ND6619859          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Narragansett 1930- (546)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Narragansett (546): Narragansett 1930- (546)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 55        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Narragansett (546): Narragansett 1930- (546)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220277         1/1/1977    1/1/1978      1/1/1977     1/1/1978
National Capital Area (082): National Capital Area 1911- (082)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 75        1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): National Capital Area 1911- (082)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219923         1/1/1977    1/1/1978      1/1/1977     1/1/1978
National Capital Area (082): National Capital Area 1911- (082)   Aetna Insurance Company                                   SMP 35 29 46       4/1/1981    4/1/1982      4/1/1981     4/1/1982
National Capital Area (082): National Capital Area 1911- (082)   Aetna Insurance Company                                   CPP 42 58 80       4/1/1982    4/1/1983      4/1/1982     4/1/1983
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974    1/15/1973      1/1/1974
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974    1/15/1973      1/1/1974
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
National Capital Area (082): Virgin Islands 1965-2013 (410)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): Virgin Islands 1965-2013 (410)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): Virgin Islands 1965-2013 (410)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 08        1/1/1976    1/1/1977      1/1/1976     1/1/1977
National Capital Area (082): Virgin Islands 1965-2013 (410)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220230         1/1/1977    1/1/1978      1/1/1977     1/1/1978
National Capital Area (082): Virgin Islands 1965-2013 (410)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Nevada Area (329): Nevada Area (329)                             American Employers' Insurance Company                     AF W05 00 10       3/1/1973    3/1/1974      3/1/1973     3/1/1974
Nevada Area (329): Nevada Area (329)                             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Nevada Area (329): Nevada Area (329)                             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Nevada Area (329): Nevada Area (329)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Nevada Area (329): Nevada Area (329)                             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Nevada Area (329): Nevada Area (329)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220175         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Nevada Area (329): Nevada Area (329)                             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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                                                                                                                        650-225A529-4-
Nevada Area (329): Nevada Area (329)                          Travelers Indemnity Company                               IND-77            4/12/1977     4/1/1978    4/12/1977      4/1/1978
New Birth of Freedom (544): Harrisburg Area 1927-1948 (515)   Insurance Company of North America                        LB 3541           6/20/1946    6/20/1947    6/20/1946     6/20/1947
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        LB-4-21-48       10/20/1964   10/20/1965   10/20/1964    10/20/1965
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        LB-4-21-48       10/20/1965   10/20/1966   10/20/1965    10/20/1966
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        LB-4-21-48       10/20/1966   10/20/1967   10/20/1966    10/20/1967
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        ALB-4-84-03      10/20/1967   10/20/1968   10/20/1967    10/20/1968
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        ALB-4-84-03      10/20/1968   10/20/1969   10/20/1968    10/20/1969
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        ALB-4-84-03      10/20/1969   10/20/1970   10/20/1969    10/20/1970
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1970   10/19/1971   10/19/1970    10/19/1971
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1971   10/19/1972   10/19/1971    10/19/1972
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1972   10/19/1973   10/19/1972    10/19/1973
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1973   10/19/1974   10/19/1973    10/19/1974
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Insurance Company of North America                        Unknown          10/19/1974     1/1/1975   10/19/1974      1/1/1975
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Aetna Casualty and Surety Company                         Unknown            1/1/1975     1/1/1976     1/1/1975      1/1/1976
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976     1/1/1975      1/1/1976
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 37        1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978     1/1/1977      1/1/1978
New Birth of Freedom (544): Keystone Area 1948-2010 (515)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220092         1/1/1977     1/1/1978     1/1/1977      1/1/1978
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/11/1972      1/1/1973
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/11/1972      1/1/1973
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974     1/1/1973      1/1/1974
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974     1/1/1973      1/1/1974
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975     1/1/1974      1/1/1975
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975     1/1/1974      1/1/1975
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976     1/1/1975      1/1/1976
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 53        1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977     1/1/1976      1/1/1977
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978     1/1/1977      1/1/1978
New Birth of Freedom (544): York-Adams Area 1932-2010 (544)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220275         1/1/1977     1/1/1978     1/1/1977      1/1/1978
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 45384          4/8/1966     4/8/1967     4/8/1966      4/8/1967
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 45384          4/8/1967     4/8/1968     4/8/1967      4/8/1968
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 45384          4/8/1968     4/8/1969     4/8/1968      4/8/1969
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 50444          4/8/1969     4/8/1970     4/8/1969      4/8/1970
North Florida (087): North Florida (087)                      Travelers Insurance Company                               NSL FA4183479      4/8/1970     4/8/1971     4/8/1970      4/8/1971
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 50444          4/8/1970     4/8/1971     4/8/1970      4/8/1971
North Florida (087): North Florida (087)                      Insurance Company of North America                        SBL 50444          4/8/1971     4/7/1972     4/8/1971      4/7/1972
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973     4/7/1972      1/1/1973
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973     4/1/1972      1/1/1973
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974     1/1/1973      1/1/1974
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974     1/1/1973      1/1/1974
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975     1/1/1974      1/1/1975
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975     1/1/1974      1/1/1975
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976     1/1/1975      1/1/1976
North Florida (087): North Florida (087)                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977     1/1/1976      1/1/1977
North Florida (087): North Florida (087)                      American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977     1/1/1976      1/1/1977
North Florida (087): North Florida (087)                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 78        1/1/1976     1/1/1977     1/1/1976      1/1/1977
North Florida (087): North Florida (087)                      American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978     1/1/1977      1/1/1978
North Florida (087): North Florida (087)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219926         1/1/1977     1/1/1978     1/1/1977      1/1/1978




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Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 88        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219936         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Georgia (101): Northeast Georgia 1935-1997 (101)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    3/31/1972      1/1/1973
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    3/31/1972      1/1/1973
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Georgia (101): Northeast Georgia 1997- (101)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-59-19       2/25/1966    2/25/1967    2/25/1966     2/25/1967
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-50-54       2/25/1967    2/25/1968    2/25/1967     2/25/1968
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-51-38       2/25/1968    2/25/1969    2/25/1968     2/25/1969
Northeast Illinois (129): Evanston 1916-1969 (124)                    Insurance Company of North America                        SBL-2-51-38       2/25/1969    6/12/1969    2/25/1969     6/12/1969
Northeast Illinois (129): Evanston-North Shore Area 1969-1971 (129)   Insurance Company of North America                        SBL 51814         6/12/1969    6/25/1970    6/12/1969     6/25/1970
Northeast Illinois (129): Evanston-North Shore Area 1969-1971 (129)   Insurance Company of North America                        SBL 51833         6/25/1970    6/25/1971    6/25/1970     6/25/1971
Northeast Illinois (129): Northeast Illinois 1971- (129)              Insurance Company of North America                        GAL 27962         6/25/1971    6/25/1972    6/25/1971     6/25/1972
Northeast Illinois (129): Northeast Illinois 1971- (129)              Insurance Company of North America                        GAL 28017         6/25/1972    12/1/1972    6/25/1972     12/1/1972
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      2/1/1973     1/1/1974
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Illinois (129): Northeast Illinois 1971- (129)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 16        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Illinois (129): Northeast Illinois 1971- (129)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219962         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Illinois (129): Northeast Illinois 1971- (129)              American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Illinois (129): Northeast Illinois 1971- (129)              New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 25 02 5       6/21/1966    6/21/1967    6/21/1966     6/21/1967
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 25 10 2       6/21/1967    6/21/1968    6/21/1967     6/21/1968
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 25 15 1       6/21/1968    6/21/1969    6/21/1968     6/21/1969
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 51808         6/21/1969    6/21/1970    6/21/1969     6/21/1970
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 51808         6/21/1970    6/21/1971    6/21/1970     6/21/1971
Northeast Illinois (129): Oak Plain 1940-1971 (126)                   Insurance Company of North America                        SBL 51808         6/21/1971   12/20/1972    6/21/1971    12/20/1972
Northeast Iowa (178): Northeast Iowa (178)                            Maryland Casualty Company                                 31-086767          7/7/1957     7/7/1958      7/7/1957     7/7/1958
Northeast Iowa (178): Northeast Iowa (178)                            Maryland Casualty Company                                 Unknown            7/1/1958     7/1/1959      7/1/1958     7/1/1959
Northeast Iowa (178): Northeast Iowa (178)                            Home Indemnity Company                                    CGA 024051        7/31/1959    7/31/1960    7/31/1959     7/31/1960
Northeast Iowa (178): Northeast Iowa (178)                            Home Indemnity Company                                    CGA 024051        7/31/1960    7/31/1961    7/31/1960     7/31/1961
Northeast Iowa (178): Northeast Iowa (178)                            Home Indemnity Company                                    CGA 024051        7/31/1961    7/17/1962    7/31/1961     7/17/1962
Northeast Iowa (178): Northeast Iowa (178)                            American States Insurance Company                         Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Iowa (178): Northeast Iowa (178)                            United States Fidelity and Guaranty Company               Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northeast Iowa (178): Northeast Iowa (178)                            United States Fidelity and Guaranty Company               Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Iowa (178): Northeast Iowa (178)                            American States Insurance Company                         Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Iowa (178): Northeast Iowa (178)                            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeast Iowa (178): Northeast Iowa (178)                            National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 42        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Iowa (178): Northeast Iowa (178)                            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Iowa (178): Northeast Iowa (178)                            American States Insurance Company                         Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeast Iowa (178): Northeast Iowa (178)                            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977




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Northeast Iowa (178): Northeast Iowa (178)                        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeast Iowa (178): Northeast Iowa (178)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219988         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Anthracite 1927-1970 (514)       Insurance Company of North America                        SBL 4 29 70        4/1/1967     4/1/1968      4/1/1967     4/1/1968
Northeastern Pennsylvania (501): Anthracite 1927-1970 (514)       Insurance Company of North America                        SBL 4 69 34        4/1/1968     4/1/1969      4/1/1968     4/1/1969
Northeastern Pennsylvania (501): Anthracite 1927-1970 (514)       Insurance Company of North America                        SBL 4 69 34        4/1/1969     4/1/1970      4/1/1969     4/1/1970
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 48449         3/30/1968    3/30/1969    3/30/1968     3/30/1969
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 48449         3/30/1969    3/30/1970    3/30/1969     3/30/1970
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 48449         3/30/1970    3/30/1971    3/30/1970     3/30/1971
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 53071         3/30/1971    3/29/1972    3/30/1971     3/29/1972
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 53071         3/30/1972    3/30/1973    3/30/1972     3/30/1973
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        SBL 53071         3/30/1973    3/30/1974    3/30/1973     3/30/1974
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 56 95 31      3/30/1974    3/30/1975    3/30/1974     3/30/1975
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 56 95 31      3/30/1975    3/30/1976    3/30/1975     3/30/1976
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 46        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 56 95 31      3/30/1976    3/30/1977    3/30/1976     3/30/1977
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Forest Lakes 1962-1990 (501)     Insurance Company of North America                        GLP 66 36 60      3/30/1977     1/1/1978    3/30/1977      1/1/1978
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Insurance Company of North America                        SBL 51392          4/1/1970     4/1/1971      4/1/1970     4/1/1971
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Insurance Company of North America                        SBL 51392          4/1/1971    3/31/1972      4/1/1971    3/31/1972
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Insurance Company of North America                        SBL 51392          4/1/1972     4/1/1973      4/1/1972     4/1/1973
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      4/1/1973     1/1/1974
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      4/1/1973     1/1/1974
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 44        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   Aetna Casualty and Surety Company                         44AB221317       12/31/1976   12/31/1977   12/31/1976    12/31/1977
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Penn Mountains 1970-1990 (522)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220099         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 4 53 72        1/1/1966     1/1/1967      1/1/1966     1/1/1967
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 4 53 72        1/1/1967     1/1/1968      1/1/1967     1/1/1968
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 4 53 72        1/1/1968     1/1/1969      1/1/1968     1/1/1969
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 50434          1/1/1969     1/1/1970      1/1/1969     1/1/1970
Northeastern Pennsylvania (501): Wyoming Valley 1925-1969 (542)   Insurance Company of North America                        SBL 50434          1/1/1970     4/1/1970      1/1/1970     4/1/1970
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/20/1972      1/1/1973
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/20/1972      1/1/1973
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Great Plains Area 1929-1974 (431)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL-4-46-37        7/1/1968     7/1/1969      7/1/1968     7/1/1969
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL 4 46 52        7/1/1969     7/1/1970      7/1/1969     7/1/1970
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL 4 46 70        7/1/1970     7/1/1971      7/1/1970     7/1/1971
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        SBL 4 46 90        7/1/1971     7/1/1972      7/1/1971     7/1/1972
Northern Lights (429): Lake Agassiz 1933-1974 (430)               Insurance Company of North America                        GAL 13 57 61       7/1/1972   11/10/1972      7/1/1972   11/10/1972
Northern Lights (429): Missouri Valley 1929-1974 (432)            Insurance Company of North America                        SBL 4 46 60       1/17/1970    1/17/1971    1/17/1970     1/17/1971
Northern Lights (429): Missouri Valley 1929-1974 (432)            Insurance Company of North America                        SBL 4 46 78       1/17/1971    1/17/1972    1/17/1971     1/17/1972
Northern Lights (429): Missouri Valley 1929-1974 (432)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    1/17/1972      1/1/1973
Northern Lights (429): Missouri Valley 1929-1974 (432)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    1/17/1972      1/1/1973




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Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Missouri Valley 1929-1974 (432)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Northern Lights 1974- (429)              Insurance Company of North America                        XBC 132519         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Lights (429): Northern Lights 1974- (429)              New Hampshire Insurance Company                           GLA 91 79 99       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Lights (429): Northern Lights 1974- (429)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Lights (429): Northern Lights 1974- (429)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Lights (429): Northern Lights 1974- (429)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Lights (429): Northern Lights 1974- (429)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 93        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Lights (429): Northern Lights 1974- (429)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Lights (429): Northern Lights 1974- (429)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220046         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Lights (429): Red River Valley 1925-1974 (429)         United States Fidelity and Guaranty Company               20011              6/1/1949    6/1/1950      6/1/1949     6/1/1950
Northern Lights (429): Red River Valley 1925-1974 (429)         United States Fidelity and Guaranty Company               CGA 28599          6/1/1950    6/1/1951      6/1/1950     6/1/1951
Northern Lights (429): Red River Valley 1925-1974 (429)         United States Fidelity and Guaranty Company               42075              6/1/1951    6/1/1952      6/1/1951     6/1/1952
Northern Lights (429): Red River Valley 1925-1974 (429)         Central Surety & Insurance Corporation                    CCP 12670          6/1/1952    6/1/1953      6/1/1952     6/1/1953
Northern Lights (429): Red River Valley 1925-1974 (429)         Central Surety & Insurance Corporation                    CCP 14162          6/1/1953    6/1/1954      6/1/1953     6/1/1954
Northern Lights (429): Red River Valley 1925-1974 (429)         Central Surety & Insurance Corporation                    CCP 17526          6/1/1954    6/1/1955      6/1/1954     6/1/1955
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL 71781           6/1/1955    6/1/1956      6/1/1955     6/1/1956
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL11-0537          6/1/1956    6/1/1957      6/1/1956     6/1/1957
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL10-9446          6/1/1957    6/1/1958      6/1/1957     6/1/1958
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        118145             6/1/1958    6/1/1959      6/1/1958     6/1/1959
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        120666             6/1/1959    6/1/1960      6/1/1959     6/1/1960
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL70090            6/1/1960    6/1/1961      6/1/1960     6/1/1961
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL70095            6/1/1961    6/1/1962      6/1/1961     6/1/1962
Northern Lights (429): Red River Valley 1925-1974 (429)         American Casualty Company of Reading, Pennsylvania        CL17-6975          6/1/1962    6/1/1963      6/1/1962     6/1/1963
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1963    6/1/1964      6/1/1963     6/1/1964
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1964    6/1/1965      6/1/1964     6/1/1965
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1965    6/1/1966      6/1/1965     6/1/1966
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1966    6/1/1967      6/1/1966     6/1/1967
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        Unknown            6/1/1967    6/1/1968      6/1/1967     6/1/1968
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL-4-46-39       8/16/1968   8/16/1969    8/16/1968     8/16/1969
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL 4 46 50       8/16/1969   8/16/1970    8/16/1969     8/16/1970
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL 4 46 74       8/16/1970   8/16/1971    8/16/1970     8/16/1971
Northern Lights (429): Red River Valley 1925-1974 (429)         Insurance Company of North America                        SBL 44688         8/16/1971   8/16/1972    8/16/1971     8/16/1972
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Lights (429): Red River Valley 1925-1974 (429)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 45385         4/25/1966   4/25/1967    4/25/1966     4/25/1967
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 45385         4/25/1967   4/25/1968    4/25/1967     4/25/1968
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 45385         4/25/1968   4/25/1969    4/25/1968     4/25/1969
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51182         4/25/1969   4/25/1970    4/25/1969     4/25/1970
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51175         4/25/1969   4/26/1969    4/25/1969     4/26/1969
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51182         4/25/1970   4/25/1971    4/25/1970     4/25/1971
Northern New Jersey (333): Aheka 1939-1972 (354)                Insurance Company of North America                        SBL 51182         4/25/1971   4/24/1972    4/25/1971     4/24/1972
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/25/1972      1/1/1973
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/25/1972      1/1/1973
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Aheka 1939-1972 (354)                Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 29 98        4/1/1965    4/1/1966      4/1/1965     4/1/1966
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 29 98        4/1/1966    4/1/1967      4/1/1966     4/1/1967




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Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 29 98        4/1/1967    4/1/1968      4/1/1967     4/1/1968
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 69 45        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 69 45        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Northern New Jersey (333): Alexander Hamilton 1936-1968 (351)   Insurance Company of North America                        SBL 4 69 45        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 29 90       5/11/1965   5/11/1966    5/11/1965     5/11/1966
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 29 90       5/11/1966   5/11/1967    5/11/1966     5/11/1967
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 29 90       5/11/1967   5/11/1968    5/11/1967     5/11/1968
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 69 39       5/11/1968   5/11/1969    5/11/1968     5/11/1969
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 69 39       5/11/1969   5/11/1970    5/11/1969     5/11/1970
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Insurance Company of North America                        SBL 4 69 39       5/11/1970   5/11/1971    5/11/1970     5/11/1971
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/11/1972      1/1/1973
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/11/1972      1/1/1973
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Alhtaha 1942-1972 (355)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bayonne 1918-1993 (332)              Travelers Indemnity Company                               Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Northern New Jersey (333): Bayonne 1918-1993 (332)              Travelers                                                 Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Northern New Jersey (333): Bayonne 1918-1993 (332)              Travelers Indemnity Company                               SBL 521793        11/1/1962   11/1/1963    11/1/1962     11/1/1963
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        Unknown           11/1/1963   11/1/1964    11/1/1963     11/1/1964
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        Unknown           11/1/1964   11/1/1965    11/1/1964     11/1/1965
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 45370         11/1/1965   11/1/1966    11/1/1965     11/1/1966
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 45370         11/1/1966   11/1/1967    11/1/1966     11/1/1967
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 45370         11/1/1967   11/1/1968    11/1/1967     11/1/1968
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 50420         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 50420         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Northern New Jersey (333): Bayonne 1918-1993 (332)              Insurance Company of North America                        SBL 50420         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Bayonne 1918-1993 (332)              New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bayonne 1918-1993 (332)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220178         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bayonne 1918-1993 (332)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bayonne 1918-1993 (332)              New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bergen 1969-1995 (350)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Bergen 1969-1995 (350)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bergen 1969-1995 (350)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bergen 1969-1995 (350)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Bergen 1969-1995 (350)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220187         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bergen 1969-1995 (350)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Bergen 1995-1999 (350)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    3/23/1972      1/1/1973
Northern New Jersey (333): Bergen 1995-1999 (350)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    3/23/1972      1/1/1973
Northern New Jersey (333): Bergen 1995-1999 (350)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974




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Northern New Jersey (333): Bergen 1995-1999 (350)                Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Bergen 1995-1999 (350)                Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Bergen 1995-1999 (350)                Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Eagle Rock 1931-1976 (346)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Eagle Rock 1931-1976 (346)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Eagle Rock 1931-1976 (346)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 74 00        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Essex 1976-1999 (336)                 New Hampshire Insurance Company                           GLA 336371         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Essex 1976-1999 (336)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 6 53 52       5/13/1965   5/13/1966    5/13/1965     5/13/1966
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 6 53 52       5/13/1966   5/13/1967    5/13/1966     5/13/1967
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 6 53 52       5/13/1967   5/13/1968    5/13/1967     5/13/1968
Northern New Jersey (333): Hudson 1936-1968 (342)                Insurance Company of North America                        SBL 4 69 51       5/13/1968   5/13/1969    5/13/1968     5/13/1969
Northern New Jersey (333): Hudson Liberty 1993-1999 (348)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Northern New Jersey (333): Hudson Liberty 1993-1999 (348)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Insurance Company of North America                        SBL 4 69 45        4/1/1968    4/1/1969      4/1/1968     4/1/1969
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Insurance Company of North America                        SBL 4 69 45        4/1/1969    4/1/1970      4/1/1969     4/1/1970
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Insurance Company of North America                        SBL 4 69 45        4/1/1970    4/1/1971      4/1/1970     4/1/1971
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 40        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220191         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Hudson-Hamilton 1968-1993 (348)       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        Unknown            1/1/1966   3/23/1966      1/1/1966    3/23/1966
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 4 53 81       3/23/1966   3/23/1967    3/23/1966     3/23/1967
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 4 53 81       3/23/1967   3/23/1968    3/23/1967     3/23/1968
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 4 53 81       3/23/1968   3/23/1969    3/23/1968     3/23/1969
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 5 11 79       3/23/1969   3/23/1970    3/23/1969     3/23/1970
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 5 11 79       3/23/1970   3/23/1971    3/23/1970     3/23/1971
Northern New Jersey (333): North Bergen County 1921-1969 (350)   Insurance Company of North America                        SBL 5 11 79       3/23/1971   3/23/1972    3/23/1971     3/23/1972
Northern New Jersey (333): Northern New Jersey 1999- (333)       Hartford Fire Insurance Company                           13 UUN CY4185      4/5/1999    4/5/2000      4/5/1999     4/5/2000
Northern New Jersey (333): Northern New Jersey 1999- (333)       Hartford Fire Insurance Company                           13 UUN CY4185      4/5/2000    4/5/2001      4/5/2000     4/5/2001
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        GLP-17-77-71      8/18/1967   8/18/1968    8/18/1967     8/18/1968
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        GLP-17-39-79      8/18/1968   8/18/1969    8/18/1968     8/18/1969
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        Unknown           8/18/1970   8/18/1971    8/18/1970     8/18/1971
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        Unknown           8/18/1971   8/18/1972    8/18/1971     8/18/1972
Northern New Jersey (333): Orange Mountain 1949-1976 (337)       Insurance Company of North America                        Unknown           8/18/1972   8/18/1973    8/18/1972     8/18/1973




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Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Insurance Company of North America                        Unknown           8/18/1973   8/18/1974    8/18/1973     8/18/1974
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Insurance Company of North America                        Unknown           8/18/1974    1/1/1975    8/18/1974      1/1/1975
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Orange Mountain 1949-1976 (337)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 43        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Passaic Valley 1973-1999 (353)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220194         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1946   6/14/1947    6/14/1946    6/14/1947
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1947   6/14/1948    6/14/1947    6/14/1948
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1948   6/14/1949    6/14/1948    6/14/1949
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1949   6/14/1950    6/14/1949    6/14/1950
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1950   6/14/1951    6/14/1950    6/14/1951
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1951   6/14/1952    6/14/1951    6/14/1952
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1952   6/14/1953    6/14/1952    6/14/1953
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1953   6/14/1954    6/14/1953    6/14/1954
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1954   6/14/1955    6/14/1954    6/14/1955
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1955   6/14/1956    6/14/1955    6/14/1956
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1956   6/14/1957    6/14/1956    6/14/1957
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1957   6/14/1958    6/14/1957    6/14/1958
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1958   6/14/1959    6/14/1958    6/14/1959
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1959   6/14/1960    6/14/1959    6/14/1960
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1960   6/14/1961    6/14/1960    6/14/1961
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1961   6/14/1962    6/14/1961    6/14/1962
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1962   6/14/1963    6/14/1962    6/14/1963
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1963   6/14/1964    6/14/1963    6/14/1964
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1964   6/14/1965    6/14/1964    6/14/1965
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        SBL 4 53 60       6/14/1965   6/14/1966    6/14/1965    6/14/1966
Northern New Jersey (333): Ridgewood and Glen Rock 1922-1997
(359)                                                          Insurance Company of North America                        Unknown           6/14/1965   6/14/1966    6/14/1965    6/14/1966




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Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 4 53 60       6/14/1966   6/14/1967    6/14/1966    6/14/1967
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        Unknown           6/14/1966   6/14/1967    6/14/1966    6/14/1967
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 4 53 60       6/14/1967   6/14/1968    6/14/1967    6/14/1968
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 50403         6/14/1968   6/14/1969    6/14/1968    6/14/1969
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 50403         6/14/1969   6/14/1970    6/14/1969    6/14/1970
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 50403         6/14/1970   6/14/1971    6/14/1970    6/14/1971
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Insurance Company of North America                        SBL 5 15 57       6/14/1971   6/14/1972    6/14/1971    6/14/1972
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/1/1972     1/1/1973
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/1/1972     1/1/1973
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 35        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220186         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Northern New Jersey (333): Ridgewood and Glen Rock        1922-1997
(359)                                                                 New Hampshire Insurance Company                           GLA 282471         3/1/1977    3/1/1978     3/1/1977     3/1/1978
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 53 71       5/13/1965   5/13/1966    5/13/1965    5/13/1966
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 53 71       5/13/1966   5/13/1967    5/13/1966    5/13/1967
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 53 71       5/13/1967   5/13/1968    5/13/1967    5/13/1968
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 69 44       5/13/1968   5/13/1969    5/13/1968    5/13/1969
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 69 44       5/13/1969   5/13/1970    5/13/1969    5/13/1970
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 4 69 44       5/13/1970   5/13/1971    5/13/1970    5/13/1971
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Insurance Company of North America                        SBL 5 15 44       5/13/1971   5/13/1972    5/13/1971    5/13/1972
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/13/1972     1/1/1973
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/13/1972     1/1/1973
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Northern New Jersey (333): Robert Treat 1933-1976 (349)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974




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Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Robert Treat 1933-1976 (349)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Robert Treat 1933-1976 (349)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Robert Treat 1933-1976 (349)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220182         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 45388          6/1/1966    6/1/1967      6/1/1966     6/1/1967
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 45388          6/1/1967    6/1/1968      6/1/1967     6/1/1968
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 45388          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 5 11 86        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 5 11 86        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Northern New Jersey (333): Tamarack 1935-1986 (333)       Insurance Company of North America                        SBL 5 11 86        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern New Jersey (333): Tamarack 1935-1986 (333)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 37        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern New Jersey (333): Tamarack 1935-1986 (333)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220188         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Tamarack 1935-1986 (333)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern New Jersey (333): Tamarack 1935-1986 (333)       New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                766JH0451          1/1/1961    1/1/1962      1/1/1961     1/1/1962
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Star (250): Indianhead Council 1955-2005 (295)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Star (250): Indianhead Council 1955-2005 (295)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Star (250): Indianhead Council 1955-2005 (295)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Indianhead Council 1955-2005 (295)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Indianhead Council 1955-2005 (295)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 04        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Indianhead Council 1955-2005 (295)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Indianhead Council 1955-2005 (295)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220154         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        Unknown            1/1/1961    7/1/1961      1/1/1961     7/1/1961
Northern Star (250): Viking 1951-2005 (289)               Insurance Company of North America                        XUA 1461           7/1/1961    9/1/1961      7/1/1961     9/1/1961




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Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1961    9/1/1962      9/1/1961     9/1/1962
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1962    9/1/1963      9/1/1962     9/1/1963
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1963    9/1/1964      9/1/1963     9/1/1964
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1964    9/1/1965      9/1/1964     9/1/1965
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        Unknown            9/1/1965    6/1/1966      9/1/1965     6/1/1966
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL-3-70-25       6/18/1966   6/18/1967    6/18/1966     6/18/1967
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 4 46 20       6/18/1967   6/18/1968    6/18/1967     6/18/1968
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 4 46 38       6/18/1968   6/18/1969    6/18/1968     6/18/1969
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 4 46 48       6/18/1969   6/18/1970    6/18/1969     6/18/1970
Northern Star (250): Viking 1951-2005 (289)             Insurance Company of North America                        SBL 44669         6/18/1970   6/18/1971    6/18/1970     6/18/1971
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/18/1972      1/1/1973
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/18/1972      1/1/1973
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northern Star (250): Viking 1951-2005 (289)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Viking 1951-2005 (289)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 01        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Viking 1951-2005 (289)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northern Star (250): Viking 1951-2005 (289)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northern Star (250): Viking 1951-2005 (289)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220151         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Georgia (100): Northwest Georgia (100)        Insurance Company of North America                        SBL 4 88 35       7/29/1970   7/29/1971    7/29/1970     7/29/1971
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northwest Georgia (100): Northwest Georgia (100)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 94        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Georgia (100): Northwest Georgia (100)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   SMP 267512        1/21/1976    3/9/1976    1/21/1976      3/9/1976
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   SMP 267512         3/9/1976   1/21/1977      3/9/1976    1/21/1977
Northwest Georgia (100): Northwest Georgia (100)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219942         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Georgia (100): Northwest Georgia (100)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Georgia (100): Northwest Georgia (100)        Hartford Accident and Indemnity Company                   SMP 267512        1/21/1977   1/21/1978    1/21/1977     1/21/1978
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Northwest Texas (587): Northwest Texas (587)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Texas (587): Northwest Texas (587)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 92        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Texas (587): Northwest Texas (587)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Northwest Texas (587): Northwest Texas (587)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220223         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Northwest Texas (587): Northwest Texas (587)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Norwela (215): Norwela (215)                            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Norwela (215): Norwela (215)                                 Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Norwela (215): Norwela (215)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 62           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Norwela (215): Norwela (215)                                 American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Norwela (215): Norwela (215)                                 Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Norwela (215): Norwela (215)                                 American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Norwela (215): Norwela (215)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220110            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Occoneechee (421): Occoneechee (421)                         Continental Casualty Company                              SRD-354549            1/1/1956    1/1/1957      1/1/1956     1/1/1957
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974      1/1/1973     1/1/1974
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Occoneechee (421): Occoneechee (421)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 89           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Occoneechee (421): Occoneechee (421)                         American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Occoneechee (421): Occoneechee (421)                         Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Occoneechee (421): Occoneechee (421)                         American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Occoneechee (421): Occoneechee (421)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220043            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 12           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220065            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): Fort Steuben Area 1929-1991 (459)   Insurance Company of North America                        AGP D0 05 09 68 1    4/19/1977    1/9/1978    4/19/1977      1/9/1978
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43230            6/15/1967   6/15/1968    6/15/1967     6/15/1968
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1968   6/15/1969    6/15/1968     6/15/1969
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1969   6/15/1970    6/15/1969     6/15/1970
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1970   6/15/1971    6/15/1970     6/15/1971
Ohio River Valley (619): National Trail 1966-1991 (619)      Insurance Company of North America                        SBL 43259            6/15/1971   6/15/1972    6/15/1971     6/15/1972
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10HUA43302            1/1/1972    1/1/1973    6/16/1972      1/1/1973
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43303             1/1/1972    1/1/1973    6/16/1972      1/1/1973
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10HUA43302            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43303             1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43329             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10HUA43331            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43342E            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ohio River Valley (619): National Trail 1966-1991 (619)      New Hampshire Insurance Company                           Unknown               1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      Hartford Accident and Indemnity Company                   10CA43349E            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 40           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      American Re-Insurance Company                             M-1027493             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ohio River Valley (619): National Trail 1966-1991 (619)      New Hampshire Insurance Company                           Unknown               1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): National Trail 1966-1991 (619)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220256            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ohio River Valley (619): National Trail 1966-1991 (619)      American Re-Insurance Company                             M-1027493             1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1959    1/1/1960      1/1/1959     1/1/1960
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1960    1/1/1961      1/1/1960     1/1/1961
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1961    1/1/1962      1/1/1961     1/1/1962
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1962    1/1/1963      1/1/1962     1/1/1963
Old Hickory (427): Old Hickory (427)                         Hartford Accident and Indemnity Company                   Unknown               1/1/1963    1/1/1964      1/1/1963     1/1/1964




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Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        7 04 34            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        Unknown            1/1/1969   2/28/1969      1/1/1969    2/28/1969
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        SBL 51025         2/28/1969   2/28/1970    2/28/1969     2/28/1970
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        SBL 52588         2/28/1970   2/28/1971    2/28/1970     2/28/1971
Old Hickory (427): Old Hickory (427)                    Insurance Company of North America                        SBL 53595         2/28/1971   2/28/1972    2/28/1971     2/28/1972
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old Hickory (427): Old Hickory (427)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 92        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old Hickory (427): Old Hickory (427)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old Hickory (427): Old Hickory (427)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old Hickory (427): Old Hickory (427)                    New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old Hickory (427): Old Hickory (427)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old Hickory (427): Old Hickory (427)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220045         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        SBL 50252          6/9/1968    6/9/1969      6/9/1968     6/9/1969
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        SBL 51056          6/9/1969    6/9/1970      6/9/1969     6/9/1970
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        SBL 5 26 52        6/9/1970    6/9/1971      6/9/1970     6/9/1971
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        Unknown            6/9/1971    6/9/1972      6/9/1971     6/9/1972
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        Unknown            6/9/1972    6/9/1973      6/9/1972     6/9/1973
Old North State (070): Cherokee 1923-1994 (417)         Insurance Company of North America                        Unknown            6/9/1973    1/1/1974      6/9/1973     1/1/1974
Old North State (070): Cherokee 1923-1994 (417)         United States Fidelity and Guaranty Company               Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old North State (070): Cherokee 1923-1994 (417)         United States Fidelity and Guaranty Company               Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): Cherokee 1923-1994 (417)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): Cherokee 1923-1994 (417)         United States Fidelity and Guaranty Company               Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 83        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Cherokee 1923-1994 (417)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Cherokee 1923-1994 (417)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Cherokee 1923-1994 (417)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220036         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): General Greene 1947-1992 (418)   Insurance Company of North America                        SBL 5 10 55       4/24/1969   4/24/1970    4/24/1969     4/24/1970
Old North State (070): General Greene 1947-1992 (418)   Insurance Company of North America                        SBL 52627         4/24/1970   4/24/1971    4/24/1970     4/24/1971
Old North State (070): General Greene 1947-1992 (418)   Insurance Company of North America                        SBL 53619         4/21/1971   4/21/1972    4/21/1971     4/21/1972
Old North State (070): General Greene 1947-1992 (418)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): General Greene 1947-1992 (418)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): General Greene 1947-1992 (418)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): General Greene 1947-1992 (418)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): General Greene 1947-1992 (418)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): General Greene 1947-1992 (418)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220040         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Uwharrie 1923-1992 (419)         Insurance Company of North America                        SBL 5 11 92       5/29/1969   5/29/1970    5/29/1969     5/29/1970
Old North State (070): Uwharrie 1923-1992 (419)         Insurance Company of North America                        SBL 5 11 92       5/29/1970   5/29/1971    5/29/1970     5/29/1971
Old North State (070): Uwharrie 1923-1992 (419)         Insurance Company of North America                        SBL 5 11 92       5/29/1971   5/29/1972    5/29/1971     5/29/1972
Old North State (070): Uwharrie 1923-1992 (419)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/29/1972      1/1/1973




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Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/29/1972      1/1/1973
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Old North State (070): Uwharrie 1923-1992 (419)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Uwharrie 1923-1992 (419)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 88        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Uwharrie 1923-1992 (419)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Old North State (070): Uwharrie 1923-1992 (419)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220041         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Old North State (070): Uwharrie 1923-1992 (419)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): North Orange 1965-1972 (037)         Insurance Company of North America                        SBL 4 59 03       12/1/1968   12/1/1969    12/1/1968     12/1/1969
Orange County (039): North Orange 1965-1972 (037)         Insurance Company of North America                        SBL 4 59 03       12/1/1969   12/1/1970    12/1/1969     12/1/1970
Orange County (039): North Orange 1965-1972 (037)         Insurance Company of North America                        SBL 4 59 03       12/1/1970   12/1/1971    12/1/1970     12/1/1971
Orange County (039): North Orange 1965-1972 (037)         New Hampshire Insurance Company                           GLA 424946         1/1/1972   8/15/1972      1/1/1972    8/15/1972
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           837484            8/15/1972    1/1/1973    8/15/1972      1/1/1973
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Orange County (039): Orange County 1972- (039)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Orange County (039): Orange County 1972- (039)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 54        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Orange County (039): Orange County 1972- (039)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): Orange County 1972- (039)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): Orange County 1972- (039)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219902         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Orange County (039): Orange Empire Area 1944-1972 (039)   New Hampshire Insurance Company                           Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Orange County (039): Orange Empire Area 1944-1972 (039)   Pacific Insurance Company                                 Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Oregon Trail (697): Oregon Trail (697)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Oregon Trail (697): Oregon Trail (697)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Oregon Trail (697): Oregon Trail (697)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Oregon Trail (697): Oregon Trail (697)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Oregon Trail (697): Oregon Trail (697)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Oregon Trail (697): Oregon Trail (697)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220081         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Overland Trails (322): Overland Trails 1993- (322)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 18        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Overland Trails 1993- (322)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220169         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Overland Trails (322): Tri-Trails 1954-1993 (323)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Overland Trails (322): Tri-Trails 1954-1993 (323)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Tri-Trails 1954-1993 (323)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Tri-Trails 1954-1993 (323)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 20        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Overland Trails (322): Tri-Trails 1954-1993 (323)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Overland Trails (322): Tri-Trails 1954-1993 (323)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220172         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Insurance Company of North America                        SBL 51587         6/15/1971   6/15/1972    6/15/1971     6/15/1972
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/15/1972      1/1/1973
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/15/1972      1/1/1973
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)           New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 13        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220163         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Mo-Kan Area 1929-1994 (306)            New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Ozark Trails (306): Ozarks 1966-1994 (308)                 Great American Insurance Company                          Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ozark Trails (306): Ozarks 1966-1994 (308)                 Great American Insurance Company                          Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Ozark Trails (306): Ozarks 1966-1994 (308)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 16        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 Great American Insurance Company                          Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Ozark Trails (306): Ozarks 1966-1994 (308)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ozark Trails (306): Ozarks 1966-1994 (308)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220167         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220245         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Mount Rainier 1948-1993 (612)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Insurance Company of North America                        SBL 50443         2/16/1969   2/16/1970    2/16/1969     2/16/1970
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Insurance Company of North America                        SBL 50443         2/16/1970   2/16/1971    2/16/1970     2/16/1971
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Insurance Company of North America                        SBL 50443         2/16/1971   2/16/1972    2/16/1971     2/16/1972
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/16/1972      1/1/1973
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220242         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
                                                                                                                     650-186E164-7-
Pacific Harbors (612): Tumwater Area 1934-1993 (737)       Charter Oak Fire Insurance Company                        COF-77            6/12/1977   6/12/1978    6/12/1977    6/12/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Insurance Company of North America                        SBL 51197         10/1/1969   10/1/1970    10/1/1969    10/1/1970
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Insurance Company of North America                        SBL 51197         10/1/1970   10/1/1971    10/1/1970    10/1/1971
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Insurance Company of North America                        SBL 51197         10/1/1971   10/1/1972    10/1/1971    10/1/1972
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    10/1/1972     1/1/1973
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973     1/1/1972     1/1/1973
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975




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Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Harbors (612): Twin Harbors Area 1930-1993 (607)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220241         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Insurance Company of North America                        SBL 5 04 42       1/19/1969   1/19/1970    1/19/1969     1/19/1970
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Insurance Company of North America                        SBL 5 04 42       1/19/1970   1/19/1971    1/19/1970     1/19/1971
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Insurance Company of North America                        SBL 5 04 42       1/19/1971   1/19/1972    1/19/1971     1/19/1972
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    1/19/1972      1/1/1973
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    1/19/1972      1/1/1973
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Skyline (031): San Mateo County 1932-1994 (020)    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 52        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): San Mateo County 1932-1994 (020)    New Hampshire Insurance Company                           GLA 282420         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1219900         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): San Mateo County 1932-1994 (020)    New Hampshire Insurance Company                           GLA 282421         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 48595         2/18/1965   2/18/1966    2/18/1965     2/18/1966
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 48595         2/18/1966   2/18/1967    2/18/1966     2/18/1967
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 48595         2/18/1967   2/18/1968    2/18/1967     2/18/1968
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 46904         2/18/1968   2/18/1969    2/18/1968     2/18/1969
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 46904         2/18/1969   2/18/1970    2/18/1969     2/18/1970
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 46904         2/18/1970   2/18/1971    2/18/1970     2/18/1971
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        SBL 51509         2/18/1971   2/18/1972    2/18/1971     2/18/1972
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    2/18/1972      1/1/1973
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    2/18/1972      1/1/1973
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 42        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pacific Skyline (031): Stanford Area 1940-1994 (031)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): Stanford Area 1940-1994 (031)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1219890         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pacific Skyline (031): Stanford Area 1940-1994 (031)       Insurance Company of North America                        GAL 34 32 31       2/4/1977    1/1/1978      2/4/1977     1/1/1978
Palmetto (549): Palmetto (549)                             Insurance Company of North America                        SBL 50254          7/1/1968    7/1/1969      7/1/1968     7/1/1969
Palmetto (549): Palmetto (549)                             Insurance Company of North America                        SBL 51087          7/1/1969    7/1/1970      7/1/1969     7/1/1970
Palmetto (549): Palmetto (549)                             Insurance Company of North America                        SBL 52670          7/1/1970    7/1/1971      7/1/1970     7/1/1971




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             Current Council: Predecessor Council                                         Carrier                           Policy Number   Start Date   End Date
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Palmetto (549): Palmetto (549)                                   Insurance Company of North America                        SBL 53661          7/1/1971    7/1/1972      7/1/1971     7/1/1972
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      7/1/1972     1/1/1973
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Palmetto (549): Palmetto (549)                                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Palmetto (549): Palmetto (549)                                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 60        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Palmetto (549): Palmetto (549)                                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Palmetto (549): Palmetto (549)                                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220282         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Palmetto (549): Palmetto (549)                                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Calumet 1965-2016 (152)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Calumet 1965-2016 (152)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Calumet 1965-2016 (152)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Calumet 1965-2016 (152)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Calumet 1965-2016 (152)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Calumet 1965-2016 (152)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219980         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL-2-50-05        1/1/1966    1/1/1967      1/1/1966     1/1/1967
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL-2-50-63        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL-2-51-31        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL 25162          1/1/1969    1/1/1970      1/1/1969     1/1/1970
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL 51835          1/1/1970    1/1/1971      1/1/1970     1/1/1971
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        SBL 5 18 50        1/1/1971    1/1/1972      1/1/1971     1/1/1972
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 11        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219958         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Chicago Area 1930-2016 (118)         Illinois Employers Insurance of Wausau                    77-GA 14332       9/12/1977   9/12/1978    9/12/1977     9/12/1978
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Insurance Company of North America                        SBL 52763         5/13/1971   5/13/1972    5/13/1971     5/13/1972
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Insurance Company of North America                        Unknown           5/13/1971   5/13/1972    5/13/1971     5/13/1972
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/13/1972      1/1/1973
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/13/1972      1/1/1973
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 08        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Northwest Suburban 1926-2016 (751)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219955         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Pathway to Adventure (456)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Pathway to Adventure (456)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Pathway to Adventure (456)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977




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             Current Council: Predecessor Council                                          Carrier                           Policy Number   Start Date   End Date
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Pathway to Adventure (456): Pathway to Adventure (456)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL-2-49-60        4/2/1965    4/2/1966      4/2/1965     4/2/1966
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 2 50 73        4/2/1966    4/2/1967      4/2/1966     4/2/1967
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 2 50 73        4/2/1967    4/2/1968      4/2/1967     4/2/1968
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 25148          4/2/1968    4/2/1969      4/2/1968     4/2/1969
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 51801          4/2/1969    4/2/1970      4/2/1969     4/2/1970
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 51825          4/2/1970    4/2/1971      4/2/1970     4/2/1971
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Insurance Company of North America                        SBL 51856          4/2/1971    4/2/1972      4/2/1971     4/2/1972
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/2/1972     1/1/1973
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/2/1972     1/1/1973
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 21        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219967         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): Thatcher Woods Area 1941-1993 (136)   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 45369         10/1/1965   10/1/1966    10/1/1965     10/1/1966
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 45369         10/1/1966   10/1/1967    10/1/1966     10/1/1967
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 45369         10/1/1967   10/1/1968    10/1/1967     10/1/1968
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 50419         10/1/1968   10/1/1969    10/1/1968     10/1/1969
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 50419         10/1/1969   10/1/1970    10/1/1969     10/1/1970
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Insurance Company of North America                        SBL 50419         10/1/1970   10/1/1971    10/1/1970     10/1/1971
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Federal Insurance Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Federal Insurance Company                                 Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pathway to Adventure (456): West Suburban 1918-1993 (147)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 19        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pathway to Adventure (456): West Suburban 1918-1993 (147)         New Hampshire Insurance Company                           SLP275526CN137     1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): West Suburban 1918-1993 (147)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219965         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pathway to Adventure (456): West Suburban 1918-1993 (147)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Camden Fire Insurance Association                         SMP 419016         2/1/1975    2/1/1976      2/1/1975     2/1/1976
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Morris-Sussex 1936-1999 (343)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Patriots' Path (358): Morris-Sussex 1936-1999 (343)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 27        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      Camden Fire Insurance Association                         SMP 419016         2/1/1976    2/1/1977      2/1/1976     2/1/1977
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220179         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Morris-Sussex 1936-1999 (343)      Camden Fire Insurance Association                         SMP 419016         2/1/1977    2/1/1978      2/1/1977     2/1/1978
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/15/1972      1/1/1973
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/15/1972      1/1/1973
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Patriots' Path (358): Union 1928-1980 (338)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Union 1928-1980 (338)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Union 1928-1980 (338)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 29        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Union 1928-1980 (338)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220181         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Union 1928-1980 (338)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        2115              1/27/1945   1/27/1946    1/27/1945     1/27/1946
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        2115              1/27/1946   1/27/1947    1/27/1946     1/27/1947
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        2115              1/27/1947   1/27/1948    1/27/1947     1/27/1948
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1948   1/27/1949    1/27/1948     1/27/1949
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1949   1/27/1950    1/27/1949     1/27/1950
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1950   1/27/1951    1/27/1950     1/27/1951
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1951   1/27/1952    1/27/1951     1/27/1952
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1952   1/27/1953    1/27/1952     1/27/1953
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1953   1/27/1954    1/27/1953     1/27/1954
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1954   1/27/1955    1/27/1954     1/27/1955
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1955   1/27/1956    1/27/1955     1/27/1956
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1956   1/27/1957    1/27/1956     1/27/1957
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1957   1/27/1958    1/27/1957     1/27/1958
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1958   1/27/1959    1/27/1958     1/27/1959
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1959   1/27/1960    1/27/1959     1/27/1960
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1960   1/27/1961    1/27/1960     1/27/1961
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1961   1/27/1962    1/27/1961     1/27/1962
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1962   1/27/1963    1/27/1962     1/27/1963
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1963   1/27/1964    1/27/1963     1/27/1964
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1964   1/27/1965    1/27/1964     1/27/1965
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1965   1/27/1966    1/27/1965     1/27/1966
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1966   1/27/1967    1/27/1966     1/27/1967
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1967   1/27/1968    1/27/1967     1/27/1968
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1968   1/27/1969    1/27/1968     1/27/1969
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1969   1/27/1970    1/27/1969     1/27/1970
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        Unknown           1/27/1970   3/20/1970    1/27/1970     3/20/1970
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        GAL-16124         3/20/1970   3/20/1971    3/20/1970     3/20/1971
Patriots' Path (358): Watchung Area 1926-1999 (358)      Insurance Company of North America                        SBL 21690         5/27/1971   5/27/1972    5/27/1971     5/27/1972
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/27/1972      1/1/1973
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/27/1972      1/1/1973
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Patriots' Path (358): Watchung Area 1926-1999 (358)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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              Current Council: Predecessor Council                                     Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                   Start Date1   End Date
Patriots' Path (358): Watchung Area 1926-1999 (358)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 34        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Patriots' Path (358): Watchung Area 1926-1999 (358)           Jefferson Insurance Company of New York                   JE 65914           1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220185         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Patriots' Path (358): Watchung Area 1926-1999 (358)           New Hampshire Insurance Company                           GLA 332370         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 4 53 56        7/1/1965     7/1/1966      7/1/1965     7/1/1966
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 4 53 56        7/1/1966     7/1/1967      7/1/1966     7/1/1967
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 4 53 56        7/1/1967     7/1/1968      7/1/1967     7/1/1968
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 5 04 07        7/1/1968     7/1/1969      7/1/1968     7/1/1969
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 5 04 07        7/1/1969     7/1/1970      7/1/1969     7/1/1970
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 5 04 07        7/1/1970     7/1/1971      7/1/1970     7/1/1971
Pee Dee Area (552): Pee Dee Area (552)                        Insurance Company of North America                        SBL 51579          7/1/1971     7/1/1972      7/1/1971     7/1/1972
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      7/1/1972     1/1/1973
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      7/1/1972     1/1/1973
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pee Dee Area (552): Pee Dee Area (552)                        New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 58        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pee Dee Area (552): Pee Dee Area (552)                        New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pee Dee Area (552): Pee Dee Area (552)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220280         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pee Dee Area (552): Pee Dee Area (552)                        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Nationwide Mutual Insurance Company                       Unknown            1/1/1965     1/1/1966      1/1/1965     1/1/1966
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        Unknown          12/31/1965   12/31/1966   12/31/1965    12/31/1966
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        Unknown          12/31/1966   12/31/1967   12/31/1966    12/31/1967
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        Unknown          12/31/1967   12/16/1968   12/31/1967    12/16/1968
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        SBL 4 85 12      12/16/1968   12/16/1969   12/16/1968    12/16/1969
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        SBL 4 85 12      12/16/1969   12/16/1970   12/16/1969    12/16/1970
Pennsylvania Dutch (524): Lancaster County 1924-1971 (519)    Insurance Company of North America                        SBL 4 85 12      12/16/1970   12/16/1971   12/16/1970    12/16/1971
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        SBL 53073         4/26/1971    4/25/1972    4/26/1971     4/25/1972
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        SBL 53073         4/26/1972    4/26/1973    4/26/1972     4/26/1973
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 9 67 55      11/28/1972   11/28/1973   11/28/1972    11/28/1973
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        SBL 53073         4/26/1973    4/26/1974    4/26/1973     4/26/1974
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 9 67 55      11/28/1973   11/28/1974   11/28/1973    11/28/1974
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 9 67 55      11/28/1974     1/1/1975   11/28/1974      1/1/1975
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Insurance Company of North America                        XBC 11 69 81       1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 38        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pennsylvania Dutch (524): Lancaster-Lebanon 1971-1995 (524)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220093         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)      Insurance Company of North America                        SBL 4 47 25       4/26/1967    4/26/1968    4/26/1967     4/26/1968
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)      Insurance Company of North America                        SBL 4 84 45       4/26/1968    4/26/1969    4/26/1968     4/26/1969




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Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 4 84 45        4/26/1969   4/26/1970    4/26/1969     4/26/1970
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 4 84 45        4/26/1970   4/26/1971    4/26/1970     4/26/1971
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1971   4/25/1972    4/26/1971     4/25/1972
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1972   4/26/1973    4/26/1972     4/26/1973
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1973   4/26/1974    4/26/1973     4/26/1974
Pennsylvania Dutch (524): Lebanon County 1924-1971 (650)   Insurance Company of North America                        SBL 5 30 73        4/26/1974    1/1/1975    4/26/1974      1/1/1975
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 4 53 99         6/1/1967    6/1/1968      6/1/1967     6/1/1968
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 4 53 99         6/1/1968    6/1/1969      6/1/1968     6/1/1969
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 4 53 99         6/1/1969    6/1/1970      6/1/1969     6/1/1970
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 5 13 90         6/1/1970    6/1/1971      6/1/1970     6/1/1971
Piedmont (042): Piedmont (042)                             Insurance Company of North America                        SBL 5 13 90         6/1/1971    6/1/1972      6/1/1971     6/1/1972
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1972    1/1/1973      6/1/1972     1/1/1973
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10HUA43302          1/1/1972    1/1/1973      6/1/1972     1/1/1973
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43329           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Piedmont (042): Piedmont (042)                             New Hampshire Insurance Company                           Unknown             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 45         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             American Re-Insurance Company                             M-1027493           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (042): Piedmont (042)                             American Re-Insurance Company                             M-1027493           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (042): Piedmont (042)                             New Hampshire Insurance Company                           GLA 282405          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (042): Piedmont (042)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219893          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 50251          6/15/1968   6/15/1969    6/15/1968     6/15/1969
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 51085          6/15/1969   6/15/1970    6/15/1969     6/15/1970
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        Unknown             1/1/1970    1/1/1971      1/1/1970     1/1/1971
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 52676          6/15/1970   6/15/1971    6/15/1970     6/15/1971
Piedmont (420): Piedmont (420)                             Insurance Company of North America                        SBL 53638          6/15/1971   6/15/1972    6/15/1971     6/15/1972
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1972    1/1/1973    6/15/1972      1/1/1973
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43303           1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10HUA43302          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43329           1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (420): Piedmont (420)                             New Hampshire Insurance Company                           Unknown             1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10HUA43331          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Piedmont (420): Piedmont (420)                             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 85         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             New Hampshire Insurance Company                           Unknown             1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             American Re-Insurance Company                             M-1027493           1/1/1976    1/1/1977      1/1/1976     1/1/1977
Piedmont (420): Piedmont (420)                             American Re-Insurance Company                             M-1027493           1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (420): Piedmont (420)                             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220038          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Piedmont (420): Piedmont (420)                             St. Paul Fire and Marine Insurance Company                Unknown             2/1/1977    2/1/1978      2/1/1977     2/1/1978
Piedmont (420): Piedmont (420)                             St. Paul Fire and Marine Insurance Company                Unknown             2/1/1978    2/1/1979      2/1/1978     2/1/1979
Piedmont (420): Piedmont (420)                             St. Paul Fire and Marine Insurance Company                Unknown             2/1/1979    2/1/1980      2/1/1979     2/1/1980
                                                                                                                     025 GL 21404017
Piedmont (420): Piedmont (420)                             Aetna Casualty and Surety Company                         CCS                6/15/1991   6/14/1992    6/15/1991    6/14/1992
Pikes Peak (060): Pikes Peak (060)                         Hartford Accident and Indemnity Company                   10CA43342E          1/1/1975    1/1/1976     1/1/1975     1/1/1976
Pikes Peak (060): Pikes Peak (060)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 62         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Pikes Peak (060): Pikes Peak (060)                         Hartford Accident and Indemnity Company                   10CA43349E          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Pikes Peak (060): Pikes Peak (060)                         American Re-Insurance Company                             M-1027493           1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Pikes Peak (060): Pikes Peak (060)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219910         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pikes Peak (060): Pikes Peak (060)                         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pine Burr Area (304): Pine Burr Area (304)                 New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 07        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Burr Area (304): Pine Burr Area (304)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220157         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Burr Area (304): Pine Burr Area (304)                 New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Burr Area (304): Pine Burr Area (304)                 American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 154949       1/25/1973    1/25/1974    1/25/1973     1/25/1974
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 157992       1/25/1974    1/25/1975    1/25/1974     1/25/1975
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 161230       1/25/1975    1/25/1976    1/25/1975     1/25/1976
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Tree (218): Pine Tree (218)                           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 64        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Tree (218): Pine Tree (218)                           American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 161099       1/25/1976    1/25/1977    1/25/1976     1/25/1977
Pine Tree (218): Pine Tree (218)                           American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Tree (218): Pine Tree (218)                           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220112         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pine Tree (218): Pine Tree (218)                           Hartford Accident and Indemnity Company                   04 C 163132       1/25/1977    1/25/1978    1/25/1977     1/25/1978
Pony Express (311): Pony Express (311)                     Insurance Company of North America                        SBL 5 08 54      12/29/1969   12/29/1970   12/29/1969    12/29/1970
Pony Express (311): Pony Express (311)                     Insurance Company of North America                        SBL 5 08 62      12/29/1970   12/29/1971   12/29/1970    12/29/1971
Pony Express (311): Pony Express (311)                     Insurance Company of North America                        Unknown          12/29/1971     1/1/1972   12/29/1971      1/1/1972
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Pony Express (311): Pony Express (311)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 14        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pony Express (311): Pony Express (311)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pony Express (311): Pony Express (311)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Pony Express (311): Pony Express (311)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Pony Express (311): Pony Express (311)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220165         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Potawatomi Area (651): Potawatomi Area (651)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Potawatomi Area (651): Potawatomi Area (651)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Potawatomi Area (651): Potawatomi Area (651)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 47        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Potawatomi Area (651): Potawatomi Area (651)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Potawatomi Area (651): Potawatomi Area (651)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220264         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Potawatomi Area (651): Potawatomi Area (651)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        Unknown            1/1/1968     1/1/1969      1/1/1968     1/1/1969
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 5 04 12        6/1/1968     6/1/1969      6/1/1968     6/1/1969
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 5 04 12        6/1/1969     6/1/1970      6/1/1969     6/1/1970
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 5 04 12        6/1/1970     6/1/1971      6/1/1970     6/1/1971
Prairielands (117): Arrowhead 1933-1991 (117)              Insurance Company of North America                        SBL 51570          6/1/1971     6/1/1972      6/1/1971     6/1/1972
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      6/1/1972     1/1/1973




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Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      6/1/1972     1/1/1973
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Prairielands (117): Arrowhead 1933-1991 (117)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 10        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Arrowhead 1933-1991 (117)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Arrowhead 1933-1991 (117)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Arrowhead 1933-1991 (117)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1219957         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Arrowhead 1933-1991 (117)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Piankeshaw 1926-1991 (739)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Prairielands (117): Piankeshaw 1926-1991 (739)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Piankeshaw 1926-1991 (739)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Piankeshaw 1926-1991 (739)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 13        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Prairielands (117): Piankeshaw 1926-1991 (739)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Prairielands (117): Piankeshaw 1926-1991 (739)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219959         1/1/1977    1/1/1978      1/1/1977     1/1/1978
President Ford FSC (781): President Ford FSC (781)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
President Ford FSC (781): President Ford FSC (781)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
President Ford FSC (781): President Ford FSC (781)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
President Ford FSC (781): President Ford FSC (781)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Puerto Rico (661): Puerto Rico 1965- (661)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Puerto Rico (661): Puerto Rico 1965- (661)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 54        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Puerto Rico (661): Puerto Rico 1965- (661)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Puerto Rico (661): Puerto Rico 1965- (661)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Puerto Rico (661): Puerto Rico 1965- (661)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Puerto Rico (661): Puerto Rico 1965- (661)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220276         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Pushmataha Area (691): Pushmataha Area (691)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 06        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Pushmataha Area (691): Pushmataha Area (691)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pushmataha Area (691): Pushmataha Area (691)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220156         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Pushmataha Area (691): Pushmataha Area (691)               New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Eastern Arkansas Area 1935-2002 (015)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219874         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 53 62       5/27/1965   5/27/1966    5/27/1965     5/27/1966
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 53 62       5/27/1966   5/27/1967    5/27/1966     5/27/1967
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 53 62       5/27/1967   5/27/1968    5/27/1967     5/27/1968
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 69 41       5/27/1968   5/27/1969    5/27/1968     5/27/1969
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 69 41       5/27/1969   5/27/1970    5/27/1969     5/27/1970
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        SBL 4 69 41       5/27/1970   5/27/1971    5/27/1970     5/27/1971
Quapaw Area (018): Ouachita Area 1925-2012 (014)           Insurance Company of North America                        Unknown           5/27/1971    1/1/1972    5/27/1971      1/1/1972




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Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/27/1972      1/1/1973
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/27/1972      1/1/1973
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quapaw Area (018): Ouachita Area 1925-2012 (014)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 24        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Ouachita Area 1925-2012 (014)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219873         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Ouachita Area 1925-2012 (014)      New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Ouachita Area 1925-2012 (014)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quapaw Area (018): Quapaw Area 1927- (018)            Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quapaw Area (018): Quapaw Area 1927- (018)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 26        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quapaw Area (018): Quapaw Area 1927- (018)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219875         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quapaw Area (018): Quapaw Area 1927- (018)            St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Kanza 1946-1997 (190)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quivira (198): Kanza 1946-1997 (190)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Kanza 1946-1997 (190)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 46        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Kanza 1946-1997 (190)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Kanza 1946-1997 (190)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Kanza 1946-1997 (190)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219992         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL-2-80-76        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL-2-80-81        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL-2-80-89        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL 5 08 58        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Quivira (198): Quivira 1918- (198)                    Insurance Company of North America                        SBL 5 08 63        6/1/1971   5/31/1972      6/1/1971    5/31/1972
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Quivira (198): Quivira 1918- (198)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 50        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Quivira (198): Quivira 1918- (198)                    New Hampshire Insurance Company                           GLA 332350         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                    Jefferson Insurance Company of New York                   GLA 323706         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Quivira (198): Quivira 1918- (198)                            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219998         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Quivira (198): Quivira 1918- (198)                            New Hampshire Insurance Company                           GLA 301302         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Quivira (198): Sekan Area 1930-1972 (193)                     Insurance Company of North America                        SBL 5 15 50       5/28/1971   12/31/1971    5/28/1971    12/31/1971
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 4 29 87        3/2/1965     3/2/1966      3/2/1965     3/2/1966
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 4 29 87        3/2/1966     3/2/1967      3/2/1966     3/2/1967
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 4 29 87        3/2/1967     3/2/1968      3/2/1967     3/2/1968
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 46920          3/2/1968     3/2/1969      3/2/1968     3/2/1969
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 46920          3/2/1969     3/2/1970      3/2/1969     3/2/1970
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 46920          3/2/1970     3/2/1971      3/2/1970     3/2/1971
Rainbow (702): Rainbow (702)                                  Insurance Company of North America                        SBL 51497          3/2/1971     3/2/1972      3/2/1971     3/2/1972
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      3/2/1972     1/1/1973
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      3/2/1972     1/1/1973
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   82 C 282090        1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   82 HU 580155      1/16/1975    1/16/1976    1/16/1975     1/16/1976
Rainbow (702): Rainbow (702)                                  American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rainbow (702): Rainbow (702)                                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 20        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rainbow (702): Rainbow (702)                                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rainbow (702): Rainbow (702)                                  American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rainbow (702): Rainbow (702)                                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219966         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      2/6/1972     1/1/1973
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      2/6/1972     1/1/1973
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Redwood Empire (041): Redwood Area 1923-1992 (044)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 33        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Redwood Area 1923-1992 (044)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219882         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Redwood Area 1923-1992 (044)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Redwood Area 1923-1992 (044)            New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Insurance Company of North America                        SBL 36222         5/20/1970    5/20/1971    5/20/1970     5/20/1971
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Insurance Company of North America                        SBL 51574         5/20/1971    5/20/1972    5/20/1971     5/20/1972
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/20/1972      1/1/1973
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/20/1972      1/1/1973
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 44        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219892         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Redwood Empire (041): Sonoma-Mendocino Area 1944-1992 (041)   New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Rio Grande (775): Rio Grande (775)                     Insurance Company of North America                        Unknown            1/1/1970     1/1/1971      1/1/1970     1/1/1971
Rio Grande (775): Rio Grande (775)                     Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rio Grande (775): Rio Grande (775)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rio Grande (775): Rio Grande (775)                     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 80        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rio Grande (775): Rio Grande (775)                     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rio Grande (775): Rio Grande (775)                     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220211         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rio Grande (775): Rio Grande (775)                     American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-37        11/12/1966   11/12/1967   11/12/1966    11/12/1967
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-37        11/12/1967   11/12/1968   11/12/1967    11/12/1968
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-37        11/12/1968   11/12/1969   11/12/1968    11/12/1969
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-72        11/12/1969   11/12/1970   11/12/1969    11/12/1970
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-72        11/12/1970   11/12/1971   11/12/1970    11/12/1971
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        AGP-82-72        11/12/1971    7/11/1972   11/12/1971     7/11/1972
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        GAL 227276         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        XBC 99313          1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 62        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        GAL 344145         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       Insurance Company of North America                        GAL 36 28 32       1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220016         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rip Van Winkle (405): Rip Van Winkle 1950- (405)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rocky Mountain (063): Rocky Mountain (063)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Rocky Mountain (063): Rocky Mountain (063)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 66        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rocky Mountain (063): Rocky Mountain (063)             American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rocky Mountain (063): Rocky Mountain (063)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Rocky Mountain (063): Rocky Mountain (063)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219914         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Rocky Mountain (063): Rocky Mountain (063)             American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1965    10/1/1966    10/1/1965     10/1/1966
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1966    10/1/1967    10/1/1966     10/1/1967
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1967    10/1/1968    10/1/1967     10/1/1968
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1968    10/1/1969    10/1/1968     10/1/1969
Sagamore (162): Meshingomesia 1929-1973 (163)          Insurance Company of North America                        SBL 41085         10/1/1969    10/1/1970    10/1/1969     10/1/1970
Sagamore (162): Sagamore 1973- (162)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Sagamore (162): Sagamore 1973- (162)                   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977




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Sagamore (162): Sagamore 1973- (162)                         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sagamore (162): Sagamore 1973- (162)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 33        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sagamore (162): Sagamore 1973- (162)                         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sagamore (162): Sagamore 1973- (162)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219979         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sagamore (162): Three Rivers 1936-1973 (162)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sam Houston Area (576): Sam Houston Area (576)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sam Houston Area (576): Sam Houston Area (576)               St. Paul Fire and Marine Insurance Company                Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 81        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sam Houston Area (576): Sam Houston Area (576)               St. Paul Fire and Marine Insurance Company                Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sam Houston Area (576): Sam Houston Area (576)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sam Houston Area (576): Sam Houston Area (576)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220212         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 53 59        6/1/1965    6/1/1966      6/1/1965     6/1/1966
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 53 59        6/1/1966    6/1/1967      6/1/1966     6/1/1967
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 53 59        6/1/1967    6/1/1968      6/1/1967     6/1/1968
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 40        6/1/1968    6/1/1969      6/1/1968     6/1/1969
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 40        6/1/1969    6/1/1970      6/1/1969     6/1/1970
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 40        6/1/1970    6/1/1971      6/1/1970     6/1/1971
Samoset (627): Samoset (627)                                 Insurance Company of North America                        SBL 4 15 64        6/1/1971    6/1/1972      6/1/1971     6/1/1972
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            6/1/1972    6/1/1973      6/1/1972     6/1/1973
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            6/1/1973    6/1/1974      6/1/1973     6/1/1974
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            6/1/1974    1/1/1975      6/1/1974     1/1/1975
Samoset (627): Samoset (627)                                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Samoset (627): Samoset (627)                                 Insurance Company of North America                        Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 Insurance Company of North America                        GAL 212382         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 48        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Samoset (627): Samoset (627)                                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Samoset (627): Samoset (627)                                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220265         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 81        4/1/1965    4/1/1966      4/1/1965     4/1/1966
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 81        4/1/1966    4/1/1967      4/1/1966     4/1/1967
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 81        4/1/1967    4/1/1968      4/1/1967     4/1/1968
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 35        4/1/1968    4/1/1969      4/1/1968     4/1/1969
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 35        4/1/1969    4/1/1970      4/1/1969     4/1/1970
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Insurance Company of North America                        SBL 4 69 35        4/1/1970    4/1/1971      4/1/1970     4/1/1971
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 32        1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219881         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): Desert Trails 1959-1993 (029)      New Hampshire Insurance Company                           GLA 332369         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): San Diego County 1921-1993 (049)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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San Diego-Imperial (049): San Diego County 1921-1993 (049)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 49        1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego County 1921-1993 (049)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): San Diego County 1921-1993 (049)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219897         1/1/1977    1/1/1978      1/1/1977     1/1/1978
San Diego-Imperial (049): San Diego County 1921-1993 (049)   New Hampshire Insurance Company                           SLP 275657        3/10/1977   3/10/1978    3/10/1977     3/10/1978
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
San Diego-Imperial (049): San Diego-Imperial 2005- (049)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Santa Fe Trail (194): Santa Fe Trail (194)                   Insurance Company of North America                        SBL 50430         11/1/1968   11/1/1969    11/1/1968     11/1/1969
Santa Fe Trail (194): Santa Fe Trail (194)                   Insurance Company of North America                        SBL 50430         11/1/1969   11/1/1970    11/1/1969     11/1/1970
Santa Fe Trail (194): Santa Fe Trail (194)                   Insurance Company of North America                        SBL 50430         11/1/1970   11/1/1971    11/1/1970     11/1/1971
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Santa Fe Trail (194): Santa Fe Trail (194)                   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 45        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Santa Fe Trail (194): Santa Fe Trail (194)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Santa Fe Trail (194): Santa Fe Trail (194)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219991         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Santa Fe Trail (194): Santa Fe Trail (194)                   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Insurance Company of North America                        GLP 32 23 19      5/17/1972   5/21/1972    5/17/1972     5/21/1972
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 804621       4/27/1973   4/27/1974    4/27/1973     4/27/1974
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 807376       4/27/1974   4/27/1975    4/27/1974     4/27/1975
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 809631       4/27/1975   4/27/1976    4/27/1975     4/27/1976
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 57        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 811730       4/27/1976   4/27/1977    4/27/1976     4/27/1977
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220010         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Finger Lakes 1924-2009 (391)         Hartford Accident and Indemnity Company                   03 C 814173       4/27/1977   4/27/1978    4/27/1977     4/27/1978
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Seneca Waterways (397): Otetiana 1943-2009 (397)             Jamestown Mutual Insurance Company                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963




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                                                                                                                                                          Start Date1   End Date
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            1/1/1963    4/1/1963      1/1/1963     4/1/1963
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        63-CGL9729         4/1/1963    4/1/1964      4/1/1963     4/1/1964
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1964    4/1/1965      4/1/1964     4/1/1965
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1965    4/1/1966      4/1/1965     4/1/1966
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1966    4/1/1967      4/1/1966     4/1/1967
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1967    4/1/1968      4/1/1967     4/1/1968
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        Unknown            4/1/1968    4/1/1969      4/1/1968     4/1/1969
Seneca Waterways (397): Otetiana 1943-2009 (397)      Jamestown Mutual Insurance Company                        GLA 18433          4/1/1969    4/1/1970      4/1/1969     4/1/1970
Seneca Waterways (397): Otetiana 1943-2009 (397)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Seneca Waterways (397): Otetiana 1943-2009 (397)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Otetiana 1943-2009 (397)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 71        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Otetiana 1943-2009 (397)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Seneca Waterways (397): Otetiana 1943-2009 (397)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220024         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Otetiana 1943-2009 (397)      Hartford Accident and Indemnity Company                   CBP 800237         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Seneca Waterways (397): Otetiana 1943-2009 (397)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 45380          3/1/1966    3/1/1967      3/1/1966     3/1/1967
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 45380          3/1/1967    3/1/1968      3/1/1967     3/1/1968
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 45380          3/1/1968    3/1/1969      3/1/1968     3/1/1969
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 50440          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 50440          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Insurance Company of North America                        SBL 50440          3/1/1971    3/1/1972      3/1/1971     3/1/1972
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sequoia (027): Mount Whitney Area 1929-1992 (054)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 59        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Mount Whitney Area 1929-1992 (054)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Mount Whitney Area 1929-1992 (054)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1219907         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Mount Whitney Area 1929-1992 (054)     New Hampshire Insurance Company                           GLA 282424         1/3/1977    1/3/1978      1/3/1977     1/3/1978
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 62        3/1/1965    3/1/1966      3/1/1965     3/1/1966
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 62        3/1/1966    3/1/1967      3/1/1966     3/1/1967
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 62        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 27        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 27        3/1/1969    3/1/1970      3/1/1969     3/1/1970
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 4 69 27        3/1/1970    3/1/1971      3/1/1970     3/1/1971
Sequoia (027): Sequoia 1925- (027)                    Insurance Company of North America                        SBL 5 15 10        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sequoia (027): Sequoia 1925- (027)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Sequoia 1925- (027)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 34        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoia (027): Sequoia 1925- (027)                    New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Sequoia (027): Sequoia 1925- (027)                                  Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Sequoia 1925- (027)                                  New Hampshire Insurance Company                           GLA 332400         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoia (027): Sequoia 1925- (027)                                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219883         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        SBL 51193         6/11/1969   6/11/1970    6/11/1969     6/11/1970
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        SBL 51193         6/11/1970   6/11/1971    6/11/1970     6/11/1971
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        SBL 51193         6/11/1971   6/11/1972    6/11/1971     6/11/1972
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/11/1972      1/1/1973
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/11/1972      1/1/1973
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sequoyah (713): Sequoyah (713)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 66        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoyah (713): Sequoyah (713)                                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoyah (713): Sequoyah (713)                                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sequoyah (713): Sequoyah (713)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220288         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoyah (713): Sequoyah (713)                                      Insurance Company of North America                        Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sequoyah (713): Sequoyah (713)                                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1970    1/1/1971      1/1/1970     1/1/1971
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Shenandoah Area (598): Shenandoah Area (598)                        Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Shenandoah Area (598): Shenandoah Area (598)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Shenandoah Area (598): Shenandoah Area (598)                        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 16        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Shenandoah Area (598): Shenandoah Area (598)                        New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Shenandoah Area (598): Shenandoah Area (598)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Shenandoah Area (598): Shenandoah Area (598)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220237         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 48        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               New Hampshire Insurance Company                           Unknown            1/1/1977   10/1/1977     1/1/1977    10/1/1977
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Monterey Bay Area    1933-2013
(025)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219896         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974




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Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 50        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Insurance Company of North America                        Unknown            1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219898         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Silicon Valley Monterey Bay (055): Santa Clara County   1929-2012
(055)                                                               Insurance Company of North America                        GAL 34 32 19       6/7/1977    6/7/1978     6/7/1977     6/7/1978
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/30/1972     1/1/1973
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/30/1972     1/1/1973
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Simon Kenton (441): Central Ohio 1930-1994 (441)                    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 99        1/1/1976    1/1/1977     1/1/1976     1/1/1977
Simon Kenton (441): Central Ohio 1930-1994 (441)                    American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Simon Kenton (441): Central Ohio 1930-1994 (441)                    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Simon Kenton (441): Central Ohio 1930-1994 (441)                    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220052         1/1/1977    1/1/1978     1/1/1977     1/1/1978
Simon Kenton (441): Central Ohio 1930-1994 (441)                    American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 4 53 66        7/1/1965    7/1/1966     7/1/1965     7/1/1966
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 4 53 66        7/1/1966    7/1/1967     7/1/1966     7/1/1967
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 4 53 66        7/1/1967    7/1/1968     7/1/1967     7/1/1968
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 50413          7/1/1968    7/1/1969     7/1/1968     7/1/1969
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 50413          7/1/1969    7/1/1970     7/1/1969     7/1/1970
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 50413          7/1/1970    7/1/1971     7/1/1970     7/1/1971
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Insurance Company of North America                        SBL 51585          7/1/1971    7/1/1972     7/1/1971     7/1/1972
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973     7/1/1972     1/1/1973
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973     7/1/1972     1/1/1973
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975     1/1/1974     1/1/1975
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Simon Kenton (441): Chief Logan 1944-1994 (464)                     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977




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Simon Kenton (441): Chief Logan 1944-1994 (464)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Chief Logan 1944-1994 (464)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Chief Logan 1944-1994 (464)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 96        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Chief Logan 1944-1994 (464)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Chief Logan 1944-1994 (464)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220049         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Chief Logan 1944-1994 (464)        New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 4 29 58       1/14/1965   1/14/1966    1/14/1965     1/14/1966
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 4 29 58       1/14/1966   1/14/1967    1/14/1966     1/14/1967
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 4 29 58       1/14/1967   1/14/1968    1/14/1967     1/14/1968
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 46902         1/14/1968   1/14/1969    1/14/1968     1/14/1969
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 46902         1/14/1969   1/14/1970    1/14/1969     1/14/1970
Simon Kenton (441): Licking County 1922-1987 (451)     Insurance Company of North America                        SBL 46902         1/14/1970   6/28/1970    1/14/1970     6/28/1970
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Simon Kenton (441): Licking County 1922-1987 (451)     American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Licking County 1922-1987 (451)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 07        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Licking County 1922-1987 (451)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Licking County 1922-1987 (451)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220060         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Licking County 1922-1987 (451)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Scioto Area 1931-1994 (457)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Simon Kenton (441): Scioto Area 1931-1994 (457)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Scioto Area 1931-1994 (457)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Scioto Area 1931-1994 (457)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 09        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Simon Kenton (441): Scioto Area 1931-1994 (457)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220062         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Simon Kenton (441): Scioto Area 1931-1994 (457)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 4 53 93       11/1/1966   11/1/1967    11/1/1966     11/1/1967
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        Unknown           11/1/1967   11/1/1968    11/1/1967     11/1/1968
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        Unknown           11/1/1968   11/1/1969    11/1/1968     11/1/1969
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 5 11 99       11/1/1969   11/1/1970    11/1/1969     11/1/1970
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 5 11 99       11/1/1970   11/1/1971    11/1/1970     11/1/1971
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        SBL 5 11 99       11/1/1971   11/1/1972    11/1/1971     11/1/1972
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    11/1/1972      1/1/1973
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    11/1/1972      1/1/1973
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        AGP 14 41 08       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 61        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Pheasant 1942-1978 (693)                  Insurance Company of North America                        AGP 14 41 08       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Pheasant 1942-1978 (693)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220283         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Pheasant 1942-1978 (693)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        CGL 243562        5/13/1966   5/13/1967    5/13/1966     5/13/1967
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP-07-93-29      5/13/1967   5/13/1968    5/13/1967     5/13/1968
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP-14-72-39      5/13/1968   5/13/1969    5/13/1968     5/13/1969
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP 22 78 40      5/13/1969   5/13/1970    5/13/1969     5/13/1970




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Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP 22 79 77      5/13/1970   5/13/1971    5/13/1970     5/13/1971
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GLP 30 83 96      5/13/1971   5/12/1972    5/13/1971     5/12/1972
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown           5/13/1972    1/1/1973    5/13/1972      1/1/1973
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        GAL 21 16 51       1/1/1973   5/24/1973      1/1/1973    5/24/1973
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        XBC 97586          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 41      5/24/1973    1/1/1974    5/24/1973      1/1/1974
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        XBC 97752          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        XBC 97752          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Sioux 1927- (733)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 63        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Sioux (733): Sioux 1927- (733)                         Insurance Company of North America                        AGP 13 14 75       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Sioux (733): Sioux 1927- (733)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220285         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Florida (084): South Florida (084)               Continental Casualty Company                              Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
South Florida (084): South Florida (084)               Continental Casualty Company                              Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
South Florida (084): South Florida (084)               Continental Casualty Company                              Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1963    2/8/1964      2/8/1963     2/8/1964
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1964    2/8/1965      2/8/1964     2/8/1965
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1965    2/8/1966      2/8/1965     2/8/1966
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1966    2/8/1967      2/8/1966     2/8/1967
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1967    2/8/1968      2/8/1967     2/8/1968
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1968    2/8/1969      2/8/1968     2/8/1969
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1969    2/8/1970      2/8/1969     2/8/1970
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1970    2/8/1971      2/8/1970     2/8/1971
South Florida (084): South Florida (084)               Consolidated Mutual Insurance Company                     Unknown            2/8/1971    1/1/1972      2/8/1971     1/1/1972
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      2/8/1972     1/1/1973
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      2/8/1972     1/1/1973
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Florida (084): South Florida (084)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Florida (084): South Florida (084)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Florida (084): South Florida (084)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Florida (084): South Florida (084)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219927         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Florida (084): South Florida (084)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Georgia (098): Alapaha Area 1960-2012 (098)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 97        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Alapaha Area 1960-2012 (098)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219944         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Alapaha Area 1960-2012 (098)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Alapaha Area 1960-2012 (098)      New Hampshire Insurance Company                           GLA 282454        2/23/1977   2/23/1978    2/23/1977     2/23/1978
South Georgia (098): Chehaw 1939-1984 (097)            Insurance Company of North America                        SBL 5 11 87       4/23/1969   4/23/1970    4/23/1969     4/23/1970




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South Georgia (098): Chehaw 1939-1984 (097)                   Insurance Company of North America                        SBL 5 11 87       4/23/1970   4/23/1971    4/23/1970     4/23/1971
South Georgia (098): Chehaw 1939-1984 (097)                   Insurance Company of North America                        SBL 5 11 87       4/23/1971   4/23/1972    4/23/1971     4/23/1972
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/23/1972      1/1/1973
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/23/1972      1/1/1973
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Georgia (098): Chehaw 1939-1984 (097)                   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 87        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Georgia (098): Chehaw 1939-1984 (097)                   New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Chehaw 1939-1984 (097)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Georgia (098): Chehaw 1939-1984 (097)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1219935         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 IC 632582      2/16/1973   2/16/1974    2/16/1973     2/16/1974
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 IC 632582      2/16/1974   2/16/1975    2/16/1974     2/16/1975
South Plains (694): South Plains (694)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 IC 632582      2/16/1975   2/16/1976    2/16/1975     2/16/1976
South Plains (694): South Plains (694)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 82        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Plains (694): South Plains (694)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Plains (694): South Plains (694)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 TMP 100576     2/16/1976   2/16/1977    2/16/1976     2/16/1977
South Plains (694): South Plains (694)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220213         1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Plains (694): South Plains (694)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 TMP 100576     2/16/1977   2/16/1978    2/16/1977     2/16/1978
South Plains (694): South Plains (694)                        Hartford Casualty Insurance Company                       46 TMP 100576     2/16/1978   2/16/1979    2/16/1978     2/16/1979
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               CGL 48 44 08      5/16/1966   5/16/1967    5/16/1966     5/16/1967
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1967   5/16/1968    5/16/1967     5/16/1968
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1968   5/16/1969    5/16/1968     5/16/1969
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1969   5/16/1970    5/16/1969     5/16/1970
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1970   5/16/1971    5/16/1970     5/16/1971
South Texas (577): Gulf Coast 1929-2002 (577)                 U.S. Fire Insurance Company                               Unknown           5/16/1971    1/1/1972    5/16/1971      1/1/1972
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
South Texas (577): Gulf Coast 1929-2002 (577)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 75        1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Texas (577): Gulf Coast 1929-2002 (577)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Texas (577): Gulf Coast 1929-2002 (577)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
South Texas (577): Gulf Coast 1929-2002 (577)                 Employers Casualty Company                                C-558681           1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Texas (577): Gulf Coast 1929-2002 (577)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
South Texas (577): Gulf Coast 1929-2002 (577)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220206         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975




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Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 60        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southeast Louisiana (214): New Orleans Area 1927-1993 (214)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220108         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southeast Louisiana (214): Southeast Louisiana (214)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southeast Louisiana (214): Southeast Louisiana (214)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): Southeast Louisiana (214)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southeast Louisiana (214): Southeast Louisiana (214)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Shores FSC (783): Southern Shores FSC (783)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southern Shores FSC (783): Southern Shores FSC (783)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Shores FSC (783): Southern Shores FSC (783)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Shores FSC (783): Southern Shores FSC (783)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Southern Sierra (030): Southern Sierra 1965- (030)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 28        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southern Sierra (030): Southern Sierra 1965- (030)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1219877         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            Jefferson Insurance Company of New York                   65899              1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            Jefferson Insurance Company of New York                   65898              1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southern Sierra (030): Southern Sierra 1965- (030)            New Hampshire Insurance Company                           GLA 282518         4/1/1977     4/1/1978      4/1/1977     4/1/1978
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 45392          1/1/1967     1/1/1968      1/1/1967     1/1/1968
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 45392          1/1/1968     1/1/1969      1/1/1968     1/1/1969
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 45392          1/1/1969     1/1/1970      1/1/1969     1/1/1970
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 51305          1/1/1970     1/1/1971      1/1/1970     1/1/1971
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 51305          1/1/1971     1/1/1972      1/1/1971     1/1/1972
Southwest Florida (088): Southwest Florida 1966- (088)        Insurance Company of North America                        SBL 51305          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Southwest Florida 1966- (088)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Southwest Florida 1966- (088)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 77        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Southwest Florida 1966- (088)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219925         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 4 53 54      11/17/1965   11/17/1966   11/17/1965    11/17/1966
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 4 53 54      11/17/1966   11/17/1967   11/17/1966    11/17/1967
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 4 53 54      11/17/1967   11/17/1968   11/17/1967    11/17/1968
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 50422        11/17/1968   11/17/1969   11/17/1968    11/17/1969
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 50422        11/17/1969   11/17/1970   11/17/1969    11/17/1970
Southwest Florida (088): Sunny Land 1925-1995 (724)           Insurance Company of North America                        SBL 50422        11/17/1970   11/17/1971   11/17/1970    11/17/1971
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971     5/1/1972      5/1/1971     5/1/1972
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43315         9/21/1971     1/1/1972    9/21/1971      1/1/1972
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973      1/1/1972     1/1/1973
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      1/1/1972     1/1/1973
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Southwest Florida (088): Sunny Land 1925-1995 (724)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976




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              Current Council: Predecessor Council                                   Carrier                           Policy Number   Start Date   End Date
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Southwest Florida (088): Sunny Land 1925-1995 (724)         New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 82        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Southwest Florida (088): Sunny Land 1925-1995 (724)         American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Southwest Florida (088): Sunny Land 1925-1995 (724)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219930         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Southwest Florida (088): Sunny Land 1925-1995 (724)         New Hampshire Insurance Company                           GLA 282417        2/10/1977   2/10/1978    2/10/1977     2/10/1978
Spirit of Adventure (227): Boston 1921-1980 (227)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Boston 1921-1980 (227)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Boston 1921-1980 (227)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Boston 1921-1980 (227)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 68        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Boston 1921-1980 (227)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Boston 1921-1980 (227)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220116         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      3/1/1973     1/1/1974
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      3/1/1973     1/1/1974
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Cambridge 1919-2001 (229)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 70        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Cambridge 1919-2001 (229)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Cambridge 1919-2001 (229)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Cambridge 1919-2001 (229)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220120         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Cambridge 1919-2001 (229)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 78        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Greater Lowell 1927-1977 (238)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Insurance Company of North America                        Unknown            1/1/1970    3/6/1970      1/1/1970     3/6/1970
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/16/1972      1/1/1973
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/16/1972      1/1/1973
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220128         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Greater Lowell 1977-1999 (238)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Insurance Company of North America                        SBL 46915          3/6/1970    3/6/1971      3/6/1970     3/6/1971
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Insurance Company of North America                        SBL 51409          3/6/1971    3/6/1972      3/6/1971     3/6/1972
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/6/1972     1/1/1973
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/6/1972     1/1/1973
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Lone Tree 1926-1993 (749)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 74        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Spirit of Adventure (227): Lone Tree 1926-1993 (749)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220124         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Lone Tree 1926-1993 (749)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Mass. Bay Federated 1976-1979 (850)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Mass. Bay Federated 1976-1979 (850)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Mass. Bay Federated 1976-1979 (850)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Minuteman 1959-1993 (240)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): Minuteman 1959-1993 (240)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Minuteman 1959-1993 (240)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 81        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Minuteman 1959-1993 (240)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): Minuteman 1959-1993 (240)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): Minuteman 1959-1993 (240)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220132         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Bay 1966-1993 (236)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Bay 1966-1993 (236)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Bay 1966-1993 (236)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Bay 1966-1993 (236)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 80        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Bay 1966-1993 (236)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220131         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Bay 1966-1993 (236)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 50418         6/10/1968   6/10/1969    6/10/1968     6/10/1969
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 50418         6/10/1969   6/10/1970    6/10/1969     6/10/1970
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 50418         6/10/1970   6/10/1971    6/10/1970     6/10/1971
Spirit of Adventure (227): North Essex 1925-1993 (712)           Insurance Company of North America                        SBL 51562         6/10/1971   6/10/1972    6/10/1971     6/10/1972
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    6/10/1972      1/1/1973
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    6/10/1972      1/1/1973
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           UL 078557          1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           SLP 63-47-76       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Spirit of Adventure (227): North Essex 1925-1993 (712)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 77        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           SLP 63-49-02       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Spirit of Adventure (227): North Essex 1925-1993 (712)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220127         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Essex 1925-1993 (712)           New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Spirit of Adventure (227): North Essex 1925-1993 (712)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 65760          6/1/1967    6/1/1968      6/1/1967     6/1/1968
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 65760          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CPP 500098      6/1/1969    6/1/1970      6/1/1969     6/1/1970
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 65760          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC-73765          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CPP 500098      6/1/1970    6/1/1971      6/1/1970     6/1/1971
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC-73765          6/1/1971    3/9/1972      6/1/1971     3/9/1972
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CPP 500098      6/1/1971    6/1/1972      6/1/1971     6/1/1972
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 73765          3/9/1972    3/7/1973      3/9/1972     3/7/1973
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 SMP 304687      6/1/1972    6/1/1973      6/1/1972     6/1/1973
Suffolk County (404): Suffolk County (404)                       Insurance Company of North America                        XBC 73765          3/7/1973    6/1/1973      3/7/1973     6/1/1973
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 SMP 304687      6/1/1973    6/1/1974      6/1/1973     6/1/1974
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 SMP 304687      6/1/1974    6/1/1975      6/1/1974     6/1/1975
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   12 CBP 400297      6/1/1974    6/1/1975      6/1/1974     6/1/1975
Suffolk County (404): Suffolk County (404)                       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976




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Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400297      6/1/1975    6/1/1976      6/1/1975     6/1/1976
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suffolk County (404): Suffolk County (404)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suffolk County (404): Suffolk County (404)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 66        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400297      6/1/1976    6/1/1977      6/1/1976     6/1/1977
Suffolk County (404): Suffolk County (404)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Suffolk County (404): Suffolk County (404)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220019         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400656      6/1/1977    6/1/1978      6/1/1977     6/1/1978
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400656      6/1/1978    6/1/1979      6/1/1978     6/1/1979
Suffolk County (404): Suffolk County (404)                   Hartford Accident and Indemnity Company                   12 CBP 400656      6/1/1979    6/1/1980      6/1/1979     6/1/1980
Susquehanna (533): Susquehanna 1975- (533)                   Insurance Company of North America                        XBC 9 85 02        1/1/1972    1/1/1973      1/1/1972     1/1/1973
Susquehanna (533): Susquehanna 1975- (533)                   Insurance Company of North America                        XBC 9 85 02        1/1/1973    1/1/1974      1/1/1973     1/1/1974
Susquehanna (533): Susquehanna 1975- (533)                   Insurance Company of North America                        XBC 9 85 02        1/1/1974    1/1/1975      1/1/1974     1/1/1975
Susquehanna (533): Susquehanna 1975- (533)                   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Susquehanna (533): Susquehanna 1975- (533)                   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 51        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Susquehanna (533): Susquehanna 1975- (533)                   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Susquehanna (533): Susquehanna 1975- (533)                   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Susquehanna (533): Susquehanna 1975- (533)                   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Susquehanna (533): Susquehanna 1975- (533)                   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220273         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        4 47 50           6/14/1965   6/14/1966    6/14/1965     6/14/1966
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        4 47 50           6/14/1966   6/14/1967    6/14/1966     6/14/1967
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        4 47 50           6/14/1967   6/14/1968    6/14/1967     6/14/1968
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 4 84 64       6/14/1968   6/14/1969    6/14/1968     6/14/1969
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 4 84 64       6/14/1969   6/14/1970    6/14/1969     6/14/1970
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 4 84 64       6/14/1970   6/14/1971    6/14/1970     6/14/1971
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 53078         7/14/1971   7/13/1972    7/14/1971     7/13/1972
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        SBL 53078         7/14/1972   2/22/1973    7/14/1972     2/22/1973
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        GLP 411728        2/22/1973   2/22/1974    2/22/1973     2/22/1974
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        XBC 9 68 34       2/22/1973   2/22/1974    2/22/1973     2/22/1974
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        XBC 9 68 34       2/22/1974   2/22/1975    2/22/1974     2/22/1975
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Insurance Company of North America                        GLP 411728        2/22/1974   2/22/1975    2/22/1974     2/22/1975
Susquehanna (533): Susquehanna Valley Area 1927-1975 (533)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL-4-48-96        2/9/1967    2/9/1968      2/9/1967     2/9/1968
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL-4-48-96        2/9/1968    2/9/1969      2/9/1968     2/9/1969
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL-4-48-96        2/9/1969    2/9/1970      2/9/1969     2/9/1970
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL 5 30 08        2/9/1970    2/9/1971      2/9/1970     2/9/1971
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL 5 30 08        2/9/1971    2/9/1972      2/9/1971     2/9/1972
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        SBL 5 30 08        2/9/1972    2/9/1973      2/9/1972     2/9/1973
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        XBC 9 68 17        2/9/1973    2/9/1974      2/9/1973     2/9/1974
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        GLP 40 76 42       2/9/1973    2/9/1974      2/9/1973     2/9/1974
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        XBC 9 68 17        2/9/1974    2/9/1975      2/9/1974     2/9/1975
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        GLP 40 76 42       2/9/1974    2/9/1975      2/9/1974     2/9/1975
Susquehanna (533): West Branch 1935-1975 (543)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        GLP 40 76 42       2/9/1975   3/26/1975      2/9/1975    3/26/1975
Susquehanna (533): West Branch 1935-1975 (543)               Insurance Company of North America                        XBC 9 68 17        2/9/1975    2/9/1976      2/9/1975     2/9/1976
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   21 SMP 118708     9/15/1975   9/15/1976    9/15/1975     9/15/1976
Suwannee River Area (664): Suwannee River Area (664)         American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suwannee River Area (664): Suwannee River Area (664)         National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 84        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Suwannee River Area (664): Suwannee River Area (664)         Hartford Accident and Indemnity Company                   21 SMP 118708     9/15/1976   9/15/1977    9/15/1976     9/15/1977
Suwannee River Area (664): Suwannee River Area (664)         National Union Fire Insurance Company of Pittsburgh, PA   BE 1219932         1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Suwannee River Area (664): Suwannee River Area (664)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Suwannee River Area (664): Suwannee River Area (664)   New Hampshire Insurance Company                           Unknown           2/10/1977    2/10/1978    2/10/1977     2/10/1978
Suwannee River Area (664): Suwannee River Area (664)   Hartford Accident and Indemnity Company                   21 SMP 118708     9/15/1977     1/1/1978    9/15/1977      1/1/1978
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-68-33        12/15/1965   12/15/1966   12/15/1965    12/15/1966
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-68-33        12/15/1966   12/15/1967   12/15/1966    12/15/1967
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-68-33        12/15/1967   12/15/1968   12/15/1967    12/15/1968
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-1-64-96      12/15/1968   12/15/1969   12/15/1968    12/15/1969
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1968   12/15/1969   12/15/1968    12/15/1969
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-1-64-96      12/15/1969   12/15/1970   12/15/1969    12/15/1970
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1969   12/15/1970   12/15/1969    12/15/1970
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1970   12/15/1971   12/15/1970    12/15/1971
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        AGP-1-64-96      12/15/1970   12/15/1971   12/15/1970    12/15/1971
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1971   12/15/1972   12/15/1971    12/15/1972
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1972   12/15/1973   12/15/1972    12/15/1973
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1973   12/15/1974   12/15/1973    12/15/1974
Tecumseh (439): Tecumseh (439)                         Insurance Company of North America                        Unknown          12/15/1974     1/1/1975   12/15/1974      1/1/1975
Tecumseh (439): Tecumseh (439)                         Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Tecumseh (439): Tecumseh (439)                         National Union Fire Insurance Company of Pittsburgh, PA   BE121 72 11        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tecumseh (439): Tecumseh (439)                         Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tecumseh (439): Tecumseh (439)                         American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tecumseh (439): Tecumseh (439)                         National Union Fire Insurance Company of Pittsburgh, PA   BE 1220064         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tecumseh (439): Tecumseh (439)                         American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 51317          4/1/1970     4/1/1971      4/1/1970     4/1/1971
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 5 13 91        4/1/1970     4/1/1971      4/1/1970     4/1/1971
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 5 13 91        4/1/1971     4/1/1972      4/1/1971     4/1/1972
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 51317          4/1/1971    3/31/1972      4/1/1971    3/31/1972
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973      4/1/1972     1/1/1973
Texas Southwest (741): Concho Valley 1926-2012 (741)   Insurance Company of North America                        SBL 51317          4/1/1972     4/1/1973      4/1/1972     4/1/1973
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Texas Southwest (741): Concho Valley 1926-2012 (741)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Southwest (741): Concho Valley 1926-2012 (741)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 86        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Southwest (741): Concho Valley 1926-2012 (741)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Southwest (741): Concho Valley 1926-2012 (741)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220217         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Southwest (741): Concho Valley 1926-2012 (741)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Southwest (741): Texas Southwest 2012- (741)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Southwest (741): Texas Southwest 2012- (741)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Insurance Company of North America                        SBL 5 14 98       2/15/1971    2/15/1972    2/15/1971     2/15/1972
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    2/15/1972      1/1/1973
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    2/15/1972      1/1/1973
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Chisholm Trail 1926-2003 (561)     National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 70        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Chisholm Trail 1926-2003 (561)     Ambassador Insurance Company                              Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Chisholm Trail 1926-2003 (561)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220201         1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Texas Trails (561): Chisholm Trail 1926-2003 (561)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Chisholm Trail 1926-2003 (561)        New Hampshire Insurance Company                           GLA 332324         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        SBL 45420         12/5/1968   12/5/1969    12/5/1968     12/5/1969
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        SBL 45425         12/5/1969   12/5/1970    12/5/1969     12/5/1970
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        Unknown           12/5/1970   12/5/1971    12/5/1970     12/5/1971
Texas Trails (561): Comanche Trail 1932-2003 (479)        Insurance Company of North America                        Unknown           12/5/1971    1/1/1972    12/5/1971      1/1/1972
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    12/5/1972      1/1/1973
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    12/5/1972      1/1/1973
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Comanche Trail 1932-2003 (479)        New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Comanche Trail 1932-2003 (479)        New Hampshire Insurance Company                           Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Texas Trails (561): Comanche Trail 1932-2003 (479)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 74        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Texas Trails (561): Comanche Trail 1932-2003 (479)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Texas Trails (561): Comanche Trail 1932-2003 (479)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220205         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 41011         1/12/1967   1/12/1968    1/12/1967     1/12/1968
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 41011         1/12/1968   1/12/1969    1/12/1968     1/12/1969
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP-1-88-16        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 41011         1/12/1969   1/12/1970    1/12/1969     1/12/1970
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP-1-88-16        1/1/1970    1/1/1971      1/1/1970     1/1/1971
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 43053         1/12/1970   1/12/1971    1/12/1970     1/12/1971
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        GLP 19 73 26      2/20/1970   2/20/1971    2/20/1970     2/20/1971
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP-1-88-16        1/1/1971    1/1/1972      1/1/1971     1/1/1972
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 43053         1/12/1971   1/12/1972    1/12/1971     1/12/1972
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        GLP 28 44 92      2/20/1971   2/20/1972    2/20/1971     2/20/1972
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1972    1/1/1973      1/1/1972     1/1/1973
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 43053         1/12/1972   1/12/1973    1/12/1972     1/12/1973
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 45540         1/12/1973   1/12/1974    1/12/1973     1/12/1974
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 45540         1/12/1974   1/12/1975    1/12/1974     1/12/1975
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        AGP 09 98 41       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XBC 45540         1/12/1975   1/12/1976    1/12/1975     1/12/1976
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 73        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Theodore Roosevelt (386): Nassau County 1916-1997 (386)   Insurance Company of North America                        XCP 12350         1/12/1976    3/1/1976    1/12/1976      3/1/1976




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Theodore Roosevelt (386): Nassau County 1916-1997 (386)     Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     Continental Casualty Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     National Union Fire Insurance Company of Pittsburgh, PA   BE 1220026         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     New Hampshire Insurance Company                           GLA 210262         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Theodore Roosevelt (386): Nassau County 1916-1997 (386)     American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Chief Shabbona 1931-1968 (735)           Insurance Company of North America                        SBL 4 29 79       3/29/1965   3/29/1966    3/29/1965     3/29/1966
Three Fires (127): Chief Shabbona 1931-1968 (735)           Insurance Company of North America                        SBL 4 29 79       3/29/1966   3/29/1967    3/29/1966     3/29/1967
Three Fires (127): Chief Shabbona 1931-1968 (735)           Insurance Company of North America                        SBL 4 29 79       3/29/1967   3/29/1968    3/29/1967     3/29/1968
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        RWP-2-70-86        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        RWP-2-70-86        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        RWP-2-70-86        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 5 11 76       4/29/1969   4/29/1970    4/29/1969     4/29/1970
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        XPL 17137         4/29/1970   4/29/1971    4/29/1970     4/29/1971
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 51829         4/29/1970   4/29/1971    4/29/1970     4/29/1971
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 5 11 76       4/29/1970   4/29/1971    4/29/1970     4/29/1971
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 5 11 76       4/29/1971   4/29/1972    4/29/1971     4/29/1972
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        XPL 17137         4/29/1971   4/28/1972    4/29/1971     4/28/1972
Three Fires (127): Du Page Area 1928-1992 (148)             Insurance Company of North America                        SBL 51829         4/29/1971   4/28/1972    4/29/1971     4/28/1972
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    4/29/1972      1/1/1973
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    4/29/1972      1/1/1973
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Du Page Area 1928-1992 (148)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Du Page Area 1928-1992 (148)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219973         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Du Page Area 1928-1992 (148)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Du Page Area 1928-1992 (148)             Hartford Accident and Indemnity Company                   82 UUN PN2419      6/1/1985    6/1/1986      6/1/1985     6/1/1986
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL-2-51-01        3/1/1967    3/1/1968      3/1/1967     3/1/1968
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL-2-51-43        3/1/1968    3/1/1969      3/1/1968     3/1/1969
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL 51809          3/1/1969    3/1/1970      3/1/1969     3/1/1970
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL 51826          3/1/1970    3/1/1971      3/1/1970     3/1/1971
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        SBL 5 18 58        3/1/1971    3/1/1972      3/1/1971     3/1/1972
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      3/1/1972     1/1/1973
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      3/1/1972     1/1/1973
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        GAL 24 20 22       1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        Unknown            1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Three Fires (127): Two Rivers 1968-1992 (127)               Insurance Company of North America                        GAL 23 79 42       1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 25        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Three Fires (127): Two Rivers 1968-1992 (127)               INA Insurance Company of Illinois                         GAL 23 74 77       1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Two Rivers 1968-1992 (127)               American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Two Rivers 1968-1992 (127)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1219971         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Three Fires (127): Two Rivers/DuPage Area 1992-1993 (127)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 27        1/1/1976    1/1/1977      1/1/1976     1/1/1977




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              Current Council: Predecessor Council                                   Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                 Start Date1   End Date
Three Fires (127): Two Rivers/DuPage Area 1992-1993 (127)   New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL 41511          2/5/1966     2/5/1967      2/5/1966     2/5/1967
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL 41526          2/5/1967     2/5/1968      2/5/1967     2/5/1968
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL-4-15-35        2/5/1968     2/5/1969      2/5/1968     2/5/1969
Three Harbors (636): Kenosha 1961-1972 (623)                Insurance Company of North America                        SBL-4-15-39        2/5/1968     2/5/1969      2/5/1968     2/5/1969
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        CGL190079         10/1/1962    10/1/1963    10/1/1962     10/1/1963
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        Unknown            1/1/1963     1/1/1964      1/1/1963     1/1/1964
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        CGL190079         10/1/1963    10/1/1964    10/1/1963     10/1/1964
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        CGL190079         10/1/1964    10/1/1965    10/1/1964     10/1/1965
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 41515         10/1/1965    10/1/1966    10/1/1965     10/1/1966
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL-4-15-20       10/1/1966    10/1/1967    10/1/1966     10/1/1967
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL-4-15-31       10/1/1967    10/1/1968    10/1/1967     10/1/1968
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 4 15 42       10/1/1968    10/1/1969    10/1/1968     10/1/1969
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 4 15 50       10/1/1969    10/1/1970    10/1/1969     10/1/1970
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        SBL 4 15 59       10/1/1970    10/1/1971    10/1/1970     10/1/1971
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        Unknown           10/1/1971    10/1/1972    10/1/1971     10/1/1972
Three Harbors (636): Milwaukee County 1929-2011 (629)       Insurance Company of North America                        Unknown           10/1/1972    10/1/1973    10/1/1972     10/1/1973
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA2353         10/1/1973    10/1/1974    10/1/1973     10/1/1974
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648XA6131         3/12/1974    3/12/1975    3/12/1974     3/12/1975
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA2353         10/1/1974    10/1/1975    10/1/1974     10/1/1975
Three Harbors (636): Milwaukee County 1929-2011 (629)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648XA6131         3/12/1975    3/12/1976    3/12/1975     3/12/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA2353         10/1/1975    10/1/1976    10/1/1975     10/1/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Milwaukee County 1929-2011 (629)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648XA6131         3/12/1976    10/1/1976    3/12/1976     10/1/1976
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA5036         10/1/1976    10/1/1977    10/1/1976     10/1/1977
Three Harbors (636): Milwaukee County 1929-2011 (629)       American Re-Insurance Company                             Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220262         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       Continental Casualty Company                              RDX9539468        2/11/1977     1/1/1978    2/11/1977      1/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA5036         10/1/1977    10/1/1978    10/1/1977     10/1/1978
Three Harbors (636): Milwaukee County 1929-2011 (629)       St. Paul Fire and Marine Insurance Company                648NA5036         10/1/1978    10/1/1979    10/1/1978     10/1/1979
Three Harbors (636): Racine County 1927-1972 (631)          Insurance Company of North America                        SBL 5 11 91       6/15/1969    6/15/1970    6/15/1969     6/15/1970
Three Harbors (636): Racine County 1927-1972 (631)          Insurance Company of North America                        SBL 5 11 91       6/15/1970    6/15/1971    6/15/1970     6/15/1971
Three Harbors (636): Racine County 1927-1972 (631)          Insurance Company of North America                        SBL 5 11 91       6/15/1971    6/15/1972    6/15/1971     6/15/1972
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    6/15/1972      1/1/1973
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    6/15/1972      1/1/1973
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Insurance Company of North America                        GAL 21 22 13       1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Insurance Company of North America                        GAL 21 23 07       1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220263         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Harbors (636): Southeast Wisconsin 1972-2011 (634)    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Rivers (578): Three Rivers 1970- (578)                Maryland American General Group                           CGA682849        11/18/1964   11/18/1965   11/18/1964    11/18/1965
Three Rivers (578): Three Rivers 1970- (578)                Maryland American General Group                           Unknown          11/18/1965   11/18/1966   11/18/1965    11/18/1966
Three Rivers (578): Three Rivers 1970- (578)                Maryland American General Group                           Unknown          11/18/1966   11/18/1967   11/18/1966    11/18/1967




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              Current Council: Predecessor Council                               Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                             Start Date1   End Date
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           Unknown          11/18/1967   11/18/1968   11/18/1967    11/18/1968
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           Unknown          11/18/1968    3/16/1969   11/18/1968     3/16/1969
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           31-480583         3/16/1969    3/16/1970    3/16/1969     3/16/1970
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           31-476201         3/16/1971    3/16/1972    3/16/1971     3/16/1972
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    3/16/1972      1/1/1973
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    3/16/1972      1/1/1973
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           31-480583         3/16/1972    3/16/1973    3/16/1972     3/16/1973
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           7186226           6/25/1972    6/25/1973    6/25/1972     6/25/1973
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Three Rivers (578): Three Rivers 1970- (578)            Maryland American General Group                           542TD5947         1/10/1975    1/10/1976    1/10/1975     1/10/1976
Three Rivers (578): Three Rivers 1970- (578)            American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Rivers (578): Three Rivers 1970- (578)            National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 73        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Rivers (578): Three Rivers 1970- (578)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Three Rivers (578): Three Rivers 1970- (578)            National Union Fire Insurance Company of Pittsburgh, PA   BE 1220204         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Rivers (578): Three Rivers 1970- (578)            American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Three Rivers (578): Trinity-Neches 1942-1970 (565)      Maryland American General Group                           31-818323         3/16/1969    3/16/1970    3/16/1969     3/16/1970
Three Rivers (578): Trinity-Neches 1942-1970 (565)      Maryland American General Group                           31-471819         3/16/1970    3/16/1971    3/16/1970     3/16/1971
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        LB 4 17 55         1/1/1966     1/1/1967      1/1/1966     1/1/1967
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        ALB-4-17-88        1/1/1967     1/1/1968      1/1/1967     1/1/1968
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        ALB-4-17-88        1/1/1968     1/1/1969      1/1/1968     1/1/1969
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        ALB-4-17-88        1/1/1969     1/1/1970      1/1/1969     1/1/1970
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1971     1/1/1972      1/1/1971     1/1/1972
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1973     1/1/1974      1/1/1973     1/1/1974
Tidewater (596): Tidewater (596)                        Insurance Company of North America                        Unknown            1/1/1974     1/1/1975      1/1/1974     1/1/1975
Tidewater (596): Tidewater (596)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Tidewater (596): Tidewater (596)                        American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 10        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Tidewater (596): Tidewater (596)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220232         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tidewater (596): Tidewater (596)                        New Hampshire Insurance Company                           Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tidewater (596): Tidewater (596)                        American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Transatlantic (802): Transatlantic 1953- (802)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      8/1/1974     1/1/1975
Transatlantic (802): Transatlantic 1953- (802)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Transatlantic (802): Transatlantic 1953- (802)          American Foreign Insurance Association                    Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Transatlantic (802): Transatlantic 1953- (802)          American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 93        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          American Foreign Insurance Association                    Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Transatlantic (802): Transatlantic 1953- (802)          American Foreign Insurance Association                    Unknown            1/1/1977     1/1/1978      1/1/1977     1/1/1978
Transatlantic (802): Transatlantic 1953- (802)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220224         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Transatlantic (802): Transatlantic 1953- (802)          American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 45391         11/1/1966    11/1/1967    11/1/1966     11/1/1967
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 45391         11/1/1967    11/1/1968    11/1/1967     11/1/1968
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 45391         11/1/1968    11/1/1969    11/1/1968     11/1/1969
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 5 11 98       11/1/1969    11/1/1970    11/1/1969     11/1/1970
Tukabatchee Area (005): Tukabatchee Area (005)          Insurance Company of North America                        SBL 5 11 98       11/1/1970    11/1/1971    11/1/1970     11/1/1971




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Tukabatchee Area (005): Tukabatchee Area (005)             Insurance Company of North America                        SBL 5 11 98       11/1/1971   11/1/1972    11/1/1971     11/1/1972
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    11/1/1972      1/1/1973
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    11/1/1972      1/1/1973
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Tukabatchee Area (005): Tukabatchee Area (005)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             Continental Insurance Company                             CBP 76715          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 12        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tukabatchee Area (005): Tukabatchee Area (005)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tukabatchee Area (005): Tukabatchee Area (005)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1219862         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tukabatchee Area (005): Tukabatchee Area (005)             Continental Insurance Company                             Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      7/1/1972     1/1/1973
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Tuscarora (424): Tuscarora (424)                           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tuscarora (424): Tuscarora (424)                           National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 86        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tuscarora (424): Tuscarora (424)                           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Tuscarora (424): Tuscarora (424)                           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Tuscarora (424): Tuscarora (424)                           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220039         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Adirondack 1924-2006 (394)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Adirondack 1924-2006 (394)              American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Adirondack 1924-2006 (394)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 70        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Adirondack 1924-2006 (394)              National Union Fire Insurance Company of Pittsburgh, PA   BE 1220023         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Adirondack 1924-2006 (394)              American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Fort Orange-Uncle Sam 1963-1971 (364)   St. Paul Fire and Marine Insurance Company                Unknown            1/1/1971    1/1/1972      1/1/1971     1/1/1972
Twin Rivers (364): Governor Clinton 1971-1990 (364)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Governor Clinton 1971-1990 (364)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Governor Clinton 1971-1990 (364)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Governor Clinton 1971-1990 (364)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 65        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Governor Clinton 1971-1990 (364)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Governor Clinton 1971-1990 (364)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220018         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      4/1/1972     1/1/1973
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      4/1/1972     1/1/1973
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Mohican 1927-1998 (378)                 Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Mohican 1927-1998 (378)                 National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 58        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Mohican 1927-1998 (378)                 American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Mohican 1927-1998 (378)                 National Union Fire Insurance Company of Pittsburgh, PA   BE 1220011         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Mohican 1927-1998 (378)                 American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 C 530923        5/1/1972     5/1/1973      5/1/1972     5/1/1973
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 C 531176        5/1/1972     5/1/1973      5/1/1972     5/1/1973
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 HU 300166     12/15/1972   12/15/1973   12/15/1972    12/15/1973
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 HU 300166     12/15/1973   12/15/1974   12/15/1973    12/15/1974
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   01 HU 300166     12/15/1974   12/15/1975   12/15/1974    12/15/1975
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Saratoga County 1924-1990 (684)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 49        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Saratoga County 1924-1990 (684)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Saratoga County 1924-1990 (684)       American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Saratoga County 1924-1990 (684)       American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Saratoga County 1924-1990 (684)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220001         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Schenectady County 1926-1991 (399)    Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Schenectady County 1926-1991 (399)    Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Schenectady County 1926-1991 (399)    National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 74        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Schenectady County 1926-1991 (399)    American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Schenectady County 1926-1991 (399)    American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Schenectady County 1926-1991 (399)    National Union Fire Insurance Company of Pittsburgh, PA   BE 1220027         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 59        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220012         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Rivers (364): Sir William Johnson 1937-1990 (377)   American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Valley (283): Cedar Valley Area 1937-1969 (282)     Insurance Company of North America                        SBL 45389         6/20/1966    6/20/1967    6/20/1966     6/20/1967
Twin Valley (283): Cedar Valley Area 1937-1969 (282)     Insurance Company of North America                        SBL-4-46-15       6/20/1967    6/20/1968    6/20/1967     6/20/1968
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 44634         10/1/1967    10/1/1968    10/1/1967     10/1/1968
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 44646         10/1/1968    10/1/1969    10/1/1968     10/1/1969
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 4 46 54       10/1/1969    10/1/1970    10/1/1969     10/1/1970
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        SBL 44673         10/1/1970    10/1/1971    10/1/1970     10/1/1971
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        GAL 11 80 46      10/1/1971    10/1/1972    10/1/1971     10/1/1972
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        Unknown            1/1/1972     1/1/1973      1/1/1972     1/1/1973
Twin Valley (283): Twin Valley 1969- (283)               Insurance Company of North America                        GAL 13 61 40      10/1/1972     1/1/1973    10/1/1972      1/1/1973
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Twin Valley (283): Twin Valley 1969- (283)               New Hampshire Insurance Company                           Unknown            1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Twin Valley (283): Twin Valley 1969- (283)               National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 00        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Valley (283): Twin Valley 1969- (283)               American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Valley (283): Twin Valley 1969- (283)               Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Twin Valley (283): Twin Valley 1969- (283)               National Union Fire Insurance Company of Pittsburgh, PA   BE 1220150         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Twin Valley (283): Twin Valley 1969- (283)               American Re-Insurance Company                             M-1027493          1/1/1977     1/1/1978      1/1/1977     1/1/1978
                                                                                                                   660845F6308COF
Twin Valley (283): Twin Valley 1969- (283)               Travelers Indemnity Company                               90                 4/1/1990     4/1/1991     4/1/1990      4/1/1991
Unknown (N/A): Unknown (N/A)                             Insurance Company of North America                        LG 67 00 88        2/1/1964     2/1/1965     2/1/1964      2/1/1965
Unknown (N/A): Unknown (N/A)                             Insurance Company of North America                        OLT 77 92 72       5/3/1964     5/3/1965     5/3/1964      5/3/1965
Unknown (N/A): Unknown (N/A)                             Insurance Company of North America                        LG 67 00 88        2/1/1965     2/1/1966     2/1/1965      2/1/1966




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Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 39 54      2/16/1965    2/16/1966    2/16/1965     2/16/1966
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 92 72       5/3/1965     5/3/1966      5/3/1965     5/3/1966
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 74 48 16      5/24/1965    5/24/1966    5/24/1965     5/24/1966
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 784768        1/26/1966    1/26/1967    1/26/1966     1/26/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG 67 00 88        2/1/1966     2/1/1967      2/1/1966     2/1/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 39 54      2/16/1966    2/16/1967    2/16/1966     2/16/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 46      3/28/1966    3/28/1967    3/28/1966     3/28/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 92 72       5/3/1966     5/3/1967      5/3/1966     5/3/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 36      5/24/1966    5/24/1967    5/24/1966     5/24/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG-69-82-98        8/8/1966     8/8/1967      8/8/1966     8/8/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 62 83         10/4/1966    10/4/1967    10/4/1966     10/4/1967
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 20490         1/11/1967    1/11/1968    1/11/1967     1/11/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-4-20-49       1/26/1967    1/26/1968    1/26/1967     1/26/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 27123         2/14/1967    2/14/1968    2/14/1967     2/14/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 77 39 54      2/16/1967    2/16/1968    2/16/1967     2/16/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 42204          3/6/1967     3/6/1968      3/6/1967     3/6/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-4-20-28       3/28/1967    3/28/1968    3/28/1967     3/28/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 44650         3/30/1967    3/30/1968    3/30/1967     3/30/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 11 59      4/11/1967    4/10/1968    4/11/1967     4/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-07-08-30       5/3/1967     5/3/1968      5/3/1967     5/3/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 08 30       5/3/1967     5/3/1968      5/3/1967     5/3/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 36      5/24/1967    5/24/1968    5/24/1967     5/24/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 17 68      6/10/1967    6/10/1968    6/10/1967     6/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-7-10-90       6/10/1967    6/10/1968    6/10/1967     6/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 77 68      6/10/1967    6/10/1968    6/10/1967     6/10/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG-69-82-98        8/8/1967     8/8/1968      8/8/1967     8/8/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1967    10/4/1968    10/4/1967     10/4/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1967    10/4/1968    10/4/1967     10/4/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GAL 15474        10/17/1967   10/16/1968   10/17/1967    10/16/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 17683        12/21/1967   12/20/1968   12/21/1967    12/20/1968
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-77-44      1/11/1968    1/11/1969    1/11/1968     1/11/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-4-20-49       1/26/1968     4/9/1969    1/26/1968      4/9/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-14-65-79      2/14/1968    2/14/1969    2/14/1968     2/14/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-44-76      2/16/1968    2/16/1969    2/16/1968     2/16/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-82-64       3/6/1968     3/6/1969      3/6/1968     3/6/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-63-87      3/20/1968    3/20/1969    3/20/1968     3/20/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-78-83      3/30/1968    3/30/1969    3/30/1968     3/30/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-07-08-30       5/3/1968     5/3/1969      5/3/1968     5/3/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 08 30       5/3/1968     5/3/1969      5/3/1968     5/3/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    OLT 78 88 36      5/24/1968    5/24/1969    5/24/1968     5/24/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-7-10-90       6/10/1968    6/10/1969    6/10/1968     6/10/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 17 68      6/10/1968    6/10/1969    6/10/1968     6/10/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 77 68      6/10/1968    6/10/1969    6/10/1968     6/10/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    LG-69-82-98        8/8/1968     8/8/1969      8/8/1968     8/8/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1968     8/7/1969    10/4/1968      8/7/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-06-40-05      10/4/1968    10/4/1969    10/4/1968     10/4/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GAL 15556        10/17/1968   10/17/1969   10/17/1968    10/17/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-18-01-66     12/21/1968   12/21/1969   12/21/1968    12/21/1969
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-13-44-76      2/16/1969    2/16/1970    2/16/1969     2/16/1970
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-22-32-34      3/30/1969    3/30/1970    3/30/1969     3/30/1970
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP 07 08 30       5/3/1969     5/3/1970      5/3/1969     5/3/1970
Unknown (N/A): Unknown (N/A)                        Insurance Company of North America                    GLP-07-08-30       5/3/1969     5/3/1970      5/3/1969     5/3/1970




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Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-22-87-11      5/18/1969    5/19/1969    5/18/1969     5/19/1969
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 07 17 68      6/10/1969    6/10/1970    6/10/1969     6/10/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-7-10-90       6/10/1969    6/10/1970    6/10/1969     6/10/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 07 77 68      6/10/1969    6/10/1970    6/10/1969     6/10/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-19-66-19      6/15/1969    6/16/1969    6/15/1969     6/16/1969
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-06-40-05      10/4/1969    10/4/1970    10/4/1969     10/4/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-24-50-57     12/21/1969   12/21/1970   12/21/1969    12/21/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-24-50-57     12/21/1969   12/21/1970   12/21/1969    12/21/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-13-44-76      2/16/1970    2/16/1971    2/16/1970     2/16/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-10-46      3/30/1970    12/3/1970    3/30/1970     12/3/1970
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 25 19 91      6/10/1970    6/10/1971    6/10/1970     6/10/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-19-91      6/10/1970    6/10/1971    6/10/1970     6/10/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-19-91      6/10/1971    6/10/1972    6/10/1971     6/10/1972
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 25 19 91      6/10/1971    6/10/1972    6/10/1971     6/10/1972
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-30-95-03      6/20/1971    6/21/1971    6/20/1971     6/21/1971
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 25 19 91      6/10/1972    6/10/1973    6/10/1972     6/10/1973
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP-25-19-91      6/10/1972    6/10/1973    6/10/1972     6/10/1973
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 37 85 02       7/1/1972     7/1/1973      7/1/1972     7/1/1973
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 37 85 02       7/1/1973     7/1/1974      7/1/1973     7/1/1974
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 37 85 02       7/1/1974     7/1/1975      7/1/1974     7/1/1975
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 59 12 04      2/20/1975    2/20/1976    2/20/1975     2/20/1976
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 59 12 04      2/20/1976    2/20/1977    2/20/1976     2/20/1977
Unknown (N/A): Unknown (N/A)                            St. Paul Fire and Marine Insurance Company                584JB6615          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 301334         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332378         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332388         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332387         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332365         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA 332374         1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           25852              1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            New Hampshire Insurance Company                           GLA301308          1/1/1977     1/1/1978      1/1/1977     1/1/1978
Unknown (N/A): Unknown (N/A)                            Jefferson Insurance Company of New York                   JE 65928          1/14/1977     1/1/1978    1/14/1977      1/1/1978
Unknown (N/A): Unknown (N/A)                            Insurance Company of North America                        GLP 59 12 04      2/20/1977    2/20/1978    2/20/1977     2/20/1978
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL xxx78         5/23/1965    5/23/1966    5/23/1965     5/23/1966
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL xxx78         5/23/1966    5/23/1967    5/23/1966     5/23/1967
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL xxx78         5/23/1967    5/23/1968    5/23/1967     5/23/1968
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 46938         5/23/1968    5/23/1969    5/23/1968     5/23/1969
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 46938         5/23/1969    5/23/1970    5/23/1969     5/23/1970
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 46938         5/23/1970    5/23/1971    5/23/1970     5/23/1971
Ventura County (057): Ventura County (057)              Insurance Company of North America                        SBL 51453         5/23/1971    5/23/1972    5/23/1971     5/23/1972
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972     1/1/1973    5/23/1972      1/1/1973
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1972     1/1/1973    5/23/1972      1/1/1973
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43303          1/1/1973     1/1/1974      1/1/1973     1/1/1974
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973     1/1/1974      1/1/1973     1/1/1974
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43329          1/1/1974     1/1/1975      1/1/1974     1/1/1975
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974     1/1/1975      1/1/1974     1/1/1975
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975     1/1/1976      1/1/1975     1/1/1976
Ventura County (057): Ventura County (057)              Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              New Hampshire Insurance Company                           Unknown            1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 29        1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              American Re-Insurance Company                             M-1027493          1/1/1976     1/1/1977      1/1/1976     1/1/1977
Ventura County (057): Ventura County (057)              New Hampshire Insurance Company                           GLA 332352         1/1/1977     1/1/1978      1/1/1977     1/1/1978




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Ventura County (057): Ventura County (057)                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ventura County (057): Ventura County (057)                      Ambassador Insurance Company                              Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Ventura County (057): Ventura County (057)                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219878         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600326             6/1/1965    6/1/1966      6/1/1965     6/1/1966
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600326             6/1/1966    6/1/1967      6/1/1966     6/1/1967
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600326             6/1/1967    6/1/1968      6/1/1967     6/1/1968
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600383             6/1/1968    6/1/1969      6/1/1968     6/1/1969
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600383             6/1/1969    6/1/1970      6/1/1969     6/1/1970
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           600383             6/1/1970    6/1/1971      6/1/1970     6/1/1971
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1971    6/1/1972      6/1/1971     6/1/1972
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1972    6/1/1973      6/1/1972     6/1/1973
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1973    6/1/1974      6/1/1973     6/1/1974
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            6/1/1974    1/1/1975      6/1/1974     1/1/1975
Verdugo Hills (058): Verdugo Hills (058)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Verdugo Hills (058): Verdugo Hills (058)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 35        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219884         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           Unknown            1/1/1977    6/1/1977      1/1/1977     6/1/1977
Verdugo Hills (058): Verdugo Hills (058)                        Ambassador Insurance Company                              2 60 35            6/1/1977    6/1/1978      6/1/1977     6/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        New Hampshire Insurance Company                           GLA 282523         6/1/1977    6/1/1978      6/1/1977     6/1/1978
Verdugo Hills (058): Verdugo Hills (058)                        Insurance Company of North America                        GLP 706452         1/1/1978    1/1/1979      1/1/1978     1/1/1979
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 14        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Virginia Headwaters (763): Stonewall Jackson Area -2019 (763)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220235         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 53 58        1/1/1965    1/1/1966      1/1/1965     1/1/1966
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 53 58        1/1/1966    1/1/1967      1/1/1966     1/1/1967
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 53 58        1/1/1967    1/1/1968      1/1/1967     1/1/1968
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 69 23        1/1/1968    1/1/1969      1/1/1968     1/1/1969
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 69 23        1/1/1969    1/1/1970      1/1/1969     1/1/1970
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 4 69 23        1/1/1970    1/1/1971      1/1/1970     1/1/1971
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 5 13 96        1/1/1971    1/1/1972      1/1/1971     1/1/1972
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Insurance Company of North America                        SBL 5 13 96        1/1/1972    1/1/1973      1/1/1972     1/1/1973
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 99        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           National Union Fire Insurance Company of Pittsburgh, PA   BE 1220149         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Voyageurs Area (286): Headwaters Area 1929-1994 (290)           American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978




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Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Employers' Insurance Company                     AW-8504-058        1/1/1973    1/1/1974      1/1/1973     1/1/1974
Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Employers' Insurance Company                     AW-8504-063        1/1/1974    1/1/1975      1/1/1974     1/1/1975
Voyageurs Area (286): Lake Superior 1959-1994 (286)       Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Voyageurs Area (286): Lake Superior 1959-1994 (286)       National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 98        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Lake Superior 1959-1994 (286)       Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Voyageurs Area (286): Lake Superior 1959-1994 (286)       American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Voyageurs Area (286): Lake Superior 1959-1994 (286)       National Union Fire Insurance Company of Pittsburgh, PA   BE 1220148         1/1/1977    1/1/1978      1/1/1977     1/1/1978
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      5/1/1972     1/1/1973
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      5/1/1972     1/1/1973
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): Creve Coeur 1929-1973 (138)             Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-2-50-34       9/21/1966   9/21/1967    9/21/1966     9/21/1967
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1967   9/21/1968    9/21/1967     9/21/1968
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1968   9/21/1969    9/21/1968     9/21/1969
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1969   9/21/1970    9/21/1969     9/21/1970
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Insurance Company of North America                        SBL-4-89-01       9/21/1970   9/21/1971    9/21/1970     9/21/1971
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10 HUA 43300       5/1/1971    5/1/1972      5/1/1971     5/1/1972
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43315         9/21/1971    1/1/1972    9/21/1971      1/1/1972
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973      1/1/1972     1/1/1973
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973      1/1/1972     1/1/1973
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): Starved Rock Area 1926-1973 (132)       Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      4/1/1973     1/1/1974
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      4/1/1973     1/1/1974
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
W.D. Boyce (138): W.D. Boyce 1973- (138)                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 22        1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
W.D. Boyce (138): W.D. Boyce 1973- (138)                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1219968         1/1/1977    1/1/1978      1/1/1977     1/1/1978
W.D. Boyce (138): W.D. Boyce 1973- (138)                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
W.D. Boyce (138): W.D. Boyce 1973- (138)                  New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Washington Crossing (777): Bucks County 1927-2015 (777)   Aetna Casualty and Surety Company                         Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Washington Crossing (777): Bucks County 1927-2015 (777)   American Casualty Company of Reading, Pennsylvania        CCP 903 04 46      1/1/1972    1/1/1973      1/1/1972     1/1/1973
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Washington Crossing (777): Bucks County 1927-2015 (777)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              CCP 191 05 38      1/1/1975    1/1/1976      1/1/1975     1/1/1976
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              RDU 9998388        1/1/1975    1/1/1976      1/1/1975     1/1/1976
Washington Crossing (777): Bucks County 1927-2015 (777)   Continental Casualty Company                              CCP 244 22 48      1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 33        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Washington Crossing (777): Bucks County 1927-2015 (777)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220088         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Washington Crossing (777): Bucks County 1927-2015 (777)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Washington Crossing (777): Bucks County 1927-2015 (777)   Maryland Casualty Company                                 Unknown            3/1/1977    1/1/1978      3/1/1977     1/1/1978
Water and Woods FSC (782): Water and Woods FSC (782)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Water and Woods FSC (782): Water and Woods FSC (782)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977




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Water and Woods FSC (782): Water and Woods FSC (782)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Water and Woods FSC (782): Water and Woods FSC (782)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        SBL 3 95 48       5/29/1968   5/29/1969    5/29/1968     5/29/1969
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        SBL 3 95 54       5/29/1969   5/29/1970    5/29/1969     5/29/1970
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        Unknown           5/29/1970   5/29/1971    5/29/1970     5/29/1971
West Tennessee Area (559): West Tennessee Area (559)          Insurance Company of North America                        Unknown           5/29/1971    1/1/1972    5/29/1971      1/1/1972
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/29/1972      1/1/1973
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/29/1972      1/1/1973
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
West Tennessee Area (559): West Tennessee Area (559)          National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 65        1/1/1976    1/1/1977      1/1/1976     1/1/1977
West Tennessee Area (559): West Tennessee Area (559)          Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
West Tennessee Area (559): West Tennessee Area (559)          American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
West Tennessee Area (559): West Tennessee Area (559)          American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
West Tennessee Area (559): West Tennessee Area (559)          National Union Fire Insurance Company of Pittsburgh, PA   BE 1220287         1/1/1977    1/1/1978      1/1/1977     1/1/1978
West Tennessee Area (559): West Tennessee Area (559)          Continental Casualty Company                              CCP 3036625        4/1/1977    4/1/1978      4/1/1977     4/1/1978
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    10/1/1972      1/1/1973
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    10/1/1972      1/1/1973
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Westark Area (016): Westark Area (016)                        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 23        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westark Area (016): Westark Area (016)                        New Hampshire Insurance Company                           GLA 332338         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westark Area (016): Westark Area (016)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westark Area (016): Westark Area (016)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219872         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1953    1/1/1954      1/1/1953     1/1/1954
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1954    1/1/1955      1/1/1954     1/1/1955
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1955    1/1/1956      1/1/1955     1/1/1956
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1956    1/1/1957      1/1/1956     1/1/1957
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1957    1/1/1958      1/1/1957     1/1/1958
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1958    1/1/1959      1/1/1958     1/1/1959
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1959    1/1/1960      1/1/1959     1/1/1960
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1960    1/1/1961      1/1/1960     1/1/1961
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1961    1/1/1962      1/1/1961     1/1/1962
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1962    1/1/1963      1/1/1962     1/1/1963
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1963    1/1/1964      1/1/1963     1/1/1964
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1964    1/1/1965      1/1/1964     1/1/1965
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Westchester-Putnam (388): Hutchinson River 1962-1973 (401)    Aetna Casualty and Surety Company                         Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Westchester-Putnam (388): Siwanoy 1922-1958 (401)             Travelers Indemnity Company                               Unknown            8/1/1950    8/1/1951      8/1/1950     8/1/1951
Westchester-Putnam (388): Washington Irving 1951-1973 (388)   Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Westchester-Putnam (388): Washington Irving 1951-1973 (388)   Insurance Company of North America                        XBC 27296          6/1/1968    6/1/1969      6/1/1968     6/1/1969
Westchester-Putnam (388): Washington Irving 1951-1973 (388)   Aetna Casualty and Surety Company                         74AL141036         2/1/1969    2/1/1970      2/1/1969     2/1/1970




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Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Insurance Company of North America                        XBC 27379          6/1/1969    6/1/1970      6/1/1969     6/1/1970
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Aetna Casualty and Surety Company                         74AL141036         2/1/1970    2/1/1971      2/1/1970     2/1/1971
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Insurance Company of North America                        XBC 27487          6/1/1970    6/1/1971      6/1/1970     6/1/1971
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 111101     1/20/1976   1/20/1977    1/20/1976     1/20/1977
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 111101     1/20/1977   1/20/1978    1/20/1977     1/20/1978
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 111101     1/20/1978   1/20/1979    1/20/1978     1/20/1979
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 117538     1/20/1979   1/20/1980    1/20/1979     1/20/1980
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 117538     1/20/1980   1/20/1981    1/20/1980     1/20/1981
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Fire Insurance Company                           02 SMP 117538     1/20/1981   1/20/1982    1/20/1981     1/20/1982
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP 118672     1/20/1982   1/20/1983    1/20/1982     1/20/1983
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP 118672     1/20/1983   1/20/1984    1/20/1983     1/20/1984
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP WC7495     1/20/1984   1/20/1985    1/20/1984     1/20/1985
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 SMP 118672     1/20/1984   1/20/1985    1/20/1984     1/20/1985
Westchester-Putnam (388): Washington Irving 1951-1973 (388)          Hartford Casualty Insurance Company                       02 UUC NW2936     1/20/1985   1/20/1986    1/20/1985     1/20/1986
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 79        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             National Union Fire Insurance Company of Pittsburgh, PA   BE 1220033         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westchester-Putnam (388): Westchester-Putnam 1973- (388)             American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): Great Western 1972-1985 (051)      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Western Los Angeles County (051): Great Western 1972-1985 (051)      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      National Union Fire Insurance Company of Pittsburgh, PA   BE121 69 58        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Los Angeles County (051): Great Western 1972-1985 (051)      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): Great Western 1972-1985 (051)      New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): Great Western 1972-1985 (051)      National Union Fire Insurance Company of Pittsburgh, PA   BE 1219906         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Zurich Insurance Company                                  80-39-959         7/19/1960   7/19/1961    7/19/1960    7/19/1961
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        XCP 6616           7/1/1970    7/1/1971     7/1/1970     7/1/1971
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        SBL 5 14 06        7/1/1970    7/1/1971     7/1/1970     7/1/1971
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        SBL 5 14 06        7/1/1971    7/1/1972     7/1/1971     7/1/1972
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        XCP 6616           7/1/1971    7/1/1972     7/1/1971     7/1/1972
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        XCP 6616           7/1/1972    8/7/1972     7/1/1972     8/7/1972
Western Los Angeles County (051): San Fernando Valley 1923-1972
(050)                                                                Insurance Company of North America                        SBL 5 14 06        7/1/1972    8/7/1972     7/1/1972     8/7/1972
Western Los Angeles County (051): Western Los Angeles County (051)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Western Los Angeles County (051): Western Los Angeles County (051)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Los Angeles County (051): Western Los Angeles County (051)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Los Angeles County (051): Western Los Angeles County (051)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Western Massachusetts (234): Great Trails 1969-2008 (243)            Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976     1/1/1975     1/1/1976
Western Massachusetts (234): Great Trails 1969-2008 (243)            Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Massachusetts (234): Great Trails 1969-2008 (243)            American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977     1/1/1976     1/1/1977
Western Massachusetts (234): Great Trails 1969-2008 (243)            American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978     1/1/1977     1/1/1978
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)          Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974     1/1/1973     1/1/1974
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)          Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974     1/1/1973     1/1/1974
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)          Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975     1/1/1974     1/1/1975



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Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 84        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Western Massachusetts (234): Pioneer Valley 1960-2008 (234)   National Union Fire Insurance Company of Pittsburgh, PA   BE 1220135         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        GLP-4-39-53       5/14/1967   5/14/1968    5/14/1967     5/14/1968
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        GLP-17-15-33      5/14/1968   5/14/1969    5/14/1968     5/14/1969
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        Unknown           5/14/1969   5/14/1970    5/14/1969     5/14/1970
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        Unknown           5/14/1970   5/14/1971    5/14/1970     5/14/1971
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Insurance Company of North America                        Unknown           5/14/1971    1/1/1972    5/14/1971      1/1/1972
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1972    1/1/1973    5/14/1972      1/1/1973
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1972    1/1/1973    5/14/1972      1/1/1973
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 36        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        New Hampshire Insurance Company                           Unknown            1/1/1977    1/1/1978      1/1/1977     1/1/1978
Westmoreland-Fayette (512): Westmoreland-Fayette (512)        National Union Fire Insurance Company of Pittsburgh, PA   BE 1220091         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        CLP-10-11-88       4/6/1966    4/6/1967      4/6/1966     4/6/1967
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL-2-42-19        4/6/1967    4/6/1968      4/6/1967     4/6/1968
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL-23819          4/6/1968    4/6/1969      4/6/1968     4/6/1969
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL 9 51 19        4/6/1969    4/6/1970      4/6/1969     4/6/1970
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        GAL 96141          4/6/1970    4/6/1971      4/6/1970     4/6/1971
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        SBL 52141          4/6/1971   11/1/1971      4/6/1971    11/1/1971
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown           11/1/1971   11/1/1972    11/1/1971     11/1/1972
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown           11/1/1972    1/1/1973    11/1/1972      1/1/1973
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown            1/1/1973    1/1/1974      1/1/1973     1/1/1974
Winnebago (173): Winnebago 1937- (173)                        Insurance Company of North America                        Unknown            1/1/1974    1/1/1975      1/1/1974     1/1/1975
Winnebago (173): Winnebago 1937- (173)                        Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Winnebago (173): Winnebago 1937- (173)                        National Union Fire Insurance Company of Pittsburgh, PA   BE121 70 44        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Winnebago (173): Winnebago 1937- (173)                        American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Winnebago (173): Winnebago 1937- (173)                        Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Winnebago (173): Winnebago 1937- (173)                        American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Winnebago (173): Winnebago 1937- (173)                        National Union Fire Insurance Company of Pittsburgh, PA   BE 1219990         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1942    2/1/1943      2/1/1942     2/1/1943
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1943    2/1/1944      2/1/1943     2/1/1944
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1944    2/1/1945      2/1/1944     2/1/1945
Yocona Area (748): Yocona Area (748)                          American Home Fire Assurance Company                      Unknown            2/1/1945    2/1/1946      2/1/1945     2/1/1946
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1965    1/1/1966      1/1/1965     1/1/1966
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1966    1/1/1967      1/1/1966     1/1/1967
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1967    1/1/1968      1/1/1967     1/1/1968
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1968    1/1/1969      1/1/1968     1/1/1969
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        Unknown            1/1/1969    1/1/1970      1/1/1969     1/1/1970
Yocona Area (748): Yocona Area (748)                          Insurance Company of North America                        SBL 51310          1/1/1970    1/1/1971      1/1/1970     1/1/1971




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                                                                                                                                                                               Council       Council
               Current Council: Predecessor Council                                                Carrier                           Policy Number   Start Date   End Date
                                                                                                                                                                              Start Date1   End Date
Yocona Area (748): Yocona Area (748)                                      Insurance Company of North America                        SBL 51310          1/1/1971    1/1/1972      1/1/1971     1/1/1972
Yocona Area (748): Yocona Area (748)                                      Insurance Company of North America                        SBL 51310          1/1/1972    1/1/1973      1/1/1972     1/1/1973
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10HUA43302         1/1/1973    1/1/1974      1/1/1973     1/1/1974
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43303          1/1/1973    1/1/1974      1/1/1973     1/1/1974
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10HUA43331         1/1/1974    1/1/1975      1/1/1974     1/1/1975
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43329          1/1/1974    1/1/1975      1/1/1974     1/1/1975
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Yocona Area (748): Yocona Area (748)                                      New Hampshire Insurance Company                           Unknown            1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE121 71 10        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yocona Area (748): Yocona Area (748)                                      American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yocona Area (748): Yocona Area (748)                                      New Hampshire Insurance Company                           GLA 332341         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yocona Area (748): Yocona Area (748)                                      National Union Fire Insurance Company of Pittsburgh, PA   BE 1220160         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yucca (573): Yucca (573)                                                  Hartford Accident and Indemnity Company                   10CA43342E         1/1/1975    1/1/1976      1/1/1975     1/1/1976
Yucca (573): Yucca (573)                                                  American Re-Insurance Company                             M-1027493          1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yucca (573): Yucca (573)                                                  National Union Fire Insurance Company of Pittsburgh, PA   BE121 73 77        1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yucca (573): Yucca (573)                                                  Hartford Accident and Indemnity Company                   10CA43349E         1/1/1976    1/1/1977      1/1/1976     1/1/1977
Yucca (573): Yucca (573)                                                  National Union Fire Insurance Company of Pittsburgh, PA   BE 1220208         1/1/1977    1/1/1978      1/1/1977     1/1/1978
Yucca (573): Yucca (573)                                                  American Re-Insurance Company                             M-1027493          1/1/1977    1/1/1978      1/1/1977     1/1/1978
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  Certain limits incorporate assumptions or are extrapolated from other
known coverage.
                                                                                    LOCAL COUNCIL POLICIES




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                       SCHEDULE 4

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                                         OIL AND GAS INTERESTS

State       County        Legal Description                                  Interest Type      Status
ARKANSAS    COLUMBIA      COLUMBIA CO AR MI                                  MINERAL INTEREST   PRODUCING
                           SEC 16-17S-22W: W/2 NW/4 NW/4, 20 ACS
                           SEC 17-17S-22W: E/2
                          NW/4 NE/4, 20 ACS
                           SALT WATER ROYALTY- CONTRACT
                           # 08178068 DATED 01/16/80 (ALBEMARLE)
                           SWD BRINE LEASE
LOUISIANA   CLAIBORNE     CLAIBORNE PA LA MI                                 MINERAL INTEREST   PRODUCING
                          SEC 5-22N-6W: NE/4, NW/4 NE/4, 200 ACS
                          SEC. 4-22N-6W: W/2NW/4, NW/4 SE/4, NW/4, 280 ACS
                          G.W. TIGNER #2
                          .0091146 RI
LOUISIANA   CLAIBORNE     CLAIBORNE PA LA MI                                 MINERAL INTEREST   PRODUCING
                          SEC 4-22N-6W: NW/4, 160 ACS
                          SEC 5-22N-6W: NE/4, 160 ACS
                          MOWER 1 .00607638 RI
LOUISIANA   CONCORDIA     CONCORDIA/TENSAS PARISH LA 1/3 MI, SEC 1-9N-10E,   MINERAL INTEREST   PRODUCING
                          SEC 2 9N-10E, SEC 51 9N-10E, 275 ACS,
                          20 ACS GIN HOUSE TRACT TENSAS PARISH LA
                          BAYOU L'ARGENT ADDITIONAL PROPERTY TO
                          ACCOUNT, ANCILLARY SUCCESSION DATED
                          MAY 7, 1983, BOOK 226 PG 49
LOUISIANA   TENSAS        TENSAS PH LA .001109 RI                            ROYALTY INTEREST   PRODUCING
                          LAKE ST JOHN UNIT TR 116, 117, 119
                          121, 128, 140, 193,216, 219, 221, 222, 223
                          230, 239, 240, 249, 303, 304, 416, 417, 419
                          421,428VA
                          RIOUS RI INTEREST
                          LAKE ST JOHN UNIT
                          DENBURY (PAYS ON DEEP RIGHTS) ; MCGOWAN
                          OPERATING (PAYS ON SHALLOW RIGHTS)
MICHIGAN    CLARE         CLARE CO MI MI                                     ROYALTY INTEREST   PRODUCING
                          SEC 12-20N-6W: W/2, 320 ACS
                          SEC 11-20N-6W: E/2, 320 ACS
                          STATE
                          WINTERFIELD 2-12
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State      County       Legal Description                                    Interest Type      Status
MICHIGAN   CLARE        CLARE CO MI MI                                       ROYALTY INTEREST   PRODUCING
                        SEC 30-20N-6W: S/2
                        SEC 31-20N-6W: N/2
                        WINTERFIELD #2-31 .0035888 RI
MICHIGAN   CLARE        CLARE CO MI MI                                       ROYALTY INTEREST   PRODUCING
                        SEC 7-20N-5W: W/2
                        SEC 12-20N-6W: E/2
                        STATE WINTERFIELD 1-12REG# 8550
MICHIGAN   CLARE        CLARE CO MI MI                                       MINERAL INTEREST   PRODUCING
                        SEC 19-20N-6W: SE/4 SE/4, 40 ACS
                        SEC 29-20N-6W: W/2, W/2 NE/4,
                        SEC 31-20N-6W: ALL, EXC SW/4 SW/4,
                        SEC 20-20N-6W: SW, SWSE,
                        SEC 30-20N-6W:ALL,
                        SEC 32-20N-6W: W/2 W/2
                        WINTERFIELD TOWNSHIP,
                        WINTERFIELD RICHFIELD UNIT
MICHIGAN   CLARE        CLARE CO MI MI                                       ROYALTY INTEREST   PRODUCING
                        SEC 12-20N-6W: NE/4, 160 ACS
                        H TOPE #4 .002927 RI
MICHIGAN   CLARE        CLARE CO MI MI                                       MINERAL INTEREST   PRODUCING
                        SEC 1,2,11,12-T20-R6W: WINTERFIELD TOWNSHIP
                        CRANBERRY LAKE RICHFIELD UNIT .00046112 RI
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                     ROYALTY INTEREST   PRODUCING
                        SEC 28-15N-2E: NW/4 NE/4, 40 ACS
                        WASKEVICH 1-28 E .0131844 RI
MICHIGAN   MISSAUKEE    MISSAUKEE CO MI MI                                   ROYALTY INTEREST   PRODUCING
                        SEC 35-22N-6W: N/2, BUNING A UNIT
                        SEC 26-22N-6W: S/2 SW/4, REAMES UNIT
                        SEC 26-22N-6W: SW/4 SE/4, WING UNIT
                        UNITIZED INTO PROSPER DUNDEE UNIT .0167808 RI
MICHIGAN   MISSAUKEE    MISSSAUKEE CO MI, MI                                 ROYALTY INTEREST   PRODUCING
                        SEC 36; T22N-R6W, SE/4 NW/4 &
                        SEC 26; T22N-R6W, SW/4 SE/4
                        AETNA TOWNSHIP
                        WING 2, .01996874 RI




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State        County       Legal Description                                   Interest Type      Status
MICHIGAN     OSCEOLA      OSCEOLA CO MI                                       ROYALTY INTEREST   PRODUCING
                          TR 1: SW4 SW4 & W2 SE4 SEC 17-18N-10W;
                          TR 3: E2 NW4 & NW4 NE4SEC19-18N-10W;
                          TR 5: W2 NW4 SEC 20-18N-10W
                          REED CITY UNIT-
                          (TR1) .00051560 RI
                          (TR3) .00151566 RI
                          (TR5) .00281254 RI
MICHIGAN     OSCEOLA      OSCEOLA CO MI MI                                    ROYALTY INTEREST   PRODUCING
                          SEC 28-18N-9W: S2 NE, N2 NESE & SESE
                          ZIMMERMAN .0087892 RI
MICHIGAN     OSCEOLA      OSCEOLA CO MI MI                                    ROYALTY INTEREST   PRODUCING
                          SEC 28-18N-9W: S2 & NESE
                          ZIMMERMAN A1 & B .0087892 RI
NEW MEXICO   EDDY         EDDY CO NM .0003906 ORISEC 17-19S-29ESOUTHWEST      OVERRIDING         PRODUCING
                          ROYALTIES-UNION TEXAS STATE 1;SEC 6-23S-25E         ROYALTY
                          (ROCK TANK UNIT) .00002697 ORI
OKLAHOMA     BEAVER       BEAVER CO OK                                        OVERRIDING         PRODUCING
                          SEC 17-4N-25ECM: ALL                                ROYALTY
                          EVANS UNIT .0008136 ORRI
OKLAHOMA     BEAVER       BEAVER CO OK                                        OVERRIDING         PRODUCING
                          SEC 29-6N-22 ECM: SE/4 & E/2 SW/4                   ROYALTY
                          PREWITT GAS UNIT .0001196 ORRI
OKLAHOMA     BEAVER       BEAVER CO OK                                        OVERRIDING         PRODUCING
                          SEC 17-4N-25EM: ALL                                 ROYALTY
                          LEROY 1-17 .000824 ORRI
OKLAHOMA     ELLIS        ELLIS CO OK 1/4 MI                                  MINERAL INTEREST   PRODUCING
                          SEC 18-19N-21W: W/2 W/2
                          AKA LOT 1 OF 36.9 ACS LOT 2, 37.13ACS
                          LOT 3 OF 37.36 ACS LOT 4 37.58 ACS
                          CORAM "B" .00740197 RI
OKLAHOMA     ELLIS        ELLIS CO OK 1/4 MI                                  MINERAL INTEREST   PRODUCING
                          SEC 5-19N-23W: SW/4
                          ANNE 5-1 .00778984 RI




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State      County        Legal Description                                    Interest Type      Status
OKLAHOMA   ELLIS         ELLIS CO OK                                          MINERAL INTEREST   PRODUCING
                          SEC 6-19N-23W: NW/4
                          SEC 8-19N-23W: N/2 NE/4
                          SEC 13-19N-22W: S/2
                          SEC 17-19N-23W: SE/4
                          SEC 14-19N-22W: E/2 E/2
                          SEC 23-19N-22W: S/2 SE/4,
                          SEC 24-19N-22W: NW/4
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          G W TUGGLE SVY A-771 &
                          WILLIAM WRIGHT SVY A-798, 111.93 ACS
                          HUMBLE-NECHES UNIT
                          NECHES SUB CLARKVILLE UNIT TR 30
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          F CURBIER SVY A-221, 148 ACS
                          TODD .00156226 RI
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                         ALFRED BENGE A-106 &
                         JOSE CHREINO SVY A-168, 157.050 ACS
                         FAIRWAY JAMES LIME UNIT TR 853
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          JOHN FERGUSON SVY A-22
                          JOSEPH FERGUSON SVY A-23, 156.551 ACS
                          FAIRWAY JAMES LIME UNIT TR 661
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          JOSE CHERINO SVY A-168, 158.94 ACS
                          FAIRWAY JAMES LIME UNITTR 756
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                         JOSE CHERINO SVY A-168, 159.959 ACS
                         FAIRWAY JAMES LIME UNIT
                         TR 758 & TR 856
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                          JOSEPH FERGUSON SVY A-23, 152.73 ACS
                          FAIRWAY JAMES LIME UNIT TR 759
TEXAS      ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                         JOSE CHERINO SVY A-168, 133.698 ACS
                         FAIRWAY JAMES LIME UNIT
                         TR 858



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State   County        Legal Description                                    Interest Type      Status
TEXAS   ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                       JOSE CHERINO A-168, 160 ACS
                       FAIRWAY JAMES LIME UNIT TR 855
TEXAS   ANDERSON      ANDERSON CO TX MI                                    MINERAL INTEREST   PRODUCING
                      JOHN FERGUSON SVY A-22, 99.76 ACS
                      FAIRWAY JAMES LIME UT TR663
                      J M COOK SVY A-972 &
                      JOSEPH FERGUSON A-23, 156.599 ACS
                      FAIRWAY JAMESLIME UTTR 860
TEXAS   ANDREWS       ANDREWS CO TX MI                                     MINERAL INTEREST   PRODUCING
                      SEC 4 BLK A-35 PSL SVY A-950: NE/4, 160 ACS
                      YATES FORMATION,
                      M. GROOM
                      GROOM 0.000868 RI
TEXAS   ANDREWS       ANDREWS CO TX MI                                     MINERAL INTEREST   PRODUCING
                       SEC 4 BLK A-35 PSL SVY A-950: E/2, 320 ACS
                       SEC 7 BLK A-35 PSL SVY A-951: NE/4, 160 ACS
                       J. CLEO THOMPSON-WEST MEANS
                       GRAYSBURG-SAN ANDRES UNIT .0017360 RI
TEXAS   BORDEN        BORDEN CO TX MI                                      MINERAL INTEREST   PRODUCING
                      320 ACS, 40 ACS OF 214.9 LOCATED IN
                      E/2 SEC 69 BLK20 LAVACA NAVIGA SVY
                      SOUTH LAKE THOMAS 69 -B3- RRC 68663
TEXAS   BORDEN        BORDEN CO TX MI                                      MINERAL INTEREST   PRODUCING
                      SEC 80 BLK 20 LAVACA NAV
                      JOANN .015625 RI (RRC 64823)
TEXAS   BURLESON      BURLESON CO TX MI J C WALKER SVY, 309.73 ACS         MINERAL INTEREST   PRODUCING
TEXAS   BURLESON      BURLESON CO TX 9.398 MI                              MINERAL INTEREST   PRODUCING
                      56.39 ACS OUT OF J P COLE SVY, A-12
                      DESCRIBED IN DEED DTD 3/12/1999 FROM
                      ALTA MAE KEMP TO SANDRA G. JACKSON
                      RECORDED IN VOL. 499, PG 214
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   PRODUCING
                       LEMUEL MOORE SVY, 15.95 ACS
                       YEZAK
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   PRODUCING
                      IGN CO SVY
                      COFFIELD B-10 ETAL .0625 RI



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State   County        Legal Description                                      Interest Type      Status
TEXAS   BURLESON      BURLESON CO TX MIHENRY MARTIN SVY A-                   MINERAL INTEREST   PRODUCING
                      185COFFIELD M-2 (RRC 71500) & (RRC 23057).064375 RI
                      & .01072916 ORI

TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      J C WALKER SVY
                      COFFIELD B-7A "A"
                      .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      ABNER SMITH SVY
                      COFFIELD B-4 .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI 20 ACRES M/L                         MINERAL INTEREST   PRODUCING
                      E SANTE SVY, A-210 & ABNER SMITH SVY, A-209
                      COFFIELD-RUSSELL UNIT (RRC 10994)
                      .01041666 ORI & .02083332 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      SMITH SVY
                      COFFIELD-SHAW
                      .046875 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      SMITH SVY
                      COFFIELD-SMITH A,C,D
                      .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      J S WINSTON SVY A-251
                      COFFIELD-WINSTON A & B .0625 RI
TEXAS   BURLESON      BURLESON CO TX 9.6933 MI                               MINERAL INTEREST   PRODUCING
                      58.16 ACS, J P COLE SVY A-12
                      DESCRIBED IN DEED DTD 10/26/1949
                      FROM ROBERT KEMP ETAL TO ALMA DAVIS
                      RECORDED IN VOL. 106, PG 133
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      MOSES CUMMINGS SVY A-16, 200 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      J M SANCHES SVY A-55
                      KNESEK-FINLEY UNIT #1
                      .00165126 RI




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TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      MOSES CUMMINGS SVY A-16, 455.852 ACS
                      LOUISE PORTER 1-H .0020466 RI
TEXAS   BURLESON      BURLESON CO TX .1875 MI                             MINERAL INTEREST   PRODUCING
                      HUGH MCKEEN SVY
                      STANLEY A .125 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      MARY CARNAGHAN SVY A-8
                      STORM UNIT (RRC 23276)
                      .01841214 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      H COVINGTON SVY A-14
                      CHARLES MATTHEWS SVYA-40, 488.882 ACS
                      COLLEY-TREYBIG UNIT 1RE
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      SEC 9 A SMITH SVY A-209
                      RECORDED VOL 21 PAGE 652
                      COFFIELD-SMITH "E" AND "F"
                      .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      MOSES CUMMINGS SVY A-16, 360 ACS
                      KOVAR-PORTER .0020932 RI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-317 & A-210
                      COFFIELD B UNIT(RRC 10378) TR 17,39 ACS
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210, 40.25 ACS
                      COFFIELD "E" RRC 10227
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                   MINERAL INTEREST   PRODUCING
                      E. SANTE SVY A-210
                      COFFIELD (RRC 4390) NR
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MIE. SANTE SVY A-210COFFIELD "A"     MINERAL INTEREST   PRODUCING
                      (RRC 04396).0416666 RI & .02083332 ORI




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TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210: 46 ACS
                      COFFIELD W (C2475) RRC 4365
                      .0416666 RI & .02083332 ORI
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                              MINERAL INTEREST   PRODUCING
                      SANTE SVY A-272
                      HENRY MARTIN SVY A-125, 40 ACS
                      COFFIELD -C- (RRC 04332)
                      .0416666RI & .02083332 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210: 40 ACS
                      H H COFFIELD (RRC 03979)
                      .0416666RI & .03116822 ORI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      E SANTE SVY A-210
                      COFFIELD 2A9 UNIT
                      .0416666 ORI & .02083332 RI
TEXAS   BURLESON      BURLESON CO TX MI                                      MINERAL INTEREST   PRODUCING
                      39.2 ACS BEING A TRACT OF LAND OUT
                      OF THE E. SANTE SVY, A-210 (RRC 10446)
                      COFFIELD "G" .0416666 RI & .02083332 ORI
TEXAS   CALDWELL      CALDWELL CO TX 1/32 ORI                                OVERRIDING         PRODUCING
                      30 ACES IN THE GERRON HINDS LEAGUE, A-13               ROYALTY
                      TILLER UNIT (VARIOUS INTEREST) .02083332 ; .00260966
TEXAS   CHEROKEE      CHREOKEE CO TX MI                                      MINERAL INTEREST   PRODUCING
                      HERDON SVY & LEVI JORDAN SVY
                      AND J. H. ARMSTRONG, A-69
                      SALLI D. WHITEMAN #2 .00018606 RI
TEXAS   CHEROKEE      CHEROKEE CO TX MI                                      MINERAL INTEREST   PRODUCING
                      LEVI JORDAN LGE A-28, 649 ACS
                      J O HUGGINS GU -1- 0.00017358
                      RI
TEXAS   COLORADO      COLORADO CO TX MI                                      MINERAL INTEREST   PRODUCING
                      T P ANDERSON SVY A-54
                      C SIMON SVY A-502
                      R WEED A-598




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TEXAS   CROCKETT      CROCKETT CO TX 45/2460 X1/16 MI                     MINERAL INTEREST   PRODUCING
                       SEC 4 CHAMBERS CSL A-1689, 4428 ACS
                       CHAMBERSCO SCHOOL LANDS .0003811 RI
                       MIDWAY LANE 1100 UNIT (RRC 5579)
                       MIDWAY LANE 1050 UNIT
                       MIDWAY LANE 850
TEXAS   DE WITT       DE WITT CO TX 1/8 MI                                MINERAL INTEREST   PRODUCING
                      JAMES DUFF LGE A-153, 236.3 ACS
                      E C SCHAEFER .0104166 RI
TEXAS   DE WITT       DE WITT CO TX 7.5/103 RI                            ROYALTY INTEREST   PRODUCING
                      JAMES MAY 1/4 LGE, 103 ACS
                      LTD TO DEPTHS 100' BELOW ALVES WELLS
                      HENSON 1H, 2H, 3H .00089188 RI
TEXAS   DIMMIT        DIMMIT CO TX 1/3 MI                                 MINERAL INTEREST   PRODUCING
                      SEC 57 LOT 8 BLK 2 SUBD A
                      T&NO SVY A-758, 40 ACS
TEXAS   DIMMIT        DIMMIT CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                      SEC 140 & 502, 1136.5 ACS
                      RAY MORRIS
TEXAS   DIMMIT        DIMMIT CO TX 1/6 NPRI                               ROYALTY INTEREST   PRODUCING
                      SEC 7 GC&SF SVY A-1201
                      DIAMOND H RANCH 1-H
                      .08333334 RI
TEXAS   DIMMIT        DIMMIT CO TX MI                                     MINERAL INTEREST   PRODUCING
                      40 ACS, SEC 68 LOT 16 BLK 2
                      VANDERVOORT SVY A-1238
TEXAS   DIMMIT        DIMMIT CO TX 1/3 MI                                 ROYALTY INTEREST   PRODUCING
                      LOT 7 BLK 175 SVY
                      CATARINA FARMS SUBD, 200 ACS
                      LOT 7 T&NORR CO/CASSIN,W A-1077
                      BRISCOE B #11
TEXAS   DIMMIT        DIMMIT CO TX NPRI                                   PERPETUAL NON-     PRODUCING
                      SEC 78 BLK 2 T&NO RR CO                             PARTICIPATING
                      F. VANDERVOORT SVY, A-1243                          ROYALTY INTEREST
TEXAS   FAYETTE       FAYETTE CO TX 139 ACS                               MINERAL INTEREST   PRODUCING
                      ROBERT G. BAUGH SVY A-12
                      TANNER UNIT .00214311 RI




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TEXAS   FAYETTE      FAYETTE CO TX 1/4                                MINERAL INTEREST   PRODUCING
                     ROBERT G. BAUGH SVY A-12, 139 ACS
                     JOHN VANDERWORTH LGE A-312, 237 ACS
                     SPECKELS UNIT #1 .00715 RI
TEXAS   FAYETTE      FAYETTE CO TX 1/8 MI 237 ACS                     MINERAL INTEREST   PRODUCING
                     JOHN VANDERWORTH LGE A-312
                     PATSY UNIT .00651368RI
TEXAS   FAYETTE      FAYETTE CO TX 237 ACSJOHN VANDERWORTH LGE A-     MINERAL INTEREST   PRODUCING
                     312KATHY UNIT .003347 RI
TEXAS   FAYETTE      FAYETTE CO TX 1/8 MI 237 ACS                     ROYALTY INTEREST   PRODUCING
                     JOHN VANDERWORTH LGE A-312,
                     OPAL UNIT #1.00198532RI
                     (TRS 1,2 & 3) (135.32 ACS)
TEXAS   FAYETTE      FAYETTE CO TX MI 237 ACS                         ROYALTY INTEREST   PRODUCING
                     JOHN VANDERWORTH LGE A-312
                     (TRS 1-20) IVORY OIL UNIT#1 .000236 RI
TEXAS   FAYETTE      FAYETTE CO TX MI                                 MINERAL INTEREST   PRODUCING
                     W J WILLIAMSON SVY A-113
                     GARNET UNIT OL #1-H
TEXAS   FAYETTE      FAYETTE CO TX                                    MINERAL INTEREST   PRODUCING
                     A. E. BAKER SVY A-8
                     JASPER UNIT .00089512 RI
TEXAS   FAYETTE      FAYETTE CO TX MI                                 MINERAL INTEREST   PRODUCING
                     J G WILKINSON SVY A-108
                     CONIE B #1 .01510722 RI
TEXAS   GAINES       GAINES CO TX MI                                  MINERAL INTEREST   PRODUCING
                      SEC 1 BLK C-30 PSL SVY
                      SEC 2 BLK C-30 PSL,
                      SEC 4 BLK H, D&W SVY
                      SEC 10 BLK H D&W SVY
                      EXCEPT SW/4 SW/4 OF SEC 10
                      CEDAR LAKE UNIT
TEXAS   GOLIAD       GOLIAD CO TX 1/12 NPRI                           ROYALTY INTEREST   PRODUCING
                     M. G. CARICO SVY A-90, 50.6 ACS
                     ANNIE WEISE LSE .006942 RI




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TEXAS   GRAY         GRAY CO TX MI                                     MINERAL INTEREST   PRODUCING
                     COFFIELD 1 & 2
                     COFFIELD-GRAY, SEC.89, BLK. 23
                     H AND GN RR CO.
                     SVY.SE/4 SEC.94
                     BLK. 23 H&GN CO. SVY.
TEXAS   GRAYSON      GRAYSON CO TX 1/48 MI                             MINERAL INTEREST   PRODUCING
                     J B MC ANAIR SVY A-763, 202 ACS
                     SHERMAN 7,500' SU (VARIOUS UNIT INT)
TEXAS   GRAYSON      GRAYSON CO TX 1/48 MI                             MINERAL INTEREST   PRODUCING
                     J B MC ANAIR SVY A-763, 202 ACS
                     SHERMAN 8900 PENN SU
                     (VARIOUS UNIT INTEREST)
TEXAS   GREGG        GREGG CO TX 1/16 MI                               MINERAL INTEREST   PRODUCING
                     50 ACS DOLORES SANCHEZ SVY A-186
                     C J DOLLAHITE LSE .0052086 RI
TEXAS   GREGG        GREGG CO TX 5/16 MI                               MINERAL INTEREST   PRODUCING
                     24.95 ACS W P CHISM SVY A-36
                     HILBURN-LLOYD "B" LSE .026042RI
TEXAS   GREGG        GREGG CO TX 1/8 MI                                MINERAL INTEREST   PRODUCING
                     33.5 ACS JOHN RUDDLE SVY A-176
                     IRENE ZIEGLER LSE .010416 RI
TEXAS   GREGG        GREGG CO TX 1/3 X 1/16 MI                         MINERAL INTEREST   PRODUCING
                     52 ACS DELORES SANCHEZ SVY A-186
                     COTTON VALLEY FORMATION
                     MCKINLEY WELLS .00112332 RI
TEXAS   GREGG        GREGG CO TX MI                                    MINERAL INTEREST   PRODUCING
                     G W HOOPER SVY A-92
                     ALFRED JONES .00520866 RI
TEXAS   GREGG        GREGG CO TX MI                                    MINERAL INTEREST   PRODUCING
                     P P RAINS SVY A-258
                     A J TUTTLE GAS UT
                     .00364800 ORI
TEXAS   GREGG        GREGG CO TX MI                                    MINERAL INTEREST   PRODUCING
                     G W HOOPER SVY A-92
                     SHILOH SCHOOL 1,2,3 GU
                     .00073752 RI




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TEXAS   GREGG         GREGG CO TX MI                                    ROYALTY INTEREST   PRODUCING
                      247.5 ACS W H CASTLEBERRY SVY A-38
                      MATTIE MONCRIEF 1,2,3
TEXAS   HARRIS        HARRIS CO TX 1/44 X 1/8 RI                        ROYALTY INTEREST   PRODUCING
                      67.04 ACS C. GOODRICH SVY A-311
                      HULDA MARTENS .001894 RI
TEXAS   HARRIS        HARRIS CO TX MI                                   MINERAL INTEREST   PRODUCING
                      RALPH HUBBARD SVY A-383, WM HURD SVY A-371,
                      JOSEPH MILLER SVY
                      A-50, 566.094 ACS
                      TOMBALL GAS UNIT #8 (RRC 8544)
                      .00000734 RI
TEXAS   HARRISON      HARRISON CO TX 1/16 MI                            MINERAL INTEREST   PRODUCING
                      252 ACS A. B. WYATT SVY A-796
                      PEARCE GAS UNIT .0030762
                      RI
TEXAS   HARRISON      HARRISON CO TX 704 ACSJOHN HUSBAND, A-297,R W     OVERRIDING         PRODUCING
                      SMITH, A-626, AND H VARDEMAN,A-726, FRANK DAVIS   ROYALTY
                      ESTATE DEEP GU.000423 ORI
TEXAS   HENDERSON     HENDERSON CO TX MI                                MINERAL INTEREST   PRODUCING
                       STEPHEN HATTON SVY A-291
                       JOHN LAWSON SVY A-434
                       OPELIKAGAS UNIT
TEXAS   HOWARD        HOWARD CO TX MI                                   MINERAL INTEREST   PRODUCING
                      SEC 3 BLK 34 T1S T&P SVY A-405
                      SAUNDERS -A- & -B- .0347222 RI
TEXAS   JACK          JACK CO TX MI 1/4                                 ROYALTY INTEREST   PRODUCING
                      SEC 2, S M SNODGRASS SVY, A-1314; S H TILGHMAN
                      SVY A-1724
                      TR1- 7 1/2 ACS, TR 249 ACS,
                      TR 3 40 ACS, SEC 2, TR 4 40 ACS
                      136.5 ACS L&E 20 AC
                      S VOL 79 PG 557
                      LEACH 1-A
TEXAS   LEE           LEE CO TX 1/2 MI                                  MINERAL INTEREST   PRODUCING
                      HUMPHREY BEST SVY A-2, 103 ACS
                      USING 2 TRS OF 21.78 &24.77ACSIN
                      A 301.89 AC UNIT, GIDDINGS FLD
                      COLVIN #1 UNIT .00963722 RI


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TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                     P W OWENS SVY A-250, 374 ACS
                     OWENS & OWENS "A" .0125 RI
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                      G. B. LOFTIN SVY A-197, 81.666 ACS
TEXAS   LEE          LEE CO TX MI 80 ACS                                    MINERAL INTEREST   PRODUCING
                     PART OF JOHN CHENOWITH SVY, A-60
                     MALOY-COFFIELD .04687334RI
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                     HUMPHREY BEST SVY A-2
                     THOMAS WARD SVY A-330, 577.7 ACS,
                     EVA MAE3& 4 .01170554 RI
TEXAS   LEE          LEE CO TX MI                                           MINERAL INTEREST   PRODUCING
                     F BOATWRIGHT SVY, 151.54 ACS
                     COFFIELD-ORSAGE .02402732 RI
TEXAS   LEON         LEON CO TX MI                                          MINERAL INTEREST   PRODUCING
                     S SANCHEZ SVY, 458,13 ACS
                     CARTER 1 & 2 .00130214 RI
TEXAS   LIBERTY      JEFFERSON & LIBERTY CO TX 1/4 MI                       MINERAL INTEREST   PRODUCING
                     G K PETRY SVY A-775 (LIBERTY)
                     G K PETRY SVYA-935 (JEFFERSON)
                     FUTER SACE, LLC #1 .04166666 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 36 BLK 36 T2N T&P SVY A-757: E/2, 320 ACS
                     HOPPER 36 #5 .009375 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 36 BLK 36 T2N T&P SVY A-757: SW/4, 160 ACS
                     WILLIAMS .00703126 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 25 BLK 36 T2N T&P SVY A-163: NE/4, 160 ACS
                     MORRISON "25" .0075 RI
TEXAS   MARTIN       MARTIN CO TX MI                                        MINERAL INTEREST   PRODUCING
                     SEC 38 BLK 36 T2N T&P RR SVY A-896: E/2 , 320 ACS
                     GASKIN #3801(NE/4) .00421876 RI
                     GASKIN #3803 (SE/4) .00445314 RI
                     GASKIN #3804 (E/2NW/4)
                     .00445314 RI




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TEXAS   MIDLAND      MIDLAND CO TX 1/16 ORI                            OVERRIDING         PRODUCING
                     SEC 40 BLK A, W T GRAY SVY, 656 ACS               ROYALTY
                     BAXTER-WILLIS; WILLIS 40
                     .0208332 ORI
TEXAS   MIDLAND      MIDLAND CO TX 1/16 ORI                            OVERRIDING         PRODUCING
                     SEC 11 BLK 38 T2S T&P SVY A-159, 125 ACS          ROYALTY
                     S/58 ACS NE/4
                     &N/67 ACS SE/4,
                     CASBEER 1 .0029124 ORI
TEXAS   MILAM        MILAM CO TX                                       OVERRIDING         PRODUCING
                     D H VAN VEIGHTON SVY                              ROYALTY
                     SMITH VINCENT SVY, 275 ACS
                     LTD TO DEPTH OF4,000'
                     W P HOGAN .0416666 ORI
TEXAS   MILAM        MILAM CO TX                                       MINERAL INTEREST   PRODUCING
                     ELIZ SANTA SVY A-317, 80 ACS
                     COFFIELD B (RRC 04331)
                     .04166668 RI
                     .02083332 ORI
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     BROWN & MCKENZIE & ELIZA SANTE SVY
                     COFFIELD H H -A- (04299)
                     .02577066 RI
                     .02083334 ORI
TEXAS   MILAM        MILAM CO TX MI W W HILL SVY CALUGIA-COFFIELD      MINERAL INTEREST   PRODUCING
                     .1875
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     VAN VEIGHTON SVY
                     COFFIELD - CAMP
                     .04166666 RI
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     ELIZA SANTE SVY A-317
                     HERNDON-HENSLEY (RRC 11882)
                     .0625 RI
TEXAS   MILAM        MILAM CO TX MI                                    MINERAL INTEREST   PRODUCING
                     HENRY MARTIN SVY A-272
                     COFFIELD-MARTIN (RRC 04429)
                     .08046876 RI
                     .01341146 ORI


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TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    WILLIAM BENTON SVY A-111
                    COFFIELD-STEWART
                    .0699094 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    CHARLES BIGELOW SVY A-100, 40 ACS
                    COFFIELD ESTATE (RRC 09869)
                    .125 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    FURHAM SVY
                    WOLFDEN UNIT #1
                    .08556646 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    T. J. CHAMBERS SVY A-7 AND
                    A. F. BURCHARD SVY A-87
                    BEING 450ACS CONYEYED FROM C.A.
                    PRATER 2/26/1940. VOL 234 PG 441
                    581.609 ACS CONVEYEDFROM B.K. ISAACS
                    11/18/1943 VOL 241 PG 96 & 98 ANNIE ISAACS
                    KOONSEN .05333334 RI
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                     JAMES PREWITT SVY, 3.576 ACS
                     ELZIE LEWIS, EXC OF J. LEWIS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                    120 ACRES OUT OF THE T.S. ARNETT SVY, A-74 &
                    T.J. CHAMBERS
                    SVY, A-7, FOR THE EST OF H. C. VANCE
                    SCHWAMP A-1 .01845188 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    ELIZA SANTE SVY
                    COFFIELD- HENSLEY
                    .0477656 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                    HENRY MARTIN SVY A-272
                    37 ACS IN SVY
                    H H COFFIELD
                    .01401670
                    RI
                    .00520830 ORI


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TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    B F SWOAP SVY A-328
                    COFFIELD M-11 1 & 2
                    .0625 RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SMITH VINCENT SVY A-372
                    D H VAN VEIGHTON SVY A-373
                    WELLS 1,2,4RRC LEASE #10198
                    WELL 3 RRC LEASE #10397
                    210 ACS - 50 ACS IN SMITH VINCENT SV
                    Y A-372
                    160 ACS IN D.H. VANVEIGHTON SVY A-373
                    BELT III 1,2,3,4 .0104166 RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    J. A. PREWITT SVY, A-288
                    BULLOH (NAVARRO) FIELD; (LSE 7129)
                    COFFIELD-COOK UNIT .056694 RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    ELIZA SANTE SVY A-317, 40 ACS
                    VAUGH #2 & WILMA OWENS .0416666
                    RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    WILLIAM BENTON SVY A-111, 164 ACS
                    COFFIELD -G (RRC 4663)
                    .125
                    RI
TEXAS   MILAM       MILAM CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SANTE SVY A-317
                    COFFIELD UNIT (A/K/A COFFIELD UNIT A-1)
                    .03181666 RI
                    .02083332 ORI
TEXAS   MILAM       MILAM CO TX MIE SANTE SVY A-317 FOUND AT A          MINERAL INTEREST   PRODUCING
                    DEPTH OF 2830' IN THE TETEN AND LEONARD NO 1
                    COFFIELD WELLH H COFFIELD B (04294).0401575 RI
                    .02614584 ORI
TEXAS   MILAM       MILAM CO TX MI                                      PERPETUAL NON-     PRODUCING
                    WILLIAM W HILL SVY A-191, 40 ACS                    PARTICIPATING
                    H H COFFIELD HILL A-1                               ROYALTY INTEREST
                    .07208334 RI


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TEXAS   MILAM         MILAM CO TX MI                                     MINERAL INTEREST   PRODUCING
                      ELIZA SANTE SVY A-317
                      COFFIELD-SANTE (RRC 23875)
                      .0416666 RI
                      .02083334 ORI
TEXAS   MILAM         MILAM CO TX UNDI 1/2 MI                            MINERAL INTEREST   PRODUCING
                      WILLIAM ALLEN SVY; A-72
                      COFFIELD (RRC 11856)
                      .01184834 RI
TEXAS   MILAM         MILAM CO TX NPRI                                   ROYALTY INTEREST   PRODUCING
                      JAMES REESE SVY, A-303
                      (MINERVA-ROCKDALE) RRC 872136
TEXAS   MILAM         MILAM CO TX 1/6 NPRI                               PERPETUAL NON-     PRODUCING
                      139.012 AC IN THE COLTON WELLS SVY A-390           PARTICIPATING
                                                                         ROYALTY INTEREST
TEXAS   MITCHELL      MITCHELL & SCURRY COS TX MI                        ROYALTY INTEREST   PRODUCING
                      SUBD 7 OF C. A. O'KEEFE SUBD OF
                      GEORGE A REIGER& KIRKLAND &
                      FIELDS SVYS, 258 ACS FEE UNIT #1;
                      EDMONDSON .006944446 RI
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                MINERAL INTEREST   PRODUCING
        Y             JOHN A DAVIS SVY A-188, 70.5256 ACS
                      HARRIS A, B, D TRACTS
                      CONROE FU TR E1,E2,E5
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                ROYALTY INTEREST   PRODUCING
        Y             WILSON STRICKLAND SVY, 29 ACS
                      J. C. YOUNG LSE
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                MINERAL INTEREST   PRODUCING
        Y             I&GN RR CO SVY
                      HOOPER B;
                      CONROE FIELD UT TRACT A-31
                      .01528894 RI
TEXAS   MONTGOMER     MONTGOMERY CO TX MI                                MINERAL INTEREST   PRODUCING
        Y             HOOPER J G WATSON SVY
                      CONROE FIELD WIDE UNIT
                      CONROE PLANTTRACT A-28
                      .02278000 RI




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TEXAS   MONTGOMER    MONTGOMERY CO TX MI                               MINERAL INTEREST   PRODUCING
        Y            L A LANG SVY, 40 ACS
                     T&NO/T M WIGGINGS SVY A-714
                     E. MOREHEAD -B- UNIT
                     WIGGINS HEIRS
                     PERRY HEIRS
                     CONROE FLD UT E-19,35,36,37
TEXAS   MONTGOMER    MONTGOMERY CO TX MI                               MINERAL INTEREST   PRODUCING
        Y            C T DARBY SVY
                     A. E. WALKER UNIT
                     CONROE FIELD UNIT E-17 RI
TEXAS   PALO PINTO   PALO PINTO CO TX 7.5 % ORI                        OVERRIDING         PRODUCING
                     SEC 18 T&P SVY A-1667                             ROYALTY
                     GEORGE A. WRIGHT G U#1
                     .0250000 ORI
TEXAS   PARKER       PARKER CO TX 1/16 ORI                             OVERRIDING         PRODUCING
                     JOHN L. SEE SVY A-1194,                           ROYALTY
                     SEC 325 T&P SVY A-1532,
                     SEC 326 T&P SVY A-1748, NW/C, 395 ACS
                     LEATHERMAN UNIT .041666 ORI
TEXAS   PARKER       PARKER CO TX 7.5% ORI                             OVERRIDING         PRODUCING
                     SEC 327 T&P SVY A-1537, 320 ACS                   ROYALTY
                     TIERCE-MCDONALD UNIT (RRC 63637)
                     .04773436 ORI
TEXAS   REAGAN       REAGAN CO TX 2/3 X 3/256 MI & 2/3 X 3/32 RI       MINERAL INTEREST   PRODUCING
                     SEC 13 CERT 551 BLK E HE&WT SVY:
                     SW/4, 160 ACS
                     MWJ-TRAMMELL A LSE .0078125 RI
TEXAS   REAGAN       REAGAN CO TX 1/2 X 3/64 X 7/8 ORI                 OVERRIDING         PRODUCING
                     SEC 9 BLK 2 UNIVERSITY LANDS SVY;                 ROYALTY
                     SW/4 LTD TO DEPTH OF 7,200', 164.93 ACS
                     UNIVERSITY 1-9 .00683593 ORI
TEXAS   RUSK         RUSK CO TX 1/20 MI                                MINERAL INTEREST   PRODUCING
                     19.25 ACS MARY COGSWELL SVY
                     (DICKSON LSE) .00416666 RI
TEXAS   RUSK         RUSK CO TX MIM J PRU SVY, 79 ACSSOUTH 7.5 ACRES   MINERAL INTEREST   PRODUCING
                     OF THE EAST 15 ACRESOF THEWEST 30 ACRES OF THE
                     SOUTH 60ACRES OF BLK 22 BEING 79 ACRESGILES A
                     .00277800 RI


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TEXAS   SCURRY      SCURRY CO TX 3/160 MI                                MINERAL INTEREST   PRODUCING
                    SEC 117 BLK 97 H&TC SVY: NE/4, 160 ACS
                    T J ELLIS .00156252 RI
TEXAS   SCURRY      SCURRY CO TX 1/16 ORI                                OVERRIDING         PRODUCING
                    SEC 129 BLK 97 H & TC RY CO SVY: NE/4, 160 ACS       ROYALTY
                    FIRST NATLBANK OF SNYDER LSE
                    .04166666 ORI
TEXAS   SCURRY      SCURRY CO TX 1/32 X 7/8 ORI                          OVERRIDING         PRODUCING
                    SEC 253 BLK 97 H&TC SVY: NW/PT, 193.6 ACS            ROYALTY
                    SACROC UNIT TR 167 (LUNSFORD LSE)
                    .0182292 ORI
TEXAS   SCURRY      SCURRY CO TX 1/2 X 1/16 ORI                          OVERRIDING         PRODUCING
                    SEC 115 BLK 97 H&TC RY CO SVY                        ROYALTY
                    S/60 ACS OF W/2 SE/4(LTD TO 2,000')
                    MURPHY D .02083334 ORI
TEXAS   SCURRY      SCURRY CO TX MI 160 ACS                              MINERAL INTEREST   PRODUCING
                    SEC 130 BLK 97 H&TC SVY: NW/4
                    W F STERLING .00520866 RI
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 114 BLK 97 H&TC SVY: SE/4 NE/4 NE/4
                    & NE/4 SE/4 NE/4, 20ACS
                    J E (ALSO L E) MURPHY .02083334 & .00260416 ORI
                    IRA 1700 ZONE UNIT TR 24
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 142 BLK 97 H&TC SVY
                    S/2 W/2 NE/4 SW/4,
                    S/2 E/2 NW/4 SW/4,20 ACS
                    MCCLURE, R. O. .00260416 ORI
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 115 BLK 97 H&TC SVY: N/2 NE/4, 80 ACS
                    S H NEWMAN .00260414ORI
                    IRA UNIT TR 28 -
TEXAS   SCURRY      SCURRY CO TX MI                                      MINERAL INTEREST   PRODUCING
                    SEC 115 BLK 97 H&TC SVY
                    W A REITER .00260414 ORI
                    IRA UNIT TR54




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TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 115 BLK 97 H&TC SVY: W/2 NW/4, 80 ACS
                    WADE .00260416 ORI
                    IRA UNIT TR 25
TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 146 BLK 97 H&TC SVY: 80 ACS
                    ALLIANCE TRUST .00260414 ORI
TEXAS   SCURRY      SCURRY CO TX MI                                    OVERRIDING         PRODUCING
                    SEC 146 BLK 97 H&TC SVY                            ROYALTY
                    O L BURNEY .0026042 ORI
TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 116 BLK 97 H&TC SVY, PT SW/4, 120 ACS
                    RI IRA 1700 ZONE UNIT
                    JJ MOORE LSE
                    IRA UNIT TR 35 - .00206414 RI
                    IRA UNIT TR 46 - .00260414 RI
TEXAS   SCURRY      SCURRY CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 116 BLK 97 H&TC SVY, PT SW/4, 120 ACS
                    IRA 1700 ZONE UNIT
                    MOORE LSE .02083334 ORI
                    IRA UNIT TR 33
TEXAS   SCURRY      SCURRY CO TX .0182292 ORI                          OVERRIDING         PRODUCING
                    SEC 253 BLK 97 H&TC SVY: NW/PT, 193.6 ACS          ROYALTY
                    SACROC UNIT TR 168
TEXAS   SCURRY      SCURRY CO TX .0182292 ORI                          OVERRIDING         PRODUCING
                    SEC 291 BLK 97 H&TC SVY                            ROYALTY
                    SACROC UNIT TR 156
TEXAS   TERRY       TERRY CO TX 1/4 MI S/440 ACS                       MINERAL INTEREST   PRODUCING
                    SEC 22 BLK K PSL SVY A-1292
                    C B TOWNES BLEASE
                    PRENTICE SOUTHWEST UNIT
TEXAS   TERRY       TERRY CO TX 1/4 MI S/440.8 ACS                     MINERAL INTEREST   PRODUCING
                    SEC 22 BLK K PSL SVY A-1292
                    C B TOWNES "A" TR
                    3
                    PRENTICE CENTRAL GLORIETA UT
                    .020834 RI AND .041666 ORI




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TEXAS   TERRY        TERRY CO TX 1/4 MI S/440.8 ACS                      MINERAL INTEREST     PRODUCING
                     SEC 22 BLK K PSL SVY A-1292
                     LTD TO CLRFK FM ONLY
                     C B TOWNES "A" TR 3
                     PRENTICE 6700' CLEARFORK CENTRAL UNIT
                     .020834 RI AND .041666 ORI
TEXAS   UPTON        UPTON CO TX 7/64 X 1/8 RI640 ACS S/2 SVY 36 BLK 1   ROYALTY INTEREST     PRODUCING
                     CERT-334 MK&T RR CO SVY &N/2 SVY 1 CERT- 4260 A-
                     211 GC&SF RR CO SVY (LANE LSE) MCCAMEY UNIT TR
                     13,14,15,16
TEXAS   WARD         WARD CO TX MI                                       MINERAL INTEREST     PRODUCING
                      SEC 58, BLK 33, H&TC RR SVY A-892, 640 ACS
TEXAS   WILLIAMSON   WILLIAMSON CO TX MI                                 MINERAL INTEREST     PRODUCING
                     SIMON MILLER SVY; A-492
                     PHILLIP PRATER SVY; A-418
                     CHAPMAN-ABBOTT UNIT - TRACT 1
                      *** COMBINED ALL TRACTS HERE; SEE REMARKS***
TEXAS   WINKLER      WINKLER CO TX MCL                                   MINERAL CLASSIFIED   PRODUCING
                     SEC 8 BLK B-2 PSL SVY A-1239,                       LAND
                     S/2 S/2 & S/2 N/2, 320 ACS
                     SEC 9 BLK B-2 PSL SVY A-1931,
                     N/2 NW/4, N/2 SW/4, NW/4 SE/4, 200 ACS
                     EAST KEYSTONE FIELDWIDE UNIT
TEXAS   WINKLER      WINKLER CO TX MI                                    MINERAL INTEREST     PRODUCING
                     SEC 41 BLK 21 UL SVY A-81U
                     UNIVERSITY -41 (RRC 74260)
TEXAS   WINKLER      WINKLER CO TX                                       MINERAL INTEREST     PRODUCING
                     SEC 31 BLK 21 UL SVY A-71U: SW/4
                     UNIVERSITY -31- A (RRC 19550)
                     .0208334 ORI
TEXAS   WOOD         WOOD CO TX 1.25/99 RI                               ROYALTY INTEREST     PRODUCING
                     99 ACS BERRY SMITH SVY A-534
                     COKE UNIT .0006554 RI & .0006434 RI
TEXAS   WOOD         WOOD CO TX 1/16 X 7/8 RI                            ROYALTY INTEREST     PRODUCING
                     TR. 5 & 1/3 X 1.25/113 RI-TR. 21 IN
                     J. D. MATTHEWS SVY & DAVID
                     GILLILAND SVY A-229
                     SECOND-SUB CLARKSVILLE FORM UNIT TR 4 & 5



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TEXAS   WOOD        WOOD CO TX                                         ROYALTY INTEREST   PRODUCING
                    G B WATKINS SVY A-629
                    WOODBINE -A- FORMATION UNIT
                    TRACT 40 (25
                    WELLS) RRC 4887
TEXAS   WOOD        WOOD CO TX MI                                      MINERAL INTEREST   PRODUCING
                    GEORGE BREWER SVY A-41
                    LOTS 10-13, BLK 23 OF HAWKINS TOWN SITE,
                    HAWKINS FIELD UT TR B7-12,B9-7,B7-11
                    HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   WOOD        WOOD CO TX MI                                      MINERAL INTEREST   PRODUCING
                    GEORGE BREWER SVY A-41
                    CRAIN (J M HENRY B9-7) .00205934 RI
                    HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   YOAKUM      YOAKUM CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SEC 25 BLK K PSL SVY A-1559: NE/4, 160 ACS
                    PRENTICE GLORIETATR 16
                    PRENTICE 6700' TR 16
                    PRENTICE SW TR 16
TEXAS   ZAVALA      ZAVALA CO TX MI                                    MINERAL INTEREST   PRODUCING
                    SVY 385 J D OWEN A-1061
                    PICKENS-COFFIELD .0625 RI
                    SVY 4 JMWILLIAMS A-1139
                    SVY 387 J M WILLIAMS A-1244
                    SVY 12 E C RUTLEDGE A-1211
                    SV
                    Y 12 E C RUTLEDGE A-1379
                    SVY 12 E C RUTLEDGE A-1381
                    SVY 13 GC&SF A-754
                    SVY14 J F CRAWFORD A-1170
                    SVY 386 1/2 HENRY HUBBLE A-191
                    SVY 388 H W WILLAIMS~
                    ~ SVY 389 J C RUFF A-562
                    SVY 392 W HADDEN A-1121
                    SVY 388 GB&N A-646
                    SVY 449 H W DAVIS A-1120




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WYOMING   WESTON       WESTON CO WY                                           OVERRIDING         PRODUCING
                       SEC 7-45N-67W: LOT 1 W/2 NE/4, NE/4 NW/4,              ROYALTY
                       SE/4 SE/4, 200.07 ACS
                       BEING TRACT 4 & SE/4 NW/4, 40 ACS
                       QUEST MUDDY UNIT TR 5B .0014168 ORI
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 3-2S-4E: S/2 SE/4, 80 ACS
                       SEC 10-2S-4E: W/2 NE/4, 80 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 14-2S-4E: SW/4, 160 ACS
                       SEC 15-2S-4E: SE/4, 160 ACS
                       SEC 2-2S-4E: NE/4 SE/4, 40 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 23-2S-4E: NW/4 SE/4, 40 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI SEC 31-4S-5E: E/2 NW/4; W/2 NE/4      MINERAL INTEREST   NON PRODUCING
                       SW/4; NW/4 SE/4; N/2 SW/4SE/4, 234 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 6-5S-5E: NW/4 NE/4, 40 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 2-2N-4E: E/2 SW/4 & W/2 SE/4, 160 ACS
ALABAMA   BALDWIN      BALDWIN CO AL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 17-4S-5E: W/2 E/2, 160 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-17E: S/2 SE/4, 80 ACS
                       SEC 13-3N-17E: 2 ACS NW/CNW/4 NE/4, 2 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 24-3N-17E: E/2 SW/4, 80 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 35-1N-18E: NW/4 SW/4, SW/4 NW/4, NW/4 NE/4, NE/4
                       SW/4,
                       SW/4 SW/4, 200 ACS
                       SEC 26-1N-18E: E/2 SW/4 SE/4, 20 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 13-3N-17E: NE/4 SW/4 & SE/4 NW/4, 80 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 24-1N-18E: S/2 SW/4, 80 ACS
ALABAMA   COVINGTON    COVINGTON CO AL MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 24-3N-17E: SE/4 & SE/4 SE/4, 200 ACS



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ALABAMA      COVINGTON     COVINGTON CO AL MI                                         MINERAL INTEREST   NON PRODUCING
                            SEC 10-3N-17E: SW/4 SE/4, NE/4 NW/4, NW/4 NE/4,
                            SW/4 SE/4, SE/4 SW/4, SW/4 SW/4 EAST OF SANFORD
                           RD, 207 ACS
ALABAMA      ESCAMBIA      ESCAMBIA CO AL MI                                          MINERAL INTEREST   NON PRODUCING
                            SEC 26: NW/4 SW/4, 40 ACS
                           SEC 34: 11 ACS
ALABAMA      ESCAMBIA      ESCAMBIA CO AL MI                                          MINERAL INTEREST   NON PRODUCING
                            SEC 9-2N-5E: SW/4 SW/4, 40 ACS
                           SEC 22-2N-5E: NW/4 SE/4, 40ACS
ALABAMA      HOUSTON       HOUSTON CO AL MI                                           MINERAL INTEREST   NON PRODUCING
                            SW/4 LYING EAST OF PANSY CROSBY RDTWP 1 RNG
                           29, 86 ACS
ARKANSAS     COLUMBIA      COLUMBIA CO AR MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 15-16S-22W: SW/4, 160 ACS
ARKANSAS     LAFAYETTE     LAFAYETTE CO AR MI                                         MINERAL INTEREST   NON PRODUCING
                           SEC 24-17S-24W: S/2 S/2 SW/4, 40 ACS
ARKANSAS     LAFAYETTE     LAFAYETTE CO AR MI                                         MINERAL INTEREST   NON PRODUCING
                           SEC 24-17S-24W: SW/4, 160 ACS
ARKANSAS     LAFAYETTE     LAFAYETTE CO AR MI                                         MINERAL INTEREST   NON PRODUCING
                           SEC 25-17S-24W: NW/4, 160 ACS
ARKANSAS     MILLER        MILLER CO AR MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 19-19S-27W: SW/4 NW/4 & NW/4 SW/4, 80 ACS
ARKANSAS     MILLER        MILLER CO AR MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 35-19S-27W: W/2, 320 ACS
ARKANSAS     OUACHITA      OUACHITA CO AR MI                                          MINERAL INTEREST   NON PRODUCING
                            SEC 34-11S-19W: NE/4 SW/4, SE/4 NW/4, E/4 SW/4 NW/4,
                           90 ACS
ARKANSAS     OUACHITA      OUACHITA CO AR MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 34-11S-19W: W/2, 320 ACS
CALIFORNIA   KERN          KERN CO, CA MI                                             MINERAL INTEREST   NON PRODUCING
                           SECTION 25; 27S-28E ALL,
                           640 ACS
FLORIDA      CALHOUN       CALHOUN CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 4-1N-9W: NW/4 SE/4, 40 ACS
FLORIDA      CALHOUN       CALHOUN CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 30-2N-9W: S/2 SW/4, 80 ACS




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FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 17-1N-9W: SE/4 NE/4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 13-1N-10W: N/2 NE/4 & SW/4 NE/4, 120 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 18-1N-9W: NW/4 NW/4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 14-2N-9W: W/2 NE/4, 80 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 3-1N-9W: SW/4 SE/4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL NPRI                                      ROYALTY INTEREST   NON PRODUCING
                        SEC 6-1N-11W
                        SEC 7-1N-11W
                        SEC 8-1N-11W
                        SEC 15-1N-11W
                        1440 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 36-2N-9W: NE/4, 160 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 4-1N-9W: NW/4 SE/4, 40 ACS
                        SEC 20-2N-9W: S/2 SW/4, 80 ACS
                        SEC 17-1N-9W: SE/4 NE/4, 40 ACS
                        SEC 13-1N-10W: N/2 NE/4, SW/4 NE/4, 120 ACS
                        SEC 18-1N-9W: NW/4 NW4, 40 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 15-1N-11W: ALL, 640 ACS
FLORIDA   CALHOUN      CALHOUN CO FL MI SEC 7-1N-11W SEC 8-1N-11W SEC 6-       MINERAL INTEREST   NON PRODUCING
                       1N-11W: SW/4 SW/4, 40 ACS 770 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 34-7N-15W: SW/4 SE/4 & 1.5 TO 2 ACS IN A V SHAPE
                       IN NE/C SE/4 SW/4 & E/2 SE/4, 122 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                        NW/4 SW/4 SEC 16-5N-16W:
FLORIDA   HOLMES       HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                        120 AC N/2 SW/4 AND NW/4 SE/4 OF SEC 28-7N-15W:




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FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       SEC 16-5N-16W: ALL NORTH OF BONIFAY AND
                      GENEVA PUBLIC ROAD ANDWEST OF CARYVILLE AND
                      GENEVA RD IN NE/4 OF SW/4 AND NW/4 OF SE/4 OF SEC
                      16-5N-16W LESS ONE ACRE IN NW CORNER AND LESS
                      ONE ACRE W OF CARYVILLE AND GENEVA RD
                      CROSSING AND N. OF BONIFAY AND GENEVA RD, 39
                      ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       175 ACS E/2 OF NW/4 AND SE/4 OF THE NE/4 AND 12 1/2
                      AC.ON THE
                      EAST SIDE OF NW/4 OF THE NW/4 AND 12 1/2 AC. ON
                      THE EAST SIDE OF THE SW/4OF THENE/4, KNOWN AS
                      THE 7 AC. SOUTH OF THE CREEK. ALL IN SEC 32-7N-
                      15W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       175 ACS E/2 OF NW/4 AND SE/4 OF THE NE/4 AND 12 1/2
                      AC. ON THEE. SIDE OF NW/4 OF THE NW/4 AND 12 1/2
                      AC. ON THE E. SIDE OF THE SW/4OFTHE NE
                      /4 KNOWN AS THE 7 AC. S. OF THE CREEK, ALL IN SEC
                      32-7N-15W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       5 AC. NW CORNER OF NE/4 OF SE/4 OF SEC 32-7N-17W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       40 ACS SE/4 OF SE/4 OF SEC 6-6N-17W:
FLORIDA   HOLMES      HOLMES CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                       40 ACS NE/4 OF NW/4 SEC 35-7N-15W:




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FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                      NW/4 LESS 9 AC. OUT OF SE/CORNER OF SEC. 30,E/2 OF
                      SEC. 31; SEC. 30 S/2 OF NE/4 AND 6 AC. IN THE
                      SE/CORNER OF SE/4 OF SW/4;LOTS 1 AND 2 OF BLOCK
                      CYPRESS; LOTS 4,21,22 OF BLK G; LOTS 1 AND 2 OF
                      BLK 1; LOT 6OF BLOCK J. ALL OFBLK K, LESS LOTS
                      1,2,3 AND LOT SOLD TO CARY HAMILTON; LOT2 BLK
                      M; LOTS 1,2,7,8
                      OF BLOCK O; LOTS 1,2,4,5,8,14,15 OF BLOCK P; LOTS
                      1,2,15,16,18,19,20, OF BLK. R;ALL OF BLK S; LOTS
                      3,4,5,6,7,8 OF BLK. T; LOTS 1,2,3,6 OF BLK. U. ALL IN
                      TWP 4N
                      -RNG 8W, 480 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 24-4N-9W: SW/4 SE/4, 40 ACS
                       SEC 25-4N-9W: ALL, 640 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 21 S/2 OF NE/4; N/2 OF SE/4;
                       SEC 23 SW/4; S/2 OF NW/4; NE/4 OF SE/4;
                       SEC 24 NW/4 OF NW/4; SE/4 OF SW/4,
                       SEC 13 W/2 SW/4 TWP. 4-N RNG. 9-W
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 31-4N-9W: E/2 OF W/2; SW/4 OF NW/4;
                       SEC 36-4N-9W: E/2OF E/2 SW/4 OF NE/4; SE/4 OF NW/4;
                      SW/4 AND W/2 OF SE/4,
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 27 ALL EXCEPT NE/4 NW/4, 600 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 11-4N-9W: NW/4 NW/4; SE/4 NW/4; S/2 NE/4; E/2
                      SW/4; SE/4,
                      27 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 26-5N-9W: S/2, 320 ACS
                       SEC 35-5N-9W: N/2, 320 ACS
FLORIDA   HOLMES      HOLMES CO FL MI                                         MINERAL INTEREST   NON PRODUCING
                       SEC 34-7N-15W: SW/4 SE/4 & 2 ACS IN NE/C SE/4 SW/4,
                      E/2 SE/4,
                      122 ACS



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FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       40 ACS BEING NW/4 SW/4 16-5N-16W
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 16-5N-16W: NW/4 SW/4, NW/4 SE/4 L&E 1 AC IN
                       NW/C & 1 AC W
                       OF CARYVILLE & GENEVA RDS, 41 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 28-7N-15W: N/2 SW/4, NW/4 SE/4, 120 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 32-7N-15W: E/2 NW/4, SW/4 NE/4 ON THE
                        E/SIDE NW/4 NW/4,
                       12-1/2 ACS ON THE E/SIDE
                        SW/4 NW/4, SE/4 NE/4 L & E 7 ACS OFF S/SIDE
                        SE/4 NE/4, 175 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 32-7N-17W: NW/C NW/4, 5 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 6-6N-17W: SE/4 SE/4, 40 ACS
FLORIDA   HOLMES       HOLMES CO FL MI SEC 35-7N-15W: NE/4 NW/4, 40 ACS      MINERAL INTEREST   NON PRODUCING
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 2-5N-16W: E/2 NW/4, 80 ACS
FLORIDA   HOLMES       HOLMES CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 27-5N-17W: 110 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 4-2N-10W: S/2 NW/4 & NW/4 SW/4, 120 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 31-3N-10W: N/2, 320 ACS




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FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 11,12,14-4N-10W: BEGIN ON THE E. ROW LINE OF
                       THE MARIANNA
                       AIRBASE RAILROAD AT IT'S POINT OF INTERSECTION
                       WITH STATE RD. NO. 1 (US90) THENCE SOUTHERLY
                       ALONG SAID RIGHT OF WAY LINE TO THE ROW OF
                       THELAND N RAILROAD; THENCE IN A
                       SOUTHEASTERLY DIRECTION ALONG SAID ROW TO
                       SPRING CREEK; THENCE NORTHEASTERLY ALONG
                       SAID CREEK TO THE EASTERN SECTION LINE OF SEC
                       14; THENCE NORTH ALONG
                       SAID SEC LINE TO THE NE CORNER OF SAID SEC;
                       THENCEEASTALONG SECTION LINE BETWEENSEC 12
                       AND 13 TO THE ROW OF STATE ROAD NO. 1 TO POB,
                       275 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 33-5N-9W: E/2, 320 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 26-3N-10W: W/2 NE/4 & E/2 NW/4 LESS E/2 NW/4
                       NE/4, 140 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 32-3N-10W: N/2 LESS 10 ACS IN THE NE/C NE/4
                       NE/4, 311.88ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-8W: ALL EXCEPT SW/4 SW/4, 600 ACS




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FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 36-4N-9W: SW/4 NE/4; SE/4 NW/4; SW/4; W/2 SE/4,
                       480 ACS,
                        SEC 30-4N-8W: S/2 NE/4; 6 ACRES IN SE/CORNER SE/4
                       SW/4;
                        LOTS 1 & 2 OF BLK CYPRESS; LOTS 4 & 22 OF BLK G;
                       LOTS 1 &
                        2 OF BLK 1; LOT 6 OFBLK J; BLK K LESS LOTS 1,2,3 &
                       LOT SOLD
                        TO CARY HAMILTON; LOT 2 OF BLK M; LOTS1,2,7, & 8
                       OF BLK O;
                        LOTS 1,2,4,5,8,14, AND 15 OF BLK P; LOTS 1,2,15,16,18,19,
                       & 20
                        OF BLK R; BLK S; LOTS 3,4,5,6,7, & 8 OF BLK T LOTS
                       1,2,3, & 6 OF BLK J
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-8W L&E SW/4 SW/4,
                        SEC 30-4N-8W: NW/4 L&E 9 ACS INSE/CE/2, E/2 W/2;
                        SEC 31-4N-8W: SW/4 NW/4, 40 ACS
                        SEC 25-4N-9W: ALL L&E NE/4
                       NW/4, 440 ACS
                        SEC 36-4N-9W: E/2 E/2, 160 ACS
                        SEC 21-4N-9W: S/2 NE/4, N/2 SE/4, 160 ACS
                        SEC 23-4N-9W: SW/4, S/2 NW/4, NE/4 SE/4,
                        SEC 24-4N-9W: NW/4 NW/4, SE/4 SW/4, SW/4 SE/4, 120
                       ACS
                        SEC13-4N-9W: W/2 SW/4, 80 ACS
                        SEC 11-4N-9W:
                       NW/4 NW/4, SE/4 NW/4, S/2 NE/4, E/2 SW/4, SE/4,
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 31-3N-10W: N/2, 320 ACS
                        SEC 32-3N-10W: N/2 L&E 10 ACS IN NE/C NE/4 NE/4,
                       311.88 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 26-5N-9W: S/2, 320 ACS
                        SEC 35-5N-9W: N/2, 320 ACS
FLORIDA   JACKSON      JACKSON CO FL MI                                             MINERAL INTEREST   NON PRODUCING
                        SEC 26-3N-10W: W/2 NE/4, E/2 NW/4 L&E E/2 NW/4 NE/4,
                       140 ACS


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FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                         SEC 4-2N-10W: S/2 NW/4 & NW/4 SW/4, 120 ACS
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                         SECS 11, 12, 14-4N-10W: 275 ACS
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                         SEC 33-5N-9W: E/2, 320 ACS
FLORIDA   JACKSON       JACKSON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 4N-8W & 4N-9W: 231.94 ACS SCATTERED
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 28-5N-23W: E/2 NW/4 SW/4, SW/4 NW/4 SW/4 & SW/4
                        SW/4, 70ACS
                         SEC 29-5N-23W: E/2 L&E PT LYING W OF YELLOW
                        RIVER, 120 ACS
                         SEC 34-5N-2
                        3W: NW/4 NW/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: SW/4 NE/4 & W/2 SE/4, 120 ACS
                         SEC 35-5N-23W: N/2 SW/4 NE/4 & SW/4 NW/4 NE/4, 30
                        ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: E/2 SE/4, 80 ACS
                         SEC 35-5N-23W: NE/4 NE/4,40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 14-5N-23W: SE/4, 160 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 36-5N-22W: NE/4 NE/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI SEC 33-4N-23W: SE/4 NE/4 & SE/4      MINERAL INTEREST   NON PRODUCING
                        NW/4 & N/2 N/2 NE/4 SW/4 &W/2 SE/4 LESS S/15 AC OF
                        SW/4 SE/4, 155 ACS SEC 34-4N-23W: NW/4 NW/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 14-4N-23W: NE/4 NE/4, 40 ACS
                         SEC 23-4N-23W: N/2 NW/4,
                        SW/4 NW/4, 120 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 19-4N-24W: S/2 NE/4, E/2 SE/4 NW/4, 780 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 11-5N-24W: SE/4 SE/4, 40 ACS
                         SEC 14-5N-24W: NE/4 NE/4,40 ACS
                         SEC 12-5N-24W: S/2 SW/4, 80 ACS


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FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 30-5N-23W: SW/4 EXCEPT THE W/18 AC SW/4 SW/4
                         & SW/4 NE/4 & S/2 NW/4 & NW/4 SE/4, 142 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 15-5N-23W: S/2 SW/4, 80 ACS
                         SEC 16-5N-23W: SW/4 SW/4,
                        40 ACS
                         SEC 21-5N-23W: W/2 SE/4, 80 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                         SEC 19-4N-24W: SE/4 SE/4, EXCEPT 3 AC COMMENCING
                        AT THE SW
                        CORNER OF SAID QUARTER AND RUNNING THENCE
                        EAST 210 YDS THENCE NORTH 70 YDS THENCE
                        WEST 210 YDS. THENCE SOUTH 70 YRDS TO THE
                        PLACE OF BEGINNING.
                         SEC 20-4N-24W: W/2 NE/4 SE/4, 20 ACS
                         SEC 21-4N-24W: SW/4 SW/4, S/2 NW/4 SW/4, A STRIP OF
                        LAND 48 FT WIDE OFF S SIDE OF THE N/2 NW/4 SW/4
                        OF SEC 21,
                         SEC 19-4N-24W: E/2 SW/4 & SE/4, 240 ACS
                         SEC 29-4N-24W: SW/4, 160 ACS
                         SEC 29-4N-24W: W/2
                        NW/4, 80 ACS
                         SEC 30-4N-24W: E/2 NE/4, 80 ACS
                         ALSO 1 AC LOCATED IN THE NE CORNER OF THE NW/4
                        SW/4 OF SEC 19 COMMENCING AT THE H.H. BOYETT
                        CORNER AND THE PUBLIC ROAD RUNNING THENCE
                        115 FT. SOUTH 228 FT WEST 257 FT.TO THE PUBLIC
                        ROAD
                        IN A NORTHEASTERLY DIRECTION ALONG SAID
                        PUBLIC RD. TO THE PLACE OF BEGINNING,




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FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 19-4N-24W: SE/4 SE/4 L&E 3 ACS,
                         SEC 20-4N-24W: W/2 NE/4 SE/4,
                         SEC 21-4N-24W: SW/4 SW/4, S/2 NW/4 SW/4, A STRIP OF
                        LAND 48' WIDEACROSS
                         THE S/SIDE N/2 NW/4 SW/4,
                         SEC 19-4N-24W: S/2 NE/4, E/2 SE/4 NW/4, E/2 SW/4, SE/4,
                         SEC 20-4N-24W: SW/4, 160 ACS
                         SEC 29-4N-24W: W/2 NW/4, 80 ACS
                         SEC30-4N-24W: E/2 NE/4, 80 ACS
                        SEC 19-4N-24W: 1AC M/L IN NE/C NW/4 SW/4,
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 15-5N-23W: S/2 SW/4, 80 ACS
                         SEC 16-5N-23W: SW/4 SW/4,
                        40 ACS
                        SEC 21-5N-23W: W/2 SE/4, 80 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 28-5N-23W: E/2 NW/4 SW/4, SW/4 NW/4 SW/4, SW/4
                        SW/4, 70
                        ACS
                         SEC 29-5N-23W: E/2 L&E THAT PT LYING W OF
                        YELLOW RIVER, 120 ACS
                        SEC 34-5N-23W: NW/4 NW/4, 40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 14-4N-23W: NE/4 NE/4, 40 ACS
                         SEC 22-4N-23W: N/2 NW/4,
                        SW/4 NW/4, 120 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 20-5N-23W: SW/4 L&E THE W/18 ACS
                         OF SW/4 SW/4, SW/4 NE/4, S/2 NW/4,
                        NW/4 SE/4, 302 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: SW/4 NE/4, W/2 SE/4, 120 ACS
                        SEC 35-5N-23W: N/2 NW/4 NE/4, SW/4 NW/4 NE/4, 30 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                          MINERAL INTEREST   NON PRODUCING
                         SEC 11-5N-24W: SE/4 SE/4, 40 ACS
                         SEC 14-5N-24W: NE/4 NE/4,40 ACS
                        SEC 12-5N-24W: S/2 SW/4, 80 ACS



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FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 14-5N-23W: SE/4, 160 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                         SEC 26-5N-23W: E/2 SE/4, 80 ACS
                         SEC 35-5N-23W: NE/4 NE/4,
                        40 ACS
FLORIDA   OKALOOSA      OKALOOSA CO FL MI SEC 36-5N-22W: NE/4 NE/4, 40 ACS   MINERAL INTEREST   NON PRODUCING
FLORIDA   OKALOOSA      OKALOOSA CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                         SEC 33-4N-23W: SE/4 NE/4, SE/4 NW/4,
                         N/2 N/2 NE/4 SW/4,W/2SE/4 (L&E S/15
                         ACS OF SW/4 SE/4), 155 ACS
                        SEC 34-4N-23W: NW/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 2-1N-29W: S/2 S/2 SW/4, DESCRIBED AS
                         BEG AT SW CORNER OF SEC. 2; N 10 CHAINS;
                        E 32 CHAINS S 10 CHAINS; W32 CHAINS, 32 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                        SEC 4-2N-29W: W/2 SW/4, 80 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                        SEC 28-2N-28W: S/2 NW/4 & NW/4, 120 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 5-2N-28W: S/2 S/2 SW/4, 334 ACS
                        SEC 9-2N-28W: N/2, S/2, SW/4 SE/4, 80 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 8-2N-28W: NW/4 & W/2 NE/4 LESS 5 ACS
                         SEC 9-2N-28W:
                        RUN S 350 YRDS. W 70 YRDS N
                         350 YRDS. E 70 RDS TO POINT OF BEGINNING
                         CONTAINING 275 AC & THAT PORTION OF SE/4
                         SW/4 OF SEC 9 T2N R28W LYING WEST OF STATE
                        HWY 188 CONTAINING 19 AC & SE/4 SW/4 LESS 2 AC
                         LYING E OF STATE HWY 188 OF SE
                        C 9 T2N R28W, 334 ACS
FLORIDA   SANTA ROSA    SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                         SEC 6-2N-28W: NE/4 NE/4 & E/2 SW/4 &
                        S/2 SE/4 EXCEPT 3 AC, 157 ACS




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FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 31-3N-28W: 5 ACS IN BEG SEC 31
                       & RUNNING N 2 1/2 CHAINS; THENCE
                       W 20; THENCE S 2 1/2 CHAINS; THENCE E 20 CHAINS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 32-3N-28W: SE/4 NE/4 & NE/4 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 4-4N-28W: W/2 NW/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 5-4N-28W: S/2 SW/4 L&E 10 ACS
                       SW/4 SE/4 L&E 10 ACS OFF W/SIDE, 100 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 8-4N-28W: N/2 NE/4, 80 ACS
                       SEC 9-4N-28W:NW/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 7-3N-28W: SE/4 NW/4 & S/2 SW/4 NW/4, 60 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 8-3N-28W: SE/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-28W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 30-3N-28W: NW/4, 160 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 10-4N-30W: SE/4 SE/4, 40 ACS
                       SEC 11-4N-30W: SW/4 SW/4, 40 ACS
                       SEC 15-4N-30W: NE/4 NW/4 & SW/4 SW/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 27-4N-29W: NE/4, 160 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 3-3N-29W: E/2 NE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 10-1N-29W: NE/4 NE/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 11-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                  MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-28W: E/2 SE/4, 80 ACS



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FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 12-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 10-1N-29W
                       40 ACS NE/4 NE/4
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 11-3N-29W: E/2 SE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 30-3N-28W: NW/4, 160 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 4-2N-29W: W/2 SW/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 2-1N-29W: S/2 S/2 SW/4, 32 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 32-3N-28W: SE/4 NE/4; NE/4 SE/4, 80 ACS
                       SEC 28-2N-28W: S/2 NW/4 & NW/4 NW/4, 120 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI SEC 6-2N-28W: NE/4 NE/4, 40          MINERAL INTEREST   NON PRODUCING
                       ACS SEC 31-3N-28W: 5 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 6-2N-28W: E/2 SW/4 & S/2 SE/4
                       L&E 3 ACS OUT OF SE/C,157 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-4N-28W: SW/4 SE/4 L&E 10 ACS OFF W/SIDE, 30
                       ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-4N-28W: S/2 SW/4 L&E E 10 ACS, 120 ACS
                       SEC 8-4N-28W: NW/4 NW/4, 40 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-2N-28W: S/2 S/2 SW/4, NW/4; W/2 NE/4; NE/4 NE/4
                        L&E 5 ACS DESCRIBED AS BEG AT NE/C OF 8-2N-28W,
                       315 ACS
                       SEC 9-2N-28W: SE/4 SW/4,19 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 5-2N-28W: N/2 S/2 SW/4; SW/4 SE/4, 80 ACS
                       SEC 9-2N-28W: SE/4 SW/4 L&E 2 ACS, 38 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 10-4N-30W: SE/4 SE/4, 40 ACS
                        SEC 11-4N-30W: SW/4 SW/4, 40 ACS
                       SEC 15-4N-30W: NE/4 NW/4, SW/4 NW/4, 80 ACS


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FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 3-3N-29W: E/2 NE/4, 80 ACS
FLORIDA   SANTA ROSA   SANTA ROSA CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 27-4N-29W: NE/4, 160 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 12-5N-19W: SW/4 NE/4, 40 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 32-5N-21W: NE/4, 160 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 2-5N-19W: NW/4 NW/4 LESS 140 YRDS (4 AC)
                       SQUARE NE/C OF TR, 39.971074 ACS
                       SEC 3-5N-19W: NE/4 NE/4, 40 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 22-5N-21W: SE/4 SW/4
                        SEC 21-5N-21W: SE/4 SE/4
                        SEC 22-5N-21W: SW/4 SW/4
                       SEC 28-5N-21W: NE/4 NE/4, 160 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 31-5N-21W: NW/4 NW/4, 40 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 12-2N-18W: SW/4 SE/4, E/2 SE/4 & SE/4 NE/4,
                       SEC 13-2N-18W: NW/4 NE/4, 200 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 3-2N-18W: S/2 L&E PT OF NE/4 SE/4
                        EAST OF VALLEY CHURCH
                       ROAD, 300 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 35-3N-17W: LOT 6, 69 ACS
                        SEC 19-3N-17W: S3/4 SE/4 SE/4,
                       21 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 28-2N-18W: W/2 NW/4; SE/4 NW/4 & N/2 SW/4, 360
                       ACS
                        SEC 29-2N-18W: E/2 NE/4, 280 ACS
                       SEC 28-2N-18-W: N/2 SE/4, 80 ACS
FLORIDA   WALTON       WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                        SEC 33-2N-18W: NE/4 NE/4; SW/4 NE/4; NW/4 SE/4; 120
                       ACS, 1/6 MI



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FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 32-2N-18W: S/2 SW/4 & SW/4 SE/4, 120 ACS
                       SEC 2-2N-18W: NE/4 NE/4, 40 ACS
                      SEC 1-1N-18W: NW/4 NW/4 & NW/4 NE/4, 80 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 23-2N-18W: NE/4 SE/4 & SE/4 NE/4, 80 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 24-2N-18W: NE/4 NE/4, 40 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 36-2N-18W: S/2 SW/4; SW/4 SE/4;
                       SEC 2-1N-18W: NE/4 NE/4;
                      SEC 1-1N-18W: NW/4 NW/4; NW/4 NE/4; 240 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 28-2N-18W: W/2 NW/4; SE/4 NW/4; N/2 SW/4; N/2
                      SE/4;
                       SEC
                      29-2N-18W: E/2 NE/4; 360 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 33-2N-18W: NE/4 NE/4; SW/4 NE/4; NW/4 SE/4; 120
                      ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 23-2N-18W: NE/4 SE/4 & SE/4 NE/4, 80 ACS, 1/4 MI
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 12-2N-18W: SW/4 SE/4, E/2 SE/4 & SE/4 NE/4;
                      SEC 13-2N-18W: NW/4 NE/4, 200 ACS 1/8 MI
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 12-5N-19W: SW/4 NE/4, 40 ACS
                       SEC 25-3N-17W:LOT 6, 69 ACS
                      SEC 19-3N-17W: S3/4 SE/4 SE/4, 21 ACS
FLORIDA   WALTON      WALTON CO FL MI SEC 2-5N-19W: NW/4 NW/4 L&E 140           MINERAL INTEREST   NON PRODUCING
                      SQ YDS IN NE/C 39.971074 ACS, 1/4 MI SEC 3-5N-19W:
                      NE/4 NE/4, 40 ACS
FLORIDA   WALTON      WALTON CO FL MI                                           MINERAL INTEREST   NON PRODUCING
                       SEC 22-5N-21W: SE/4 SW/4
                       SEC 21-5N-21W: SE/4 SE/4
                       SEC 22-5N-21W: SW/4 SW/4
                      SEC 28-5N-21W: NE/4 NE/4, 160 ACS




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FLORIDA   WALTON       WALTON CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 3-2N-18W: 320 ACS S/2 L&E THAT 20 ACS M/L OF
                       NE/4 SE/4 LYING E OF VALLEY CHURCH RD
FLORIDA   WALTON       WALTON CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 24-2N-18W: NE/4 NE/4, 40 ACS, 1/4 MI
FLORIDA   WALTON       WALTON CO FL MI                                        MINERAL INTEREST   NON PRODUCING
                        SEC 31-5N-21W: 40 AC NW/4 NW/4, 1/4 MI
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-13W: TRACT 1: SE/4 SE/4 OF SEC 7 & SW/4
                       NW/4 OF SEC 17 & W/2 SW/4 LESS
                        NW/4 NW/4 SW/4 OF SEC 17 & S/2 NW/4 NW/4 SW/4 LESS
                       2 AC
                       OFF EAST END OF SEC
                        17 & 2 1/2 AC DESCRIBED AS COMMENCING 110
                       YARDS EAST OF THE NW CORNER OF
                        NW/4 SW/4 OF SEC 17, THENCE S 10 YARDS.THENCE E
                       10 YRDS THENCE
                       N 110 YRDS TO
                        THE BEGINNING & 2 1/2 AC IN NW CORNER OF NW/4
                       SW/4 OF SEC 17 BEING 110 YRDS
                        SQUARE, 238 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 20-2N-13W: SE/4 SW/4 LESS 4 ACS IN NW/C & N/2
                       SE/4 & SE/4, 156 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 18-4N-12W: N/2 SE/4 & S/2 S/2 NE/4, 120 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 4-2N-29W: W/2 SW/4, 80.63 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 6-2N-16W: NE/4 SW/4 & NW/4 SE/4 LESS 14 AC OFF
                       EAST SIDE, 66 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 19-2N-14W: N/2 NW/4, 80 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 13-4N-13W: E/2 SW/4 & W/2 SE/4 & SE/4 SE/4, 200
                       ACS
FLORIDA   WASHINGTON   WASHINGON CO FL MI                                     MINERAL INTEREST   NON PRODUCING
                        SEC 24-4N-19W: N/2 NE/ 4 & SW/4 NE/4 & NE/4 NW/4 &
                       W/2 SE/4NE/4, 180 ACS


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FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 13-4N-13W: E/2 SW/4; W/2 SE/4; SE/4 SE/4, 200 ACS;
                       N/2 NE/4; SW/4 NE/4; NE/4 NW/4; W/2 SE/4 NE/4, 180 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 18-4N-12W: N/2 SE/4 & S/2 S/2 NE/4, 120 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 7-4N-13W: SE/4 SE/4
                        SEC 17-4N-13W: SW/4 NW/4; NE/2 NW/4 SW/4; S/2 NW/4
                       SW/4; SW/4 SW/4; S/2 NW/4
                        NW/4 L&E 2ACS OFF E/END; 2-1/2
                       ACS DESCRIBED AS COMMENCING 110 YDS OFF NW/C
                        NW/4 SW/4, THENCE S 110 YDS, THENCE E 110 YDS,
                       THENCE N 110 YDS, THENCE W 110
                        YDS TO POB 2-1/2 ACS IN NW/C NW/4SW/4 BEING 110
                       YDS SQ SEC 17-4N-13W, 158 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 22-5N-13W: S/2 NE/4, 80 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 6-2N-16W: NE/4 SW/4; NW/4 SE/4 L&E 14 ACS OFF
                       E/SIDE,
                       66 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 19-2N-14W: N/2 NW/4, 80 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 20-2N-29W: SE/4 SW/4 L&E 4 ACS IN NW/C; SE/4
                       SE/4 SE/4, 41 ACS
FLORIDA   WASHINGTON   WASHINGTON CO FL MI                                       MINERAL INTEREST   NON PRODUCING
                       SEC 4-2N-29W: W/2 SW/4, 80 ACS
GEORGIA   BAKER        BAKER CO GA MI                                            MINERAL INTEREST   NON PRODUCING
                        LOTS 32,48,49,73,88,89,90,91,110,111,112,113
                        OUT OF MCRAINEY
                       PLANTATION SVY, 2833.5 ACS
GEORGIA   COFFEE       COFFEE CO GA MI                                           MINERAL INTEREST   NON PRODUCING
                        LOT 23,24,25,68 IN 5TH DISTRICT
                        LOT 1 IN 6TH DISTRICT
                        LOT
                       15 IN 4TH DISTRICT
                       LOT 47,92,139 IN 1ST DISTRICT, 1729 ACS



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GEORGIA   DECATUR       DECATUR CO GA MI                                      MINERAL INTEREST   NON PRODUCING
                        LOTS 142 & 143 IN 16TH DISTRICT, 323 ACS
GEORGIA   DECATUR       DECATUR CO GA MI 250 ACS LOT 223, 16TH DISTRICT       MINERAL INTEREST   NON PRODUCING
GEORGIA   DECATUR       DECATUR CO GA MI                                      MINERAL INTEREST   NON PRODUCING
                        LOT 179, 16TH DISTRICT, 125 ACS
GEORGIA   EARLY         EARLY CO GA MI                                        MINERAL INTEREST   NON PRODUCING
                         LOT 188 W. OF SPRING CREEK, 380 ACS
                        PT LOT 175, 44 ACS
GEORGIA   EARLY         EARLY CO GA MI                                        MINERAL INTEREST   NON PRODUCING
                        LOTS 186-187 LYING W/SPRING CREEK, 160 ACS
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                        LOT 265, ALL, 12TH DISTRICT
                        LOT 290, SE/PT, 12TH DISTRICT
                        LOT 312, SE/C, 12TH DISTRICT
                         LOT 312, SW/C, 12TH DISTRICT
                        LOT 311, NE/C, 12TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                         LOT 311, S&E 75 AC 12TH DISTRICT
                        LOT 312, 12TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                        LOT 313, S/E CORNER, 12TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                         LOT 241, PT, 13TH DISTRICT
                        LOT 280, PT, 13TH DISTRICT
GEORGIA   MILLER        MILLER CO GA MI                                       MINERAL INTEREST   NON PRODUCING
                        LOT 313, SW/PT, 12TH DISTRICT
GEORGIA   MITCHELL      MITCHELL CO GA MI                                     MINERAL INTEREST   NON PRODUCING
                         LOT 154 10 DISTRICT, S/2 LESS 10 ACS
                        LOT 167 10TH DISTRICT, 10 ACS
GEORGIA   MITCHELL      MITCHELL CO GA MI                                     MINERAL INTEREST   NON PRODUCING
                        LOT 195, 10TH DISTRICT, W/SIDE, 106.27 ACS
GEORGIA   MITCHELL      MITCHELL CO GA MI                                     MINERAL INTEREST   NON PRODUCING
                        LOT 194 10TH DISTRICT, W/SIDE 110.18 ACS
GEORGIA   WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                         LOTS 401,308,354,382,336,349,403, 5TH DISTRICT,
                        3,101.33 ACS
GEORGIA   WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                        LOTS 47,92,91 IN 7TH DISTRICT, 754 ACS



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GEORGIA    WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                         PT OF LOT 94, 7TH DISTRICT, 411 ACS
GEORGIA    WARE          WARE CO GA MI                                         MINERAL INTEREST   NON PRODUCING
                         PT OF LOT 137, 7TH DISTRICT, 450 ACS
ILLINOIS   FRANKLIN      FRANKLIN CO IL MI                                     MINERAL INTEREST   NON PRODUCING
                         SEC 19-5S-3E: W/19 ACS NE/4 SW/4 & E/19 ACS NW/4
                         SW/4, 38 ACS
ILLINOIS   FRANKLIN      FRANKLIN CO IL MI                                     MINERAL INTEREST   NON PRODUCING
                         SEC 19-5S-3E: NW/4 SW/4, 40 ACS
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 12-20N-6W: NW/4 NW/4, 40 ACS
                         .0011000 RI, TR PART .0980860
                         CRANBERRY LAKE RICHFIELD TR7 REG # 19887
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 12-20N-6W: W/2 NE/4, 80 ACS
                         .0014636 RI, REG # 19887
                         CRANBERRY LAKE RICHFIELD TR11 REG# 19887
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 31-20N-6W: SE NW, WINTERFIELD
                         TOWNSHIP,.00791016 RI, CALVERT 2-31
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 30-20N-6W: SW SW
                         WINTERFIELD TOWNSHIP
                         JACKSON 10-30, .00322534 RI
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 31-20N-6W: NE NW
                         WINTERFIELD TOWNSHIP, .00527333 RI
                         BENCHLEY-HOTCHKISS 1-31
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 36-22N-6W: W/2 SW/4
                         AETNA TOWNSHIP .00585937 RI
                         & .00292966 ORI
                         CAVANAGH 1-36 & 2-36
MICHIGAN   CLARE         CLARE CO MI MI                                        MINERAL INTEREST   NON PRODUCING
                         SEC 30-20N-6W: S/2, 320 ACS (.03515625 MI);
                         SEC 30-20N-6W: SE/4, 160 ACS (.01757813 MI);
                         SEC 5-19N-3W: N/2, 320 ACS (.01757813 MI);
                         SEC 31-20N-3W: SE/4, 160 ACS (.03515625 MI)
                         H.H.COFFIELD 19.6875 NMA


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MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 5-19N-3W: W/2 NE/4, NE/4 NW/4, 120 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 31-20N-3W: E/2 SE/4, 80 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 30-20N-6W: W/2 E/2 SW/4, 109 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 3-20N-14W: SW/4 SE/4, 40 ACS
                        SEC 11-20N-14W: N/2 NW/4 & S/2 NE/4 & NW/4 NE/4 &
                        N/2 NE/4, 220 ACS
MICHIGAN   CLARE        CLARE CO MI MI SEC 10-18N-12W: SW/4 SE/4, 40 ACS       MINERAL INTEREST   NON PRODUCING
                        SEC 14-18N-12W: S/2 NE/4, 80 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 12 -18N-12W: ALL, 600 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 2-20N-14-W: S/2 SE/4, 80 ACS
MICHIGAN   CLARE        CLARE CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 11-20N-6W: NW/4 NW/4 NW/4
                        WINTERFIELD TOWNSHIP
                        BLANEY 1& 2-12 .00110 RI
MICHIGAN   LAKE         LAKE CO MI MI                                          MINERAL INTEREST   NON PRODUCING
                        SEC 10-18N-12W: SE/4, 160 ACS (.0703125 MI)
                        SEC 3-20N-14W: SE/4, 160 ACS (.0922375)
                        SEC 2-20N-14W: SE/4, 160 ACS (.0158125 MI)
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 9-16N-7W: NW/4, 160 ACS (.01171875 MI);
                        SEC 28-14N-8W:
                        W/2, 320 ACS (.01757813 MI)
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 8-16N-7W: S/2 NE/4, 80 ACS
                        SEC 9-16N-7W: NW/4 NW/4, 40
                        ACS
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                        SEC 28-14N-8W: W/2, 320 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                     MINERAL INTEREST   NON PRODUCING
                        SEC 3-21N-6W: NW/4 NE/4, 40 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                     MINERAL INTEREST   NON PRODUCING
                        SEC 19-21N-6W: NW/4 SW/4, 42.12 ACS



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MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 26-22N-6W: S/2 SW/4, 80 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 13-21N-7W: N/2 SE/4, 80 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 13-21-7W: E/2 NW/4, 80 ACS
MICHIGAN   MECOSTA      MECOSTA CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 11-2N-7W: W/2 NW/4, 80 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 25-21N-6W: SW/4, 160 ACS
MICHIGAN   MECOSTA      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 35-22N-6W: NW/4 SW/4, 40 ACS
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 28-15N-2E: SW/4 NE/4, 40 ACS
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 20-15N-2E: S/2, 320 ACS (.026236875 MI)
                        SEC 28-15N-2E:
                        NE/4, 160 ACS (.0527375 MI)
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 12-16N-2E: E/2 SE/4, 80 ACS
MICHIGAN   MIDLAND      MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 20-15N-2E: N/2 SE/4 S/2 NE/4 SW/4, 100 ACS
MICHIGAN   MISSAUKEE    MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 26-22N-6W: S/2 SW/4, 80 ACS
MICHIGAN   MISSAUKEE    MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                        SEC 35-22N-6W: NE/4 NW/4, 40 ACS




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MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: NE/4, 160 ACS
                       SEC 35-22N-6W: SW/4, 160 ACS
                       SEC 26-22N-6W: NE/4 & SE/4, 320 ACS
                       SEC 34-22N-6W: SE/4 & NE/4, 320 ACS
                       SEC 25-21N-7W: SW/4, 160 ACS
                       SEC 11-21N-7W: NW/4, 160 ACS
                       SEC 13-21N-7W: NW/4& SE/4, 320 ACS
                       SEC 24-21N-7W: NE/4, 160 ACS
                       SEC 19-21N-6W: SW/4, 160 ACS

                       SEC 1-21N-6W: NW/4, 160 ACS
                        SEC 6-21N-5W: SW/4, 160 ACS
                        SEC 3-21N-6W: NE/4,
                       160 ACS
                       H H COFFIELD ESTATE 109.312 NMA
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 36-22N-6W: W/2 SW/4, 80 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 24-21N-7W: N/2 NE/4, 80 ACS
MICHIGAN   MISSAUKEE   MIDLAND CO MI MI                                      MINERAL INTEREST   NON PRODUCING
                       SEC 28-15N-2E: E/2 W/2 NE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: NE/4 SE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: SW/4 SE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 6-21N-5W: E/2 SW/4, 80 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 34-22N-6W: SE/4 NE/4, 40 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI SEC 26-22N-6W: SE/4 NE/4, 40 ACS   MINERAL INTEREST   NON PRODUCING
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 26-22N-6W: E/2 SE/4, 80 ACS
MICHIGAN   MISSAUKEE   MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 26-22N-6W: SW/4 SE/4, 40 ACS
                       SEC 36-22N-6W: NW/4, 160ACS
MICHIGAN   MONROE      MISSAUKEE CO MI MI                                    MINERAL INTEREST   NON PRODUCING
                       SEC 1-21N-6W: NE/4 NW/4, 40 ACS



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MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 28-16N-11W: NE/4, 160 ACS (.02636719 MI)
                        SEC 29-16N-11W: NE/4, 160 ACS (.02636719 MI)
                        SEC 21-15N-11W: SE/4 & NE/4, 320 ACS (.03515626MI)
                        SEC 22-15N-11W: SW/4, 160 ACS (.01757813 MI)
                        H H COFFIELD ESTATE 16.875
                        NMA
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 22-15N-11W: S/2 SW/4, 80 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 28-16N-11W: NE/4 NE/4, 40 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 29-16N-11W: NE/4 NE/4, 40 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 21-15N-11W: S/2 S/2 NE/4 & N/2 S/2 NE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 19-18N-10W: E/2 NW/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 20-18N-10W: W/2 NW/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 18-18N-10W: W/2 SE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 27-18N-8W: N/2 NE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 22-18N-8W: S/2 NW/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 36-19N-10W: NW/4 SW/4, 40 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 28-19N-10W: SW/4 SW/4, 80 ACS
                        SEC 29-19N-10W: SE/4 SE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 26-19N-10W: E/2 NE/4, 80 ACS
MICHIGAN   NEWAYGO      OSCEOLA CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 25-19N-10W: W/2 SE/4, 80 ACS
MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                         MINERAL INTEREST   NON PRODUCING
                        SEC 21-15N-11W: S/2 S/2 NE/4 & N/2 S/2 NE/4, 80 ACS




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MICHIGAN   NEWAYGO      NEWAYGO CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 16-15N-11W: N/2 & THAT PT OF THE
                         N/2 SW/4 & N/2 SE/4 LYING NORTH OF
                         BIG RAPIDS AND WHITEHALL RD EXCEPT
                         A PARCEL DESCRIBED AS COMMENCING
                         AT E/4 POST, THENCE N 27 2/5 RODS W
                         25 RODS S 6 2/5 RODS W 7 1/2 RODS
                        S 21
                         RODS MORE OR LESS TO CENTER OF SAID
                         RD E ALONG CENTER OF SAME 32 1/2 RODS
                         MORE OR LESS TO POB, 400 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 21-22-18N-8W: PT
                         SEC 1-17N-8W: PT
                         SEC 27-18N-8W: PT
                        SECS 18,7,21,1,16-18N-10W: PTS
                         SECS 5,6,28-18N-9W: PTS
                         SECS 25,26,29,36-19N
                        -10W: PTS
                         H H COFFIELD ESTATE 92.0986 NMA
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 5-18N-9W: SE/4, 160 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 6-18N-9W: NORTH FRACTIONAL HALF SW/4
                        EXCEPT 20 RODS OFF
                        THE N SIDE
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 28-18N-9W: E/2 SE/4, S/2 NE/4, 160 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 28-18N-9W: NE/4 NE/4, 40 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 7-18N-10W: SE/4 SE/4, 40 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 7-18N-10-W: SE/4 SE/4, 40 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 16-18W-10W: S/2 SW/4, EXCEPT THE ROW OF
                        GRAND RAPIDS INDIANA RR, 80 ACS
MICHIGAN   OSCEOLA      OSCEOLA CO MI MI                                   MINERAL INTEREST   NON PRODUCING
                         SEC 21-18N-10W: NW/4 SW/4, 40 ACS


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MICHIGAN      OSCEOLA      OSCEOLA CO MI MI SEC 22-18N-8W: NW/4, 160 ACS          MINERAL INTEREST   NON PRODUCING
MICHIGAN      OSCEOLA      MISSAUKEE CO MI MI                                     MINERAL INTEREST   NON PRODUCING
                           SEC 35-22N-6W: N/2, 320 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                           SEC 27-18N-8W: PT, 260 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                           SEC 19-18N-10W: E/2 NW/4 SE/4, 20 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 17-18N-10W: SW/4 SW/4 & W/2 SE/4, 120 ACS
                           0.0007734 REED CITY UNIT TRACT 1
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                           SEC 21-18N-8W: NE/4, 160 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 19-18N-10W: NW/4 NE/4, 40 ACS
                           SEC 17-18N-10W: SW/4 SW/4, W/2 SE/4 SW/4, 60 ACS
MICHIGAN      OSCEOLA      OSCEOLA CO MI MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 28-19N-10W: NW/4 SW/4, 40 ACS
                           SEC 29-19N-10W: N/2 SE/4,80 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 1-13S-5E: NE/4 SE/4, 40 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 12-13S-5E: SE/4, 160 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 32-13S-5E: NE/4, SW/4, SOUTH SIDE OF NW/4 BEING
                           20 AC, 340 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 7-13S-5E: SW/4 & 4 AC ON THE SOUTH SIDE OF
                           NW/4, 164 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 7-13S-5E: S/2 NW/4 & 2 ACS IN SW/C NE/4, 82 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 30-12N-5E: NW/4 & 60 ACS ON NORTH SIDE OF
                           SW/4, 220 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 12-13S-4E: SE/4, 160 ACS
MISSISSIPPI   CHICKASAW    CHICKSAW CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                           SEC 33-12N-5E: W/2 NW/4, 80 ACS




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MISSISSIPPI   COPIAH       COPIAH CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 26-10N-9E: NW/4 NE/4, NE/4 NE/4 NW/4, W/2 NE/4
                           NW/4, 70 ACS
                            SEC 22-10N-9E: NE/4 SE/4, 40 ACS
                            SEC 23-10N-9E: SW/4 NW/4, 30 ACS EAST SIDE NW/4
                           SW4, 70 ACS
MISSISSIPPI   FORREST      FORREST CO MS MI                                      MINERAL INTEREST   NON PRODUCING
                            SEC 25-1N-12W: SE/2 NW/4 & W/2 SE/4, 160 ACS
                            SEC 1-1S-12W:
                           SE/4 SW/4, SE/4 & NE/4 SE/4,
                            NE/4, SE/4 NW/4, N/2 SW/4 & NE/4 SE/4, 440 ACS
MISSISSIPPI   GREENE       GREENE CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 31-3N-5W:
                            SEC 36-3N-6W:
                            SEC 31-3N-5W:
                            NW/4 SW/4, SEC. 31-3N-5W NE/4, SEC 36-3N-6W. LYING
                           EAST OF THE CHICKASAWHAY RIVER AND ALL THAT
                           PART OF NE/2 SE/4, SEC 36-3N-6-W LYING E. OF SAME
                           RIVER NW/4 NW/4, SEC 31-3N-5W & A STRIP ONE WIDE
                           W/SIDE OF SW/4 NW/4 SEC 31-3N- 5W
MISSISSIPPI   JACKSON      JACKSON CO MS 1/3 MI                                  MINERAL INTEREST   NON PRODUCING
                           SEC 13-5S-5W: SW/4, 160 ACS
MISSISSIPPI   JASPER       JASPER CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 13-4N-12E: SE/4 SW/4, 40 ACS
                            SEC 25-4N-12E: W/2 E/2 SE/4& SE/4 NE/4, 80 ACS
                            SEC 24-4N-12E: E/2 NW/4, 80 ACS
                            SEC 19-4N-13E: 31 ACS O
                           F SW/4 SW/4, 31 ACS
MISSISSIPPI   LAUDERDALE   LAUDERDALE CO MS MI                                   MINERAL INTEREST   NON PRODUCING
                            SEC 29-6N-14E: SW/4 SW/4 L&E 2 ACS NE/C, 38 ACS
                            SEC 30-6N-14E: SE/4, 160 ACS
                            SEC 31-6N-14E: W/2 NE/4, 80 ACS
MISSISSIPPI   NEWTON       NEWTON CO MS MI                                       MINERAL INTEREST   NON PRODUCING
                            SEC 22-5N-13E: E/2 SE/4, 80 ACS




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MISSISSIPPI   NEWTON      NEWTON CO MS MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 2-6N-13E: SE/4 SW/4, 40 ACS
                           SEC 11-6N-13E: NE/4 NW/4 &SE/4 NW/4
                           LESS 1 AC. IN SE/C & 10 AC ON SOUTH SIDE
                           OF NW/4 NE/4 & SW/4 NE/
                          4 LESS 2 AC IN
                           SW/C & 22 AC ON NORTH SIDE OF SE/4 NE/4, 109 ACS
MISSISSIPPI   NEWTON      NEWTON CO MS MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 22-6N-12E: S/2 NE/4 & N/2 NW/4 & N/2 N/2 S/2 NW/4,
                          180 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 8-1S-11W: SE/4 SW/4, 40 ACS
                           SEC 6-1S-11W: SE/4 NE/4, SW/4SW/4, 80 ACS
                           SEC 5-1S-11W: NW/4 NW/4, 40 ACS
                           SEC 30-1S-11W: W/2 NW/4, NW/4
                          SW/4, NE/4 SE/4, SW/4 SE/4, 200 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI SEC 17-1S-11W: NE/2 NE/4, NE/4 NW/4,       MINERAL INTEREST   NON PRODUCING
                          SW/4 NW/4 W/2 SW/4, SE/4SW/4, S/2, 680 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 19-1S-11W: NE/4 NE/4, SW/4 NE/4, S/2 NW/4, N/2
                          SW/4, SW/4 SW/4, W/2 SE/4, 360
                           SEC 18-1S-11W: N/2 NW/4, N/2 SE/4, SE/4 SE/4, 200 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 21-1S-11W: NE/4 NE/4, S/2 NE/4, NW/4, NW/4
                           NW/4, S/2 NW/4N/2 SW/4, N/2 SE/4, 160 ACS
                           SEC 20-1S-11W: N/2 NE/4, NE/4 NW/4, SW/4
                           SW/4,
                          E/2 SE/4, 480 ACS
MISSISSIPPI   PERRY       PERRY CO MS MI                                            MINERAL INTEREST   NON PRODUCING
                           SEC 13-1S-11W: SE/4 SE/4, 40 ACS
                           SEC 24-1S-11W: W/2 SE/4, 40
                          ACS
                           SEC 26-1S-11W: NE/4 NE/4, 40 ACS
                           SEC 23-1S-11W: S/2 NW/4, NW4 NW/4, SE/4SW/4, N/2
                          SW/4 & NW/4 SE/4, 400 ACS
                           SEC 14-1S-11W: SW/4 SW/4, 40 ACS




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MISSISSIPPI   PERRY        PERRY CO MS MI                                           MINERAL INTEREST   NON PRODUCING
                           SEC 22-1S-11W: E/2 NE/4, NW/4 NE/4, NE/4 NW/4, SW/4
                           NW/4, N/2 SW/4, N/2 SE/4,
                           SEC 15-1S-11W: NW/4 NW/4, S/2 SW/4, NE/4 SW/4, S/2
                           SE/4, NW/4 E/4,
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 27-4N-1E: N/2 SW/4 LESS 5 AC OFF
                           EAST END & SW/4 NW/4 &
                           W/2 SE/4 NW/4, 135 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC NE/4 NW/4 & 13 AC OFF EAST SIDE
                           OF NW/4 NW/4, NW/2 SE/4
                           NW/4 & THAT
                           PT N/2 SW/4 NW/4 LYING E OF PUBLIC RD, 29 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 33-4N-1E: W/2 NW/4, 80 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 27-4N-1E: N/2 SW/4 LESS 5 AC OFF EAST
                           END & SW/4 NW/4 &
                           W/2 SE/4 NW/4, 135 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC NE/4 NW/4 & 13 AC OFF EAST SIDE
                           OF NW/4 NW/4, NW/2 SE/4
                           NW/4 & PT
                           N/2 SW/4 NW/4 LYING EAST OF PUBLIC RD, 29 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 29-4N-1E: W/2 NE/4, E/2 SE/4 NW/4, 100 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 33-4N-1E: W/2 NW/4, 80 ACS
MISSISSIPPI   RANKIN       RANKIN CO MS MI                                          MINERAL INTEREST   NON PRODUCING
                           SEC 29-4N-1E: W/2 NE/4, E/2 SE/4 NW/4, 100 ACS
MISSISSIPPI   TALLAHATCH   TALLAHATCHIE CO MS MI                                    MINERAL INTEREST   NON PRODUCING
              IE           SEC 7-24N-1W: PT SE/4 NE/4, 32 ACS
                           SEC 8-24N-1W: NW/4SW/4, 40 ACS
MISSISSIPPI   TALLAHATCH   TALLAHATCHIE CO MS MI                                    MINERAL INTEREST   NON PRODUCING
              IE           NE/2 OF SEC 3 SOUTH OF MUDDY BAYOU
                           & E/2 W/2 OF SEC 3
                           NORTH OF MUDDY BAYOU, 245 ACS



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MISSISSIPPI   TALLAHATCH    TALLAHATCHIE CO MS MI                                   MINERAL INTEREST   NON PRODUCING
              IE             SEC 24-T25-R2W: NE/4 NE/4, ALL THAT PART
                             OF NW/4 LYINGCENTER OF LONG BRAKE;
                             N/2 SW/4 NE/4 THAT PART OF SE/4 NE/4, 245 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 3/8 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 33-13 N-10E: E/2 NW/4, 80 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 3/8 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 32-13N-10E: SE/4 SE/4, 40 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 3/8 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 29-13N-10E: W/2 SE/4, 80 ACS
MISSISSIPPI   WINSTON       WINSTON CO MS 1/4 MI                                    MINERAL INTEREST   NON PRODUCING
                             SEC 29-13N-10E: 42 ACS NE/4 NE/4 SW/4 & 12 ACS IN
                            SE/C SE/4 NW/4
MISSISSIPPI   WINSTON       NEWTON CO MS MI                                         MINERAL INTEREST   NON PRODUCING
                             SEC 13-6N-13E: W/2 NW/4 LESS 10 AC OUT OF SE/C, 70
                            ACS
                             SEC 14-6N-13E: E/2 NE/4, 80 ACS
NEBRASKA      CUSTER        CUSTER CO NEBRASKA 1/2 MI                               MINERAL INTEREST   NON PRODUCING
                            T20N-R17W OF THE 6TH P.M. IN SECTION 34 (E/2SE/4);
                            80 ACS
                            T19N,R17W OF THE 9TH P.M. IN SECTION 3 (SW/4) 160
                            ACS & SECTION 4 (E/2) 320 ACS
                            PER MINERAL DEED DTD 04/22/1953 RECORDED 5/18/53,
                            IN BOOK 130, PG 643
NEBRASKA      GARFIELD      GARFIELD CO NEBRASKA 1/2 MI T22N-R15W OF THE            MINERAL INTEREST   NON PRODUCING
                            6TH P.M.SECTION 10: N/2 SE/4; SECTION 11: E/2, SW/4,
                            S/2 NW/4 AND NE/4 NW/4; SECTION 12: W/2 W/2PER
                            MINERAL DEED RECORDED IN BOOK 5, PG 553
NORTH         BENSON        BENSON CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                      TOWNSHIP 153, RANGE 71
                            SECTION 1: SW/4, AND S/2 NW/4
                            SECTION2: SE/4 NE/4; NE/4 SE/4; SW/4 NE/4; NW/4 SE/4;
                            NW/4 SW/4
                            SECTION 12: N/2 SW/4,
                            NW/4




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NORTH    BOTTINEAU     BOTTINEAU CO ND MI 596.59 ACS                              MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 21-163N-75W: LOTS 3(32.19), 4(17.20), 6(16.80), N/2
                       NE/4, SW/4 NW/4, W/2 SW/4,
                        SEC 28-163N-75W: LOTS 2(39.10), 3(11.30), SW/4, W/2
                       SE/4, SW/4 NE/4,
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                  NW/4 & SE/4 SEC 29-T139-R75, SE/4 & NE/4 SEC 11-T138-
                       R75, 640 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 NW/4; SE/4; S/2; SE/4 SW/4 SEC 21-139-75W, SW/4;
                       SE/4SEC 3-139-75, 600 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 SW/4 SEC 24-140-75, NE/4; NE/4 SEC 23-140-75, NW/4 SEC
                       3-140-75, 640 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 NW/4 SEC 27-142-75, NE/4 SEC 34-142-75, NW/4 SEC 2-141-
                       75, SW/4 SEC 6-142-76, 640 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 NE/4 SEC 32-143-78, SE/4 SEC 29-143-78, NW/4 SEC 12-143-
                       76, 480 ACS
NORTH    BURLEIGH      BURLEIGH CO ND MI                                          MINERAL INTEREST   NON PRODUCING
DAKOTA                 S/2 SE/4 SEC 23-138-78, NE/4 SEC 26-138-78, SE/4 SEC35-
                       138-78, W/2 SEC 5-139-79, 720 ACS
NORTH    EDDY          EDDY CO ND MI 480 ACS                                      MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 4-T150-R67: LOTS 1,2; S/2, NE/4; SE/4 LOT 4; SW/4,
                       NW/4; SE/4, NW/4; LOT 3
NORTH    EDDY          EDDY CO ND MI 480 ACS                                      MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 33-T148-R67: NE/4 & SW/4
                        SEC 33-T148-R66: SW/4
NORTH    FOSTER        FOSTER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 22-T142N-R77W: S/2 SW/4, 80 ACS
                        SEC 2-143N-77W: N/2, 320ACS
                        SEC 4-143N-77W: NE/4, 160 ACS
NORTH    FOSTER        FOSTER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                  SEC 22-144N-77W: SE/4, 160 ACS
                        SEC 26-144N-77W: SW/4, 160 ACS
                        SEC 27-144N-77W: N/2, 320 ACS




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State    County      Legal Description                                       Interest Type      Status
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 15-144N-77W: E/2 & SW/4, 480 ACS
                      SEC 14-144N-77W: NW/4,
                     160 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 24-144N-77W: E/2 & LOTS 1, 2, 480 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 26-144N-76W: SE/4, NW/4, SW/4,
                     SEC 34-144N-76W: N/2, 320 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 7-144N-75W: SW/4 & SE/4, 320 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 35-144N-75W: ALL, 640 ACS
NORTH    FOSTER      FOSTER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 31-T147-R66: E/2, 320 ACS
                     SEC 32-T147-R66: W/2, 320 ACS
NORTH    FOSTER      FOSTER CO ND MI 480 ACS                                 MINERAL INTEREST   NON PRODUCING
DAKOTA                NE/4 SEC 13-T146-R66
                      SE/4 SEC 3-T146-R66
                      SE/4 SEC
                     32-T147-R66
NORTH    FOSTER      FOSTER CO ND MI 640 ACS                                 MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 5-146-66: ALL
NORTH    FOSTER      FOSTER CO ND MI 640 ACS                                 MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 32-T145-R66: ALL
NORTH    KIDDER      KIDDER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 30-144N-74W: E/2, NW/4, LOTS 1,2,
                      SEC 19-144N-74W: SW/4,
                     SEC 30-144N-74W: NE/4; E/2 SW/4, LOTS 3,4,
NORTH    KIDDER      KIDDER CO ND MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 19-144N-74W: SE/4, 160 ACS
                      SEC 18-T144N-R74W: NE/4, 160
                     ACS
                     SEC 28-T144N-R73W: SE/4 & SW/4, 320 ACS
NORTH    KIDDER      KIDDER CO ND MI SEC 33-T143N-R74W: E/2, 320 ACS         MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 32-T144N-R74W: S/2, SW/4, W/2 SE/4, SEC 32-T144N-
                     R74W: N/2 NW/4, 80 ACS




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NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 28-141N-73W: SE/4, 160 ACS
                     SEC 16-141N-73W: SW/4, 160 ACS
                     SEC 5-141N-73W: SW/4, 160 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 17-142N-72W: N/2 & SW/4, 480 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 31-T142N-R72W: NW/4, 160 ACS
                     SEC 30-T142N-R72W: E/2 W/2,160 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 20-144N-73W: NE/4, 160 ACS
                     SEC 17-T144N-R73W: NE/4 & SE/4, 320 ACS
NORTH    KIDDER      MORTON CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 8-137N-85W: NE/4, 160 ACS
                     SEC 9-137N-85W: W/2, 320 ACS
NORTH    KIDDER      MORTON CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 31-137N-85W: S/2, 320 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 15-143-71: NE/4 & SE/4, 320 ACS
                     SEC 22-141-71: W/2 NW/4,N/2 SW/4, S/2 NE/4 N/2 SE/4, 320
                     ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 9-141-72: E/2 & NW/4, 480 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 4-141-72: E/2 SE/4; E/2 NE/4 & SW LOT 2,3,4, 480
                     ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 14-137-71: NW/4, 160 ACS
                     SEC 28-137-71: N/2 NW/4; NW/4 SE/4; SW/4 NE/4, 240 ACS
                     SEC 22-137-71: N/2 NW/4, 80 ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 10-137-71: NE/4 & NW/4, 320 ACS
                     SEC 11-137-71: W/2, 320
                     ACS
NORTH    KIDDER      KIDDER CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 7-137-71: NW/4 & SW/4, 320 ACS




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NORTH    KIDDER       KIDDER CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 25-138-72: N/2 & SE/4, 480 ACS
                      SEC 19-138-71: SW/4, 160
                      ACS
NORTH    KIDDER       KIDDER CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 18-138-72: SW/4, 160 ACS
                      SEC 19-138-72: NW/4, 160 ACS

                      SEC 13-138-73: SW/4, 160 ACS
NORTH    KIDDER       KIDDER CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 9-137-71: NE/4, 160 ACS
                       SEC 9-137-71: SW/4, 160 ACS
                       SEC 8-137-71: NW/4, 160 ACS
                      SEC 17-137-71: SW/4, 160 ACS
NORTH    MC LEAN      MCLEAN CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 21-149N-79W: SW/4, 160 ACS
                       SEC 20-149N-79W: SE/4, 160 ACS
                      SEC 3-149-N-80W: SW/4, 160 ACS
NORTH    MC LEAN      MCLEAN CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 11-150N-80W: W/2 & NE/4, 480 ACS
NORTH    MORTON       MORTON CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 1-137N-85W: NE/4 & SW/4, 320 ACS
                       SEC 2-137N-85W: SE/4 &
                      S/2 NE/4, 240 ACS
NORTH    MORTON       MORTON CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 9-137N-85W: E/2, 320 ACS
                      SEC 10-137N-85W: W/2, 320 ACS
NORTH    MORTON       MORTON CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 21-137N-85W: E/2, 320 ACS
                      SEC 27-137N-85W: N/2, 320 ACS
NORTH    SIOUX        SIOUX CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 5-129N-83W: W/2, 320 ACS
                      SEC 6-129N-83W: E/2, 320 ACS
NORTH    SIOUX        SIOUX CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                SEC 30-130N-83W: SE/4, 160 ACS
NORTH    SIOUX        SIOUX CO ND MI                                            MINERAL INTEREST   NON PRODUCING
DAKOTA                 SEC 31-129N-80W: LOTS 2,3,4 & SE/4 NW/4 & E/2 SW/4,
                      240 ACS



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NORTH    WALSH       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 34-T148-R72: E/2 NE/4; SW/4 NE/4
                     SEC 26-T148-R72: SE/4 NW/4; SW/4
                     SEC 4-T147-R72: LOTS 1,2; S/2 NE/4, 480 ACS.
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 27-T145-R69: N/2 & N/96 ACS, 416 ACS
NORTH    WELLS       WELLS CO ND MISEC 26-T150-R68: NE/4, NW/4; W/2           MINERAL INTEREST   NON PRODUCING
DAKOTA               NE/4; NE/4, NE/4SEC 14-T150-R68: SE/4 & SW/4SEC 22-
                     T150-R68: E/2 & NE/4SEC 23-T150-R68: NW/4, 600 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 21-T150-R68: S/2 & SE/4
                     SEC 28-T150-R68: E/2 NE/4
                     SEC 27-T150-R68: NW/4
                     SEC 22-T150-R68: SW/4, 480 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 34-T150-R68: E/2, NE/4; E/2 SE/4
                     SEC 35-T150-R-68: W/2 NW/4& SW/4
                     SEC 27-T150-R68: SW/4 & SE/4, 640 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 5-T149-R68: S/2 NE/4; LOTS 1, 2
                     SEC 32-T150-R68: S/2 SW/4S/2 SE/4; NE/4 SE/4
                     SEC 33-T150R68: N/2 SE/4; SW/4 SW/4, 520 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 1-T159-R69: SE/4, NE/4 LOT 1
                     SEC 31-T150-R68: NE/4 SW/4;SW/4 SE/4; SE/4 SW/4
                     SEC 32-T150-R68: NW/4 SW/4; SW/4 NW/4; NW/4, 640 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 19-T150-R71: NE/4 & SW/4
                     SEC 18-T150-R71: SE/4
                     SEC 24-T150-R72: SE/4, 640 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 15-T148-R72: SE/4, NW/4
                     SEC 21-T148-R72: S/2, SE/4; SW/4SW/4;N/2 S/2; E/3 NE/4
                     SEC 28-T148-R72: NE/4 NE/4; S/2 NW/4; W/2 NE/4
                     SEC 22-T148-R72: W/2 NW/4; NW/4 SW/4, 720 ACS
NORTH    WELLS       WELLS CO ND MI                                           MINERAL INTEREST   NON PRODUCING
DAKOTA               SEC 27-T148-R72: N/2; E/2 SW/4; SW/4 SW/4; SE/4
                     SEC 34-T148-R72: NW/4 NW/4, 640 ACS



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NORTH      WELLS         WELLS CO ND MI                                                MINERAL INTEREST   NON PRODUCING
DAKOTA                   SEC 29-T149-R71: E/2
                         SEC 11-T149-R72: NW/4, 480 ACS
OKLAHOMA   BEAVER        OKLAHOMA WITHHOLDING                                          ROYALTY INTEREST   NON PRODUCING
OKLAHOMA   ELLIS         ELLIS CO OK MI                                                MINERAL INTEREST   NON PRODUCING
                         SEC 16-17S-22W: 40 ACS
                         SALT WATER ROYALTY
                         ALBERMARIE CORP
OKLAHOMA   LE FLORE      LEFLORE CO OK NPRI                                            ROYALTY INTEREST   NON PRODUCING
                         SEC 13-7N-25E
                         SEC 14-7N-25E
                         SEC 23-7N-25E
                         SEC 24-7N-25E
                         SEC 25-7N-25E
                         SEC 26-7N-25E
                         SEC 31-7N-25E
                         SEC 36-7N-25E
                         HENRY CHASTAIN, ET UX
OREGON     CLATSOP       CLATSOP CO OR MI                                              MINERAL INTEREST   NON PRODUCING
                         TOWNSHIP 6 NORTH RANGE 6 WEST
                         SEC 4 LOTS 1,2,3,4, S/2 N/2,S/2, SEC 5 LOTS 1,2,3,4, S/2
                         N/2, S/2,
                         SEC 6 LOTS 1,2, S/2 NE, SENW, NESW, SE,SEC7NENE,
                         SEC 8 ALL, SEC 9 ALL, SEC 14 W/2 S & E LOUIS IGOT
                         CREEK,
                         SEC 15 ALL EX
                         CEPT 77.5 ACS, SEC 16 ALL, SEC 17 ALL,
                         SEC 18 LOTS 2,3,4, SENW, S/2 NE, E/2 SW,SE,
                         SEC 19 LOTS 1,2,3,4 E/2W/2, E/2, SEC 20 ALL,
                         SEC 21W/2, N/2NE,SENE, SEC22
                         N/2N/2,
                         SEC 23 N/2 NW EXCEPT 8 ACS, SEC 30 LOT 1,2,E/2 NW,
                         NE,
                         TOWNSHIP 6 NOR
                         TH RANGE 7 WEST
                         SEC 1 LOTS 1,2,3,4, SEC 2 LOTS 1,2,3,4,5,
                         SEC 3 LOTS 1,2,3,4,
                         SEC 24 E/2 E/2, W/2 NE, NWSE, SWSE,
                         SEC 25 NWNE,E/2 NW, 8,748.68 ACS


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OREGON   COOS        COOS CO OR MI                                           MINERAL INTEREST   NON PRODUCING
                     1166 ACS PARTS OF
                     SEC 21-28S-13W
                     SEC 22-28S-13W
                     SEC26-28S-13W
                     SEC 27-28S-13W
                     SEC 28-28S-13W
SOUTH    CORSON      CORSON CO SD MIT22N-R26E (1/4 MI) SECTION 14;           MINERAL INTEREST   NON PRODUCING
DAKOTA               T22N-R27E (1/4 MI) SECTION 23(SE/4 & NW/4) T22N-R28E
                     (1/8 MI) SECTION 9: ALL;T23N-R22E (1/4 MI)
                     SECTIONS25,26;T23N-R23E (3/8 MI) SECTIONS 19, 23,
                     28;T23N-R23E (1/4 MI) SECTIONS 29,30;T23N-R26E (1/4
                     MI) SECTION 28 (S/2, NE/4)T23N-R28E (3/8 MI) SECTION
                     21, LOTS 1 & 2, SW/4
SOUTH    HAAKON      HAAKON CO SD MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA               TOWNSHIP 1, RANGE 18E (1/2 MI) IN SECTIONS 26, 35;
                     TOWNSHIP 4,RANGE 21E (1/2 MI) IN SECTION 24;
                     TOWNSHIP 6, RANGE 24E (1/8 MI) IN SECTIONS 5
                     , 8, 9 AND (1/2 MI) IN SECTION 6 (NW/4);
                     TOWNSHIP 7, RANGE 23E (1/2 MI) IN SEC1 (N/2, SW/4) ,
                     SEC 7 (S/2 S/2), SEC 27,28;
                     TOWNSHIP 7, RANGE 24E (1/2 MI) IN
                     SECTIONS 18 (NW/4 & SECTION 31 (S/2);
                     TOWNSHIP 8, RANGE 23E (1/2 MI) IN SECTIONS
                     19,21,28,29,30
SOUTH    HUGHES      HUGHES CO SD 1/2 MI                                     MINERAL INTEREST   NON PRODUCING
DAKOTA               TOWNSHIP 111, RANGE 74 IN SECTIONS 14, 15;
                     TOWNSHIP 112, RANGE 75 IN SECTION 19;
                     TOWNSHIP 112, RANGE 76 IN SECTIONS 13, 24
SOUTH    HYDE        HYDE CO SD 1/2 MI                                       MINERAL INTEREST   NON PRODUCING
DAKOTA               TOWNSHIP 112, RANGE 73 IN SECTIONS 2,3,4,5,10,14,15;
                     TOWNSHIP 113, RANGE 72 IN SEC 4 (SW/4), SEC 8 (SE/4),
                     SEC 26 (SE/4), SEC 28 (NW/4);
                     TOWNSHIP 113, RANGE 73 IN SECTION 25: SW/4, SE/4;
                     TOWNSHIP 114, RANGE 72 IN SECTIONS 27,33,34,35,




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SOUTH    PERKINS       PERKINS CO SD MI                                       MINERAL INTEREST   NON PRODUCING
DAKOTA                 TOWNSHIP 22 RANGE 10 (3/16 MI) IN SECTION 18 19;
                       TOWNSHIP 22RANGE 11 (3/16 MI) IN SECTIONS 14,23,24,
                       26;
                       TOWNSHIP 22 RANGE 11 (1/8 MI) IN
                       SECTIONS 14, 23,24,26, 29, 30 AND 31;
                       TOWNSHIP 23 RANGE 10 (1/2 MI) IN SECTIONS 25, 35
SOUTH    STANLEY       STANLEY CO SD (1/2) MI                                 MINERAL INTEREST   NON PRODUCING
DAKOTA                 TOWNSHIP 5, RANGE 27 E IN SECTION 33;
                       TOWNSHIP 7, RANGE 25 E IN SECTION 21, 28, 29
SOUTH    SULLY         SULLY CO SD MI                                         MINERAL INTEREST   NON PRODUCING
DAKOTA                 TOWNSHIP 114, RANGE 80 (3/8 MI) IN SECTIONS 5,6,8;
                       TOWNSHIP 115, RANGE 80 (3/8 MI) IN SECTION 9, 28,
                       29,30,31 AND 32;
                       TOWNSHIP 115, RANGE 81
                       (3/8 MI) IN SECTION SECTION 25;
                       TOWNSHIP 113, RANGE 75 (1/2 MI) IN SECTIONS 25,26;
                       TOWNSHIP 113, RANGE 74 (1/2 MI) IN SEC 1 (NW/4); SEC
                       3 (W/2& E/2); SEC 10
                       (NE/4);
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        F CURBIER SVY A-221, 148 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        G W TUGGLE SVY A-771
                        WILLIAM WRIGHT SVY A-798, 224.25 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        THOMAS GOSS SVY A-27 & W L POOL SVY A-57, 638.8
                       ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        SEC 1 I&GN RR SVY BLK 1 PAT 583, 134.8 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        ROBERT ERWIN SVY A-262, 55 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        C C MCDONALD SVY A-1058, 88 ACS
TEXAS    ANDERSON      ANDERSON CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                        SVY, 160 ACS
                        MITCHELL LEASE 0.000189 RI




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TEXAS   ANDERSON      ANDERSON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                      J W CARPENTER SVY A-222 &
                      ANDERSON CSL SVY A-71, 3,573.9ACS
                      DOUGLAS LATIMER
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      CALVIN GAGE SVY A-174
                      CHARLES KESSLER SVY A-218
                      180.5 ACS(80.5 + 100)
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      J FARRELL & SARAH CASTLEBURY SVY, 79.9 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      HEADRIGHT SVY, 200 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      R H GRIMES SVY, 130 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      J FERRELL SVY, 100 ACS
TEXAS   BASTROP       BASTROP CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      S S BEASLEY SVY, 750 ACS
TEXAS   BASTROP       BASTROP CO TX NPRI J MARTIN SVY, 124 ACS J O      ROYALTY INTEREST   NON PRODUCING
                      BROWNING
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J MARTIN & E HARRIS SVYS, 437.2 ACS
                      GEORGE OWEN (DANNELLEY)
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J WRIGHT & J P WALLACE SVY, 242.5 ACS
                      H B EDWARDS
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J CUNNINGHAM & J OGLESBY SVY, 2 ACS
                      AUGUST LINDNER ETUX
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      JAS WEST SVY, 200 ACS
                      HENRY MOBLEY
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      J FERRELL SVY, 105.92 ACS
                      C W MOEHRING NETTLES
TEXAS   BASTROP       BASTROP CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      T G ALLEN & P B ISLES SVY, 708.909 ACS
                      GEORGE NINK, ETAL



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TEXAS   BASTROP       BASTROP CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       DEMPSEY PACE SVY, 191 ACS
                       O M WEATHERBY
TEXAS   BASTROP       BRAZORIA CO TX NPRI                              ROYALTY INTEREST   NON PRODUCING
                       H. E. WEAVER F. S. PHILLIPS, 105 ACS
TEXAS   BEE           BEE CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                       SEC 216 DAN MALEY SVY A-567, 127.9 ACS
TEXAS   BORDEN        BORDEN CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                       S. LAKE THOMAS LAVACA NAVIGATION SVY, 40 ACS
TEXAS   BRAZORIA      BRAZORIA CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       J W HALL SVY A-68, 322.01 ACS
TEXAS   BROWN         BROWN CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      GC&SF RR CO SVY 3, A-1403,
                      KERR CSL SVY 271,
                      ALL OF F. M. WILSON SVY, A-1372,
                      ALL OF DAY LAND & CATTLE CO SVY A-1727, 318.41
                      ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       A. R. GUILD SVY A-268, 571.236 ACS
                       LSED 04/04/08 3 YRS
TEXAS   BURLESON      BURLESON CO TX 1/3 X 50/136.5 MI                 MINERAL INTEREST   NON PRODUCING
                      136.5 ACS ABNER SMITH SVY
                      (JOHN COWDEN LSE)
                       .02289377 RI
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       JOHN CHEASEY SVY, 267.5 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       THOMPSON AND SANCHEZ LGES, 157 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       CHRISTIAN LABOR SVY, 13 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       S C ROBERTSON LGE 2, 59.75 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       LOTS 1-20 BLK 11 CHRISMAN TX, 1.7218 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       SVY, 17.625 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                MINERAL INTEREST   NON PRODUCING
                       MCKEEN SVY, 110.1205 ACS



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TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      GUILD & O PERRY SVY, 163 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      A CALVIN SVY, 80 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JAS. LASTLEY LGE, 40 ACS
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                            MINERAL INTEREST   NON PRODUCING
                      H MARTIN GRANT, 40.177 ACS
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                            MINERAL INTEREST   NON PRODUCING
                      I. MAIDEN SVY,
                      SAMUEL SLATER SVY, 160 ACS
TEXAS   BURLESON      BURLESON & MILAM CO TX MI                            MINERAL INTEREST   NON PRODUCING
                      CHARLES SEVIER SVY A-226, 340 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      DAVID HOUSTON SVY, 194 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JAS. DUNN SVY, 16.5 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      WM. ALLEN SVY, 53 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      S. A. LONG SVY, 160 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      W. W. HILL SVY, 103.85 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      W. W. HILL SVY, 130 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      S. Y. REAMS SVY, 102 ACS
TEXAS   BURLESON      BURLESON CO TX MI F. A. RUIZ SVY, 160 ACS            MINERAL INTEREST   NON PRODUCING
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      MILES & MOORE SVY, 173.25 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY, 39.2 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      C A SMITH SVY A-209
                      PCC 634673 COFFIELD B-3 #1 0.09375 RI
                      PCC 634678 COFFILED B-3 #2 0.09375 RI (98875)




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TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       E. SANTE AND ABNER SVYS
                       COFFIELD-RUSSELL .09375 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       ABNER SMITH SVY
                       COFFIELD-SMITH .1875 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       ABNER SMITH SVY
                       COFFIELD-SMITH B .09375 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       ABNER SMITH SVY
                       COFFIELD-SMITH .1875 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                      JOHN CHESNEY SVY A-10: 425.85 ACS
                      TR 1 133.36 AC, TR 2 50.84AC, TR 3 126.75, TR 3B 2.38, TR
                      4 112.52 AC
                      ADAMS-LAKEVIEW DEVELOPMENT NO.1-AREUNIT
                      LAKEVIEW UNIT 1 .0625 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                      SEC 1 MOSES CUMMINGS SVY A-16, 300 ACS
                      J M ORSAG UNIT 1, 2,
                      0.0046542 RI
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY
                      GRAMM LEASE .0628 RI
TEXAS   BURLESON      BURLESON CO TX NPRI                                         ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 25 ACS
                       W. A. BOUNDS, ET UX
TEXAS   BURLESON      BURLESON CO TX NPRI                                         ROYALTY INTEREST   NON PRODUCING
                       J S WINSTON SVY, 645 ACS
                       F. C. EDMINSTON ESTATE
TEXAS   BURLESON      BURLESON CO TX MI                                           MINERAL INTEREST   NON PRODUCING
                       A.THOMPSON SVY, 262 ACS
                       H NEVILLS SVY
                       J. M. SANCHEZ SVY
                       F. M. ETHERIDGE EST.
TEXAS   BURLESON      BURLESON CO TX NPRI                                         ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 125 ACS
                       M. T. FOOD LAND


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TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ELIZA SANTE SVY, 221 ACS
                      NELLIE K. GRAMM
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ABNER SMITH SVY, 379 ACS
                      J. N. GREEN LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      JAMES SHAW SVY, 44.8 ACS
                      M.H. HELFORD ET UX
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      WILLIAM OLDHAM SVY, 160 ACS
                      T. S. HENDERSON LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      JOHN WINSTON SVY, 645 ACS
                      JOHN A. JACKSON LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      SAM WILLIAMS SVY, 20 ACS
                      SARAH ANN JACKSON ET AL
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      I&GN RR SVY, 140 ACS
                      E. A. LARREMAORE ET UX
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ELIZA SANTE SVY, 500 ACS
                      GENEVIEVE MAAS, A WIDOW &
                      NELLIE GRAMM ET VIR
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ELIZA SANTE SVY, 218 ACS
                      GENEVIEVE MAAS, A WIDOW
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      ABNER SMITH SVY, 86 ACS
                      W. T. MACY & A. S. CROW LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      MARY CARNAGHAN, 99 ACS
                      ROBERT MCLANE LAND
TEXAS   BURLESON      BURLESON CO TX NPRI J. C. WALKER SVY, 247 ACS P.   ROYALTY INTEREST   NON PRODUCING
                      H. HARRISS ET UX (OGLE LAND)
TEXAS   BURLESON      BURLESON CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                      SVY, 160.33 ACS
                      J. P. STEVENS & W. EVANS DOVIE RAY JONES, ET VIR


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TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 100 ACS
                       RAY AND JONES LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 103 ACS
                       JESSE Q. RAY, A SINGLE MAN
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       J. C. WALKER SVY, 664.25 ACS
                       W.H. ORR, ET UX, B. REGENBRECHT LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       J. C. WALKER SVY, 175 ACS
                       MRS. CADDIE SCARBROUGH, A WIDOW
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       ABNER SMITH SVY, 80 ACS
                       TEX-OKAN MILLING CO LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       JAMES SHAW SVY, 280 ACS
                       VOGEL LAND
TEXAS   BURLESON      BURLESON CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       HENRY MARTIN SVY, 40 ACS
                       I. H. WARREN, ET UX
TEXAS   BURLESON      BURLESON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                      AARON COLVIN SVY A-13, 80 ACS
TEXAS   BURLESON      BURLESON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                      E. SANTE SVY A-210, 40 ACS
                      COFFIELD UNIT A (C2502) .1250 RI
                      COFFIELD UNIT A (C2502) .0625 ORRI
TEXAS   BURLESON      BURLESON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY A-210, 43.6 ACS
                      H H COFFIELD -A- #2 (04209)
                      .0416666 RI & .02083332 ORI
TEXAS   CALDWELL      CALDWELL CO TX NPRI                               ROYALTY INTEREST   NON PRODUCING
                       MILES G. DYKES SVY, 3 ACS
                       W. V. HARDIN
TEXAS   COOKE         COOKE CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      GARCIA SVY A-404, 112 ACS
TEXAS   DALLAS        DALLAS CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                       WILLIAM B. COATS SVY, .29 AC
                       ETTA D. BLANDCHARD ET VIR


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TEXAS   DALLAS       DALLAS CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      JAMES MATTHEWS SVY, 8.45 ACS
                      FOREST LAWN LOT OWNERS ASSN
TEXAS   DALLAS       DALLAS CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JOHN S JONES SVY A-687, 155 ACS
TEXAS   DE WITT      DE WITT CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAMES DUFF SVY A-153, 167 ACS
                      LUKE M. MASON SVY A-335, 20
                     ACS
TEXAS   DE WITT      DEWITT CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                     JAMES MAY 1/4 LGE A-324, 103 ACS
TEXAS   DE WITT      DEWITT CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      JAMES DUFF SVY A-153
                      & LUKE MASON SVY A-325, 40 ACS
TEXAS   DIMMIT       DIMMIT CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      LOT 7, BLK 175 OF SUB L, 80 ACS
                      LOT 7 & 10 BLK 11 SUB A, 80
                     ACS
                      LOT 9 BLK 11 & LOT 11 BLK 10 SUB A, 80 ACS
                      ALL IN TAFT-CATARINA PROPERTIES SUBD
TEXAS   DIMMIT       DIMMIT CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      T&NO RR SVY, 40 ACS
                      JEFF ARCHER ESTATE
TEXAS   DIMMIT       DIMMIT CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      SEC 651 A-102, 40 ACS
                      SAM F. SHROUT ET UX
TEXAS   DIMMIT       DIMMIT CO TX 2/3 MI LOT 14 BLK-4 SUBD A,           MINERAL INTEREST   NON PRODUCING
                     W R RUTLEDGE SVY A-1229 TAFT-CATARINA, LOT 14
                     BLK-8 W R RUTLEDGE SVY A-1229 CATARINA
                     TOWNSITE 80 ACS
                     ADDITIONAL PROPERTY TO ACCOUNT, SEE DEED
                     DATED 08/30/1984, VOL. 206, PG 6
TEXAS   DIMMIT       DIMMIT CO TX 3/128 NPRI                            MINERAL INTEREST   NON PRODUCING
                     LOTS 11 & 12 BLK 2
                     TAFT-CATARINA SUBD A, 80 ACS
                     DEED DTD 07/18/1953,
                     RECORDD IN VOL. 106, PG 539-540




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TEXAS   DIMMIT       DIMMIT CO TX 3/128 NPRILOT 12 BLK 6 TAFT-          MINERAL INTEREST   NON PRODUCING
                     CATARINA SUBD A, 40 ACS DEED DTD
                     05/29/1961,RECORDD IN VOL. 120, PG 361
TEXAS   DIMMIT       DIMMIT CO TX 3/128 NPRI                            MINERAL INTEREST   NON PRODUCING
                     LOT 1 BLK 10
                     TAFT-CATARINA SUBD A, 40 ACS
                     DEED DTD 11/02/1953,
                     RECORDD IN VOL. 107, PG 93
TEXAS   ECTOR        ECTOR CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     GOLDSMITH ADOBE UNIT
TEXAS   FAYETTE      FAYETTE CO TX 1/2 X 3/4 X 1/8 X 7/8 ORI            OVERRIDING         NON PRODUCING
                     J T WHITESIDE LEAGUE A-107, 500 ACS                ROYALTY
                     JANECKA -A- (RRC 700)
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     237 ACS, JOHN VANDERWORTH LGE A-312
                     IRENE UNIT- A NO. 1
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      AMAZIAH E BAKER LGE A-8
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      A.E. BAKER LEAGUE A-8 &
                      MARY PHELPS LEAGUE A-82, 210.7 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      A.E. BAKER LEAGUE A-8 &
                      MARY PHELPS LEAGUE A-82, 210.7 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      J.G. WILKINSON SVY A-108, 94.9 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      MARY PHELPS LGE A-82, 50 ACS
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     W. WILLIAMSON SVY A-113, 795.084
                     GEOSOUTHERN-AMY .03125 RI
TEXAS   FAYETTE      FAYETTE CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     J G WILKINSON SVY A-108
                     GEOSOUTHERN-STAR .046875 RI
TEXAS   GALVESTON    GALVESTON CO TX MI                                 MINERAL INTEREST   NON PRODUCING
                     JOHN D. MOORE LEAGUE




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TEXAS   GARZA       GARZA CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     SEC 1111 TWN G RY CO SVY A-353: SW/4, 160 ACS
                     PATENT 436 VOL
                    29 CERT 0/38
TEXAS   GOLIAD      GOLIAD CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    321.2 ACS OUT OF THE R. E. HANDY SVY
                    AND M. G. CARICO SVY A-90
TEXAS   GRAY        GRAY CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                     H&GN RR CO SVY, 562.2 ACS
                    FEDERAL FARM MORTGAGE CORP.
TEXAS   GREGG       GREGG CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     L B OUTLAW SVY A-159
                    CALVIN BROWN .005 RI
TEXAS   GREGG       GREGG CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     L B OUTLAW SVY A-159
                    ROSA BROWN .03125 RI
TEXAS   GREGG       GREGG CO TX                                         MINERAL INTEREST   NON PRODUCING
                    L B OUTLAW SVY A-159
                    ROSA BROWN .020834 RI
TEXAS   GRIMES      GRIMES CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    J. G. TONG SVY A-446, 188 ACS
TEXAS   HARRIS      HARRIS CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    JACOB HALL SVY, 161.75 ACS
TEXAS   HARRIS      HARRIS CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    JOHN WHITE SVY, 140 ACS
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS-WILSON 2 LGE GRANT, 2.09 ACS
                    BANKERS MORTGAGE CO.
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS-WILSON 2 LGE GRANT, 3.32157 ACS
                     A.B. O'DONNELL ET,
                    UX
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS-WILSON FIRST TIER, .5603 ACS
                    JOHN CLAYTON
TEXAS   HARRIS      HARRIS CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HARRIS -WILSON FIRST TIER, .7 AC
                    N.J. KLIEN



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TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      HARRIS-WILSON 2 LGE GRANT, 3.305 ACS
                      ANTHONY B. O'DONNELL
                      ET UX
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      J. MITCHELL SVY A-570, 100 ACS
                      E.A. SCROGGINS, ETUX
TEXAS   HARRIS        HARRIS CO TX NPRI J. MITCHELL SVY A-570, 4.556 ACS   ROYALTY INTEREST   NON PRODUCING
                      E.A. SCROGGINS ET, UX
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      HARRIS-WILSON 2-LEAGUE GRANT, .7 ACS
                      TEXAS-LOUISIANA CORP
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      PART OF LOT 3, BLK. 35, 2.778 ACS
                      URSULINE ACADEMY OF GALVESTON ET AL
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      JOHN BROWN SVY, 2.778 ACS
                      U.S.A. ADM. OF GENERAL SVCS
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      JOHN BROWN SVY, 11.5 ACS
                      E. MONROE WISE ET UX
TEXAS   HARRIS        HARRIS CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      HARRIS-WILSON 2 LGE GRANT, 2.245 ACS
                      JOHN H. BLAFFER, T.J.HILL & KINCAID SC
TEXAS   HARRISON      HARRISON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      P.R. PEARSON SVY, 50 ACS
TEXAS   HARRISON      HARRISON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      DAVID HILL SVY, 41.5 ACS
TEXAS   HARRISON      HARRISON CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      PRANSON & FAZER SVY, 72.5 ACS
TEXAS   HOUSTON       HOUSTON CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      S. A. RINGO & JESSIE DODSON, 6.8 ACS
TEXAS   HOUSTON       HOUSTON CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      MARY INGRAM SVY A-1263, 160 ACS
TEXAS   HOWARD        HOWARD CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                      SEC 4 BLK 34 T1S T&P SVY, 320 ACS




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TEXAS   HUNT           HUNT CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                        PRICE SVY, 269.6926 ACS
                        W.M. JACKSON
TEXAS   JACK           JACK CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                       S H TRIGHMAN SVY A-1724; A-2339
                       STEED-LEACH
                       LEACH #1 .0208334
                       RI
TEXAS   JACK           JACK CO TX MI 160 ACS                             MINERAL INTEREST   NON PRODUCING
                       S. H. TILGHMAN SVY A-2339
                       CATLIN-LEACH #1 .0138890RI
TEXAS   JACK           JACK CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        S H TILGHMAN SVY A-1724, E/40 ACS
TEXAS   JASPER         JASPER CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                        A. WRIGHT SVY, 63 ACS
TEXAS   JASPER         JASPER CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                        A. WRIGHT SVY, 65 ACS
TEXAS   JEFFERSON      JEFFERSON & LIBERTY CO TX MI                      MINERAL INTEREST   NON PRODUCING
                        SEC 31 T&NO SVY, A-375, LIBERTY CO TX
                        SEC 1140
                       WHEELER SVY JEFFERSON CO TX
                        980 ACS
TEXAS   KARNES         KARNES CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                        VICTOR BLANCO ORIG GRANT A-3, 60.25 ACS
TEXAS   KAUFMAN        KAUFMAN CO TX NPRI                                ROYALTY INTEREST   NON PRODUCING
                        NELSON SVY, 1343.78 ACS
                        W.P. KING SVY, 97.2 ACS
                        F.S. OLDT, ET UX
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY LABOR 7 LGE 642, 177.1 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY, 191.5 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY LABOR 25 LGE 642, 100 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        ABNER TAYLOR SVY LABOR 3 LGE 642, 177.1 ACS
TEXAS   LAMB           LAMB CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                        THOMSON SVY SEC 24, 637.7 ACS



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TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN CHENOWETH SVY A-60, 117.469 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    R. MILBUM SVY, 100 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    PEVEYHOUSE SVY, 45 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    THOS. MORROW SVY A-222, 276 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN PREWITT LGE A-259, 100 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN PREWITT LGE A-259, 106 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    W S DOBBINS LGE A-88, 116 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    J. M. DICKSON SVY A-94: 71.125 ACS
TEXAS   LEE         LEE CO TX MI E MILBURN SVY, 100 ACS                MINERAL INTEREST   NON PRODUCING
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    S.S. CURTIS & E. MILBURN SVY, 248 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    A. ESTES LGE, 157.5 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    W. H. BYNUM SVY A-6, 174 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    IRA CLEMONS SVY A-58, 204.1 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    AARON D. DODD SVY A-85, 125 ACS
TEXAS   LEE         BURLESON & LEE CO TX MI                            MINERAL INTEREST   NON PRODUCING
                    LEWIS MOORE SVY A-236
                    JOHN FURNASH LGE A-107
                    263.333 ACS, LSED 11/15/10 3 YRS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    S. S. CURTIS & B .W. SWEARAGIN SVYS, 71 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    NICHOLAS S. CRUNK SVY A-62, 61.25 ACS
                    NICHOLAS S. CRUNK SVY A-62, 42.827 ACS
TEXAS   LEE         LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    JOHN PREWITT SVY, 111 ACS



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TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    JOHN FURNASH LGE A-107, 200 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    DANIEL WALKER SVY, 125 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    R T. S. MAHAN & S. S. CURTIS 1/3 LGE, 175 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    JOHN EASLEY SVY, 45.7 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    JOHN NEWTON SVY A-244, 120 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    DANIEL WALKER LGE, 105 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    GEORGE DARR SVY, 50 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    P. WIMBERLY SVY, 40 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    THOMAS WARD LGE, 68.5 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    THOS MORROW SVY A-222, 51.6 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    DANIEL WALKER SVY, 39.75 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    GEORGE KESSNER SVY, 40 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    WM. C. HUGHES SVY, 95 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    ARMSTRONG SVY, 100 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    IRA CLEMONS SVY A-58, 100 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    E. MILBURN SVY, 116.5 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    E. MILBURN SVY, 193 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    S.S. CURTIS SVY & E. MILBUM SVY, 175 ACS
TEXAS   LEE         LEE CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    E. MILBUM SVY, 24.405 ACS



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TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    A. S. MITCHELL SVY, 15 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    F. BOATWRIGHT LGE, 151.54 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    GEORGE DARR SVY 201 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    A. S. MITCHELL 1/3 LGE SVY A-221, 325 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    IRA CLEMMONS SVY A-58, 108 ACS
TEXAS   LEE         LEE CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    P. T. CUMEAL SVY, 70 ACS
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    W. N. MOCK LGE, 164 ACS
                    JOHN CURREY ET AL
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     C. L. L. CHILES & JOHN CHENOWITH SVY, 248 ACS
                     FIRST NATIONAL
                    BANK
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     J. A. TANNER LGE & FRANKLIN J. WILLIAMS SVY,
                    283.5 ACS
                    P. A.HELMS, ET UX
TEXAS   LEE         LEE CO TX NPRI IRA CLEMMONS SVY, 100 ACS B.         ROYALTY INTEREST   NON PRODUCING
                    HESTER ET UX
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    WILLIAM N MOCK SVY, 50 ACS
                    JOHN JENKINS ET UX
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     THOMAS MORROW SVY, 112.23 ACS
                    NORAH E. MARTIN
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     JOHN CHENOWETH SVY, 132.75 ACS
                    PEARL MCCAWLEY, A WIDOW
TEXAS   LEE         LEE CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                     GEORGE W. GUTHIE & WARREN LYONS SVYS, 140
                    ACS,
                    ROSA A. MUSTONAL BY J. KNOX



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TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      P OWENS GRANT, 374 ACS
                      J. B. NEWTON ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      W. H. BYNUM LGE, 174 ACS
                      T. S. PEEBLES ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      JOHN CHENOWETH SVY, 144 ACS
                      J. T. PRUETT, ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      P. T. CUMEAL LGE A-61, 255 ACS
                      F. W. RETZLOFF ET AL
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      WILEY HARRISON SVY, 322.853 ACS
                      STATE BANK AND TRUST CO
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      WILLET HEADRIGHT SVY, 55 ACS
                      A. L. TURNIPSEED, ET UX
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      HENRY COOK LGE, 102 ACS
                      BETTIE WALDEN A WIDOW
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      THOMAS H. MAYS SVY, 130 ACS
                      H. M. WEST LAND
TEXAS   LEE          LEE CO TX NPRI                                     ROYALTY INTEREST   NON PRODUCING
                      A. S. MITCHELL SVY, 200 ACS
                      FRED VOLLHUE
TEXAS   LEE          LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                     J F MANCHA SVY A-207
TEXAS   LEE          LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      JAMES SHAW SVY A-289, 139.6 ACS
TEXAS   LEE          LEE CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      ROBERT FINNEY A-108, 91 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAS. HANNEY LGE, 160 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAS. HANNEY & H. B. JOHNSON LGE, 106 ACS




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TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      ELDRIDGE SVY, 10 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      S. O. THOMPSON SVY, 41 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      H. B. JOHNSON & JAS. HANDRY LGE, 130 ACS
TEXAS   LIBERTY      LIBERTY CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                      JAMES HANEY LGE, 77 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     29.62 ACS OUT OF THE B W HOLTZCLAW SVY, A-187
                     (COFFIELD-STANISLAW)
TEXAS   MILAM        MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                      JOSE LEAL SVY, 16 ACS
                      JOHN HALL (R L ABBOTT, ET UX) GRANTOR
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      R L BATTE SVY A-453, 357.8 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      J L NICHOLSON SVY, 128.8 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      ELI WILLIAMS SVY A-380
                      JOHN NOLAN SVY A-286, 236 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      E SANTE SVY, 54.5 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      M A SACKETT SVY A-337, 105 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     D A THOMPSON SVY A-398 AND WILLIAM ALLEN SVY
                     MINERVA-ROCKDALE FIELD
                     H H COFFIELD E(A/K/A H H SHAMROCK 1) .0833334 RI
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      J. LEAL SVY, 100 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      T. J. CHAMBERS SVY, 40 ACS
TEXAS   MILAM        MILAM CO TX MIJ. B. HARVEY SVY A-186, 103 ACS      MINERAL INTEREST   NON PRODUCING
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     MARY SACKETT SVY A-337, 72 ACS
TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     J. A. PREWITT SVY A-288, 45 ACS



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TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    MARY SACKETT SVY A-337, 75 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    MARY SACKETT SVY A-337, 16.33 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    MARY SACKETT SVY A-337, 82 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    B. F. SWOAP SVY A-328, 218.5 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    J. B. HARVEY SVY A-186, 130 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    J. LEAL SVY A-29, 20 ACS
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                     ELIZA SANTE SVY A-210, 40 ACS
                     BROWN & MCKENZIE
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                     WILLIAM ALLEN SVY A-72
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                     ROBERT WALKER HEIRS SVY A-382
TEXAS   MILAM       MILAM CO TX MI                                         MINERAL INTEREST   NON PRODUCING
                    W W HILL SVY
                    COFFIELD -LOCKHART .1875 RI
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     D A THOMPSON SVY, 5 ACS
                     A. AGUILLAR, ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     WM. ISAACS & JAS. STEVENS SVY, 336 ACS
                     SAM GARDNER (J. BALFORD EST) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     S. C. ROBERTSON SVY A-52, 101.666 ACS
                     ALUMINUM CO. OF AMERICA GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     J. P. SMITHSON & E.S.C. ROBERTSON SVY, 160.5 ACS
                     T.F. CRISWELL (G.W. MARZILLA APPLIN)
TEXAS   MILAM       MILAM CO TX NPRI                                       ROYALTY INTEREST   NON PRODUCING
                     J. J. ACOSTA SVY, 134.167 ACS
                     DORIS SIMMS AVRETT, ET AL, GRANTOR




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TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 16 ACS
                    JIM BARTLETT ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    S. Y. REAMS SVY, 17.9 ACS
                    ELDON BATTE ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    HENRY MARTIN SVY, 65 ACS
                    KATE BEATY, ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 2.5 ACS
                    CARL C. BLACK GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    ROBERT WALKER SVY, 660.3 ACS
                    ED. J. BAHAC ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 5 ACS
                    DAN F. BOUNDS LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    T.S. ARNETT SVY, 9.601 ACS
                    BRIDLE BIT MRS. SUE HALE,
                    A FEME SOLE GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    G. W. TEVIS SVY, 263 ACS
                    C. W. HINYARD (R.N. BRENNAN ETAL)
                    GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    S. P. CARSON SVY, 10 ACS
                    KENNETH BRODNAX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 175 ACS
                    J. MCGREGOR (MRS. NM BULLOCK)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    H. MARTIN & J SHAW SVY, 133 ACS
                    MRS. N. M. BULLOCK GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 30 ACS
                    J.W. BUSBY ETUX GRANTOR



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TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    W. THOMPSON SVY, 820.9 ACS
                    LENA EVANS CALLIER GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI D. A. THOMPSON SVY, 1 AC        ROYALTY INTEREST   NON PRODUCING
                    CHARLES CALVIN GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    F. RUIZ SVY, 256.4 ACS
                    C.W. HINYARD (ARCHBISHOP OF
                    SAN ANTONIO) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 55 ACS
                    WM. CAMERON CO. (CAYWOOD LN.) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 100 ACS
                    A.L. CAYWOOD ETUX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 100 ACS
                    LOUIS CAYWOOD GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 55 ACS
                    RUBEN CAYWOOD GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 70 ACS
                    W. T. CAYWOOD GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 128.61 ACS
                    WILLARD T. SCURLOCK (O. CHARLES ETUX)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 10.4 ACS
                    BERTIE W. CHINN GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JAMES SHIELDS SVY, 180 ACS
                    E. GUNN (J. M. COLLINS EST.LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 15 ACS
                    SONS OF HERMAN (CORBITT LAND) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 8 ACS
                    MRS. EDNA COULTER GRANTOR


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TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 115.5 ACS
                    J. COX (M. G. COX, ESTATE) GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    B. W. HOLTZCLAW SVY, 1,389.66 ACS
                    CULPEPPER-SIMMS LAND
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 40 ACS
                    CRAYTON LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    E. BAILEY SVY, 605.5 ACS
                    J. M. CUNNINGHAM LANDS. GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 65.77 ACS
                    HOWARD J. DEBUS. GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 50 ACS
                    J. W. DYER, TE UX GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 4.6 ACS
                    VERNON DYJMKE, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 3 ACS
                    FRANK BYMKE, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    WILLIAM ALLEN SVY A-72, 10.5 ACS
                    VERNON DYMKE, ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 47 ACS
                    R.E. EAKIN LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JAMES SHIELDS SVY, 108 ACS
                    J. J. ELLIOTT LAND
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    F. RUIZ SVY, 80.75 ACS
                    FEDERAL LAND BANK (T. A. FISHER)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. W. HAYS SVY, 68.33 ACS
                    R. A. THOMAS ET UX ( FIRST NAT.BANK) GRANTOR


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TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    T. F. HAILEY SVY. I & GN RR SVY, 68.33 ASC
                    BENTLEY FLETCHERET UX, WIDOW GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    T. F. HAILEY SVY, 67.5 ACS
                    LOUISE FLETCHER, WIDOW GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI I & G N RR T. F. HAILEY SVY, 119.2   ROYALTY INTEREST   NON PRODUCING
                    ACS WILLIAM S. FLETCHERET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    C. S. WALDEN & D. A. THOMPSON SVY, 807.6 ACS
                    E. H. FOSTER ET UX GRANTOR
TEXAS   MILAM       MILAM CO TX MI                                        MINERAL INTEREST   NON PRODUCING
                    SMITH VINCENT SVY, 25 ACS
                    J. R. FRAIM LAND
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    RICHARD ROSS SVY, 100 ACS
                    J. S. FRANKLIN, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    CHAMBERS, THOMPSON, ARNETT SVYS, 128.75 ACS
                    MRS. J. A. GAMBILL, ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 84.25 ACS
                    DAVIS R. GARLAND ET AL GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    G. W. TEVIX & S. Y. REAMS SVY, 130.5 ACS
                    W.V. HARDIN (TOM E.
                    GARRARD ET UX)
TEXAS   MILAM       MILAM CO TX NPRI                                      MINERAL INTEREST   NON PRODUCING
                    JAS. SHELTON SVY, 50 ACS
                    L. FYKES ET AL (W GIBSON)
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 36 ACS
                    W. GIBSON (JESSE H. GORE LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    D. A. THOMPSON SVY, 8 ACS
                    JOE W. GRABENER
TEXAS   MILAM       MILAM CO TX NPRI                                      ROYALTY INTEREST   NON PRODUCING
                    WM. THOMPSON SVY, 250 ACS
                    H. L. GREEN ET UX (LELAND GREEN)


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TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JAMES LEWIS SVY, 194.5 ACS
                    LELAND GREEN JR. ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    S. P. CARSON SVY, 5 ACS
                    R.O. GREER, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 21 ACS
                    FLOYD Y. GRIFFIS, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 116 ACS
                    JOSIE PALMER, S. C. GRUBAUGH ET UX
                    GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    CHARLES BIGELOW SVY A-100, 435.2 ACS
                    E. A. CAMP (C. H. GUSTAFSON ETUX)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 50 ACS
                    JOHN T. HALE ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTA SVY, 520.054 ACS
                    W. N. HALE LAND
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    A. M. TANDY SVY, 932.2 ACS
                    W.M. KELLER (H.H. HALL EST)
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 17 ACS
                    WALLIS M HARRIS ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 52.11 ACS
                    LEO HARRIS LAND GRANTOR
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    JAMES DUNN A-146, 50 ACS
                    R. A. HAIRSTON
TEXAS   MILAM       MILAM CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                    SMITH VINCENT SVY, 75 ACS
                    LEE BATTE HARVEY (JEAN KAY) GRANTOR




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TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JAS. SHELTON SVY, 185.25 ACS
                    HAYNIE ESTATE LANDS
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 150.6 ACS
                    P. SANDERS, W. L. HALL ET UX (HELMS LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    B. C. ROBERTSON SVY, 94.456 ACS
                    CARROL ROBERTSON ET UX (OSWALD HENNIGER)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 15 ACS
                    HOLCOMB OR LOCKETT LAND
TEXAS   MILAM       MILAM CO TX NPRI JOSE LEAL SVY, 1.02 ACS ROBERT   ROYALTY INTEREST   NON PRODUCING
                    F. HOSKINS
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    D. A. THOMPSON SVY, 70 ACS
                    W. V. HARDIN ET UX (LON HUDSON LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 1013 ACS
                    INTERNATIONAL COAL MINE PROPERTY
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JOHN DUNLAP MRS M. I. JAMES, 303 ACS
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ASOSTA SVY, 176.33 ACS
                    J. G. THOMPSON (LOUIE JENNESSLAND)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J.J, ACOSTA SVY, 21.25 ACS
                    MRS. IDA JENNESS, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    JAS. SHELTON SVY, 141 ACS
                    A. B. KERR ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. M. HAYS SVY, 120.37 ACS
                    HELEN C. KIEFERS. A WIDOW
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    CARSON AND STEPHENS SVY, 901.25 ACS
                    C. A. PRATER ET UX (G.B. KINCAID LAND)




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TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    GABRIEL JACKSON SVY, 4 ACS
                    EARL LEECH ET UX (FITZ KOCH LAND)
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS SVY, 41 ACS
                    C.L. KOLB ESTATE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    T. J. CHAMBERS & J. LEAL SVY, 220 ACS
                    KRULL PLACE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    JAMES SHIELDS SVY, 100 ACS
                    P. SANDERS (HARRY LANDA)
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    G.B. BOWEN, 160.5 ACS
                    ROY LAW
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 95 ACS
                    J.F. LEEPER
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 209.07 ACS
                    LENA PETER LIBERTO, ET VIR
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 120 ACS
                    PRESTON SANDERS (LINDSEY FARM)
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    W W HILL SVY, 54.75 ACS
                    L L LONG ESTATE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    M. DAVILLA SVY, 183.656
                    L. M. MASSEY ESTATE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    J. A. JONES SVY, 72 ACS
                    MRS. IDA MATHEWS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    S. A. LONG SVY, 640 ACS
                    MARTHA DANA MERCER
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 61 ACS
                    W. GIBSON (MIKE MONTOYA)


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TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. H. SVY, 131 ACS
                    CARL C. BLACK (J.G. MOON, EST.)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. Y. REAMS SVY, 31.5 ACS
                    MARY MULLINS ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    C. M. MATHEWS SVY, 178 ACS
                    P. SANDERS (MCGOWN & ANDERSON)
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    E & H HARDCASTLE SVY, 260.4 ACS
                    HOMER NABOURS, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    THOMPSON-CHAMBERS SVY, 460 ACS
                    GABINO NIETRO
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 148.9 ACS
                    A. N. OWENS
TEXAS   MILAM       MILAM CO TX NPRI ELIZA SANTA SVY, 209.07 ACS      ROYALTY INTEREST   NON PRODUCING
                    ALBERT V. PETER ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. G. ROBERTSON SVY, 193 ACS
                    PHILLIPS LAND
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    J. J. ACOSTA SVY, 13.125 ACS
                    CECIL PLATE, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    W. W. HILL SVY, 60 ACS
                    PAULINE PRIESS, ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. C. ROBERTSON SVY, 96.4 ACS
                    CARROLL ROBERTSON ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                    S. C. ROBERTSON SVY, 96.4 ACS
                    CARROLL ROBERTSON ET UX




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TEXAS   MILAM       MILAM CO TX 1,008.76 NPRI                          ROYALTY INTEREST   NON PRODUCING
                    TRACT 1: W. ISAACS SVY A-219; J. STEPHENS SVY
                    A-322 & JAMES A SMITH SVY A-331 AND
                    TRACT 2: WILLIAM ISAACS SVY A-219;
                    J. STEPHENS SVY A-322
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL SVY, 81.25 ACS
                     MRS. MARY ROBINSON & W.A.L. ROBINSON
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     M. J. DELGADO SVY, 11 ACS
                     RUTH C. ROBINSON, ET VIR
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     T. J. CHAMBERS SVY, 37.27 ACS
                     NANCY A. ROUNTREE
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL SVY, 122 ACS
                     W. P. ROSE, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     H. HAWFORD SVY, 34.5 ACS
                     P. SANDERS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     DAVID HOUSTON SVY, 50 ACS
                     T.C. SCARBOROUGH LAND
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     HENRY MARTIN SVY, 86.75 ACS
                     SCOTT HEIRS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JACOB WILCOX SVY, 10 ACS
                     SCOTT AND WHITE LAND
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     CARSON AND ROBERTSON SVY, 7.42 ACS
                     HATTIE SIDES ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     A. T. MILES SVY, 58 ACS
                     R. J. SLOAN, ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     MORRIS MOORE SVY, 35 ACS
                     R J SLONE



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TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    J. F. FRAZIER SVY, 753.2 ACS
                    DORCAS BATTE SMITH ET VIR
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    G. H. BORROUGHS SVY, 80 ACS
                    STEWART LAND
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JAMES SHELTON SVY, 80 ACS
                    JEWEL O. STEWART ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 159.85 ACS
                    D.J. SULLIVAN
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    ELIZA SANTE SVY, 103 ACS
                    CLAUD SWEAKS ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    SMITH VINCENT SVY, 130 ACS
                    LEO TAYLOR ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JOSE LEAL SVY, 89.79 ACS
                    JAMES A TERRY ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JAS. SHELTON & GEORGE DAMPKIN SVYS, 157.5 ACS
                    RAY E. THOMPSON
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    S. C. ROBERTSON & T. J. CHAMBERS SVYS, 68 ACS
                    JOHN TIMMERMAN ET AL LAND
TEXAS   MILAM       MILAM CO TX NPRI J.J. ACOSTA SVY, 17 ACS A. G.      ROYALTY INTEREST   NON PRODUCING
                    TRIGGS ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    H. HARDCASTLE SVY, 100 ACS
                    ELLA TAYLOR VANOVER ET AL
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JACOB WILCOX SVY, 4.772 ACS
                    HERBERT M WALKER, SR. ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                    JAS. PREWITT SVY, 36 ACS
                    W. R. WILLIAMS ET AL



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TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     D. H. VAN VEIGHTON SVY, 80 ACS
                     HOUSTON WILLIAMS & B. R. WILLIAMS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     DAVID CURRY SVY, 37.5 ACS
                     D. B. WILLESS ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL GRANT, 109 ACS
                     H.D. YOAKUM ET UX
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     D. A. THOMPSON SVY
                     J. TOM WILLIAMS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSE LEAL SVY, 70.5 ACS
                     D. A. THOMPSON SVY
                     J. TOM WILLIAMS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    CHARLES BIGELOW SVY A-100, 40 ACS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    WM PHARARRAS SVY, 177 ACS
                    TRS OF 88 & 89 ACS,
                    R W WALLIS TO TOM PREWITT
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    MINERVA ROCKDALE A-7, 5.5 ACS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    W W HILL SVY A-191, 103.85 ACS
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    JOSE LEAL SVY
                    COOK E M (03465)
                    .0555668 RI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                    ELIZA SANTE SVY A-317, 40 ACS
                    H H COFFIELD -D- (RRC 4315)
                    .01041666 RI &.01041666 ORRI
TEXAS   MILAM       MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     J W COLLINS SVY A-130, 180 ACS
TEXAS   MILAM       MILAM CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                     JOSEPH COTTLE SVY A-129: 121.799 ACS



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TEXAS   MILAM        MILAM CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                     F A RUIZ SVY A-308, 160 ACS
TEXAS   MILAM        MILAM CO TX 2/3 MI                                 MINERAL INTEREST   NON PRODUCING
                     190.80 ACS, C M MATTHEWS SVY A-57
TEXAS   MONTGOMER    MONTGOMERY CO TX MI                                MINERAL INTEREST   NON PRODUCING
        Y            W. DUNLAVY SVY, 100 ACS
TEXAS   MONTGOMER    MONTGOMERY CO TX MI                                MINERAL INTEREST   NON PRODUCING
        Y             PETER WITTAKER SVY, 80 ACS
                     SAN JACINTO CO
TEXAS   MONTGOMER    MONTGOMERY CO TX NPRI                              ROYALTY INTEREST   NON PRODUCING
        Y            DUNCAN MCINTIRE SVY A-386, 91.8 ACS
TEXAS   NAVARRO      NAVARRO CO TX MI                                   MINERAL INTEREST   NON PRODUCING
                     JOHN MCNEAL SVY, 65 ACS
TEXAS   NAVARRO      NAVARRO CO TX NPRI                                 ROYALTY INTEREST   NON PRODUCING
                      S.F. MCCANLESS A-516, 2 ACS
                     ELEANOR MUNSEY SLOAN ET VIR
TEXAS   ORANGE       ORANGE CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                     SEC 26 T&NO SVY: NW/4, 160 ACS
                     AKA BECKWITH SVY A-391 HARRY
                     LUCAS
TEXAS   PARKER       PARKER CO TX MI                                    MINERAL INTEREST   NON PRODUCING
                      T T HINES SVY A-2611, 80 ACS
                     JAMES MULBERRY SVY A-1887, 64 ACS
TEXAS   PARMER       PARMER CO TX NPRI                                  ROYALTY INTEREST   NON PRODUCING
                      SEC 20 IN BLK B: NE/4, 160 ACS
                      OF THE CAPITOL SYNDICATE SUBD
                     FARWELL NATL FARM LOAN ASSOC
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     P A SUBLET SVY A-71, 52.76 ACS
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     I D THOMAS LGE, 85.5 ACS
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     WM SHADBURN & J C PITE SVYS, 35 ACS
TEXAS   POLK         POLK CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                     SHANBUM SVY, 35 ACS
TEXAS   POLK         POLK CO TX MI J. C. PITTS SVY, 35 ACS              MINERAL INTEREST   NON PRODUCING




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TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      WILLIAM DAVIS SVY, 85.5 ACS
                      LESTER 2.5 ACS
                      LIVELY 83 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      THOMAS & PACE LEAGUE, 41.5 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      P A SUBLET SVY A-71, 48.5 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      MARY SWINNEY SVY, 50 ACS
TEXAS   POLK          POLK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      MARY SWINNEY SVY, 10 ACS
TEXAS   REAGAN        REAGAN CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      SEC 13 BLK E HE&WT SVY A-211: NW/4, 160 ACS
TEXAS   ROBERTSON     ROBERTSON CO TX MI                                  MINERAL INTEREST   NON PRODUCING
                      JOHN FISHER 1/4 LEAGUE SVY, 30 ACS
TEXAS   RUSK          RUSK CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                      W. F. HYDE SVY, 111.3 ACS
TEXAS   SAN JACINTO   SAN JACINTO CO TX MI                                MINERAL INTEREST   NON PRODUCING
                      J. F. D. RUMAYON SVY, 85 ACS
TEXAS   SAN JACINTO   SAN JACINTO CO TX MI                                MINERAL INTEREST   NON PRODUCING
                      SMITH AND WHITE SVY, 50 ACS
TEXAS   SAN JACINTO   SAN JACINTO CO TX MI                                MINERAL INTEREST   NON PRODUCING
                      C. SMITH SVY, 64 ACS
TEXAS   SCURRY        SCURRY CO TX MI                                     MINERAL INTEREST   NON PRODUCING
                      SEC 253 BLK 97, H&TC SVY: NE/4, 160 ACS
                      LEE .0273438 RI
TEXAS   SCURRY        SCURRY CO TX NPRI                                   ROYALTY INTEREST   NON PRODUCING
                      H&TC SVY W H MURPHY, 21 ACS
TEXAS   SMITH         SMITH CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                      CICERO WARREN JAMES CHAFFIN SVY, 53.17 ACS
TEXAS   SMITH         SMITH CO TX NPRI                                    ROYALTY INTEREST   NON PRODUCING
                      J.H. SANDERS SVY, J.H. WILKERSON SVY, A. WALSH
                      SVY
                      MRS. WAUNETTE BARR, FEME SOLE, 182.98 ACS
TEXAS   SMITH         SMITH CO TX MI                                      MINERAL INTEREST   NON PRODUCING
                      P LIVELY SVY A-566
                      KARPER-PALUXY GU 1,2,3



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TEXAS   TAYLOR       TAYLOR CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      NOT SOLD WM. BISHOP SVY 43 JOHN ADAMS SVY 44
                      (ROSIE LEE JONES, ET AL), 276.7 ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 44 (W. W. BENNETT ET UX), .047
                     ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 4 A-21 (ALLEN M. CAIN), 3.82 ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 4 (ALLEN M. CAIN ET UX), 1.16
                     ACS
TEXAS   TRAVIS       TRAVIS CO TX NPRI                                    ROYALTY INTEREST     NON PRODUCING
                      WILKINSON SPARKS 4 (PAUL S. CEDER), 125.24 ACS
TEXAS   WALLER       WALLER CO TX MI                                      MINERAL INTEREST     NON PRODUCING
                      S. MARSH SVY A-217, 137 ACS
TEXAS   WALLER       WALLER CO TX MI                                      MINERAL INTEREST     NON PRODUCING
                      S. MARSH SVY, 74 ACS
TEXAS   WALLER       WALLER CO TX MI                                      MINERAL INTEREST     NON PRODUCING
                      WINGFIELD LEAGUE, 450 ACS
TEXAS   WINKLER      WINKLER CO TX MCL                                    MINERAL CLASSIFIED   NON PRODUCING
                      SEC 9 BLK B-2 PSL SVY A-1931: N/2 S/2, 160 ACS      LAND
TEXAS   WINKLER      WINKLER CO TX NPRI                                   ROYALTY INTEREST     NON PRODUCING
                      SEC 42 BLK 21 UNIVERSITY SVY: NW/4
TEXAS   WOOD         WOOD CO TX MI                                        MINERAL INTEREST     NON PRODUCING
                      BROOKS & BURLESON SVY A-92, 495.66 ACS
TEXAS   WOOD         WOOD CO TX 7.5/92.6 RI                               ROYALTY INTEREST     NON PRODUCING
                     BERRY SMITH SVY, 92.6 ACS
                     BESSIE CONNOR LSE .0068742RI
                     HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   WOOD         WOOD CO TX MI                                        MINERAL INTEREST     NON PRODUCING
                      GREEN B WATKINS SVY A-629, 207.9 ACS
TEXAS   WOOD         WOOD CO, TX 1.25/99 RI                               ROYALTY INTEREST     NON PRODUCING
                     BERRY SMITH SVY A-534, 99 ACS
                     J. D. KENNEMER LSE .00106132 RI
                     HAWKINS FIELD UNIT (747 WELLS) RRC 5743
TEXAS   WOOD         WOOD CO TX MI                                        MINERAL INTEREST     NON PRODUCING
                      DAVID GILLILAND SVY A-162, 87.7 ACS




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State   County      Legal Description                                     Interest Type      Status
TEXAS   YOAKUM      YOAKUM CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                     SEC 788 JOHN H GIBSON SVY, 640 ACS
                    SEC 854 JOHN H GIBSON SVY, 640 ACS
TEXAS   YOAKUM      YOAKUM CO TX MI                                       MINERAL INTEREST   NON PRODUCING
                    SEC 756 BLK D JOHN H GIBSON SVY: E/2, 320 ACS
TEXAS   ZAVALA      ZAVALA CO TX NPRI SVY NO 386, SVY NO 387, SVY NO      ROYALTY INTEREST   NON PRODUCING
                    388, SVY NO 389, SVYNO 390, SVY NO 391, SVY NO 392,
                    DEWITT LANGFORD ET UX, 2,213.315 ACS




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                        EXHIBIT B

                LIQUIDATION ANALYSIS
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                                           Boy Scouts of America

                                                   Exhibit B

                                            Liquidation Analysis1

        This hypothetical liquidation analysis (this “Liquidation Analysis”) is based on certain
estimates and assumptions that the Debtors have developed, with the assistance of their advisors,
and which the Debtors consider to be reasonable under the circumstances of the Chapter 11 Cases.
These estimates and assumptions are inherently subject to significant economic, operational, legal,
and other uncertainties and contingencies that are outside of the Debtors’ control. Accordingly,
the Debtors cannot provide any assurance that the values reflected in this Liquidation Analysis
would be realized if the Debtors were, in fact, to undergo the liquidation discussed herein, and
actual results in the event of a liquidation could vary materially from this Liquidation Analysis.

1)    Introduction

        The Debtors, with the assistance of their legal and financial advisors, have prepared this
Liquidation Analysis in connection with the Plan and the Disclosure Statement. As described in
Article VIII.C of the Disclosure Statement, section 1112(c) of the Bankruptcy Code provides that
the chapter 11 cases of non-profit corporations such as the Debtors may not be involuntarily
converted to cases under chapter 7 of the Bankruptcy Code. See 11 U.S.C. § 1112(c) (“The court
may not convert a case under [chapter 11] to a case under chapter 7 of this title if the debtor is a
farmer or a corporation that is not a moneyed, business, or commercial corporation, unless the
debtor requests such conversion.”). Because the Chapter 11 Cases could not be involuntarily
converted a chapter 7 liquidation, the Debtors submit that they are not required to satisfy the
requirements of section 1129(a)(7) in connection with confirmation of the Plan. Although the
Debtors do not believe they are required to satisfy the “best interests of creditors” test embodied
in section 1129(a)(7), the Debtors do believe that this Liquidation Analysis will be helpful to
holders of Claims as they evaluate their proposed treatment under the Plan. This Liquidation
Analysis shall not be construed as or deemed to constitute a waiver or admission of any kind. The
Debtors reserve all rights to oppose the applicability of the best interests test in the Chapter 11
Cases.

        The Liquidation Analysis permits holders of Impaired Claims to evaluate whether they will
receive or retain value under the Plan on account of their Claims of a value, as of the Effective
Date, that is not less than the amount that such holder would receive if the Debtors were liquidated
under chapter 7 of the Bankruptcy Code. To calculate the probable distribution to holders of
Claims in each Impaired Class if the Debtors were liquidated under chapter 7, the Bankruptcy
Court will:

      i)       estimate the cash proceeds (the “Liquidation Proceeds”) that a chapter 7 trustee (the
               “Trustee”) would generate if the Chapter 11 Cases were converted to cases under
               chapter 7 on the Effective Date and the assets of the Debtors’ Estates were liquidated;

1
 All capitalized terms not otherwise defined herein shall have the meanings ascribed to them the Plan or Disclosure
Statement, as applicable.



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      ii)       determine the distribution each holder of an Impaired Claim would receive from the
                Liquidation Proceeds under the statutory priority scheme that applies in a case under
                chapter 7; and

      iii)      compare each holder’s liquidation distribution to the distribution under the Plan if it
                were confirmed and consummated.

2)    Process and Assumption Overview

        This Liquidation Analysis was prepared on a consolidated basis and assumes that the
Debtors and all of the Related Non-Debtor Entities with material assets (specifically, National Boy
Scouts of America Foundation, Arrow WV, Inc., BSA Asset Management, LLC, and Learning for
Life) would be liquidated on a jointly administered but nonconsolidated basis. This Liquidation
Analysis has been prepared assuming that the Chapter 11 Cases are converted to chapter 7 on or
about August 31, 2021 (the “Conversion Date”) and that Related Non-Debtor Entities file for
chapter 7 liquidation at that time. Certain of the Related Non-Debtor Entities are not subsidiaries
of the BSA but rather are independently incorporated non-stock, non-profit entities. Accordingly,
the Liquidation Analysis does not consider any defenses that could be raised by the Related Non-
Debtor Entities as to whether their assets would be available to the BSA’s creditors, which
defenses, if successful, would reduce the recoveries set forth herein. The Debtors have assumed
that the liquidation would occur over an approximately six-month time period, which is the
minimum time period that would be required to complete the sale of substantially all of the
Debtors’ unrestricted assets,2 monetize and collect receivables and other unrestricted assets of the
Debtors and Related Non-Debtor Entities, and administer and wind-down the estates. Except as
otherwise noted herein, the Liquidation Analysis is based upon the Debtors’ and Related Non-
Debtor Entities’ unaudited pro forma consolidated balance sheets as of December 31, 2020, and
those values are assumed to be representative of the Debtors’ and Related Non-Debtor Entities’
assets and liabilities as of the Conversion Date unless otherwise noted. Any projected balance
sheet amounts presented in this Liquidation Analysis are intended to be a proxy for actual balances
on the Conversion Date (the “Liquidation Balances”). In addition, this Liquidation Analysis
incorporates certain adjustments to account for the effects of the chapter 7 liquidation process,
including costs of winding down the Debtors’ and Related Non-Debtor Entities’ estates, employee-
related costs, and professional and Trustee fees.

        It is assumed that, on the Conversion Date, the Bankruptcy Court would appoint the
Trustee, who would sell the unrestricted assets of the Debtors’ and Related Non-Debtor Entities’
bankruptcy estates and distribute the Liquidation Proceeds, net of liquidation-related costs, to
creditors in accordance with the statutory priority scheme provided for under section 726 of the
Bankruptcy Code. To maximize recoveries in an expedited process, this Liquidation Analysis
assumes that the Trustee’s initial step would be to develop a liquidation plan to generate
Liquidation Proceeds from the sale of the Debtors’ and Related Non-Debtor Entities’ unrestricted

2
  For purposes of this Liquidation Analysis, a “restricted” asset is an asset that is subject to enforceable use restrictions
under applicable law or an asset that the Debtors or the Related Non-Debtor Entities hold in a fiduciary capacity for
the sole benefit of donors, their intended beneficiaries, or members of the public who have entrusted the Debtors or
Related Non-Debtor Entities to carry out their charitable mission. The Bankruptcy Code recognizes and enforces
these state-law restrictions in bankruptcy cases of charitable non-profit corporations under sections 363(d)(1) and
541(d) of the Bankruptcy Code.



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assets for distribution to creditors. This Liquidation Analysis assumes the appointed Trustee will
retain legal and financial advisors and real estate and other brokers to assist in the liquidation.

        This Liquidation Analysis assumes that a Trustee would immediately begin the wind-down
process following a conversion to chapter 7, with minimal employee and operating costs
continuing during the liquidation process. The Debtors’ and Related Non-Debtor Entities’
unrestricted assets would be marketed on an accelerated timeline, and asset sales would occur
within the six-month wind-down period. Asset values in the liquidation process are assumed to
be driven by, among other factors:

               the accelerated time frame in which the assets are marketed and sold;

               the loss of key personnel;

               negative public sentiment and damage to the BSA’s brand; and

               the general forced nature of the sale.

       The cessation of operations in a liquidation would likely trigger certain Claims that
otherwise would not exist under a Plan absent a liquidation. Examples of these kinds of Claims
include, without limitation, potential employee Claims (such as severance or WARN Act Claims)
and executory contract and unexpired lease rejection damages Claims. The amounts of these
Claims could be material and certain of these Claims could be entitled to administrative or priority
payment status under the relevant provisions of the Bankruptcy Code. Administrative and priority
Claims would be paid in full from the Liquidation Proceeds before the balance of such proceeds
would be made available to holders of allowed general unsecured Claims. Estimates of certain of
these potential additional Claims have been included in the Liquidation Analysis.

        No recovery or related litigation costs have been attributed to any potential avoidance
actions under the Bankruptcy Code, including potential preference or fraudulent transfer actions
due to, among other issues, the cost of such litigation, the uncertainty of the outcome thereof and
anticipated disputes regarding these matters. Additionally, this analysis does not include estimates
for tax consequences, either federal or state, that may be triggered upon the liquidation and sale of
assets; these tax consequences could be material.

        A substantial amount of the Debtors’ and certain of the Related Non-Debtors Entities’
assets are subject to valid and enforceable donor-imposed restrictions on use or disposition of such
assets.3 Under applicable law, restricted assets do not constitute property of the estate and would
not be available to creditors in a chapter 7 liquidation.4 The Liquidation Analysis excludes the
3
 The Debtors are continuing to assess their restricted assets in connection with the adversary complaint filed by the
Tort Claimants’ Committee on January 8, 2021 (Adv. Pro. No. 21-50032).
4
  In a chapter 7 liquidation of a charitable non-profit corporation, courts often apply the cy pres doctrine to carry out
a donor’s intent rather than distribute a restricted donation to creditors. For example, in Salisbury v. Ameritrust Tex.
N.A. (In re Bishop College), 151 B.R. 394 (Bankr. N.D. Tex. 1993), the trustee of a testamentary trust declined to
continue to pay trust income to a defunct private college that had commenced chapter 7 proceeds on the basis that the
original purpose of the gift—providing scholarships—had become impossible to fulfill. Id. at 396. The bankruptcy
court denied the chapter 7 trustee’s turnover action, holding that, “[u]nder Texas law, where the particular charitable
purpose for which the trust was created becomes impossible of achievement or illegal or impracticable, the trust does



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value of those assets in calculating the gross Liquidation Proceeds. Moreover, certain of the
Debtors’ properties may be less marketable due to disputes over their classification as being
restricted or unrestricted, limitations on their use including requirements to be used in the same
manner, or restrictions on commercial development.5

        In addition, certain other factors could materially diminish the Liquidation Proceeds due to
the nature of the Debtors’ status as non-profit entities. The Debtors will be required to comply
with the applicable non-bankruptcy law that governs non-profit entities in connection with the
disposition of their assets. These obligations vary among jurisdictions, but can require, inter alia,
consent from a state’s attorney general or other governmental authorities. State attorneys general
may intervene or, depending upon state law, be compelled to intervene, in a chapter 7 liquidation
to ensure that the intent of donors is carried out and that the restricted donations are not distributed
to creditors.6 The costs that attend these potential disputes and related delays and uncertainty
regarding the same are not factored into this Liquidation Analysis and could reasonably be
expected to negatively impact the Liquidation Proceeds.

        Under a chapter 7 liquidation, moreover, it is likely that the BSA’s defined benefit pension
plan would be terminated and the Pension Benefit Guarantee Corporation (the “PBGC”) would
pursue its Claim of approximately $1.1 billion against all members of the controlled group, which
are jointly and severally liable for such amounts and include the Related Non-Debtor Entities. The
Debtors expect that under section 4068(a) of ERISA, the PBGC would successfully assert a lien
arising as of the termination date against each member of the controlled group in an amount not to
exceed 30% of the “collective net worth” of all members of the controlled group combined.
However, for any member of the controlled group that has filed for bankruptcy prior to the
termination, the automatic stay will generally prevent perfection of any lien under ERISA. The
PBGC’s Claim could therefore be asserted jointly and severally against each member of the
controlled group in the full amount of the approximately $1.1 billion Claim, provided that the
PBGC’s Claim, to the extent not secured by a lien under ERISA, would likely be treated as a
General Unsecured Claim. The Liquidation Analysis assumes that the lien on Related Non-Debtor
Entity assets would represent 30% of Liquidation Proceeds remaining for all of the Debtors and
Related Non-Debtor Entities combined after wind down costs and secured debt, if any.

        Approximately 95,000 Claims alleging Abuse were timely filed against the BSA in the
Chapter 11 Cases. The BSA has procured commercial general liability policies from multiple
insurers since the 1930s to protect itself from losses including Abuse Claims. This Liquidation
Analysis does not account for any recovery from insurance proceeds (irrespective of whether an

not fail if the settlor has shown a general intention that his property shall be used for charitable purposes.” Id. at 400.
In this situation, the court reasoned, “the court will exercise its cy pres power to authorize that the property be applied
to some other some other particular charitable purpose falling within the general intention of the settlor,” and that “the
court will choose the public charity which is as near as possible to the one designated by the settlor.” Id.
5
  In re Save Our Springs (S.O.S.) All., Inc., 388 B.R. 202, 239 (Bankr. W.D. Tex. 2008) (finding, in a non-profit
chapter 11 case, that “the evidence offered by the debtor regarding its assets and their values . . . [was] credible and
substantial” and that such evidence was sufficient to meet the best interests test, “considering the unique nature of the
Debtor as a non-profit organization dependent on contributions that are voluntary and may be restricted, and of the
Debtor's other assets . . .”).
6
  See In re Bishop College, 151 B.R. at 397 (observing that the Texas attorney general intervened in the chapter 7
trustee’s turnover action, which under Texas law “is required in all disputes involving charitable trusts”).



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insured Claim relates to Abuse) on the basis that recoveries from such proceeds are assumed to be
materially the same or greater under a plan of reorganization that provides for a global resolution
of Abuse Claims than under a chapter 7 liquidation.

3)   Distribution of Net Proceeds to Claimants

        Any available net proceeds would be allocated to holders of Claims in accordance with the
priority scheme of section 726 of the Bankruptcy Code:

             Liquidation Adjustments / Super Priority Claims – includes estimated fees paid to the
              U.S. Trustee and Clerk of the Bankruptcy Court, wind-down costs and certain
              Professional Fees and broker fees;

             Secured Claims – includes 2010 Bond Claims, 2012 Bond Claims, 2010 Credit
              Facility Claims, 2019 RCF Claims, and the secured portion of the PBGC’s Claim
              consistent with section 4068(a) of ERISA and PBGC guidance under 29 CFR §
              4062.4;

             Chapter 11 Administrative and Priority Claims – includes estimated Claims held by
              creditors that are able to assert liens on particular assets, including certain trade
              vendors in addition to Claims for post-petition accounts payable, post-petition
              accrued expenses including professional fees, taxes, employee obligations, Claims
              arising under section 503(b)(9) of the Bankruptcy Code, and Unsecured Claims
              entitled to priority under section 507 of the Bankruptcy Code; and

             General Unsecured Claims – includes prepetition trade Claims, prepetition rejection
              damages Claims, and other types of prepetition liabilities; Abuse and non-Abuse
              litigation Claims; and unsecured and unrecovered PBGC Claims.

       Under the absolute priority rule, no junior creditor would receive any distributions until all
senior creditors are paid in full. The assumed distributions to creditors as reflected in the
Liquidation Analysis are estimated in accordance with the absolute priority rule.

4)   Conclusion

        This Liquidation Analysis was prepared before the completion of the reconciliation and
allowance process for Claims against the Debtors and without any deadline for filing Claims
against the Related Non-Debtor Entities’ chapter 7 estates in a hypothetical liquidation, and so the
Debtors have not had an opportunity to fully evaluate Claims against the Debtors or to adjudicate
such Claims before the Bankruptcy Court. Accordingly, the amount of the final Allowed Claims
against the Debtors’ estates may differ from the Claim amounts used in this Liquidation Analysis.
Additionally, asset values discussed herein may be different than amounts referred to in the Plan,
which presumes the reorganization of the Debtors’ assets and liabilities under chapter 11 of the
Bankruptcy Code. The estimated liquidation recoveries and proceeds waterfall are presented
herein as a consolidated summary of each individual liquidating estate with their estimated
recoveries.

       The Debtors determined, as summarized in the following analysis, upon the Effective Date,


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the Plan will provide all creditors with a recovery (if any) that is not less than what they would
otherwise receive pursuant to a liquidation of the Debtors under chapter 7 of the Bankruptcy Code,
and thus the Plan satisfies the requirement of 1129(a)(7) of the Bankruptcy Code.

       The following Liquidation Analysis should be reviewed with the accompanying notes.

General Liquidation Summary and Detail

Liquidation Proceeds
 A.     Cash and Cash Equivalents – Represents Cash and Cash equivalents of the Debtor and
        Related Non-Debtor Entities as of the Conversion Date based on the BSA’s most recent
        financial projections, segregated between restricted and unrestricted balances.
        Restricted cash balances reflect donor imposed restrictions on use and disposition and
        accordingly such amounts are excluded from the Liquidation Proceeds. The Debtors
        estimate a 100% recovery on the unrestricted cash balances.

            Cash Securing Letters of Credit – Reflect cash held by JPM to secure a letter of credit
             issued for the benefit of Old Republic Insurance (“ORIC”). ORIC is assumed to
             draw on the letter of credit in full and JPM is assumed to be able to recover against
             this cash collateral in full. The cash is included in the Liquidation Proceeds and in
             the recovery to JPM.

 B.     Investments – Represents investments of the Debtor and Related Non-Debtor Entities as
        of the Conversion Date based on the BSA’s most recent financial projections, segregated
        between restricted and unrestricted, and excluding non-controlling interest in the BSA
        Commingled Endowment Fund, LP (i.e., the limited partnership interests owned by the
        Local Councils). Restricted investment balances reflect donor imposed restrictions on
        use and disposition and accordingly such amounts are excluded from the Liquidation
        Proceeds. The Debtors estimate a 100% recovery on unrestricted investments.

 C.     Accounts Receivable – Accounts receivable are comprised of invoiced and accrued third
        party receivables, including receivables from the Local Councils, and other non-trade
        receivables and deposits. Accounts Receivable is presented based on the BSA’s most
        recent financial statements and is assumed to be materially consistent as of the
        Liquidation Date. Estimated midpoint recovery percentages for accounts receivable are
        between approximately 50% and 80%.

 D.     Investment Income Receivables – Comprised of accrued investment earnings primarily
        from the BSA’s restricted investment holdings. These amounts are based on the BSA’s
        recent financial statements and balances are assumed to be materially consistent with
        balances as of the liquidation date. Investment income receivables are excluded from
        the Liquidation Proceeds.

 E.     Pledges Receivable – Pledges receivables reflect unconditional donor pledges at
        estimated net present collectable value. As the pledges are both donor restricted and
        highly unlikely to be enforceable in a liquidation they are valued at zero. Additional
        pledges not reflected on the financial statements are conditional and thus could not be



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     collected in a liquidation.

F.   Related Party Receivables – Interfund receivables are comprised of amounts due to/from
     Related Non-Debtor Entities. These amounts are consolidated and eliminated within
     this Liquidation Analysis. The most significant Related Party Receivable is a note
     receivable due from Arrow, which is secured by a deed of trust in the Summit high
     adventure facility, Arrow’s only asset, and which note is pledged to JPM under the
     BSA’s credit agreements. In lieu of showing a recovery on this line in the schedule, the
     recovery from the liquidation of the Summit is reflected as part of Land Building &
     Equipment below. Gross recoveries on this note total $35 million. Proceeds from the
     intercompany note via the sale of Arrow’s assets are assumed to satisfy JPM’s Secured
     Claims.

G.   Inventory – Inventory is primarily comprised of branded and non-branded Boy Scout
     apparel, High Adventure Base general inventory stock, and other miscellaneous
     inventory items. Inventory is presented based on the BSA’s most recent financial
     statements. Inventory is assumed to be materially consistent as of liquidation date as in
     the BSA’s current financial statements. Estimated recoveries are based on liquidation
     assumptions that include only sellable apparel and stock at substantially discounted
     values. Inventory reserves are not contemplated within this analysis.

H.   Prepaid and Deferred Charges – Primarily comprised of prepaid Insurance Policies,
     professional fees, and deferred expenses. Prepaids are presented based on the BSA’s
     most recent financial statements. Prepaid insurance recoveries are estimated based on a
     detailed breakdown of 2021-2022 plan year Insurance Policies, prorated for recoveries
     as of the liquidation period. Prepaid professional fees are assumed to be recovered 100%
     and applied against administrative professional fee Claims in a liquidation scenario.
     Deferred charges are recovered at 0% of current financial statement balances.

I.   Land, Building, and Equipment (net) – Primarily comprised of the BSA’s national
     headquarters, High Adventure Bases, distribution center, various furniture and fixtures,
     and software and computers. Land, building, and equipment balances are presented
     based on the Debtor and Related Non-Debtor Entities most recent financial statements.
     Pro forma balances represent the following:

         National HQ, Scouting U, National Distribution Center, the High Adventure Bases
          (Philmont, Sea Base, and Northern Tier), and Summit are presented based on
          valuations conducted by third party experts during the course of this bankruptcy and
          reflect estimates of the fair market value of the respective properties. The BSA also
          owns a portfolio of Oil and Gas Interests. These rights, and the value of the rights,
          are not included within the financial statements, however, are included in the pro
          forma fair market value balance of land, building, and equipment based on a recent
          third party valuation report.

         The remaining balance of land, building, and equipment which primarily includes
          furniture, fixtures, capital and project improvements, and software and computers is
          estimated to be materially consistent to the BSA’s most recent financial statements.



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         Pro forma balances are present before depreciation and amortization.

     After a review of the assets, the Debtors and their advisors concluded that the forced sale
     of the Debtors’ assets in the compressed timeframe that typically occur during a chapter
     7 liquidation would likely result in a valuation discount relative to “fair value.” The
     liquidation value of land, buildings, and equipment is stratified based on estimated
     recoveries ranging from 80% to 85% recovery on the national headquarters, distribution
     center, High Adventure Bases, Summit, and Oil and Gas Interests. Recoveries on
     remaining assets are expected to be minimal based on the nature of the assets and the
     circumstances of a chapter 7 liquidation. Total land, building, and equipment recoveries
     range from 50% to 60% of pro forma values.

     Certain of the BSA’s properties are collateral for JPM’s Secured debt. These properties
     include the national headquarters, Philmont Scout Ranch, and the High Adventure Bases
     at Sea Base and Northern Tier. Liquidation proceeds from these properties are assumed
     to satisfy JPM’s Secured debt first, with any remaining proceeds made available to
     creditors based on priority. As noted above, the value of the Summit which flows to
     BSA through a note receivable is also reflected in the value of land, building and
     equipment and is subject to JPM’s security interest.

     The sale of certain of the High Adventure Bases and other properties could be disputed
     by third parties, potentially driving down their value or barring them from sale entirely
     if determined to be restricted property and non-alienable under applicable law; however,
     that issue is not addressed herein given the JPM lien. Similarly the High Adventure
     Bases are core to the mission of scouting and as such may not be subject to liquidation
     or the proceeds may not be available to all creditors.

J.   Other Assets – Other assets are primarily comprised of miscellaneous equipment located
     at the Summit property, pooled and gift annuity investments, and off-balance sheet art.
     Balances are presented based on BSA’s most recent financial statements with the
     exception of the Artwork balances which are based primarily on a 2012 appraisal.
     Recoveries are assumed between 50% and 80% for Artwork given indications that the
     value of the Artwork would be significantly depressed in a sale over a compressed
     timeframe as well as the impact of the BSA bankruptcy and Abuse Claims on the value
     of the Artwork, while the remaining balance of other assets is assumed to recovery 100%
     for pooled and gift annuity investments and between 5% and 25% for Summit assets.
     Note that it is possible that the beneficiaries of the annuities and pooled investments
     would try to assert some type of priority to those assets which would reduce the
     liquidation value. In addition some of these assets are core to the mission of scouting as
     such may not be available to all creditors.

     There is no value attributed to the Debtors’ intellectual property given that it derives
     from a Congressional charter that is non-transferable and thus it is unclear if any value
     could be derived.




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Liquidation Distributions

K.       Operational Wind Down Costs represent an estimate of the costs incurred during a
         liquidation of the assets of the Debtor and Related Non-Debtor Entities and reflect BSA
         and its advisor’s most recent budget for operational expenses during 2021 under a wind
         down scenario. Wind down costs primarily include payroll, and related expenses, costs
         to maintain the BSA’s supply and distribution center, high adventure base operating
         costs, general liability and other Insurance Policies, and other non-high adventure base
         operating expenses. Operating expenses are assumed to reduce significantly during a
         liquidation between 25% and 75% of projected monthly costs. Further, wind down
         expenses are reduced on a month to month basis during the liquidation period to account
         for expected closures of facilities and further reductions in labor force as the liquidation
         process progresses.

L.       Chapter 7 Trustee Fees would be limited to the fee guidelines in Section 326(a) of the
         Bankruptcy code. The Debtors assumed that trustee fees are approximately 3% of entity
         gross Liquidation Proceeds.

M.       Chapter 7 Professional Fees include the estimated cost for financial advisors, attorneys
         and other professionals retained by the Trustee. In the Liquidation Analysis, chapter 7
         professional fees are estimated to be approximately 1.5% of gross Liquidation Proceeds
         excluding current cash on-hand. These fees are applied on an individual basis across
         each liquidating entity based on the estimated Liquidation Proceeds available to each
         Estate excluding current Cash on-hand. However, this amount can fluctuate based on
         length and complexity of the wind-down process and could be substantially greater than
         the amounts assumed herein.

N.       Claims Processing Costs include an estimate of the costs of administering Claims to
         various claimants, primarily Abuse litigation claimants. Estimates reflect a minimum of
         $1 million.

O.       Secured Lender Professional Fees are estimated between $700 thousand and $1 million
         during the liquidation period.

P.       Broker Fees include the estimated cost to market and dispose of substantially all of the
         BSA’s land, building, equipment and Artwork. In the Liquidation Analysis, chapter 7
         broker fees are estimated to be approximately 2.0% of gross Liquidation Proceeds from
         these asset classes.

Claims

Q.       Secured Claims

             The Liquidation Analysis assumes that all letters of credit are drawn and as a result
              the outstanding funded debt totals $328 million. Debt is assumed to be Secured by
              the gross Liquidation Proceeds of certain of the BSA’s real property assets,
              unrestricted Cash, unrestricted investments, and certain accounts receivable balances
              including the note receivable from Arrow WV which is Secured by the Summit high


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          adventure facility. In addition the debt benefits from replacement liens pursuant to
          the Cash Collateral Order to the extent of any diminution in value of the collateral.
          Secured debt is estimated to be recovered at 100% of total Claims.

         The Liquidation Analysis assumes that a portion of the PBGC Claim, asserted
          against Related Non-Debtor Entities, is Secured by a lien in the amount of 30% of
          Liquidation Proceeds remaining for all of the Debtors and Related Non-Debtor
          Entities combined after wind down costs and Secured debt, if any. The Secured
          PBGC Claim is estimated between $19 million and $28 million.

R.   Administrative and Priority Claims

         The Liquidation Analysis assumes that priority Claims consist of priority employee
          benefits pursuant to Section 507(a)(4) of the Bankruptcy code which are estimated
          to be $20 million as of the Conversion Date, comprised primarily of accrued
          employee benefit costs, severance, seasonal and part time payroll costs, and
          503(b)(9) Claims. Full time salaried employees assumed to be paid current
          immediately prior to the Conversion Date.

         Post-Petition Professional Fees as of the Conversion Date are estimated to be $31
          million. Post-Petition Trade Claims are estimated to be $18 million as of the
          Conversion Date based on BSA’s most recent financial projections.

         Administrative and priority Claims are estimated to recover between 77% and 100%
          in the Liquidation Analysis.

S.   General Unsecured Claims

         The below chart reflects the aggregation of individual Liquidation Analyses of the
          Debtors and, independently, the Related Non-Debtor Entities. Administrative
          Claims of the Debtors are deficient in the low and mid recovery scenarios, and no
          proceeds remain available for General Unsecured Claims in either the low or mid
          recovery scenarios.

         The Liquidation Analysis estimates that there will be between $0 million and $14
          million of proceeds available to satisfy General Unsecured Claims. As some of these
          proceeds may be from assets that are core to the mission of scouting, it is possible
          that some or all of this value may only be available for certain core creditor Claims
          including that of the PBGC.

         General Unsecured Claims are assumed to include estimated Abuse litigation
          Claims, unrecovered unsecured PBGC Claim, employee-related Claims (primarily
          Restoration Plan Claims), contract rejection Claims, and pre-petition trade payables
          and accrued liabilities.

         Non-Abuse litigation Claims are assumed to recovery from applicable insurance and
          are not contemplated in the Liquidation Analysis.



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    An estimate of the remaining unrecovered asserted PBGC Claim of $1.1 billion is
     included in the General Unsecured Claims pool.

    Contract rejection Claims are estimated to be $8 million and do not include any
     estimates for additional executory contract rejection Claims arising as a result of the
     liquidation.




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  Summary Liquidation Analysis

                                                                            Asset Values                    Estimated Recovery (%)           Estimated Recovery ($ 000s)
                                                             Book Value     Adjustments    Pro Forma
                                                     Note   at 12/31/2020       to BV          BV / FMV    Low       Mid        High        Low           Mid           High

Assets
 Cash and Cash Equivalents                            A     $    118,069    $    (10,119) $      107,951    100%      100%       100%   $   107,951   $   107,951   $   107,951
 Cash and Cash Equivalents: Restricted                A           32,704          (8,205)         24,499      0%        0%         0%           -             -             -
 Investments                                          B          128,209         (71,379)         56,830    100%      100%       100%        56,830        56,830        56,830
 Investments: Restricted                              B          171,289          (1,258)        170,032      0%        0%         0%           -             -             -
 Accounts Receivable                                  C           10,315             218          10,533     54%       56%        57%         5,709         5,869         6,029
 Investment Income Receivable                         D              601             -               601      0%        0%         0%           -             -             -
 Pledges Receivable                                   E           17,301             -            17,301      0%        0%         0%           -             -             -
 Related Party Receivables                            F          359,913        (359,913)            -        0%        0%         0%           -             -             -
 Inventory                                            G           58,583          16,690          75,273      8%        9%        10%         5,881         6,617         7,352
 Prepaid and Deferred Charges                         H           15,492             -            15,492     23%       23%        23%         3,529         3,529         3,529
 Land, Building, and Equipment (Net)                  I          479,750        (114,357)        365,393     58%       60%        63%       211,849       220,984       230,119
 Other                                                J           17,337          59,337          76,673     48%       60%        72%        36,908        46,220        55,532
Total Gross Liquidation Proceeds                            $ 1,409,564     $   (488,985) $      920,579     47%       49%        51%   $   428,658   $   448,000   $   467,341

( - ) Less Cost of Liquidation
 ( - ) Liquidation Wind-Down Expenses                 K                                                                                 $   (13,465) $    (15,841) $     (18,217)
 ( - ) Chapter 7 Trustee Fees                         L                                                                                     (13,907)      (14,518)       (15,129)
 ( - ) Trustee's Professional Fees                    M                                                                                      (4,313)       (5,074)        (5,835)
 ( - ) Claims Processing Costs                        N                                                                                      (1,000)       (1,000)        (1,000)
 ( - ) Secured Lender Professional Fees               O                                                                                        (715)         (842)          (968)
 ( - ) Broker Fees                                    P                                                                                      (4,827)       (5,187)        (5,546)
Total Liquidation Costs                                                                                                                 $   (38,227) $    (42,461) $     (46,695)

Total Net Liquidation Proceeds                                                                                                          $   390,431   $   405,539   $   420,646


                                                                 Estimated Claims          Estimated        Estimated Recovery (%)           Estimated Recovery ($ 000s)
                                                                                                Claims
                                                                Low             Mid        Pool (High)     Low       Mid        High        Low           Mid           High

Secured Claims
 JPMorgan Funded Debt                                       $    232,262    $    232,262   $     232,262    100%      100%       100%   $   232,262   $   232,262   $   232,262
 JPMorgan Letters of Credit                                       95,842          95,842          95,842    100%      100%       100%        95,842        95,842        95,842
 PBGC Termination Claim                                           27,763          27,763          27,763     34%       34%        34%         9,466         9,473         9,479
Total Secured Claims                                  Q     $    355,867    $    355,867   $     355,867     95%       95%        95%   $   337,571   $   337,577   $   337,583

Proceeds Available After Secured Claims                                                                                                 $    52,860   $    67,962   $      83,064

Administrative / Priority Tax Claims

 Employee Related Claims                                          20,051          20,051   $      20,051     77%       99%       100%   $    15,446   $    19,858   $      20,051
 Professional Fee Claims                                          30,535          30,535          30,535     77%       99%       100%        23,521        30,241          30,535
 Post-Petition Trade Claims                                       18,035          18,035          18,035     77%       99%       100%        13,893        17,862          18,035
Total Administrative / Priority Tax Claims            R     $     68,621    $     68,621   $      68,621     77%       99%       100%   $    52,860   $    67,962   $      68,621

Proceeds Available for General Unsecured Creditors                                                                                      $         -   $         -   $      14,443




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  Consolidating Mid-Point Recoveries of Debtors and Related Non-Debtor Entities

                                                                                                           Estimated Mid-Point Recovery ($ 000s)
                                                          BSA                                                                                        Learning                                Consolidated Debtors
                                                         Debtors           Foundation          Arrow           Endowment       BSAAM                 for Life             Intercompany   & Related Non-Debtors

Assets
 Cash and Cash Equivalents                           $     107,950     $           -      $          -     $          -    $               0     $                (0) $            -    $                 107,951
 Cash and Cash Equivalents: Restricted                         -                   -                 -                -                -                        -                  -                          -
 Investments                                                47,078               9,497               -                -                -                        256                -                       56,830
 Investments: Restricted                                       -                   -                 -                -                -                        -                  -                          -
 Accounts Receivable                                         5,767                 102               -                -                -                        -                  -                        5,869
 Investment Income Receivable                                  -                   -                 -                -                -                        -                  -                          -
 Pledges Receivable                                            -                   -                 -                -                -                        -                  -                          -
 Related Party Receivables                                  33,520                 -                 -                -                -                        -              (33,520)                       -
 Inventory                                                   6,617                 -                 -                -                -                        -                  -                        6,617
 Prepaid and Deferred Charges                                3,529                 -                 -                -                -                        -                  -                        3,529
 Land, Building, and Equipment (Net)                       185,584                   90           35,310              -                -                        -                  -                      220,984
 Other                                                      46,220                 -                 -                -                -                        -                  -                       46,220
Total Gross Liquidation Proceeds                     $     436,264     $         9,689    $       35,310   $          -    $               0     $              256       $    (33,520) $                 448,000


( - ) Less Cost of Liquidation
 ( - ) Liquidation Wind-Down Expenses                $      (15,841) $             -     $           -    $           -    $           -         $              -         $        -     $                    (15,841)
 ( - ) Chapter 7 Trustee Fees                               (13,113)              (315)           (1,084)             -                    (0)                      (6)            -                          (14,518)
 ( - ) Trustee's Professional Fees                           (4,925)              (145)              -                -                -                            (4)            -                           (5,074)
 ( - ) Claims Processing Costs                               (1,000)               -                 -                -                -                        -                  -                           (1,000)
 ( - ) Secured Lender Professional Fees                        (842)               -                 -                -                -                        -                  -                             (842)
 ( - ) Broker Fees                                           (4,479)                 (2)            (706)             -                -                        -                  -                           (5,187)
Total Liquidation Costs                              $      (40,198) $            (462) $         (1,790) $           -    $               (0) $                (10) $             -     $                    (42,461)

Total Net Liquidation Proceeds                       $     396,066     $         9,226    $       33,520   $          -    $               0     $              246       $    (33,520) $                 405,539


                                                                                                                 Estimated Recovery ($ 000s)
                                                          BSA                                                                                        Learning                                      Subtotal
                                                         Debtors           Foundation          Arrow           Endowment       BSAAM                 for Life             Intercompany          BSA National

Secured Claims
 JPMorgan Funded Debt                                $     232,262     $           -      $          -     $          -    $           -         $              -         $        -    $                 232,262
 JPMorgan Letters of Credit                                 95,842                 -                 -                -                -                        -                  -                       95,842
 BSA Secured Intercompany Note                                 -                   -              33,520              -                -                        -              (33,520)                       -
 PBGC Termination Claim                                        -                 9,226               -                -                    0                    246                -                        9,473
Total Secured Claims                                 $     328,104     $         9,226    $       33,520   $          -    $               0     $              246       $    (33,520) $                 337,577

Proceeds Available After Secured Claims              $       67,962    $           -      $            -   $          -    $           -         $              -         $        -     $                    67,962

Administrative / Priority Tax Claims

 Employee Related Claims                             $       19,858    $           -      $            -   $          -    $           -         $              -         $        -     $                    19,858
 Professional Fee Claims                                     30,241                -                   -              -                -                        -                  -                          30,241
 Post-Petition Trade Claims                                  17,862                -                   -              -                -                        -                  -                          17,862
Total Administrative / Priority Tax Claims           $       67,962    $           -      $            -   $          -    $           -         $              -         $        -     $                    67,962

Proceeds Available for General Unsecured Creditors   $             -   $           -      $            -   $          -    $           -         $              -         $        -     $                        -




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                        EXHIBIT C

                FINANCIAL PROJECTIONS
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                                            Boy Scouts of America
                                                    Exhibit C
                                            Financial Projections1
Overview / Basis of Projections

        The Debtors believe that the Plan meets the feasibility requirement set forth in section
1129(a)(11) of the Bankruptcy Code (see Article VIII of the Disclosure Statement), as
Confirmation is not likely to be followed by liquidation or the need for further financial
reorganization of the Debtors or any successors under the Plan. In connection with the
development of the Plan and to determine whether the Plan satisfies the feasibility standard, the
Debtors analyzed their ability to satisfy their financial obligations while maintaining sufficient
liquidity and capital resources.

        The Debtors prepared consolidated condensed financial projections herein (the “Financial
Projections”) based on, among other things, the projected results of operations, financial position,
free cash flow and balance sheet of the Debtors and the Related Non-Debtor Entities. With the
assistance of the Debtors’ advisors, the Debtors’ management team developed and refined the
business plan and prepared consolidated financial projections for the fiscal years ending December
31, 2021 through December 31, 2025.

        Although the Financial Projections represent the Debtors’ commercially reasonable
estimates and good faith judgment (for which the Debtors’ management team believes it has a
reasonable basis) of the results of future operations, financial position, and cash flows of the
Debtors, the Financial Projections are only estimates and actual results may vary considerably
from the Financial Projections. Consequently, the Financial Projections should not be regarded as
a representation by the Debtors, the Debtors’ advisors or any other person that the projected results
of operations, financial position, or free cash flow of the Debtors will be achieved. The Financial
Projections are based on forecasts that may be significantly impacted by, among other factors, the
prolonged impact of COVID-19, changes in demand for the Debtors’ programming, member and
youth preferences, and changes in terms with material suppliers and vendors. Consequently, the
estimates and assumptions underlying the Financial Projections are inherently uncertain and are
subject to material operational, economic, and other uncertainties.

        The Financial Projections have been prepared by management, with the assistance of their
advisors, using accounting policies that are generally consistent with those applied in the Debtors’
historical financial statements. The Financial Projections were not, however, prepared with a view
toward compliance with guidelines established by the American Institute of Certified Public
Accountants, or the Financial Accounting Standards Board. The Financial Projections have not
been examined or compiled by independent accountants.




1
 All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Plan or Disclosure
Statement, as applicable.
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        The Financial Projections should be read in conjunction with the significant assumptions,
qualifications and notes set forth below, as well as the assumptions, qualifications and explanations
set forth in the Disclosure Statement. See Article IX of the Disclosure Statement – Risk Factors.

      THE FINANCIAL PROJECTIONS CONTAIN CERTAIN STATEMENTS THAT ARE
“FORWARD-LOOKING” WITHIN THE MEANING OF THE PRIVATE SECURITIES
LITIGATION REFORM ACT OF 1995. THESE STATEMENTS ARE SUBJECT TO A
NUMBER OF ASSUMPTIONS, RISKS AND UNCERTAINTIES, MANY OF WHICH ARE
BEYOND THE CONTROL OF THE DEBTORS, INCLUDING THE IMPLEMENTATION OF
THE PLAN, THE CONTINUING AVAILABILITY OF SUFFICIENT BORROWING
CAPACITY OR OTHER FINANCING TO FUND OPERATIONS, MAINTAINING GOOD
EMPLOYEE, MEMBER, AND DONOR RELATIONS, EXISTING AND FUTURE
GOVERNMENTAL REGULATIONS AND ACTIONS OF GOVERNMENT BODIES,
NATURAL DISASTERS AND UNUSUAL WEATHER CONDITIONS, ACTS OF
TERRORISM OR WAR, ORGANIZATIONAL-SPECIFIC RISK FACTORS (AS DETAILED
IN ARTICLE IX OF THE DISCLOSURE STATEMENT ENTITLED “RISK FACTORS”), AND
OTHER MARKET AND COMPETITIVE CONDITIONS. HOLDERS OF CLAIMS AND
INTERESTS ARE CAUTIONED THAT THE FORWARD-LOOKING STATEMENTS SPEAK
AS OF THE DATE MADE AND ARE NOT GUARANTEES OF FUTURE PERFORMANCE.
ACTUAL RESULTS OR DEVELOPMENTS MAY DIFFER MATERIALLY FROM THE
EXPECTATIONS EXPRESSED OR IMPLIED IN THE FORWARD-LOOKING
STATEMENTS, AND THE DEBTORS UNDERTAKE NO OBLIGATION TO UPDATE ANY
SUCH STATEMENTS.

      THE FINANCIAL PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY THE DEBTORS,
MAY NOT BE REALIZED AND ARE INHERENTLY SUBJECT TO SIGNIFICANT
OPERATIONAL, ECONOMIC, REGULATORY AND FINANCIAL UNCERTAINTIES AND
CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL AND
WILL BE BEYOND REORGANIZED BSA’S CONTROL. THE DEBTORS CAUTION THAT
NO REPRESENTATIONS CAN BE MADE OR ARE MADE AS TO THE ACCURACY OF
THE FINANCIAL PROJECTIONS OR THE REORGANIZED BSA’S ABILITY TO ACHIEVE
THE PROJECTED RESULTS.      SOME ASSUMPTIONS INEVITABLY WILL BE
INACCURATE.     MOREOVER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THE DEBTORS PREPARED THESE
FINANCIAL PROJECTIONS MAY BE DIFFERENT FROM THOSE ASSUMED, OR,
ALTERNATIVELY MAY HAVE BEEN UNANTICIPATED, AND THUS THE
OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A
MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. EXCEPT AS
OTHERWISE PROVIDED IN THE PLAN OR DISCLOSURE STATEMENT, THE DEBTORS
AND REORGANIZED BSA, AS APPLICABLE, DO NOT INTEND AND UNDERTAKE NO
OBLIGATION TO UPDATE OR OTHERWISE REVISE THE FINANCIAL PROJECTIONS
TO REFLECT EVENTS OR CIRCUMSTANCES EXISTING OR ARISING AFTER THE DATE
THE DISCLOSURE STATEMENT IS INITIALLY FILED OR TO REFLECT THE
OCCURRENCE OF UNANTICIPATED EVENTS.       THEREFORE, THE FINANCIAL
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PROJECTIONS MAY NOT BE RELIED UPON AS A GUARANTY OR OTHER ASSURANCE
OF THE ACTUAL RESULTS THAT WILL OCCUR. IN DECIDING WHETHER TO VOTE
TO ACCEPT OR REJECT THE PLAN, HOLDERS OF CLAIMS MUST MAKE THEIR OWN
DETERMINATIONS AS TO THE REASONABLENESS OF SUCH ASSUMPTIONS AND
THE RELIABILITY OF THE FINANCIAL PROJECTIONS AND SHOULD CONSULT WITH
THEIR OWN ADVISORS.




  THE DEBTORS BELIEVE THAT THE CONFIRMATION AND CONSUMMATION OF THE
  PLAN ARE NOT LIKELY TO BE FOLLOWED BY THE LIQUIDATION OR FURTHER
  REORGANIZATION OF REORGANIZED BSA OR ITS SUCCESSORS. ACCORDINGLY,
  THE DEBTORS BELIEVE THAT THE PLAN SATISFIES THE FEASIBILITY
  REQUIREMENT OF SECTION 1129(A)(11) OF THE BANKRUPTCY CODE.




Accounting Policies

       The Financial Projections have been prepared using accounting policies that are consistent
with those applied in the Debtors’ historical financial statements.

        Upon emergence from chapter 11, Reorganized BSA will implement “fresh start” reporting
pursuant to Statement of Position 90-7, “Financial Reporting by Entities in Reorganization Under
the Bankruptcy Code,” as codified in Accounting Standards Codification (“ASC”) Topic 852,
“Reorganization.” The main principles of fresh start reporting require that the value of the
emerging entity be allocated to all of the entity’s assets in conformity with the procedures specified
by Statement of Financial Accounting Standards (“SFAS”) No. 141R, “Business Combinations,”
as codified in ASC Topic 805, “Business Combinations,” and any portion of the value that cannot
be attributed to specific tangible or identifiable intangible assets of the emerging entity is required
to be reported as goodwill.

Assumptions and Methodologies to the Financial Projections

       General Assumptions

        The Financial Projections were developed on a consolidated basis for the Debtors and the
Related Non-Debtor Entities and take into account the assumptions noted below, as well as the
current environment in which the Debtors operate, including many economic and financial forces
that are beyond the control of the Debtors. The Debtors are a not-for-profit entity providing
outdoor-focused youth programming in the United States, its territories and certain locations
outside of the United States, both directly at four high adventure facilities owned or operated by
the BSA and indirectly through approximately 252 Local Councils which collectively charter more
than 50,000 Cub Scout, Scouts BSA and affiliated programs units. Economic growth or
slowdowns on a national or regional basis, including continuing impacts from COVID-19, may

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impact the Debtors’ and Reorganized BSA’s revenues and expenses. In addition, general trends
and changes within the market for youth programming and the ability of the BSA and the Local
Councils to raise donations to support their programming may impact performance.

      Plan and Effective Date: The Financial Projections assume that the Plan will be
       consummated in accordance with its terms and that all transactions contemplated by the
       Plan will be consummated by August 31, 2021 and that Reorganized BSA will continue to
       conduct operations substantially similar to their businesses currently.

      Forecast Period: The Debtors prepared the Financial Projections based on, among other
       things, the anticipated future financial condition and results of operations of Reorganized
       BSA and the terms of the Plan. The Debtors prepared consolidated Financial Projections
       of the Boy Scouts of America for the years ending December 31, 2021 through December
       31, 2025.

      Foundation Loan: The Financial Projections assume the Debtors receive proceeds from a
       second-lien term loan made on the Effective Date by the Foundation in the amount of $42.8
       million (the “Foundation Loan”). The Foundation Loan will provide for equal quarterly
       amortization over the 10-year period following the Effective Date with an annual interest
       rate of 6.5%.

      Trust Contribution: The Financial Projections assume the Debtors contribute to the
       Settlement Trust on the Effective Date all of the Unrestricted Cash and Investments as of
       the Effective Date, after Reorganized BSA has received the proceeds of the Foundation
       Loan, less (i) $75,000,000, which shall be funded first from the proceeds of the Foundation
       Loan, (ii) an amount of Cash equal to the JPM Exit Fee, (iii) an amount of Cash sufficient
       to fund all unpaid Allowed Administrative Expense Claims, (iv) without duplication, an
       amount of Cash sufficient to fund the Professional Fee Reserve, (v) an amount of Cash
       equal to the Creditor Representative Fee Cap, and (vi) the amount of Cash estimated to be
       required to satisfy Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed
       Secured Claims, and Allowed Convenience Claims. Additionally, the Financial
       Projections assume the Debtors contribute to the Settlement Trust on the Effective Date all
       of the BSA’s right, title and interest in and to (a) Scouting University, (b) the Artwork, (c)
       the Oil and Gas Interests, and (d) the Warehouse and Distribution Center, subject to the
       Leaseback Requirement, or the proceeds of a third-party sale-leaseback of the Warehouse
       and Distribution Center for fair market value.

      JPM / Creditors' Committee Settlement: The Financial Projections assume that holders
       of Allowed General Unsecured Claims will be paid a total of $25 million in four equal
       semi-annual installments over the 24-month period following the Effective Date; a liability
       has therefore been established on Reorganized BSA’s balance sheet for such obligation.
       The Financial Projections also assume amortization under the Restated Debt Documents
       will not be payable until 24 months after the Effective Date.



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Projected Income Statement

        Operating Surplus / (Deficit) After Restriction Release is not a measure of financial
performance under GAAP, and is not intended to represent cash flow from operations under
GAAP. However, Operating Surplus is utilized as a measure of operations and the Debtors’ ability
to meet indebtedness service requirements. The Projected Consolidated Statements of Operations
do not reflect potential impacts from fresh start accounting. Certain restructuring expenses related
to financing may be capitalized and amortized over time; however, are reflected herein as expensed
when incurred.

       Revenue Assumptions

   a. Membership Levels – Membership levels are assumed to decrease in 2021 by 13%,
      primarily due to the impact of COVID-19 on programing, but are forecasted to stabilize
      between 2023 to 2024 and achieve modest growth in 2024 and 2025 driven by the
      following factors:
           Adjustments to programming and operations to account for reduced membership,
             including the departure of Scouts affiliated with the Church of Jesus Christ of
             Latter-day Saints.
           Channeling all Abuse Claims to the Settlement Trust, which will remove a
             significant impediment to the Debtors’ continued operational success.
           Broadening program access for girls and young women, thus potentially doubling
             total potential participants in Cubs Scouts and Scouts BSA age groups.
           Reimaging public relations campaign to bolster positive visibility and move the
             organization past bankruptcy, which can generate new interest in Scouting and
             generate increased donations.
           Improving the organization’s online registration system.
           Improving the rechartering system for Local Councils and Chartered Organizations.
           Expanding delivery methods that make it easier for individuals who might not have
             access to a local Scouting unit to participate through lone Cub Scouting and
             increasing these Scouts’ virtual experience.
           Gradual restoration of Local Council resources / refocus on membership growth.

   b. Registration Fees – Consist of membership fees and joining fees for youth members and
      adult volunteers. Assumes marginal annual fee increases for traditional youth members
      from 2021-2025, roughly corresponding to an inflationary rate.

   c. Supply Operations – Consist of retail and wholesale sales of apparel, badges, equipment,
      and other merchandise sold at Scout Shops, online, and to Local Councils and third parties.
      Assumes COVID-19 impacts are largely diminished by the summer of 2021 and the
      traditionally high sales season in the fall is not anticipated to be significantly impacted.
      Assumes annual price increases from 2021-2025 to offset inflation and sales volume
      fluctuates with membership.

   d. High Adventure Facilities (“HAF”) – Consist of registration fees to attend the facilities,
      trading post sales, and other revenues. Assumes the BSA retains all four HAFs and all
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   HAFs return to normal operations for the summer of 2021. Assumes modest annual price
   increases for 2021-2025. Attendance is assumed to be slightly reduced in 2023 due to the
   assumption that the National Jamboree (as described below) is held, but is anticipated to
   stabilize in 2024 and beyond.

e. National Jamboree – Consist of fees from Scouts and volunteers for a large-scale Scout
   event typically held every four years. Assumes events to be held in 2023 and 2026, with
   revenue largely recorded in such years.

f. Other Revenues – Consist of service fees paid from Local Councils, other event fees,
   unrestricted contributions, unit charter fees, and other miscellaneous revenues. Other
   revenues are largely consistent with preliminary 2020 results. Oil and gas royalties cease
   as the Effective Date as the underlying rights are contributed to the Settlement Trust on the
   Effective Date.

   Expense Assumptions

a. Payroll & Benefits – Expenses forecasted to decline in 2021 driven by annualizing the
   impact of headcount reductions implemented in 2020, slightly offset by an increase in the
   retirement policy for defined benefit pension and 403(b) funding from 7.75% to 12% of
   eligible wages. Assumes 2.5% annual wage increases and 3.5% annual benefits inflation
   from 2021-2025.

   Note that the BSA provides certain benefits to Local Council employees at cost and also
   collects contributions to the defined benefit pension plan on the same percentage of wages.
   These amounts are not reflected in the projections as they are as passed through. Other
   than the contributions to the defined benefit pension plan from the retirement policy by
   both the BSA and the Local Councils, no other contributions to the plan are expected to be
   required during the forecast period. Pursuant to the Plan, the Restoration Plan, a non-
   qualified retirement plan, is terminated and therefore there is no ongoing expense
   associated.

b. Supply Operating Expenses – Assumes 2.5% annual wage increases for full-time
   employees from 2021-2025. Assumes cost of goods sold, part-time wages and other
   operating costs are largely variable based on sales volume. Assumes the National
   Distribution Center is contributed to the Settlement Trust on the Effective Date, and space
   is leased-back to the BSA.

c. High Adventure Facilities Expenses – Assumes 2.5% annual wage increases for full-time
   employees from 2021-2025. Assumes seasonal employees and some operating costs are
   variable based on revenue and scout attendance.

d. GLIP Expenses – Predominately consist of insurance premiums and 2021 estimates reflect
   the current assessment of the insurance renewal process, which are slightly reduced from
   2020 amounts. Insurance premiums are assumed to increase 4% annually from 2022-2025.
   Assumes no changes in the current insurance programs. Expenses also include some legal

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      and administrative fees, which are assumed to remain stable throughout the projection
      period.

   e. Other Expenses – Consist of external services, operating, information technology, travel,
      marketing, facilities, non-GLIP insurance, National Jamboree-related, and other expenses.
      2021 is assumed to be relatively stable to 2020 with additional cost cuts offsetting areas of
      higher post-COVID activity. National Jamboree expenses are expected to drive 2023
      expense increases.

Free Cash Flow Assumptions

   a. Debt Service – Assumes the Prepetition Obligations, owed to JPM, are amended and
      restated on the Effective Date on terms that are substantially the same as the terms of the
      Prepetition Debt Documents, except that (i) the obligations under the Restated Debt
      Documents will be secured by a blanket lien on all of the BSA’s assets; (ii) the maturity
      dates under the Restated Debt Documents are extended ten years after the Effective Date;
      (iii) there is a 24-month amortization holiday under the Restated Debt Documents, with
      deferred amortization amounts to be paid at maturity; (iv) the revolving credit facility
      provided under the 2019 RCF Documents will be frozen and converted to a term loan; and
      the Restated Debt Documents will provide for the Excess Cash Sweep (as discussed
      below). As the financial statements are presented on a consolidated basis, the Foundation
      Loan is an intercompany payable from the BSA to the Foundation and thus eliminated on
      the balance sheet, such amortization and interest is shown as debt service for illustrative
      purposes.

   b. Capital Expenditures – Reflect estimate for capital projects for the High Adventure
      Facilities, IT systems, and Supply operations. Assumes roughly stable spending over the
      forecast period.

   c. Other Working Capital Changes – Changes in working capital reflect usage of inventory
      in relation to Supply sales, changes to unearned income related to estimated HAF
      attendance, increases in insurance premium prepaid amounts, and timing of payments for
      the National Jamboree.

   d. Excess Cash Sweep – The Financial Projections assume that 25% of the Excess Cash and
      Investments in excess of $75 million, if any, will be applied pro rata by facility to
      outstanding JPM debt principal balances under the Restated Debt Documents on December
      31, 2023, December 31, 2024, and December 31, 2025. Such principal payments are
      additional to the regularly scheduled amortization payments and will reduce the balloon
      principal amounts due at maturity. For simplicity, these amounts are shown paid on
      December 31 of the applicable year; however, they will actually be due 45 days later.




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Projected Consolidated Unrestricted Income Statement


 ($ in millions)                                                   Actual           Preliminary                                          Financial Projections                                          Total
                                                                          (1)                  (1)
 Year                                                              2019                 2020                     2021             2022             2023             2024             2025             2021 - 2025
 Year-end Youth Membership Estimates                                  2,118                1,195                   1,050             994              978              984             1,011

 Revenues
    Registration Fees                                          $           65       $            88          $          73    $          74    $          75    $          79    $          83    $             384
    Supply Operations (Gross)                                             119                    51                     83               80               80               82               87                  412
    High Adventure Facilities (Gross)                                      58                    15                     63               60               61               71               73                  328
    National Jamboree Fees                                                  -                     -                      -                4               16                -                4                   24
                        (2)
       Other Revenues                                                     181                    33                     33               39               39               40               41                  192
       Total Revenues                                                     423                  187                  252              257              271              272              288                  1,341
 Operating Expenses
                                                        (3)
       Payroll and Benefits (Excluding Supply & HAF)                        68                   56                     43               44               45               46               47                  225
                                            (3)
       Supply Operating Expenses                                            99                   57                     69               68               68               70               72                  347
                                                      (3)
       High Adventure Facilities Operating Expenses                         47                   30                     50               48               48               51               51                  247
       GLIP Expenses (Gross)                                              112                    49                     41               42               43               45               46                  217
                       (2)                                                185                    36                     33               33               49               31               35                  182
       Other Expenses
       Total Expenses                                                     511                  228                  235              235              254              243              252                  1,218
 Operating Surplus / (Deficit)                              $             (89) $               (41)          $          17    $          22    $          18    $          29    $          36    $             122
 (before Debt Service, Capex, Depreciation and Restructuring)
 Net Assets Released from Restrictions                                     12                    8                       4                4                4                4                4                   19
 Operating Surplus / (Deficit) After Restriction Release       $          (77) $               (33)          $          21    $          26    $          21    $          33    $          40    $             141
 Cash Flow Items
                                    (4)                                     (7)                  (7)                    (8)          (10)             (10)                 (9)              (9)                  (47)
       Debt Service - Interest
                                      (4)                                 (11)                   (2)                    (1)              (4)          (10)             (18)              (19)                    (52)
       Debt Service - Principal
                              (5)
       Excess Cash Sweep                                                        -                    -                   -                -               (1)              (1)              (3)                   (5)
       Capital Expenditures (Non-Summit)                                  (16)                   (5)                    (4)           (4)              (4)              (4)               (4)                    (21)
       Other Working Capital Changes                                       52                    67                     12            (2)               0                1                 3                      14
       Cash Flow Items                                                     18                    53                     (1)          (21)             (25)             (32)              (32)                   (111)
 Estimated Unrestricted Free Cash Flow                         $          (59) $                 20          $          20    $           5    $          (3) $            1     $          8     $              30

 (before Depreciation, Restructuring, Creditor Settlements/Contributions)



 (1)   2019 results are unaudited and 2020 results are preliminary and unaudited
 (2)   2019 Other Revenue and Other Expenses are increased due to the World Scout Jamboree, which was a one-time large event
 (3)   Payroll and benefits represent G&A/corporate expenses. Payroll related to High Adventure Facilities ("HAF") and Supply is captured in HAF and Supply operating expenses
 (4)    Includes quarterly principal and interest for the Foundation Loan
 (5)    Reflects 25% of estimated unrestricted cash and investments above $75 million as of December 31, if any, to be applied to JPM's principal balances beginning in 2023




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Projected Pro Forma Consolidated Balance Sheet – August 31, 2021


($ in millions)                                                           Pre-Emergence   Reorganization           Post-Emergence
                                                                             8/31/2021     Adjustments                8/31/2021
Assets
  Cash and Cash Equivalents
  Cash and cash equivalents - Unrestricted                                $          45   $          (27)   (a.)   $          18
  GAAP Restricted Cash - LC Cash Collateral                                          63              (63)   (b.)               -
  Donor Restricted Cash                                                              24                -                      24
  Total cash and cash equivalents                                                   132              (90)                     43
  Investments, at fair value
  Investments - Unrestricted                                                         57                -                      57
  Investments - Donor Restricted                                                    172              (43)   (c.)             129
  Total Investments, at fair value                                                  228              (43)                    186
  Accounts receivable                                                                19                -                      19
  Pledges receivable                                                                 17                -                      17
  Other receivables                                                                   1                -                       1
  Gift annuities                                                                      6                -                       6
  Prepaid expenses                                                                   27                -                      27
  Inventories                                                                        56                -                      56
  Land, buildings, and equipment, net                                               470               (3)   (d.)             468
  Other                                                                              12                -                      12
  Total Assets, excluding Non-Controlling Interests                       $         967   $         (135)          $         832

Liabilities
  Accounts payable and accrued liabilities                                $          61   $          (10)   (e.)   $          50
  Gift annuities                                                                      6                -                       6
  Unearned fees and subscriptions                                                    31                -                      31
  Secured funded debt                                                               232               29    (f.)             261
  Insurance reserves                                                                239             (232)   (g.)               7
  Total liabilities                                                       $         568   $         (214)   (h.)   $         354

Net Assets
  Unrestricted Net Assets - controlling interest                          $         195   $          122           $         317
  Restricted Net Assets - controlling interest                                      204              (43)                    161

  Total Net Assets, excluding Non-Controlling Interests                   $         399   $           79    (i.)   $         478

  Total Net Assets and Liabilities, excluding Non-Controlling Interests   $         967   $         (135)          $         832

  Estimated Unrestricted Liquidity                                        $         102   $          (27)          $          75




Notes to Projected Pro Forma Balance Sheet

       The pro forma balance sheet adjustments contained herein account for (i) the
reorganization and related adjustments pursuant to the Plan and (ii) the estimated impact from the
implementation of fresh start accounting pursuant to ASC Topic 852, “Reorganization.”

        The Debtors have not yet completed their fresh start reporting analysis. The Financial
Projections have limited fresh start accounting adjustments and the values ultimately used by the
Debtors in implementing fresh start reporting may differ from this estimate. Likewise, the
Debtors’ allocation of values to individual assets and liabilities is based upon preliminary estimates
that are subject to change upon the formal implementation of fresh start reporting and could result
in material differences to the allocated values included in these Financial Projections. For purposes
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of estimating the impact of fresh start accounting, the Debtors’ have assumed that the book value
of all of their assets are adjusted to fair market value.

   a. Exit Costs / Cash Contributions – The net change in unrestricted cash of $(27) million is
      comprised of the following components:
          Professional Fee Reserve – Restructuring professional fees outstanding as of the
             Effective Date, which are estimated to be approximately $31 million are reserved
             and not part of Reorganized BSA’s assets.
          Proceeds of the Foundation Loan – The Foundation is assumed to issue a $42.8
             million loan to Reorganized BSA on the Effective Date, which is to be transferred
             from the Foundation’s restricted investments.
          Administrative Expense Claims Reserve – Administrative claims, estimated as
             approximately $450,000, are assumed to be paid on the Effective Date.
          Creditor Representative Fee Cap – Reorganized BSA will reserve on the Effective
             Date $100,000, which is the maximum amount of reasonable fees and actual and
             necessary costs and expenses payable by Reorganized BSA to the Creditor
             Representative.
          Allowed Other Priority Claims – Other priority claims, estimated as less than
             $100,000 are assumed to be paid on the Effective Date.
          Allowed Convenience Claims – Convenience claims, estimated as approximately
             $2.7 million, are assumed to be paid on the Effective Date.
          JPM Exit Fee – The facility exit fee is assumed to be approximately $1.3 million
             and to be paid on the Effective Date.
          Trust Contributions – The Financial Projections assume that the Net Unrestricted
             Cash and Investments which are estimated at approximately $35 million, will be
             contributed to the Settlement Trust.

   b. Cash Collateral – Assumes substantially all letters of credit are drawn on the Effective Date
      and are converted to funded debt. Approximately $63 million cash collateral is assumed
      to be used to partially reimburse JPM for such draws.

   c. Restricted Investments – Reflects, from a consolidated BSA perspective, the transfer of
      cash from the Foundation’s restricted investments as loaned to Reorganized BSA.

   d. Land, Buildings and Equipment – The Scouting University building and the Warehouse
      and Distribution Center are assumed to be contributed to the Settlement Trust as of the
      Effective Date. No changes assumed in remaining values or depreciation expense pending
      fresh start accounting.

   e. Accounts Payable – Assumes outstanding restructuring professional fees (estimated to be
      approximately $31 million) are reserved on the Effective Date. All prepetition trade
      liabilities, which are estimated to be approximately $5 million, will be settled in accordance
      with the terms of the Plan. Note that the other General Unsecured Claims comprised of
      Restoration Plan Claims and Deferred Compensation claims were not recorded on the


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   Debtor’s pre-emergence balance sheet and thus no reduction for the resolution of those
   claims is reflected. A new $25 million liability for the Core Value Cash Pool is established.

f. Post-Emergence Capital Structure – The Plan contemplates a restructured capital structure
   for the Debtors consisting of (a) $40 million of 2010 Notes, (b) $146 million of 2012 Notes,
   (c) a $64 Revolving Credit Facility, (d) an $11 million Term Loan, and (e) $5 million of
   undrawn letters of credit, which are off balance sheet. Assumes approximately $91 million
   of letters of credit are drawn on the Effective Date and converted to secured funded debt,
   which are partially reimbursed by the $63 million of cash collateral outstanding. Note that
   while the Foundation Loan is to be issued on the Effective Date, it is treated as an
   intercompany loan and not funded debt.

g. Insurance Reserves – Prepetition liability amounts are assumed to be eliminated on the
   Effective Date as Abuse Claims will be channeled to the Settlement Trust and Non-Abuse
   Litigation Claims will recover from available Insurance Coverage. Post-emergence
   amounts relates to non-general liability insurance.

h. The defined benefit Pension Plan assets and liabilities are not reflected on the balance sheet.

i. Represents the net accounting gain from completion of the reorganization.




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Projected Consolidated Balance Sheet (1)


($ in millions)                                                                       Actual
                                                                                               (2)
                                                                                                     Preliminary
                                                                                                                   (2)
                                                                                                                                                Financial Projections
                                                                                                                                                                        (3)

Year Ending                                                                             2019              2020               2021            2022          2023               2024            2025
Assets
  Cash and Cash Equivalents
   Cash and cash equivalents - Unrestricted                                       $         94       $         55        $          43   $        36   $        20      $            20   $      28
   GAAP Restricted Cash - LC Cash Collateral                                                63                 63                    -             -             -                    -           -
   Donor Restricted Cash                                                                    42                 33                   23            23            23                   23          23
   Total cash and cash equivalents                                                         199                151                   67            59            43                   44          52
  Investments, at fair value
    Investments - Unrestricted                                                             130                132                57               57            57                57             57
    Investments - Donor Restricted                                                         148                167               133              145           158               172            186
    Total Investments, at fair value                                                       277                299               190              202           215               229            243
  Accounts receivable                                                                        22                10                14               14            14                14             14
  Pledges receivable                                                                         36                17                17               17            17                17             17
  Other receivables                                                                           1                 1                 1                1             1                 1              1
  Gift annuities                                                                              7                 6                 6                6             6                 6              6
  Prepaid expenses                                                                           28                15                15               16            16                16             16
  Inventories                                                                                67                59                47               47            47                47             47
  Land, buildings, and equipment, net                                                       497               480               463              448           434               420            406
  Other                                                                                      12                12                12               12            12                12             12
  Total Assets, excluding Non-Controlling Interests                               $       1,147      $      1,050        $      831      $       821   $       804      $        804      $     813

Liabilities
  Accounts payable and accrued liabilities                                        $        106       $         63        $       53      $        41   $        26      $         26      $      29
  Gift annuities                                                                             7                  6                 6                6             6                 6              6
  Unearned fees and subscriptions                                                           43                 53                51               48            51                52             52
  Secured funded debt                                                                      225                232               261              261           254               240            222
  Insurance reserves                                                                       235                239                 7                7             7                 7              7
  Total liabilities                                                               $        615       $        593        $      377      $       362   $       344      $        330      $     316
Net Assets
  Unrestricted Net Assets - controlling interest                                  $        309       $        257        $      288      $       281   $       269      $        270      $     278
  Restricted Net Assets - controlling interest                                             223                200               166              178           191               204            219
  Total Net Assets, excluding Non-Controlling Interests                           $        533       $        457        $      454      $       459   $       460      $        475      $     497

  Total Net Assets and Liabilities, excluding Non-Controlling Interests           $       1,147      $      1,050        $      831      $       821   $       804      $        804      $     813
                                     (4)
  Estimated Unrestricted Liquidity                                                $        224       $        188        $      100      $        92   $        77      $            77   $      85

Footnotes:
(1) Presented excluding non-controlling interests
(2) 2019 is unaudited. 2020 reflects preliminary, unaudited results. Amounts are subject to change
(3) Financial Projections reflect limited fresh start accounting assumptions and do not include any significant revaluation of assets
(4) Consists of unrestricted cash & equivalents and unrestricted investments




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Projected Consolidated Statement of Cash Flows

($ in millions)                                                                Preliminary
                                                                                             (1)
                                                                                                                                Financial Projections
Year Ending                                                                         2020               2021              2022           2023          2024              2025
Operating Surplus / (Deficit) After Restriction Release                        $         (33)      $          21     $          26     $     21    $         33     $          40

 Interest Expense                                                                         (7)               (8)                 (10)        (10)              (9)               (9)
                                                (2)                                      (56)             (146)                   -           -                -                 -
 Cash Restructuring / Reorganization Expenses
 JPM / Creditors' Committee Settlement Cash Payments                                          -                 -               (13)        (13)               -                 -
 Changes in Assets & Liabilities
 Unearned Income and Prepaid Expenses                                                     23                  (2)                (3)          3                1                 0
 Accounts receivable                                                                      12                  (4)                (0)          -                -                 -
 Pledges receivable                                                                       19                   -                  -           -                -                 -
 Other receivables                                                                         0                   -                  -           -                -                 -
 Gift annuities                                                                            1                   -                  -           -                -                 -
 Inventories                                                                               9                  12                  -           -                -                 -
 Other                                                                                     1                   -                  -           -                -                 -
 Accounts payable and accrued liabilities (excluding restructuring)                      (16)                 (3)                 1          (3)               -                 3
 Gift annuities                                                                           (1)                  -                  -           -                -                 -
                     (3)                                                                  13                   5                  -           -                -                 -
 Other / Adjustments
Cash Flow from Operating Activities                                                      (35)             (125)                   1          (1)             24                34

 Capital Expenditures                                                                    (11)              (8)                   (8)         (8)              (8)               (8)
                                       (4)                                                 -              118                     -           -                -                 -
 Investment Transfers / Disbursements
 Donor Restricted Cash Usage (Summit Capital Expenditures)                                    9             4                     4           4                4                 4
Cashflow from Investing Activities                                                           (2)          114                    (4)         (4)              (4)               (4)

 Amortization                                                                                (2)               (1)               (4)        (10)             (18)              (19)
 Excess Cash Sweep                                                                            -                 -                 -          (1)              (1)               (3)
Cashflow from Financing Activities                                                           (2)               (1)               (4)        (11)             (19)              (22)

Total Change in Unrestricted Cash (excluding unrestricted investments)         $         (39)      $          (12) $             (8) $      (16) $             1    $            8

Beginning Unrestricted Cash Balance (excluding investments)                               94                  55                43           36              20                20
Ending Unrestricted Cash Balance (excluding investments)                                  55                  43                36           20              20                28

Footnotes:
(1) 2020 reflects preliminary, unaudited results. Amounts are subject to change
(2) Includes estimated cash restructuring fees paid and contributions to trust on the Effective Date
(3) Includes non-cash working capital adjustments, such as reserves for inventory and pledge receivables in 2020
(4) Reflects transfers from unrestricted investment account to cash for restructuring and operating expenses, as well as proceeds from the Foundation Loan
    via Foundation's restricted investments




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